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                              EXHIBIT E
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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

                                                               )
In re:                                                               Chapter 11
                                                               )
CAESARS ENTERTAINMENT OPERATING                                )     Case No. 15-01145 (ABG)
COMPANY, INC., et al., 1                                       )
                                                               )
                 Debtors.                                      )     (Jointly Administered)
                                                               )

COVER SHEET TO NINTH MONTHLY FEE APPLICATION OF PROSKAUER ROSE
LLP FOR COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT
OF EXPENSES AS ATTORNEYS TO STATUTORY UNSECURED CLAIMHOLDERS’
COMMITTEE FOR THE PERIOD OCTOBER 1, 2015 THROUGH OCTOBER 31, 2015

Name of Applicant:                                   Proskauer Rose LLP (“Proskauer”)

Authorized to Provide
Professional Services to:                            The Statutory Unsecured Claimholders’ Committee

Date of Retention:                                   Order entered March 26, 2015 [ECF No. 998]
                                                     Nunc Pro Tunc to February 9, 2015

Period for which compensation
and reimbursement is sought:                         October 1, 2015 through October 31, 2015

Amount of compensation sought
as actual, reasonable and necessary:                 $944,088.50 2

Amount of expense reimbursement sought
as actual, reasonable and necessary:                 $49,120.10
1
    The last four digits of Caesars Entertainment Operating Company, Inc.’s tax identification number are 1623. A
    complete list of the Debtors and the last four digits of their federal tax identification numbers is available at
    https://cases.primeclerk.com/CEOC.
2
     Consistent with the Second Interim Fee Application of Proskauer Rose LLP for Compensation for Services
Rendered and Reimbursement of Expenses Incurred as Attorneys for Statutory Unsecured Claimholders’ Committee
for the Period June 1, 2015 Through September 30, 2015[ECF No. 2589], the total amount of professional fees
requested for this monthly fee statement has been reduced by an aggregate amount of $91,620.00 (the "Reduction "),
representing fees incurred in prosecuting the appeal of the orders entered in respect of the UCC’s Motion to
Compel [ECF No.1091] and Motion to Reconsider [ECF No. 1508], and the related Motion to Intervene No. 15-
3193[ECF No 171].
    Proskauer reserves the right to seek payment of the Reduction at a future time, pending the outcome
of the appeal.



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This is a: X monthly __ interim __ final application.

This is Proskauer’s Ninth monthly fee application in this case.




                                                2

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December 7, 2015

Committee Chairpersons:
Wilmington Trust, NA                                Counsel for the First Lien Lender Group:
Rodney Square North                                 Stroock & Stroock & Lavan LLP
1100 N. Market Street                               180 Maiden Lane
Wilmington, DE 19890-00001                          New York, New York 10038
Attn: Geoffrey J. Lewis                             Attn: Kristopher M. Hansen, Esq.
                                                          Jonathan D. Canfield, Esq.
Hilton Worldwide, Inc.
7930 Jones Branch Drive, 6th Floor                  Counsel for the Indenture Trustee under the First
McLean, Virginia 22102                              Lien Notes Indenture:
Attn: Charles Corbin                                Katten Muchin Rosenman LLP
                                                    575 Madison Avenue
The Debtors:                                        New York, New York 10022
Caesars Entertainment Operating Company, Inc.       Attn: Craig A. Barbarosh, Esq. and
151 North Joliet St.                                      Karen B. Dine, Esq.
Joliet, IL 60432
Attn: Timothy J. Lambert                            Counsel for the Ad Hoc Group of Holders of
                                                    10.75% Guaranteed Notes and 10.75% Notes
Caesars Entertainment Operating Company, Inc.       Trustee:
One Caesars Palace Drive                            White & Case LLP
Las Vegas, Nevada 89109                             Southeast Financial Center, Suite 4900
Attn: Mary E. Higgins                               200 South Biscayne Blvd., Miami, Florida 33131
                                                    Attn: Thomas E. Lauria, Esq.
Counsel for the Debtors:
Kirkland & Ellis LLP                                Counsel for the Ad Hoc Group of 5.75% and
300 North LaSalle                                   6.50% Notes:
Chicago, Illinois 60654                             Drinker Biddle & Reath LLP
Attn: David R. Seligman, P.C.                       1177 Avenue of the Americas, 41st Floor
      Ryan Preston Dahl, Esq.                       New York, New York 10036
                                                    Attn: James H. Millar, Esq.
Kirkland & Ellis LLP                                      Kristin K. Going, Esq.
601 Lexington Avenue
New York, New York 10022                            The U.S. Trustee:
Attn: Nicole L. Greenblatt, Esq.                    219 S. Dearborn Street, Suite 873
      Christopher T. Greco, Esq.                    Chicago, Illinois 60604
                                                    Attn: Denise Ann DeLaurent
Counsel for the Second Lien Committee:
Jones Day
555 South Flower Street, Fiftieth Floor
Los Angeles, California, 90071
Attn: Bruce Bennett, Esq.
      Sidney Levinson, Esq.

Counsel for the First Lien Note:
Kramer Levin Naftalis & Frankel LLP
1177 Avenue of the Americas
New York, New York 10036
Attn: Kenneth H. Eckstein, Esq.
      Daniel M. Eggermann, Esq.




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             Summary of Legal Fees for the Period October 1, 2015 through October 31, 2015



     Task                                                   Total Billed             Total Fees
                           Matter Description
     Code                                                     Hours                  Requested

      001    Asset Analysis and Recovery                         11.40                       $9,063.00

      002    Asset Disposition                                     7.00                      $5,852.00

             Assignment and Rejection of Leases and
      003                                                          1.00                      $1,025.00
             Contracts

      004    Avoidance Action Analysis                          626.50                  $383,568.00

      005    Budgeting (Case)                                      2.50                      $2,937.50

      006    Business Operations                                   1.30                      $1,012.50

      007    Case Administration                                 25.00                   $13,320.00

      008    Claims Administration and Objections                  2.90                      $2,771.50

      009    Committee Governance                                  2.30                      $1,476.50

      010    Employee Benefits and Pensions                        4.50                      $3,912.00

      011    Employment and Fee Applications                    102.30                   $62,220.50

      012    Employment and Fee Application Objections             1.30                      $1,527.50

      013    Financing and Cash Collateral                       30.30                   $25,319.50

      014    Litigation                                            7.40                      $6,835.00

             Meetings and Communication with
      015                                                        49.10                   $43,938.50
             Committee

      016    Non-Working Travel                                    7.30                      $7,557.50

      017    Plan and Disclosure Statement                       46.70                   $42,811.00

      018    Real Estate                                         29.20                   $22,950.00

      019    Relief from Stay and Adequate Protection              0.70                       $602.50

      021    Tax                                                 45.00                   $32,860.00


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     Task                                               Total Billed   Total Fees
                        Matter Description
     Code                                                 Hours        Requested

      023    Case Strategy                                   23.90        $20,768.50

      024    Pleading and Docket Review                      42.40        $24,300.00

             Communication with Financial Advisor and
      025                                                    46.20        $41,903.00
             Investment Banker

      026    Communication with Debtor                       14.50        $13,892.50

      028    Legal Research and Analysis                     72.90        $61,633.00

      029    Preparation of Pleadings                        10.10         $7,803.50

      030    Hearings and Court Matters                      16.60        $14,203.00

      031    Legal/Regulatory Investigations                   0.30          $238.50

      033    Communication with Examiner                     21.80        $20,069.00

             Communication with Second Lien
      034                                                      0.70          $857.50
             Committee

      035    Involuntary Petition                            68.20        $66,860.00

                                               Total      1,321.30       $944,088.50




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                    Summary of Hours Billed by Professionals and Paraprofessionals for the
                                Period October 1, 2015 through October 31, 2015

                                                                    Hourly         Total
                                                                                                 Total
     Professional           Position/Title      Department          Billing        Billed
                                                                                              Compensation
                                                                     Rate          Hours

  Colleen M. Hart          Partner             Tax                    950.00           1.90      $1,805.00

  Jeff J. Marwil           Partner             Corporate            1,125.00           3.00      $3,375.00

  Judy G. Z. Liu           Partner             BSGR & B             1,175.00          84.50     $99,287.50


  Lauren K. Boglivi        Partner             Corporate            1,050.00          10.70     $11,235.00


  Martin J. Bienenstock    Partner             BSGR & B             1,225.00          50.30     $61,617.50


  Michael T. Mervis        Partner             Litigation             925.00           1.80      $1,665.00


  Paul V. Possinger        Partner             BSGR & B               975.00          66.30    $64,642.50


  Perry A. Cacace          Partner             Real Estate          1,175.00           5.70      $6,697.50


  Philip M. Abelson        Partner             BSGR & B             1,025.00          74.30    $76,157.50


  Philip M. Abelson        Partner             BSGR & B             1,075.00           0.10       $107.50


  Richard M. Corn          Partner             Tax                    875.00          23.50     $20,562.50


  Steven O. Weise          Partner             Corporate            1,400.00           2.00      $2,800.00


  Mark E. Davidson         Senior Counsel      Litigation             975.00          45.00     $43,875.00

  Scott A. Eggers          Senior Counsel      Litigation             875.00          71.00     $62,125.00


  Andrea G. Miller         Associate           Corporate              695.00          17.00     $11,815.00


  Andrew S. Wellin         Associate           Litigation             695.00          31.40     $21,823.00


  Ashley B. Chay           Associate           Corporate              465.00           0.60       $279.00


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                                                          Hourly     Total
                                                                                   Total
     Professional      Position/Title     Department      Billing    Billed
                                                                                Compensation
                                                           Rate      Hours

  Brandon W. Levitan   Associate         Corporate          730.00       1.40      $1,022.00


  Chris Theodoridis    Associate         BSGR & B          695.00      51.50     $35,792.50


  Daniel J. Werb       Associate         Litigation        465.00      27.10     $12,601.50

  Helena Zheng         Associate         Litigation         465.00    113.00      $52,545.00

  Jacki L. Anderson    Associate         Litigation         575.00      57.10     $32,832.50


  Jamaal Myers         Associate        Corporate          465.00      59.40     $27,621.00


  Jason P. Colangelo   Associate         Litigation         395.00      64.30     $25,398.50


  Jonah L. Price       Associate         Corporate          800.00       0.30       $240.00


  Laura A. Mcaleer     Associate        Corporate           465.00       3.80      $1,767.00

  Maja Zerjal          Associate         BSGR & B          695.00      66.80     $46,426.00


  Malcolm Hochenberg   Associate        Tax                 795.00       3.30      $2,623.50


  Marissa Tillem       Associate        Litigation         695.00       13.80      $9,591.00


  Rebecca A. Lesnik    Associate        Real Estate        660.00      20.00     $13,200.00

  Sarah Sullivan       Associate         Litigation        465.00      58.80     $27,342.00

  Stephen R. Severo    Associate         Tax                660.00       1.00       $660.00


  Steve Ma             Associate         BSGR & B          575.00      69.20     $39,790.00


  Victor Lopez         Associate         Corporate          575.00        .50       $287.50


  Vincent Indelicato   Associate         BSGR & B           795.00    111.80      $88,881.00


  Vincent Indelicato   Associate         BSGR & B           825.00       0.60       $495.00



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                                                           Hourly         Total
                                                                                              Total
     Professional      Position/Title       Department     Billing        Billed
                                                                                           Compensation
                                                            Rate          Hours
                                                             Total         1,212.8          $908,985.50


                                                           Hourly         Total
                                                                                              Total
    Paraprofessional   Position/Title       Department     Billing        Billed
                                                                                           Compensation
                                                            Rate          Hours
                       Legal Assistant   Corporate           $325.00          1.20                 $390.00
  David C. Cooper

                                                             $325.00         12.50               $4,062.50
                       Legal Assistant   Litigation
  Lisa Orr


  Magali Giddens       Legal Assistant   BSGR & B           $350.00         42.70               $14,945.00


                                                            $260.00          3.00                  $780.00
  Mark C. Czernyk      Legal Assistant   Litigation


  Natasha B. Petrov                                         $285.00          9.70                $2,764.50
                       Legal Assistant   Corporate


                                                            $195.00         12.00                $2,340.00
  Nicholas Williams    Legal Assistant   Real Estate


                                                             Total            81.10             $25,282.00

                                                           Hourly         Total
                                                                                              Total
    Practice Support   Position/Title       Department     Billing        Billed
                                                                                           Compensation
                                                            Rate          Hours
  Anna (Anya)
                       Law Clerk         Corporate          $395.00           10.70              $4,226.50
  Kreimerzak


                                                             Total                10.70          $4,226.50


                                                           Hourly         Total
                                                                                              Total
    Practice Support   Position/Title       Department     Billing        Billed
                                                                                           Compensation
                                                            Rate          Hours
                       EDiscovery        Professional
  Joshua M. Kay                                               335.00              16.70           $5,594.50
                       Project Manager   Resources


                                                             Total                16.70           $5,594.50



  TOTALS FOR PROFESSIONALS AND PARAPROFESSIONALS:                      Hours              Fees
                                                                       1,321.30           $944,088.50


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                           SUMMARY OF REIMBURSABLE EXPENSES FOR THE
                          PERIOD OCTOBER 1, 2015 THROUGH OCTOBER 31, 2015

 EXPENSE CATEGORY                                                           AMOUNTS
 Reproduction
     Reproduction (In-House)                                                      $1,630.30
     Long Distance Telephone                                                           $2.10
 Online Research
    Lexis                                                                         $7,461.50
    Westlaw                                                                       $1,171.00
 Out-of-Town Travel
    Airplane                                                                       $471.10
    Out of Town Meals                                                                  $4.30
    Out of Town Transportation                                                     $240.60
 Corporate Services Lien Litigation                                              $35,271.66
 Transcription Services
    Transcripts & Depositions                                                     $2,689.00
 Professional Services                                                                $86.00
    Litigation Support/Docketing                                                       $7.70
 Messenger Delivery                                                                   $84.84

 Total                                                                           $49,120.10




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UNSECURED CREDITORS' COMMITTEE                               December 4, 2015
Invoice No. 150135575                                                        Page 2


Client/Matter Recap:

Matter Name                                       Fees Billed   Disbursements Billed
ASSET ANALYSIS AND RECOVERY                         9,063.00                   0.00
ASSET DISPOSITION                                   5,852.00                   0.00
ASSIGNMENT AND REJECTION OF LEASES AND              1,025.00                   0.00
CONTRACTS
AVOIDANCE ACTION ANALYSIS                         383,568.00                    0.00
BUDGETING (CASE)                                    2,937.50                    0.00
BUSINESS OPERATIONS                                 1,012.50                    0.00
CASE ADMINISTRATION                                13,320.00                    0.00
CLAIMS ADMINISTRATION AND OBJECTIONS                2,771.50                    0.00
COMMITTEE GOVERNANCE                                1,476.50                    0.00
EMPLOYEE BENEFITS AND PENSIONS                      3,912.00                    0.00
EMPLOYMENT AND FEE APPLICATIONS                    62,220.50                    0.00
EMPLOYMENT AND FEE APPLICATION OBJECTIONS           1,527.50                    0.00
FINANCING AND CASH COLLATERAL                      25,319.50                    0.00
LITIGATION                                          6,835.00                    0.00
MEETINGS AND COMMUNICATION WITH COMMITTEE          43,938.50                    0.00
NON-WORKING TRAVEL                                  7,557.50                    0.00
PLAN AND DISCLOSURE STATEMENT                      42,811.00                    0.00
REAL ESTATE                                        22,950.00                    0.00
RELIEF FROM STAY AND ADEQUATE PROTECTION              602.50                    0.00
TAX                                                32,860.00                    0.00
CASE STRATEGY                                      20,768.50                    0.00
PLEADING AND DOCKET REVIEW                         24,300.00                    0.00
COMMUNICATION WITH FINANCIAL ADVISOR AND           41,903.00                    0.00
INVESTMENT BANKER
COMMUNICATION WITH DEBTOR                           13,892.50                   0.00
LEGAL RESEARCH AND ANALYSIS                         61,633.00                   0.00
PREPARATION OF PLEADINGS                             7,803.50                   0.00
HEARINGS AND COURT MATTERS                          14,203.00                   0.00
LEGAL/REGULATORY INVESTIGATIONS                        238.50                   0.00
COMMUNICATION WITH EXAMINER                         20,069.00                   0.00
COMMUNICATION WITH SECOND LIEN COMMITTEE               857.50                   0.00
INVOLUNTARY PETITION.                               66,860.00                   0.00
DISBURSEMENTS                                            0.00              49,120.10
Total this Invoice                               $ 944,088.50            $ 49,120.10
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Attorney                                          Hours       Rate      Amount

COLLEEN M. HART                                     1.90     950.00     1,805.00
JEFF J. MARWIL                                      3.00   1,125.00     3,375.00
JUDY G. LIU                                        84.50   1,175.00    99,287.50
LAUREN K. BOGLIVI                                  10.70   1,050.00    11,235.00
MARTIN J. BIENENSTOCK                              50.30   1,225.00    61,617.50
MICHAEL T. MERVIS                                   1.80     925.00     1,665.00
PAUL POSSINGER                                     66.30     975.00    64,642.50
PERRY A. CACACE                                     5.70   1,175.00     6,697.50
PHILIP M. ABELSON                                  74.30   1,025.00    76,157.50
PHILIP M. ABELSON                                   0.10   1,075.00       107.50
RICHARD M. CORN                                    23.50     875.00    20,562.50
STEVEN O. WEISE                                     2.00   1,400.00     2,800.00
        Total For Partner                         324.10              349,952.50

MARK E. DAVIDSON                                   45.00    975.00     43,875.00
SCOTT A. EGGERS                                    71.00    875.00     62,125.00
      Total For Senior Counsel                    116.00              106,000.00

ANDREA G. MILLER                                   17.00    695.00     11,815.00
ANDREW S. WELLIN                                   31.40    695.00     21,823.00
ASHLEY CHAY                                         0.60    465.00        279.00
BRANDON W. LEVITAN                                  1.40    730.00      1,022.00
CHRIS THEODORIDIS                                  51.50    695.00     35,792.50
DANIEL J. WERB                                     27.10    465.00     12,601.50
HELENA ZHENG                                      113.00    465.00     52,545.00
JACKI L. ANDERSON                                  57.10    575.00     32,832.50
JAMAAL MYERS                                       59.40    465.00     27,621.00
JASON P. COLANGELO                                 64.30    395.00     25,398.50
JONAH L. PRICE                                      0.30    800.00        240.00
LAURA A. MCALEER                                    3.80    465.00      1,767.00
MAJA ZERJAL                                        66.80    695.00     46,426.00
MALCOLM S. HOCHENBERG                               3.30    795.00      2,623.50
MARISSA D. TILLEM                                  13.80    695.00      9,591.00
REBECCA LESNIK                                     20.00    660.00     13,200.00
SARAH SULLIVAN                                     58.80    465.00     27,342.00
STEPHEN SEVERO                                      1.00    660.00        660.00
STEVE MA                                           69.20    575.00     39,790.00
VICTOR LOPEZ                                        0.50    575.00        287.50
VINCENT INDELICATO                                111.80    795.00     88,881.00
VINCENT INDELICATO                                  0.60    825.00        495.00
       Total For Associate                        772.70              453,033.00

DAVID C. COOPER                                     1.20    325.00        390.00
LISA P. ORR                                        12.50    325.00      4,062.50
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MAGALI GIDDENS                                     42.70    350.00        14,945.00
MARK C. CZERNYK                                     3.00    260.00           780.00
NATASHA PETROV                                      9.70    285.00         2,764.50
NICHOLAS WILLIAMS                                  12.00    195.00         2,340.00
      Total For Legal Assistant                    81.10                  25,282.00

ANNA (ANYA) KREIMERZAK                             10.70    395.00         4,226.50
      Total For Law Clerk                          10.70                   4,226.50

JOSHUA M. KAY                                      16.70    335.00         5,594.50
      Total For Prac. Support                      16.70                   5,594.50


Professional Fees                                                    $   944,088.50
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Invoice No. 150135575                                                                               Page 5

ASSET ANALYSIS AND RECOVERY
Client/Matter No. 71844.0001


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                                    Hours        Amount

10/01/15     VI         Analyze intercreditor issues for draft FTI presentation.         2.50       1,987.50
10/04/15     VI         Analyze Second Lien Collateral Agreement regarding               0.70         556.50
                        collateral issue (.5); email correspondence with J. Price
                        regarding same (.1); email correspondence with S. Weise
                        regarding same (.1).
10/06/15     VI         Review alternative recovery theory analysis. Analyze FTI         3.70       2,941.50
                        presentation regarding recovery strategies.
10/10/15     VI         Review intercompany equitization analysis.                       0.50         397.50
10/13/15     VI         Analyze Atlantic City Conference Center issue.                   1.50       1,192.50
10/19/15     VI         Analyze step-down transaction structures for Controversial       1.00         795.00
                        Transactions.
10/28/15     VI         Review drafts of presentation regarding waterfall analysis.      1.50       1,192.50


Attorney                                                                 Hours         Rate         Amount

VINCENT INDELICATO                                                        11.40       795.00        9,063.00
      Total For Associate                                                 11.40                     9,063.00


Professional Fees                                                         11.40                 $   9,063.00

Total this Matter                                                                              $    9,063.00
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UNSECURED CREDITORS' COMMITTEE                               December 4, 2015
Invoice No. 150135575                                                                                    Page 6

ASSET DISPOSITION
Client/Matter No. 71844.0002


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                                         Hours        Amount

10/01/15     VI         Analyze proposed sale documents regarding Tunica assets.              0.50        397.50
10/05/15     PMA        Revise draft Tunica sale order.                                       0.30        307.50
10/06/15     VI         Confer with P. Abelson regarding draft sale order (.1); revise        0.60        477.00
                        draft sale order (.5).
10/07/15     PMA        Review email correspondence regarding Tunica sale.                    0.10         102.50
10/08/15     JGL        Correspondence regarding Debtors assumption/assignment                0.90       1,057.50
                        (Harrah’s leases) (.4); review motion regarding same (.5).
10/09/15     JLA        Analyze interview of R. Goldich to prepare a digest.                  1.40        805.00
10/09/15     JGL        Review correspondence regarding Debtors assignment of                 0.10        117.50
                        leases to CES.
10/09/15     VI         Review proposed marketing process materials.                          1.30       1,033.50
10/13/15     PMA        Review email correspondence from Kirkland regarding                   0.10         102.50
                        abandonment notice.
10/23/15     VI         Analyze Tunica sale issues.                                           0.50        397.50
10/26/15     PP         Discuss Tunica sale hearing with V. Indelicato (.2); review           0.30        292.50
                        docket regarding same (.1).
10/26/15     PMA        Confer with V. Indelicato regarding Tunica sale proceeds.             0.20        205.00
10/26/15     VI         Multiple telephone conferences with Kirkland regarding                0.70        556.50
                        Tunica sale order (.3); Confer with P. Abelson regarding
                        same (.2); Review final Tunica sale order (.2).


Attorney                                                                  Hours             Rate         Amount

JUDY G. LIU                                                                 1.00         1,175.00        1,175.00
PAUL POSSINGER                                                              0.30           975.00          292.50
PHILIP M. ABELSON                                                           0.70         1,025.00          717.50
       Total For Partner                                                    2.00                         2,185.00

JACKI L. ANDERSON                                                           1.40          575.00           805.00
VINCENT INDELICATO                                                          3.60          795.00         2,862.00
       Total For Associate                                                  5.00                         3,667.00


Professional Fees                                                           7.00                     $   5,852.00

Total this Matter                                                                                   $    5,852.00
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ASSIGNMENT AND REJECTION OF LEASES AND CONTRACTS
Client/Matter No. 71844.0003


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                              Hours        Amount

10/08/15     PMA        Review email correspondence from Kirkland and V.           1.00       1,025.00
                        Indelicato regarding contract issues.


Attorney                                                             Hours       Rate         Amount

PHILIP M. ABELSON                                                      1.00   1,025.00        1,025.00
       Total For Partner                                               1.00                   1,025.00


Professional Fees                                                      1.00               $   1,025.00

Total this Matter                                                                        $    1,025.00
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AVOIDANCE ACTION ANALYSIS
Client/Matter No. 71844.0004


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                    Hours   Amount

10/01/15    SAE         Review draft Rule 2004 requests/subpoenas (.6); telephone       2.90   2,537.50
                        calls with A. Wellin regarding same (.4); emails with M.
                        Bienenstock, et. al regarding same (.3); email G. Bousquette
                        regarding Total Rewards issue (.2); review material
                        regarding Total Rewards from M. Tillem (.4); telephone call
                        with M. Tillem regarding same (.3); review J. Bosacco, R.
                        Goldich interview transcript (.5); email FTI regarding
                        subpoenas (.2).
10/01/15    MED         Email with M. Tillem regarding KPMG report (.1): retrieve       2.80   2,730.00
                        KPMG report and send to M. Tillem (.2); review M. Tillem
                        email regarding Total rewards (.4); review KPMG report and
                        spreadsheets regarding Total Rewards (.8); search for
                        customer list calculation (.6); draft email regarding Total
                        Rewards (.5); review M. Tillem email regarding Total
                        Rewards (.1); conference with S. Eggers regarding Total
                        Rewards document request (.1).
10/01/15    MDT         Telephone conference with A. Wellin regarding document          5.20   3,614.00
                        review (.3); telephone conference with J. Anderson
                        regarding document review (.2); conduct analysis (4.0) of
                        Total Rewards documents and correspond with team
                        regarding same (.3); telephone conference with S. Eggers
                        regarding Total Rewards (.4).
10/01/15    ASW         Research and draft equitization document requests (5.3); and    6.00   4,170.00
                        confer with S. Eggers regarding same (.4); call with M.
                        Tillem regarding document review (.3).
10/01/15    JLA         Search for documents regarding Total Rewards Program (.8)       2.00   1,150.00
                        and draft controversial transactions complaint (1.0); call
                        with M. Tillem regarding Total Rewards Program (.2).
10/01/15    AGM         Continue drafting Delaware law section of memo regarding        3.50   2,432.50
                        alternate recovery theory, consulting extensive research
                        materials throughout.
10/01/15    MJB         Review of draft subpoenas for Rule 2004 documents (.2);         2.70   3,307.50
                        research regarding underlying causes of actions arising from
                        document production (2.5).
10/01/15    CT          Revise standing motion regarding controversial transactions.    4.80   3,336.00
10/01/15    SS          Review third-party documents regarding controversial            5.20   2,418.00
                        transactions produced to Examiner.
10/01/15    DJW         Review of Examiner's CAC document batches.                      2.90   1,348.50
10/01/15    HZ          Review documents regarding controversial transactions to        4.50   2,092.50
                        identify important documents.
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AVOIDANCE ACTION ANALYSIS
Client/Matter No. 71844.0004

Date        Attorney    Description                                                      Hours   Amount

10/02/15    SAE         Telephone call with J. Liu regarding investigation issues,        3.80   3,325.00
                        planning issues (.7); telephone calls with V. Indelicato
                        regarding Rule 2004 order, investigation issues (.3); email J.
                        Liu, P. Abelson, V. Indelicato regarding Total Rewards
                        request to Debtors (.3); review transcript of examination of
                        Duff & Phelps witness (2.2); review transcript of CES
                        witness (.3).
10/02/15    ASW         Analyze Apollo document production.                               4.20   2,919.00
10/02/15    JMK         Coordinate processing of document productions into                1.50     502.50
                        evidence review platform.
10/02/15    JLA         Analyze documents to determine claims of the Committee in         0.90    517.50
                        connection with controversial transactions complaint.
10/02/15    AGM         Continue drafting Delaware law section of memo regarding          4.00   2,780.00
                        alternate recovery theory, consulting extensive research
                        materials throughout.
10/02/15    CT          Revise standing motion regarding controversial transactions.      5.20   3,614.00
10/02/15    VI          Telephone conference with S. Eggers regarding Rule 2004           0.30     238.50
                        issues.
10/02/15    SS          Review third-party documents produced to Examiner.                2.80   1,302.00
10/02/15    DJW         Document review of Examiner's CAC documents.                      5.10   2,371.50
10/02/15    HZ          Review documents regarding controversial transactions to          7.80   3,627.00
                        identify important documents.
10/03/15    JLA         Review third-party documents produced to Examiner.                1.30    747.50
10/04/15    JPC         Review recently-received documents produced in response           1.90    750.50
                        to Examiner subpoenas.
10/04/15    JLA         Review third-party documents produced to Examiner.                1.10     632.50
10/04/15    AGM         Continue drafting Delaware law section of memo regarding          3.30   2,293.50
                        alternate recovery theory, consulting extensive research
                        materials throughout.
10/05/15    SAE         Review stipulation facts from involuntary case (.3); review       4.00   3,500.00
                        transcript of Lazard witness, CEC witness (3.3); emails with
                        team regarding Total Rewards documents (.2); email with
                        FTI, Jefferies regarding transcripts (.1); teleconference with
                        J. Liu regarding standing motion (.1).
10/05/15    ASW         Analyze Apollo document production.                               3.80   2,641.00
10/05/15    JMK         Coordinate processing of document productions into                1.50     502.50
                        evidence review platform.
10/05/15    JPC         Review recently-received documents produced in response           3.50   1,382.50
                        to Examiner subpoenas.
10/05/15    SM          Revise controversial transactions complaint.                      0.70     402.50
10/05/15    JLA         Analyze documents to determine future claims of the               2.70   1,552.50
                        Committee.
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AVOIDANCE ACTION ANALYSIS
Client/Matter No. 71844.0004

Date        Attorney    Description                                                       Hours   Amount

10/05/15    AGM         Finalize legal memo regarding alternate recovery theory            4.60   3,197.00
                        (2.2); teleconference regarding same with J. Liu (.4); draft e-
                        mail to M. Bienenstock regarding same (.2); draft e-mail to
                        M. Tillem regarding same (.2); draft e-mail to C.
                        Theodoridis, V. Indelicato and M. Zerjal regarding same
                        (.1); review current draft controversial transactions
                        complaint (.5); review current draft standing motion (1.0).
10/05/15    JGL         Teleconference with S. Eggers regarding controversial              3.50   4,112.50
                        transactions complaint and standing motion (.1);
                        Teleconference with A. Miller regarding research memo on
                        alternate theories of recovery (.4); review updated research
                        memo regarding alternate theories of relief (2.6); confer with
                        P. Abelson regarding avoidance action issues (.4).
10/05/15    PMA         Review email correspondence from J. Liu and S. Ma                  1.20   1,230.00
                        regarding avoidance actions (.1); review email
                        correspondence from S. Eggers regarding LBO issues (.1);
                        confer with C. Theodoridis regarding avoidance actions (.1);
                        confer with J. Liu regarding avoidance actions (.4); Confer
                        with V. Indelicato regarding standing motion (.2); Review
                        email correspondence from B. Rhode regarding Total
                        Rewards (.1); confer with J. Liu regarding Total Rewards
                        (.2).
10/05/15    VI          Review witness interview transcripts. Confer with P.               2.20   1,749.00
                        Abelson regarding standing motion.
10/05/15    SS          Review third-party documents produced to Examiner.                 0.50     232.50
10/06/15    SAE         Telephone conference with P. Abelson regarding depositions         4.10   3,587.50
                        (.1); meeting with document reviewers (.5); telephone
                        conference with M. Tillem regarding document review
                        assignment (.1); telephone conference with S. Sullivan
                        regarding document review assignment (.5); emails to team
                        regarding discussions with Examiner on various issues (.6);
                        email FTI, Jefferies regarding same (.1); email document
                        reviewers regarding document review issues (.6); telephone
                        conference with L. Orr regarding same (.2); review FTI
                        presentation on Atlantic City issues (.6); email to team
                        regarding same (.1); prepare email to Kirkland & Ellis
                        regarding request for information (.4); email J. Liu,
                        telephone conference with J. Liu regarding issue raised on
                        Committee Call concerning transcripts (.2); review draft
                        pleadings regarding document review issues (.5).
10/06/15    ASW         Arrange document review team call (.3); participate in             0.80    556.00
                        document review team call (.5).
10/06/15    JMK         Coordinate processing of document productions into                 1.80    603.00
                        evidence review platform (1.5); Facilitate searching and
                        analysis in evidence review platform (.3).
10/06/15    JM          Attend document review team meeting.                               0.50    232.50
10/06/15    JPC         Meet with S. Eggers and document review team to discuss            0.50    197.50
                        deposition transcript digest preparation.
10/06/15    VL          Attend document review team conference call.                       0.50    287.50
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Date        Attorney    Description                                                    Hours   Amount

10/06/15    SM          Review CIE Memo in connection with revising factual             0.30    172.50
                        allegations in controversial transaction complaint.
10/06/15    JLA         Analyze documents to determine future claims of the             2.70   1,552.50
                        Committee (2.2); call with S. Eggers, A. Wellin, M. Tillem,
                        and others regarding document review assignments (.5).
10/06/15    JGL         Review email correspondence from S. Eggers regarding            0.20    235.00
                        Total Rewards.
10/06/15    PMA         Review email correspondence from S. Eggers and M.               0.20    205.00
                        Bienenstock regarding avoidance actions (.1); confer with J.
                        Liu regarding avoidance actions (.1).
10/06/15    LPO         Online review of exhibits discovery materials regarding         1.00    325.00
                        Examiner's exhibits.
10/06/15    SS          Meeting with S. Eggers, A. Wellin, M. Tillem, and the           2.10    976.50
                        document review team to discuss how to move forward with
                        document review and review of deposition transcripts (.5);
                        meeting with S. Eggers to discuss document review related
                        to CMBS claim (.5); set up database search and review PwC
                        documents (1.1).
10/06/15    HZ          Review documents regarding controversial transactions and       4.60   2,139.00
                        identify important documents (3.0); conference with S.
                        Eggers and the team regarding document review issues and
                        deposition digest preparation (.5); communicate with A.
                        Miller regarding alternate recovery claims assertion (.1);
                        review memo regarding alternate recovery claim support
                        (1.0).
10/07/15    SAE         Review J. Beato transcript (2.0); emails with FTI, Jefferies    2.50   2,187.50
                        regarding access to transcripts, exhibits (.1); telephone
                        conference with A. Wellin, M. Tillem regarding search
                        terms for document productions (.2); telephone conference
                        with S. Sullivan regarding PwC documents (.2).
10/07/15    MDT         Telephone conference with S. Eggers and A. Wellin               0.20    139.00
                        regarding search terms for document review.
10/07/15    JMK         Coordinate processing of document productions into              1.50    502.50
                        evidence review platform.
10/07/15    VI          Confer with P. Abelson regarding standing motion.               0.20     159.00
10/07/15    SS          Review documents related to PwC (3.6); telephone call with      3.80   1,767.00
                        S. Eggers regarding same (.2).
10/07/15    HZ          Review documents regarding the controversial transactions       1.00    465.00
                        and identify important documents.
10/08/15    SAE         Telephone conference with S. Sullivan regarding review of       0.30    262.50
                        PwC-related documents (.1); conference, telephone
                        conferences, emails with L. Orr regarding transcript access
                        for financial advisors (.2).
10/08/15    JM          Email M. Tillem for updates on summaries.                       0.30    139.50
10/08/15    JLA         Search for Exhibit C to the Omnibus License agreement to        0.80    460.00
                        retrieve.
10/08/15    PMA         Confer with C. Theodoridis regarding avoidance actions.         0.10    102.50
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AVOIDANCE ACTION ANALYSIS
Client/Matter No. 71844.0004

Date        Attorney    Description                                                      Hours   Amount

10/08/15    LPO         Prepare and collate documents regarding Discovery                 2.00    650.00
                        materials (.8); correspondence and telephone conferences
                        with S. Eggers regarding financial advisors transcript access
                        (.2); index (.6) and collate (.4) documents regarding
                        transcripts and exhibits to depositions.
10/08/15    SS          Review documents produced related to PwC.                         4.30   1,999.50
10/08/15    HZ          Follow up with L. Orr regarding the deposition transcripts        0.70     325.50
                        (.2); review sample deposition digest (.5).
10/09/15    SAE         Telephone conference with M. Bienenstock regarding PwC            2.60   2,275.00
                        (.1); prepare email to team regarding deposition review (.3);
                        prepare email to team regarding status of potential liability
                        theory (.6); telephone conference with S. Sullivan regarding
                        PwC documents (.1); review PwC documents (.9); prepare
                        email regarding same to litigation team (.4); telephone call
                        with M. Tillem regarding CMBS (.2).
10/09/15    MDT         Call with S. Eggers regarding CMBS spinoff (.2); call with        0.30    208.50
                        H. Zheng regarding CMBS spinoff (.1).
10/09/15    JM          Review and analyze R. Brimmer transcript.                         7.00   3,255.00
10/09/15    JPC         Review draft alternate recovery memo in view of potential         4.10   1,619.50
                        claims related to CIE (1.3); compile facts related to CIE
                        relevant to potential alternate recovery claims (1.4); analyze
                        transcript of G. Miller deposition (.9); prepare digest of G.
                        Miller deposition transcript (.5).
10/09/15    SS          Review documents produced related to PwC.                         3.70   1,720.50
10/09/15    DJW         Draft digest of Lazard advisor's interview/deposition             2.60   1,209.00
                        transcript.
10/09/15    HZ          Follow up with L. Orr regarding the deposition transcripts        3.70   1,720.50
                        (.1); review C. Rucker's deposition transcripts in preparation
                        for the deposition digest (3.5); conference with M. Tillem
                        regarding the equitization of CMBS Receivable issue (.1).
10/10/15    MDT         Begin developing document review search term list.                1.10     764.50
10/10/15    JPC         Analyze transcript of G. Miller deposition (1.1); prepare         3.10   1,224.50
                        digest of G. Miller deposition transcript (2.0).
10/10/15    JLA         Continue to analyze interview of R. Goldich to prepare a          1.10    632.50
                        digest.
10/11/15    MED         Review witness interview digest.                                  0.80     780.00
10/11/15    JPC         Analyze transcript of G. Miller deposition (2.2); prepare         8.40   3,318.00
                        digest of G. Miller deposition transcript (6.2).
10/11/15    JLA         Analyze the interview of J. Beato to prepare a digest.            3.30   1,897.50
10/12/15    ASW         Confer with M. Tillem regarding avoidance action search           1.30     903.50
                        terms for document database (.5); analyze avoidance action
                        standing motion regarding same (.8).
10/12/15    JMK         Coordinate processing of document productions into                1.00    335.00
                        evidence review platform.
10/12/15    JM          Summarize R. Brimmer transcript.                                  7.00   3,255.00
10/12/15    JPC         Analyze transcript of G. Miller deposition (2.0); prepare         4.90   1,935.50
                        digest of G. Miller deposition transcript (2.9).
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AVOIDANCE ACTION ANALYSIS
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Date        Attorney    Description                                                      Hours   Amount

10/12/15    SM          Revise controversial transaction complaint.                       1.80   1,035.00
10/12/15    JLA         Draft R. Goldich transcript digest (3.5); draft J. Beato          7.40   4,255.00
                        transcript digest (3.9).
10/12/15    DJW         Draft digest of interview of S. Furie regarding the Four          4.00   1,860.00
                        Properties transaction.
10/12/15    HZ          Draft C. Rucker's deposition digest from the interview            7.10   3,301.50
                        transcripts (7.0); send the digest to the S. Eggers and the
                        team (.1).
10/13/15    SAE         Telephone conference with J. Anderson regarding Atlantic          3.70   3,237.50
                        City issues (.2); review documents regarding Atlantic City
                        issues (.8); review and edit search terms (.8); telephone
                        conference with M. Tillem regarding search terms (.1);
                        emails with J. Liu regarding witness protocol (.2); review
                        CMBS documents (1.0); conference with L. Orr regarding
                        deposition digests (.2); review model on Atlantic City issues
                        from G. Bousquette (.2); conference with M. Davidson
                        regarding equitization and Examiner (.2).
10/13/15    MED         Conference with S. Eggers regarding equitization theory and       1.00    975.00
                        Examiner's position (.2); review and respond to S. Eggers
                        email regarding same (.2); review FTI slide deck regarding
                        Showboat closure and Atlantic City Convention Center (.4);
                        draft email to S. Eggers, J. Liu, P. Abelson and V. Indelicato
                        regarding Showboat issues (.2).
10/13/15    MDT         Telephone conference with S. Eggers regarding search terms        0.40    278.00
                        for document review (.2); incorporate S. Eggers edits to
                        search term list (.2).
10/13/15    ASW         Confer with Jones Day regarding document database                 0.50    347.50
                        organization and productions.
10/13/15    JM          Summarize R. Brimmer transcript.                                  8.00   3,720.00
10/13/15    JPC         Perform focused research for documents related to CIE.            1.50     592.50
10/13/15    JLA         Call with S. Eggers regarding assignment to search for            1.10     632.50
                        agreement between CES and CERP (.2); search for
                        agreements between CES and CERP (.9).
10/13/15    PMA         Review memo regarding Total Rewards (.2); Review                  0.90    922.50
                        presentation regarding Atlantic City (.5); review email
                        correspondence from M. Davidson regarding Atlantic City
                        (.1); review email correspondence from S. Eggers regarding
                        avoidance actions (.1).
10/13/15    LPO         Online research via Examiner depository in connection with        1.50    487.50
                        Subpoenas (.3); Index (.7) and collate (.3) documents
                        regarding Discovery materials; telephone calls with S.
                        Eggers regarding deposition digest (.2).
10/13/15    DJW         Review Four Properties transaction for possible alternate         0.60    279.00
                        recovery claim facts.
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Date        Attorney    Description                                                     Hours   Amount

10/13/15    HZ          Conference with M. Tillem regarding the equitization of the      6.40   2,976.00
                        CMBS receivable issue (.1); research in Edgar database for
                        May, 2008 CMBS transaction documents (2.1); research in
                        Relativity database for May, 2008 CMBS transaction
                        documents (2.0); review the CMBS transaction documents
                        (2.0); send certain CMBS transaction documents with
                        research findings to M. Tillem and S. Eggers (.2).
10/14/15    SAE         Telephone conference with M. Tillem regarding search             0.90    787.50
                        terms (.1); emails regarding CMBS issues with H. Zheng
                        (.1); email P. Abelson in connection with discussion with
                        Debtor regarding liability theory (.1); review documents
                        (emails and contracts) from J. Anderson regarding Atlantic
                        City issues (.6).
10/14/15    MED         Review P. Abelson email regarding equitization issue (.1);       0.30    292.50
                        review and respond to S. Eggers emails regarding same (.2).
10/14/15    MDT         Telephone conference with S. Eggers regarding search terms       0.80    556.00
                        for document review (.2); edit completed search term list
                        and send to J. Kay (.6).
10/14/15    ASW         Draft search terms for document review regarding avoidance       2.00   1,390.00
                        actions.
10/14/15    JMK         Coordinate processing of document productions into               1.60    536.00
                        evidence review platform (.8); format and coordinate
                        searches in evidence review platform to refine and focus
                        document review efforts (.8).
10/14/15    JPC         Review deposition digests of witnesses with information          2.10    829.50
                        related to CIE.
10/14/15    JLA         Search for agreements between CES and CERP (4.9); draft          5.30   3,047.50
                        email to S. Eggers regarding update of the search for the
                        CES and CERP agreements (.4).
10/14/15    PMA         Teleconference with T. Davis and D. Seligman regarding           0.20    205.00
                        avoidance actions (.1); draft email correspondence to
                        Proskauer team regarding avoidance actions (.1).
10/14/15    LPO         Online research via depository regarding Downloaded              1.50    487.50
                        documents and index various depos and exhibits.
10/14/15    HZ          Research in Edgar for January, 2008 CMBS transaction             8.50   3,952.50
                        documents (2.0); research in Relativity database for January
                        and May, 2008 CMBS transaction documents for the 14
                        separate transactions (2.0); review and analyze the 2008
                        CMBS transaction documents (4.5).
10/14/15    HZ          Review T. Vanke's interview transcript (1.0); draft T.           2.00    930.00
                        Vanke's interview digest from the interview transcript (1.0).
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AVOIDANCE ACTION ANALYSIS
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Date        Attorney    Description                                                     Hours   Amount

10/15/15    SAE         Review PwC documents regarding CMBS transaction (1.3);           4.10   3,587.50
                        annotate search term list (.3); conference with A. Wellin
                        regarding priority of document searches (.2); conference
                        with M. Tillem regarding search strategies (.5); annotate
                        assignment list for digesting (.2); additional document
                        research into CMBS receivables (1.2); telephone conference
                        with H. Zheng and M. Tillem regarding document searches
                        (.2); telephone conference with J. Anderson regarding
                        document searches (.2).
10/15/15    MED         Review and respond to S. Eggers email regarding conference       1.80   1,755.00
                        calls on equitization issue (.2); review materials located by
                        document reviewers regarding equitization issue (1.4);
                        review S. Eggers email spreadsheets regarding digests (.2).
10/15/15    MDT         Meeting with S. Eggers regarding CMBS (.5); call to H.           1.00    695.00
                        Zheng with S. Eggers regarding CMBS document review
                        (.2); call with A. Wellin regarding search terms for
                        document review (.3).
10/15/15    ASW         Confer with S. Eggers and M. Tillem regarding document           0.30    208.50
                        review search terms (.2); confer with J. Kay regarding same
                        (.1).
10/15/15    JMK         Coordinate searches in evidence review platform to refine        1.50    502.50
                        and focus document review efforts (1.4); confer with A.
                        Wellin regarding review search terms (.1).
10/15/15    JM          Review J. Belasacco transcript.                                  3.80   1,767.00
10/15/15    JLA         Continue searching for the agreement governing marketing         7.30   4,197.50
                        involving CES and CERP (5.2); begin reviewing Project
                        Naples documents to determine potential future claims (.9);
                        review witness interview digests for alternate recovery facts
                        to determine future liability (1.2).
10/15/15    JGL         Review controversial transaction complaint revisions.            1.50   1,762.50
10/15/15    LPO         Online research via depository regarding deposition exhibits     1.50     487.50
                        (.5); prepare and index documents in connection with
                        Exhibits (1.0).
10/15/15    HZ          Analyze 2008 CMBS transaction documents (3.0);                  10.50   4,882.50
                        summarize transaction document findings for two of the
                        2008 CMBS transactions (1.0); email documents and
                        summary to S. Eggers and M. Tillem (.1); conference with
                        S. Eggers and M. Tillem regarding documents review from
                        key word searches (.2); research on the alternate recovery
                        claim support (3.0); summarize the alternate recovery claim
                        support (1.0); email A. Miller regarding the alternate
                        recovery research summary (.1). Review T. Vanke's
                        interview transcript (1.0); draft T. Vanke's interview digest
                        from the interview transcript (1.0); correspond with S.
                        Eggers regarding the interview transcript digest (.1).
10/16/15    SAE         Emails with H. Zheng regarding CMBS (.2); emails with J.         0.80    700.00
                        Anderson regarding digests (.1); conference with A. Wellin
                        regarding document review (.2); review Project Naples
                        document (.3).
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10/16/15    MED         Review materials located by document reviewers regarding         2.30   2,242.50
                        equitization issue (1.7); review S. Star, P. Abelson and S.
                        Eggers emails regarding equitization conference calls (.4);
                        review J. Freedman email regarding interviews (.2).
10/16/15    MDT         Telephone conferences with S. Ma regarding draft                 0.80    556.00
                        controversial transaction complaint (.5); confer with A.
                        Wellin regarding document search terms (.3).
10/16/15    ASW         Confer with M.Tillem (.3) and J. Kay regarding document          0.70    486.50
                        search term set up (.2); conference with S. Eggers regarding
                        document review (.2).
10/16/15    JMK         Coordinate searches in evidence review platform to refine        0.60    201.00
                        and focus document review efforts.
10/16/15    JM          Prepare J. Belasacco transcript summary.                         4.00   1,860.00
10/16/15    JPC         Meet with A. Miller to discuss potential alternate recovery      2.60   1,027.00
                        relief related to CIE and 2010 IP transfers (1.2); perform
                        targeted searches for documents related to approval of 2010
                        IP transfers (1.4).
10/16/15    SM          Confer with M. Mervis regarding controversial transactions       2.90   1,667.50
                        complaint issues (.2); revise complaint according to
                        comments from M. Mervis and J. Liu (1.5); Meet with J. Liu
                        to discuss complaint issues (.7); conference with M. Tillem
                        regarding controversial transaction complaint (.5).
10/16/15    JLA         Analyze documents relating to Project Naples for S. Eggers       4.50   2,587.50
                        to determine future claims (1.5); draft email to A. Miller
                        regarding alternate recovery facts (.9); review interview
                        transcript of R. Stauber to drafting a digest (2.1).
10/16/15    AGM         Teleconference with D. Werb regarding alternate recovery         1.40    973.00
                        theory and Four Properties transaction (.4); meet with J.
                        Colangelo regarding alternate recovery theory and trademark
                        transfers (.5); e-mail correspondence with H. Zheng
                        regarding alternate recovery theory in connection with
                        CERP transaction (.2); e-mail correspondence with J.
                        Anderson regarding alternate recovery theory and Total
                        Rewards (.1); e-mail correspondence with V. Lopez and J.
                        Myers regarding fact summaries pertaining to alternate
                        recovery theories (.2).
10/16/15    JGL         Two teleconferences with S. Ma regarding complaint (.7);         4.70   5,522.50
                        review controversial transaction complaint revisions (4.0).
10/16/15    MTM         Review and comment on draft complaint regarding                  1.80   1,665.00
                        controversial transactions (1.6); telephone conference with
                        S. Ma regarding pleading issues for draft complaint (.2).
10/16/15    DJW         Teleconference with A. Miller regarding research finding         1.50    697.50
                        regarding alternate recovery (.4); share research findings
                        regarding facts to support an alternate recovery claim (1.1).
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Date        Attorney    Description                                                      Hours   Amount

10/16/15    HZ          Further analyze 2008 CMBS transaction documents and               7.90   3,673.50
                        different steps for the separate transactions (3.0); summarize
                        transaction document findings for four of the 2008 CMBS
                        transactions (3.0); review documents from key word
                        searches (1.7); email documents and summary to S. Eggers,
                        M. Tillem and A. Wellin (.1); email with A. Miller regarding
                        the alternate recovery research summary (.1).
10/17/15    HZ          Review documents from key word searches regarding                 6.80   3,162.00
                        CMBS and PwC.
10/18/15    MED         Analyze D. Wilfong transcript.                                    0.60     585.00
10/18/15    HZ          Review the documents from key word searches regarding             6.60   3,069.00
                        CMBS and PwC (6.3); draft document review summary (.2);
                        send hot document summary to S. Eggers, M. Tillem and A.
                        Wellin (.1).
10/19/15    SAE         Conference with P. Abelson, M. Davidson regarding CMBS            1.10    962.50
                        (.2); review M. Beilinson transcript (.3); conference with A.
                        Wellin regarding digest assignments (.1); review documents
                        from H. Zheng (.3); confer with P. Abelson and S. Sulivan
                        regarding avoidance action open items (.2).
10/19/15    MED         Review transaction documents, PwC opinion and                     3.70   3,607.50
                        equitization documents in preparation for conference calls
                        with Winston and Kirkland. Review document package
                        forwarded by S. Eggers regarding CMBS transaction (.5);
                        search document database for documents relating to
                        intercompany balances (1.4); send email to J. Liu, P.
                        Abelson, V. Indelicato and S. Eggers regarding PwC memo
                        regarding review of intercompany balances (.2).
10/19/15    ASW         Assess and assign transcripts to be summarized (.4);              0.50    347.50
                        conference with S. Eggers regarding digests (.1).
10/19/15    JMK         Coordinate additional searches in evidence review platform        1.10    368.50
                        to refine and focus document review efforts.
10/19/15    JM          Review J. Bosacco transcript.                                     5.50   2,557.50
10/19/15    JPC         Draft factual summary of CIE transactions for memo                1.40     553.00
                        regarding alternate recovery relief.
10/19/15    SM          Revise controversial transaction complaint according to           5.00   2,875.00
                        comments from M. Mervis (2.0); review Four Properties
                        documents to confirm facts regarding controversial
                        transactions complaint (3.0).
10/19/15    JLA         Draft digest of R. Stauber witness interview.                     3.60   2,070.00
10/19/15    JGL         Discussion with M. Bienenstock and P. Abelson regarding           0.70     822.50
                        LBO issue (.2); discussion with S. Eggers, M. Davidson and
                        P. Abelson regarding equitization issue (.5).
10/19/15    PMA         Confer with S. Eggers and S. Sullivan regarding avoidance         0.70    717.50
                        actions (.2); Confer with M. Davidson and S. Eggers
                        regarding avoidance actions (.4); review email
                        correspondence from M. Davidson regarding avoidance
                        actions (.1).
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Date        Attorney    Description                                                      Hours   Amount

10/19/15    SS          Review tax documents (.5); conference with S. Eggers and          0.70    325.50
                        P. Abelson regarding avoidance action issues (.2).
10/20/15    SAE         Conferences with S. Sullivan, telephone call J. Kay               0.90    787.50
                        regarding Examiner database (.3); telephone calls, emails,
                        conferences with A. Wellin regarding digesting (.2);
                        telephone calls with L. Orr regarding digests (.1); emails
                        with M. Davidson regarding Total Rewards (.1); assemble
                        package of data for L. Boglivi, R. Corn regarding CMBS
                        (.1); telephone call with J. Anderson regarding digests, Total
                        Rewards (.1).
10/20/15    MED         Email to R. Papa and L. Boglivi regarding assistance in           5.00   4,875.00
                        analyzing the 2008 CMBS restructuring transactions and
                        their implications for intercompany balances (.3); retrieve
                        CMBS related materials and send to L. Boglivi (.3); emails
                        to S. Eggers regarding making CMBS package available to
                        L. Boglivi and R. Corn (.2); email with S. Eggers regarding
                        Total rewards memo (.1); review Total Rewards memo (.5);
                        search document database for intercompany balances
                        regarding controversial transactions (2.4) review C.
                        Abrahams transcript (.8); review new Wilmington complaint
                        (.4).
10/20/15    ASW         Review associate progress with interview summaries and            1.10    764.50
                        assign transcripts to summarize (.3); telephone calls and
                        correspondence with S. Eggers regarding digests (.2);
                        participate in weekly litigation conference call (.6).
10/20/15    JMK         Coordinate additional searches in evidence review platform        0.60    201.00
                        to refine and focus document review efforts.
10/20/15    JM          Review transcript and summarize J. Bosacco transcript.            6.00   2,790.00
10/20/15    JPC         Draft factual summary of 2010 Trademark Transfer                  5.60   2,212.00
                        transactions for memo regarding alternate recovery relief
                        (2.2); analyze transcript of M. Beilinson deposition (3.4).
10/20/15    SM          Revise controversial transaction complaint according to           3.80   2,185.00
                        comments from J. Liu (.8); review Four Properties
                        Transaction documents to confirm facts for complaint
                        regarding Controversial Transactions (3.0).
10/20/15    JLA         Review documents using search terms for purposes to               5.10   2,932.50
                        determining potential claims (3.9); edit R. Stauber witness
                        interview digest (1.0); call with S. Eggers regarding R.
                        Stauber digest and upcoming assignments (.2).
10/20/15    JGL         Review/edit revised complaint (4.2); review revised standing      5.50   6,462.50
                        motion (partial) (1.3).
10/20/15    DJW         Review interview of financial advisor to CEC Committee in         1.20    558.00
                        controversial transaction.
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Date        Attorney    Description                                                     Hours   Amount

10/21/15    SAE         Conference with A. Wellin regarding fraudulent transfer          1.50   1,312.50
                        issue (.2); review case regarding fraudulent transfer issue
                        (.3); review Nevada statutes regarding fradulent transfer
                        issue (.3); telephone conference with A. Wellin regarding
                        follow-up research (.1); review documents regarding
                        potential tax liability (.4); provide documents to R. Corn
                        (.2).
10/21/15    MED         Search document database regarding DT documents (2.3);           5.80   5,655.00
                        review documents retrieved (1.2); send CODI related
                        documents to R. Corn (.2); conference with L. Boglivi
                        regarding CMBS transactions and equitization issue (1.6);
                        retrieve CMBS and equitization documents and send to L.
                        Boglivi (.5).
10/21/15    LKB         Meet with M. Davidson regarding background of LBO                1.20   1,260.00
                        transaction (.5); teleconference with M. Davidson regarding
                        background of transaction of LBO (.5); telephone
                        conference with P. Abelson regarding conflict issues (.2).
10/21/15    ASW         Research Nevada statute of limitations for State avoidance       3.40   2,363.00
                        actions (3.0); conference with S. Eggers regarding fraudulent
                        transfer (.2).
10/21/15    JMK         Coordinate processing of document productions into               0.80    268.00
                        evidence review platform.
10/21/15    JM          Prepare summary of J. Bosacco interview.                         5.50   2,557.50
10/21/15    JPC         Analyze transcript of M. Beilinson deposition (1.4); prepare     7.80   3,081.00
                        digest of M. Beilinson deposition transcript (6.4).
10/21/15    SM          Review CERP Memo and related discovery documents in              1.90   1,092.50
                        connection with drafting controversial transactions
                        complaint.
10/21/15    LPO         Online research via depository regarding discovery materials     3.00    975.00
                        (1.3); index (.7) and collate (.7) documents regarding
                        exhibits and transcripts (.3).
10/21/15    DJW         Review interview transcript of financial advisor in              3.40   1,581.00
                        controversial transaction.
10/22/15    SAE         Telephone call with A. Wellin regarding statute of limitation    0.50    437.50
                        research (.2); telephone calls with V. Indelicato regarding
                        interpretation of protective order, review of order (.3).
10/22/15    MED         Search for final version of PwC tax opinion (.3); email to L.    4.50   4,387.50
                        Boglivi regarding same (.1); review and respond to L.
                        Boglivi email regarding equitization memo (.2); call from L.
                        Boglivi regarding analysis of steps in CMBS spin out (.3);
                        search document database for intercompany policy
                        documents (3.6).
10/22/15    LKB         Telephone conference with M. Davidson regarding                  6.00   6,300.00
                        document needs (.1); telephone conference with R. Corn
                        regarding high level tax view on LBO transaction issues (.3);
                        review PwC 1/28/08 deck (1.8); review PwC 5/7/08 tax
                        opinion (1.9); review contribution documentation for FLV
                        Holdings and Parball transaction (1.4); review Proxy from
                        LBO (.4).
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Date        Attorney    Description                                                       Hours   Amount

10/22/15    ASW         Research Nevada statute of limitations regarding fraudulent        1.50   1,042.50
                        transfers.
10/22/15    JPC         Prepare digest of M. Beilinson deposition transcript.              3.60   1,422.00
10/22/15    JLA         Analyze Total Rewards and CES memorandum regarding                 0.80     460.00
                        alternate recovery theory.
10/22/15    CT          Revise standing motion regarding controversial transactions        2.50   1,737.50
                        (2.4); confer with P. Abelson regarding same (.1).
10/22/15    JGL         Review/comment on standing motion (partial) (2.2); confer          2.80   3,290.00
                        with P. Abelson regarding avoidance action issues (.6).
10/22/15    PMA         Confer with C. Theodoridis regarding avoidance actions (.1);       0.70    717.50
                        confer with J. Liu regarding avoidance actions (.6).
10/22/15    VI          Analyze J. Schiedemeyer, J. Beato, G. Miller, S. Furie and         2.50   1,987.50
                        C. Rucker witness interview transcripts.
10/22/15    DJW         Draft digest of transcript of interview of financial advisor to    5.80   2,697.00
                        controversial transaction.
10/23/15    SAE         Telephone calls, emails with L. Boglivi, S. Sullivan               1.00    875.00
                        regarding CMBS documents (.3); emails with L. Orr
                        regarding same (.1); email team regarding investigation
                        issues (.3); conference with A. Wellin regarding same (.1),
                        telephone conference with J. Liu regarding statute of
                        limitations issue (.2).
10/23/15    MED         Review and respond to L. Boglivi request for documents             1.50   1,462.50
                        (.3); conference with L. Boglivi regarding CMBS
                        transactions and equitization issues (.8); review S. Eggers
                        email regarding tax issues (.1); review consents regarding
                        Parball transactions (.3).
10/23/15    LKB         Meeting with M. Davidson regarding report of findings from         3.50   3,675.00
                        due diligence (.8); review of SEC documents (1.4); review
                        of resolutions (.8); confer with R. Corn regarding
                        securitization (.5).
10/23/15    MDT         Telephone conference with C. Theodoridis regarding                 0.40    278.00
                        standing motion.
10/23/15    ASW         Confer with S. Sullivan regarding Nevada statute of                0.30    208.50
                        limitations research.
10/23/15    RMC         Discussion of securitization with L. Boglivi.                      0.50    437.50
10/23/15    JLA         Email to A. Miller regarding facts that may support an             0.20    115.00
                        alternate recovery claim.
10/23/15    AGM         Teleconference with S. Sullivan regarding CGP transactions         0.20    139.00
                        and alternate recovery theory.
10/23/15    CT          Revise standing motion regarding controversial transactions        5.30   3,683.50
                        (4.9); confer with J. Liu regarding open issues regarding
                        standing motion (.3); confer with P. Abelson regarding same
                        (.1).
10/23/15    JGL         Teleconference with S. Eggers regarding statute of                 4.10   4,817.50
                        limitations issues (.2); continue review of revised standing
                        motion (3.6); discussion with C. Theodoridis regarding open
                        issues regarding standing motion (.3).
10/23/15    PMA         Confer with C. Theodoridis regarding avoidance actions.            0.10    102.50
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Date        Attorney    Description                                                      Hours   Amount

10/23/15    SS          Call with A. Miller regarding application of CGP facts to         4.30   1,999.50
                        alternate recovery theories (.3); research on whether statute
                        of limitations applies to an action brought by the state in NV
                        (2.3); search for 2008 CMBS OM (1.5); Telephone call with
                        S. Severo regarding golden creditor tax issues.
10/23/15    SS          Review of data room regarding golden creditor tax issues          1.00    660.00
                        (.8); discussion with S. Sullivan regarding same (.2).
10/24/15    SS          Review transcript of C. Abrahams deposition.                      3.30   1,534.50
10/25/15    JLA         Review witness interview transcript of M. Garber to draft a       1.90   1,092.50
                        digest.
10/26/15    SAE         Emails regarding CMBS (.1); emails regarding tax issues           0.20    175.00
                        (.1).
10/26/15    MED         Review C. Theodoridis email regarding standing motion             0.40    390.00
                        (.1); review draft standing motion and footnotes raising
                        issues (.3).
10/26/15    ASW         Research Nevada statute of limitations for fraudulent             2.60   1,807.00
                        transfer actions brought by the state (1.6); draft memo
                        regarding same (1.0).
10/26/15    JMK         Coordinate processing of document productions into                1.30    435.50
                        evidence review platform.
10/26/15    JM          Review L. Swann and digest transcript.                            5.30   2,464.50
10/26/15    JLA         Begin drafting deposition digest of M. Garber.                    0.20     115.00
10/26/15    CT          Revise standing motion regarding controversial transactions.      5.30   3,683.50
10/26/15    VI          Analyze avoidance action objections.                              2.00   1,590.00
10/26/15    SS          Review transcript of C. Abrahams deposition.                      1.30     604.50
10/26/15    HZ          Analyze T. Vanke's interview transcript (1.5); draft T.           5.60   2,604.00
                        Vanke's interview digest from the interview transcript (3.0);
                        send the interview digest to S. Eggers (.1). Review the
                        documents resulting from key word searches regarding
                        CMBS and PwC.
10/27/15    SAE         Review litigation summary (.3); review G. Bousquette              0.60    525.00
                        analysis (.2); email Proskauer team regarding statute of
                        limitations issue (.1).
10/27/15    MED         Review C. Theodoridis email regarding standing motion             1.10   1,072.50
                        (.1); review standing motion footnotes (.4); email C.
                        Theodoridis regarding standing motion issues (.1);
                        conference with C. Theodoridis regarding standing motion
                        issues (.1). Emails to S. Eggers regarding CODI (.2); review
                        A. Wellin email regarding research on Nevada statute of
                        limitations issue (.2).
10/27/15    JMK         Coordinate additional searches in evidence review platform        0.60    201.00
                        to refine and focus document review efforts.
10/27/15    JM          L. Swann transcript summary.                                      5.50   2,557.50
10/27/15    JPC         Prepare digest of M. Beilinson deposition transcript.             5.30   2,093.50
10/27/15    MJB         Review latest facts and research regarding alternate recovery     3.00   3,675.00
                        theories for non-Debtor entities.
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Date        Attorney    Description                                                  Hours   Amount

10/27/15    JGL         Discussion with C. Theodoridis regarding standing memo        0.20    235.00
                        questions.
10/27/15    PMA         Review email correspondence from S. Eggers regarding          0.10    102.50
                        golden creditor issues.
10/27/15    HZ          Review the documents from key word searches regarding         5.80   2,697.00
                        CMBS and PwC.
10/28/15    SAE         Review draft standing motions (.3); emails with C.            0.40    350.00
                        Theodoridis, J. Anderson regarding same (.1).
10/28/15    MED         Review S. Eggers email regarding standing motion and open     0.20    195.00
                        questions.
10/28/15    JPC         Prepare digest of M. Beilinson deposition transcript.         0.60    237.00
10/28/15    JLA         Analyze footnotes in standing motion regarding Total          1.20    690.00
                        Rewards (.8); draft email regarding edits to Total Rewards
                        footnotes in standing motion for S. Eggers (.4).
10/28/15    LPO         Upload (.1) and index (.4) exhibits regarding various         1.00    325.00
                        databases of case materials. Online review of Examiner's
                        depositions regarding Exhibits.
10/28/15    SS          Collect documents related to the CGP transaction regarding    3.40   1,581.00
                        potential alternate recovery theory. review C. Abrahams
                        deposition transcript.
10/28/15    HZ          Review the documents from key word searches regarding         1.80    837.00
                        CMBS and PwC.
10/29/15    SAE         Review CMBS-related documents from H. Zheng (.6); email       0.70    612.50
                        H. Zheng regarding same (.1).
10/29/15    MDT         Correspondence with J. Anderson and H. Zheng regarding        1.40    973.00
                        document review (.4); Telephone conferences with A.
                        Wellin regarding document review (.2); Telephone
                        conference with J. Kay regarding document review (.4);
                        review document review status on Relativity platform (.4).
10/29/15    ASW         Confer with M. Tillem regarding document searches.            0.20    139.00
10/29/15    JMK         Coordinate additional searches in evidence review platform    0.30    100.50
                        to refine and focus document review efforts.
10/29/15    JM          Digest L. Swann transcript.                                   1.00     465.00
10/29/15    JPC         Prepare digest of M. Beilinson deposition transcript.         5.50   2,172.50
10/29/15    SM          Follow up on email from M. Zerjal regarding intercreditor     0.20     115.00
                        agreement.
10/29/15    JLA         Draft email to M. Tillem regarding status of document         0.70    402.50
                        review (.3); continue to review documents to determine
                        future claims (.4).
10/29/15    JGL         Review and comment on standing motion regarding               4.30   5,052.50
                        controversial transactions.
10/29/15    SS          Compile facts related to CGP transaction and alternate        2.30   1,069.50
                        recovery theories.
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10/29/15    HZ          Analyze the documents from key word searches regarding          4.70   2,185.50
                        CMBS and PwC (3.2); identify important documents (1.0);
                        communicate with M. Tillem regarding document review
                        issues (.1); send S. Eggers summary of the identified
                        important documents (.4).
10/30/15    SAE         Attend team meeting regarding document review (1.0);            1.20   1,050.00
                        telephone conference with J. Anderson regarding Total
                        Rewards issues (.2).
10/30/15    MED         Meeting with S. Eggers, M. Tillem, A. Wellin and S.             3.40   3,315.00
                        Sullivan regarding document review and deposition
                        preparation (1.0); review summary of new documents found
                        by search terms (.2); emails with A. Wellin regarding same
                        (.2); review FTI deck regarding Atlantic City (.3); review
                        new intercompany documents retrieved by team (1.7).
10/30/15    MDT         Status meeting with S. Eggers, M. Davidson; A. Wellin and       1.00    695.00
                        S. Sullivan regarding document production and case
                        strategy.
10/30/15    ASW         Attend litigation team meeting (1.0); confer with M. Tillem     1.10    764.50
                        regarding same (.1).
10/30/15    JMK         Coordinate additional searches in evidence review platform      1.00    335.00
                        to refine and focus document review efforts.
10/30/15    JPC         Prepare digest of M. Beilinson deposition transcript.           1.90    750.50
10/30/15    JLA         Continue to draft deposition digest of M. Garber (.4); call     0.50    287.50
                        with S. Eggers regarding draft standing motion Total
                        Rewards sections (.1).
10/30/15    JGL         Review and comment on standing motion regarding                 5.70   6,697.50
                        controversial transactions.
10/30/15    LPO         Download direct materials regarding various Examiner's          1.00    325.00
                        transcript databases of case materials (.5); Upload (.2) and
                        index (.3) exhibits regarding various databases of case
                        materials.
10/30/15    SS          Meeting with litigation team (S. Eggers, M. Davidson, A.        2.70   1,255.50
                        Wellin, M. Tillem) (1.0); review C. Abrahams deposition
                        (1.7).
10/30/15    HZ          Analyze the documents from key word searches regarding          8.30   3,859.50
                        CMBS and PwC (7.0); identify important documents (1.0);
                        email communication with S. Eggers regarding some
                        important documents (.3).
10/31/15    HZ          Analyze the documents resulting from key word searches          8.70   4,045.50
                        regarding CMBS and PwC, and equitization (7.2); identify
                        important documents (1.5).
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AVOIDANCE ACTION ANALYSIS
Client/Matter No. 71844.0004



Attorney                                          Hours       Rate          Amount

JUDY G. LIU                                        33.20   1,175.00        39,010.00
LAUREN K. BOGLIVI                                  10.70   1,050.00        11,235.00
MARTIN J. BIENENSTOCK                               5.70   1,225.00         6,982.50
MICHAEL T. MERVIS                                   1.80     925.00         1,665.00
PHILIP M. ABELSON                                   4.20   1,025.00         4,305.00
RICHARD M. CORN                                     0.50     875.00           437.50
       Total For Partner                           56.10                   63,635.00

MARK E. DAVIDSON                                   35.20    975.00         34,320.00
SCOTT A. EGGERS                                    37.80    875.00         33,075.00
      Total For Senior Counsel                     73.00                   67,395.00

ANDREA G. MILLER                                   17.00    695.00         11,815.00
ANDREW S. WELLIN                                   30.30    695.00         21,058.50
CHRIS THEODORIDIS                                  23.10    695.00         16,054.50
DANIEL J. WERB                                     27.10    465.00         12,601.50
HELENA ZHENG                                      113.00    465.00         52,545.00
JACKI L. ANDERSON                                  55.70    575.00         32,027.50
JAMAAL MYERS                                       59.40    465.00         27,621.00
JASON P. COLANGELO                                 64.30    395.00         25,398.50
MARISSA D. TILLEM                                  12.60    695.00          8,757.00
SARAH SULLIVAN                                     40.40    465.00         18,786.00
STEPHEN SEVERO                                      1.00    660.00            660.00
STEVE MA                                           16.60    575.00          9,545.00
VICTOR LOPEZ                                        0.50    575.00            287.50
VINCENT INDELICATO                                  7.20    795.00          5,724.00
       Total For Associate                        468.20                  242,881.00

LISA P. ORR                                        12.50    325.00          4,062.50
        Total For Legal Assistant                  12.50                    4,062.50

JOSHUA M. KAY                                      16.70    335.00          5,594.50
      Total For Prac. Support                      16.70                    5,594.50


Professional Fees                                 626.50              $   383,568.00

Total this Matter                                                     $   383,568.00
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BUDGETING (CASE)
Client/Matter No. 71844.0005


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                                   Hours        Amount

10/08/15     JGL        Prepare budget for second interim application.                  1.50       1,762.50
10/19/15     JGL        Prepare/revise budget for second interim fee application        1.00       1,175.00
                        (1.0).


Attorney                                                                 Hours        Rate         Amount

JUDY G. LIU                                                                2.50    1,175.00        2,937.50
      Total For Partner                                                    2.50                    2,937.50


Professional Fees                                                          2.50                $   2,937.50

Total this Matter                                                                             $    2,937.50
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BUSINESS OPERATIONS
Client/Matter No. 71844.0006


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                                   Hours        Amount

10/12/15     VI         Review Total Rewards analysis.                                  1.00        795.00
10/13/15     SM         Review FTI summary of Debtors' cash flows.                      0.20        115.00
10/27/15     PMA        Review email correspondence from G. Bousquette regarding        0.10        102.50
                        valuation issues.


Attorney                                                             Hours            Rate         Amount

PHILIP M. ABELSON                                                      0.10        1,025.00         102.50
       Total For Partner                                               0.10                         102.50

STEVE MA                                                               0.20         575.00          115.00
VINCENT INDELICATO                                                     1.00         795.00          795.00
      Total For Associate                                              1.20                         910.00


Professional Fees                                                      1.30                    $   1,012.50

Total this Matter                                                                             $    1,012.50
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CASE ADMINISTRATION
Client/Matter No. 71844.0007


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                          Hours   Amount

10/01/15    JJM         Review Committee and M. Bienenstock emails in                         0.50    562.50
                        connection with involuntary intervention motion.
10/01/15    PP          Review draft motion to intervene ( ) and motion regarding             1.00    975.00
                        preservation of rights on appeal ( ).
10/08/15    NP          Order hearing transcripts for 10/5/2015 - 10/7/2015.                  0.10     28.50
10/09/15    VI          Analyze weekly docket summaries.                                      0.50    397.50
10/12/15    NP          Email court reporter regarding hearing transcripts status.            0.10     28.50
10/14/15    PP          Review draft appellate brief regarding motion to compel               1.00    975.00
                        (.7); review response to exclusivity extension motion (.3).
10/14/15    NP          Follow up with court reporter regarding status of hearing             0.90    256.50
                        transcripts (.1); file transcripts on Filesite (.3) and distribute
                        to attorneys (.1). Electronically file committee response to
                        Debtor's motion for extension of time (.3); arrange with
                        KCC for service (.1).
10/15/15    NP          Pacer research regarding parties appearances on appellate             3.20    912.00
                        case (.7); discussions with B. Levitan and M. Zerjal
                        regarding same (.7); review motion to intervene (.1) and
                        revise certificate of service (.3); prepare brief and Appendix
                        for filing (.6); file Appellant's brief and Appendix (.4); email
                        M. Zerjal with email service information for Katten Muchin
                        (.2) arrange for printing courtesy copies for Judge Guzman
                        (.2).
10/15/15    BWL         Office conference with N. Petrov regarding service question           0.70    511.00
                        (.1); further office conferences with N. Petrov regarding
                        service questions (.4); analysis regarding same (.2).
10/16/15    NP          File first supplemental declaration for FTI Consulting fee            0.40    114.00
                        application (.3); arrange with KCC for service (.1).
10/16/15    BWL         Prepare cover letter for courtesy copy to appellate brief             0.40    292.00
                        before J. Guzman (.3); office conference with N. Petrov
                        regarding courtesy copies of same (.1).
10/16/15    VI          Analyze weekly docket summaries.                                      1.00    795.00
10/21/15    JJM         Review emails regarding 10/22 court hearing results (.2);             0.50    562.50
                        telephone conference with ___ regarding same (.3).
10/21/15    PP          Initial review of Second Lien motion to reconsider Kirkland           0.50    487.50
                        retention.
10/21/15    MG          Retrieve local rule regarding timing of motion service and            1.20    420.00
                        forward to M. Zerjal (.1); Obtain September 28 hearing
                        transcript and send to P. Possinger (.1); Correspond with N.
                        Williams regarding pleadings category spreadsheet (.1);
                        review same regarding status (.2); correspond and meet with
                        M. Czynerk regarding updating same (.4); review updates
                        and follow up with M. Czyernik (.3).
10/22/15    JJM         Review Kirkland employment reconsideration motion (.4);               0.60    675.00
                        emails with P. Possinger regarding Committee position on
                        same (.2).
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CASE ADMINISTRATION
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Date        Attorney    Description                                                      Hours   Amount

10/22/15    NP          Review hearing transcripts for 10/13-16/2015 (.5); file           1.50    427.50
                        transcripts to system (.1) and distribute to attorneys (.1);
                        calls with M. Giddens regarding August and Omnibus
                        hearing transcripts (.2); file August transcripts to system
                        (.1); file to 10/21/2015 Omnibus hearing transcript system
                        (.1), distribute to attorneys (.1); telephone conference with
                        M. Giddens regarding transcripts and case management (.3).
10/22/15    MCC         Meeting with M. Giddens regarding updating pleadings              3.00    780.00
                        category spreadsheet (.3); Retrieve and analyze court docket
                        (1.0); update Caesars pleadings chart (1.7).
10/22/15    MG          Telephone conference with N. Petrov regarding transcripts,        0.30    105.00
                        FileSite, and other case management issues.
10/23/15    JJM         List to Committee case status/update call (.8); emails with P.    1.10   1,237.50
                        Possinger regarding Kirkland disinterestedness motion (.3).
10/23/15    NP          File Seventh Supplemental Declaration in Support of               0.40    114.00
                        Proskauer retention (.3); forward to KCC for service (.1).
10/23/15    MG          Review FileSite and recent key correspondence and                 1.40    490.00
                        documents (.9); review E-room (.3); review categories list
                        regarding case management (.2).
10/23/15    VI          Analyze weekly docket summaries.                                  0.80    636.00
10/26/15    MZ          Review upcoming case deadlines.                                   0.50    347.50
10/26/15    MG          Prepare case calendar.                                            1.70    595.00
10/27/15    MG          Review pleadings filed (.4); review and organize case             1.20    420.00
                        documents (.8).
10/30/15    MG          Review certain documents added to Caesars E-Room                  0.50    175.00
                        regarding case development.
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CASE ADMINISTRATION
Client/Matter No. 71844.0007



Attorney                                          Hours       Rate         Amount

JEFF J. MARWIL                                      2.70   1,125.00        3,037.50
PAUL POSSINGER                                      2.50     975.00        2,437.50
        Total For Partner                           5.20                   5,475.00

BRANDON W. LEVITAN                                  1.10    730.00           803.00
MAJA ZERJAL                                         0.50    695.00           347.50
VINCENT INDELICATO                                  2.30    795.00         1,828.50
      Total For Associate                           3.90                   2,979.00

MAGALI GIDDENS                                      6.30    350.00         2,205.00
MARK C. CZERNYK                                     3.00    260.00           780.00
NATASHA PETROV                                      6.60    285.00         1,881.00
      Total For Legal Assistant                    15.90                   4,866.00


Professional Fees                                  25.00              $   13,320.00

Total this Matter                                                     $   13,320.00
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CLAIMS ADMINISTRATION AND OBJECTIONS
Client/Matter No. 71844.0008


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                                       Hours        Amount

10/01/15     VI         Analyze proposed claims settlement in advance of telephone          0.50        397.50
                        conference with Kirkland.
10/02/15     PMA        Teleconference with S. Star regarding claims issues.                0.10         102.50
10/05/15     MZ         Confer with P. Abelson regarding post-petition interest.            0.20         139.00
10/05/15     PMA        Confer with V. Indelicato regarding claims issues (.1);             1.20       1,230.00
                        review FinCen settlement motion (.5); review email
                        correspondence from M. Zerjal regarding postpetition
                        interest (.1); review ResCap decision regarding postpetition
                        interest (.3); confer with M. Zerjal regarding postpetition
                        interest (.2).
10/08/15     PP         Review claims correspondence to chambers (.2); emails with          0.40        390.00
                        V. Indelicato regarding handling same (.2).
10/09/15     PMA        Review email correspondence regarding recharacterization            0.10        102.50
                        research.
10/27/15     PMA        Teleconference with J. Mester regarding 1111(b) issues.             0.20        205.00
10/28/15     PMA        Review revised 1111(b) scheduling order and draft email             0.10        102.50
                        correspondence regarding same.
10/29/15     PMA        Confer with M. Zerjal regarding intercreditor issues.               0.10        102.50


Attorney                                                                Hours             Rate         Amount

PAUL POSSINGER                                                            0.40           975.00          390.00
PHILIP M. ABELSON                                                         1.80         1,025.00        1,845.00
       Total For Partner                                                  2.20                         2,235.00

MAJA ZERJAL                                                               0.20          695.00          139.00
VINCENT INDELICATO                                                        0.50          795.00          397.50
      Total For Associate                                                 0.70                          536.50


Professional Fees                                                         2.90                     $   2,771.50

Total this Matter                                                                                 $    2,771.50
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COMMITTEE GOVERNANCE
Client/Matter No. 71844.0009


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                                    Hours        Amount

10/01/15     SM         Discuss Bylaws amendment for new member with V.                  0.20        115.00
                        Indelicato.
10/01/15     VI         Review Committee bylaws to determine procedures for new          0.40        318.00
                        members (.2); telephone conference with S. Ma regarding
                        same (.2).
10/05/15     SM         Draft Committee meeting minutes.                                 0.20        115.00
10/06/15     SM         Draft Committee meeting minutes.                                 0.20        115.00
10/09/15     SM         Draft Committee meeting minutes.                                 0.20        115.00
10/13/15     SM         Set-up updated contact list and handle other administrative      0.20        115.00
                        matters regarding new Committee member contact.
10/19/15     VI         Analyze Relative-Value Committee Questionnaire (.2);             0.30        238.50
                        prepare email correspondence to Committee regarding same
                        (.1).
10/20/15     SM         Draft Committee meeting minutes.                                 0.20        115.00
10/23/15     SM         Draft Committee meeting minutes.                                 0.20        115.00
10/27/15     SM         Draft Committee meeting minutes.                                 0.20        115.00


Attorney                                                                Hours          Rate         Amount

STEVE MA                                                                  1.60        575.00          920.00
VINCENT INDELICATO                                                        0.70        795.00          556.50
      Total For Associate                                                 2.30                      1,476.50


Professional Fees                                                         2.30                  $   1,476.50

Total this Matter                                                                              $    1,476.50
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EMPLOYEE BENEFITS AND PENSIONS
Client/Matter No. 71844.0010


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                                      Hours        Amount

10/02/15     VI         Draft discovery pleading regarding deferred compensation           2.00       1,590.00
                        plans (1.9); review Rule 2004 order regarding same (.1).
10/07/15     CMH        Correspondence with Paul Weiss regarding deferred                  0.50        475.00
                        compensation plans.
10/08/15     CMH        Correspondance with Paul Weiss regarding deferred                  0.40        380.00
                        compensation plans (.2); internal updates regarding diligence
                        process (.2).
10/09/15     SAE        Review, respond to emails with C. Hart, J. Liu regarding           0.10         87.50
                        deferred compensation issue.
10/21/15     CMH        Correspondence with E. Murphy regarding deferred                   0.50        475.00
                        compensation trust.
10/22/15     SAE        Emails with C. Hart regarding deferred compensation issues.        0.10         87.50
10/22/15     CMH        Email to E. Murphy regarding deferred compensation plans.          0.30        285.00
10/23/15     CMH        Correspondence with Paul Weiss regarding deferred                  0.20        190.00
                        compensation plans.
10/28/15     SAE        Emails to/from E. Murphy at Paul Weiss regarding deferred          0.30        262.50
                        compensation issue.
10/28/15     VI         Review S. Eggers email correspondence regarding deferred           0.10         79.50
                        compensation issues.


Attorney                                                                 Hours           Rate         Amount

COLLEEN M. HART                                                            1.90         950.00        1,805.00
      Total For Partner                                                    1.90                       1,805.00

SCOTT A. EGGERS                                                            0.50         875.00         437.50
      Total For Senior Counsel                                             0.50                        437.50

VINCENT INDELICATO                                                         2.10         795.00        1,669.50
      Total For Associate                                                  2.10                       1,669.50


Professional Fees                                                          4.50                   $   3,912.00

Total this Matter                                                                                $    3,912.00
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EMPLOYMENT AND FEE APPLICATIONS
Client/Matter No. 71844.0011


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                      Hours   Amount

10/01/15    SAE         Respond to Fee Committee inquiries.                               0.20    175.00
10/01/15    SM          Follow up on block billing items discussed on call with M.        0.40    230.00
                        Parra-Sandoval.
10/01/15    JGL         Teleconference with J. Ahlen-Johnson regarding fee                0.50    587.50
                        committee review of interim application.
10/01/15    MZ          Discuss fee application with J. Liu.                              0.40    278.00
10/01/15    PMA         Confer with M. Giddens regarding fee committee inquiry as         0.30    307.50
                        to June hearing (.1); confer with J. Liu regarding fee
                        applications (.2).
10/01/15    MG          Review and revise August billing statement to ensure              5.50   1,925.00
                        compliance with U.S. Trustee and fee commitee guidelines
                        (5.4); meet with P. Abelson regarding June hearing inquiry
                        (.1).
10/01/15    NW          Review edits to August billing statement (1.0); verify figures    4.50    877.50
                        from billing statement (2.0); and prepare August monthly
                        fee statement (1.5).
10/02/15    SM          Revise Proskauer's August monthly fee statement.                  1.30     747.50
10/02/15    JGL         Teleconference with N. Rapoport regarding Proskauer               1.70   1,997.50
                        interim fee application (.5); teleconference with P. Abelson
                        regarding same (.3); conference call with S. Star and S.
                        Simms regarding fee committee interim fee application
                        review (.4); teleconference with M. Zerjal regarding interim
                        fee application time entries for motions subject to pending
                        appeal (.5).
10/02/15    NW          Update draft of monthly August fee statement (1.0); follow        2.00    390.00
                        up with time keepers on entries needing resolution (.5); and
                        edit August monthly fee statement (.5).
10/05/15    SM          Prepare second interim fee application for Proskauer.             2.20   1,265.00
10/05/15    JGL         Teleconference with S. Ma regarding documents for fee             0.10     117.50
                        committee.
10/05/15    PMA         Teleconference with B. Cardos regarding supplemental              0.10    102.50
                        disclosure.
10/06/15    SM          Revise draft of Committee member reimbursement                    3.60   2,070.00
                        statement for July (.9); draft Committee member statement
                        for August (1.3); revise draft of second interim fee
                        application for Proskauer (1.0). Confer with J. Liu regarding
                        Committee member reimbursement applications and second
                        interim fee application (.4).
10/06/15    JGL         Teleconference with S. Ma regarding second interim fee            0.70    822.50
                        application (.3); review Committee expenses monthly
                        statements for July/August (.4).
10/06/15    PMA         Confer with J. Liu regarding August billing statement.            0.10    102.50
10/07/15    SM          Draft second interim reimbursement application for                1.00    575.00
                        Committee members.
10/08/15    SM          Revise draft of second interim fee application.                   0.70    402.50
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EMPLOYMENT AND FEE APPLICATIONS
Client/Matter No. 71844.0011

Date        Attorney    Description                                                        Hours   Amount

10/09/15    SM          Revise second interim Committee members' reimbursement              1.00    575.00
                        application.
10/11/15    MG          Revise September billing statement to comply with U.S.              3.20   1,120.00
                        Trustee and fee committee guidelines.
10/12/15    MG          Revise September billing statement to ensure accuracy and           3.50   1,225.00
                        comply with U.S. Trustee and fee committee guidelines.
10/13/15    MG          Revise September billing statement.                                 1.70    595.00
10/14/15    MG          Revise September billings statement to comply with fee              1.00    350.00
                        guidelines.
10/15/15    JGL         Conference call with S. Star and D. Ireland regarding fee           1.30   1,527.50
                        application (.2); review memo from M. Parra-Sandoval
                        regarding July Proskauer billing statement (1.0); email to P.
                        Abelson and S. Ma regarding Fee Committee FTI report (.1).
10/15/15    PMA         Review email correspondence from J. Liu regarding fee               0.10    102.50
                        application issues.
10/16/15    SM          Email M. Parra-Sandoval regarding missing July receipts             2.70   1,552.50
                        (.1); review July fee report for accuracy. (1.0); review
                        corrections to July fee report (.6). Meet with J. Liu to discuss
                        N. Rapoport's comment's regarding July fee statement.
10/16/15    PMA         Confer with J. Liu regarding fee application.                       0.10    102.50
10/16/15    MG          Revise September billing statement including ensuring               2.50    875.00
                        appropriate time breakdown, categorization, consistency and
                        accuracy.
10/19/15    SM          Compile information requested regarding attendees at July           1.30    747.50
                        21 meeting.
10/19/15    JGL         Prepare/revise budget for second interim fee application            0.70    822.50
                        (1.0); review second interim fee application (partial) (.7).
10/19/15    PMA         Confer with S. Ma regarding supplemental disclosure (.1);           0.30    307.50
                        review email correspondence from S. Levinson regarding
                        fee applications (.1). Review and revise draft supplemental
                        disclosure.
10/19/15    MG          Review and revise September billing statement.                      2.20    770.00
10/20/15    SM          Revise draft of supplemental declaration.                           0.20    115.00
10/20/15    MG          Review and revise September billing statement to ensure             2.10    735.00
                        compliance with U.S. Trustee and fee committee protocol
                        (1.9); correspond with H. Sanchez regarding obtaining
                        August billing statement in LEDES billing format and
                        forward same to N. Rapoport and M. Parra-Sandoval (.2).
10/20/15    NW          Compile fee and disbursement figures in anticipation of             1.00    195.00
                        second interim fee application.
10/21/15    SM          Email Kirkland regarding Proskauer August fee statement.            0.10      57.50
10/21/15    MG          Review and revise September billing statement, including            3.30   1,155.00
                        preparing timekeeper queries and incorporating responses
                        (2.3); review edits (1.0).
10/22/15    PP          Detailed review of motion to reconsider Kirkland retention          1.70   1,657.50
                        order and related exhibits (.8); discuss same with P. Abelson
                        (.4); email summary of status to M. Thomas (.5).
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EMPLOYMENT AND FEE APPLICATIONS
Client/Matter No. 71844.0011

Date        Attorney    Description                                                        Hours   Amount

10/22/15    SM          Review FTI September time entries for privileged and                0.40    230.00
                        confidential information.
10/22/15    JGL         Review certain FTI time entries regarding confidentiality           1.60   1,880.00
                        issues.
10/22/15    PMA         Review supplemental disclosure by Winston & Strawn                  1.60   1,640.00
                        regarding retention (.1); review and draft email
                        correspondence regarding supplemental disclosure (.1);
                        review and revise supplemental disclosure (.1); confer with
                        J. Liu regarding Kirkland retention reconsideration motion
                        (.2); confer with P. Possinger regarding Kirkland retention
                        reconsideration motion (.4); review and analyze Kirkland
                        retention reconsideration motion (.7).
10/22/15    MG          Review and revise September billing statement.                      2.90   1,015.00
10/22/15    NW          Review and log fee and expense figures for August in                1.50     292.50
                        anticipation of second interim fee application.
10/23/15    SM          Discuss July fee report with J. Liu in preparation for call         2.40   1,380.00
                        with N. Rapoport (.3); attend call with N. Rapoport and J.
                        Liu regarding July fee report (1.0); review updated parties in
                        interest list for new entities for which to run conflicts check
                        (.9); finalize seventh supplemental disclosure to be filed (.2).
10/23/15    JGL         Call with N. Rapoport and S. Ma regarding July preliminary          1.80   2,115.00
                        report (1.0); review FTI time entries regarding
                        confidentiality (.8).
10/23/15    PMA         Confer with S. Ma regarding supplemental disclosure (.1);           0.30    307.50
                        confer with M. Zerjal regarding Kirkland reconsideration
                        motion (.1); review and finalize supplemental disclosure
                        (.1).
10/23/15    MG          Review and revise September billing billing statement,              2.40    840.00
                        including addressing and incorporating timekeeper queries.
10/23/15    NW          Time entry reconciliation for September fee statement.              2.00     390.00
10/26/15    SM          Prepare supplemental information for N. Rapoport (1.5);             2.50   1,437.50
                        prepare Committee member expense application (6th and
                        7th) to be filed. (.2); review FTI September time entries for
                        confidential and privileged information (.8).
10/26/15    JGL         Review September time entries for attorney-client privilege         3.60   4,230.00
                        and other confidentiality requirements.
10/27/15    SM          Review FTI time entries for second interim period for               4.00   2,300.00
                        privileged and confidential information. Finalize
                        supplemental information to be sent to N. Rapoport (.8);
                        review FTI second interim time entries for privileged and
                        confidential information (3.0).
10/27/15    JGL         Review/comment on follow-up report to N. Rapoport for               6.40   7,520.00
                        certain identified July time entries (1.6); continued review of
                        September billing statement for attorney-client privilege and
                        confidentiality concerns (4.5). Discussion with P. Abelson
                        regarding September billing statement.
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EMPLOYMENT AND FEE APPLICATIONS
Client/Matter No. 71844.0011

Date        Attorney    Description                                                   Hours   Amount

10/27/15    PMA         Review September billing statement for confidentiality and     0.60    615.00
                        compliance with US Trustee guidelines (.2); Confer with J.
                        Liu regarding September billing statement (.4).
10/27/15    MG          Calculate fees incurred since inception of Proskauer's         0.10     35.00
                        retention in matter.
10/27/15    NW          Review fee statements to organize fee and disbursement         1.00    195.00
                        figures in anticipation of second interim fee application.
10/28/15    SM          Review FTI second interim time entries for privileged and      0.80    460.00
                        confidential information.
10/28/15    PMA         Review order regarding motion to vacate Kirkland retention.    0.10    102.50
10/28/15    MG          Review and revise September billing statement to comply        2.20    770.00
                        with U.S. Trustee and fee committee guidelines, including
                        appropriate categorization, time breakdown, consistency and
                        accuracy.
10/29/15    SM          Revise/update second interim reimbursement application for     2.50   1,437.50
                        Committee members.
10/29/15    JGL         Continued review of September billing statement for            2.40   2,820.00
                        attorney-client privilege and confidentiality.
10/29/15    PMA         Review September billing statement for confidentiality and     1.80   1,845.00
                        compliance with US trustee guidelines (1.7); Teleconference
                        with S. Levinson and M. Zerjal regarding reconsideration
                        motion status (.1).
10/29/15    MG          Meeting with P. Abelson regarding September billing            1.30    455.00
                        statement (.1); meeting with J. Liu regarding September
                        billing statement (.1); review P. Abelson edits and forward
                        to H. Sanchez (.8); prepare list of open items regarding
                        interim application (.3).
10/30/15    SM          Call with M. Giddens regarding disbursements to Committee      0.20    115.00
                        members.
10/30/15    MG          Call with S. Ma regarding status and details of Committee      0.50    175.00
                        reimbursement wire disbursements (.1); correspondence and
                        calls with H. Sanchez rearding same (.4).
10/31/15    SM          Follow up on emails from J. Liu regarding fee report.          0.10     57.50
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EMPLOYMENT AND FEE APPLICATIONS
Client/Matter No. 71844.0011



Attorney                                          Hours       Rate         Amount

JUDY G. LIU                                        20.80   1,175.00       24,440.00
PAUL POSSINGER                                      1.70     975.00        1,657.50
PHILIP M. ABELSON                                   5.40   1,025.00        5,535.00
       Total For Partner                           27.90                  31,632.50

SCOTT A. EGGERS                                     0.20    875.00          175.00
      Total For Senior Counsel                      0.20                    175.00

MAJA ZERJAL                                         0.40    695.00           278.00
STEVE MA                                           27.40    575.00        15,755.00
      Total For Associate                          27.80                  16,033.00

MAGALI GIDDENS                                     34.40    350.00        12,040.00
NICHOLAS WILLIAMS                                  12.00    195.00         2,340.00
      Total For Legal Assistant                    46.40                  14,380.00


Professional Fees                                 102.30              $   62,220.50

Total this Matter                                                     $   62,220.50
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EMPLOYMENT AND FEE APPLICATION OBJECTIONS
Client/Matter No. 71844.0012


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                                      Hours        Amount

10/22/15     JGL        Review motion to reconsider Kirkland retention application.        1.30       1,527.50


Attorney                                                                Hours            Rate         Amount

JUDY G. LIU                                                               1.30        1,175.00        1,527.50
      Total For Partner                                                   1.30                        1,527.50


Professional Fees                                                         1.30                    $   1,527.50

Total this Matter                                                                                $    1,527.50
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FINANCING AND CASH COLLATERAL
Client/Matter No. 71844.0013


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                       Hours   Amount

10/01/15    MZ          Review cash collateral stipulation and compare with cash           1.80   1,251.00
                        collateral order (1.6); discuss same with P. Abelson (.2).
10/01/15    PMA         Review cash collateral milestone stipulation (.2); confer with     0.70    717.50
                        M. Zerjal regarding cash collateral milestone stipulation (.2);
                        confer with V. indelicato regarding cash collateral milestone
                        stipulation (.1); review email correspondence from M. Zerjal
                        regarding cash collateral milestone stipulation (.1); review
                        and respond to email correspondence from various parties
                        regarding stand-alone complaint (.1).
10/01/15    VI          Review stipulation regarding new milestones (.4);                  0.50    397.50
                        conference with P. Abelson regarding same (.1).
10/02/15    PMA         Confer with V. Indelicato regarding stand-alone complaint.         0.10    102.50
10/02/15    BWL         Email to V. Indelicato regarding request from defendants for       0.20    146.00
                        extension of answer deadline (.1); email to J. Mester
                        regarding response to same (.1).
10/04/15    SOW         Review issues regarding security interest in intercompany          1.30   1,820.00
                        notes and state licenses.
10/04/15    AC          Review intercompany notes (.3); correspond with S. Weise           0.40    186.00
                        regarding same (.1).
10/05/15    AC          Review certain intercompany notes of the Debtors (.1);             0.20     93.00
                        correspond with S. Weise regarding same (.1).
10/06/15    JGL         Discussion with M. Zerjal regarding cash analysis.                 0.30     352.50
10/06/15    MZ          Discuss cash collateral issues with J. Liu (.3); review cases      3.50   2,432.50
                        regarding proceeds (3.2).
10/06/15    PMA         Confer with V. Indelicato regarding standing motion (.1);          0.20    205.00
                        review and respond to email correspondence with V.
                        Indelicato (and others) regarding stipulation extending time
                        to respond to complaint (.1).
10/06/15    VI          Multiple email correspondences with B. Levitan regarding           0.50    397.50
                        motion to extend briefing schedule (.2); telephone
                        conference with J. Mester regarding same (.2); email
                        correspondence with Defendants regarding same (.1).
10/07/15    PMA         Confer with V. Indelicato regarding standing motion.               0.10    102.50
10/07/15    VI          Confer with P. Abelson regarding Committee adversary               0.50    397.50
                        proceeding (.1); review motion to extend briefing schedule
                        (.4).
10/08/15    MZ          Conference with P. Abelson regarding cash issues.                  0.20    139.00
10/08/15    PMA         Confer with M. Zerjal regarding cash issues.                       0.20    205.00
10/12/15    VI          Analyze FTI report on cash flow.                                   1.20    954.00
10/13/15    PMA         Review email correspondence from V. Indelicato regarding           0.10    102.50
                        standing motion.
10/14/15    SOW         Review of law regarding security interest in floating casinos.     0.20    280.00
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FINANCING AND CASH COLLATERAL
Client/Matter No. 71844.0013

Date        Attorney    Description                                                      Hours   Amount

10/15/15    PMA         Review email correspondence from B. Rhode regarding               0.20    205.00
                        standing motion stipulation (.1); review proposed standing
                        motion stipulation (.1).
10/16/15    DCC         Review email from M. Zerjal concerning research regarding         1.20    390.00
                        cash collateral (.1); call with M. Zerjal regarding same (.1);
                        Westlaw research regarding cash collateral and review court
                        dockets and documents regarding same (.9); email
                        documents to M. Zerjal regarding same (.1).
10/16/15    VI          Analyze lien challenge open issues.                               3.00   2,385.00
10/19/15    SOW         Review issues regarding security interest in insurance            0.50     700.00
                        claims.
10/19/15    PMA         Confer with V. Indelicato regarding revised stipulation with      1.00   1,025.00
                        respect to standing motion (.7); review revised stipulation
                        with respect to standing motion (.2); review email
                        correspondence from B. Rhode regarding stipulation with
                        respect to standing motion (.1).
10/19/15    PMA         Teleconference with Kirkland, Proskauer, Kramer, and              0.20    205.00
                        Stroock regarding stipulation with respect to standing
                        motion (partial attendance).
10/19/15    VI          Revise proposed lien challenges stipulation (1.5); confer         3.80   3,021.00
                        with P. Abelson regarding same (.7); telephone conference
                        with B. Rhode and D. Eggermann regarding lien challenge
                        proposal (.8). Analyze riverboat casino lien challenge issues.
10/20/15    JGL         Teleconference with P. Abelson regarding potential standing       0.20    235.00
                        motion stipulation.
10/20/15    MZ          Discuss cash collateral order with J. Liu.                        0.40     278.00
10/20/15    PMA         Teleconference with C. Shore, H. Denman, and V. Indelicato        2.30   2,357.50
                        regarding standing motion briefing issues (.3);
                        teleconference with Kirkland, Proskauer, Kramer, Stroock,
                        and White & Case regarding briefing with respect to
                        standing motion (.7); confer with V. Indelicato regarding
                        standing motion (.7); teleconference with V. Indelicato and
                        H. Denman regarding standing motion (.4); confer with J.
                        Liu and V. Indelicato regarding standing motion (.2).
10/20/15    VI          Telephone conference with P. Abelson, C. Shore, and H.            4.40   3,498.00
                        Denman regarding standing motions (.3); telephone
                        conference with Kirkland, Stroock, Kramer, and White &
                        Case regarding same (.7); confer with P. Abelson regarding
                        standing motion (.7); telephone conference with P. Abelson
                        and H. Denman regarding same (.4); confer with P. Abelson
                        and J. Liu regarding standing motion (.2); follow-up
                        telephone conference with Kirkland, Stroock, Kramer, and
                        White & Case regarding standing motions (.8). analyze debt
                        documents to determine scope of proposed lien challenge
                        stipulation. (1.3).
10/21/15    VI          Multiple telephone conferences with P. Abelson regarding          0.80    636.00
                        standing motion briefing schedule update (.5); multiple
                        telephone and email correspondences with Kirkland and
                        White & Case regarding same (.3).
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FINANCING AND CASH COLLATERAL
Client/Matter No. 71844.0013

Date         Attorney   Description                                                  Hours         Amount

10/22/15     PMA        Review and draft email correspondence regarding 1111(b)        0.10         102.50
                        discovery schedule.


Attorney                                                              Hours          Rate          Amount

JUDY G. LIU                                                             0.50      1,175.00           587.50
PHILIP M. ABELSON                                                       5.20      1,025.00         5,330.00
STEVEN O. WEISE                                                         2.00      1,400.00         2,800.00
       Total For Partner                                                7.70                       8,717.50

ASHLEY CHAY                                                             0.60       465.00            279.00
BRANDON W. LEVITAN                                                      0.20       730.00            146.00
MAJA ZERJAL                                                             5.90       695.00          4,100.50
VINCENT INDELICATO                                                     14.70       795.00         11,686.50
      Total For Associate                                              21.40                      16,212.00

DAVID C. COOPER                                                         1.20       325.00           390.00
      Total For Legal Assistant                                         1.20                        390.00


Professional Fees                                                      30.30                  $   25,319.50

Total this Matter                                                                            $    25,319.50
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LITIGATION
Client/Matter No. 71844.0014


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                  Hours   Amount

10/01/15    SM          Follow up on email from S. Eggers regarding Rule 2004         0.20    115.00
                        discovery.
10/01/15    PMA         Review MeehanCombs letter to S.D.N.Y. district court          0.10    102.50
                        regarding motion for summary judgment.
10/01/15    VI          Email correspondences with B. Levitan regarding extension     0.60    477.00
                        on adversary proceeding briefing (.2); analyze draft
                        subpoenas (.4).
10/02/15    PMA         Confer with V. Indelicato regarding discovery issues.         0.20    205.00
10/06/15    PMA         Confer with S. Eggers regarding litigation issues.            0.10    102.50
10/08/15    PP          Review district court opinion regarding stay of CEC           0.40    390.00
                        litigation.
10/08/15    JGL         Review district court stay opinion.                           0.70    822.50
10/08/15    PMA         Review email correspondence from S. Ma regarding district     0.10    102.50
                        court opinion affirming injunction decision.
10/08/15    VI          Analyze appeal decision.                                      0.60    477.00
10/09/15    JGL         Review district court decision affirming bankruptcy court     0.60    705.00
                        denial of bankruptcy code section 105 stay.
10/09/15    PMA         Review and analyze district court decision regarding          0.50    512.50
                        injunction.
10/20/15    PP          Initial review of 7th Circuit briefs in stay appeal.          0.60    585.00
10/20/15    VI          Analyze Wilmington Trust complaint regarding CEC              0.80    636.00
                        guarantee.
10/21/15    VI          Review Seventh Circuit stay appeal briefing.                  1.00    795.00
10/23/15    PMA         Review and analyze summary judgment papers in Meehan          0.40    410.00
                        litigation (.2); review Wilmington Trust complaint against
                        CEC (.2).
10/27/15    VI          Review proposed Bankruptcy code section 1111(b) briefing      0.50    397.50
                        schedule order.
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LITIGATION
Client/Matter No. 71844.0014



Attorney                                          Hours       Rate        Amount

JUDY G. LIU                                         1.30   1,175.00       1,527.50
PAUL POSSINGER                                      1.00     975.00         975.00
PHILIP M. ABELSON                                   1.40   1,025.00       1,435.00
       Total For Partner                            3.70                  3,937.50

STEVE MA                                            0.20    575.00          115.00
VINCENT INDELICATO                                  3.50    795.00        2,782.50
      Total For Associate                           3.70                  2,897.50


Professional Fees                                   7.40              $   6,835.00

Total this Matter                                                     $   6,835.00
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MEETINGS AND COMMUNICATION WITH COMMITTEE
Client/Matter No. 71844.0015


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                    Hours   Amount

10/01/15    SM          Email Committee regarding amendment to by-laws member           0.30    172.50
                        list.
10/01/15    VI          Prepare and draft email correspondence to Committee             0.20    159.00
                        regarding cash collateral milestone stipulation.
10/02/15    SM          Prepare for Committee call (.1); attend Committee call (.8).    0.90    517.50
10/02/15    MJB         Participate in telephonic Committee meeting.                    0.80    980.00
10/02/15    CT          Attend Committee call.                                          0.80    556.00
10/02/15    JGL         Participate in bi-weekly Committee conference call.             0.80    940.00
10/02/15    MZ          Participate in Committee call.                                  0.80    556.00
10/02/15    PMA         Attend bi-weekly Committee call.                                0.80    820.00
10/02/15    VI          Telephone conference with Committee regarding bi-weekly         0.90    715.50
                        case update.
10/05/15    SM          Prepare documents for Tuesday Committee call.                   0.10     57.50
10/05/15    PMA         Review email correspondence from V. Indelicato and J. Liu       0.30    307.50
                        regarding Committee call agenda (.1); confer with V.
                        Indelicato regarding bi-weekly Committee call (.2).
10/05/15    VI          Multiple email correspondences with Co-Chairs regarding         0.30    238.50
                        Tuesday call agenda (.2); prepare email correspondence to
                        Committee regarding same (.1).
10/06/15    SAE         Attend Committee call (partial attendance).                     0.50    437.50
10/06/15    SM          Prepare for Committee call (.1); attend Committee call (.6).    0.80    460.00
                        Follow up with various Committee members regarding July
                        expenses (.1).
10/06/15    MJB         Participate in telephonic Committee meeting.                    0.60    735.00
10/06/15    CT          Attend Committee call.                                          0.60    417.00
10/06/15    JGL         Attend Committee conference call (bi-weekly), with FTI,         0.60    705.00
                        Jefferies, GCA, and Committee members.
10/06/15    MZ          Prepare for (.3) and participate on Committee call (.6).        0.90    625.50
10/06/15    PMA         Attend bi-weekly Committee call.                                0.60    615.00
10/06/15    VI          Telephone conference with Committee regarding weekly            0.60    477.00
                        case update.
10/07/15    MZ          Draft email to Committee regarding motion to extend             0.40    278.00
                        exclusivity and disclosure statement.
10/08/15    SM          Follow up on inquiries from Committee members regarding         0.30    172.50
                        lift stay adversary appeals decision.
10/08/15    JGL         Review proposed Committee call agenda.                          0.20    235.00
10/08/15    PMA         Review email correspondence from V. Indelicato regarding        0.10    102.50
                        Committee call agenda.
10/09/15    SAE         Attend bi-weekly Committee conference call.                     0.50    437.50
10/09/15    PP          Prepare for (.1) and attend update call with Committee          0.60    585.00
                        members (.5).
10/09/15    SM          Prepare for Committee call (.1); attend Committee call (.5).    0.60    345.00
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MEETINGS AND COMMUNICATION WITH COMMITTEE
Client/Matter No. 71844.0015

Date        Attorney    Description                                                    Hours   Amount

10/09/15    MJB         Prepare for (.2) and participate in telephonic Committee        2.00   2,450.00
                        meeting (.5). Conference call with IGT regarding proposed
                        plan, negotiations, timing (1.3).
10/09/15    CT          Attend Committee call.                                          0.50    347.50
10/09/15    JGL         Participate in Committee call conference call with              0.50    587.50
                        Committee members.
10/09/15    MZ          Participate on Committee call.                                  0.50    347.50
10/09/15    PMA         Attend bi-weekly Committee call.                                0.50    512.50
10/09/15    VI          Telephone conference with Committee regarding weekly            0.50    397.50
                        case update.
10/14/15    MZ          Draft email regarding responses to exclusivity motion to        0.50    347.50
                        Committee.
10/15/15    PMA         Teleconference with S. Star regarding bi-weekly Committee       0.10    102.50
                        call.
10/16/15    PMA         Review email correspondence from M. Bienenstock                 0.10    102.50
                        regarding status update to Committee.
10/20/15    SAE         Prepare notes for Committee meeting (.3); attend Committee      1.40   1,225.00
                        meeting (1.1).
10/20/15    PP          Attend weekly update call with Committee.                       1.10   1,072.50
10/20/15    SM          Email Committee the complaint filed in SDNY by                  1.40     805.00
                        Wilmington Trust regarding CEC guarantees; (.2); prepare
                        for Committee call (.1); attend Committee call (1.1).
10/20/15    JGL         Participate on Committee bi-weekly call.                        1.10   1,292.50
10/20/15    MZ          Prepare for (.3) and participate on Committee call (1.1).       1.40     973.00
10/20/15    PMA         Confer with J. Liu regarding Committee call (.1); attend bi-    1.20   1,230.00
                        weekly Committee call (1.1).
10/20/15    VI          Telephone conference with Committee regarding weekly            1.10    874.50
                        case update.
10/22/15    SM          Follow up on emails from Committee members.                     0.30    172.50
10/22/15    VI          Multiple email correspondences with Committee Co-Chairs         0.40    318.00
                        regarding Friday call agenda (.2); multiple email
                        correspondences with Proskauer and FTI regarding same
                        (.2).
10/23/15    SAE         Attend Committee call.                                          0.70    612.50
10/23/15    PP          Prepare for (.2) and attend update call with Committee (.7).    0.90    877.50
10/23/15    SM          Prepare for Committee call (.1); attend Committee call (.7).    0.80    460.00
10/23/15    MJB         Telephonic Committee meeting.                                   0.70    857.50
10/23/15    JGL         Attend Committee call bi-weekly (partial attendance).           0.60    705.00
10/23/15    MZ          Participate on Committee call.                                  0.70    486.50
10/23/15    PMA         Attend bi-weekly Committee call.                                0.70    717.50
10/23/15    VI          Telephone conference with Committee regarding weekly            0.70    556.50
                        case update.
10/26/15    SM          Finalize and send Committee call agenda.                        0.10      57.50
10/26/15    MJB         Telephone call with IGT general counsel and Committee           1.00   1,225.00
                        representative regarding case status, plan negotiations, and
                        strategy.
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MEETINGS AND COMMUNICATION WITH COMMITTEE
Client/Matter No. 71844.0015

Date        Attorney    Description                                                    Hours   Amount

10/26/15    VI          Telephone conference with Committee members regarding           1.20    954.00
                        case update (.5); prepare email correspondence to M.
                        Bienenstock regarding same (.2). Multiple email
                        correspondences with M. Bienenstock, J. Liu, and P.
                        Abelson regarding Committee call agenda (.3); Email
                        correspondences with Committee Co-Chairs regarding same
                        (.2).
10/27/15    SAE         Attend weekly Committee call.                                   0.80    700.00
10/27/15    SM          Attend part of Committee call (.5); Follow up on email from     0.60    345.00
                        IGT (.1).
10/27/15    MJB         Participate in Committee meeting.                               0.80    980.00
10/27/15    JGL         Committee conference call with Committee members.               0.80    940.00
10/27/15    MZ          Prepare for (.2) and participate on Committee call (.8).        1.00    695.00
10/27/15    PMA         Attend bi-weekly Committee call.                                0.80    820.00
10/27/15    VI          Telephone conference with Committee regarding weekly            1.00    795.00
                        case update (.8); Telephone conference with P. Abelson and
                        FTI regarding Committee call follow-up (.2).
10/29/15    PMA         Teleconference with H. Denman regarding intercreditor           0.70    717.50
                        issues (.3); Teleconference with H. Denman and M. Zerjal
                        (partial) regarding meeting with Debtors’ advisors (.4).
10/30/15    SAE         Attend bi-weekly Committee call.                                0.70    612.50
10/30/15    PP          Prepare for (.1) and telephone call with Committee members      0.80    780.00
                        regarding meeting with Debtors' professionals, CEC
                        contribution analysis (.7).
10/30/15    SM          Prepare call materials and setup call (.4). Attend Committee    1.10    632.50
                        call (.7).
10/30/15    MJB         Conference call with Committee.                                 0.70    857.50
10/30/15    JGL         Bi-weekly Committee call with members and Committee             0.70    822.50
                        advisors.
10/30/15    MZ          Draft emails to Committee regarding motion reconsider           0.30    208.50
                        Kirkland's retention.
10/30/15    PMA         Attend bi-weekly Committee call.                                0.70    717.50
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MEETINGS AND COMMUNICATION WITH COMMITTEE
Client/Matter No. 71844.0015



Attorney                                          Hours       Rate         Amount

JUDY G. LIU                                         5.30   1,175.00        6,227.50
MARTIN J. BIENENSTOCK                               6.60   1,225.00        8,085.00
PAUL POSSINGER                                      3.40     975.00        3,315.00
PHILIP M. ABELSON                                   6.60   1,025.00        6,765.00
       Total For Partner                           21.90                  24,392.50

SCOTT A. EGGERS                                     4.60    875.00         4,025.00
      Total For Senior Counsel                      4.60                   4,025.00

CHRIS THEODORIDIS                                   1.90    695.00         1,320.50
MAJA ZERJAL                                         6.50    695.00         4,517.50
STEVE MA                                            7.30    575.00         4,197.50
VINCENT INDELICATO                                  6.90    795.00         5,485.50
       Total For Associate                         22.60                  15,521.00


Professional Fees                                  49.10              $   43,938.50

Total this Matter                                                     $   43,938.50
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NON-WORKING TRAVEL
Client/Matter No. 71844.0016


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                                        Hours        Amount

10/21/15     MJB        Round trip travel between NY and Chicago for October 21st            1.20       1,470.00
                        omnibus hearing (actual travel time 2.5, billed at 1.2).
10/21/15     PMA        Travel to Chicago for October 21 hearing (5.1); Travel to            5.00       5,125.00
                        New York regarding October 21 hearing (4.7); Travel from
                        Proskauer’s offices to October 21 hearing (.2) (actual travel
                        time 10.0, billed at 5.0).
10/22/15     PMA        Travel to meeting at FTI with FTI, Jefferies, G. Bousquette,         0.10        102.50
                        and Proskauer regarding plan/disclosure statement (.2)
                        (actual travel time .2, billed at .1).
10/29/15     MZ         Travel to Kirkland meeting from office and back (actual              0.50        347.50
                        travel time 1.0, billed at .5).
10/29/15     PMA        Travel to and from K&E regarding waterfall meeting (actual           0.50        512.50
                        travel time 1.0, billed at .5).


Attorney                                                                 Hours             Rate         Amount

MARTIN J. BIENENSTOCK                                                      1.20         1,225.00        1,470.00
PHILIP M. ABELSON                                                          5.60         1,025.00        5,740.00
       Total For Partner                                                   6.80                         7,210.00

MAJA ZERJAL                                                                0.50          695.00          347.50
      Total For Associate                                                  0.50                          347.50


Professional Fees                                                          7.30                     $   7,557.50

Total this Matter                                                                                  $    7,557.50
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PLAN AND DISCLOSURE STATEMENT
Client/Matter No. 71844.0017


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                      Hours   Amount

10/02/15    VI          Analyze revised draft FTI presentation regarding waterfall.       0.60    477.00
10/03/15    PMA         Teleconference with D. Seligman regarding exclusivity.            0.10    102.50
10/04/15    PMA         Draft and respond to email correspondence to Proskauer            0.80    820.00
                        team regarding exclusivity (.1); review materials from FTI
                        regarding waterfall analysis (.7).
10/05/15    PMA         Confer with M. Zerjal regarding exclusivity (.1); review          0.20    205.00
                        email correspondence from R. Klein and G. Bousquette
                        regarding waterfall analysis (.1).
10/05/15    VI          Review FTI waterfall analysis in advance of 10/6 Committee        1.10    874.50
                        call.
10/07/15    JJM         Emails with V. Indelicato and P. Possinger regarding plan         0.30    337.50
                        and Debtors strategy.
10/07/15    PMA         Confer with V. Indelicato regarding exclusivity (.1);             0.40    410.00
                        teleconference with D. Seligman regarding exclusivity (.1);
                        confer with V. Indelicato regarding plan issues (.2).
10/07/15    VI          Review pleadings filed on docket (.2); Confer with P.             0.40    318.00
                        Abelson regarding plan issues (.2).
10/08/15    PP          Review amended joint plan and disclosure statement.               1.50   1,462.50
10/08/15    SM          Prepare draft of response to exclusivity motion.                  0.30     172.50
10/08/15    MJB         Review Debtors' new proposed plan and related documents.          1.80   2,205.00
10/08/15    JGL         Review amended plan.                                              1.20   1,410.00
10/08/15    PMA         Review email correspondence from Proskauer team                   0.90     922.50
                        regarding plan issues (.2); review letter from Paul Weiss
                        regarding plan issues (.2); review email correspondence
                        regarding plan valuation (.1); confer with V. Indelicato
                        regarding plan issues (.3); review motion to extend
                        exclusivity (.1).
10/08/15    VI          Analyze amended plan and disclosure statement (2.5);              4.70   3,736.50
                        confer with P. Abelson regarding same (.3). Analyze
                        Debtors' exclusivity motion (.7); Prepare arguments for
                        exclusivity response (1.2).
10/09/15    JGL         Review correspondence from Paul Weiss regarding proposal          0.80    940.00
                        (.2); review draft of exclusivity response (.2) and email
                        correspondence to P. Abelson and V. Indelicato regarding
                        same (.2); teleconference with V. Indelicato regarding same
                        (.2).
10/09/15    MZ          Review draft response to exclusivity motion.                      0.10      69.50
10/09/15    PMA         Confer with V. Indelicato regarding plan and exclusivity          1.20   1,230.00
                        (.5); review and analyze Debtors’ exclusivity motion (.4);
                        teleconference with S. Star regarding waterfall analysis (.1);
                        analyze amended plan (.2).
10/10/15    PMA         Analyze amended plan.                                             1.10   1,127.50
10/12/15    PP          Comment on draft response to exclusivity extension.               0.70     682.50
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PLAN AND DISCLOSURE STATEMENT
Client/Matter No. 71844.0017

Date        Attorney    Description                                                      Hours   Amount

10/12/15    MJB         Draft and edit response to exclusivity motion (1.7); confer       2.00   2,450.00
                        with P. Abelson regarding same (.3).
10/12/15    JGL         Edit draft response to Debtors’ exclusivity motion (.7);          1.10   1,292.50
                        teleconference with P. Abelson regarding same (.2); review
                        updated response draft to Debtors’ exclusivity motion (.2).
10/12/15    PMA         Confer with C. Theodoridis regarding plan issues (.1);            1.20   1,230.00
                        review and revise response to exclusivity motion (.3); confer
                        with M. Beinenstock regarding same (.3); confer with J. Liu
                        regarding exclusivity response (.2); confer with V. Indelicato
                        regarding exclusivity response (.2); review email
                        correspondence from V. Indelicato regarding exclusivity
                        response (.1).
10/12/15    VI          Revise draft exclusivity response.                                3.00   2,385.00
10/13/15    PMA         Review revised exclusivity response.                              0.20     205.00
10/13/15    VI          Analyze plan issues.                                              1.70   1,351.50
10/14/15    MZ          Review responses to exclusivity motion.                           0.80     556.00
10/14/15    PMA         Review email correspondence from G. Bousquette regarding          0.50     512.50
                        valuation issues (.1); analyze responses to Debtors’
                        exclusivity motion (.4).
10/14/15    BWL         Email to N. Petrov regarding filing and service of response       0.10     73.00
                        to motion to extend exclusivity.
10/15/15    PMA         Confer with J. Liu regarding plan issues.                         0.10    102.50
10/16/15    PMA         Confer with V. Indelicato regarding plan issues.                  0.10    102.50
10/21/15    PMA         Review email correspondence from FTI, G. Bousquette, and          0.10    102.50
                        others regarding plan issues.
10/21/15    VI          Analyze open issues in advance of 10/22 meeting with FTI          2.70   2,146.50
                        and Jefferies.
10/22/15    PP          Call with Jefferies, P. Abelson, J. Liu and V. Indelicato         1.60   1,560.00
                        regarding comments and questions on current plan and
                        disclosure statement.
10/22/15    JGL         Conference call with FTI/Jefferies regarding Plan/Disclosure      1.70   1,997.50
                        Statement issues.
10/22/15    MZ          Review changes to plan and disclosure statement.                  2.50   1,737.50
10/22/15    PMA         Review email correspondence from G. Bousquette regarding          0.40     410.00
                        propco lease issue (.1); confer with J. Liu regarding plan
                        issues (.2); preparation for meeting at FTI with FTI,
                        Jefferies, G. Bousquette, and Proskauer regarding
                        plan/disclosure statement (.1).
10/23/15    VI          Analyze potential Disclosure Statement objections.                2.50   1,987.50
10/26/15    JGL         Review email from M. Bienenstock regarding Plan issue.            0.10     117.50
10/26/15    VI          Research potential waterfall issues.                              2.60   2,067.00
10/27/15    PMA         Review draft waterfall analysis.                                  0.10     102.50
10/28/15    PMA         Confer with M. Zerjal regarding waterfall analysis.               0.40     410.00
10/29/15    JGL         Teleconference with P. Abelson regarding waterfall                0.40     470.00
                        distribution legal analysis.
10/29/15    MZ          Review intercreditor agreement between CZR bondholders.           2.20   1,529.00
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PLAN AND DISCLOSURE STATEMENT
Client/Matter No. 71844.0017

Date         Attorney   Description                                                       Hours         Amount

10/29/15     PMA        Confer with J. Liu regarding waterfall analysis (.1); Confer        0.40         410.00
                        with V. Indelicato regarding waterfall analysis (.3).


Attorney                                                                  Hours           Rate          Amount

JEFF J. MARWIL                                                             0.30        1,125.00           337.50
JUDY G. LIU                                                                5.30        1,175.00         6,227.50
MARTIN J. BIENENSTOCK                                                      3.80        1,225.00         4,655.00
PAUL POSSINGER                                                             3.80          975.00         3,705.00
PHILIP M. ABELSON                                                          8.20        1,025.00         8,405.00
        Total For Partner                                                 21.40                        23,330.00

BRANDON W. LEVITAN                                                         0.10         730.00             73.00
MAJA ZERJAL                                                                5.60         695.00          3,892.00
STEVE MA                                                                   0.30         575.00            172.50
VINCENT INDELICATO                                                        19.30         795.00         15,343.50
      Total For Associate                                                 25.30                        19,481.00


Professional Fees                                                         46.70                    $   42,811.00

Total this Matter                                                                                 $    42,811.00
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REAL ESTATE
Client/Matter No. 71844.0018


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                     Hours   Amount

10/05/15    PMA         Confer with V. Indelicato regarding real estate issues.          0.10    102.50
10/08/15    PAC         Review riverboat materials (.3); conference with V.              0.50    587.50
                        Indelicato regarding riverboat materials (.2).
10/08/15    RL          Email P. Cacace regarding vessel mortgages.                      0.10     66.00
10/08/15    PMA         Review email correspondence from V. Indelicato regarding         0.10    102.50
                        real estate issues.
10/08/15    VI          Analyze riverboat casino real property issues (1.5); Meeting     2.50   1,987.50
                        with P. Cacace regarding real property issues (.2); analyze
                        draft assignment motion (.6); draft insert for proposed order
                        regarding same (.2).
10/12/15    MJB         Confer with P. Abelson regarding real estate issues.             0.20     245.00
10/12/15    PMA         Confer with V. Indelicato regarding real estate issues.          0.20     205.00
10/14/15    PAC         Conference with R. Lesnik regarding open issues relating to      2.70   3,172.50
                        Kirkland Master Property Chart (.6); review mortgage
                        collateral description/riverboat casino information (.4);
                        conference with D. Weinberger regarding mortgage granting
                        clauses/improvements permanently moored to the land (.3);
                        emails to V. Indelicato regarding vessels issue (.7);
                        email/telephone call S. Weise regarding real vs personal
                        property (.3); email B. Rhode regarding lien
                        perfection/vessels (.4).
10/14/15    RL          Conference with P. Cacace regarding title/mortgage review        2.00   1,320.00
                        status (.6); emails with Kirkland & Ellis regarding chart of
                        open title/mortgage diligence questions and Master Property
                        List (.2); review title/mortgage open issues chart and
                        Kirkland & Ellis responses regarding same and
                        update/annotate open issues chart accordingly (.8); emails
                        with P. Cacace, Kirkland & Ellis, V. Indelicato regarding
                        vessels (.3).
10/14/15    PMA         Review email correspondence between Proskauer and                0.10    102.50
                        Kirkland regarding real estate issues.
10/15/15    PAC         Review R. Lesnik's update of open issues memo.                   0.40    470.00
10/15/15    PMA         Confer with V. Indelicato regarding real estate issues.          0.10    102.50
10/16/15    PAC         Telephone conference with Kirkland regarding Master              0.80    940.00
                        Property Chart (.4); telephone conference with V. Indelicato
                        regarding unencumbered properties (.2); conference with R.
                        Lesnik regarding unencumbered property list (.2).
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REAL ESTATE
Client/Matter No. 71844.0018

Date        Attorney    Description                                                      Hours   Amount

10/16/15    RL          Review lien challenges stipulation (.2); prepare for call with    5.50   3,630.00
                        Kirkland & Ellis to discuss status of open questions
                        regarding mortgage/title diligence, including conversation
                        with P. Cacace regarding same (.5); call with P. Cacace and
                        Kirkland & Ellis regarding title/mortgage open questions
                        (.5); follow-up emails with Kirkland & Ellis regarding same
                        (.2); review title commitments and backup documentation
                        provided by Kirkland & Ellis (1.3); emails with Kirkland &
                        Ellis regarding same (.3); email V. Indelicato regarding
                        title/mortgage diligence status (.1); update chart of open
                        title/mortgage questions (.3); review updated Master
                        Property List and compare to Proskauer schedules and status
                        charts (2.1).
10/16/15    PMA         Review email correspondence from R. Lesnik and M.                 0.10    102.50
                        Linkous regarding real estate issues.
10/17/15    PAC         Email V. Indelicato regarding unencumbered properties.            0.30     352.50
10/17/15    RL          Emails with V. Indelicato and P. Cacace regarding open            4.30   2,838.00
                        title/mortgage questions and chart of agreed unencumbered
                        parcels (.2); continue review of updated Kirkland & Ellis
                        Master Property List and comparison of same to Proskauer
                        charts and schedules (2.0); create annotated chart of agreed
                        unencumbered parcels (2.1).
10/18/15    RL          Continue diligence related to open questions regarding            1.90   1,254.00
                        title/mortgage status.
10/19/15    PAC         Review R. Lesnik email/supporting material regarding              0.50    587.50
                        riverboat casinos.
10/19/15    RL          Continue title/mortgage diligence - review title backup           6.00   3,960.00
                        documentation provided by Kirkland & Ellis and compare to
                        Master Property List and Proskauer's diligence charts (3.2);
                        email Kirkland & Ellis regarding new Biloxi title
                        commitment and corresponding entries on the Master
                        Property List (.5); update annotated chart of unencumbered
                        property (1.2); review title/mortgage status regarding
                        riverboat casinos (.5); conference with P. Cacace regarding
                        same (.1); email V. Indelicato and P. Abelson regarding
                        same (.5).
10/19/15    PMA         Review email correspondence from P. Cacace and R. Lesnik          0.10    102.50
                        regarding real estate issues.
10/20/15    PAC         Review stipulation regarding lien challenges (.3); telephone      0.50    587.50
                        call with R. Lesnik and V. Indelicato regarding encumbrance
                        of riverboat casinos (.2).
10/20/15    RL          Conference call with P. Cacace and V. Indelicato regarding        0.20    132.00
                        state of encumbrance of riverboat casinos.
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REAL ESTATE
Client/Matter No. 71844.0018



Attorney                                          Hours       Rate         Amount

MARTIN J. BIENENSTOCK                               0.20   1,225.00          245.00
PERRY A. CACACE                                     5.70   1,175.00        6,697.50
PHILIP M. ABELSON                                   0.80   1,025.00          820.00
       Total For Partner                            6.70                   7,762.50

REBECCA LESNIK                                     20.00    660.00        13,200.00
VINCENT INDELICATO                                  2.50    795.00         1,987.50
      Total For Associate                          22.50                  15,187.50


Professional Fees                                  29.20              $   22,950.00

Total this Matter                                                     $   22,950.00
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RELIEF FROM STAY AND ADEQUATE PROTECTION
Client/Matter No. 71844.0019


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                                   Hours        Amount

11/10/15     PMA        Review filing regarding lifting of automatic stay.              0.10        107.50
11/12/15     VI         Telephone conference with L.Gelber regarding NRF opinion        0.60        495.00
                        (.2); Preliminary review NFR opinion (.3); Prepare email
                        correspondence to Committee regarding same (.1).


Attorney                                                             Hours            Rate         Amount

PHILIP M. ABELSON                                                      0.10        1,075.00         107.50
       Total For Partner                                               0.10                         107.50

VINCENT INDELICATO                                                     0.60         825.00          495.00
      Total For Associate                                              0.60                         495.00


Professional Fees                                                      0.70                    $    602.50

Total this Matter                                                                             $     602.50
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TAX
Client/Matter No. 71844.0021


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                      Hours   Amount

10/07/15    PMA         Review email correspondence from S. Eggers regarding tax          0.10    102.50
                        issues.
10/08/15    RMC         Review of disclosure statement and plan regarding tax             2.60   2,275.00
                        issues.
10/09/15    RMC         Call regarding bankruptcy plan updates with FTI and               2.30   2,012.50
                        bankruptcy advisors (.8); review of plan documents and tax
                        issues (1.5).
10/09/15    PMA         Review email correspondence from S. Eggers regarding tax          0.10    102.50
                        issues.
10/13/15    RMC         Review of Committee filings (.6); discussion of current           1.10    962.50
                        status of case with J. Liu (.5).
10/13/15    JGL         Teleconference with R. Corn regarding tax status update and       0.50    587.50
                        Committee issues update.
10/13/15    MSH         Consider questions regarding golden creditor status from S.       0.30    238.50
                        Eggers.
10/15/15    RMC         Review of news story and discussion of Caesar's bankruptcy        1.10    962.50
                        and new IRS ruling policies (.4); review of REIT structure
                        (.7).
10/15/15    PMA         Review email correspondence from R. Corn regarding tax            0.10    102.50
                        issues.
10/16/15    RMC         Call with Kirkland on tax updates (.5); review of tax issues      2.30   2,012.50
                        with spinoff (1.8).
10/20/15    SAE         Telephone call with R. Corn regarding tax issues in CMBS.         0.50     437.50
10/20/15    RMC         Review of Kirkland tax issues and 355(d) issues (1.1);            2.20   1,925.00
                        review of structuring involving 2008 LBO and movement of
                        casinos (1.1).
10/21/15    RMC         Review of COD income calculations and memoranda (1.5);            2.80   2,450.00
                        review of securitization restructuring documents and memos
                        (1.3).
10/21/15    SS          Review tax documents related to potential golden creditor         3.80   1,767.00
                        claim.
10/21/15    MSH         Review and analysis of golden creditor related question from      1.10    874.50
                        S. Eggers (1.0), discuss same with R. Corn (.1).
10/22/15    SAE         Telephone conference with S. Sullivan regarding CEOC tax          0.30    262.50
                        issues.
10/22/15    RMC         Review of securitization restructuring documents and              2.10   1,837.50
                        memos.
10/22/15    SS          Phone call with S. Eggers regarding golden creditor research      3.60   1,674.00
                        (.3); review tax documents related to golden creditor claim
                        (3.3).
10/22/15    MSH         Review of tax liability materials provided by litigation team.    0.90     715.50
10/23/15    RMC         Call with T. Davis to discuss current status of IRS ruling        1.80   1,575.00
                        (.7); review of securitization documents (1.1).
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TAX
Client/Matter No. 71844.0021

Date         Attorney   Description                                                       Hours         Amount

10/23/15     PMA        Review email correspondence from S. Eggers regarding tax            0.10         102.50
                        issues.
10/23/15     VI         Review email correspondence from S. Eggers regarding tax            0.20         159.00
                        issues.
10/23/15     SS         Review tax documents related to golden creditor.                    1.80         837.00
10/23/15     MSH        Call with R. Corn, FTI and Kirkland to discuss status of tax        1.00         795.00
                        ruling request and RSA (.9), related preparation (.1).
10/25/15     SS         Review tax documents related to golden creditor claim.              2.40        1,116.00
10/26/15     SS         Review tax documents related to golden creditor.                    3.30        1,534.50
10/27/15     SAE        Conference call with Examiner's tax counsel (.5); emails to         1.00          875.00
                        D. Neier regarding meeting (.2); Telephone conference with
                        R. Corn regarding tax issues (.2); conference with S.
                        Sullivan regarding tax issues (.1).
10/27/15     RMC        Call with E. Cohen on tax issues (.6); review of material on        2.20        1,925.00
                        tax issues (1.6).
10/27/15     VI         Review S. Eggers email correspondence regarding tax                 0.10          79.50
                        issues.
10/27/15     SS         Calls with S. Eggers and R. Corn regarding tax issues (.3);         0.80         372.00
                        call with R. Corn and E. Cohen regarding tax issues (.5).
10/30/15     RMC        Review of documents for tax liability issues (2.5).                 2.50        2,187.50


Attorney                                                                 Hours            Rate          Amount

JUDY G. LIU                                                                0.50        1,175.00           587.50
PHILIP M. ABELSON                                                          0.40        1,025.00           410.00
RICHARD M. CORN                                                           23.00          875.00        20,125.00
       Total For Partner                                                  23.90                        21,122.50

SCOTT A. EGGERS                                                            1.80         875.00          1,575.00
      Total For Senior Counsel                                             1.80                         1,575.00

MALCOLM S. HOCHENBERG                                                      3.30         795.00          2,623.50
SARAH SULLIVAN                                                            15.70         465.00          7,300.50
VINCENT INDELICATO                                                         0.30         795.00            238.50
      Total For Associate                                                 19.30                        10,162.50


Professional Fees                                                         45.00                    $   32,860.00

Total this Matter                                                                                 $    32,860.00
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CASE STRATEGY
Client/Matter No. 71844.0023


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                    Hours   Amount

10/02/15    SM          Attend post-Committee call debriefing.                          0.20    115.00
10/02/15    JGL         Bankruptcy team follow-up discussion.                           0.20    235.00
10/02/15    MZ          Attend follow-up meeting to Committee call with M.              0.20    139.00
                        Bienenstock, J. Liu, P. Abelson, C. Theodoridis, and S. Ma.
10/02/15    PMA         Confer with Proskauer team regarding post-Committee call        0.20    205.00
                        strategy discussion.
10/04/15    SM          Follow up on email from V. Indelicato regarding Second          0.20    115.00
                        Lien Collateral Agreement.
10/06/15    SM          Attend post-call debriefing.                                    0.10     57.50
10/06/15    CT          Internal follow-up to Committee call. (.1); Email P. Abelson    1.30    903.50
                        regarding research of jurisprudence regarding
                        recharacterization of debt to equity (1.2).
10/06/15    JGL         Follow-up discussion regarding action items.                    0.10    117.50
10/06/15    MZ          Post-Committee call discussion with internal Proskauer          0.10     69.50
                        team.
10/06/15    PMA         Confer with Proskauer team regarding post-call debriefing.      0.10    102.50
10/06/15    VI          Meeting with M. Bienenstock, J. Liu, P. Abelson, M. Zerjal,     0.10     79.50
                        C. Theodoridis, and S. Ma regarding Committee call follow-
                        up.
10/09/15    SM          Attend post-Committee call debriefing.                          0.30    172.50
10/09/15    CT          Internal follow-up to Committee call.                           0.30    208.50
10/09/15    JGL         Follow-up discussion after Committee call regarding action      0.30    352.50
                        items.
10/09/15    MZ          Post-Committee call discussion with internal Proskauer          0.30    208.50
                        team.
10/09/15    PMA         Follow-up to bi-weekly Committee call with Proskauer team       0.30    307.50
                        regarding case strategy.
10/09/15    VI          Meeting with M. Bienenstock, J. Liu, P. Abelson, M. Zerjal,     0.30    238.50
                        C. Theodoridis, and S. Ma regarding Committee call follow-
                        up.
10/12/15    CT          Email P. Abelson regarding ideas of potential further           0.60    417.00
                        recovery for the Committee.
10/13/15    SM          Meet with P. Abelson, J. Liu, C. Theodoridis, and M. Zerjal     0.90    517.50
                        to discuss work streams and assign tasks.
10/13/15    CT          Attend internal strategy meeting.                               0.90     625.50
10/13/15    JGL         Team meeting regarding action projects to be                    0.90   1,057.50
                        identified/assigned.
10/13/15    MZ          Meet with J. Liu, P. Abelson, V. Indelicato, C. Theodoridis     0.90    625.50
                        and S. Ma to discuss next workstreams.
10/13/15    PMA         Confer with Proskauer team regarding case strategies and        1.00   1,025.00
                        workstreams (.9); draft email correspondence to Proskauer
                        team regarding case strategies and workstreams (.1).
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CASE STRATEGY
Client/Matter No. 71844.0023

Date        Attorney    Description                                                      Hours   Amount

10/13/15    VI          Meeting with P. Abelson, J. Liu, S. Ma, M. Zerjal, and C.         0.50    397.50
                        Theodoridis regarding case strategy (partial attendance).
10/16/15    PMA         Teleconference with H. Denman and V. Indelicato regarding         0.50    512.50
                        case strategy (.2); confer with J. Liu regarding case strategy
                        (.2); confer with V. Indelicato regarding case strategy (.1).
10/16/15    VI          Review email correspondence from M. Bienenstock                   0.20    159.00
                        regarding case update.
10/20/15    SAE         Post-Committee call discussion with J. Liu, P. Abelson, V.        0.50    437.50
                        Indelicato and M. Zerjal.
10/20/15    SM          Attend post-Committee call debriefing.                            0.50    287.50
10/20/15    JGL         Follow-up discussion regarding strategic arguments                0.50    587.50
                        regarding October 21 hearing.
10/20/15    MZ          Post-Committee call discussion with internal Proskauer            0.50    347.50
                        team.
10/20/15    PMA         Follow-up with Proskauer team regarding Committee call            0.50    512.50
                        and strategy.
10/20/15    VI          Meeting with M. Bienenstock, P. Abelson, S. Eggers, M.            0.50    397.50
                        Zerjal, C. Theodoridis, and S. Ma regarding Committee call
                        follow-up.
10/21/15    SM          Coordinate with V. Indelicato and M. Zerjal regarding             0.10     57.50
                        briefing schedule for appeal and response to objection to
                        standing motion.
10/21/15    VI          Review email correspondence from M. Bienenstock                   0.10     79.50
                        regarding case update.
10/22/15    MZ          Discuss Oct. 21 hearing and next steps with M. Bienenstock.       0.50    347.50
10/22/15    VI          Analyze agenda items in advance of 10/23 Committee Call.          0.50    397.50
10/23/15    SM          Attend Committee post-call debriefing.                            0.50    287.50
10/23/15    MJB         Meeting with Proskauer team regarding next steps after            0.30    367.50
                        Committee call (partial attendance).
10/23/15    MZ          Post-Committee call discussion with M. Bienenstock, P.            0.50    347.50
                        Abelson, V. Indelicato, C. Theodoridis and S. Ma.
10/23/15    PMA         Follow-up with Proskauer team regarding Committee                 0.70    717.50
                        meeting (.5); confer with V. Indelicato regarding strategy
                        (.2).
10/23/15    VI          Confer with P. Abelson regarding case strategy (.2); meeting      0.70    556.50
                        with M. Bienenstock, P. Abelson, M. Zerjal, C. Theodoridis,
                        and S. Ma regarding Committee call follow-up (.5).
10/27/15    JGL         Follow-up strategic discussion with bankruptcy team.              0.50    587.50
10/27/15    MZ          Participate in post-Committee call discussion with M.             0.50    347.50
                        Bienenstock, J. Liu, V. Indelicato, C. Theodoridis.
10/27/15    PMA         Confer with M. Zerjal regarding case strategy (.1); Confer        1.10   1,127.50
                        with V. Indelicato regarding case strategy (.5);
                        Teleconference with H. Denman regarding case strategy (.5).
10/27/15    VI          Meeting with M. Bienenstock, P. Abelson, M. Zerjal, C.            1.00    795.00
                        Theodoridis, and S. Ma regarding Committee call follow-up
                        (.5); Confer with P. Abelson regarding case strategy (.5).
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CASE STRATEGY
Client/Matter No. 71844.0023

Date         Attorney   Description                                                    Hours         Amount

10/28/15     MJB        Review FTI powerpoint for negotiations with Debtors (.6);        1.80        2,205.00
                        conference call with FTI and Jefferies and G. Bousquette
                        regarding presentation (.5); emails with FTI regarding
                        presentation (.2); Teleconference with J. Millar and M.
                        Fields regarding Committee issues (.5).
10/29/15     MZ         Discuss case strategy with P. Abelson.                           0.30         208.50
10/29/15     PMA        Confer with M. Zerjal regarding case strategy.                   0.30         307.50
10/30/15     SM         Attend post-Committee call debriefing.                           0.10          57.50
10/30/15     JGL        Follow-up team discussion regarding same.                        0.20         235.00
10/30/15     PMA        Follow-up to bi-weekly Committee call with Proskauer team        0.20         205.00
                        regarding strategy.


Attorney                                                              Hours            Rate          Amount

JUDY G. LIU                                                             2.70        1,175.00         3,172.50
MARTIN J. BIENENSTOCK                                                   2.10        1,225.00         2,572.50
PHILIP M. ABELSON                                                       4.90        1,025.00         5,022.50
       Total For Partner                                                9.70                        10,767.50

SCOTT A. EGGERS                                                         0.50         875.00           437.50
      Total For Senior Counsel                                          0.50                          437.50

CHRIS THEODORIDIS                                                       3.10         695.00          2,154.50
MAJA ZERJAL                                                             3.80         695.00          2,641.00
STEVE MA                                                                2.90         575.00          1,667.50
VINCENT INDELICATO                                                      3.90         795.00          3,100.50
       Total For Associate                                             13.70                         9,563.50


Professional Fees                                                      23.90                    $   20,768.50

Total this Matter                                                                              $    20,768.50
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PLEADING AND DOCKET REVIEW
Client/Matter No. 71844.0024


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                    Hours   Amount

10/01/15    MZ          Review latest motions filed in the voluntary and involuntary    1.20    834.00
                        case.
10/01/15    LAM         Review recent pleadings (1.1) and compile daily docket          1.30    604.50
                        summaries (.2).
10/02/15    SM          Revise docket summaries.                                        2.50   1,437.50
10/02/15    VI          Review weekly docket summaries and related pleadings.           1.50   1,192.50
10/05/15    SM          Review docket filings.                                          0.10      57.50
10/05/15    MZ          Review new pleadings in Meehan Combs litigation.                0.80     556.00
10/05/15    LAM         Review recent pleadings (.1) and compile daily docket           0.30     139.50
                        summaries (.2).
10/06/15    SM          Review docket filings.                                          0.10     57.50
10/06/15    LAM         Review recent pleadings (.4) and compile daily docket           0.60    279.00
                        summaries (.2).
10/07/15    SM          Revise docket summaries.                                        0.30    172.50
10/08/15    SAE         Review decision on appeal of injunction (.2); review motion     0.40    350.00
                        to extend exclusivity (.2).
10/08/15    SM          Review docket filings, including amended plan and               1.80   1,035.00
                        disclosure statement.
10/08/15    MZ          Review district court decisions on stay litigation.             0.20    139.00
10/08/15    LAM         Review recent pleadings (1.0) and compile daily docket          1.60    744.00
                        summaries (.6).
10/09/15    SM          Revise docket summaries.                                        1.10    632.50
10/12/15    AK          Review docket and prepare a docket summary.                     1.50    592.50
10/12/15    SM          Revise docket summaries.                                        0.80    460.00
10/14/15    SAE         Review various filed responses to motion to extend              0.50    437.50
                        exclusivity.
10/14/15    AK          Review the docket (.5) and prepare a daily docket report        1.80    711.00
                        (1.3).
10/15/15    AK          Summarize materials from docket (.8) and prepare a daily        1.20    474.00
                        docket report (.4).
10/16/15    AK          Summarize materials from docket (.6) and prepare a daily        1.00    395.00
                        docket report (.4).
10/16/15    SM          Prepare weekly docket summaries.                                1.20    690.00
10/19/15    AK          Summarize materials from docket (1.2) and prepare a daily       2.00    790.00
                        docket report (.8).
10/19/15    SM          Review docket filings.                                          0.10     57.50
10/20/15    AK          Summarize materials from docket (.1) and prepare a daily        0.20     79.00
                        docket report ( .1).
10/20/15    SM          Revise docket summaries.                                        0.60    345.00
10/20/15    MG          Review pleadings and related documents regarding case           0.80    280.00
                        development.
10/21/15    SAE         Review 10.75 noteholder complaint vs. CEC (.5); email J.        0.60    525.00
                        Anderson, S. Sullivan with comments (.1).
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PLEADING AND DOCKET REVIEW
Client/Matter No. 71844.0024

Date        Attorney    Description                                                  Hours   Amount

10/21/15    AK          Review docket and email S. Ma regarding same.                 0.10     39.50
10/21/15    MG          Review docket entries resulting from omnibus hearing.         0.30    105.00
10/21/15    VI          Analyze new pleadings on docket.                              1.20    954.00
10/22/15    AK          Review docket (.8), summarize pleadings (1.3) and email to    2.20    869.00
                        S. Ma (.1).
10/22/15    SM          Revise docket summaries.                                      0.60     345.00
10/22/15    MZ          Review Noteholder Committee motion to reconsider (.8);        1.80   1,251.00
                        review October 21 hearing transcript (1.0).
10/22/15    VI          Analyze unredacted pleadings.                                 1.00     795.00
10/23/15    SAE         Review transcript of October 21 hearing.                      0.50     437.50
10/23/15    SM          Revise docket summaries.                                      1.40     805.00
10/23/15    MZ          Review stay litigation briefs (2.3); review motion to         4.30   2,988.50
                        reconsider Kirkland retention (1.0); review other recent
                        pleadings (1.0).
10/27/15    SM          Review docket filings.                                        0.10     57.50
10/28/15    SAE         Review discovery order (.1); review decision on motion to     0.20    175.00
                        reconsider (.1).
10/28/15    SM          Revise docket summaries.                                      0.10     57.50
10/28/15    MZ          Review order denying reconsideration of Kirkland retention    0.30    208.50
                        (.1); Draft email to Committee regarding same (.2).
10/28/15    MG          Review recently filed pleadings regarding case development    0.50    175.00
                        and calandar events.
10/28/15    VI          Review order regarding Jones Day motion.                      0.10     79.50
10/29/15    AK          Review docket (.1), summarize same; email same to S. Ma       0.40    158.00
                        (.3).
10/29/15    SM          Review docket filings.                                        0.10     57.50
10/30/15    AK          Review docket (.1), summarize same (.1); email same to S.     0.30    118.50
                        Ma (.1).
10/30/15    MZ          Review re-filed motion to reconsider and accompanying         0.80    556.00
                        motions.
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PLEADING AND DOCKET REVIEW
Client/Matter No. 71844.0024



Attorney                                          Hours      Rate         Amount

SCOTT A. EGGERS                                     2.20    875.00        1,925.00
      Total For Senior Counsel                      2.20                  1,925.00

LAURA A. MCALEER                                    3.80    465.00        1,767.00
MAJA ZERJAL                                         9.40    695.00        6,533.00
STEVE MA                                           10.90    575.00        6,267.50
VINCENT INDELICATO                                  3.80    795.00        3,021.00
      Total For Associate                          27.90                 17,588.50

MAGALI GIDDENS                                      1.60    350.00         560.00
     Total For Legal Assistant                      1.60                   560.00

ANNA (ANYA) KREIMERZAK                             10.70    395.00        4,226.50
      Total For Law Clerk                          10.70                  4,226.50


Professional Fees                                  42.40             $   24,300.00

Total this Matter                                                    $   24,300.00
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COMMUNICATION WITH FINANCIAL ADVISOR AND INVESTMENT BANKER
Client/Matter No. 71844.0025


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                       Hours   Amount

10/02/15    SAE         Email financial advisors regarding procedure for Examiner          0.40    350.00
                        transcripts.
10/06/15    SAE         Prepare agenda for weekly litigation call (.1); Attend weekly      0.50    437.50
                        litigation call (.4).
10/06/15    ASW         Participate in weekly litigation call.                             0.40    278.00
10/06/15    MJB         Pre-call with financial advisor for Committee meeting.             0.40    490.00
10/06/15    JGL         Conference call (weekly) litigation update with FTI,               0.40    470.00
                        Jefferies, and GCA regarding Examiner activities and
                        discovery-related issues.
10/06/15    PMA         Attend weekly litigation call with Committee advisors.             0.40    410.00
10/07/15    VI          Multiple email correspondences with FTI, Jefferies, and G.         0.50    397.50
                        Bousquette regarding amended plan (.3); telephone
                        conference with G. Bousquette regarding case update (.2).
10/08/15    SAE         Email J. Anderson, D. Ireland at FTI regarding Omnibus             0.40    350.00
                        License Agreement, review agreement.
10/08/15    SM          Follow up on emails with G. Bousquette regarding fee               0.10     57.50
                        applications.
10/09/15    SAE         Emails with FTI, Jefferies regarding access to deposition          0.20    175.00
                        database.
10/09/15    SM          Call with FTI, Jefferies, and GC Andersen regarding                0.50    287.50
                        Debtors' marketing process.
10/09/15    JGL         Conference call with FTI, Jefferies and Proskauer regarding        0.50    587.50
                        matters to be discussed on Committee call.
10/09/15    MZ          Participate on call with Proskauer internal team, Jefferies (R.    0.90    625.50
                        Klein, J. D'Amico) and FTI (S. Star, J. Truitt) regarding
                        Committee call (.5); review notes from meeting on
                        marketing process with Debtors, as raised on the call (.3);
                        discuss same with V. Indelicato (.1).
10/09/15    PMA         Attend pre-call with Committee advisors to bi-weekly               0.50    512.50
                        Committee call.
10/12/15    PMA         Teleconference with Jefferies and V. Indelicato regarding          0.30    307.50
                        waterfall analysis.
10/12/15    VI          Telephone conference with Jefferies regarding cash                 0.30    238.50
                        collateral.
10/13/15    SAE         Attend weekly litigation call with FTI and Jefferies (.6);         2.40   2,100.00
                        Email FTI, Jefferies regarding deposition digests (.2);
                        Conference call with J. Truitt, G. Bousquette, P. Abelson
                        regarding Atlantic City issues (1.4); emails with FTI
                        regarding tax documents (.2).
10/13/15    MED         Attend litigation update call with FTI, Jefferies and              1.40   1,365.00
                        Proskauer teams.
10/13/15    MDT         Participate in weekly litigation call with FTI and Jefferies.      0.60    417.00
10/13/15    JGL         Conference call with FTI, Jefferies and Proskauer for weekly       0.50    587.50
                        litigation update.
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COMMUNICATION WITH FINANCIAL ADVISOR AND INVESTMENT BANKER
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Date        Attorney    Description                                                        Hours   Amount

10/13/15    PMA         Attend call with Committee Advisors regarding litigation            2.20   2,255.00
                        issues (.5); confer with J. Liu regarding Committee Advisors
                        litigation call (.3); Attend call with Committee Advisors
                        regarding Atlantic City (1.4).
10/13/15    VI          Telephone conference with FTI and Jefferies regarding               0.50    397.50
                        litigation update.
10/15/15    SAE         Telephone conference with D. Ireland at FTI regarding               0.70    612.50
                        transcripts, calls with Examiner, etc. (.3); email FTI,
                        Jefferies regarding annotating assignment lists (.2);
                        telephone conference with R. Klein at Jefferies regarding
                        same (.2).
10/15/15    PMA         Teleconference with S. Star regarding avoidance actions.            0.20    205.00
10/16/15    SAE         Emails with FTI regarding Total Rewards.                            0.20    175.00
10/18/15    SAE         Emails with FTI, Jefferies, Proskauer regarding Examiner            0.10     87.50
                        inquiries, D. Wilfong transcript.
10/19/15    SAE         Conference call with FTI, Jefferies regarding various issues        1.30   1,137.50
                        (.8); Call D. Ireland, Proskauer regarding CMBS, LBO
                        issues (.5).
10/19/15    MED         Conference call with FTI regarding equitization issues (.5);        1.10   1,072.50
                        attend professionals conference call with FTI and Jefferies
                        (.5); send memo regarding review of intercompany balances
                        to FTI (.1).
10/19/15    PMA         Teleconference with Committee advisors regarding weekly             0.80    820.00
                        status call.
10/19/15    VI          Telephone conference with FTI, Jefferies, and G. Bousquette         0.80    636.00
                        regarding weekly case update.
10/20/15    SAE         Call with FTI, Jefferies, Proskauer regarding litigation            0.90    787.50
                        update (.7); telephone call with J. D'Amico of Jefferies
                        regarding information for Examiner (.2).
10/20/15    MED         Send intercompany balance memo to FTI (.2); attend                  1.00    975.00
                        litigation update meeting with FTI and Jefferies (.8).
10/20/15    PMA         Teleconference with FTI, Jefferies, and Proskauer regarding         0.80    820.00
                        weekly litigation call.
10/20/15    VI          Telephone conference with FTI, Jefferies, and G. Bousquette         0.80    636.00
                        regarding weekly litigation update.
10/21/15    MED         Review emails with FTI regarding meeting to review                  0.50    487.50
                        disclosure statement and initial list of questions (.3); review
                        FTI digest of - Capasso (.2).
10/22/15    MED         Review FTI email and attached revised disclosure statement          2.60   2,535.00
                        and list of questions/comments (1.1); review Jefferies email
                        to A&M and deck regarding valuation analyses (.7);
                        compare Jefferies deck to Cornerstone deck regarding
                        valuations (.8).
10/22/15    MZ          Participate in meeting with P. Abelson, V. Indelicato, FTI          2.00   1,390.00
                        (S. Star, J. French, D. Ireland, J. Krasne, J. Truitt), Anderson
                        and Jefferies (R. Klein, J. D'Amico, J. Dai) regarding
                        disclosure statement and plan.
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COMMUNICATION WITH FINANCIAL ADVISOR AND INVESTMENT BANKER
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Date        Attorney    Description                                                     Hours   Amount

10/22/15    PMA         Attend meeting at FTI with FTI, Jefferies, G. Bousquette,        1.90   1,947.50
                        and Proskauer regarding plan/disclosure statement.
10/22/15    VI          Meeting with FTI, Jefferies, and G. Bousquette regarding         2.00   1,590.00
                        case strategy.
10/26/15    JGL         Weekly conference call with FTI and Jefferies (.6); Review       1.90   2,232.50
                        email from G. Bousquette regarding enterprise value (.1);
                        Review FTI deck regarding potential avoidance action (1.2).
10/26/15    PMA         Teleconference with FTI, Jefferies, Proskauer, and G.            0.50    512.50
                        Bousquette regarding weekly advisor update call.
10/26/15    VI          Telephone conference with FTI, Jefferies, and G. Bousquette      0.50    397.50
                        regarding weekly case update.
10/27/15    SAE         Weekly litigation call with FTI, Jefferies.                      0.80    700.00
10/27/15    MED         Participate in weekly litigation update call with FTI and        0.70    682.50
                        Jefferies.
10/27/15    MDT         Participate in weekly litigation catch-up call with Jefferies    0.60    417.00
                        and FTI (parital attendance).
10/27/15    ASW         Participate in weekly litigation call.                           0.70    486.50
10/27/15    JGL         Attend weekly litigation update conference call with FTI,        0.80    940.00
                        Jefferies, GCA.
10/27/15    PMA         Attend weekly litigation call with Proskauer, FTI, Jefferies,    1.00   1,025.00
                        and G. Bousquette (.8); Teleconference with S. Star and V.
                        Indelicato regarding Committee call (.2).
10/27/15    VI          Telephone conference with FTI, Jefferies, and G. Bousquette      0.80    636.00
                        regarding weekly litigation update.
10/27/15    SS          Attend weekly litigation call.                                   0.70    325.50
10/28/15    SAE         Emails with Proskauer, FTI, Jefferies regarding meeting          0.60    525.00
                        with Examiner (.3); prepare agenda for same (.3).
10/28/15    SM          Follow up on email with G. Bousquette.                           0.10      57.50
10/28/15    PMA         Teleconference with FTI, Jefferies, Proskauer, and G.            1.10   1,127.50
                        Bousquette regarding waterfall analysis.
10/28/15    VI          Telephone conference with FTI, Jefferies, and G. Bousquette      1.10    874.50
                        regarding waterfall analysis.
10/29/15    SAE         Emails with FTI regarding meeting with Examiner, CMBS            0.20    175.00
                        documents.
10/29/15    SM          Follow up on email from FTI regarding updated parties in         0.20    115.00
                        interest list (.1); review email from J. D'amico (Jefferies)
                        regarding MGM REIT transaction as it relates to Caesars
                        proposed REIT structure (.1).
10/30/15    SAE         Telephone conference with J. Truitt at FTI, G. Bousquette        1.90   1,662.50
                        regarding Showboat Atlantic City (.9); Emails with FTI,
                        Jefferies, Proskauer regarding meeting with Examiner (1).
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COMMUNICATION WITH FINANCIAL ADVISOR AND INVESTMENT BANKER
Client/Matter No. 71844.0025



Attorney                                          Hours       Rate         Amount

JUDY G. LIU                                         4.10   1,175.00        4,817.50
MARTIN J. BIENENSTOCK                               0.40   1,225.00          490.00
PHILIP M. ABELSON                                   9.70   1,025.00        9,942.50
       Total For Partner                           14.20                  15,250.00

MARK E. DAVIDSON                                    7.30    975.00         7,117.50
SCOTT A. EGGERS                                    10.60    875.00         9,275.00
      Total For Senior Counsel                     17.90                  16,392.50

ANDREW S. WELLIN                                    1.10    695.00           764.50
MAJA ZERJAL                                         2.90    695.00         2,015.50
MARISSA D. TILLEM                                   1.20    695.00           834.00
SARAH SULLIVAN                                      0.70    465.00           325.50
STEVE MA                                            0.90    575.00           517.50
VINCENT INDELICATO                                  7.30    795.00         5,803.50
      Total For Associate                          14.10                  10,260.50


Professional Fees                                  46.20              $   41,903.00

Total this Matter                                                     $   41,903.00
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COMMUNICATION WITH DEBTOR
Client/Matter No. 71844.0026


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                     Hours   Amount

10/02/15    SM          Call with C. Hayes (Kirkland) regarding fee committee            0.10     57.50
                        deadlines.
10/05/15    SAE         Conference call with Kirkland & Ellis, Jefferies, FTI            1.60   1,400.00
                        regarding Total Rewards issues (1.3); conference call with
                        Proskauer, FTI, Jefferies regarding call with Kirkland &
                        Ellis (.3).
10/05/15    PMA         Conference call with FTI, Jefferies, G. Bousquette, Alix, and    1.30   1,332.50
                        Kirkland regarding Total Rewards.
10/06/15    SAE         Prepare email to Kirkland & Ellis regarding request for          0.40    350.00
                        information.
10/07/15    VI          Multiple email correspondences and telephone conferences         0.50    397.50
                        with Kirkland regarding case issues.
10/08/15    VI          Telephone conference with Kirkland regarding assignment          0.20    159.00
                        motion.
10/09/15    SM          Call with C. Hayes (Kirkland) regarding extension of second      0.10     57.50
                        interim application.
10/09/15    VI          Telephone conference with Kirkland regarding sale motion.        0.20    159.00
10/15/15    PMA         Draft and review email correspondence from Kirkland and          0.10    102.50
                        FTI regarding avoidance actions.
10/19/15    SAE         Conference call with Debtors regarding CMBS issue.               0.30    262.50
10/19/15    MED         Pre-call meeting with S. Eggers and P. Abelson (.2);             0.60    585.00
                        conference call with Kirkland and FTI regarding equitization
                        issues (.4).
10/19/15    PMA         Teleconference with Proskauer and Kirkland regarding             0.30    307.50
                        avoidance actions.
10/19/15    VI          Multiple email correspondences and telephone conferences         0.40    318.00
                        with B. Rhode regarding lien challenges.
10/22/15    SM          Email Kirkland regarding updated parties in interest list.       0.20    115.00
10/25/15    MJB         Teleconference with P. Basta and N. Greenblatt regarding         0.30    367.50
                        new motion to disqualify Kirkland and appeal regarding
                        motion to compel.
10/29/15    MJB         Meet with Kirkland, FTI, Jefferies, Millstein, G. Bousquette     1.70   2,082.50
                        regarding waterfall model.
10/29/15    JGL         Conference call regarding waterfall model with Kirkland,         1.40   1,645.00
                        Proskauer, FTI, Jefferies, Alix Partners, Millstein (partial
                        attendance).
10/29/15    MZ          Participate in meeting with Kirkland, R. Eisenberg,              2.20   1,529.00
                        Millstein, FTI, Jefferies, and Proskauer (M. Bienenstock and
                        P. Abelson) regarding waterfall model (1.9); Participate on
                        call with P. Abelson and D. Seligman regarding inter
                        creditor issues.(.3).
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COMMUNICATION WITH DEBTOR
Client/Matter No. 71844.0026

Date         Attorney   Description                                                     Hours         Amount

10/29/15     PMA        Teleconference with D. Seligman and M. Zerjal regarding           2.60        2,665.00
                        intercreditor issues (.3); Attend meeting at Kirkland with
                        Debtors and Committee Advisors regarding waterfall
                        analysis (1.9); Confer with J. Liu regarding meeting with
                        Debtors’ advisors (.4).


Attorney                                                                 Hours          Rate          Amount

JUDY G. LIU                                                                1.40      1,175.00         1,645.00
MARTIN J. BIENENSTOCK                                                      2.00      1,225.00         2,450.00
PHILIP M. ABELSON                                                          4.30      1,025.00         4,407.50
       Total For Partner                                                   7.70                       8,502.50

MARK E. DAVIDSON                                                           0.60       975.00            585.00
SCOTT A. EGGERS                                                            2.30       875.00          2,012.50
      Total For Senior Counsel                                             2.90                       2,597.50

MAJA ZERJAL                                                                2.20       695.00          1,529.00
STEVE MA                                                                   0.40       575.00            230.00
VINCENT INDELICATO                                                         1.30       795.00          1,033.50
      Total For Associate                                                  3.90                       2,792.50


Professional Fees                                                         14.50                  $   13,892.50

Total this Matter                                                                               $    13,892.50
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LEGAL RESEARCH AND ANALYSIS
Client/Matter No. 71844.0028


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                     Hours   Amount

10/01/15    JLP         Assist bankruptcy group with questions regarding the             0.30    240.00
                        intercreditor agreements (.2); and related correspondence
                        (.1).
10/05/15    CT          Research jurisprudence regarding recharacterization of debt      8.20   5,699.00
                        to equity.
10/05/15    MZ          Review oversecurity & claims allowance issues (3.0); draft       3.30   2,293.50
                        email regarding same (.2); discuss same with P. Abelson
                        (.1).
10/05/15    VI          Research issues related to exclusivity.                          1.50   1,192.50
10/06/15    MJB         Research regarding 7th circuit treatment of ordinary course      7.80   9,555.00
                        and business justifications for Bankruptcy Code Section 363
                        motions.
10/06/15    CT          Research jurisprudence regarding recharacterization of debt      6.10   4,239.50
                        to equity.
10/06/15    MZ          Review cases regarding simultaneous voluntary and                3.00   2,085.00
                        involuntary petitions (2.5); draft email regarding same (.5).
10/06/15    PMA         Confer with C. Theodoridis regarding recharacterization          0.10    102.50
                        research.
10/07/15    MZ          Research Bankruptcy Code section 363 cases in the 7th            2.20   1,529.00
                        circuit.
10/07/15    PMA         Review memo regarding recharacterization of debt to equity.      0.20     205.00
10/07/15    VI          Analyze standing motion jurisprudence.                           2.80   2,226.00
10/08/15    MJB         Research CEOC's fiduciary duties as DIP under 7th circuit        6.80   8,330.00
                        law for memo requested by Committee.
10/08/15    MZ          Perform research on Bankruptcy Code Section 363 sales.           5.30   3,683.50
10/10/15    MZ          Research fiduciary duty cases in 7th circuit.                    3.20   2,224.00
10/12/15    CT          Research jurisprudence regarding Bankruptcy Code section         4.20   2,919.00
                        547(c)(5).
10/13/15    CT          Research jurisprudence regarding Bankruptcy Code section         3.10   2,154.50
                        547(c)(5).
10/14/15    CT          Email J. Liu and P. Abelson summarizing research of              1.80   1,251.00
                        jurisprudence regarding Bankruptcy Code section 547(c)(5).
10/21/15    MJB         Research regarding 7th Circuit and other circuit reversals of    4.30   5,267.50
                        dismissals of involuntary petitions.
10/23/15    MZ          Research intervention rules and reversal of involuntary          2.80   1,946.00
                        petition dismissal.
10/27/15    VI          Analyze intercreditor issues.                                    2.40   1,908.00
10/28/15    MZ          Review and retrieve certain decisions regarding turnover         2.00   1,390.00
                        oblgations per V. Indelicato's request.
10/28/15    VI          Analyze jurisprudence regarding turnover obligations.            1.50   1,192.50
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LEGAL RESEARCH AND ANALYSIS
Client/Matter No. 71844.0028



Attorney                                          Hours       Rate         Amount

MARTIN J. BIENENSTOCK                              18.90   1,225.00       23,152.50
PHILIP M. ABELSON                                   0.30   1,025.00          307.50
       Total For Partner                           19.20                  23,460.00

CHRIS THEODORIDIS                                  23.40    695.00        16,263.00
JONAH L. PRICE                                      0.30    800.00           240.00
MAJA ZERJAL                                        21.80    695.00        15,151.00
VINCENT INDELICATO                                  8.20    795.00         6,519.00
       Total For Associate                         53.70                  38,173.00


Professional Fees                                  72.90              $   61,633.00

Total this Matter                                                     $   61,633.00
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PREPARATION OF PLEADINGS
Client/Matter No. 71844.0029


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                                  Hours        Amount

10/01/15     SAE        Review draft motion to intervene (.2); email M. Zerjal         0.30        262.50
                        regarding same (.1).
10/01/15     VI         Prepare outline of draft Rule 2004 motion.                     0.50        397.50
10/02/15     VI         Review comments from Committee members on draft                0.20        159.00
                        intervention motion.
10/07/15     NP         Email communications with M. Zerjal regarding appellate        0.30         85.50
                        brief drafting and filing procedures.
10/09/15     SM         Revise draft of response to exclusivity motion.                0.50         287.50
10/09/15     VI         Draft Committee response regarding exclusivity.                5.40       4,293.00
10/13/15     SAE        Edit draft of response to Debtors' motion to extend (.7);      0.80         700.00
                        telephone conference V. Indelicato regarding edits (.1).
10/13/15     VI         Edit draft exclusivity response.                               2.00       1,590.00
10/19/15     NP         Email M. Zerjal confirming service of Appellant's brief.       0.10          28.50


Attorney                                                                Hours        Rate         Amount

SCOTT A. EGGERS                                                           1.10      875.00         962.50
      Total For Senior Counsel                                            1.10                     962.50

STEVE MA                                                                  0.50      575.00          287.50
VINCENT INDELICATO                                                        8.10      795.00        6,439.50
      Total For Associate                                                 8.60                    6,727.00

NATASHA PETROV                                                            0.40      285.00         114.00
     Total For Legal Assistant                                            0.40                     114.00


Professional Fees                                                        10.10                $   7,803.50

Total this Matter                                                                            $    7,803.50
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HEARINGS AND COURT MATTERS
Client/Matter No. 71844.0030


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                     Hours   Amount

10/19/15    PMA         Review agenda of October 21 hearing.                             0.10    102.50
10/20/15    NP          Download pleadings on iPad for Omnibus hearing for P.            2.40    684.00
                        Possinger (1.6); prepare hearing binders for M. Bienenstock
                        and P. Abelson (.8).
10/20/15    JGL         Teleconference with P. Abelson regarding Oct. 21st hearing.      0.20    235.00
10/20/15    MZ          Follow up on pleadings to be prepared for October 21             1.00    695.00
                        hearing.
10/20/15    PMA         Confer with V. Indelicato regarding October 21 hearing (.2);     0.30    307.50
                        preparation for October 21 hearing (.1).
10/20/15    MG          Correspondence and telephone conferences with N. Petrov          0.40    140.00
                        regarding October 21st hearing preparation issues and
                        transcript issues (.3); correspondence with M. Zerjal
                        regarding same (.1).
10/20/15    VI          Confer with P. Abelson regarding October 21 Omnibus              0.20    159.00
                        Hearing.
10/21/15    PP          Discuss matters for omnibus hearing with P. Abelson and M.       4.10   3,997.50
                        Bienenstock (1.4); discuss standing and lien challenge issues
                        with P. Abelson (.7); review September transcript regarding
                        same (.4); Attend October omnibus hearing (1.6).
10/21/15    NP          Update Omnibus hearing binders.                                  0.30      85.50
10/21/15    MJB         Attend omnibus hearing.                                          1.30   1,592.50
10/21/15    MZ          Review October 21 hearing report (.4); discuss same with V.      0.60     417.00
                        Indelicato and S. Ma (.2).
10/21/15    PMA         Preparation for October 21 hearing, including various            4.60   4,715.00
                        conferences with multiple parties (M. Bienenstock, V.
                        Indelicato, J. Mester, P. Possinger, C. Shore) (2.9); attend
                        October 21 hearing (1.6); review email correspondence from
                        M. Bienenstock regarding October 21 hearing (.1).
10/22/15    PMA         Review transcript of October 21 hearing.                         0.20    205.00
10/23/15    JGL         Review transcript from Oct. 21st hearing.                        0.40    470.00
10/23/15    VI          Review Oct. 21st Omnibus Hearing Transcript.                     0.50    397.50
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HEARINGS AND COURT MATTERS
Client/Matter No. 71844.0030



Attorney                                          Hours       Rate         Amount

JUDY G. LIU                                         0.60   1,175.00          705.00
MARTIN J. BIENENSTOCK                               1.30   1,225.00        1,592.50
PAUL POSSINGER                                      4.10     975.00        3,997.50
PHILIP M. ABELSON                                   5.20   1,025.00        5,330.00
       Total For Partner                           11.20                  11,625.00

MAJA ZERJAL                                         1.60    695.00         1,112.00
VINCENT INDELICATO                                  0.70    795.00           556.50
      Total For Associate                           2.30                   1,668.50

MAGALI GIDDENS                                      0.40    350.00          140.00
NATASHA PETROV                                      2.70    285.00          769.50
     Total For Legal Assistant                      3.10                    909.50


Professional Fees                                  16.60              $   14,203.00

Total this Matter                                                     $   14,203.00
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LEGAL/REGULATORY INVESTIGATIONS
Client/Matter No. 71844.0031


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                       Hours        Amount

10/19/15     VI         Analyze final FinCEN Settlement Order.              0.30        238.50


Attorney                                                         Hours    Rate         Amount

VINCENT INDELICATO                                                0.30   795.00         238.50
      Total For Associate                                         0.30                  238.50


Professional Fees                                                 0.30             $    238.50

Total this Matter                                                                 $     238.50
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COMMUNICATION WITH EXAMINER
Client/Matter No. 71844.0033


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                    Hours   Amount

10/01/15    SAE         Prepare email to Examiner regarding possible transfer to        0.80    700.00
                        consider (.5); prepare email to Examiner regarding
                        subpoenas (.3).
10/01/15    PMA         Review email correspondence from S. Eggers regarding            0.10    102.50
                        Examiner interviews.
10/02/15    JGL         Teleconference with S. Eggers regarding Examiner                0.60    705.00
                        interviews and potential new recovery theory.
10/05/15    SAE         Email Examiner counsel regarding Total Rewards issues           0.90    787.50
                        (.7); emails with Examiner counsel regarding LBO
                        documents (.2).
10/05/15    PMA         Review email correspondence from S. Eggers and Winston          0.10    102.50
                        regarding Examiner interviews.
10/06/15    SAE         Telephone conference with D. Neier of Winston & Strawn          0.80    700.00
                        (.5); email D. Neier regarding LBO issues (.3).
10/06/15    JGL         Teleconference with S. Eggers regarding Examiner                0.60    705.00
                        discovery and interviews.
10/07/15    SAE         Telephone conference with D. Neier regarding PwC                0.20    175.00
                        documents.
10/08/15    SAE         Email D. Neier at Winston Strawn regarding PwC.                 0.10     87.50
10/09/15    SAE         Telephone conference with D. Neier regarding PwC (.1);          0.50    437.50
                        telephone call to L. Chapman at Luskin & Stern regarding
                        same (.2); emails with L. Chapman regarding same (.2).
10/13/15    SAE         Email D. Neier at Winston & Strawn regarding document           0.80    700.00
                        requests (.1); telephone conference with D. Neier regarding
                        liability theory (.3); prepare email summarizing Examiner
                        theory (.3); email D. Neier regarding liability theory (.1).
10/13/15    JGL         Review Examiner protocol (.2); email to S. Eggers regarding     0.30    352.50
                        Examiner protocol (.1).
10/13/15    PMA         Review email correspondence from S. Eggers and J. Liu           0.10    102.50
                        regarding Examiner order.
10/15/15    SAE         Emails with D. McGuire regarding calls to discuss LBO.          0.20    175.00
10/18/15    SAE         Review CMBS documents in response to Examiner question          1.10    962.50
                        (1.0); email Examiner (.1).
10/18/15    MED         Review S. Eggers email to Winston and attached stock basis      0.60    585.00
                        report (.5); review D. Neier response (.1).
10/18/15    PMA         Review digests of Examiner witness transcripts.                 0.70     717.50
10/19/15    SAE         Conference call with D. Neier at Winston & Strawn, other        2.20   1,925.00
                        Winston & Strawn attorneys, FTI, Proskauer regarding
                        LBO, CMBS issues (1.3); prepare tp transfer of files to
                        Examiner (.9).
10/19/15    MED         Conference call with Winston regarding golden creditor,         1.30   1,267.50
                        CMBS and equitization issues.
10/19/15    MJB         Conference call with D. Neier, S. Eggers, P. Abelson            1.10   1,347.50
                        regarding certain transactions being investigated.
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COMMUNICATION WITH EXAMINER
Client/Matter No. 71844.0033

Date         Attorney   Description                                                      Hours         Amount

10/19/15     JGL        Conference call with Examiner regarding LBO and other              1.20        1,410.00
                        controversial transactions.
10/19/15     PMA        Follow-up meeting with Proskauer and FTI regarding call            1.80        1,845.00
                        with Winston & Strawn (.6); call with Proskauer, FTI, and
                        Winston regarding Examiner issues (1.2).
10/19/15     VI         Telephone conference with Winston and FTI regarding                1.20         954.00
                        Examiner issues.
10/19/15     SS         Phone call with S. Eggers, M. Davidson, P. Abelson, J. Liu,        2.00         930.00
                        FTI, and Winston & Strawn regarding investigations.
10/20/15     SAE        Emails with D. Neier at Winston & Strawn regarding                 0.10          87.50
                        meeting, information.
10/21/15     SAE        Review Jefferies presentation and provide comments to J.           0.90         787.50
                        Dai at Jefferies.
10/22/15     PMA        Review email from D. Ireland regarding Examiner interview          0.10         102.50
                        digest.
10/23/15     SAE        Telephone with call S. Star at FTI, R. Corn regarding call         0.40         350.00
                        with Examiner (.3); emails to/from D. Neier at Winston &
                        Strawn regarding meeting (.1).
10/28/15     SAE        Email D. Neier at Winston & Strawn regarding meeting.              0.10          87.50
10/29/15     SAE        Emails with D. Neier regarding meeting.                            0.10          87.50
10/30/15     SAE        Emails with Examiner counsel regarding meeting.                    0.20         175.00
10/30/15     PMA        Review Examiner interview digests.                                 0.30         307.50
10/31/15     PMA        Review Examiner interview digests.                                 0.30         307.50


Attorney                                                                Hours            Rate          Amount

JUDY G. LIU                                                              2.70         1,175.00         3,172.50
MARTIN J. BIENENSTOCK                                                    1.10         1,225.00         1,347.50
PHILIP M. ABELSON                                                        3.50         1,025.00         3,587.50
       Total For Partner                                                 7.30                          8,107.50

MARK E. DAVIDSON                                                         1.90          975.00          1,852.50
SCOTT A. EGGERS                                                          9.40          875.00          8,225.00
      Total For Senior Counsel                                          11.30                         10,077.50

SARAH SULLIVAN                                                           2.00          465.00            930.00
VINCENT INDELICATO                                                       1.20          795.00            954.00
      Total For Associate                                                3.20                          1,884.00


Professional Fees                                                       21.80                     $   20,069.00

Total this Matter                                                                                $    20,069.00
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COMMUNICATION WITH SECOND LIEN COMMITTEE
Client/Matter No. 71844.0034


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                                    Hours        Amount

10/21/15     MJB        Conference with B. Bennett regarding second Lien                 0.40        490.00
                        Committee reconsideration motion and next steps regarding
                        standing.
10/30/15     MJB        Telephone call with B. Bennett regarding reconsideration         0.30        367.50
                        motion, standing, plan negotiations.


Attorney                                                               Hours           Rate         Amount

MARTIN J. BIENENSTOCK                                                   0.70        1,225.00         857.50
      Total For Partner                                                 0.70                         857.50


Professional Fees                                                       0.70                    $    857.50

Total this Matter                                                                              $     857.50
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INVOLUNTARY PETITION.
Client/Matter No. 71844.0035


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                       Hours   Amount

10/01/15    PMA         Review email correspondence between Proskauer and                  0.90    922.50
                        Committee members regarding involuntary trial issues (.2);
                        confer with M. Zerjal regarding involuntary issues (.1);
                        confer with J. Liu regarding involuntary issues (.1); review
                        involuntary pre-trial briefs to update Committee (.5).
10/02/15    MJB         Research and draft appellate brief regarding motion to             6.30   7,717.50
                        compel.
10/02/15    MZ          Review involuntary trial briefs (2.3).                             2.30   1,598.50
10/02/15    PMA         Review involuntary pre-trial briefs to update Committee.           0.60     615.00
10/02/15    PMA         Review involuntary pre-trial briefs to update Committee.           0.10     102.50
10/03/15    PMA         Review and analyze stipulation of facts in involuntary.            0.30     307.50
10/05/15    PP          Attend trial in involuntary case (5.5). Draft summary of first     6.90   6,727.50
                        day of involuntary trial for Committee (1.4).
10/05/15    JGL         Teleconference with P. Abelson regarding court rulings in          0.60    705.00
                        involuntary trial (.3); review email from P. Possinger
                        regarding involuntary trial summary (.3).
10/05/15    MZ          Review reports on involuntary trial (.4).                          0.70    486.50
10/05/15    PMA         Confer with P. Possinger regarding involuntary trial (.1);         0.50    512.50
                        Confer with M. Zerjal regarding involuntary trial (.1);
                        Review and respond to email correspondence from P.
                        Possinger regarding involuntary trial (.1); Draft email
                        correspondence to Proskauer team regarding involuntary
                        facts stipulation (.2).
10/05/15    VI          Review involuntary trial summary.                                  0.30     238.50
10/06/15    PP          Attend second day of involuntary petition trial. Daft              8.70   8,482.50
                        summary of second day of involuntary trial for Committee
                        members (1.5).
10/06/15    MZ          Review reports on involuntary trial.                               0.40    278.00
10/06/15    PMA         Review email correspondence from P. Possinger regarding            0.30    307.50
                        summary of first day of involuntary trial (.2); review article
                        regarding summary of involuntary trial (.1).
10/06/15    VI          Review summary of involuntary hearing.                             0.40     318.00
10/07/15    PP          Attend third day of trial on involuntary petition (6.2); review    6.60   6,435.00
                        Reorg Research alert updates and email P. Abelson
                        regarding same (.4).
10/08/15    PP          Draft summary of third day involuntary trial for Committee         1.60   1,560.00
                        members.
10/08/15    JGL         Review P. Possigner’s email summarizing involuntary trial.         0.30    352.50
10/08/15    MZ          Review report on involuntary trial. Review report on               0.30    208.50
                        involuntary trial.
10/08/15    PMA         Review email correspondence from P. Possinger regarding            0.20    205.00
                        involuntary trial update.
10/12/15    MZ          Draft email regarding opening brief in involuntary trial to        0.20    139.00
                        Committee.
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INVOLUNTARY PETITION.
Client/Matter No. 71844.0035

Date        Attorney    Description                                                     Hours   Amount

10/13/15    PP          Attend fourth day of involuntary trial. email summary of         7.20   7,020.00
                        fourth day of involuntary trial to Committee members.
10/13/15    MZ          Review report on involuntary trial.                              0.40    278.00
10/13/15    PMA         Review email correspondence from Reorg Research and P.           0.20    205.00
                        Possinger regarding involuntary trial update.
10/14/15    PP          Attend fifth day of involuntary trial. email summary of fifth    6.10   5,947.50
                        day of involuntary trial to Committee.
10/14/15    PMA         Review email correspondence from Reorg Research and P.           0.30    307.50
                        Possinger regarding involuntary trial update.
10/15/15    PP          Attend sixth day of involuntary trial. Email to Committee        8.10   7,897.50
                        summary regarding sixth day of involuntary trial.
10/15/15    JGL         Review email from P. Possinger regarding involuntary trial       0.40    470.00
                        (.2); review additional P. Possinger email regarding
                        involuntary trial (.2).
10/15/15    PMA         Review email correspondence from Reorg Research and P.           0.30    307.50
                        Possinger regarding involuntary trial update.
10/16/15    PP          Attend final day of involuntary trial (3.2); emails with M.      3.90   3,802.50
                        Bienenstock regarding thoughts on outcome (.7).
10/16/15    MZ          Review reports on involuntary trial.                             1.20    834.00
10/16/15    PMA         Review email correspondence from Reorg Research                  0.50    512.50
                        regarding involuntary trial (.1); confer with P. Possinger
                        regarding involuntary trial (.4).
10/22/15    PMA         Confer with M. Zerjal regarding involuntary issues. Review       0.30    307.50
                        and draft email correspondence with S. Lieberman regarding
                        Premier General and involuntary decision.
10/23/15    PMA         Review email correspondence from C. Greco and V.                 0.50    512.50
                        Indelicato regarding involuntary issues (.1); review March
                        25 transcript regarding Premier (.2); draft email
                        correspondence to Proskauer team regarding March 25
                        transcript (.2).
10/23/15    VI          Email correspondence with C. Greco regarding involuntary         0.30    238.50
                        appeal (.1); multiple email correspondences with P. Abelson
                        and M. Zerjal regarding same (.2).
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INVOLUNTARY PETITION.
Client/Matter No. 71844.0035



Attorney                                          Hours       Rate         Amount

JUDY G. LIU                                         1.30   1,175.00        1,527.50
MARTIN J. BIENENSTOCK                               6.30   1,225.00        7,717.50
PAUL POSSINGER                                     49.10     975.00       47,872.50
PHILIP M. ABELSON                                   5.00   1,025.00        5,125.00
       Total For Partner                           61.70                  62,242.50

MAJA ZERJAL                                         5.50    695.00         3,822.50
VINCENT INDELICATO                                  1.00    795.00           795.00
      Total For Associate                           6.50                   4,617.50


Professional Fees                                  68.20              $   66,860.00

Total this Matter                                                     $   66,860.00
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DISBURSEMENTS
Client/Matter No. 71844.0036


For Charges and Disbursements

Date         Timekeeper                Type             Description     Amount
10/01/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $1.60
10/01/2015   Nicholas Williams   REPRODUCTION   REPRODUCTION              $2.10
10/01/2015   Magali Giddens      REPRODUCTION   REPRODUCTION              $3.40
10/01/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $0.60
10/02/2015   Maja Zerjal         REPRODUCTION   REPRODUCTION              $1.70
10/02/2015   Magali Giddens      REPRODUCTION   REPRODUCTION              $8.50
10/02/2015   Maja Zerjal         REPRODUCTION   REPRODUCTION              $0.60
10/02/2015   Andrea G. Miller    REPRODUCTION   REPRODUCTION              $0.10
10/02/2015   Andrea G. Miller    REPRODUCTION   REPRODUCTION              $5.10
10/05/2015   Steve MA            REPRODUCTION   REPRODUCTION             $14.40
10/05/2015   Steve MA            REPRODUCTION   REPRODUCTION             $11.40
10/05/2015   Steve MA            REPRODUCTION   REPRODUCTION              $1.70
10/06/2015   Steve MA            REPRODUCTION   REPRODUCTION              $6.30
10/06/2015   Steve MA            REPRODUCTION   REPRODUCTION              $0.10
10/06/2015   Steve MA            REPRODUCTION   REPRODUCTION              $0.10
10/06/2015   Steve MA            REPRODUCTION   REPRODUCTION              $0.10
10/06/2015   Steve MA            REPRODUCTION   REPRODUCTION              $0.10
10/06/2015   Sarah Sullivan      REPRODUCTION   REPRODUCTION              $0.80
10/06/2015   Steve MA            REPRODUCTION   REPRODUCTION              $5.60
10/07/2015   Sarah Sullivan      REPRODUCTION   REPRODUCTION              $6.30
10/07/2015   Sarah Sullivan      REPRODUCTION   REPRODUCTION              $4.70
10/08/2015   Steve MA            REPRODUCTION   REPRODUCTION             $29.70
10/08/2015   Steve MA            REPRODUCTION   REPRODUCTION              $8.40
10/08/2015   Steve MA            REPRODUCTION   REPRODUCTION             $15.80
10/08/2015   Richard M. Corn     REPRODUCTION   REPRODUCTION             $15.80
10/08/2015   Steve MA            REPRODUCTION   REPRODUCTION             $15.00
10/08/2015   Michele M. Reetz    REPRODUCTION   REPRODUCTION              $0.10
10/09/2015   Marissa D. Tillem   REPRODUCTION   REPRODUCTION              $4.40
10/09/2015   Sarah Sullivan      REPRODUCTION   REPRODUCTION             $20.40
10/09/2015   Sarah Sullivan      REPRODUCTION   REPRODUCTION             $27.70
10/09/2015   Marissa D. Tillem   REPRODUCTION   REPRODUCTION              $0.30
10/09/2015   Marissa D. Tillem   REPRODUCTION   REPRODUCTION              $6.30
10/09/2015   Sarah Sullivan      REPRODUCTION   REPRODUCTION             $11.00
10/09/2015   Sarah Sullivan      REPRODUCTION   REPRODUCTION             $19.70
10/09/2015   Jamaal Myers        REPRODUCTION   REPRODUCTION             $27.70
10/09/2015   Mark Carpenter      REPRODUCTION   REPRODUCTION              $0.60
10/09/2015   Mark Carpenter      REPRODUCTION   REPRODUCTION              $1.70
10/09/2015   Mark Carpenter      REPRODUCTION   REPRODUCTION              $1.30
10/09/2015   Mark Carpenter      REPRODUCTION   REPRODUCTION              $0.90
10/09/2015   Mark Carpenter      REPRODUCTION   REPRODUCTION              $0.70
10/09/2015   Mark Carpenter      REPRODUCTION   REPRODUCTION              $0.30
10/09/2015   Mark Carpenter      REPRODUCTION   REPRODUCTION              $1.50
10/09/2015   Mark Carpenter      REPRODUCTION   REPRODUCTION              $8.40
10/09/2015   Mark Carpenter      REPRODUCTION   REPRODUCTION             $15.80
10/09/2015   Mark Carpenter      REPRODUCTION   REPRODUCTION             $30.80
10/12/2015   Steve MA            REPRODUCTION   REPRODUCTION              $6.10
10/12/2015   Steve MA            REPRODUCTION   REPRODUCTION              $4.30
10/12/2015   Paul Possinger      REPRODUCTION   REPRODUCTION             $11.30
10/13/2015   Scott A. Eggers     REPRODUCTION   REPRODUCTION              $0.20
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DISBURSEMENTS
Client/Matter No. 71844.0036

Date         Timekeeper               Type             Description      Amount
10/13/2015   Scott A. Eggers    REPRODUCTION   REPRODUCTION               $0.40
10/14/2015   Andrew S. Wellin   REPRODUCTION   REPRODUCTION               $6.30
10/14/2015   Steve MA           REPRODUCTION   REPRODUCTION               $6.50
10/14/2015   Paul Possinger     REPRODUCTION   REPRODUCTION               $6.20
10/14/2015   Paul Possinger     REPRODUCTION   REPRODUCTION               $6.50
10/14/2015   Paul Possinger     REPRODUCTION   REPRODUCTION               $0.10
10/15/2015   Maja Zerjal        REPRODUCTION   REPRODUCTION               $3.40
10/15/2015   Maja Zerjal        REPRODUCTION   REPRODUCTION               $6.80
10/15/2015   Jamaal Myers       REPRODUCTION   REPRODUCTION              $26.80
10/15/2015   Natasha Petrov     REPRODUCTION   REPRODUCTION               $6.70
10/16/2015   Steve MA           REPRODUCTION   REPRODUCTION               $0.60
10/16/2015   Steve MA           REPRODUCTION   REPRODUCTION               $0.20
10/16/2015   Steve MA           REPRODUCTION   REPRODUCTION               $0.10
10/16/2015   Daniel J. Werb     REPRODUCTION   REPRODUCTION               $5.60
10/16/2015   Paul Possinger     REPRODUCTION   REPRODUCTION               $0.80
10/16/2015   Natasha Petrov     REPRODUCTION   REPRODUCTION               $0.30
10/16/2015   Proskauer          REPRODUCTION   REPRODUCTION             $153.90
             Unassigned
10/16/2015   Paul Possinger     REPRODUCTION   REPRODUCTION                $6.80
10/16/2015   Proskauer          REPRODUCTION   REPRODUCTION               $20.40
             Unassigned
10/16/2015   Natasha Petrov     REPRODUCTION   REPRODUCTION                $0.30
10/16/2015   Proskauer          REPRODUCTION   REPRODUCTION              $179.40
             Unassigned
10/19/2015   Magali Giddens     REPRODUCTION   REPRODUCTION                $8.70
10/19/2015   Maja Zerjal        REPRODUCTION   REPRODUCTION                $8.40
10/19/2015   Maja Zerjal        REPRODUCTION   REPRODUCTION               $15.80
10/19/2015   Steve MA           REPRODUCTION   REPRODUCTION                $9.70
10/19/2015   Magali Giddens     REPRODUCTION   REPRODUCTION                $8.50
10/19/2015   Steve MA           REPRODUCTION   REPRODUCTION                $4.40
10/19/2015   Steve MA           REPRODUCTION   REPRODUCTION                $4.90
10/19/2015   Steve MA           REPRODUCTION   REPRODUCTION                $3.30
10/19/2015   Steve MA           REPRODUCTION   REPRODUCTION                $8.40
10/19/2015   Proskauer          REPRODUCTION   REPRODUCTION              $119.60
             Unassigned
10/19/2015   Proskauer          REPRODUCTION   REPRODUCTION              $102.60
             Unassigned
10/19/2015   Proskauer          REPRODUCTION   REPRODUCTION               $34.00
             Unassigned
10/19/2015   Proskauer          REPRODUCTION   REPRODUCTION               $17.60
             Unassigned
10/20/2015   Steve MA           REPRODUCTION   REPRODUCTION                $0.50
10/20/2015   Natasha Petrov     REPRODUCTION   REPRODUCTION               $13.60
10/20/2015   Paul Possinger     REPRODUCTION   REPRODUCTION                $2.50
10/20/2015   Paul Possinger     REPRODUCTION   REPRODUCTION               $11.10
10/20/2015   Paul Possinger     REPRODUCTION   REPRODUCTION                $0.10
10/20/2015   Natasha Petrov     REPRODUCTION   REPRODUCTION                $1.20
10/20/2015   Natasha Petrov     REPRODUCTION   REPRODUCTION                $0.60
10/20/2015   Natasha Petrov     REPRODUCTION   REPRODUCTION                $4.40
10/20/2015   Natasha Petrov     REPRODUCTION   REPRODUCTION                $0.20
10/20/2015   Natasha Petrov     REPRODUCTION   REPRODUCTION                $0.80
10/20/2015   Natasha Petrov     REPRODUCTION   REPRODUCTION                $0.80
10/20/2015   Natasha Petrov     REPRODUCTION   REPRODUCTION               $13.80
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DISBURSEMENTS
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Date         Timekeeper                Type             Description     Amount
10/20/2015   Natasha Petrov      REPRODUCTION   REPRODUCTION              $4.20
10/20/2015   Natasha Petrov      REPRODUCTION   REPRODUCTION              $3.60
10/20/2015   Natasha Petrov      REPRODUCTION   REPRODUCTION              $1.20
10/20/2015   Natasha Petrov      REPRODUCTION   REPRODUCTION              $1.00
10/20/2015   Natasha Petrov      REPRODUCTION   REPRODUCTION              $0.80
10/20/2015   Natasha Petrov      REPRODUCTION   REPRODUCTION             $35.20
10/20/2015   Natasha Petrov      REPRODUCTION   REPRODUCTION              $3.00
10/20/2015   Natasha Petrov      REPRODUCTION   REPRODUCTION              $1.00
10/20/2015   Natasha Petrov      REPRODUCTION   REPRODUCTION              $1.00
10/20/2015   Natasha Petrov      REPRODUCTION   REPRODUCTION              $3.20
10/20/2015   Natasha Petrov      REPRODUCTION   REPRODUCTION              $0.60
10/20/2015   Natasha Petrov      REPRODUCTION   REPRODUCTION              $4.20
10/20/2015   Natasha Petrov      REPRODUCTION   REPRODUCTION              $1.00
10/20/2015   Natasha Petrov      REPRODUCTION   REPRODUCTION              $0.80
10/20/2015   Paul Possinger      REPRODUCTION   REPRODUCTION              $1.70
10/21/2015   Steve MA            REPRODUCTION   REPRODUCTION              $3.50
10/21/2015   Steve MA            REPRODUCTION   REPRODUCTION              $9.60
10/21/2015   Paul Possinger      REPRODUCTION   REPRODUCTION              $1.70
10/21/2015   Paul Possinger      REPRODUCTION   REPRODUCTION              $6.90
10/22/2015   Maja Zerjal         REPRODUCTION   REPRODUCTION             $10.40
10/22/2015   Maja Zerjal         REPRODUCTION   REPRODUCTION              $4.20
10/22/2015   Maja Zerjal         REPRODUCTION   REPRODUCTION             $10.40
10/22/2015   Maja Zerjal         REPRODUCTION   REPRODUCTION              $0.20
10/22/2015   Maja Zerjal         REPRODUCTION   REPRODUCTION              $4.20
10/22/2015   Steve MA            REPRODUCTION   REPRODUCTION              $7.50
10/22/2015   Steve MA            REPRODUCTION   REPRODUCTION             $20.60
10/22/2015   Maja Zerjal         REPRODUCTION   REPRODUCTION              $4.20
10/22/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $0.10
10/22/2015   Maja Zerjal         REPRODUCTION   REPRODUCTION              $0.10
10/22/2015   Maja Zerjal         REPRODUCTION   REPRODUCTION              $0.20
10/22/2015   Lauren K. Boglivi   REPRODUCTION   REPRODUCTION              $6.30
10/22/2015   Maja Zerjal         REPRODUCTION   REPRODUCTION              $0.10
10/22/2015   Maja Zerjal         REPRODUCTION   REPRODUCTION              $8.20
10/22/2015   Maja Zerjal         REPRODUCTION   REPRODUCTION              $0.20
10/22/2015   Daniel J. Werb      REPRODUCTION   REPRODUCTION              $0.40
10/22/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $1.30
10/22/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $0.40
10/22/2015   Steve MA            REPRODUCTION   REPRODUCTION              $1.30
10/22/2015   Steve MA            REPRODUCTION   REPRODUCTION              $0.30
10/22/2015   Maja Zerjal         REPRODUCTION   REPRODUCTION              $0.20
10/22/2015   Lauren K. Boglivi   REPRODUCTION   REPRODUCTION              $9.60
10/22/2015   Magali Giddens      REPRODUCTION   REPRODUCTION              $9.30
10/22/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $1.60
10/22/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $0.40
10/22/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $0.10
10/22/2015   Paul Possinger      REPRODUCTION   REPRODUCTION              $7.10
10/23/2015   Nicholas Williams   REPRODUCTION   REPRODUCTION              $0.20
10/23/2015   Nicholas Williams   REPRODUCTION   REPRODUCTION              $0.20
10/23/2015   Nicholas Williams   REPRODUCTION   REPRODUCTION              $0.20
10/23/2015   Nicholas Williams   REPRODUCTION   REPRODUCTION              $0.10
10/23/2015   Nicholas Williams   REPRODUCTION   REPRODUCTION              $0.30
10/23/2015   Nicholas Williams   REPRODUCTION   REPRODUCTION              $1.40
10/23/2015   Nicholas Williams   REPRODUCTION   REPRODUCTION              $1.80
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DISBURSEMENTS
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Date         Timekeeper                Type                Description     Amount
10/23/2015   Nicholas Williams   REPRODUCTION   REPRODUCTION                  $1.20
10/23/2015   Nicholas Williams   REPRODUCTION   REPRODUCTION                  $0.20
10/23/2015   Nicholas Williams   REPRODUCTION   REPRODUCTION                  $1.10
10/23/2015   Nicholas Williams   REPRODUCTION   REPRODUCTION                  $0.20
10/23/2015   Nicholas Williams   REPRODUCTION   REPRODUCTION                  $0.20
10/23/2015   Nicholas Williams   REPRODUCTION   REPRODUCTION                  $1.10
10/23/2015   Nicholas Williams   REPRODUCTION   REPRODUCTION                  $1.80
10/23/2015   Nicholas Williams   REPRODUCTION   REPRODUCTION                  $0.20
10/23/2015   Nicholas Williams   REPRODUCTION   REPRODUCTION                  $1.20
10/23/2015   Nicholas Williams   REPRODUCTION   REPRODUCTION                  $0.20
10/23/2015   Nicholas Williams   REPRODUCTION   REPRODUCTION                  $0.10
10/23/2015   Nicholas Williams   REPRODUCTION   REPRODUCTION                  $0.30
10/23/2015   Nicholas Williams   REPRODUCTION   REPRODUCTION                  $1.40
10/23/2015   Nicholas Williams   REPRODUCTION   REPRODUCTION                  $7.20
10/23/2015   Nicholas Williams   REPRODUCTION   REPRODUCTION                  $4.80
10/23/2015   Nicholas Williams   REPRODUCTION   REPRODUCTION                  $0.80
10/23/2015   Nicholas Williams   REPRODUCTION   REPRODUCTION                  $0.40
10/23/2015   Nicholas Williams   REPRODUCTION   REPRODUCTION                  $1.20
10/23/2015   Nicholas Williams   REPRODUCTION   REPRODUCTION                  $5.60
10/23/2015   Nicholas Williams   REPRODUCTION   REPRODUCTION                  $0.80
10/23/2015   Nicholas Williams   REPRODUCTION   REPRODUCTION                  $0.80
10/23/2015   Nicholas Williams   REPRODUCTION   REPRODUCTION                  $4.40
10/23/2015   Nicholas Williams   REPRODUCTION   REPRODUCTION                  $0.80
10/23/2015   Nicholas Williams   REPRODUCTION   REPRODUCTION                 $96.80
10/23/2015   Sarah Sullivan      REPRODUCTION   REPRODUCTION                 $13.60
10/23/2015   Magali Giddens      REPRODUCTION   REPRODUCTION                  $9.10
10/23/2015   Nicholas Williams   REPRODUCTION   REPRODUCTION                  $9.30
10/23/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION                  $0.70
10/23/2015   Paul Possinger      REPRODUCTION   REPRODUCTION                  $6.40
10/23/2015   Paul Possinger      REPRODUCTION   REPRODUCTION                  $1.10
10/26/2015   Magali Giddens      REPRODUCTION   REPRODUCTION                  $0.70
10/26/2015   Magali Giddens      REPRODUCTION   REPRODUCTION                  $0.70
10/26/2015   Jamaal Myers        REPRODUCTION   REPRODUCTION                 $10.40
10/26/2015   Steve MA            REPRODUCTION   REPRODUCTION                  $5.40
10/26/2015   Steve MA            REPRODUCTION   REPRODUCTION                  $2.50
10/26/2015   Steve MA            REPRODUCTION   REPRODUCTION                  $4.10
10/27/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION                  $0.50
10/27/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION                 $20.40
10/28/2015   Magali Giddens      REPRODUCTION   REPRODUCTION                  $2.30
10/28/2015   Magali Giddens      REPRODUCTION   REPRODUCTION                  $9.10
10/29/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION                  $0.60
10/29/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION                  $0.60
10/29/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION                  $0.20
10/29/2015   Steve MA            REPRODUCTION   REPRODUCTION                  $1.40
10/29/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION                  $1.90
10/29/2015   Magali Giddens      REPRODUCTION   REPRODUCTION                  $0.10
10/29/2015   Magali Giddens      REPRODUCTION   REPRODUCTION                  $0.10
10/30/2015   Steve MA            REPRODUCTION   REPRODUCTION                  $2.80
10/30/2015   Marissa D. Tillem   REPRODUCTION   REPRODUCTION                  $1.10
                                                Total for REPRODUCTION    $1,630.30
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DISBURSEMENTS
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Date         Timekeeper                  Type                Description                 Amount
10/05/2015   Chris Theodoridis   LEXIS          LEXIS Connect and Comm Time -            $396.75
                                                0:11:41 Searches - 1 Shepards and
                                                Autocite - 1 Lexsees and Lexstat - 1
10/05/2015   Maja Zerjal         LEXIS          LEXIS Connect and Comm Time -             $296.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
10/06/2015   Chris Theodoridis   LEXIS          LEXIS Connect and Comm Time -              $55.75
                                                0:15:08 Searches - 0 Shepards and
                                                Autocite - 1 Lexsees and Lexstat - 2
10/06/2015   Maja Zerjal         LEXIS          LEXIS Connect and Comm Time -             $503.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
10/07/2015   Steve MA            LEXIS          LEXIS Connect and Comm Time -             $230.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
10/08/2015   Maja Zerjal         LEXIS          LEXIS Connect and Comm Time -             $828.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
10/10/2015   Maja Zerjal         LEXIS          LEXIS Connect and Comm Time -             $322.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
10/12/2015   Steve MA            LEXIS          LEXIS Connect and Comm Time -             $943.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
10/13/2015   Chris Theodoridis   LEXIS          LEXIS Connect and Comm Time -             $399.00
                                                0:19:19 Searches - 1 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 1
10/14/2015   Chris Theodoridis   LEXIS          LEXIS Connect and Comm Time -             $235.00
                                                0:02:06 Searches - 1 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
10/15/2015   Maja Zerjal         LEXIS          LEXIS Connect and Comm Time -              $23.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
10/16/2015   Steve MA            LEXIS          LEXIS Connect and Comm Time -              $92.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
10/19/2015   Chris Theodoridis   LEXIS          LEXIS Connect and Comm Time -             $236.75
                                                0:49:57 Searches - 1 Shepards and
                                                Autocite - 1 Lexsees and Lexstat - 1
10/19/2015   Steve MA            LEXIS          LEXIS Connect and Comm Time -              $46.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
10/20/2015   Andrew S. Wellin    LEXIS          LEXIS Connect and Comm Time -             $460.00
                                                0:08:20 Searches - 2 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 1
10/21/2015   Andrew S. Wellin    LEXIS          LEXIS Connect and Comm Time -           $1,523.25
                                                2:30:26 Searches - 6 Shepards and
                                                Autocite - 1 Lexsees and Lexstat - 9
10/22/2015   Steve MA            LEXIS          LEXIS Connect and Comm Time -             $115.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
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DISBURSEMENTS
Client/Matter No. 71844.0036

Date         Timekeeper                   Type                   Description                 Amount
10/22/2015   Maja Zerjal          LEXIS             LEXIS Connect and Comm Time -             $23.00
                                                    0:00:00 Searches - 0 Shepards and
                                                    Autocite - 0 Lexsees and Lexstat - 0
10/23/2015   Maja Zerjal          LEXIS             LEXIS Connect and Comm Time -             $391.00
                                                    0:00:00 Searches - 0 Shepards and
                                                    Autocite - 0 Lexsees and Lexstat - 0
10/26/2015   Andrew S. Wellin     LEXIS             LEXIS Connect and Comm Time -             $182.00
                                                    1:02:34 Searches - 2 Shepards and
                                                    Autocite - 0 Lexsees and Lexstat - 0
10/28/2015   Maja Zerjal          LEXIS             LEXIS Connect and Comm Time -             $161.00
                                                    0:00:00 Searches - 0 Shepards and
                                                    Autocite - 0 Lexsees and Lexstat - 0
                                                    Total for LEXIS                         $7,461.50

Date         Timekeeper                Type                     Description                  Amount
10/07/2015   Vincent Indelicato   WESTLAW           WESTLAW Connect and Comm                  $48.00
                                                    Time - 000000:00:00 WestChk and
                                                    Other Trans - 0000000007 Lines
10/16/2015   David C. Cooper      WESTLAW           WESTLAW Connect and Comm                  $727.00
                                                    Time - 000000:00:00 WestChk and
                                                    Other Trans - 0000000013 Lines
10/22/2015   Andrew S. Wellin     WESTLAW           WESTLAW Connect and Comm                   $99.00
                                                    Time - 000000:00:00 WestChk and
                                                    Other Trans - 0000000012 Lines
10/23/2015   Sarah Sullivan       WESTLAW           WESTLAW Connect and Comm                  $297.00
                                                    Time - 000000:00:00 WestChk and
                                                    Other Trans - 0000000011 Lines
                                                    Total for WESTLAW                       $1,171.00

Date         Timekeeper                 Type                    Description                  Amount
07/31/2015   Magali Giddens       LITIGATION        LITIGATION                                 $7.70
                                  SUPPORT/DOCKETI   SUPPORT/DOCKETING - -
                                  NG                VENDOR: PACER SERVICE
                                                    CENTER
                                                    Total for LITIGATION
                                                    SUPPORT/DOCKETING                           $7.70

Date         Timekeeper                 Type                    Description                  Amount
10/01/2015   Magali Giddens       PROFESSIONAL      PROFESSIONAL SERVICES - -                 $86.00
                                  SERVICES          VENDOR: AMERICAN EXPRESS
                                                    10/1/15 - JACKLEEN DEFINI -
                                                    TRANSCRIPTION SERVICES
                                                    Total for PROFESSIONAL
                                                    SERVICES                                   $86.00

Date         Timekeeper                 Type                  Description                    Amount
10/14/2015   Paul Possinger       TRANSCRIPTS &     TRANSCRIPTS & DEPOSITIONS -             $1,222.00
                                  DEPOSITIONS       - VENDOR: JACKLEEN DE FINI,
                                                    C.S.R. TRANSCRIPT
10/20/2015   Natasha Petrov       TRANSCRIPTS &     TRANSCRIPTS & DEPOSITIONS -             $1,467.00
                                  DEPOSITIONS       - VENDOR: JACKLEEN DE FINI,
                                                    C.S.R. TRANSCRIPT - 15-03193
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DISBURSEMENTS
Client/Matter No. 71844.0036

                                                    Total for TRANSCRIPTS &
                                                    DEPOSITIONS                        $2,689.00

Date         Timekeeper                Type                    Description              Amount
10/02/2015   Steve MA            LONG DISTANCE      LONG DISTANCE TELEPHONE               $0.70
                                 TELEPHONE          From x3488 To: 3128623390
                                                    (CHICAGO,IL) At: 1412 Duration:
                                                    1.8Minutes
10/15/2015   Scott A. Eggers     LONG DISTANCE      LONG DISTANCE TELEPHONE                $0.35
                                 TELEPHONE          From x3412 To: 3125586154
                                                    (CHICAGO,IL) At: 1030 Duration:
                                                    0.6Minutes
10/26/2015   Magali Giddens      LONG DISTANCE      LONG DISTANCE TELEPHONE                $0.70
                                 TELEPHONE          From x3036 To: 3128623390
                                                    (CHICAGO,IL) At: 1727 Duration:
                                                    1.7Minutes
10/27/2015   Magali Giddens      LONG DISTANCE      LONG DISTANCE TELEPHONE                $0.35
                                 TELEPHONE          From x3036 To: 3128623390
                                                    (CHICAGO,IL) At: 1615 Duration:
                                                    0.6Minutes
                                                    Total for LONG DISTANCE
                                                    TELEPHONE                              $2.10

Date         Timekeeper                Type                  Description                Amount
10/16/2015   Martin J.           MESSENGER/DELIV MESSENGER/DELIVERY Delivery             $32.92
             Bienenstock         ERY             C. Barbarosh D. Cric Katten Muchin
                                                 Rosenman LLP 575 Madison Avenue
                                                 New York NY, Tracking #: 1Z7R
                                                 229F2593999585, Shipped on
                                                 101615, Invoice #: 00
                                                 00007R229F435
10/16/2015   Michele M. Reetz    MESSENGER/DELIV MESSENGER/DELIVERY Delivery              $31.27
                                 ERY             - - VENDOR: U.S MESSENGER &
                                                 LOGISTICS, INC 10/16/15 - US
                                                 MESSENGER - DESTINATION:
                                                 US COURTHOUSE - TRACKING
                                                 ID: 2686.101615
10/16/2015   Michele M. Reetz    MESSENGER/DELIV MESSENGER/DELIVERY Delivery              $20.65
                                 ERY             - - VENDOR: U.S MESSENGER &
                                                 LOGISTICS, INC 10/16/15 - US
                                                 MESSENGER - DESTINATION:
                                                 KATTEN MUCHIN ROSENMAN -
                                                 TRACKING ID: 2702.101615
                                                 Total for
                                                 MESSENGER/DELIVERY                       $84.84

Date         Timekeeper                Type                   Description               Amount
10/21/2015   Philip M. Abelson   OUT OF TOWN        OUT OF TOWN                         $240.60
                                 TRANSPORTATION     TRANSPORTATION - - VENDOR:
                                                    ABELSON, PHILIP M. CABS RE:
                                                    TRAVEL TO CHICAGO, IL ON
                                                    10/21/15.
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DISBURSEMENTS
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                                                       Total for OUT OF TOWN
                                                       TRANSPORTATION                   $240.60

Date         Timekeeper                Type                       Description          Amount
10/21/2015   Philip M. Abelson   OUT OF TOWN           OUT OF TOWN MEALS - -             $4.30
                                 MEALS                 VENDOR: ABELSON, PHILIP M.
                                                       BREAKFAST RE: TRAVEL TO
                                                       CHICAGO, IL ON 10/21/15.
                                                       Total for OUT OF TOWN MEALS        $4.30

Date         Timekeeper                Type                       Description          Amount
08/06/2015   Perry A. Cacace     CORPORATE             CORPORATE SERVICES - -        $35,271.66
                                 SERVICES              VENDOR: FIRST AMERICAN
                                                       TITLE INS CO. MORTGAGE
                                                       SEARCH SERVICE
                                                       Total for CORPORATE
                                                       SERVICES                      $35,271.66

Date         Timekeeper                Type                        Description         Amount
10/21/2015   Philip M. Abelson   AIRPLANE              AIRPLANE - - VENDOR:            $471.10
                                                       ABELSON, PHILIP M. AIRFARES
                                                       AND ON PLANE WIFI RE:
                                                       TRAVEL TO CHICAGO, IL ON
                                                       10/21/15.
                                                       Total for AIRPLANE               $471.10


Charges and Disbursements Summary

Type of Disbursements                                                                  Amount
REPRODUCTION                                                                           1,630.30
LEXIS                                                                                  7,461.50
WESTLAW                                                                                1,171.00
LITIGATION SUPPORT/DOCKETING                                                               7.70
PROFESSIONAL SERVICES                                                                     86.00
TRANSCRIPTS & DEPOSITIONS                                                              2,689.00
LONG DISTANCE TELEPHONE                                                                    2.10
MESSENGER/DELIVERY                                                                        84.84
OUT OF TOWN TRANSPORTATION                                                               240.60
OUT OF TOWN MEALS                                                                          4.30
CORPORATE SERVICES                                                                    35,271.66
AIRPLANE                                                                                 471.10
                                      Total Expenses                                 $49,120.10

                                      Total Amount for this Matter                   $49,120.10
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                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

                                                               )
In re:                                                               Chapter 11
                                                               )
CAESARS ENTERTAINMENT OPERATING                                )     Case No. 15-01145 (ABG)
COMPANY, INC., et al.,1                                        )
                                                               )
                 Debtors.                                      )     (Jointly Administered)
                                                               )

 COVER SHEET TO TENTH MONTHLY FEE APPLICATION OF PROSKAUER ROSE
LLP FOR COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT OF
  EXPENSES AS ATTORNEYS TO STATUTORY UNSECURED CLAIMHOLDERS’
COMMITTEE FOR THE PERIOD NOVEMBER 1, 2015 THROUGH NOVEMBER 30, 2015

Name of Applicant:                                  Proskauer Rose LLP (“Proskauer”)

Authorized to Provide
Professional Services to:                           The Statutory Unsecured Claimholders’ Committee

Date of Retention:                                  Order entered March 26, 2015 [ECF No. 998]
                                                    Nunc Pro Tunc to February 9, 2015

Period for which compensation
and reimbursement is sought:                        November 1, 2015 through November 30, 2015

Amount of compensation sought
as actual, reasonable and necessary:                $1,063,498.00

Amount of expense reimbursement sought
as actual, reasonable and necessary:   $20,493.51

This is a: X monthly __ interim __ final application.

This is Proskauer’s Tenth monthly fee application in this case.




1
    The last four digits of Caesars Entertainment Operating Company, Inc.’s tax identification number are 1623. A
    complete list of the Debtors and the last four digits of their federal tax identification numbers is available at
    https://cases.primeclerk.com/CEOC.



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December 30, 2015

Committee Chairpersons:
Wilmington Trust, NA                                Counsel for the First Lien Lender Group:
Rodney Square North                                 Stroock & Stroock & Lavan LLP
1100 N. Market Street                               180 Maiden Lane
Wilmington, DE 19890-00001                          New York, New York 10038
Attn: Geoffrey J. Lewis                             Attn: Kristopher M. Hansen, Esq.
                                                          Jonathan D. Canfield, Esq.
Hilton Worldwide, Inc.
7930 Jones Branch Drive, 6th Floor                  Counsel for the Indenture Trustee under the First
McLean, Virginia 22102                              Lien Notes Indenture:
Attn: Charles Corbin                                Katten Muchin Rosenman LLP
                                                    575 Madison Avenue
The Debtors:                                        New York, New York 10022
Caesars Entertainment Operating Company, Inc.       Attn: Craig A. Barbarosh, Esq. and
151 North Joliet St.                                      Karen B. Dine, Esq.
Joliet, IL 60432
Attn: Timothy J. Lambert                            Counsel for the Ad Hoc Group of Holders of
                                                    10.75% Guaranteed Notes and 10.75% Notes
Caesars Entertainment Operating Company, Inc.       Trustee:
One Caesars Palace Drive                            White & Case LLP
Las Vegas, Nevada 89109                             Southeast Financial Center, Suite 4900
Attn: Mary E. Higgins                               200 South Biscayne Blvd., Miami, Florida 33131
                                                    Attn: Thomas E. Lauria, Esq.
Counsel for the Debtors:
Kirkland & Ellis LLP                                Counsel for the Ad Hoc Group of 5.75% and
300 North LaSalle                                   6.50% Notes:
Chicago, Illinois 60654                             Drinker Biddle & Reath LLP
Attn: David R. Seligman, P.C.                       1177 Avenue of the Americas, 41st Floor
      Ryan Preston Dahl, Esq.                       New York, New York 10036
                                                    Attn: James H. Millar, Esq.
Kirkland & Ellis LLP                                      Kristin K. Going, Esq.
601 Lexington Avenue
New York, New York 10022                            The U.S. Trustee:
Attn: Nicole L. Greenblatt, Esq.                    219 S. Dearborn Street, Suite 873
      Christopher T. Greco, Esq.                    Chicago, Illinois 60604
                                                    Attn: Denise Ann DeLaurent
Counsel for the Second Lien Committee:
Jones Day
555 South Flower Street, Fiftieth Floor
Los Angeles, California, 90071
Attn: Bruce Bennett, Esq.
      Sidney Levinson, Esq.

Counsel for the First Lien Note:
Kramer Levin Naftalis & Frankel LLP
1177 Avenue of the Americas
New York, New York 10036
Attn: Kenneth H. Eckstein, Esq.
      Daniel M. Eggermann, Esq.




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             Summary of Legal Fees for the Period November 1, 2015 through November 30, 2015



     Task                                                    Total Billed            Total Fees
                             Matter Description
     Code                                                      Hours                 Requested

      001      Asset Analysis and Recovery                          1.80                  $1,485.00

      002      Asset Disposition                                     .60                   $520.00

               Assignment and Rejection of Leases and
      003                                                           4.30                  $3,687.50
               Contracts

      004      Avoidance Action Analysis                         620.40                 $394,188.50

      005      Budgeting (Case)                                     2.70                  $3,375.00

      006      Business Operations                                11.20                  $10,131.00

      007      Case Administration                                26.10                  $10,709.50

      008      Claims Administration and Objections               33.40                  $28,814.50

      009      Committee Governance                                  .80                   $488.00

      010      Employee Benefits and Pensions                       3.80                  $3,557.50

      011      Employment and Fee Applications                   115.80                  $81,771.50

      012      Employment and Fee Application Objections          16.30                  $15,150.50

      013      Financing and Cash Collateral                     175.40                 $123,900.00

      014      Litigation                                           5.30                  $5,150.00

               Meetings and Communication with
      015                                                         29.50                  $28,566.50
               Committee

      016      Non-Working Travel                                 15.80                  $13,045.50

      017      Plan and Disclosure Statement                      71.90                  $62,183.50

      018      Real Estate                                        32.00                  $24,964.50

      021      Tax                                                91.40                 $65,615.000

      023      Case Strategy                                        9.00                  $8,241.50


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     Task                                               Total Billed   Total Fees
                        Matter Description
     Code                                                 Hours        Requested

      024    Pleading and Docket Review                      48.60        $28,373.00

             Communication with Financial Advisor and
      025                                                    66.90        $64,893.50
             Investment Banker

      026    Communication with Debtor                         7.90        $7,905.50

             Legal Research and Anal
      028                                                    16.80        $12,858.00
             .ysis

      029    Preparation of Pleadings                          5.20        $2,734.00

      030    Hearings and Court Matters                      28.40        $22,702.50

      033    Communication with Examiner                     35.80        $37,176.00

             Communication with Second Lien
      034                                                      1.30        $1,310.50
             Committee
                                              Total       1,478.40     $1,063,498.00




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                    Summary of Hours Billed by Professionals and Paraprofessionals for the
                                Period November 1, 2015 through November 30, 2015

                                                                    Hourly         Total
                                                                                                 Total
     Professional           Position/Title      Department          Billing        Billed
                                                                                              Compensation
                                                                     Rate          Hours

  Colleen M. Hart          Partner             Tax                  1,000.00            .60       $600.00

  Jeff J. Marwil           Partner             Corporate            1,200.00           1.70      $2,040.00

  Judy G. Z. Liu           Partner             BSGR & B             1,250.00          73.40    $91,750.00


  Martin J. Bienenstock    Partner             BSGR & B             1,295.00          45.30    $58,663.50


  Michael T. Mervis        Partner             Litigation             975.00            .30       $292.50


  Paul V. Possinger        Partner             BSGR & B             1,025.00          23.40    $23,985.00


  Perry A. Cacace          Partner             Real Estate          1,250.00           7.70      $9,625.00


  Philip M. Abelson        Partner             BSGR & B             1,075.00          64.90    $69,767.50


  Richard M. Corn          Partner             Tax                    925.00          24.40    $22,570.00


  Steven O. Weise          Partner             Corporate            1,475.00           2.00      $2,950.00


  Mark E. Davidson         Senior Counsel      Litigation           1,000.00          70.50     $70,500.00

  Scott A. Eggers          Senior Counsel      Litigation             925.00          69.40     $64,195.00


  Andrea G. Miller         Associate           Corporate              735.00           2.90      $2,131.50


  Andrew S. Wellin         Associate           Litigation             735.00          32.30     $23,740.50


  Ashley B. Chay           Associate           Corporate              495.00            .50       $247.50


  Bowon Koh                Associate           Tax                    445.00          18.80        $8,366.00


  Chris Theodoridis        Associate           BSGR & B               735.00          34.50    $25,357.50



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                                                           Hourly     Total
                                                                                    Total
     Professional      Position/Title      Department      Billing    Billed
                                                                                 Compensation
                                                            Rate      Hours

  Daniel J. Werb       Associate          Litigation         495.00     12.10       $5,989.50

  Helena Zheng         Associate          Litigation         495.00      58.70     $29,056.50

  Jacki L. Anderson    Associate          Litigation         610.00     69.90     $42,639.00


  Jamaal Myers         Associate          Corporate          610.00       5.80      $3,538.00


  Jason P. Colangelo   Associate          Litigation         495.00      83.30    $41,233.50


  Jeremy Webb          Associate          Corporate          445.00       2.00       $890.00

  Maja Zerjal          Associate          BSGR & B           735.00     88.10     $64,753.50


  Malcolm Hochenberg   Associate          Tax                825.00      17.40      $14,355.00


  Marissa Tillem       Associate          Litigation         735.00       9.30      $6,835.50

  Rebecca A. Lesnik    Associate          Real Estate        695.00       7.20      $5,004.00

  Sarah Sullivan       Associate          Litigation         495.00     48.60     $24,057.00

  Sean Heneghan        Associate          Real Estate        695.00       5.90       $4,100.50


  Stephen R. Severo    Associate          Tax                695.00      31.10       $21,614.50


  Steve Ma             Associate          BSGR & B           610.00     76.40     $46,604.00


  Vincent Indelicato   Associate          BSGR & B           825.00    189.40     $156,255.00

                                                              Total   1,177.80    $943,707.00


                                                            Hourly    Total
                                                                                    Total
    Paraprofessional   Position/Title       Department      Billing   Billed
                                                                                 Compensation
                                                             Rate     Hours

  Evelyn Rodriguez     Legal Assistant   Corporate           325.00      30.50         $9,912.50


  Lisa Orr             Legal Assistant   Litigation          350.00      11.00         $3,850.00


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                                                           Hourly     Total
                                                                                     Total
    Paraprofessional   Position/Title       Department     Billing    Billed
                                                                                  Compensation
                                                            Rate      Hours
  Magali Giddens       Legal Assistant   BSGR & B          375.00       47.30         $17,737.50



  Mark C. Czernyk      Legal Assistant   Litigation        275.00        2.80            $770.00



                       Legal Assistant   Corporate         300.00       12.40          $3,720.00
  Natasha B. Petrov


  Nicholas Williams    Legal Assistant   Real Estate       230.00        4.50          $1,035.00



  Vildana Perdja       Legal Assistant   Real Estate       300.00        1.40            $420.00



                                                             Total       109.90       $37,445.00

                                                           Hourly     Total
                                                                                     Total
    Practice Support   Position/Title       Department     Billing    Billed
                                                                                  Compensation
                                                            Rate      Hours
  Anna (Anya)
                       Law Clerk         Corporate           445.00       16.10        $7,164.50
  Kreimerzak



  Brian Hooven         Law Clerk         Litigation          445.00       46.40       $20,648.00



  Daniel Desatnik      Law Clerk         BSGR & B            445.00       56.30       $25,053.50



  Patrick L. Rieder    Law Clerk         Litigation          445.00       19.50        $8,677.50



  Yasmin Ermani        Law Clerk         Litigation          445.00       27.50       $12,237.50



                                                             Total       165.80       $73,781.00


                                                           Hourly     Total
                                                                                     Total
    Practice Support   Position/Title       Department     Billing    Billed
                                                                                  Compensation
                                                            Rate      Hours
                       EDiscovery        Professional
  Guy Harris                                                 350.00      1.00         $350.00
                       Project Manager   Resources



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                          EDiscovery         Professional
  Joshua M. Kay                                                   350.00              22.40          $7,840.000
                          Project Manager    Resources


                                                                  Total           23.40             $8,190.00

                                                             Hourly           Total
                                                                                                  Total
         Library      Position/Title        Department       Billing          Billed
                                                                                               Compensation
                                                              Rate            Hours


  Megan T. Derrico        Librarian                               250.00       1.50                   $375.00


                                                                   Total       1.50                   $375.00



  TOTALS FOR PROFESSIONALS AND PARAPROFESSIONALS:                          Hours              Fees
                                                                           1,478.40           $1,063,498.00


                        SUMMARY OF REIMBURSABLE EXPENSES FOR THE
                      PERIOD NOVEMBER 1, 2015 THROUGH NOVEMBER 30, 2015

 EXPENSE CATEGORY                                                                         AMOUNTS
 Reproduction
     Reproduction (In-House)                                                                          $816.90
     Long Distance Telephone                                                                            $17.42
 Online Research
    Lexis                                                                                           $12,135.00
    Westlaw                                                                                           $766.00
 Out-of-Town Travel
    Airplane                                                                                         $1,565.75
    Out of Town Meals                                                                                   $35.76
    Out of Town Transportation                                                                        $127.83
 Transcription Services
    Transcripts & Depositions                                                                           $93.00
 Litigation Support
    Litigation Support/Docketing (Data Base Services)                                                 $118.40
    Litigation Support Vendors (Practice Support Vendors)                                            $4,817.45
 Total                                                                                              $20,493.51




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Client/Matter Recap:

Matter Name                                        Fees Billed   Disbursements Billed
ASSET ANALYSIS AND RECOVERY                          1,485.00                   0.00
ASSET DISPOSITION                                      520.00                   0.00
ASSIGNMENT AND REJECTION OF LEASES AND               3,687.50                   0.00
CONTRACTS
AVOIDANCE ACTION ANALYSIS                          394,188.50                    0.00
BUDGETING (CASE)                                     3,375.00                    0.00
BUSINESS OPERATIONS                                 10,131.00                    0.00
CASE ADMINISTRATION                                 10,709.50                    0.00
CLAIMS ADMINISTRATION AND OBJECTIONS                28,814.50                    0.00
COMMITTEE GOVERNANCE                                   488.00                    0.00
EMPLOYEE BENEFITS AND PENSIONS                       3,557.50                    0.00
EMPLOYMENT AND FEE APPLICATIONS                     81,771.50                    0.00
EMPLOYMENT AND FEE APPLICATION OBJECTIONS           15,150.50                    0.00
FINANCING AND CASH COLLATERAL                      123,900.00                    0.00
LITIGATION                                           5,150.00                    0.00
MEETINGS AND COMMUNICATION WITH COMMITTEE           28,566.50                    0.00
NON-WORKING TRAVEL                                  13,045.50                    0.00
PLAN AND DISCLOSURE STATEMENT                       62,183.50                    0.00
REAL ESTATE                                         24,964.50                    0.00
TAX                                                 65,615.00                    0.00
CASE STRATEGY                                        8,241.50                    0.00
PLEADING AND DOCKET REVIEW                          28,373.00                    0.00
COMMUNICATION WITH FINANCIAL ADVISOR AND            64,893.50                    0.00
INVESTMENT BANKER
COMMUNICATION WITH DEBTOR                             7,905.50                   0.00
LEGAL RESEARCH AND ANALYSIS                          12,858.00                   0.00
PREPARATION OF PLEADINGS                              2,734.00                   0.00
HEARINGS AND COURT MATTERS                           22,702.50                   0.00
COMMUNICATION WITH EXAMINER                          37,176.00                   0.00
COMMUNICATION WITH SECOND LIEN COMMITTEE              1,310.50                   0.00
DISBURSEMENTS                                             0.00              20,493.51
Total this Invoice                              $ 1,063,498.00            $ 20,493.51
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Attorney                                          Hours       Rate      Amount

COLLEEN M. HART                                     0.60   1,000.00       600.00
JEFF J. MARWIL                                      1.70   1,200.00     2,040.00
JUDY G. LIU                                        73.40   1,250.00    91,750.00
MARTIN J. BIENENSTOCK                              45.30   1,295.00    58,663.50
MICHAEL T. MERVIS                                   0.30     975.00       292.50
PAUL POSSINGER                                     23.40   1,025.00    23,985.00
PERRY A. CACACE                                     7.70   1,250.00     9,625.00
PHILIP M. ABELSON                                  64.90   1,075.00    69,767.50
RICHARD M. CORN                                    24.40     925.00    22,570.00
STEVEN O. WEISE                                     2.00   1,475.00     2,950.00
        Total For Partner                         243.70              282,243.50

MARK E. DAVIDSON                                   70.50   1,000.00    70,500.00
SCOTT A. EGGERS                                    69.40     925.00    64,195.00
      Total For Senior Counsel                    139.90              134,695.00

ANDREA G. MILLER                                    2.90    735.00      2,131.50
ANDREW S. WELLIN                                   32.30    735.00     23,740.50
ASHLEY CHAY                                         0.50    495.00        247.50
BOWON KOH                                          18.80    445.00      8,366.00
CHRIS THEODORIDIS                                  34.50    735.00     25,357.50
DANIEL J. WERB                                     12.10    495.00      5,989.50
HELENA ZHENG                                       58.70    495.00     29,056.50
JACKI L. ANDERSON                                  69.90    610.00     42,639.00
JAMAAL MYERS                                        5.80    610.00      3,538.00
JASON P. COLANGELO                                 83.30    495.00     41,233.50
JERAMY WEBB                                         2.00    445.00        890.00
MAJA ZERJAL                                        88.10    735.00     64,753.50
MALCOLM S. HOCHENBERG                              17.40    825.00     14,355.00
MARISSA D. TILLEM                                   9.30    735.00      6,835.50
REBECCA LESNIK                                      7.20    695.00      5,004.00
SARAH SULLIVAN                                     48.60    495.00     24,057.00
SEAN HENEGHAN                                       5.90    695.00      4,100.50
STEPHEN SEVERO                                     31.10    695.00     21,614.50
STEVE MA                                           76.40    610.00     46,604.00
VINCENT INDELICATO                                189.40    825.00    156,255.00
       Total For Associate                        794.20              526,768.50

EVELYN RODRIGUEZ                                   30.50    325.00      9,912.50
LISA P. ORR                                        11.00    350.00      3,850.00
MAGALI GIDDENS                                     47.30    375.00     17,737.50
MARK C. CZERNYK                                     2.80    275.00        770.00
NATASHA PETROV                                     12.40    300.00      3,720.00
NICHOLAS WILLIAMS                                   4.50    230.00      1,035.00
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VILDANA PERDJA                                      1.40    300.00           420.00
      Total For Legal Assistant                   109.90                  37,445.00

ANNA (ANYA) KREIMERZAK                             16.10    445.00         7,164.50
BRIAN HOOVEN                                       46.40    445.00        20,648.00
DANIEL DESATNIK                                    56.30    445.00        25,053.50
PATRICK L. RIEDER                                  19.50    445.00         8,677.50
YASMIN EMRANI                                      27.50    445.00        12,237.50
      Total For Law Clerk                         165.80                  73,781.00

GUY HARRIS                                          1.00    350.00           350.00
JOSHUA M. KAY                                      22.40    350.00         7,840.00
      Total For Prac. Support                      23.40                   8,190.00

MEGAN T. D'ERRICO                                   1.50    250.00           375.00
     Total For Library                              1.50                     375.00


Professional Fees                                                    $ 1,063,498.00
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ASSET ANALYSIS AND RECOVERY
Client/Matter No. 71844.0001


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                                 Hours        Amount

11/16/15     VI         Analyze multiple FTI presentations of waterfall.              1.80       1,485.00


Attorney                                                                   Hours    Rate         Amount

VINCENT INDELICATO                                                          1.80   825.00        1,485.00
      Total For Associate                                                   1.80                 1,485.00


Professional Fees                                                           1.80             $   1,485.00

Total this Matter                                                                           $    1,485.00
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ASSET DISPOSITION
Client/Matter No. 71844.0002


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                                   Hours        Amount

11/03/15     VI         Multiple email correspondences with FTI regarding               0.50        412.50
                        proposed abandonment sale procedures (.3); prepare email
                        correspondence to Kirkland regarding same (.2).
11/18/15     PMA        Confer with V. Indelicato regarding FERG/LLTQ motion.           0.10        107.50


Attorney                                                               Hours          Rate         Amount

PHILIP M. ABELSON                                                        0.10      1,075.00         107.50
       Total For Partner                                                 0.10                       107.50

VINCENT INDELICATO                                                       0.50       825.00          412.50
      Total For Associate                                                0.50                       412.50


Professional Fees                                                        0.60                  $    520.00

Total this Matter                                                                             $     520.00
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ASSIGNMENT AND REJECTION OF LEASES AND CONTRACTS
Client/Matter No. 71844.0003


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                                      Hours        Amount

11/04/15     VI         Analyze issues related to proposed payment of                      1.00        825.00
                        administrative expense claims.
11/06/15     VI         Telephone conference with D. Eggermann regarding lease             0.60        495.00
                        assignment issue (.4); analyze proposed order regarding
                        same (.2).
11/09/15     PP         Telephone call with V. Indelicato regarding lease rejection        0.20        205.00
                        motion.
11/09/15     VI         Telephone conference with P. Possinger regarding lease             0.20        165.00
                        rejection motion.
11/11/15     VI         Analyze lease assignment motion issues.                            0.60        495.00
11/12/15     VI         Analyze revised order regarding lease assignment (.3);             0.50        412.50
                        Email correspondence with Kirkland regarding same (.2).
11/17/15     PMA        Teleconference with J. Graham and V. Indelicato regarding          0.20        215.00
                        rejection motion.
11/25/15     VI         Analyze draft lease assignment motion (.6); Multiple email         0.80        660.00
                        correspondences with Kirkland and Jefferies regarding same
                        (.2).
11/30/15     PMA        Analyze motion to assume and assign Wellness Center lease.         0.20        215.00


Attorney                                                               Hours             Rate         Amount

PAUL POSSINGER                                                           0.20         1,025.00         205.00
PHILIP M. ABELSON                                                        0.40         1,075.00         430.00
       Total For Partner                                                 0.60                          635.00

VINCENT INDELICATO                                                       3.70          825.00         3,052.50
      Total For Associate                                                3.70                         3,052.50


Professional Fees                                                        4.30                     $   3,687.50

Total this Matter                                                                                $    3,687.50
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AVOIDANCE ACTION ANALYSIS
Client/Matter No. 71844.0004


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                    Hours   Amount

11/01/15    JPC         Prepare digest of M. Beilinson deposition transcript.           3.50   1,732.50
11/01/15    JGL         Review and comment on revised standing motion.                  3.80   4,750.00
11/01/15    HZ          Analyze the documents from key word searches regarding          9.20   4,554.00
                        CMBS and PwC (8.2); identify important documents (1.0).
11/02/15    SAE         Review Examiner deposition transcript (.6); email to V.         4.40   4,070.00
                        Indelicato regarding same (.1); review documents from H.
                        Zheng regarding equitization (.4); teleconference with H.
                        Zheng regarding same (.1); review documents regarding
                        certain issues for meeting with Examiner (1.9); telephone
                        conference with J. Liu regarding meeting with Examiner,
                        document review issues (.4); conference with M. Davidson
                        regarding equitization (.2); review G. Bousquette, FTI
                        documents regarding Atlantic City issues (.5); email with S.
                        Sullivan, R. Corn regarding pledgor subsidiaries (.2).
11/02/15    SAE         Telephone conference with R. Corn regarding tax issues.         0.30    277.50
11/02/15    MED         Review S. Eggers email regarding IRS claims (.1); review        0.50    500.00
                        IRS claims (.2); conference with S. Eggers regarding
                        equitization (.2).
11/02/15    ASW         Review/assign interview transcripts to create digests.          0.80     588.00
11/02/15    JPC         Revise digest of M. Beilinson deposition transcript.            3.60   1,782.00
11/02/15    SM          Follow up on email from S. Eggers regarding IRS claims.         0.20     122.00
11/02/15    JLA         Prepare witness interview digest of M. Garber (3.2); begin      3.60   2,196.00
                        reviewing Total Rewards section of the standing motion (.4).
11/02/15    CT          Revise standing motion regarding Total Rewards.                 2.30   1,690.50
11/02/15    JGL         Teleconference with S. Eggers regarding meeting with            0.40     500.00
                        Examiner and document review team.
11/02/15    SS          Review new IRS proofs of claim.                                 0.40    198.00
11/02/15    HZ          Identify important documents from key word searches             0.50    247.50
                        regarding CMBS and PwC (.3); email communication with
                        S. Eggers regarding certain important documents (.2).
11/02/15    HZ          Prepare S. Costopoulos' interview digest.                       1.50     742.50
11/03/15    SAE         Telephone conference with M. Tillem regarding document          1.30   1,202.50
                        review project (.4); telephone conference with S. Sullivan
                        regarding CMBS issue (.2); email with M. Bienenstock
                        regarding deposition digests (.1); conferences with M.
                        Davidson, A. Wellin regarding document review projects
                        (.2); review deposition digests (.4).
11/03/15    MDT         Telephone conference with S. Eggers regarding document          1.00    735.00
                        review (.2); email correspondence with V. Lopez regarding
                        document review (.2); telephone conference with V.
                        Indelicato regarding discovery/access to documents (.2);
                        telephone conference with S. Eggers regarding document
                        review (.4).
11/03/15    JPC         Prepare digest of M. Beilinson deposition transcript.           0.90    445.50
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Date        Attorney    Description                                                     Hours   Amount

11/03/15    SM          Search discovery dataroom to address questions from              1.60    976.00
                        Committee member regarding notes.
11/03/15    LPO         Index (.3) and collate (.2) discovery materials.                 0.50    175.00
11/03/15    LPO         Online research via depository regarding discovery               1.00    350.00
                        materials.
11/03/15    VI          Review debt documents in advance of discovery requests           2.00   1,650.00
                        (1.8); teleconference with M. Tillem regarding discovery
                        issues (.2).
11/03/15    SS          Review documents related to LBO and CMBS properties              1.80    891.00
                        (1.6); teleconference with S. Eggers regarding CMBS issues
                        (.2).
11/03/15    HZ          Prepare S. Costopoulos' interview digest from the interview      2.00    990.00
                        transcript (2.0).
11/04/15    SAE         Review documents regarding easement issue (1.2); begin           3.60   3,330.00
                        preparing document requests regarding easement (.4);
                        review deposition digests (1.6); email with Proskauer team
                        regarding follow-up on Examiner meeting (.2); telephone
                        conference with A. Miller regarding alternate recovery (.2).
11/04/15    MED         Review and respond to A. Wellin email regarding meeting          1.40   1,400.00
                        with document reviewers (.2); call with J. Colangelo
                        regarding equitization issues (.5); review documents (.3) and
                        send to J. Colangelo (.1); review CIE documents (.3).
11/04/15    JPC         Analyze emails discussing 2008 transaction related to            2.30   1,138.50
                        equitization of CMBS properties (1.8); teleconference with
                        M. Davidson regarding equitization issues (.5).
11/04/15    CT          Revise standing motion.                                          2.00   1,470.00
11/04/15    PMA         Review email correspondence from S. Eggers and M.                0.10     107.50
                        Bienenstock regarding controversial transactions.
11/04/15    LPO         Online research via depository regarding discovery (1.0);        2.00    700.00
                        index (.3) and collate (.7) discovery materials.
11/04/15    VI          Analyze Total Rewards issues.                                    1.30   1,072.50
11/05/15    SAE         Review documents regarding T. Shaukat (2.9); email with          4.80   4,440.00
                        Litigation team regarding same (.3); prepare document
                        requests regarding Las Vegas land issues (1.6).
11/05/15    MED         Review digest of T. Golden (.2) and E. Boes (.2) interviews.     0.40    400.00
11/05/15    MDT         Telephone conference with A. Wellin, J. Kay, and I. Anton        0.50    367.50
                        regarding document review.
11/05/15    JMK         Teleconference with M. Tilem, A. Wellin and I. Anton             0.50    175.00
                        regarding advanced analytic techniques for use in evidence
                        review platform.
11/05/15    JPC         Analyze 2008 financial reporting documents relating to           2.60   1,287.00
                        equitization of CMBS properties.
11/05/15    JLA         Draft edits to CES Section of the standing motion (3.1);         4.50   2,745.00
                        begin analyzing D. Sambur deposition to prepare digest
                        (1.4).
11/05/15    CT          Confer with M. Bienenstock and J. Liu regarding standing         0.50    367.50
                        motion.
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Date        Attorney    Description                                                     Hours   Amount

11/05/15    CT          Revise standing motion (2.2); meeting with J. Liu regarding      4.90   3,601.50
                        standing motion (.7).
11/05/15    JGL         Meeting with C. Theodoridis regarding standing motion (.7);      1.90   2,375.00
                        meeting with C. Theodoridis and M. Bienenstock regarding
                        same (.5); review standing motion revisions to prepare for
                        meeting with C. Theodoridis (.6); teleconference with P.
                        Abelson regarding controversial transactions (.1).
11/05/15    PMA         Confer with J. Liu regarding controversial transactions.         0.10     107.50
11/06/15    SAE         Meeting with Litigation team regarding document review           2.40   2,220.00
                        issues (1.0); review easement agreement (.3); revise draft
                        topics for Examiner interview (.9); review email regarding
                        document review tools (.2).
11/06/15    MED         Review M. Tillem email regarding predictive coding (.2);         1.40   1,400.00
                        respond to M. Tillem email (.2); attend meeting with
                        document reviewers to discuss status and planning (1.0).
11/06/15    MDT         Meeting with S. Eggers, M. Davidson, S. Sullivan, A.             1.00    735.00
                        Wellin, J. Kay, J. Anderson, H. Zheng, and J. Colangelo
                        regarding document review.
11/06/15    ASW         Confer with e-discovery, White & Case regarding setup of         1.70   1,249.50
                        document database for section 1111(b) action.
11/06/15    JMK         Conference regarding discovery strategy including use of         1.70    595.00
                        technology assisted review and associated coordination with
                        discovery vendor.
11/06/15    JPC         Meet with S. Eggers and team to discuss upcoming                 2.60   1,287.00
                        document review task (1.0); analyze internal accounting
                        memoranda relating to equitization of CMBS properties
                        (1.6).
11/06/15    JLA         Edit Total Rewards section of standing motion (2.7);             4.40   2,684.00
                        continue to analyze D. Sambur transcript to prepare a digest
                        (.7); call with S. Eggers, A. Wellin, M. Tillem, M. Davidson,
                        and the document reviewers to discuss upcoming document
                        review (1.0).
11/06/15    MJB         Review deposition transcripts from Examiner.                     5.80   7,511.00
11/06/15    JGL         Review correspondence from S. Eggers regarding Total             0.50     625.00
                        Rewards interview questions/topics.
11/06/15    VI          Analyze multiple email correspondences regarding                 0.50    412.50
                        insolvency questions.
11/06/15    SS          Review documents related to CMBS transaction (4.0);              5.00   2,475.00
                        document review team meeting (1.0).
11/06/15    DJW         Prepare interview digest of legal counsel to sponsors and        4.00   1,980.00
                        Caesars entities.
11/06/15    HZ          Prepare S. Costopoulos' interview digest (1.5); Conference       2.50   1,237.50
                        call with S. Eggers, M. Davidson, M. Tillem, A. Wellin, J.
                        Anderson, J. Colangelo, S. Sullivan and J. Kay regarding the
                        case and document review status (1.0).
11/07/15    DJW         Complete the digest of the Examiner's interview with legal       3.10   1,534.50
                        counsel to CEC and subsidiary entities.
11/08/15    JLA         Analyze D. Sambur deposition transcript.                         0.40    244.00
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Date        Attorney    Description                                                    Hours   Amount

11/09/15    SAE         Conference with M. Davidson regarding accounting issues         1.80   1,665.00
                        (.3); telephone conference with J. Kay regarding hot
                        documents (.1); emails with S. Ma, S. Sullivan regarding
                        certain Four Properties transaction (.1); telephone
                        conferences with S. Ma regarding same (.1); email with
                        bankruptcy group regarding document review status (.2);
                        review G. Loveman interview transcript (1.0).
11/09/15    MED         Review G. Loveman transcript (1.7); review P. Wiser digest      3.60   3,600.00
                        (.3); skim new documents designated "hot documents" (1.0);
                        confer with S. Eggers regarding accounting issues (.3);
                        review S. Eggers email regarding status and planning (.3).
11/09/15    JMK         Coordinate processing of electronic evidence into review        1.60    560.00
                        platform for analysis and review (.5); conduct searching and
                        analysis in evidence review platform to expedite document
                        review (.8); coordinate with discovery vendor regarding
                        joint evidence review database (.3).
11/09/15    SM          Review transaction documents regarding controversial            1.10    671.00
                        transactions to verify facts.
11/09/15    JLA         Prepare D. Sambur interview digest.                             3.80   2,318.00
11/09/15    VI          Review email correspondence from S. Eggers regarding            0.10      82.50
                        document review status.
11/09/15    SS          Review documents produced to Examiner (3.3); search for         4.50   2,227.50
                        final version of funds flow memo for Four Properties
                        transaction (1.2).
11/09/15    HZ          Review the documents from key word searches (5.0);              7.00   3,465.00
                        identify important documents (2.0).
11/10/15    SAE         Draft standing motion sections regarding Total Rewards,         2.60   2,405.00
                        CES (1.4); telephone conference with J. Anderson regarding
                        same (.1); telephone call with A. Wellin regarding
                        deposition summaries (.1); review hot documents flagged by
                        M. Davidson (1.0).
11/10/15    MED         Review R. Kleiner transcript (1.5); continue review and         7.10   7,100.00
                        search of new documents designated "hot documents" (3.0);
                        review documents retrieved (2.2); emails to S. Eggers, M.
                        Tillem and A. Wellin regarding documents retrieved (.4).
11/10/15    ASW         Organize/assign interview transcripts for review.               0.40    294.00
11/10/15    JMK         Teleconference with discovery vendor regarding joint            0.80    280.00
                        evidence review platform (.6) and conduct searches in same
                        (.2).
11/10/15    JLA         Edit interview digest summary of D. Sambur.                     0.40    244.00
11/10/15    LPO         Online review via Relativity of redacted document               1.00    350.00
                        productions.
11/10/15    SS          Review documents produced to Examiner regarding                 1.30    643.50
                        controversial transactions.
11/10/15    HZ          Review the documents from key word searches (4.0);              5.00   2,475.00
                        identify important documents (1.0).
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Date        Attorney    Description                                                      Hours   Amount

11/11/15    SAE         Emails with D. Goldsmith, M. Tillem regarding new                 1.10   1,017.50
                        document reviewers (.2); review deposition transcript of T.
                        Shaukat (.3); review deposition digests (.6).
11/11/15    MED         Review interview digests and exhibits (3.0); review               4.40   4,400.00
                        September deck prepared by Financial Advisors (1.0);
                        review T. Shaukat transcript (.4).
11/11/15    JMK         Coordinate processing of electronic evidence for searching        1.40    490.00
                        and analysis (.7); Confer with discovery vendor regarding
                        joint database protocol (.7).
11/11/15    JM          Prepare digest summaries of L. Swann and J. Bosacco.              3.80   2,318.00
11/11/15    MJB         Review seven deposition transcripts sent by Examiner.             6.70   8,676.50
11/11/15    CT          Revise standing motion.                                           4.60   3,381.00
11/11/15    VI          Analyze deposition digests.                                       1.80   1,485.00
11/12/15    SAE         Email with V. Indelicato regarding Examiner (.1); review          1.50   1,387.50
                        deposition digests (1.3); telephone conference with M.
                        Tillem regarding presentation to new associates (.1).
11/12/15    MED         Review J. Beato and R. Goldich interview summaries (.5);          4.00   4,000.00
                        continue review of interview digests (3.5).
11/12/15    ASW         Compile/circulate interview transcript digests/summaries          1.00    735.00
                        (.3); calls with V. Indelicato regarding database (.2); confer
                        with L. Orr regarding organization of same (.5).
11/12/15    JM          Prepare R. Brimmer summary digest.                                2.00   1,220.00
11/12/15    JLA         Draft witness digest summaries for five witnesses (2.4);          3.80   2,318.00
                        analyze third-party production documents (1.4).
11/12/15    JGL         Review latest revision of standing motion regarding               3.00   3,750.00
                        controversial transactions (2.7); Discussion with C.
                        Theodoridis regarding standing motion (.3).
11/12/15    PMA         Review email correspondence from J. Liu regarding                 0.10    107.50
                        controversial transactions.
11/12/15    LPO         Retrieve (.2) and index (.3); discovery materials - various       1.00    350.00
                        databases. Confer with A. Wellin regarding organization of
                        digests and summaries (.5).
11/12/15    VI          Analyze initial proposal regarding document review                0.50    412.50
                        database (.3); Multiple telephone conferences with A.Wellin
                        regarding same (.2).
11/12/15    HZ          Review documents from key word searches (1.5); identify           2.00    990.00
                        important documents (.5).
11/13/15    SAE         Meeting with J. Kay, A. Wellin, new associates regarding          2.50   2,312.50
                        overview of cases in Relativity and Examiners database and
                        training (2.0); emails, telephone conferences with A. Wellin,
                        V. Indelicato regarding Section 1111(b) database (.2);
                        prepare notes for document review meeting with associates
                        (.1); telephone conferences M. Tillem regarding same (.2).
11/13/15    MED         Review solvency related materials (2.2); analyze post LBO         5.50   5,500.00
                        balance sheet data (1.6); attend training session with new
                        associates (partial attendance) (1.7).
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Date        Attorney    Description                                                     Hours   Amount

11/13/15    MDT         Prepare for document review training meeting (.3); attend        1.30    955.50
                        document review meeting and training session with S.
                        Eggers, A. Wellin, J. Kay, Y. Emrani, D. Desatnik, P.
                        Rieder, and B. Hooven (partial attendance) (1.0).
11/13/15    ASW         Confer with V. Indelicato, S. Eggers, ediscovery team and        3.30   2,425.50
                        outside counsel regarding setup of Relativity database (1.3);
                        attend new associate Relativity training/matter introduction
                        session (2.0).
11/13/15    JMK         Coordinate training on document review protocol (1.6);           2.40    840.00
                        Coordinate joint database for analyzing document
                        productions (.2); Conduct analysis in evidence review
                        platform (.6).
11/13/15    JPC         Summarize deposition digest summary of G. Miller (.7);           4.40   2,178.00
                        summarize deposition digest summary of M. Beilinson (1.0);
                        tag documents received in response to Examiner subpoenas
                        (2.7).
11/13/15    JLA         Analyze documents produced to Examiner by third parties.         8.10   4,941.00
11/13/15    PMA         Analyze deposition transcript digests.                           0.30     322.50
11/13/15    LPO         Retrieve (.2) and index (.8) case materials regarding Key        2.50     875.00
                        Caesars documents (1.0); online review via depository
                        database of discovery materials (.5); retrieve (.3) and index
                        (.7) discovery materials - various databases.
11/13/15    VI          Multiple email correspondences with A.Wellin and White &         0.50    412.50
                        Case regarding section 1111 (b) discovery summary (.3);
                        Multiple telephone conferences with A.Wellin regarding
                        same (.2).
11/13/15    DJW         Prepare digests of interview transcripts for three witnesses.    1.20     594.00
11/13/15    HZ          Review the documents from key word searches (4.5);               5.50   2,722.50
                        identify important documents (1.0).
11/13/15    DD          Meeting with S. Eggers, A. Wellin, M. Tillem, J. Kay, Y.         3.20   1,424.00
                        Emrani, P. Rieder, and B. Hooven to discuss document
                        review assignment regarding controversial transactions
                        (1.0); receive software training for document review
                        assignment regarding controversial transactions (1.0);
                        review background documents in connection with
                        controversial transactions (1.2).
11/13/15    YE          Team meeting to discuss document review strategy and             4.00   1,780.00
                        software training (2.0); review documents in connection
                        with controversial transactions (2.0).
11/13/15    PLR         Meet with document review team to discuss assignment             3.10   1,379.50
                        regarding controversial transactions (1.0); receive software
                        training on document review regarding controversial
                        transactions (1.0); review controversial transactions
                        complaint (1.1).
11/13/15    BH          Meeting with M. Tillem, A. Wellin, P. Rieder, Y. Emrani, D.      4.80   2,136.00
                        Desatnik, J. Kay, M. Davidson, and S. Eggers to discuss
                        document review strategy and software training (2.0);
                        review documents in connection with controversial
                        transactions (2.8).
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11/14/15    MED         Review M. Beilinson and G. Miller interview summaries              1.40   1,400.00
                        (.4); continue review of interview digests (1.0).
11/14/15    JPC         Tag documents received in response to Examiner subpoenas.          3.80   1,881.00
11/14/15    MZ          Review binders on standing motion papers and case law.             1.00     735.00
11/14/15    HZ          Review the documents from key word searches (1.5);                 2.00     990.00
                        identify important documents (.5).
11/14/15    BH          Review documents in connection with controversial                  6.10   2,714.50
                        transactions.
11/15/15    ASW         Edit DGI vendor agreement (.5); circulate transcript digests       0.70    514.50
                        (.2).
11/15/15    JPC         Tag documents received in response to Examiner subpoenas.          3.40   1,683.00
11/15/15    HZ          Review the documents from key word searches (1.5);                 2.00     990.00
                        identify important documents (.5).
11/16/15    SAE         Emails with litigation team regarding litigation agenda (.1);      0.40    370.00
                        review memo regarding tax claims and email to litigation
                        team (.3).
11/16/15    MED         Review M. Beilinson and G. Miller summaries (.5); analyze          6.70   6,700.00
                        financial statements and other materials regarding solvency
                        of CEOC (1.4); work on spreadsheet summarizing data (.7);
                        review financial advisors analysis of CEOC insolvency (.8);
                        review research and cases regarding factors in connection
                        with capital issues (1.5); review J. Halkyard transcript (1.3);
                        review S. Eggers email and deck regarding Las Vegas land
                        parcels (.5).
11/16/15    PP          Review and respond to emails regarding briefing on standing        0.20    205.00
                        motion.
11/16/15    ASW         Meet with new document review team regarding Relativity            2.00   1,470.00
                        database use (1.2); confer with ediscovery regarding
                        database setup (.8).
11/16/15    JMK         Coordinate training on document review protocol (1.0);             3.00   1,050.00
                        Coordinate joint database for analyzing document
                        productions (.8); Conduct analysis in evidence review
                        platform (.5); Coordinate processing of productions into
                        evidence review platform (.7).
11/16/15    JPC         Review and tag documents received in response to Examiner          6.60   3,267.00
                        subpoenas (5.2); create timeline of relevant dates based on
                        scheduling orders and discovery requests (1.4).
11/16/15    JLA         Analyze documents for responsiveness to future claims of           2.10   1,281.00
                        the Committee.
11/16/15    MJB         Review four interview transcripts from Examiner.                   2.30   2,978.50
11/16/15    SS          Review documents produced in response to Examiner's                3.40   1,683.00
                        subpoenas.
11/16/15    DD          Meeting with A. Wellin, M. Tillem, J. Kay, B. Hooven, Y.           3.80   1,691.00
                        Emrani, and P. Rieder to discuss Relativity document review
                        for controversial transactions (1.2); review documents in
                        connection with controversial transactions (2.6).
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11/16/15    YE          Review documents in connection with controversial                4.00   1,780.00
                        transactions (2.8); meeting with M. Tillem, A. Wellin, B.
                        Hooven, P. Rieder, D. Desatnik, and J. Kay regarding review
                        of documents in connection with controversial transactions
                        (partial attendance) (1.2).
11/16/15    PLR         Attend document review meeting with A. Wellin and team.          1.20     534.00
11/16/15    BH          Review documents in connection with controversial                4.20   1,869.00
                        transactions (3.0); meeting with M. Tillem, A. Wellin, P.
                        Rieder, Y. Emrani, D. Desatnik, and J. Kay to discuss
                        document review strategy (1.2).
11/17/15    SAE         Emails with Proskauer litigation team regarding tax memo         2.50   2,312.50
                        (.3); conference with A. Wellin regarding Section 1111(b)
                        database (.2); emails with P. Cacace, J. Truitt, S. Sullivan,
                        V. Indelicato regarding easement issues (.9); conference
                        with S. Sullivan regarding real property transfer, easement
                        issues (.4); review materials from P. Abelson regarding
                        government claims (.3); review status of deferred
                        compensation issue (.2); review deposition digests (.2).
11/17/15    MED         Search document database for information regarding HCAL          5.50   5,500.00
                        (1.3); review documents retrieved (.7); web research
                        regarding black hole COD (.5); search document database
                        regarding black hole COD (1.0); review documents retrieved
                        (.7); email to S. Eggers, M. Tillem and A. Wellin regarding
                        draft tax memo (1.2); respond to A. Wellin email regarding
                        document review (.1).
11/17/15    MDT         Telephone conference with B. Hooven regarding document           0.60    441.00
                        production (.4); Telephone conference with Y. Emrani
                        regarding document production (.2).
11/17/15    ASW         Prepare transcript digest summaries for team (1.0); confer       1.50   1,102.50
                        with S. Eggers, D. Nevin, J. Kay regarding electronic
                        database setup (.5).
11/17/15    JMK         Coordinate training on document review protocol (.9);            1.60    560.00
                        Coordinate joint database for analyzing document
                        productions (.7).
11/17/15    JPC         Tag documents from Sponsor received in response to               6.70   3,316.50
                        Examiner subpoenas.
11/17/15    SM          Search discovery database for documents.                         0.20     122.00
11/17/15    JLA         Analyze documents for responsiveness to future claims of         6.90   4,209.00
                        Committee.
11/17/15    JGL         Discussion with C. Theodoridis regarding standing motion.        0.30    375.00
11/17/15    LPO         (.2) and index (.6) discovery materials; Index (.4) and          1.50    525.00
                        assemble (.3) documents regarding transcript and exhibits.
11/17/15    VI          Review email correspondence from M. Davidson regarding           2.60   2,145.00
                        litigation preparation (.1); Analyze multiple transcript
                        digests (2.5).
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11/17/15    SS          Review documents produced in response to Examiner's              6.20   3,069.00
                        Subpoena (2.5); meeting with S. Eggers to discuss easement
                        issue (.4); review Four Properties transaction documents
                        regarding easement issue (2.8); search database for
                        documents related to easement issue (.5).
11/17/15    HZ          Review the documents from key word searches (3.5);               7.50   3,712.50
                        identify important documents (1.0); prepare interview digest
                        summaries for C. Rucker, T. Vanke and S. Costopoulos
                        (2.9); send the summaries to A. Wellin (.1).
11/17/15    DD          Review documents in connection with controversial                2.60   1,157.00
                        transactions.
11/17/15    YE          Review documents in connection with controversial                6.00   2,670.00
                        transactions (5.8); teleconference with M. Tillem regarding
                        same (.2).
11/17/15    PLR         Review documents in connection with controversial                3.10   1,379.50
                        transactions.
11/17/15    BH          Review documents in connection with controversial                6.60   2,937.00
                        transactions (6.2); call with M. Tillem regarding same (.4).
11/18/15    SAE         Telephone conference with S. Sullivan regarding new              0.90    832.50
                        documents in Examiner database (.1); review new
                        documents in Examiner database (.8).
11/18/15    MED         Review E. Hession transcript (1.5); review digests circulated    3.10   3,100.00
                        by A. Wellin and J. Krasne (1.4); review S. Eggers email
                        regarding tax memo (.2).
11/18/15    ASW         Conference call with DTI, J. Kay, and White & Case               3.30   2,425.50
                        regarding database set up (1.0); conduct second level review
                        of hot documents (2.3).
11/18/15    JMK         Coordinate setup of second level document review (.4);           1.80    630.00
                        Coordinate processing of electronic evidence into review
                        platform (.5); Coordinate setup of joint evidence review
                        environment (.9).
11/18/15    JPC         Perform focused document search for accounting memos             2.80   1,386.00
                        and financial reporting documents relating to equitization of
                        CMBS properties.
11/18/15    JLA         Analyze documents for responsiveness to future claims of         7.10   4,331.00
                        the Committee.
11/18/15    MJB         Review eight deposition transcripts from Examiner.               5.80   7,511.00
11/18/15    CT          Revise standing motion.                                          3.80   2,793.00
11/18/15    SS          Review new tax documents received.                               1.80     891.00
11/18/15    DD          Review documents in connection with controversial                0.70     311.50
                        transactions.
11/18/15    PLR         Review documents related to controversial transactions.          4.00   1,780.00
11/18/15    BH          Review documents in connection with controversial                7.10   3,159.50
                        transactions.
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11/19/15    SAE         Email with team regarding real estate issues (.4); review T.     2.60   2,405.00
                        Shaukat deposition transcript (1.1); review summary of
                        omnibus hearing and email to litigation team (.1); review
                        Four Properties transaction memo (.8); telephone conference
                        with S. Sullivan regarding property issues (.2).
11/19/15    MED         Review S. Sullivan email regarding tax documents (.1); skim      1.00   1,000.00
                        through tax documents (.6); review S. Eggers email
                        regarding real estate issues and attached article (.3).
11/19/15    ASW         Review and edit transcript digest summaries (.4); confer         4.90   3,601.50
                        with ediscovery team regarding database setup (.6); analyze
                        hot document set (3.9).
11/19/15    JMK         Coordinate processing of electronic evidence into review         1.20    420.00
                        platform.
11/19/15    JPC         Tag documents from Sponsor received in response to               6.40   3,168.00
                        Examiner subpoenas.
11/19/15    JLA         Analyze documents for responsiveness to claims of the            2.30   1,403.00
                        Committee.
11/19/15    GH          Download production data from FTP site (.2); perform             1.00    350.00
                        quality checks on the production data (.8).
11/19/15    VI          Analyze transcript digests.                                      1.50   1,237.50
11/19/15    SS          Review documents related to Four Properties transaction          6.20   3,069.00
                        regarding easement issue (6.0); telephone call with S. Eggers
                        regarding same (.2).
11/19/15    YE          Review documents in connection with controversial                4.00   1,780.00
                        transactions.
11/19/15    PLR         Review documents in connection with controversial                2.30   1,023.50
                        transactions.
11/19/15    BH          Review documents in connection with controversial                7.10   3,159.50
                        transactions.
11/20/15    SAE         Teleconference with S. Sullivan regarding real property          3.20   2,960.00
                        issues (.1); meeting with document reviewers regarding
                        document review project (.5); review real estate analysis
                        (.6); review Total Reward analysis (.5); review Total
                        Rewards documents (.3); email with P. Abelson regarding
                        status update (.4); review CFO's interview transcript (.8).
11/20/15    PP          Preliminary review of standing objections.                       0.30     307.50
11/20/15    ASW         Meeting with new document review team (.5); review hot           4.50   3,307.50
                        document set for avoidance action (3.8); telephone
                        conference with V. Indelicato regarding Section 1111 (b)
                        discovery (.2).
11/20/15    JPC         Tag documents from Sponsor received in response to               5.20   2,574.00
                        Examiner subpoenas.
11/20/15    SM          Follow up on emails from S. Sullivan and A.Wellin                0.30    183.00
                        regarding discovery documents and complaint.
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11/20/15    JLA         Call with S. Eggers and other document reviewers to discuss      3.00   1,830.00
                        the status of the review (.5); analyze documents produced by
                        Examiner's subpoena in connection with controversial
                        transactions (2.2); call with C. Theodoridis regarding
                        licenses to the Total Rewards Program (.1); draft email to S.
                        Eggers regarding the Total Rewards Program (.2).
11/20/15    JGL         Continued review/comment regarding standing motion (2.5);        2.80   3,500.00
                        Review two emails from S. Eggers regarding Total Rewards
                        (.3).
11/20/15    VI          Telephone conference with A.Wellin regarding Section             0.20    165.00
                        1111(b) discovery.
11/20/15    SS          Attend litigation team meeting (.5); review Four Properties      6.20   3,069.00
                        transaction documents (5.7).
11/20/15    HZ          Conference call with the team regarding the case status and      0.50    247.50
                        the document review.
11/20/15    DD          Review documents in connection with controversial                0.60    267.00
                        transactions (.1); meet with S. Eggers, A. Wellin, B.
                        Hooven, Y. Emrani, P. Rieder, and rest of team to discuss
                        progress of document review (.5).
11/20/15    YE          Review documents in connection with controversial                3.50   1,557.50
                        transactions (3.0); attend meeting with S. Eggers, A. Wellin,
                        P. Rieder, B. Hooven, D. Desatnik, S. Sullivan to discuss
                        recent case developments (.5).
11/20/15    PLR         Meeting with S. Eggers, A. Wellin to discuss findings            0.50    222.50
                        regarding review of documents relating to the controversial
                        transactions.
11/20/15    BH          Review documents in connection with controversial                3.70   1,646.50
                        transactions (3.2); meeting with S. Eggers, A. Wellin, P.
                        Rieder, Y. Emrani, D. Desatnik, and J. Kay to discuss
                        document review strategy (.5).
11/21/15    MDT         Conduct second level review of documents tagged as hot           1.50   1,102.50
                        documents.
11/21/15    JPC         Tag documents from financial analyst received in response        3.70   1,831.50
                        to Examiner subpoenas.
11/22/15    MDT         Continue second level review of documents coded as hot           0.70    514.50
                        documents.
11/22/15    JPC         Tag documents from financial analyst received in response        4.40   2,178.00
                        to Examiner subpoenas.
11/22/15    HZ          Revise the interview digest summary for C. Rucker, T.            1.00    495.00
                        Vanke and S. Costopoulos.
11/22/15    YE          Review documents in connection with controversial                2.00    890.00
                        transactions.
11/23/15    SAE         Conference with C. Theodoridis regarding complaint,              0.30    277.50
                        standing motion.
11/23/15    MED         Review A. Wellin email regarding summary of interviews           0.80    800.00
                        and attached digests.
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11/23/15    ASW         Prepare transcript digest summaries and circulate to full          2.00   1,470.00
                        team (1.0); confer with White & Case regarding Section
                        1111(b) action database setup (1.0).
11/23/15    JMK         Coordinate processing of electronic evidence into review           2.30    805.00
                        platform (.5); Coordinate setup with joint evidence review
                        platform (1.8).
11/23/15    JPC         Tag documents from financial analyst received in response          6.10   3,019.50
                        to Examiner subpoenas (3.5); analyze documents related to
                        reclassification of CEOC and CMBS intercompany balances
                        (2.6).
11/23/15    SM          Revise Total Rewards count in complaint to conform to new          2.10   1,281.00
                        information.
11/23/15    JLA         Analyze documents to determine future claims of                    6.20   3,782.00
                        Committee.
11/23/15    AGM         Review of factual summary materials to supplement memo             1.00    735.00
                        on alternative recovery theory.
11/23/15    CT          Revise standing motion (1.8); conference with S. Eggers            2.10   1,543.50
                        regarding complaint and standing motion (.3).
11/23/15    PMA         Review decision from N.D. Ill. regarding avoidance theories.       0.60    645.00
11/23/15    LPO         Online review via depository regarding discovery materials         1.50    525.00
                        (.5); index (.3) and collate (.7) documents regarding
                        discovery exhibits and transcripts.
11/23/15    VI          Analyze Examiner interview transcripts.                            1.60   1,320.00
11/23/15    SS          Review documents produced regarding controversial                  2.70   1,336.50
                        transactions.
11/23/15    HZ          Conference with A. Wellin regarding the interview digest           0.20     99.00
                        summary for C. Rucker, T. Vanke and S. Costopoulos.
11/23/15    YE          Review documents in connection with controversial                  4.00   1,780.00
                        transactions.
11/23/15    PLR         Review documents in connection with controversial                  0.70    311.50
                        transactions.
11/23/15    BH          Review documents in connection with controversial                  4.80   2,136.00
                        transactions.
11/24/15    SAE         Telephone conference with J. Anderson regarding Total              1.10   1,017.50
                        Rewards research (.2); prepare for weekly litigation call (.2);
                        conference with A. Wellin regarding digests, section 1111(b)
                        discovery (.2); review abstracts of easements (.4); email to
                        FTI, Jefferies regarding same (.1).
11/24/15    MED         Review and respond to J. Colangelo email regarding                 0.50    500.00
                        equitization issues (.2); email from Indelicato regarding
                        intentional fraudulent transfer (.3).
11/24/15    JMK         Coordinate processing of electronic evidence into review           1.70    595.00
                        platform.
11/24/15    JPC         Perform focused searches for documents related to pre- and         6.90   3,415.50
                        post-LBO transactions involving CEOC and CMBS entities
                        (3.8); analyze tax and accounting treatment opinions related
                        to CMBS entity transactions (3.1).
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11/24/15    JLA         Analyze controversial transaction documents produced to        5.20   3,172.00
                        Examiner (4.4); call with S. Eggers regarding damages
                        research under Nevada and Delaware law (.2); begin
                        research under Delaware law (.6).
11/24/15    AGM         Continue work on factual application portion of memo           1.90   1,396.50
                        regarding alternative recovery theory.
11/24/15    PMA         Confer with J. Liu regarding avoidance actions.                0.20     215.00
11/24/15    SS          Review C. Abrahams deposition transcript.                      3.00   1,485.00
11/24/15    HZ          Review the documents from key word searches (2.5);             3.00   1,485.00
                        identify important documents (.5).
11/24/15    BH          Review documents in connection with controversial              2.00    890.00
                        transactions.
11/25/15    SAE         Review Total Rewards analysis (.5); emails with J.             0.60    555.00
                        Anderson regarding same (.1).
11/25/15    ASW         Review hot documents for presentation to team.                 0.30    220.50
11/25/15    JMK         Coordinate processing of electronic evidence into review       1.10    385.00
                        platform.
11/25/15    JPC         Perform focused searches for documents related to pre- and     5.50   2,722.50
                        post-LBO transactions involving CEOC and CMBS entities
                        (2.2); analyze memos from financial analysts related to
                        equitization of CEOC/CMBS intercompany loans (3.3).
11/25/15    JLA         Research damages under Delaware law for S. Eggers (2.8);       4.10   2,501.00
                        analyze controversial transaction documents produced to
                        Examiner (1.3).
11/25/15    CT          Revise standing motion.                                        2.70   1,984.50
11/25/15    MTD         Research 10-K filings from 2007 through 2015, and 10-Q         0.50     125.00
                        filings in 2015 for S. Severo.
11/25/15    HZ          Review the documents from key word searches (.8); identify     1.00    495.00
                        important documents (.2).
11/25/15    PLR         Document review in connection with controversial               1.60    712.00
                        transactions.
11/27/15    VI          Analyze Examiner interview transcripts.                        1.50   1,237.50
11/28/15    HZ          Analyze the documents from key word searches (5.3);            6.30   3,118.50
                        identify important documents (1.0).
11/29/15    MDT         Continue second level review of hot documents.                 1.20    882.00
11/29/15    JPC         Tag documents from general counsel and accounting analyst      0.40    198.00
                        received in response to Examiner subpoenas.
11/30/15    SAE         Attend weekly Committee Professionals call (.5); conference    1.10   1,017.50
                        with A. Wellin regarding hot documents, digesting (.3);
                        review FTI presentation on land transfers (.3).
11/30/15    MED         Review S. Eggers email regarding FTI slides regarding land     0.40    400.00
                        parcels (.1); review FTI slides (.3).
11/30/15    MDT         Telephone conference with J. Kay regarding document            1.50   1,102.50
                        review (.3); Telephone conference with A. Wellin regarding
                        document review (.3); Continue second level review of hot
                        documents (.5); conference with J. Colangelo regarding
                        document reviews (.4).
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11/30/15    ASW         Analyze documents for avoidance action (2.4); teleconferene     3.00   2,205.00
                        with M. Tillem regarding document review (.3); conference
                        with P. Abelson, C. Theodoridis and V. Indelicato regarding
                        Section 1111 (b) discovery (.3).
11/30/15    JMK         Audit processing of electronic evidence into review platform    1.30    455.00
                        (.7) and confer with discovery vendor regarding same (.4);
                        confer with M. Tillem regarding document review (.2).
11/30/15    JPC         Tag documents from Debtors' internal committees received        1.50    742.50
                        in response to Examiner subpoenas (1.1); discuss relevance
                        of documents from recently-reviewed production with M.
                        Tillem (.4).
11/30/15    JLA         Research damages under Nevada law for S. Eggers.                1.40     854.00
11/30/15    SS          Review C. Abrahams deposition transcript.                       4.50   2,227.50
11/30/15    DJW         Document review of Chatham and CAC custodians.                  3.80   1,881.00
11/30/15    PLR         Review documents in connection with controversial               3.00   1,335.00
                        transactions.
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AVOIDANCE ACTION ANALYSIS
Client/Matter No. 71844.0004



Attorney                                          Hours       Rate          Amount

JUDY G. LIU                                        12.70   1,250.00        15,875.00
MARTIN J. BIENENSTOCK                              20.60   1,295.00        26,677.00
PAUL POSSINGER                                      0.50   1,025.00           512.50
PHILIP M. ABELSON                                   1.40   1,075.00         1,505.00
       Total For Partner                           35.20                   44,569.50

MARK E. DAVIDSON                                   47.70   1,000.00        47,700.00
SCOTT A. EGGERS                                    39.00     925.00        36,075.00
      Total For Senior Counsel                     86.70                   83,775.00

ANDREA G. MILLER                                    2.90    735.00          2,131.50
ANDREW S. WELLIN                                   29.40    735.00         21,609.00
CHRIS THEODORIDIS                                  22.90    735.00         16,831.50
DANIEL J. WERB                                     12.10    495.00          5,989.50
HELENA ZHENG                                       58.70    495.00         29,056.50
JACKI L. ANDERSON                                  67.30    610.00         41,053.00
JAMAAL MYERS                                        5.80    610.00          3,538.00
JASON P. COLANGELO                                 83.30    495.00         41,233.50
MAJA ZERJAL                                         1.00    735.00            735.00
MARISSA D. TILLEM                                   9.30    735.00          6,835.50
SARAH SULLIVAN                                     47.00    495.00         23,265.00
STEVE MA                                            5.50    610.00          3,355.00
VINCENT INDELICATO                                 14.10    825.00         11,632.50
       Total For Associate                        359.30                  207,265.50

LISA P. ORR                                        11.00    350.00          3,850.00
        Total For Legal Assistant                  11.00                    3,850.00

BRIAN HOOVEN                                       46.40    445.00         20,648.00
DANIEL DESATNIK                                    10.90    445.00          4,850.50
PATRICK L. RIEDER                                  19.50    445.00          8,677.50
YASMIN EMRANI                                      27.50    445.00         12,237.50
      Total For Law Clerk                         104.30                   46,413.50

GUY HARRIS                                          1.00    350.00            350.00
JOSHUA M. KAY                                      22.40    350.00          7,840.00
      Total For Prac. Support                      23.40                    8,190.00

MEGAN T. D'ERRICO                                   0.50    250.00           125.00
     Total For Library                              0.50                     125.00


Professional Fees                                 620.40              $   394,188.50
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AVOIDANCE ACTION ANALYSIS
Client/Matter No. 71844.0004


Total this Matter                                                $   394,188.50
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UNSECURED CREDITORS' COMMITTEE                              December 30, 2015
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BUDGETING (CASE)
Client/Matter No. 71844.0005


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                               Hours        Amount

11/10/15     JGL        Prepare budget for next four-month period.                  1.50       1,875.00
11/11/15     JGL        Continue preparation of next 4-month budget.                1.20       1,500.00


Attorney                                                               Hours      Rate         Amount

JUDY G. LIU                                                             2.70   1,250.00        3,375.00
      Total For Partner                                                 2.70                   3,375.00


Professional Fees                                                       2.70               $   3,375.00

Total this Matter                                                                         $    3,375.00
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BUSINESS OPERATIONS
Client/Matter No. 71844.0006


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                   Hours   Amount

11/05/15    VI          Analyze FTI presentation regarding cash flow update.           0.70    577.50
11/06/15    PMA         Review email correspondence from G. Bousquette regarding       0.30    322.50
                        Total Rewards (.1); teleconference with J. Graham regarding
                        Rock transaction (.2).
11/09/15    VI          Review CEC financial and operating disclosures.                0.70    577.50
11/12/15    SM          Review Jefferies' presentation regarding CEC Q3 earnings       0.20    122.00
                        report.
11/12/15    PMA         Teleconference with J. Graham regarding Rock transaction.      0.10     107.50
11/13/15    VI          Analyze Debtors' presentation regarding potential Baltimore    1.80   1,485.00
                        purchase option (.5); Analyze Baltimore option agreements
                        (1.0); Analyze FTI presentation regarding September
                        operating results (.3).
11/16/15    MZ          Review presentation regarding Horseshoe Baltimore (.9);        2.40   1,764.00
                        Discuss same with P. Abelson (.3); prepare for (.4) and
                        participate on call with Debtors regarding Baltimore
                        purchase option (.8).
11/16/15    PMA         Review materials provided by Debtors regarding Baltimore       1.30   1,397.50
                        Horseshoe option (.2); Confer with M. Zerjal regarding
                        Baltimore Horseshoe option (.3); Confer with advisors for
                        Committee, Second Liens, First lien banks and bonds
                        regarding Baltimore Horseshoe option (.8).
11/17/15    PMA         Confer with V. Indelicato and J. Graham regarding              0.10    107.50
                        Baltimore Horseshoe.
11/18/15    PMA         Review and draft email correspondence regarding Baltimore      0.10    107.50
                        Horseshoe.
11/19/15    VI          Analyze CEOC presentation regarding Baltimore option.          0.50     412.50
11/20/15    PMA         Review materials regarding Baltimore Horseshoe option          1.50   1,612.50
                        (.2); Confer with advisors for Debtors, Committee, Second
                        Liens, First Lien Banks and bonds regarding Baltimore
                        Horseshoe option (1.0); Confer with J. Liu regarding Total
                        Rewards (.1); teleconference with N. Greenblatt regarding
                        Baltimore Horseshoe (.2).
11/24/15    PMA         Teleconference with N. Greenblatt regarding Baltimore          0.50    537.50
                        issues (.1); Review email correspondence from M. Zerjal
                        regarding collateral issues (.1); Teleconference with S.
                        Levinson regarding Baltimore Horseshoe (.2); Confer with
                        M. Zerjal regarding Baltimore Horseshoe (.1).
11/25/15    PMA         Teleconference with S. Levinson regarding Baltimore (.3);      0.60    645.00
                        Review and analyze proposed Baltimore motion (.3).
11/30/15    PMA         Teleconference with J. Graham regarding Baltimore.             0.10    107.50
11/30/15    VI          Analyze G. Bousquette analysis regarding Cap Ex                0.30    247.50
                        requirements.
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BUSINESS OPERATIONS
Client/Matter No. 71844.0006



Attorney                                          Hours       Rate         Amount

PHILIP M. ABELSON                                   4.60   1,075.00        4,945.00
       Total For Partner                            4.60                   4,945.00

MAJA ZERJAL                                         2.40    735.00         1,764.00
STEVE MA                                            0.20    610.00           122.00
VINCENT INDELICATO                                  4.00    825.00         3,300.00
      Total For Associate                           6.60                   5,186.00


Professional Fees                                  11.20              $   10,131.00

Total this Matter                                                     $   10,131.00
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CASE ADMINISTRATION
Client/Matter No. 71844.0007


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                       Hours   Amount

11/03/15    PP          Review waterfall analysis in connection with 10/29 Debtors'        0.40    410.00
                        meeting.
11/04/15    PP          Initial review of disclosure statement scheduling motion.          0.30    307.50
11/05/15    PP          Review proposed response outline.                                  0.20    205.00
11/05/15    NP          Review (.1) and circulate to attorneys (.1) corrections to         0.20     60.00
                        hearing transcripts from court reporter.
11/09/15    MG          Correspond with M. Zerjal regarding latest draft of calendar       0.30    112.50
                        (.1); send same and copy of agreed scheduling order (.2).
11/10/15    NP          File objection to FERG/LLTQ administrative expenses                0.40    120.00
                        motion (.2); file objection to Debtors motion to schedule
                        disclosure hearing (.2).
11/10/15    MZ          Review case calendar (.5); Create timeline of case (.7).           1.20    882.00
11/16/15    ER          Prepare ( .7), review (.1) and circulate binders regarding         1.00    325.00
                        supplemental declaration in support of Kirkland retention for
                        V. Indelicato (.2).
11/17/15    MG          Review case documents and organize same.                           1.80    675.00
11/18/15    JJM         Conference with V. Indelicato and P. Possinger regarding           0.20    240.00
                        agenda for 11/18 hearing.
11/18/15    PP          Discuss case background with J. Webb.                              0.50    512.50
11/19/15    NP          Call with judge Goldgar's courtroom deputy regarding               0.20     60.00
                        minute order entry form (.1); email with P. Possinger
                        regarding same (.1).
11/20/15    PP          Brief review of 11/18 hearing transcript.                          0.30     307.50
11/23/15    ER          Review of and internal filing of case documents (1.1); confer      4.00   1,300.00
                        with V. Indelicato regarding final pretrial order (.1); prepare
                        calendar and circulate same internally (1.2); retrieve and
                        review multiple docket sheets and documents for pending
                        deadlines and hearings (1.6).
11/24/15    ER          Retrieve and review docket sheets and pleadings for internal       2.60    845.00
                        calendar.
11/24/15    MG          Review calendar prepared by E. Rodriguez to provide                1.10    412.50
                        comments (.4); Review pleadings category spreadsheet and
                        add additional categories (.7).
11/25/15    ER          Review of Caesars' dockets and documents for pending               2.90    942.50
                        deadlines and hearings.
11/25/15    MG          Review pleadings filed and Filesite regarding recent               1.40    525.00
                        correspondence and documents in connection with recent
                        developments.
11/30/15    PP          Review 7th Circuit briefs in stay appeal.                          0.30    307.50
11/30/15    ER          Retrieve and review dockets and pleadings for internal             2.20    715.00
                        deadlines and hearings.
11/30/15    MCC         Docket research, updating Caesars Pleadings Chart for M.           2.80    770.00
                        Giddens.
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CASE ADMINISTRATION
Client/Matter No. 71844.0007

Date         Attorney   Description                                                  Hours         Amount

11/30/15     MG         Work with M. Czernyk regarding categories spread sheet         1.80         675.00
                        (1.0); review FileSite regarding case development (.8).


Attorney                                                               Hours         Rate          Amount

JEFF J. MARWIL                                                           0.20     1,200.00           240.00
PAUL POSSINGER                                                           2.00     1,025.00         2,050.00
        Total For Partner                                                2.20                      2,290.00

MAJA ZERJAL                                                              1.20      735.00           882.00
      Total For Associate                                                1.20                       882.00

EVELYN RODRIGUEZ                                                        12.70      325.00          4,127.50
MAGALI GIDDENS                                                           6.40      375.00          2,400.00
MARK C. CZERNYK                                                          2.80      275.00            770.00
NATASHA PETROV                                                           0.80      300.00            240.00
      Total For Legal Assistant                                         22.70                      7,537.50


Professional Fees                                                       26.10                 $   10,709.50

Total this Matter                                                                            $    10,709.50
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CLAIMS ADMINISTRATION AND OBJECTIONS
Client/Matter No. 71844.0008


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                    Hours   Amount

11/02/15    PMA         Confer with C. Theodoridis regarding claims objections (.4);    1.40   1,505.00
                        review bankruptcy rules regarding claims objections (.1);
                        teleconference with H. Denman regarding ICA (.4); confer
                        with V. Indelicato regarding claims objections (.1); review
                        bankruptcy code section 1111(b) scheduling order (.1);
                        teleconference with H. Denman regarding section 1111(b)
                        scheduling order (.3).
11/02/15    VI          Review proposed scheduling order regarding Bankruptcy           1.00    825.00
                        Code Section 1111(b) discovery (.5); telephone conference
                        with P. Abelson regarding same (.1); revise proposed
                        scheduling order (.4).
11/03/15    MTM         Review draft scheduling order for litigation of claim           0.30    292.50
                        objections (.2) and telephone conference with V. Indelicato
                        regarding same (.1)
11/03/15    VI          Further revise proposed scheduling order (.5); research         2.80   2,310.00
                        federal discovery rules (.8); telephone conference with J.
                        Mester regarding same (.2); multiple telephone conferences
                        with Stroock regarding order (.3); review draft document
                        requests (1.0).
11/04/15    PMA         Confer with V. Indelicato regarding Section 1111(b)             0.50    537.50
                        discovery issues.
11/04/15    VI          Confer with P. Abelson regarding discovery rules (.5);          2.90   2,392.50
                        further research discovery rules (.5); telephone conference
                        with J. Mester regarding same (.2); telephone conference
                        with H. Denman regarding same (.2); prepare email
                        correspondence to litigation parties regarding same (.3);
                        analyze discovery requests (1.2).
11/05/15    ASW         Confer with V. Indelicato and White & Case regarding            1.30    955.50
                        Bankruptcy Code Section 1111(b) action.
11/05/15    PMA         Teleconference with H. Denman regarding Section 1111(b)         0.20    215.00
                        discovery.
11/05/15    VI          Telephone conference with White & Case regarding Section        0.80    660.00
                        1111(b) litigation (.2); telephone conference with A.Wellin
                        regarding same (.1); analyze additional Section 1111(b)
                        discovery requests (.5).
11/06/15    JGL         Review scheduling order for Section 1111(b) claim               0.10    125.00
                        objection.
11/06/15    PMA         Analyze FERG/LLTQ administrative expense motion (.4);           0.60    645.00
                        draft email correspondence to J. Graham regarding
                        FERG/LLTQ administrative expense motion (.1);
                        teleconference with J. Graham regarding FERG/LLTQ
                        administrative expense motion (.1).
11/06/15    VI          Review Section 1111(b) discovery schedule in advance of         0.70    577.50
                        presentation to Committee (.5); email correspondence and
                        telephone conference with Stroock regarding litigation
                        update (.2).
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CLAIMS ADMINISTRATION AND OBJECTIONS
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Date        Attorney    Description                                                   Hours   Amount

11/09/15    PP          Telephone conference with V. Indelicato regarding FERG         0.50    512.50
                        administrative claim (.2); review related motion for claim
                        allowance (.3).
11/09/15    PMA         Review agreements regarding LLTQ/FERG administrative           1.10   1,182.50
                        expense motion (.2); confer with S. Ma regarding
                        LLTQ/FERG agreements (.1); confer with V. Indelicato
                        regarding LLTQ/FERG administrative expense motion (.3);
                        review Debtors’ draft objection to LLTQ/FERG
                        administrative expense motion (including a further revised
                        version) (.3); review various drafts of objection to
                        LLTQ/FERG administrative expense motion (.2).
11/09/15    VI          Analyze FERG/LLTQ Motion (.5); Analyze numerous                5.30   4,372.50
                        agreements related to FERG/LLTQ Motion (1.2); confer
                        with P. Abelson regarding same (.2); Confer with S. Ma
                        regarding same (.2); Revise draft objection regarding same
                        (.5); multiple email correspondences with White & Case
                        regarding Section 1111(b) discovery (.3); analyze Section
                        1111(b) discovery (.7); prepare outline of Section 1111(b)
                        discovery (1.0); telephone conference with Committee
                        Member regarding Hilton claim (.2); analyze Hilton claim
                        docket (.5).
11/10/15    PP          Review motion for allowance of administrative claims by        1.20   1,230.00
                        FERG, LLC (.4); review draft responses (.3); call with
                        FERG counsel regarding background (.5).
11/13/15    VI          Revise Section 1111(b) discovery summary.                      0.50    412.50
11/15/15    VI          Analyze Section 1111(b) discovery issues.                      0.50    412.50
11/16/15    VI          Multiple email correspondences with A.Wellin regarding         0.50    412.50
                        Section 1111(b) discovery schedule (.2); Revise proposed
                        Section 1111(b) discovery schedule outline (.3).
11/17/15    VI          Multiple email correspondences with White & Case               0.30    247.50
                        regarding Section 1111(b) litigation.
11/19/15    VI          Multiple email correspondences with A.Wellin and White &       1.20    990.00
                        Case regarding Section 1111(b) discovery (.2); Analyze
                        Section 1111(b) arguments (1.0).
11/20/15    ER          Retrieve IRS claims for S. Ma.                                 0.60    195.00
11/20/15    PMA         Review final pre-trial order in Section 1111(b) litigation.    0.10    107.50
11/20/15    VI          Confer with P. Abelson regarding same (.1); Review             1.00    825.00
                        A.Wellin email correspondence regarding update (.1);
                        analyze claims objections (.8).
11/21/15    VI          Review Section 1111(b) discovery issues.                       0.60    495.00
11/23/15    PMA         Teleconference with H. Denman and J. Goldstein regarding       0.40    430.00
                        Section 1111(b) discovery issues (.3); Confer with V.
                        Indelicato regarding Section 1111(b) discovery issues (.1).
11/23/15    VI          Revise pre-trial order milestone chart (.5); Multiple email    1.20    990.00
                        correspondences with White & Case regarding Section
                        1111(b) document production (.4); Review protective order
                        regarding same (.3).
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CLAIMS ADMINISTRATION AND OBJECTIONS
Client/Matter No. 71844.0008

Date        Attorney    Description                                                     Hours   Amount

11/24/15    SM          Confer with V. Indelicato regarding motion to file late claim    0.40    244.00
                        (.2); review late claims filing motion (.2).
11/24/15    PMA         Review email correspondence from V. Indelicato regarding         0.20    215.00
                        claims issue (.1); Confer with V. Indelicato regarding claims
                        issues (.1).
11/24/15    VI          Multiple email correspondences with S. Ma regarding late         0.60    495.00
                        filed claim (.4); Telephone conference with S. Ma regarding
                        same (.1); Confer with P. Abelson regarding same (.1).
11/25/15    CT          Confer with P. Abelson regarding section 1111 (b)                0.20    147.00
                        discovery.
11/25/15    PMA         Confer with C. Theodoridis regarding Section 1111(b)             0.20    215.00
                        discovery.
11/25/15    VI          Telephone conference with A.Wellin regarding Section             0.30    247.50
                        1111(b) discovery (.1); Multiple email correspondences with
                        White & Case regarding same (.2).
11/27/15    PMA         Review 10.75% discovery response regarding Section               0.10    107.50
                        1111(b) litigation.
11/29/15    PMA         Review email correspondence from V. Indelicato regarding         0.10    107.50
                        Section 1111(b) discovery.
11/29/15    VI          Email correspondences with P. Abelson regarding Section          0.80    660.00
                        1111(b) discovery (.2); Email correspondence with A.Wellin
                        regarding same (.1); Telephone conference with J. Goldstein
                        regarding Section 1111(b) document production (.2);
                        Review potential issue tags for document production (.3).
11/30/15    CT          Conference call with White & Case regarding Bankruptcy           0.80    588.00
                        Code Section 1111(b) litigation (.5); confer with P. Abelson,
                        V. Indelicato, and A. Wellin regarding Bankruptcy Code
                        Section 1111(b) litigation (.3).
11/30/15    PMA         Confer with V. Indelicato, C. Theodoridis, and A. Wellin         0.80    860.00
                        regarding Section 1111(b) discovery (.3); Teleconference
                        with Proskauer and White & Case regarding Section 1111(b)
                        discovery (.5).
11/30/15    VI          Meeting with A. Wellin, C. Theodoridis, and P. Abelson           1.30   1,072.50
                        regarding Section 1111(b) discovery (.3); Telephone
                        conference with White & Case regarding same (.5); Multiple
                        email correspondences with A.Wellin regarding Section
                        1111(b) discovery database (.2); Analyze proposed
                        document review search terms (.2); Review email
                        correspondence from Bryan Cave regarding litigation
                        stipulation (.1).
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CLAIMS ADMINISTRATION AND OBJECTIONS
Client/Matter No. 71844.0008



Attorney                                          Hours       Rate         Amount

JUDY G. LIU                                         0.10   1,250.00          125.00
MICHAEL T. MERVIS                                   0.30     975.00          292.50
PAUL POSSINGER                                      1.70   1,025.00        1,742.50
PHILIP M. ABELSON                                   5.70   1,075.00        6,127.50
       Total For Partner                            7.80                   8,287.50

ANDREW S. WELLIN                                    1.30    735.00           955.50
CHRIS THEODORIDIS                                   1.00    735.00           735.00
STEVE MA                                            0.40    610.00           244.00
VINCENT INDELICATO                                 22.30    825.00        18,397.50
       Total For Associate                         25.00                  20,332.00

EVELYN RODRIGUEZ                                    0.60    325.00          195.00
     Total For Legal Assistant                      0.60                    195.00


Professional Fees                                  33.40              $   28,814.50

Total this Matter                                                     $   28,814.50
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COMMITTEE GOVERNANCE
Client/Matter No. 71844.0009


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                     Hours        Amount

11/03/15     SM         Draft minutes of Committee call.                  0.20        122.00
11/09/15     SM         Draft Committee meeting minutes.                  0.20        122.00
11/13/15     SM         Draft Committee meeting minutes.                  0.20        122.00
11/17/15     SM         Draft minutes for Committee meeting.              0.20        122.00


Attorney                                                       Hours    Rate         Amount

STEVE MA                                                        0.80   610.00         488.00
      Total For Associate                                       0.80                  488.00


Professional Fees                                               0.80             $    488.00

Total this Matter                                                               $     488.00
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EMPLOYEE BENEFITS AND PENSIONS
Client/Matter No. 71844.0010


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                                     Hours        Amount

11/23/15     SAE        Prepare email to Paul Weiss regarding deferred                    0.90        832.50
                        compensation documents (.8); telephone conference with C.
                        Hart regarding same (.1).
11/23/15     MED        Review S. Eggers emails with Paul Weiss regarding deferred        0.20        200.00
                        compensation plan information.
11/23/15     JGL        Review correspondence from S. Eggers regarding deferred           0.10        125.00
                        compensation plans.
11/24/15     SAE        Review emails from P. Myer at Paul Weiss regarding                0.20        185.00
                        deferred compensation (.1); email to FTI, etc (.1).
11/24/15     MED        Review S. Eggers email and responses from Paul Weiss              0.60        600.00
                        regarding deferred compensation plan.
11/24/15     PMA        Review email correspondence from S. Eggers regarding              0.10        107.50
                        employee compensation issues.
11/24/15     VI         Analyze S. Eggers email correspondence regarding deferred         1.10        907.50
                        compensation plans (.1); analyze deferred compensation
                        plan diligence responses (1.0).
11/24/15     CMH        Review of deferred compensation materials from Paul               0.60        600.00
                        Weiss.


Attorney                                                               Hours            Rate         Amount

COLLEEN M. HART                                                         0.60         1,000.00         600.00
JUDY G. LIU                                                             0.10         1,250.00         125.00
PHILIP M. ABELSON                                                       0.10         1,075.00         107.50
       Total For Partner                                                0.80                          832.50

MARK E. DAVIDSON                                                        0.80         1,000.00          800.00
SCOTT A. EGGERS                                                         1.10           925.00        1,017.50
      Total For Senior Counsel                                          1.90                         1,817.50

VINCENT INDELICATO                                                      1.10          825.00          907.50
      Total For Associate                                               1.10                          907.50


Professional Fees                                                       3.80                     $   3,557.50

Total this Matter                                                                               $    3,557.50
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EMPLOYMENT AND FEE APPLICATIONS
Client/Matter No. 71844.0011


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                      Hours   Amount

11/01/15    JGL         Lengthy email correspondence with M. Bienenstock                  1.00   1,250.00
                        regarding independent fee examiner report (.8);
                        correspondence with M. Zerjal regarding same (.2).
11/01/15    MZ          Review fee committee proposal regarding motion to compel          1.80   1,323.00
                        and related fees (.5); check associated fees (1.3).
11/02/15    SM          Review FTI's June - August time entries for privileged and        4.40   2,684.00
                        confidential information (1.4); revise draft of interim fee
                        application for Proskauer (2.2); teleconference with J. Liu
                        regarding fee committee analysis (.5); follow up
                        teleconference with J. Liu regarding fee committee analysis
                        (.3).
11/02/15    JGL         Review of September time entries for confidentiality and          5.50   6,875.00
                        attorney-client privilege (3.4); review fee committee analysis
                        (.8) and email communication with N. Rapoport regarding
                        same (.5); Teleconference with S. Ma regarding fee
                        committee analysis (.5); second teleconference with S. Ma
                        regarding fee committee analysis (.3).
11/02/15    MG          Correspond with H. Sanchez and S. Ma (.1) and Research            1.50    562.50
                        regarding amount and allocation of Committee wires (.3);
                        revise September monthly billing statement to comply with
                        U.S. Trustee and fee committee guidelines (1.1).
11/03/15    SM          Review FTI's time records for June - August for privileged        2.50   1,525.00
                        and confidential information.
11/03/15    JGL         Review September time entries for confidentiality and             2.60   3,250.00
                        attorney client-privilege (2.3); teleconference with S. Ma
                        regarding same (.3).
11/03/15    MG          Revise September billing statement.                               0.60    225.00
11/04/15    PP          Review and comment on Proskauer 8th declaration of                0.30    307.50
                        disinterestedness.
11/04/15    ER          Review and revise September billing statement in                  1.30    422.50
                        connection with time entry breakdown.
11/04/15    SM          Revise second interim fee application for Proskauer.              2.10   1,281.00
11/04/15    PMA         Confer with S. Ma regarding supplemental disclosure (.2);         0.30     322.50
                        review and revise supplemental disclosure (.1).
11/04/15    MG          Review comments to September billing statement (.5);              2.50    937.50
                        correspond with E. Rodriguez regarding breakdown of time
                        entries (.2); review and revise billing statement (1.8).
11/04/15    VI          Review draft supplemental declaration (.2); review email          0.30    247.50
                        correspondence with M. Bienenstock regarding same (.1).
11/05/15    NP          File Eighth Supplemental Declaration in support of                0.30     90.00
                        Proskauer employment application.
11/05/15    ER          Prepare and revise September monthly fee statement.               2.80    910.00
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EMPLOYMENT AND FEE APPLICATIONS
Client/Matter No. 71844.0011

Date        Attorney    Description                                                       Hours   Amount

11/05/15    SM          Revise draft of Proskauer second interim fee application           3.00   1,830.00
                        (1.7); teleconference with J. Liu regarding G.C. Andersen
                        supplemental report (.5); teleconference with J. Liu
                        regarding interim fee application (.1); confer with P.
                        Abelson regarding G. C. Andersen supplement (.3); prepare
                        draft of billing rates disclosure (.4).
11/05/15    JGL         Meeting with S. Ma regarding G.C. Andersen supplemental            1.00   1,250.00
                        information for fee committee (.4); two teleconferences with
                        S. Ma regarding G. C. Andersen supplemental report (.5);
                        teleconference with S. Ma regarding Proskauer second
                        interim fee application (.1).
11/05/15    PMA         Confer with S. Ma regarding supplemental disclosure (.3);          0.50    537.50
                        confer with J. Liu regarding supplemental disclosure (.2).
11/06/15    ER          Revise and finalize Proskauer's September monthly fee              3.10   1,007.50
                        statement (2.7); confer with M. Giddens regarding
                        preparation of September monthly fee statement (.2);
                        coordinate service of same with claims agent (.2).
11/06/15    SM          Revise interim fee application for Proskauer.                      0.80     488.00
11/06/15    JGL         Send email to N. Rapoport regarding G. C. Andersen                 2.20   2,750.00
                        supplemental report (.1); Review G. C. Andersen
                        supplemental statement for fee committee (1.5); two
                        teleconferences with G. Bousquette regarding same (.3);
                        review correspondence from G. Bousquette regarding REIT
                        issues/analyses (.3).
11/06/15    MG          Revise September billing statement to ensure accuracy and          3.70   1,387.50
                        consistency (1.8); review revised version and make further
                        editing revisions (1.2); confer with E. Rodriguez regarding
                        preparing September monthly fee statement (.2); correspond
                        with S. Ma regarding same and regarding expense reduction
                        footnote language (.3); draft same (.2).
11/07/15    JGL         Correspondence with N. Rapoport regarding G. C. Andersen           0.80   1,000.00
                        fee review.
11/08/15    SM          Revise draft of second interim fee application for Proskauer.      2.40   1,464.00
11/09/15    SM          Revise draft of second interim fee application according to        2.10   1,281.00
                        comments from J. Liu. Revise second interim application for
                        Committee members according to comments from J. Liu.
11/09/15    JGL         Review/comment on second interim fee application (3.0);            3.90   4,875.00
                        Teleconference with G. Bousquette regarding fee committee
                        report (.4); Review of budget for second interim application
                        compared to actuals (.5).
11/09/15    MG          Forward eighth fee statement to H. Sanchez (.1); telephone         1.10    412.50
                        conference regarding expense reduction (.2); correspondence
                        and telephone conference with M. Burnett regarding blended
                        rate for second interim period (.3); review billing history and
                        consider issue regarding same (.5).
11/10/15    SM          Revise Proskauer second interim fee application.                   0.80     488.00
11/10/15    MJB         Review and edit Proskauer second interim fee application.          1.60   2,072.00
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EMPLOYMENT AND FEE APPLICATIONS
Client/Matter No. 71844.0011

Date        Attorney    Description                                                    Hours   Amount

11/10/15    MZ          Discuss fees issues with J. Liu (.3); review fee committee      0.70    514.50
                        report (.4).
11/10/15    MG          Prepare fee application charts (3.9); correspondence with       4.20   1,575.00
                        billing department regarding blended rates charts (.3).
11/11/15    MED         Review supplemental fee committee report.                       0.40     400.00
11/11/15    SM          Revise second interim fee application (3.0). Confer with M.     4.50   2,745.00
                        Giddens regarding outstanding items for interim fee
                        application (.5). Finalize interim fee application for
                        Committee member expenses (1.0).
11/11/15    JGL         Review/comment on second interim fee application (2.6);         4.10   5,125.00
                        Review emails from M. Bienenstock regarding same and
                        response (.4); Several discussions with S. Ma regarding
                        second interim fee application (.5); Review Committee
                        members second interim expense application (.6).
11/11/15    PMA         Review email correspondence regarding fee applications and      0.20    215.00
                        supplemental disclosures (.1); Confer with J. Liu regarding
                        fee application (.1).
11/11/15    MG          Confer with S. Ma regarding open items for second interim       3.90   1,462.50
                        application (.5); finalize fee application (2.2) and work on
                        budget issues (.4); revise October billing statement (.8).
11/12/15    PP          Review Proskauer second interim fee application.                0.50     512.50
11/12/15    SM          Finalize draft of Proskauer second interim fee application      2.30   1,403.00
                        according to comments from J. Liu and M. Bienenstock to
                        distribute to Committee Co-Chairs (1.6); teleconferences
                        with J. Liu regarding same (.7).
11/12/15    JGL         Further revisions to second interim fee application (1.3);      2.70   3,375.00
                        Three telephone calls with S. Ma regarding same (.7);
                        Teleconference with M. Zerjal regarding interim fee
                        application (.2); Teleconference with G. Bousquette
                        regarding second interim application for G.C. Andersen (.4);
                        Discussion with P. Abelson regarding second interim fee
                        application (.1).
11/12/15    MZ          Teleconference with J. Liu regarding interim fee application    0.50    367.50
                        (.2); review conflict checks per J. Liu request (.3).
11/12/15    PMA         Confer with J. Liu regarding fee application.                   0.10     107.50
11/12/15    MG          Revise October billing statement for accuracy and to ensure     3.40   1,275.00
                        compliance with U.S. Trustee and fee committee guidelines
                        (3.0); confer with billing department regarding blended rate
                        issues (.4).
11/13/15    PP          Review Proskauer fee application (1.2); email comments to       1.40   1,435.00
                        S. Ma (.2).
11/13/15    SM          Review G.C. Andersen interim fee application draft and          0.20    122.00
                        provide comments.
11/13/15    MG          Revise October billing statement to comply with U.S.            3.00   1,125.00
                        Trustee and fee committee guidelines and ensure accuracy
                        (2.8); correspond with H. Sanchez regarding September
                        LEDES billing file (.1); draft email to N. Rapoport and M.
                        Parra-Sandoval attaching same (.1).
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EMPLOYMENT AND FEE APPLICATIONS
Client/Matter No. 71844.0011

Date        Attorney    Description                                                        Hours   Amount

11/16/15    PP          Final review of all Committee and Committee professional            0.60    615.00
                        fee applications for filing (.4); review orders granting first
                        interim applications and emails with P. Abelson regarding
                        same (.2).
11/16/15    NP          Prepare for filing and file second interim fee applications for     1.70    510.00
                        FTI Consulting, Jefferies LLC, G.C. Andersen Partners,
                        Committee members and Proskauer (1.4); coordinate service
                        of same (.3).
11/16/15    SM          Review interim fee applications for Committee members,              3.00   1,830.00
                        FTI, Jefferies, and G.C. Andersen. (1.0). Confer with
                        Jefferies (J.Dai) regarding interim fee application for
                        Jefferies (.2). Prepare notices for all interim fee applications
                        (.5). Revise Proskauer's interim fee application (.5). Finalize
                        exhibits for Proskauer interim fee application (.5) and
                        interim reimbursement application (Committee members)
                        (.3).
11/16/15    JGL         Teleconference with S. Ma regarding finalizing fee                  0.70    875.00
                        application (.2); (Email correspondence with M.
                        Bienenstock regarding same (.2); Teleconference with P.
                        Abelson regarding first interim application (.3).
11/16/15    PMA         Confer with J. Liu regarding first interim fee application.         0.30    322.50
11/17/15    ER          Revise edits to October billing statement.                          2.80    910.00
11/17/15    SM          Follow up on emails from Jefferies regarding September              0.20    122.00
                        monthly billing statement.
11/17/15    PMA         Review supplemental fee committee report.                           0.10    107.50
11/17/15    MG          Revise October billing statement.                                   1.40    525.00
11/19/15    SM          Follow up with Jefferies on September monthly statement             0.40    244.00
                        and amended second interim fee application.
11/19/15    PMA         Confer with J. Liu regarding fee application.                       0.10     107.50
11/19/15    MG          Revise October billing statement, including appropriate             2.80   1,050.00
                        categorization, time break down, consistency (2.7);
                        correspond with J. Liu regarding second interim order
                        granting and authorizing that Debtors to pay second interim
                        holdback amounts (.1).
11/20/15    NP          Prepare (.3) and file (.2) amended second interim fee               0.70    210.00
                        application for Jefferies LLC; coordinate service regarding
                        same (.2).
11/20/15    SM          Review Jefferies' amended second interim fee application to         0.30    183.00
                        finalize for filing.
11/20/15    MG          Revise October billing statement to ensure accuracy.                1.20    450.00
11/23/15    PP          Review U.S. Trustee guidelines for blended rate disclosure          0.80    820.00
                        requirements (.3); review Proskauer second interim fee
                        application to determine compliance (.3); call with U.S.
                        Trustee regarding same (.2).
11/23/15    MG          Revise October monthly fee statement (1.8); prepare and             2.00    750.00
                        send email to C. Hayes at Kirkland regarding holdback
                        payment status (.2).
11/24/15    MG          Revise October billing statement.                                   1.20    450.00
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EMPLOYMENT AND FEE APPLICATIONS
Client/Matter No. 71844.0011

Date         Attorney   Description                                                        Hours        Amount

11/25/15     SM         Review FTI October statement and email to KCC.                       0.70         427.00
11/27/15     PMA        Review October billing statement for confidentiality and             2.30       2,472.50
                        attorney/client privilege.
11/30/15     JGL        Review October time entries for attorney/client privilege and        3.00       3,750.00
                        confidentiality issues.
11/30/15     MG         Review P. Abelson comments and edits and revise as                   0.60        225.00
                        required (.2); review JGL edits and revise accordingly (.4).


Attorney                                                                 Hours             Rate         Amount

JUDY G. LIU                                                               27.50         1,250.00       34,375.00
MARTIN J. BIENENSTOCK                                                      1.60         1,295.00        2,072.00
PAUL POSSINGER                                                             3.60         1,025.00        3,690.00
PHILIP M. ABELSON                                                          3.90         1,075.00        4,192.50
       Total For Partner                                                  36.60                        44,329.50

MARK E. DAVIDSON                                                           0.40         1,000.00         400.00
      Total For Senior Counsel                                             0.40                          400.00

MAJA ZERJAL                                                                3.00          735.00         2,205.00
STEVE MA                                                                  29.70          610.00        18,117.00
VINCENT INDELICATO                                                         0.30          825.00           247.50
      Total For Associate                                                 33.00                        20,569.50

EVELYN RODRIGUEZ                                                          10.00          325.00         3,250.00
MAGALI GIDDENS                                                            33.10          375.00        12,412.50
NATASHA PETROV                                                             2.70          300.00           810.00
     Total For Legal Assistant                                            45.80                        16,472.50


Professional Fees                                                       115.80                     $   81,771.50

Total this Matter                                                                                  $   81,771.50
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EMPLOYMENT AND FEE APPLICATION OBJECTIONS
Client/Matter No. 71844.0012


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                   Hours   Amount

11/05/15    JGL         Teleconference with P. Abelson regarding Second Lien           0.10    125.00
                        Committee motion to disqualify Kirkland.
11/10/15    SAE         Review Kirkland & Ellis opposition to motion to reconsider.    0.40    370.00
11/10/15    PP          Review Kirkland response to Second Lien committee motion       0.80    820.00
                        to reconsider.
11/10/15    PMA         Review Kirkland response to Second Lien Committee              0.60    645.00
                        reconsideration motion.
11/11/15    MZ          Review Kirkland response to Jones Day reconsideration          0.50    367.50
                        motion.
11/11/15    VI          Analyze fee committee supplemental report.                     0.30    247.50
11/16/15    SAE         Review Second Lien reply to Kirkland retention.                0.40    370.00
11/16/15    MED         Review Second Lien reply regarding Kirkland motion.            0.30    300.00
11/16/15    SM          Review reply of Second Lien Committee regarding                0.30    183.00
                        reconsideration motion.
11/16/15    JGL         Review Second Lien Committee reply regarding                   1.10   1,375.00
                        reconsideration of Kirkland retention order.
11/16/15    MZ          Review Noteholder Committee reply in support of                0.80    588.00
                        reconsideration motion and exhibits.
11/16/15    PMA         Review Second Lien reply to Kirkland reconsideration           0.90    967.50
                        motion response, including exhibits (.8); Confer with M.
                        Zerjal regarding Second Lien reply to Kirkland
                        reconsideration motion response (.1).
11/16/15    VI          Analyze Jones Day reply regarding Kirkland retention.          0.90    742.50
11/17/15    JGL         Review/comment on proposed order for first interim             0.30    375.00
                        application.
11/18/15    SM          Review draft fee committee report on August Proskauer fee      0.50    305.00
                        statement (.4); Provide comments to draft excel spreadsheet
                        (.1).
11/19/15    SAE         Review order on motion to reconsider.                          0.10      92.50
11/19/15    JGL         Review Fee Committee initial report for August (.9);           1.00   1,250.00
                        Discussion with P. Abelson regarding same (.1).
11/20/15    SM          Discuss fee committee Report for August monthly statement      0.60    366.00
                        for Proskauer with J. Liu.
11/20/15    JGL         Discussion with S. Ma regarding fee committee report.          0.60     750.00
11/22/15    SM          Draft response to fee committee inquiries regarding August     2.80   1,708.00
                        monthly statement for Proskauer.
11/23/15    SM          Revise response to fee committee inquiries to August fee       0.80    488.00
                        statement of Proskauer.
11/23/15    JGL         Review/comment on supplemental memo to N. Rapoport             1.40   1,750.00
                        regarding August preliminary report (1.3); Teleconference
                        with S. Ma regarding supplemental memo to N. Rapoport
                        (.1).
11/27/15    JGL         Review email correspondence and data from N. Rapoport.         0.40    500.00
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EMPLOYMENT AND FEE APPLICATION OBJECTIONS
Client/Matter No. 71844.0012

Date         Attorney   Description                                                     Hours         Amount

11/30/15     JGL        Discussion with P. Abelson regarding fee committee initial        0.20         250.00
                        report for second interim application.
11/30/15     PMA        Confer with J. Liu regarding fee committee report.                0.20         215.00


Attorney                                                                Hours           Rate          Amount

JUDY G. LIU                                                               5.10       1,250.00         6,375.00
PAUL POSSINGER                                                            0.80       1,025.00           820.00
PHILIP M. ABELSON                                                         1.70       1,075.00         1,827.50
       Total For Partner                                                  7.60                        9,022.50

MARK E. DAVIDSON                                                          0.30       1,000.00           300.00
SCOTT A. EGGERS                                                           0.90         925.00           832.50
      Total For Senior Counsel                                            1.20                        1,132.50

MAJA ZERJAL                                                               1.30        735.00            955.50
STEVE MA                                                                  5.00        610.00          3,050.00
VINCENT INDELICATO                                                        1.20        825.00            990.00
      Total For Associate                                                 7.50                        4,995.50


Professional Fees                                                        16.30                   $   15,150.50

Total this Matter                                                                               $    15,150.50
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FINANCING AND CASH COLLATERAL
Client/Matter No. 71844.0013


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                     Hours   Amount

11/02/15    MZ          Review draft pleading regarding cash issues.                     1.50   1,102.50
11/04/15    VI          Research issues for lien challenge response.                     1.70   1,402.50
11/05/15    CT          Email S. Weise regarding grant of security interest in           1.20     882.00
                        commercial tort claims.
11/06/15    SOW         Review issues regarding security interest in commercial tort     1.00   1,475.00
                        claims.
11/07/15    VI          Analyze potential lien challenge objections.                     1.20    990.00
11/10/15    SOW         Review issues regarding creation of security interest in         0.50    737.50
                        commercial tort claims.
11/10/15    SM          Meet with P. Abelson, M. Zerjal, and V. Indelicato to            0.60    366.00
                        discuss outstanding items regarding response to objections to
                        standing motion (lien avoidance).
11/10/15    MZ          Meet with P. Abelson, V. Indelicato and S. Ma regarding          2.10   1,543.50
                        standing motion responses (.6); Perform follow-up research
                        (1.5).
11/10/15    PMA         Confer with S. Ma, V. Indelicato, and M. Zerjal regarding        0.60    645.00
                        standing motion reply.
11/10/15    VI          Meeting with P. Abelson, M. Zerjal, and S. Ma regarding          0.60    495.00
                        lien challenge reply.
11/10/15    VI          Analyze lien challenge arguments in preparation of standing      3.00   2,475.00
                        motion brief.
11/11/15    SOW         Review issues regarding creation of security interest in         0.50    737.50
                        commercial tort claims.
11/11/15    JGL         Review email from S. Weise regarding commercial tort             0.20    250.00
                        claims.
11/11/15    MZ          Discuss standing motion with V. Indelicato (.1); Discuss         0.20    147.00
                        related materials with M. Giddens (.1).
11/11/15    MG          Research regarding standing motion reply precedent.              1.00     375.00
11/11/15    VI          Analyze lien challenge issues regarding reply.                   2.70   2,227.50
11/12/15    ER          Objections to standing motion (.2); and organize case law        2.10     682.50
                        (1.2); prepare TOA (.7).
11/12/15    MZ          Review standing motion (.8); review preliminary responses        4.50   3,307.50
                        (1.0); analyze reply arguments (2.2); begin preparing shell
                        reply (.5).
11/12/15    PMA         Confer with V. Indelicato regarding lien challenge standing      0.20    215.00
                        motion.
11/12/15    VI          Analyze issues in preparation of lien challenge reply.           3.50   2,887.50
11/12/15    VI          Research standing motion jurisprudence.                          2.30   1,897.50
11/13/15    ER          Finalize and circulate binders of case law in opposition to      2.30     747.50
                        the standing motion (lieu avoidance).
11/13/15    MZ          Discuss standing motion with D. Desatnik (1.0); Prepare          3.60   2,646.00
                        shell response (1.2); Gather relevant case law (1.4).
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FINANCING AND CASH COLLATERAL
Client/Matter No. 71844.0013

Date        Attorney    Description                                                       Hours   Amount

11/13/15    VI          Prepare arguments for standing motion (lieu avoidance)             2.20   1,815.00
                        reply.
11/13/15    DD          Meet with M. Zerjal to discuss reply to responses for              1.00    445.00
                        standing motion.
11/15/15    VI          Analyze jurisprudence for standing motion reply.                   2.80   2,310.00
11/16/15    MZ          Review briefing schedule (.1) and draft proposed email to          4.10   3,013.50
                        other parties regarding the extension of the reply deadline
                        (.4); Discuss preparation for standing motion reply with D.
                        Desatnik (.5); Review certain case law cited in responses
                        (1.3); Draft preliminary response arguments (1.8).
11/16/15    PMA         Review and revise email correspondence regarding standing          0.20    215.00
                        motion response deadline.
11/16/15    DD          Meet with M. Zerjal to discuss distinguishing cases related        3.40   1,513.00
                        to responses for standing motion (.5); review standing
                        motion and responses to standing motion (2.7); review cases
                        cited in responses to distinguish for reply (.2).
11/17/15    MZ          Review jurisprudence regarding derivative standing (2.5);          3.00   2,205.00
                        Draft email to V. Indelicato regarding same (.2); Review and
                        respond to email by D. Desatnik regarding same (.3).
11/17/15    DD          Review cases cited in responses to standing motion to              2.60   1,157.00
                        distinguish for reply.
11/18/15    MZ          Review D. Desatnik email regarding standing motion                 5.00   3,675.00
                        standard (.2); Respond to email regarding same (.1); Perform
                        research on cost-benefit analysis and colorability, property
                        of the estate and state/federal property rights (4.7).
11/18/15    PMA         Confer with V. Indelicato regarding standing motion (.2);          0.30    322.50
                        Confer with P. Possinger regarding standing motion (.1).
11/18/15    DD          Review cases cited in responses to standing motion to              1.30    578.50
                        distinguish for reply.
11/18/15    DD          Review cases cited in responses to standing motion to              2.50   1,112.50
                        distinguish for reply.
11/19/15    PP          Review order regarding changes to standing motion briefing         1.10   1,127.50
                        schedule (.2); discuss same with P. Abelson and V.
                        Indelicato (.2); call with courtroom deputy regarding same
                        (.2); revisions to order (.3); follow-up emails regarding entry
                        of order (.2).
11/19/15    JGL         Review email correspondence (several) from V. Indelicato           0.20    250.00
                        regarding scheduling order.
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FINANCING AND CASH COLLATERAL
Client/Matter No. 71844.0013

Date        Attorney    Description                                                      Hours   Amount

11/19/15    PMA         Teleconference with S. Levinson and V. Indelicato regarding       2.80   3,010.00
                        standing motion (.1); Teleconference with H. Denman and
                        V. Indelicato regarding standing motion (.2); Confer with P.
                        Possinger regarding standing motion (.1); Teleconference
                        with H. Denman and J. Goldstein regarding standing motion
                        (.2); Confer with P. Possinger and V. Indelicato regarding
                        standing motion (.2); Teleconference with A. Silfen and V.
                        Indelicato regarding standing motion (.4); Teleconference
                        with A. Silfen, S. Levinson, and V. Indelicato regarding
                        standing motion (.3); Confer with V. Indelicato regarding
                        standing motion (.5); revise various versions of order
                        regarding standing motion (.4); Teleconference with D.
                        Eggerman and V. Indelicato regarding standing motion (.2);
                        Review email correspondence regarding standing motion
                        (.2).
11/19/15    VI          Analyze draft proposed order regarding Committee reply            5.30   4,372.50
                        deadline to lien challenge objections (.1); Multiple email
                        correspondences with Kirkland, Jones Day, and Arent Fox
                        regarding same (.3); Telephone conference with Arent Fox
                        and Jones Day regarding same (.3); Multiple telephone
                        conferences with Arent Fox regarding follow-up (.5); Confer
                        with P. Abelson and P. Possinger regarding same (.2);
                        Analyze Committee standing motion proposed complaint to
                        draft language for proposed order (.5); Multiple telephone
                        conferences with Kramer Levin regarding same (.2); Draft
                        language for proposed order (.4); confer with P. Abelson
                        regarding standing motion (.5); Analyze case law regarding
                        derivative standing (2.3)
11/20/15    PP          Call with P. Abelson regarding standing motion briefing           0.20    205.00
                        schedule.
11/20/15    ER          Review of docket for objections to standing motion (.2);          1.00    325.00
                        retrieve objections (.2); review local rules (.1); review of
                        case management order (.2); correspond with M. Zerjal
                        regarding same (.2); retrieve objection and circulate Debtors'
                        objection to standing motion (.1).
11/20/15    JGL         Review correspondence regarding comments to scheduling            0.20    250.00
                        order from all parties.
11/20/15    MZ          Preliminary review of standing motion objections (.7);            1.70   1,249.50
                        Correspond with P. Abelson and V. Indelicato regarding
                        same (.3); Review cash collateral defaults and remedies (.5)
                        and draft email regarding same (.2).
11/20/15    PMA         Confer with V. Indelicato regarding standing motion (.5);         1.50   1,612.50
                        Review and analyze objections to Committee standing
                        motion (.7); Confer with V. Indelicato and M. Zerjal
                        regarding standing motion (.1); call with P. Possinger
                        regarding standing motion briefing schedules (.2).
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FINANCING AND CASH COLLATERAL
Client/Matter No. 71844.0013

Date        Attorney    Description                                                       Hours   Amount

11/20/15    VI          Confer with P. Abelson regarding lien challenges (.5);             5.90   4,867.50
                        Confer with D. Desatnik regarding same (.2); Analyze cash
                        collateral order termination provisions (.5); Analyze lien
                        challenge issues in connection with lien challenge reply
                        (4.7).
11/20/15    DD          Review cases cited in responses to standing motion to              5.10   2,269.50
                        distinguish for reply (3.8); report findings to M. Zerjal, S.
                        Ma, V. Indelicato (.4); review Debtors' objections to
                        Committee standing motion (.7); confer with V. Indelicato
                        regarding lien challenges (.2).
11/21/15    VI          Analyze issues in preparation of lien challenge reply.             3.20   2,640.00
11/22/15    MZ          Perform research on substance over form doctrine and               6.00   4,410.00
                        bankruptcy code Section 105.
11/22/15    VI          Prepare outline of arguments for lien challenge reply (2.5);       5.50   4,537.50
                        Research jurisprudence cited in lien challenge objections
                        (3.0).
11/22/15    DD          Review First Lien creditors' objections to Committee               1.00    445.00
                        standing motion.
11/23/15    ER          Prepare (.7); review (.2) and circulate (.1) binders of            1.00    325.00
                        objections filed on 11/20 to the standing motion.
11/23/15    SM          Meet with P. Abelson, M. Zerjal, V. Indelicato, D. Desatnik        0.90    549.00
                        regarding standing motion reply.
11/23/15    JGL         Teleconference with V. Indelicato regarding objections to          0.50    625.00
                        standing motion (lien avoidance).
11/23/15    MZ          Review objections to standing motion (1.7); Discuss same           4.20   3,087.00
                        with D. Desatnik (.5); review preliminary issues for reply
                        (1.0); Discuss same with P. Abelson (.1); Meet with P.
                        Abelson, V. Indelicato, S. Ma and D. Desatnik regarding
                        reply to standing motion objections (.9).
11/23/15    PMA         Analyze standing motion objections and the decisions cited         1.80   1,935.00
                        therein (.7); Confer with Proskauer team regarding standing
                        motion reply (.9); Confer with V. Indelicato regarding
                        standing motion (.1); Confer with M. Zerjal regarding
                        standing motion (.1).
11/23/15    VI          Research settlement authority cases (1.2); Confer with D.          3.10   2,557.50
                        Desatnik regarding objections to standing motion (1.0);
                        Meeting with P. Abelson, M. Zerjal, S. Ma and D. Desatnik
                        regarding standing motion planning (.9).
11/23/15    DD          Review cases cited in responses to standing motion to              7.50   3,337.50
                        distinguish for reply (4.6); meet with V. Indelicato to discuss
                        objections to standing motion (1.0). Meet with P. Abelson,
                        V. Indelicato, M. Zerjal, and S. Ma to discuss reply to
                        standing motion objections (.9); meet with M. Zerjal to
                        discuss preparation of standing motion reply (.1); prepare
                        caption and colorability argument in reply to objections (.9).
11/24/15    JGL         Teleconference with P. Abelson regarding standing motion.          0.20    250.00
11/24/15    MZ          Review first lien lenders' pleadings for statements regarding      0.80    588.00
                        blanket lien.
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FINANCING AND CASH COLLATERAL
Client/Matter No. 71844.0013

Date        Attorney    Description                                                     Hours   Amount

11/24/15    PMA         Review email correspondence from S. Ma regarding                 0.60    645.00
                        standing motion (.1); Confer with J. Liu regarding standing
                        motion objections (.2); Confer with V. Indelicato and D.
                        Desatnik regarding standing motion objections (.1); Confer
                        with V. Indelicato regarding standing motion objections (.2).
11/24/15    VI          Analyze cash collateral pleadings for lien descriptions (.6);    1.60   1,320.00
                        confer with P. Abelson regarding standing motion (.2);
                        confer with P. Abelson and D. Desatnik regarding same (.1);
                        confer with D. Desatnik regarding colorability arguments
                        (.7).
11/24/15    DD          Prepare draft of colorability argument in reply to objections    5.90   2,625.50
                        (5.2); meet with V. Indelicato to discuss colorability
                        arguments (.7).
11/25/15    SM          Review transcripts for response to standing motion               1.00    610.00
                        objections.
11/25/15    PMA         Confer with V. Indelicato regarding standing motion.             0.50     537.50
11/25/15    VI          Confer with P. Abelson regarding derivative standing reply       4.20   3,465.00
                        (.5); Confer with D. Desatnik regarding same (1.0); Analyze
                        cases for lien challenge reply (2.7).
11/25/15    DD          Prepare outline of reply to arguments in Objector's              4.50   2,002.50
                        unjustifiable refusal brief (1.0); distinguish cases in
                        Objector's unjustifiable refusal brief (2.5); confer with V.
                        Indelicato regarding standing motion reply (1.0).
11/27/15    VI          Analyze lien challenge jurisprudence (2.1); Prepare              5.10   4,207.50
                        arguments for lien challenge pleading (3.0).
11/28/15    VI          Analyze cases for derivative standing brief (3.0); Draft         4.50   3,712.50
                        sections for standing motion reply brief (1.5).
11/28/15    DD          Distinguish cases in Objector's unjustifiable refusal brief.     0.40     178.00
11/29/15    MZ          Discuss standing motion reply with V. Indelicato.                0.30     220.50
11/29/15    VI          Prepare draft standing motion reply.                             2.80   2,310.00
11/29/15    DD          Distinguish cases in Objector's unjustifiable refusal brief.     2.60   1,157.00
11/30/15    VI          Confer with D. Desatnik regarding standing reply (.9);           7.10   5,857.50
                        Prepare draft standing reply (4.5); Analyze research for
                        standing reply (1.7).
11/30/15    DD          Distinguish cases in Objector's unjustifiable refusal            7.60   3,382.00
                        argument (1.5); prepare outline of reply to Objector's
                        colorability arguments (1.0); prepare first draft of reply to
                        Objector's colorability arguments (4.2); confer with V.
                        Indelicato regarding reply (.9).
11/30/15    AC          Review Debtors' motion regarding regulatory licenses per V.      0.50    247.50
                        Indelicato email.
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FINANCING AND CASH COLLATERAL
Client/Matter No. 71844.0013



Attorney                                          Hours       Rate          Amount

JUDY G. LIU                                         1.30   1,250.00         1,625.00
PAUL POSSINGER                                      1.30   1,025.00         1,332.50
PHILIP M. ABELSON                                   8.50   1,075.00         9,137.50
STEVEN O. WEISE                                     2.00   1,475.00         2,950.00
       Total For Partner                           13.10                   15,045.00

ASHLEY CHAY                                         0.50    495.00            247.50
CHRIS THEODORIDIS                                   1.20    735.00            882.00
MAJA ZERJAL                                        37.00    735.00         27,195.00
STEVE MA                                            2.50    610.00          1,525.00
VINCENT INDELICATO                                 68.30    825.00         56,347.50
       Total For Associate                        109.50                   86,197.00

EVELYN RODRIGUEZ                                    6.40    325.00          2,080.00
MAGALI GIDDENS                                      1.00    375.00            375.00
     Total For Legal Assistant                      7.40                    2,455.00

DANIEL DESATNIK                                    45.40    445.00         20,203.00
      Total For Law Clerk                          45.40                   20,203.00


Professional Fees                                 175.40              $   123,900.00

Total this Matter                                                     $   123,900.00
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LITIGATION
Client/Matter No. 71844.0014


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                                      Hours        Amount

11/09/15     ER         Coordinate retrieval of motion to compel testimony and             0.80        260.00
                        related documents filed in the Delaware Chancery Court for
                        S. Ma.
11/10/15     JGL        Teleconference with P. Abelson regarding litigation issues.        0.30        375.00
11/10/15     PMA        Review update regarding NY guarantee litigation (.1);              0.40        430.00
                        Confer with J. Liu regarding litigation issues (.3).
11/12/15     PMA        Teleconference with G. Novod regarding litigation issues.          0.80        860.00
11/12/15     PMA        Review and analyze NRF decision.                                   0.50        537.50
11/17/15     PMA        Review email correspondence from M. Davidson regarding             0.10        107.50
                        litigation issues.
11/20/15     PMA        Review and analyze CEC injunction appellate briefs by              1.40       1,505.00
                        appellees (1.1); review and analyze BOKF/UMB motion for
                        partial summary judgment regarding guarantee action (.3).
11/22/15     PMA        Review summary judgment motion and response regarding              0.90        967.50
                        Meehan/Danner guarantee claims.
11/30/15     PMA        Review Reorg Research summary regarding 7th Circuit                0.10        107.50
                        injunction briefs.


Attorney                                                                Hours            Rate         Amount

JUDY G. LIU                                                               0.30        1,250.00          375.00
PHILIP M. ABELSON                                                         4.20        1,075.00        4,515.00
       Total For Partner                                                  4.50                        4,890.00

EVELYN RODRIGUEZ                                                          0.80         325.00          260.00
     Total For Legal Assistant                                            0.80                         260.00


Professional Fees                                                         5.30                    $   5,150.00

Total this Matter                                                                                $    5,150.00
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MEETINGS AND COMMUNICATION WITH COMMITTEE
Client/Matter No. 71844.0015


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                     Hours   Amount

11/02/15    PMA         Confer with V. Indelicato regarding bi-weekly Committee          0.30    322.50
                        call.
11/02/15    VI          Multiple email correspondences with M. Bienenstock and           0.60    495.00
                        Committee Co-Chairs regarding call agenda (.2); Email
                        correspondences with Wilmington Trust regarding due
                        diligence requests (.1); confer with P. Abelson regarding bi-
                        weekly Committee meeting (.3).
11/03/15    MJB         Report to Committee regarding meeting with Examiner.             0.30    388.50
11/03/15    VI          Telephone conference with Wilmington Trust regarding case        0.50    412.50
                        update.
11/04/15    MZ          Draft email to Proskauer team and Committee regarding            0.30    220.50
                        disclosure statement hearing schedule motion.
11/05/15    JJM         Review update to Committee from M. Bienenstock.                  0.20     240.00
11/05/15    MJB         Teleconference with D. Dandeneau regarding negotiations          1.10   1,424.50
                        and fiduciary duties of Committee members (.3); Email to
                        Committee regarding scheduling motion and related issues
                        (.8).
11/05/15    JGL         Review two lengthy emails from M. Bienenstock to                 0.20    250.00
                        Committee regarding developments affecting creditors.
11/05/15    MZ          Review two M. Bienenstock emails to Committee regarding          0.30    220.50
                        developments (.2); review email by V. Indelicato to
                        Committee regarding call agenda (.1).
11/05/15    PMA         Review email correspondence from M. Bienenstock to the           0.20    215.00
                        Committee regarding case updates (.1); confer with J. Liu
                        regarding Committee call (.1).
11/05/15    VI          Analyze multiple email correspondences from M.                   0.40    330.00
                        Bienenstock regarding case updates (.2); telephone
                        conference with M. Bienenstock regarding same (.2).
11/05/15    VI          Multiple email correspondences with Committee Co-Chairs          0.20    165.00
                        regarding Friday call agenda.
11/06/15    SAE         Prepare notes for presentation to Committee on bi-weekly         0.90    832.50
                        call (.2); attend bi-weekly Committee call (.7).
11/06/15    PP          Further review of case updates from M. Bienenstock.              0.20    205.00
11/06/15    SM          Prepare materials and setup Committee call (.2); attend          0.90    549.00
                        Committee call (.7).
11/06/15    MJB         Participate in Committee telephonic meeting regarding            0.60    777.00
                        Debtors' scheduling motion, meeting with Examiner,
                        negotiations with Debtor, and Second Lien Committee
                        communications.
11/06/15    JGL         Teleconference with P. Abelson regarding Committee call          1.10   1,375.00
                        (.1); email to FTI regarding same (.1); attend Committee call
                        (.7) review correspondence from US Foods and Kirkland
                        (.2).
11/06/15    MZ          Participate in call with Committee.                              0.70    514.50
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MEETINGS AND COMMUNICATION WITH COMMITTEE
Client/Matter No. 71844.0015

Date        Attorney    Description                                                   Hours   Amount

11/06/15    PMA         Confer with J. Liu regarding Committee call (.1);              1.60   1,720.00
                        teleconference with H. Denman regarding Committee call
                        (.2); preparation for bi-weekly Committee call (.6); attend
                        bi-weekly Committee call (.7).
11/06/15    VI          Telephone conference with Committee regarding bi-weekly        1.40   1,155.00
                        case update (.7); Analyze Committee member
                        correspondence (.5); email correspondence with M.
                        Bienenstock regarding same (.2).
11/09/15    PMA         Review correspondence between the Debtors and one of the       0.20    215.00
                        Committee members (.1); review email correspondence from
                        V. Indelicato regarding bi-weekly Committee call (.1).
11/10/15    MZ          Draft email to Committee regarding fee committee report.       0.10     73.50
11/12/15    SM          Email interim fee applications for Committee professionals     0.20    122.00
                        with cover letter to Committee Co-Chairs.
11/12/15    VI          Multiple email correspondences with Committee Co-Chairs        0.30    247.50
                        regarding Friday call agenda (.2); Prepare email
                        correspondence to Committee regarding same (.1).
11/13/15    SAE         Attend bi-weekly Committee call.                               0.60    555.00
11/13/15    PP          Weekly call with Committee regarding case updates (.6);        0.80    820.00
                        review follow-up emails from M. Bienenstock regarding
                        same (.2).
11/13/15    SM          Prepare materials for Committee call (.1). Attend Committee    0.70    427.00
                        call (.6).
11/13/15    MJB         Participate in Committee telephonic meeting.                   0.60    777.00
11/13/15    MZ          Prepare for (.2) and participate on Committee call (.6);       1.20    882.00
                        Review communication between US Foods and Debtors (.2);
                        Review M. Bienenstock email to Committee regarding case
                        updates (.2).
11/13/15    PMA         Preparation for bi-weekly Committee call (.5); Attend bi-      1.10   1,182.50
                        weekly Committee call (.6).
11/13/15    VI          Telephone conference with Committee regarding bi-weekly        1.10    907.50
                        update (.6); Telephone conference with White & Case
                        regarding same (.5).
11/14/15    VI          Analyze M. Bienenstock email correspondence to                 0.20    165.00
                        Committee regarding case updates.
11/16/15    SM          Email agenda and presentation to Committee.                    0.20    122.00
11/16/15    MJB         Teleconference with L. Rosenthal and M. Prescott regarding     0.40    518.00
                        proposal.
11/16/15    VI          Multiple email correspondences with Committee Co-Chairs        0.30    247.50
                        regarding Tuesday call agenda (.2); Prepare email
                        correspondence to Committee regarding same (.1).
11/17/15    SAE         Attend bi-weekly Committee call.                               0.70    647.50
11/17/15    JJM         Listen to Committee conference call regarding case status      0.60    720.00
                        and update.
11/17/15    PP          Attend bi-weekly update call.                                  0.70     717.50
11/17/15    MJB         Prepare for Committee meeting (.6); telephonic meeting         1.30   1,683.50
                        with Committee (.7).
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MEETINGS AND COMMUNICATION WITH COMMITTEE
Client/Matter No. 71844.0015

Date        Attorney    Description                                                 Hours   Amount

11/17/15    JGL         Attend bi-weekly call with Committee.                        0.70     875.00
11/17/15    MZ          Participate in Committee call.                               0.70     514.50
11/17/15    PMA         Preparation for bi-weekly Committee call (.3); Attend bi-    1.00   1,075.00
                        weekly Committee meeting (.7).
11/17/15    VI          Telephone conference with Committee regarding bi-weekly      1.20    990.00
                        case update (.7); Multiple email correspondences with
                        Committee members regarding potential Examiner meeting
                        dates (.5).
11/18/15    PP          Review update on discussions with Debtors from M.            0.20    205.00
                        Bienenstock.
11/19/15    JGL         Review email from M. Bienenstock regarding list of issues    0.10    125.00
                        for potential meeting with Examiner.
11/20/15    JGL         Review email correspondence from V. Indelicato regarding     0.10    125.00
                        Committee member.
11/20/15    VI          Telephone conference with T. Ricketts regarding case         0.70    577.50
                        update (.5); Prepare email correspondence to M.
                        Bienenstock, J. Liu, and P. Abelson regarding same (.2).
11/23/15    VI          Telephone conference with J. Millar regarding case update    0.40    330.00
                        (.2); Multiple email correspondences with L. Rosenthal
                        regarding Committee meetings (.2).
11/24/15    VI          Multiple email correspondences with Committee members        0.40    330.00
                        regarding meeting availability.
11/25/15    VI          Prepare email correspondence to Committee regarding case     0.40    330.00
                        update.
11/30/15    VI          Multiple email correspondences with Committee Co-Chairs      0.30    247.50
                        regarding Tuesday call agenda (.2); Prepare email
                        correspondence to Committee regarding same (.1).
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MEETINGS AND COMMUNICATION WITH COMMITTEE
Client/Matter No. 71844.0015



Attorney                                          Hours       Rate         Amount

JEFF J. MARWIL                                      0.80   1,200.00          960.00
JUDY G. LIU                                         2.20   1,250.00        2,750.00
MARTIN J. BIENENSTOCK                               4.30   1,295.00        5,568.50
PAUL POSSINGER                                      1.90   1,025.00        1,947.50
PHILIP M. ABELSON                                   4.40   1,075.00        4,730.00
        Total For Partner                          13.60                  15,956.00

SCOTT A. EGGERS                                     2.20    925.00         2,035.00
      Total For Senior Counsel                      2.20                   2,035.00

MAJA ZERJAL                                         3.30    735.00         2,425.50
STEVE MA                                            2.00    610.00         1,220.00
VINCENT INDELICATO                                  8.40    825.00         6,930.00
      Total For Associate                          13.70                  10,575.50


Professional Fees                                  29.50              $   28,566.50

Total this Matter                                                     $   28,566.50
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NON-WORKING TRAVEL
Client/Matter No. 71844.0016


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                                         Hours         Amount

11/17/15     SM         Travel from NY to Chicago for 11/18 hearing (attending                2.20        1,342.00
                        with respect to first interim fee application matters) (actual
                        travel time 4.5, billed at 2.2).
11/18/15     SM         Travel from back from 11/18 omnibus hearing to NYC                    2.70        1,647.00
                        (flight delayed) (actual travel time 5.5, billed at 2.7).
11/18/15     MJB        Travel from NY to Chicago and out of Chicago (actual                  1.20        1,554.00
                        travel time 2.4, billed at 1.2).
11/18/15     PMA        Travel to Chicago for November 18 hearing (flight was                 2.00        2,150.00
                        delayed too long because of weather after sitting at the
                        airport) (actual travel time 4.1, billed at 2.0).
11/18/15     VI         Travel to Chicago from New York (actual travel time 5.0,              2.50        2,062.50
                        billed at 2.5).
11/18/15     VI         Travel from Chicago to New York delays due to weather                 5.20        4,290.00
                        (actual travel time 10.5, billed at 5.2).


Attorney                                                                    Hours           Rate          Amount

MARTIN J. BIENENSTOCK                                                         1.20       1,295.00         1,554.00
PHILIP M. ABELSON                                                             2.00       1,075.00         2,150.00
       Total For Partner                                                      3.20                        3,704.00

STEVE MA                                                                     4.90         610.00          2,989.00
VINCENT INDELICATO                                                           7.70         825.00          6,352.50
      Total For Associate                                                   12.60                         9,341.50


Professional Fees                                                           15.80                    $   13,045.50

Total this Matter                                                                                   $    13,045.50
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PLAN AND DISCLOSURE STATEMENT
Client/Matter No. 71844.0017


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                      Hours   Amount

11/03/15    VI          Analyze potential plan issues.                                    1.50   1,237.50
11/04/15    MJB         Review CEOC motion to schedule disclosure statement               1.70   2,201.50
                        hearing (.4); outline draft response for Committee (1.3).
11/04/15    MZ          Review disclosure statement hearing scheduling motion (.5);       0.70    514.50
                        review M. Bienenstock email regarding same (.2).
11/04/15    VI          Analyze Debtors' disclosure statement scheduling motion           0.60    495.00
                        (.5); email correspondence with M. Bienenstock regarding
                        same (.1).
11/05/15    SAE         Telephone conference with J. Liu regarding schedule,              0.40    370.00
                        disclosure, confirmation issues.
11/05/15    SAE         Review Debtors' motion on disclosure statement schedule.          0.30    277.50
11/05/15    MED         Review motion regarding disclosure statement.                     0.40    400.00
11/05/15    PP          Discuss disclosure statement scheduling motion with P.            0.40    410.00
                        Abelson and V. Indelicato.
11/05/15    SM          Prepare shell for objection to disclosure statement hearing       0.50    305.00
                        motion.
11/05/15    JGL         Teleconference with S. Eggers regarding Debtors' disclosure       0.40    500.00
                        statement motion.
11/05/15    MZ          Discuss disclosure statement scheduling motion with P.            0.20    147.00
                        Abelson.
11/05/15    PMA         Review email correspondence from J. Graham regarding              1.10   1,182.50
                        disclosure statement scheduling motion (.1); confer with M.
                        Zerjal regarding disclosure statement scheduling motion (.2);
                        analyze disclosure statement scheduling motion (.5); confer
                        with J. Liu regarding disclosure statement scheduling motion
                        (.2); confer with V. Indelicato regarding disclosure statement
                        scheduling motion (.1).
11/05/15    VI          Confer with P. Possinger regarding disclosure statement           9.80   8,085.00
                        scheduling motion (.4); Analyze proposed plan treatment per
                        G. Bousquette inquiry (.6); Research arguments for draft
                        objection to disclosure statement scheduling motion (3.0);
                        and prepare draft objection to disclosure statement
                        scheduling motion (5.8).
11/06/15    SM          Revise objection to disclosure statement hearing scheduling       3.20   1,952.00
                        motion according to comments from V. Indelicato and M.
                        Bienenstock (1.5); work with V. Indelicato to further revise
                        same objection (1.7).
11/06/15    MZ          Review disclosure statement.                                      1.80   1,323.00
11/06/15    MZ          Review draft response to disclosure statement hearing             0.40     294.00
                        scheduling motion.
11/06/15    PMA         Confer with V. Indelicato regarding objection to disclosure       0.20    215.00
                        statement scheduling motion.
11/06/15    VI          Revise draft disclosure statement objection.                      3.70   3,052.50
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PLAN AND DISCLOSURE STATEMENT
Client/Matter No. 71844.0017

Date        Attorney    Description                                                    Hours   Amount

11/06/15    VI          Confer with P. Abelson regarding disclosure statement           0.30    247.50
                        scheduling motion.
11/07/15    SM          Revise draft of objection to disclosure statement hearing       1.00    610.00
                        motion.
11/07/15    MJB         Edit and draft portions of Committee objection to Debtors'      1.80   2,331.00
                        scheduling motion for disclosure statement.
11/07/15    PMA         Analyze plan (1.3); review draft disclosure statement           1.70   1,827.50
                        scheduling motion objection (.4).
11/07/15    VI          Edit draft objection regarding disclosure statement.            0.30    247.50
11/08/15    VI          Revise draft objection regarding disclosure statement           0.50    412.50
                        hearing.
11/09/15    JJM         Review draft objection to disclosure statement scheduling       0.30    360.00
                        motion.
11/09/15    PP          Review updated objection to disclosure statement scheduling     0.20    205.00
                        motion.
11/09/15    MZ          Analyze disclosure statement (8.2); discuss same with P.        8.80   6,468.00
                        Abelson (.5); Review revised response to disclosure
                        statement scheduling motion (.1).
11/09/15    PMA         Revise objection to disclosure statement scheduling motion      2.20   2,365.00
                        (.4); confer with V. Indelicato regarding objection to
                        disclosure statement scheduling motion (.2); confer with M.
                        Zerjal regarding plan issues (.5); review motion to compel
                        testimony in DE guarantee litigation (.9); confer with V.
                        Indelicato regarding plan issues (.2).
11/09/15    VI          Revise draft Committee objection to disclosure statement        1.70   1,402.50
                        scheduling motion (1.3); confer with P. Abelson regarding
                        objection to disclose statement scheduling motion (.2);
                        confer with P. Abelson regarding plan issues (.2).
11/10/15    SAE         Review oppositions to disclosure status scheduling.             0.40    370.00
11/10/15    JJM         Review revised objection to disclosure statement hearing        0.20    240.00
                        motion.
11/10/15    PP          Revise updated objection to disclosure statement scheduling     2.70   2,767.50
                        motion (1.3); calls and emails with V. Indelicato, M.
                        Bienenstock and P. Abelson regarding same (.4); review
                        prior filings regarding Kirkland (.3); revise and file
                        disclosure statement scheduling objection (.2); review other
                        responses to motion (.5).
11/10/15    SM          Finalize objection to disclosure statement hearing motion.      0.30    183.00
11/10/15    MJB         Review Second Lien objection to motion to schedule              0.40    518.00
                        disclosure statement hearing and revised Committee draft
                        objection.
11/10/15    JGL         Review/comment on Committee objection to Debtors’               1.10   1,375.00
                        disclosure statement scheduling motion.
11/10/15    MZ          Continue analyzing disclosure statement.                        3.00   2,205.00
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PLAN AND DISCLOSURE STATEMENT
Client/Matter No. 71844.0017

Date        Attorney    Description                                                      Hours   Amount

11/10/15    PMA         Review revised version of disclosure statement scheduling         0.30    322.50
                        motion objection (.1); Review objections and responses to
                        disclosure statement scheduling motion (.1); Confer with P.
                        Possinger regarding disclosure statement scheduling motion
                        objection (.1).
11/10/15    VI          Analyze potential plan confirmation issues.                       0.80     660.00
11/11/15    MZ          Prepare list of issues on Plan/disclosure statement (2.0);        6.40   4,704.00
                        Follow-up on open issues in disclosure statement (3.3);
                        Discuss same with M. Zhu of Jefferies (.2) and P. Abelson
                        (.1); Review Jefferies presentations (.8).
11/12/15    PMA         Review responses to disclosure statement scheduling motion        1.10   1,182.50
                        (.8); Review memo regarding substantive consolidation in
                        the 7th Circuit (.3).
11/13/15    PMA         Review email correspondence from M. Bienenstock and S.            0.10    107.50
                        Star regarding plan issues.
11/13/15    VI          Analyze FTI presentation regarding revised waterfall.             1.00    825.00
11/14/15    PMA         Review email correspondence from M. Bienenstock and H.            0.80    860.00
                        Denman regarding plan issues (.2); Review decisions and
                        secondary sources regarding plan issues/third-party releases
                        (.6).
11/14/15    VI          Analyze current plan of reorganization and projected              0.80    660.00
                        recoveries.
11/15/15    PMA         Review email correspondence from S. Star regarding plan           0.30    322.50
                        issues (.1); Teleconference with S. Star regarding plan issues
                        (.2).
11/15/15    VI          Analyze FTI email correspondence regarding plan issues.           0.20    165.00
11/16/15    JGL         Review FTI analysis of Debtors’ plan.                             0.20    250.00
11/16/15    PMA         Review email correspondence from M. Bienenstock and               0.80    860.00
                        Committee advisors regarding plan issues (.1); Confer with
                        V. Indelicato regarding plan issues (.2); Teleconference with
                        V. Indelicato and H. Denman regarding plan issues (.5).
11/16/15    VI          Confer with P. Abelson regarding plan issues (.2);                1.70   1,402.50
                        Telephone conference with P. Abelson and H. Denman
                        regarding same (.5); Revise first draft of FTI presentation
                        regarding waterfall issues (1.0).
11/18/15    PMA         Review email correspondence from M. Bienenstock                   0.40    430.00
                        regarding plan issues (.1); Teleconference with H. Denman
                        regarding plan issues (.3).
11/19/15    VI          Multiple email correspondences with White & Case                  1.10    907.50
                        regarding list of plan questions (.2); Email correspondence
                        with M. Bienenstock regarding same (.1); Review list of
                        plan questions (.4); Draft email correspondence to
                        Committee regarding same (.2); Review multiple email
                        correspondences from M. Bienenstock regarding plan
                        strategy (.2).
11/19/15    VI          Analyze draft FTI presentation regarding PropCo/OpCo              1.00    825.00
                        structure.
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PLAN AND DISCLOSURE STATEMENT
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Date         Attorney   Description                                                   Hours         Amount

11/30/15     PMA        Review email correspondence from G. Bousquette regarding        0.10         107.50
                        plan issues.
11/30/15     VI         Analyze proposed recovery analysis for 12/1 Committee           0.60         495.00
                        call.


Attorney                                                             Hours            Rate          Amount

JEFF J. MARWIL                                                         0.50        1,200.00           600.00
JUDY G. LIU                                                            1.70        1,250.00         2,125.00
MARTIN J. BIENENSTOCK                                                  3.90        1,295.00         5,050.50
PAUL POSSINGER                                                         3.30        1,025.00         3,382.50
PHILIP M. ABELSON                                                      9.10        1,075.00         9,782.50
        Total For Partner                                             18.50                        20,940.50

MARK E. DAVIDSON                                                       0.40        1,000.00           400.00
SCOTT A. EGGERS                                                        1.10          925.00         1,017.50
      Total For Senior Counsel                                         1.50                         1,417.50

MAJA ZERJAL                                                           21.30         735.00         15,655.50
STEVE MA                                                               5.00         610.00          3,050.00
VINCENT INDELICATO                                                    25.60         825.00         21,120.00
      Total For Associate                                             51.90                        39,825.50


Professional Fees                                                     71.90                    $   62,183.50

Total this Matter                                                                             $    62,183.50
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REAL ESTATE
Client/Matter No. 71844.0018


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                      Hours   Amount

11/04/15    VI          Analyze open real estate diligence issues.                        0.50    412.50
11/09/15    RL          Emails with Kirkland & Ellis regarding open title/mortgage        0.30    208.50
                        diligence questions.
11/09/15    VI          Analyze latest descriptions of unencumbered tax parcels.          0.30    247.50
11/10/15    VP          Discussion with R. Lesnik regarding review of legal               0.10     30.00
                        description.
11/10/15    RL          Conduct title/mortgage due diligence (1.4); discussion with       1.50   1,042.50
                        V. Perdja regarding review of legal descriptions (.1).
11/10/15    VI          Analyze updated list of real estate challenges.                   0.50    412.50
11/11/15    VP          Review legal description in title commitments/deeds of trust.     1.30    390.00
11/11/15    RL          Discussion with V. Perdja regarding title/mortgage due            0.50    347.50
                        diligence (.1). Draft email to Kirkland & Ellis regarding
                        title/mortgage analysis for property owned by BL
                        Development Corp. (.4).
11/16/15    PAC         Conference with R. Lesnik regarding unencumbered                  1.60   2,000.00
                        property diligence/status of Kirkland response to inquiries
                        (.3); arrangements regarding payment of title invoice (.2);
                        review email from S. Eggers (.2) and telephone call with S.
                        Eggers regarding easement review/analysis (.1); initial
                        review of easement agreement (Linq) (.8).
11/16/15    SAE         Draft email to P. Cacace regarding Las Vegas parcels              0.50    462.50
                        inquiry (.4); telephone conference with P. Cacace regarding
                        same (.1).
11/16/15    RL          Emails with P. Cacace, V. Indelicato regarding                    2.50   1,737.50
                        title/mortgage diligence (.1); Office meeting with P. Cacace
                        regarding same (.3); Revise summary of title/mortgage
                        diligence related to property owned by BL Development
                        Corp. and send to Kirkland & Ellis (.4); Title/mortgage
                        diligence: check two Harrah's Tunica title commitments
                        provided by Kirkland & Ellis compared to Kirkland & Ellis
                        Master Property Chart (.2); Continue title/mortgage
                        diligence, including updates to related charts regarding state
                        of encumbrance of tax parcels, creation of chart to be
                        confirmed by secured creditors (1.4); Email to Kirkland &
                        Ellis regarding title mortgage diligence (.1).
11/17/15    PAC         Review easement agreements (2.0); review rules applicable         3.00   3,750.00
                        to easement termination (.5); email same to S. Eggers with
                        answers to real estate questions (.5).
11/18/15    NW          Prepare easements for attorney review per S. Heneghan's           1.50    345.00
                        instructions.
11/19/15    PAC         Send easement materials to S. Heneghan (.1); conference           0.40    500.00
                        with S. Heneghan regarding same (.2); emails from S.
                        Eggers regarding real estate transfers (.1).
11/19/15    SH          Meet with P. Cacace regarding easement material (.3);             0.60    417.00
                        Review and prepare easement abstracts (.3).
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REAL ESTATE
Client/Matter No. 71844.0018

Date        Attorney    Description                                                      Hours   Amount

11/19/15    NW          Document search per S. Heneghan's instructions and                1.50    345.00
                        coordinate convertion of PDFs to Word.
11/20/15    SH          Review (1.3) and prepare easement abstracts (1.2).                2.50   1,737.50
11/20/15    VI          Analyze Zolfo Cooper presentation regarding real estate           1.00     825.00
                        issues.
11/20/15    NW          Review easements documents and prepare comparisons for            1.50    345.00
                        attorney review per S. Heneghan's instructions.
11/23/15    PAC         Review/revise easement agreement abstracts.                       1.00   1,250.00
11/23/15    SH          Review easements (1.0) and incorporate P. Cacace's                1.80   1,251.00
                        comments into easement abstracts (.8).
11/24/15    PAC         Revision of revised easement agreement abstracts (.7);            0.90   1,125.00
                        review/circulate further revisions (.2).
11/24/15    SAE         Email P. Cacace regarding issues on transferee.                   0.10     92.50
11/24/15    MED         Review P. Cacace email and abstract of easements.                 0.30    300.00
11/24/15    SH          Update easement abstracts.                                        1.00    695.00
11/24/15    JGL         Review correspondence from S. Eggers regarding land               0.40    500.00
                        parcels (.2); Review correspondence from P. Cacace
                        regarding land parcels (.2).
11/24/15    PMA         Review email correspondence from P. Cacace, V. Indelicato,        0.10    107.50
                        and S. Eggers regarding real estate issues.
11/24/15    VI          Analyze easement issues with respect to CEOC land parcels.        0.50    412.50
11/25/15    RL          Email with P. Cacace regarding chart of unencumbered              0.20    139.00
                        property and communications with Kirkland & Ellis and
                        Lenders' counsel.
11/27/15    PAC         Respond to R. Lesnik email regarding distribution of chart        0.30    375.00
                        regarding encumbered properties.
11/27/15    RL          Email with P. Cacace regarding chart of unencumbered              0.10     69.50
                        property to be distributed to Lenders' counsel.
11/30/15    PAC         Conferences (.2) and emails (.3) with R. Lesnik/V.                0.50    625.00
                        Indelicato regarding unencumbered property chart.
11/30/15    RL          Emails with P. Cacace, P. Abelson, V. Indelicato regarding        2.10   1,459.50
                        chart of unencumbered tax parcels (.3). Calls and voicemails
                        with V. Indelicato regarding same (.2). Discussions with P.
                        Cacace regarding same (.2); revise chart of unencumbered
                        property (.7); compare same to schedules in standing motion
                        (.5 ); Brief review of standing motion, draft versions of same
                        (.2).
11/30/15    PMA         Review email correspondence from R. Lesnik and V.                 0.40    430.00
                        Indelicato regarding real estate issues (.1); Review chart
                        regarding real estate issues (.1); Confer with V. Indelicato
                        regarding real estate issues (.2).
11/30/15    VI          Multiple email correspondences and conference with R.             0.70    577.50
                        Lesnik regarding real estate challenges (.2); Analyze list of
                        real estate challenges (.3); Confer with P. Abelson regarding
                        same (.2).
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REAL ESTATE
Client/Matter No. 71844.0018



Attorney                                          Hours       Rate         Amount

JUDY G. LIU                                         0.40   1,250.00          500.00
PERRY A. CACACE                                     7.70   1,250.00        9,625.00
PHILIP M. ABELSON                                   0.50   1,075.00          537.50
       Total For Partner                            8.60                  10,662.50

MARK E. DAVIDSON                                    0.30   1,000.00         300.00
SCOTT A. EGGERS                                     0.60     925.00         555.00
      Total For Senior Counsel                      0.90                    855.00

REBECCA LESNIK                                      7.20    695.00         5,004.00
SEAN HENEGHAN                                       5.90    695.00         4,100.50
VINCENT INDELICATO                                  3.50    825.00         2,887.50
      Total For Associate                          16.60                  11,992.00

NICHOLAS WILLIAMS                                   4.50    230.00         1,035.00
VILDANA PERDJA                                      1.40    300.00           420.00
      Total For Legal Assistant                     5.90                   1,455.00


Professional Fees                                  32.00              $   24,964.50

Total this Matter                                                     $   24,964.50
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TAX
Client/Matter No. 71844.0021


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                       Hours   Amount

11/02/15    RMC         Review of tax-related documents (.2); discuss with M.              0.60    555.00
                        Hochenberg and S. Severo (.4).
11/02/15    MSH         Discuss golden creditor questions with R. Corn and S.              0.80    660.00
                        Severo (.4) and related follow-up (review of background
                        materials to prepare summary) (.4).
11/02/15    SS          Call with R. Corn, M. Hochenberg regarding golden creditor         1.00    695.00
                        (.4); draft memo regarding same (.6).
11/03/15    BK          Meeting with M. Hochenberg regarding background facts of           0.60    267.00
                        the case and documents to prepare (.4); conference call with
                        S. Severo and M. Hochenberg regarding same and
                        identifying appropriate documents and where to search (.2).
11/03/15    RMC         Review of tax related documents.                                   0.90    832.50
11/03/15    MSH         Introduce B. Koh to matter providing background on                 0.90    742.50
                        structure, tax issues, (.4); related discussions with S. Severo
                        and B. Koh (.2); and review of pledge materials provided by
                        litigation team (.3).
11/03/15    SS          Draft memo regarding tax claims (3.4); conference call with        3.60   2,502.00
                        M. Hochenberg and B. Koh regarding background facts and
                        documents (.2).
11/04/15    BK          Call with S. Severo regarding creating an Excel spreadsheet        0.30    133.50
                        regarding golden creditor issues.
11/04/15    SS          Draft tax claims issues memo (1.5); call with B. Koh               1.80   1,251.00
                        regarding same (.3).
11/05/15    BK          Begin preparing an Excel spreadsheet regarding golden              0.70    311.50
                        creditor issues.
11/05/15    SS          Draft tax claims issues memo (1.6); call with B. Koh               1.90   1,320.50
                        regarding Excel spreadsheet regarding subsidiaries (.3).
11/06/15    SAE         Telephone conference with R. Corn regarding golden                 0.30    277.50
                        creditor issues.
11/06/15    BK          Call with S. Severo regarding preparing list of the affiliated     0.30    133.50
                        subsidiaries for golden creditor purposes (.2); discussion
                        regarding progress of the subsidiary list and pledgor
                        subsidiary list with M. Hochenberg (.1).
11/06/15    RMC         Review of documents on equitization and tax structuring            2.50   2,312.50
                        generally (2.2); call with S. Eggers regarding golden creditor
                        issues (.3).
11/06/15    SS          Draft memo regarding tax claims (.3); call with B. Koh             0.50    347.50
                        regarding preparing list of subsidiaries for golden creditor
                        issues (.2).
11/08/15    SS          Draft memo tax claims.                                             2.00   1,390.00
11/09/15    BK          Create a spreadsheet of all the pledgor subsidiaries listed in     1.10     489.50
                        Exhibit B and C of "Pledge of Commercial Tort Claim."
11/09/15    RMC         Review of documents on equitization and tax structuring            3.40   3,145.00
                        generally.
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Date        Attorney    Description                                                      Hours   Amount

11/09/15    MSH         Discuss golden creditor potential tax claims with S. Severo       2.10   1,732.50
                        (.3); related review of 2008 tax return materials (.5); review
                        of S. Severo summary of tax claims and revisions thereto
                        (1.3).
11/09/15    SS          Draft memo regarding tax issues (2.3); discuss potential tax      2.60   1,807.00
                        claims with M. Hochenberg (.3).
11/10/15    BK          Create a spreasheet of all the pledgor subsidiaries listed in     1.30    578.50
                        Exhibit B and C of "Pledge of Commercial Tort Claim";
                        cross-check certain facts.
11/10/15    MSH         Discuss summary of claims with S. Severo (.6) and further         1.40   1,155.00
                        review of his draft summary (.8).
11/10/15    SS          Draft memo tax claims issues (2.7); meet with M.                  3.30   2,293.50
                        Hochenberg regarding same (.6).
11/11/15    BK          Cross-check information regarding each of the pledgor             1.60    712.00
                        subsidiaries (1.5); circulate pledgor list to M. Hochenberg
                        and S. Severo (.1).
11/11/15    RMC         Review of memorandum on tax issues.                               1.10   1,017.50
11/11/15    MSH         Review of S. Severo draft memo regarding tax claims issues        1.20     990.00
                        (.8); discuss same with S. Severo (.4).
11/11/15    SS          Draft tax claims issues memo.                                     2.70   1,876.50
11/12/15    RMC         Review of memorandum on tax issues (1.6); confer with M.          2.10   1,942.50
                        Hochenberg and S. Severo regarding same (.5).
11/12/15    MSH         Discuss tax claims memo with R. Corn and S. Severo.               0.50     412.50
11/12/15    SS          Draft memo tax claims issues (1.2); discuss same with R.          1.70   1,181.50
                        Corn and M. Hochenberg (.5).
11/14/15    MSH         Revise memo from S. Severo regarding tax claims.                  2.90   2,392.50
11/14/15    SS          Draft tax claims issues memo.                                     1.20     834.00
11/15/15    MSH         Further review of draft memo regarding tax claims (1.5);          1.80   1,485.00
                        discuss same with S. Severo (.3).
11/15/15    SS          Draft tax claims issues memo (2.4); discuss same with M.          2.70   1,876.50
                        Hochenberg (.3).
11/16/15    RMC         Review of memorandum on tax issues.                               2.40   2,220.00
11/16/15    SS          Review golden creditor tax memo.                                  1.00     495.00
11/16/15    MSH         Further comments to tax claims memo (.9); send memo to S.         1.10     907.50
                        Eggers (.2).
11/17/15    JGL         Review legal memorandum regarding tax claims.                     0.80   1,000.00
11/18/15    SAE         Edit tax memo (.6); email and confer with R. Corn, M.             1.10   1,017.50
                        Hochenberg regarding tax issues (.5).
11/18/15    RMC         Review of memorandum on tax issues (1.2); correspond with         1.70   1,572.50
                        S. Eggers and M. Hochenberg regarding same (.5).
11/18/15    MSH         Initial consideration of bankruptcy team's comments to tax        0.90    742.50
                        claims memo, discuss same with R. Corn and S. Eggers (.5);
                        email to S. Eggers regarding same (.4).
11/19/15    BK          Research forms and other documents that are used by IRS           3.50   1,557.50
                        when assessing and notifying tax deficiency (3.1); several
                        calls with S. Severo regarding same (.2); correspond with S.
                        Severo and M. Hochenberg about research findings (.2).
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TAX
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Date        Attorney    Description                                                       Hours   Amount

11/19/15    RMC         Review of memorandum on tax issues.                                1.20   1,110.00
11/19/15    MSH         Discuss tax claims memo with S. Severo (.3) and S. Eggers          0.40     330.00
                        (.1).
11/19/15    SS          Draft memo tax claims issues (1.8); discuss same with M.           2.30   1,598.50
                        Hochenberg (.3); calls with B. Koh regarding same (.2).
11/20/15    SAE         Email with R. Corn, M. Hochenberg (.1); teleconference             0.20    185.00
                        with S. Sullivan regarding Debtors' objections to tax claims.
                        (.1)
11/20/15    BK          Calls with S. Severo regarding revising sections of the            1.30    578.50
                        memo describing appropriate IRS documents that are used
                        for assessing and notifying tax deficiencies to taxpayers (.2);
                        review the memo regarding same (.9); correspond with R.
                        Corn and M. Hochenberg regarding memo and the revisions
                        (.2).
11/20/15    RMC         Review memorandum on tax issues.                                   0.60    555.00
11/20/15    MTD         Research resources for IRS Manual and Form 5384, 5385,             1.00    250.00
                        and 2504 for B. Koh.
11/20/15    MSH         Review of S. Severo revisions to tax claims memo.                  0.60     495.00
11/20/15    SS          Draft memo tax claims issues.                                      1.70   1,181.50
11/23/15    BK          Confirm the sequence in which the various IRS documents            2.80   1,246.00
                        are sent when there is tax deficiency and the description of
                        each type of document (1.4); revise memo regarding same
                        (1.2); correspond with S. Severo regarding the revised memo
                        (.2).
11/23/15    RMC         Review of memorandum on tax issues.                                1.50   1,387.50
11/23/15    SS          Prepare tax claims memo.                                           0.20     139.00
11/23/15    SS          Review of tax claims issues memo (.2); correspond with B.          0.30     208.50
                        Koh regarding same (.1).
11/24/15    BK          Correspond with S. Severo regarding his comments to the            3.20   1,424.00
                        revised memo (.1); meeting with R. Corn regarding the
                        memo and status of same (.1); revise the tax deficiency
                        memo draft and research audit procedure (1.7); draft
                        appendix and add to memo (.9); draft appendix and add to
                        the memo (.3); correspond with S. Severo regarding the
                        revised memo (.1).
11/24/15    RMC         Review of memorandum on tax issues (.8 ); meeting with B.          0.90    832.50
                        Koh regarding tax deficiency memo (.1).
11/24/15    SS          Review new tax memo regarding golden creditor issue.               0.60    297.00
11/25/15    BK          Revise memo to reflect further comments from S. Severo             1.70    756.50
                        (.9); circulate memo to M. Hochenberg, R. Corn, and S.
                        Severo (.1); calls with S. Severo regarding what to review in
                        the diligence documents and updating the relevant
                        spreadsheets (.2); meeting with R. Corn regarding the memo
                        and diligence documents (.5).
11/25/15    RMC         Review of memorandum on tax issues (.6); meeting with B.           1.10   1,017.50
                        Koh regarding tax memo and diligence (.5).
11/25/15    MSH         Review of revised memo regarding tax claims (.3); various          0.50    412.50
                        emails regarding same (.2).
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TAX
Client/Matter No. 71844.0021

Date         Attorney   Description                                                         Hours         Amount

11/25/15     SS         Draft tax claims issues memo (1.1); calls with B. Koh                 1.30         903.50
                        regarding diligence documents review and spreadsheet (.2).
11/28/15     MSH        Review of supplemental submission (re private letter ruling           1.40        1,155.00
                        request) from PwC.
11/30/15     BK         Prepare affiliated subsidiary spreadsheet for tax returns 2012        0.40         178.00
                        and 2013 (.2); call with S. Severo regarding CEC financial
                        statements and FIN 48 (.2).
11/30/15     SS         Review of financial statements (.1); call with B. Koh                 0.30         208.50
                        regarding same (.2).


Attorney                                                                  Hours             Rate          Amount

JUDY G. LIU                                                                 0.80         1,250.00         1,000.00
RICHARD M. CORN                                                            20.00           925.00        18,500.00
      Total For Partner                                                    20.80                         19,500.00

SCOTT A. EGGERS                                                             1.60          925.00          1,480.00
      Total For Senior Counsel                                              1.60                          1,480.00

BOWON KOH                                                                  18.80          445.00          8,366.00
MALCOLM S. HOCHENBERG                                                      16.50          825.00         13,612.50
SARAH SULLIVAN                                                              1.60          495.00            792.00
STEPHEN SEVERO                                                             31.10          695.00         21,614.50
      Total For Associate                                                  68.00                         44,385.00

MEGAN T. D'ERRICO                                                           1.00          250.00           250.00
     Total For Library                                                      1.00                           250.00


Professional Fees                                                          91.40                     $   65,615.00

Total this Matter                                                                                   $    65,615.00
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CASE STRATEGY
Client/Matter No. 71844.0023


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                    Hours   Amount

11/02/15    SM          Follow up on email from M. Bienenstock regarding                0.40    244.00
                        Committee call issues.
11/05/15    MED         Review S. Eggers email regarding confirmation hearing (.3);     0.70    700.00
                        emails with S. Eggers, R. Cleary and M. Mervis regarding
                        planning (.4).
11/06/15    SAE         Post-Committee call discussion with Proskauer team.             0.20    185.00
11/06/15    SM          Attend post-Committee call debriefing.                          0.20    122.00
11/06/15    JGL         Follow-up discussion after Committee call.                      0.20    250.00
11/06/15    MZ          Discuss next steps with P. Abelson.                             0.20    147.00
11/06/15    MZ          Participate in post-call internal Proskauer meeting.            0.20    147.00
11/06/15    PMA         Confer with Proskauer team regarding post-Committee call        0.40    430.00
                        strategy discussion (.2); confer with M. Zerjal regarding
                        status and strategy (.2).
11/06/15    VI          Confer with M. Bienenstock regarding Committee call             0.30    247.50
                        follow-up.
11/11/15    PMA         Confer with V. Indelicato regarding case strategy.              0.20    215.00
11/12/15    MZ          Discuss case status with M. Bienenstock.                        0.30    220.50
11/13/15    SM          Attend post-call debriefing.                                    0.20    122.00
11/13/15    MZ          Participate in post-Committee call discussion with M.           0.30    220.50
                        Bienenstock, P. Abelson, V. Indelicato, and S. Ma (.2);
                        participate in post-call discussion with P. Abelson (.1).
11/13/15    PMA         Attend post-Committee discussion with Proskauer team            0.30    322.50
                        regarding strategy (.2); Confer with M. Zerjal regarding
                        strategy (.1).
11/13/15    PMA         Confer with H. Denman and V. Indelicato regarding strategy      0.80    860.00
                        and case update.
11/13/15    VI          Confer with P. Abelson regarding Committee call agenda          0.40    330.00
                        (.2); Confer with M. Bienenstock, P. Abelson, M. Zerjal, and
                        S. Ma regarding Committee call follow-up (.2).
11/16/15    MZ          Discuss case status with J. Liu.                                0.30    220.50
11/17/15    JGL         Follow-up discussion regarding Committee call.                  0.10    125.00
11/17/15    MZ          Post-call discussion with Proskauer team.                       0.10     73.50
11/17/15    PMA         Follow-up to bi-weekly Committee meeting with Proskauer         0.10    107.50
                        team.
11/17/15    VI          Meeting with M. Bienenstock, J. Liu, P. Abelson, M. Zerjal,     0.10     82.50
                        and S. Ma regarding Committee call follow-up.
11/19/15    SM          Follow up on various internal emails regarding outstanding      0.10     61.00
                        items.
11/20/15    PMA         Confer with V. Indelicato regarding case strategy (.8);         0.90    967.50
                        Confer with P. Possinger regarding case strategy (.1).
11/23/15    VI          Confer with J. Liu regarding case update.                       0.20    165.00
11/24/15    MZ          Discuss case status with P. Abelson.                            0.10     73.50
11/24/15    PMA         Confer with J. Liu and M. Zerjal regarding case strategy.       0.10    107.50
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CASE STRATEGY
Client/Matter No. 71844.0023

Date         Attorney   Description                                                     Hours        Amount

11/29/15     VI         Telephone conference with M. Zerjal regarding case update.        0.20        165.00
11/30/15     PMA        Confer with V. Indelicato regarding case strategy.                0.70        752.50
11/30/15     VI         Confer with P. Abelson regarding case update.                     0.70        577.50


Attorney                                                               Hours            Rate         Amount

JUDY G. LIU                                                              0.30        1,250.00          375.00
PHILIP M. ABELSON                                                        3.50        1,075.00        3,762.50
       Total For Partner                                                 3.80                        4,137.50

MARK E. DAVIDSON                                                         0.70        1,000.00         700.00
SCOTT A. EGGERS                                                          0.20          925.00         185.00
      Total For Senior Counsel                                           0.90                         885.00

MAJA ZERJAL                                                              1.50         735.00         1,102.50
STEVE MA                                                                 0.90         610.00           549.00
VINCENT INDELICATO                                                       1.90         825.00         1,567.50
      Total For Associate                                                4.30                        3,219.00


Professional Fees                                                        9.00                    $   8,241.50

Total this Matter                                                                               $    8,241.50
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PLEADING AND DOCKET REVIEW
Client/Matter No. 71844.0024


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                  Hours   Amount

11/02/15    AK          Review docket (.1); summarize pleadings for Committee and     0.20     89.00
                        email to S. Ma (.1).
11/02/15    MZ          Review latest docket summaries.                               0.40    294.00
11/03/15    AK          Review docket (.2), and summarize pleadings (.4).             0.60    267.00
11/03/15    SM          Revise docket summaries.                                      0.60    366.00
11/04/15    SM          Revise docket summaries.                                      0.30    183.00
11/05/15    AK          Review docket (.2); prepare a weekly summary for              1.00    445.00
                        Committee (.8).
11/05/15    MG          Review ECF notices and pleadings regarding case               0.70    262.50
                        developments.
11/06/15    SM          Summarize pleadings filed on November 6th (.8); revise        1.30    793.00
                        weekly docket summaries for Committee (.5).
11/09/15    AK          Review docket (.2); summarize for Committee and email to      1.00    445.00
                        S. Ma (.8).
11/09/15    MZ          Review docket summaries.                                      0.30     220.50
11/09/15    MG          Review pleadings and ECF notices.                             0.70     262.50
11/09/15    VI          Analyze Delaware briefing regarding CEC Motion to             1.30   1,072.50
                        Compel.
11/10/15    MED         Review objections/responses to disclosure statement.          0.30     300.00
11/10/15    AK          Review docket (1.0), and summarize pleadings for              2.30   1,023.50
                        Committee (1.3).
11/10/15    SM          Revise docket summaries.                                      0.60     366.00
11/10/15    MZ          Review pleadings filed on 11-10-15.                           1.80   1,323.00
11/10/15    MG          Review pleadings and supplemental fee report.                 1.80     675.00
11/10/15    VI          Analyze pleadings filed on docket for November omnibus        1.50   1,237.50
                        hearing.
11/11/15    AK          Review docket (.7) and summarize same for Committee           1.70    756.50
                        (1.0).
11/11/15    SM          Revise docket summaries.                                      1.60     976.00
11/12/15    MED         Review docket summaries                                       0.40     400.00
11/12/15    AK          Review docket (.2) and summarize same for Committee (.8).     1.00     445.00
11/12/15    SM          Summarize NRF memorandum opinion (1.0); revise docket         2.40   1,464.00
                        summaries (1.0); prepare and finalize docket summaries for
                        distribution to Committee (.4).
11/12/15    VI          Analyze multiple pleadings in preparation for Friday          1.50   1,237.50
                        Committee Call summary.
11/13/15    VI          Analyze CEC memorandum of law in opposition to motion         1.40   1,155.00
                        for partial summary judgment regarding CEC guarantee
                        litigation.
11/16/15    AK          Review docket (.4) and summarize same for Committee           2.50   1,112.50
                        (2.1).
11/16/15    MG          Review docket and pleadings.                                  0.60    225.00
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PLEADING AND DOCKET REVIEW
Client/Matter No. 71844.0024

Date         Attorney   Description                                                    Hours         Amount

11/17/15     AK         Review docket (.2) and summarize same for Committee              1.50         667.50
                        (1.3).
11/17/15     SM         Revise docket summaries.                                         0.50          305.00
11/17/15     MG         Review docket (.2) and pleadings (.7).                           0.90          337.50
11/17/15     VI         Analyze pleadings in advance of 11/17 Committee call.            1.30        1,072.50
11/18/15     AK         Review docket (.2) and summarize same for Committee              1.30          578.50
                        (1.1).
11/18/15     SM         Review docket filings.                                           0.20         122.00
11/19/15     MED        Review S. Ma summary of court hearing.                           0.30         300.00
11/19/15     AK         Review the case docket, summarize the cases and compile a        2.00         890.00
                        list of weekly filings for Committee.
11/19/15     SM         Revise docket summaries.                                         0.70          427.00
11/19/15     MG         Review docket and underlying pleadings.                          0.70          262.50
11/20/15     SM         Summarize docket filings for 11/20 (1.5); finalize weekly        2.50        1,525.00
                        docket summaries (1.0).
11/20/15     VI         Analyze pleadings filed on docket.                               2.70        2,227.50
11/23/15     AK         Review docket (.1) and summarize same for Committee (.1).        0.20           89.00
11/23/15     MG         Review pleadings filed.                                          0.30          112.50
11/24/15     AK         Review docket (.1) and summarize same for Committee (.2).        0.30          133.50
11/24/15     SM         Review docket filings.                                           0.20          122.00
11/24/15     VI         Analyze motions noticed for 12/16 Omnibus Hearing.               0.90          742.50
11/25/15     SM         Finalize docket summaries.                                       0.70          427.00
11/30/15     AK         Review docket (.2) and summarize same for Committee (.3).        0.50          222.50
11/30/15     MG         Review docket and pleadings.                                     1.10          412.50


Attorney                                                              Hours            Rate          Amount

MARK E. DAVIDSON                                                        1.00        1,000.00         1,000.00
      Total For Senior Counsel                                          1.00                         1,000.00

MAJA ZERJAL                                                             2.50         735.00          1,837.50
STEVE MA                                                               11.60         610.00          7,076.00
VINCENT INDELICATO                                                     10.60         825.00          8,745.00
      Total For Associate                                              24.70                        17,658.50

MAGALI GIDDENS                                                          6.80         375.00          2,550.00
     Total For Legal Assistant                                          6.80                         2,550.00

ANNA (ANYA) KREIMERZAK                                                 16.10         445.00          7,164.50
      Total For Law Clerk                                              16.10                         7,164.50


Professional Fees                                                      48.60                    $   28,373.00

Total this Matter                                                                              $    28,373.00
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PLEADING AND DOCKET REVIEW
Client/Matter No. 71844.0024
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COMMUNICATION WITH FINANCIAL ADVISOR AND INVESTMENT BANKER
Client/Matter No. 71844.0025


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                     Hours   Amount

11/02/15    SAE         Telephone conference with R. Klein regarding presentation        1.90   1,757.50
                        for meeting with Examiner (.2); telephone conference with
                        G. Bousquette regarding Examiner meeting (.2); conference
                        call with Proskauer, FTI, and Jefferies regarding preparation
                        for meeting with Examiner (1.5).
11/02/15    MED         Conference call with FTI and Jefferies regarding meeting         1.40   1,400.00
                        with Examiner.
11/02/15    RMC         Call with Proskauer, FTI and Jefferies with respect to           1.50   1,387.50
                        meeting Examiner.
11/02/15    MJB         Conference call with FTI, Jefferies, G. Bousquette, S.           0.80   1,036.00
                        Eggers regarding upcoming meeting with Examiner (partial
                        attendance).
11/02/15    JGL         Conference call with Committee advisors regarding                1.50   1,875.00
                        preparation for meeting with Examiner.
11/02/15    PMA         Teleconference with Proskauer, Jefferies, FTI, and G.            1.50   1,612.50
                        Bousquette regarding meeting with Examiner.
11/03/15    RMC         Follow-up call with tax advisors to discuss tax issues           1.60   1,480.00
                        following meeting with Examiner.
11/03/15    JGL         Teleconference with G. Bousquette regarding fee committee        0.70    875.00
                        supplemental report.
11/04/15    SAE         Email with advisors regarding follow-up on Examiner              0.90    832.50
                        meeting (.4); telephone conference with R. Klein regarding
                        follow-up on Examiner meeting (.3); emails with G.
                        Bousquette regarding Total Rewards (.2).
11/04/15    MED         Review and respond to D'Amico email regarding CIE.               0.20    200.00
11/04/15    JGL         Teleconference with G. Bousquette regarding G.C. Andersen        0.20    250.00
                        fee review.
11/04/15    MZ          Review email from FTI regarding professionals call and           0.30    220.50
                        agenda.
11/04/15    VI          Multiple email correspondences with FTI, Jefferies, and G.       0.20    165.00
                        Bousquette regarding waterfall recovery model.
11/05/15    SAE         Emails with financial advisors regarding T. Shaukat              0.80    740.00
                        deposition preparation (.3); review G. Bousquette questions
                        (.2); telephone conferences with G. Bousquette regarding
                        Total Rewards data (.1); email with financial advisors
                        regarding Las Vegas land issues (.2).
11/05/15    PP          Call with FTI and Jefferies regarding waterfall, scheduling      0.80    820.00
                        and Examiner.
11/05/15    JGL         Attend conference call with Committee professionals              1.10   1,375.00
                        (weekly).
11/05/15    PMA         Attend call with Committee advisors (FTI, Proskauer,             1.10   1,182.50
                        Jefferies, and G. Bousquette) regarding weekly Committee
                        call.
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COMMUNICATION WITH FINANCIAL ADVISOR AND INVESTMENT BANKER
Client/Matter No. 71844.0025

Date        Attorney    Description                                                      Hours   Amount

11/06/15    SAE         Telephone conference with J. Truitt regarding CMBS,               0.90    832.50
                        easement issues (.4); email with R. Klein at Jefferies
                        regarding insolvency theory (.4); emails with J. Truitt
                        regarding Zolfo Cooper (.1).
11/06/15    MED         Review S. Eggers email to financial advisors regarding            0.30    300.00
                        equitization and insolvency (.2); review Jefferies response
                        (.1).
11/06/15    VI          Telephone conference with G. Bousquette regarding plan            0.20    165.00
                        treatment.
11/09/15    ASW         Confer with FTI regarding Examiner interview transcripts.         0.20    147.00
11/09/15    MZ          Discuss marketing process with R. Klein and J. D'Amico.           0.30    220.50
11/09/15    VI          Telephone conference with FTI regarding Committee                 0.30    247.50
                        objection to disclosure statement scheduling motion.
11/10/15    SAE         Attend weekly litigation call (.6); email with J. Truitt          0.80    740.00
                        regarding Zolfo Cooper discussions (.1); Email with J. Truitt
                        regarding Total Rewards, CES (.1).
11/10/15    MED         Attend weekly litigation update call with Committee               0.50    500.00
                        advisors.
11/10/15    ASW         Participate in weekly litigation call with Committee              0.50    367.50
                        advisors.
11/10/15    SM          Follow up on emails from J. Dai (Jefferies) regarding second      0.10     61.00
                        interim fee application.
11/10/15    JGL         Weekly conference call with financial advisors regarding          0.80   1,000.00
                        litigation update (.6); Email correspondence from G.
                        Bousquette regarding Debtors’ third quarter results (.2).
11/10/15    MZ          Participate on litigation update call with Proskauer team,        0.60    441.00
                        FTI, Jefferies and G. Bousquette.
11/10/15    PMA         Attend call with FTI, Proskauer, Jefferies, and G.                0.60    645.00
                        Bousquette regarding litigation update call.
11/10/15    VI          Telephone conference with FTI, Jefferies, and G. Bousquette       0.60    495.00
                        regarding litigation update.
11/11/15    SM          Follow up on email from J. French (FTI) regarding                 0.20    122.00
                        arguments made in objections to disclosure statement
                        hearing motion.
11/11/15    VI          Telephone conference with G. Bousquette regarding case            0.50    412.50
                        update.
11/13/15    PMA         Teleconference with G. Bousquette regarding Rock                  0.20    215.00
                        transaction.
11/16/15    SAE         Telephone conference with J. Truitt regarding Las Vegas           0.50    462.50
                        parcels.
11/16/15    PP          Call with Jefferies and FTI regarding plan issues.                0.80    820.00
11/16/15    SM          Email orders entered regarding First Interim Fee                  0.10     61.00
                        Applications to G.C. Andersen and FTI.
11/16/15    MJB         Conference call with financial advisors, S. Star, R. Klein, G.    0.60    777.00
                        Bousquette, Proskauer regarding questions for Committee at
                        next meeting (partial attendance).
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COMMUNICATION WITH FINANCIAL ADVISOR AND INVESTMENT BANKER
Client/Matter No. 71844.0025

Date        Attorney    Description                                                       Hours   Amount

11/16/15    JGL         Conference call with financial advisors weekly meeting (.8);       1.60   2,000.00
                        Review FTI analysis regarding plan value waterfall (.8).
11/16/15    MZ          Review meeting materials (.5) and participate on weekly            1.30    955.50
                        professionals' call with Jefferies, FTI, G. Bousquette and
                        Proskauer team (.8).
11/16/15    PMA         Weekly advisor call with Proskauer, FTI, Jefferies, and G.         0.90    967.50
                        Bousquette regarding Weekly advisor call (.8); Confer with
                        V. Indelicato regarding weekly advisor call (.1).
11/16/15    VI          Telephone conference with FTI, Jefferies, and G. Bousquette        0.80    660.00
                        regarding weekly case update.
11/17/15    SAE         Attend weekly litigation call with Proskauer, Jefferies, FTI.      1.30   1,202.50
11/17/15    MED         Review FTI email regarding topics for weekly litigation            1.30   1,300.00
                        update call (.1); email to S. Eggers, J. Liu, P. Abelson and
                        V. Indelicato regarding raising trial/hearing preparation on
                        call (.2); review S. Eggers email to financial advisors
                        regarding same (.1); attend weekly litigation conference call
                        with financial advisors (.9) (partial attendance).
11/17/15    JGL         Attend weekly litigation update call with FTI/Jefferies/G.C.       1.30   1,625.00
                        Andersen.
11/17/15    MZ          Participate on litigation update call with Jefferies, FTI, G.C.    1.30    955.50
                        Andersen and Proskauer team.
11/17/15    PMA         Attend weekly litigation call with Proskauer, FTI, Jefferies,      1.30   1,397.50
                        and G. Bousquette.
11/17/15    VI          Attend telephone conference with FTI, Jefferies, and G.            1.30   1,072.50
                        Bousquette regarding weekly litigation update.
11/19/15    SAE         Telephone conference with R. Klein of Jefferies regarding          0.30    277.50
                        appraisals (.1); review G. Bousquette emails regarding same
                        (.1); emails with G. Bousquette regarding T. Shaukat
                        deposition (.2).
11/19/15    MED         Review G. Bousquette email regarding T. Shaukat                    0.20    200.00
                        testimony.
11/19/15    VI          Multiple email correspondences with FTI, Jefferies, and G.         0.20    165.00
                        Bousquette regarding Friday Committee Call.
11/20/15    SAE         Total Rewards call with FTI, Jefferies (1.6); teleconference       1.90   1,757.50
                        with S. Star at FTI regarding meeting with Examiner (.1);
                        teleconference with J. Krasne at FTI regarding Total
                        Rewards (.2).
11/20/15    MED         Review email from J. Truitt and attached real estate form          2.40   2,400.00
                        Zolfo Cooper (.3); review S. Eggers email and attached FTI
                        update regarding Las Vegas real estate (.3); Review FTI's
                        Total Rewards discussion deck (.2) ; attend conference call
                        with FTI regarding Total Rewards licensing and damages
                        issues (1.6).
11/20/15    SM          Attend call with FTI, Jefferies, G.C. Andersen regarding           1.60    976.00
                        Total Rewards.
11/20/15    JLA         Call with S. Eggers, J. Liu, Jefferies, FTI, and others            1.60    976.00
                        regarding valuation of the Total Rewards Program.
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COMMUNICATION WITH FINANCIAL ADVISOR AND INVESTMENT BANKER
Client/Matter No. 71844.0025

Date        Attorney    Description                                                     Hours   Amount

11/20/15    CT          Conference call with FTI regarding causes of action              1.60   1,176.00
                        involving Total Rewards.
11/20/15    JGL         Conference call with Committee advisors regarding Total          1.60   2,000.00
                        Rewards.
11/20/15    PMA         Attend call with Proskauer, FTI, G. Bousquette, and              0.70    752.50
                        Jefferies regarding Total Rewards (partial attendance).
11/23/15    VI          Multiple email correspondences with FTI, Jefferies, and G.       0.10     82.50
                        Bousquette regarding Tuesday call agenda.
11/24/15    SAE         Attend weekly litigation call with FTI, Jefferies and G.C.       1.90   1,757.50
                        Andersen (.9); telephone conference with J. French, J. Truitt
                        at FTI regarding Total Rewards issues (1.0).
11/24/15    MED         Review FTI email regarding agenda (.1); attend weekly            1.30   1,300.00
                        litigation update call with FTI, Jefferies, and G.C. Andersen
                        (.9); review and respond to FTI email regarding Total
                        Rewards royalty analysis (.3).
11/24/15    ASW         Attend weekly litigation call.                                   0.90     661.50
11/24/15    JGL         Attend weekly litigation call with Committee advisors (FTI,      2.00   2,500.00
                        Jefferies, G.C. Andersen, Proskauer) (partial) (.5); Review
                        draft documents from Committee advisors regarding
                        Examiner meeting (1.5).
11/24/15    PMA         Attend weekly litigation update call with Proskauer, FTI,        0.90    967.50
                        Jefferies, and G. Bousquette.
11/25/15    SAE         Conference call with FTI, Jefferies, and G. Bousquette           1.00    925.00
                        regarding Total Rewards analysis.
11/25/15    MED         Review FTI email and attached slides for Total Rewards           1.30   1,300.00
                        royalty presentation to Examiner (.3); conference call with
                        financial advisors and Proskauer team regarding draft slides
                        (1.0).
11/25/15    SM          Follow up on FTI email regarding fee statements.                 0.20    122.00
11/25/15    JLA         Call with S. Eggers, FTI, Jefferies, and others regarding the    1.00    610.00
                        value of the Total Rewards Program.
11/25/15    CT          Conference call with FTI regarding Total Rewards.                1.00     735.00
11/25/15    PMA         Attend call with Proskauer, FTI, Jefferies, and G.               1.00   1,075.00
                        Bousquette regarding Total Rewards.
11/25/15    VI          Review FTI email correspondence regarding meeting                0.30    247.50
                        update.
11/27/15    JGL         Review lengthy email from S. Star regarding meeting with         0.20    250.00
                        Second Lien advisors.
11/30/15    MED         Review emails regarding advisors call.                           0.20    200.00
11/30/15    PP          Call with Committee professionals regarding weekly update.       0.50    512.50
11/30/15    MJB         Conference call with FTI and Jefferies regarding Committee       0.50    647.50
                        meeting, Second Lien requests, Examiner meeting, and and
                        weekly update.
11/30/15    JGL         Weekly conference call with Committee advisors regarding         0.50    625.00
                        upcoming meetings.
11/30/15    MZ          Participate in professionals' call with Proskauer Team,          0.50    367.50
                        Jefferies, FTI and G. Bousquette.
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COMMUNICATION WITH FINANCIAL ADVISOR AND INVESTMENT BANKER
Client/Matter No. 71844.0025

Date         Attorney   Description                                                      Hours         Amount

11/30/15     PMA        Confer with Committee Advisors (FTI, Jefferies, Proskauer,         0.50         537.50
                        and G. Bousquette) regarding case update.
11/30/15     VI         Telephone conference with FTI, Jefferies, and G. Bousquette        0.50         412.50
                        regarding weekly case update.


Attorney                                                               Hours             Rate          Amount

JUDY G. LIU                                                             11.50         1,250.00        14,375.00
MARTIN J. BIENENSTOCK                                                    1.90         1,295.00         2,460.50
PAUL POSSINGER                                                           2.10         1,025.00         2,152.50
PHILIP M. ABELSON                                                        8.70         1,075.00         9,352.50
RICHARD M. CORN                                                          3.10           925.00         2,867.50
       Total For Partner                                                27.30                         31,208.00

MARK E. DAVIDSON                                                         9.10         1,000.00         9,100.00
SCOTT A. EGGERS                                                         12.20           925.00        11,285.00
      Total For Senior Counsel                                          21.30                         20,385.00

ANDREW S. WELLIN                                                         1.60          735.00          1,176.00
CHRIS THEODORIDIS                                                        2.60          735.00          1,911.00
JACKI L. ANDERSON                                                        2.60          610.00          1,586.00
MAJA ZERJAL                                                              4.30          735.00          3,160.50
STEVE MA                                                                 2.20          610.00          1,342.00
VINCENT INDELICATO                                                       5.00          825.00          4,125.00
       Total For Associate                                              18.30                         13,300.50


Professional Fees                                                       66.90                     $   64,893.50

Total this Matter                                                                                $    64,893.50
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COMMUNICATION WITH DEBTOR
Client/Matter No. 71844.0026


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                   Hours   Amount

11/05/15    VI          Multiple email correspondences and telephone conferences       0.80    660.00
                        with Kirkland regarding case management procedures (.5);
                        analyze case management procedures regarding Debtors'
                        proposed objection deadline (.2); confer with P. Abelson
                        regarding same (.1).
11/06/15    RMC         Discussion of current tax status with Kirkland.                0.40    370.00
11/06/15    MSH         Call with Kirkland, FTI and R. Corn regarding tax updates      0.40    330.00
                        on transaction.
11/09/15    VI          Telephone conference with Kirkland regarding case update.      0.50    412.50
11/11/15    VI          Multiple email correspondences with Kirkland regarding         0.20    165.00
                        lease assignment motion.
11/12/15    PMA         Teleconference with J. Graham regarding NRF decision.          0.10    107.50
11/13/15    MJB         Teleconference with D. Seligman regarding plan issues (.3);    0.50    647.50
                        Teleconference with D. Seligman to follow up on open plan
                        issues (.2).
11/16/15    MJB         Teleconference with M. Beilinson regarding plan variations.    0.70    906.50
11/16/15    VI          Multiple telephone conferences with Kirkland regarding         0.60    495.00
                        plan issues.
11/17/15    VI          Telephone conference with Kirkland regarding 11/18             0.20    165.00
                        Omnibus Hearing.
11/18/15    VI          Telephone conference with J. Graham regarding omnibus          0.20    165.00
                        hearing status.
11/19/15    MJB         Draft and compile, with Committee comments, email to M.        1.20   1,554.00
                        Rowan and J. Safferstein regarding plan.
11/20/15    RMC         Call with Kirkland to discuss tax structure.                   0.50    462.50
11/20/15    MSH         Call with Kirkland, FTI and R. Corn regarding PLR request      0.50    412.50
                        developments.
11/23/15    MJB         Emails with J. Saferstein regarding meeting with M. Rowan      0.40    518.00
                        (.3) and emails with V. Indelicato regarding same (.1).
11/24/15    SM          Call with C. Hayes regarding late claim filing motion.         0.20    122.00
11/30/15    VI          Multiple email correspondences with J. Graham regarding        0.50    412.50
                        lease rejection motion (.2); Review lease rejection issues
                        (.3).
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COMMUNICATION WITH DEBTOR
Client/Matter No. 71844.0026



Attorney                                          Hours       Rate        Amount

MARTIN J. BIENENSTOCK                               2.80   1,295.00       3,626.00
PHILIP M. ABELSON                                   0.10   1,075.00         107.50
RICHARD M. CORN                                     0.90     925.00         832.50
       Total For Partner                            3.80                  4,566.00

MALCOLM S. HOCHENBERG                               0.90    825.00          742.50
STEVE MA                                            0.20    610.00          122.00
VINCENT INDELICATO                                  3.00    825.00        2,475.00
      Total For Associate                           4.10                  3,339.50


Professional Fees                                   7.90              $   7,905.50

Total this Matter                                                     $   7,905.50
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LEGAL RESEARCH AND ANALYSIS
Client/Matter No. 71844.0028


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                                         Hours         Amount

11/02/15     CT         Research jurisprudence regarding ability to file multiple             4.20        3,087.00
                        objections to the same claim.
11/03/15     CT         Perform supplemental research on jurisprudence regarding              2.60        1,911.00
                        whether multiple objections can be filed on the same claim.
11/12/15     MZ         Research substantive consolidation in 7th circuit (2.5); Draft        3.00        2,205.00
                        email regarding same (.5).
11/13/15     MZ         Review additional substantive consolidation decisions from            2.00        1,470.00
                        7th Circuit.
11/23/15     MZ         Research supreme court cases on fiduciary duties and                  3.50        2,572.50
                        bankruptcy code Section 105 power of the bankruptcy
                        courts.
11/29/15     PMA        Legal research regarding postpetition interest issues.                1.50        1,612.50


Attorney                                                                  Hours             Rate          Amount

PHILIP M. ABELSON                                                           1.50         1,075.00         1,612.50
       Total For Partner                                                    1.50                          1,612.50

CHRIS THEODORIDIS                                                           6.80          735.00          4,998.00
MAJA ZERJAL                                                                 8.50          735.00          6,247.50
       Total For Associate                                                 15.30                         11,245.50


Professional Fees                                                          16.80                     $   12,858.00

Total this Matter                                                                                   $    12,858.00
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PREPARATION OF PLEADINGS
Client/Matter No. 71844.0029


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                              Hours        Amount

11/09/15     SM         Prepare objection to FERG and LLTQ administrative          0.40        244.00
                        expense motion.
11/10/15     VI         Revise and finalize Committee pleadings for filing.        2.00       1,650.00
11/29/15     NP         Mark cites in reply brief for inclusion in Table of        2.80         840.00
                        Authorities.


Attorney                                                               Hours     Rate         Amount

STEVE MA                                                                 0.40   610.00          244.00
VINCENT INDELICATO                                                       2.00   825.00        1,650.00
      Total For Associate                                                2.40                 1,894.00

NATASHA PETROV                                                           2.80   300.00         840.00
     Total For Legal Assistant                                           2.80                  840.00


Professional Fees                                                        5.20             $   2,734.00

Total this Matter                                                                        $    2,734.00
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HEARINGS AND COURT MATTERS
Client/Matter No. 71844.0030


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                     Hours   Amount

11/02/15    PP          Attend hearing to authorize sale of Tunica property.             0.80     820.00
11/12/15    PP          Review memorandum opinion regarding NRF stay issues.             0.70     717.50
11/12/15    JGL         Review court ruling on NRF withdrawal liability action           1.00   1,250.00
                        against nondebtors.
11/16/15    NP          Compile binder of Proskauer first interim fee application for    2.70    810.00
                        11/18/15 omnibus hearing (.6); begin compiling hearing
                        binders (2.1).
11/16/15    SM          Confer with N. Petrov regarding preparation of hearing           0.10     61.00
                        binders for 11/18 hearing.
11/16/15    VI          Review pleadings set for 11/18 Hearing Agenda.                   0.70    577.50
11/17/15    SAE         Emails with M. Davidson, Proskauer, Jefferies, FTI               0.20    185.00
                        regarding hearing preparation.
11/17/15    NP          Finalize hearing binders (.8); revise hearing binders per        2.40    720.00
                        amended agenda (.7); prepare and download hearing
                        materials on iPad for P. Possinger (.9).
11/17/15    SM          Prepare summary of matters to be heard at 11/18 hearing to       1.10    671.00
                        brief P. Abelson and P. Possinger.
11/17/15    PMA         Review email correspondence from V. Indelicato regarding         0.40    430.00
                        11/18 hearing (.1); Review 11/18 hearing agenda (.1);
                        Preparation for November 18 hearing (.2).
11/18/15    PP          Review pleadings in preparation for omnibus hearing (.9);        3.40   3,485.00
                        discuss standing motion briefing and other issues with P.
                        Abelson (.5); revise order regarding same (.2); attend
                        omnibus hearing (1.8).
11/18/15    NP          Compile additional hearing materials for S. Ma (.4); research    1.00    300.00
                        regarding minute order form (.3); draft amended scheduling
                        order for P. Possinger (.3).
11/18/15    SM          Attend omnibus hearing (11/18) (with respect to first interim    2.70   1,647.00
                        fee application matters) (1.2); Brief M. Bienenstock and P.
                        Possinger on first interim fee application matter to be heard
                        at 11/18 hearing (.5); Prepare documents for hearing
                        (proposed order regarding first interim fee application with
                        redline, standing motion briefing schedule, etc.) (1.0).
11/18/15    MJB         Prepare for omnibus hearing and conferences with S. Ma, V.       3.10   4,014.50
                        Indelicato, and P. Possinger (1.3); attend omnibus hearing
                        regarding disclosure statement scheduling motion, Kirkland
                        retention, Proskauer fees, Hilton, and NRF (1.8).
11/18/15    MZ          Review report from 11/18 hearing (.2) and M. Bienenstock         0.40    294.00
                        email regarding same (.1); Discuss same with P. Abelson
                        (.1).
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HEARINGS AND COURT MATTERS
Client/Matter No. 71844.0030

Date         Attorney   Description                                                     Hours         Amount

11/18/15     PMA        Confer with P. Possinger regarding November 18 hearing            1.20        1,290.00
                        (.5); Confer with V. Indelicato regarding November 18
                        hearing (.3); Confer with S. Ma regarding November 18
                        hearing (.1); Confer with J. Liu regarding November 18
                        hearing (.1); Confer with M. Zerjal regarding November 18
                        hearing (.1); Review Reorg Research summary of November
                        18 hearing (.1).
11/18/15     VI         Confer with P. Possinger regarding omnibus hearing issues         2.10        1,732.50
                        (.3); Attend November Omnibus Hearing (1.8).
11/18/15     JW         Attend and take notes on omnibus hearing with P. Possinger        2.00         890.00
                        (1.7); discuss case details with P. Possinger (.3).
11/19/15     JGL        Discussion with P. Abelson regarding hearing on 11/18.            0.20         250.00
11/19/15     PMA        Confer with M. Bienenstock regarding 11/18 hearing (.1);          0.30         322.50
                        Confer with J. Liu regarding 11/18 hearing (.2).
11/20/15     JGL        Review transcript of omnibus hearing.                             1.10        1,375.00
11/21/15     PMA        Review 11/18 hearing transcript.                                  0.80          860.00


Attorney                                                               Hours            Rate          Amount

JUDY G. LIU                                                             2.30         1,250.00         2,875.00
MARTIN J. BIENENSTOCK                                                   3.10         1,295.00         4,014.50
PAUL POSSINGER                                                          4.90         1,025.00         5,022.50
PHILIP M. ABELSON                                                       2.70         1,075.00         2,902.50
       Total For Partner                                               13.00                         14,814.50

SCOTT A. EGGERS                                                         0.20          925.00           185.00
      Total For Senior Counsel                                          0.20                           185.00

JERAMY WEBB                                                             2.00          445.00            890.00
MAJA ZERJAL                                                             0.40          735.00            294.00
STEVE MA                                                                3.90          610.00          2,379.00
VINCENT INDELICATO                                                      2.80          825.00          2,310.00
      Total For Associate                                               9.10                          5,873.00

NATASHA PETROV                                                          6.10          300.00          1,830.00
     Total For Legal Assistant                                          6.10                          1,830.00


Professional Fees                                                      28.40                     $   22,702.50

Total this Matter                                                                               $    22,702.50
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COMMUNICATION WITH EXAMINER
Client/Matter No. 71844.0033


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                        Hours   Amount

11/02/15    SAE         Emails with Examiner's counsel regarding meeting agenda,            0.50    462.50
                        purpose, attendees.
11/02/15    MED         Review S. Eggers email regarding meeting with Winston               1.20   1,200.00
                        Strawn (.2); review revised Atlantic City conference center
                        deck (.3); review revised Showboat closure spreadsheet (.2);
                        review Jefferies deck regarding CIE (.3); review revised FTI
                        deck regarding Atlantic City (.2).
11/02/15    VI          Analyze materials in advance of Examiner meeting.                   0.70     577.50
11/03/15    SAE         Meeting with Examiner's counsel, Alvarez & Marsal (3.5);            5.90   5,457.50
                        emails regarding various documents from production and
                        presentations to Examiner (.8); review materials in
                        preparation for meeting (1.6).
11/03/15    MED         Review J. Truitt email and spreadsheet (.2); attend meeting         4.10   4,100.00
                        at Winston regarding Examiner's investigation, golden
                        creditor, equitization, Atlantic City and CIE issues (3.5); pull
                        presentation regarding Showboat and send to S. Eggers (.3);
                        review S. Eggers email and attachments regarding Showboat
                        (.1).
11/03/15    RMC         Call with Examiner's counsel regarding tax issues                   0.40    370.00
                        equitization and other topics.
11/03/15    MJB         Meet with Examiner's professionals (partial attendance)             5.60   7,252.00
                        (1.8); review Examiner deposition transcripts (3.8).
11/03/15    JGL         Meeting with Examiner's professionals (partial attendance)          3.80   4,750.00
                        (3.0); teleconference with P. Abelson regarding Examiner
                        meeting (.8).
11/03/15    PMA         Confer with J. Liu regarding meeting with Examiner (.8).            0.80     860.00
11/04/15    SAE         Telephone conference with D. Neier regarding follow up              1.50   1,387.50
                        from meeting with Examiner (.3); telephone conference with
                        D. McGuire regarding same (.2); review email from D.
                        Neier regarding CMBS offering memo (.2); review
                        document from M. Davidson (.3) and prepare email
                        forwarding to Examiner (.1); confer with P. Abelson
                        regarding meeting with Examiner (.2); Telephone
                        conference with P. Abelson regarding meeting with
                        Examiner (.2).
11/04/15    MED         Retrieve and review CIE documents (.6); email document              0.90    900.00
                        regarding social gaming to S. Eggers (.2); review S. Eggers
                        email to Winston regarding same (.1).
11/04/15    PMA         Confer with S. Eggers regarding meeting with Examiner.              0.20    215.00
11/05/15    SAE         Review email from G. Mastoris regarding T. Shaukat (.1);            0.50    462.50
                        email to G. Mastoris (.2); Review Examiner's report (.2).
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COMMUNICATION WITH EXAMINER
Client/Matter No. 71844.0033

Date        Attorney    Description                                                     Hours   Amount

11/05/15    MED         Review Examiner's fifth status report (.2); review email from    1.10   1,100.00
                        G. Mastoris regarding Total Rewards and Showboat
                        diversion issues (.2); review S. Eggers, G. Bousquette and R.
                        Klein emails regarding same (.4); review S. Eggers email
                        regarding schedule for Examiner to send document request
                        regarding easements on properties (.3).
11/05/15    JJM         Review Examiner status report.                                   0.20     240.00
11/05/15    PP          Review emails from M. Bienenstock regarding updates on           1.10   1,127.50
                        Examiner, scheduling, discussions with Debtor regarding
                        scheduling (.5); Review fifth Examiner report (.6).
11/05/15    MZ          Review Examiner's report.                                        0.40    294.00
11/05/15    PMA         Review Examiner’s fifth interim report.                          0.20    215.00
11/06/15    SAE         Emails with G. Mastoris regarding Examiner interviews.           0.20    185.00
11/06/15    MED         Review J. Freedman email regarding interview schedule (.1);      0.70    700.00
                        review Jefferies suggestions for Total Rewards questions
                        (.4); review S. Eggers email to Winston regarding same (.2).
11/06/15    JGL         Review Examiner interim report.                                  0.20     250.00
11/09/15    SAE         Emails with Examiner counsel regarding call with Examiner        1.30   1,202.50
                        (.2); prepare for call with Examiner (.2); call with G.
                        Mastoris, Alvarez & Marsal regarding witness interview
                        (.9).
11/09/15    MED         Conference call with Winston and financial advisors              0.70    700.00
                        regarding Total Rewards related issues (.6); follow up
                        conference with S. Eggers regarding same (.1)
11/12/15    VI          Multiple email correspondences with S. Egger and M.              0.20    165.00
                        Bienenstock regarding Examiner report.
11/13/15    MED         Review J. Freedman email regarding interview schedule.           0.10    100.00
11/16/15    PMA         Review email correspondence from M. Bienenstock                  0.10    107.50
                        regarding Examiner issues.
11/16/15    VI          Review multiple M. Bienenstock email correspondences             0.20    165.00
                        regarding Examiner meeting.
11/17/15    VI          Review multiple email correspondences with Winston               0.10     82.50
                        regarding Examiner meeting.
11/19/15    SM          Prepare arrangements for meeting with Examiner on                0.30    183.00
                        December 3rd.
11/19/15    VI          Review M. Bienenstock email correspondence regarding             0.10     82.50
                        Examiner meeting.
11/20/15    MED         Review Winston email regarding interview schedule.               0.10    100.00
11/20/15    JGL         Review email correspondence from V. Indelicato regarding         0.20    250.00
                        meeting with Examiner.
11/20/15    VI          Email correspondences with Winston regarding Examiner            0.20    165.00
                        meeting schedule.
11/23/15    SM          Setup logistics for Examiner Meeting (Dec. 3) at Winston &       0.70    427.00
                        Strawn.
11/23/15    JGL         Review email correspondence regarding Examiner meeting,          0.20    250.00
                        from M. Bienenstock, V. Indelicato.
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COMMUNICATION WITH EXAMINER
Client/Matter No. 71844.0033

Date         Attorney   Description                                                      Hours         Amount

11/23/15     VI         Email correspondence with Winston regarding Examiner               0.10          82.50
                        meeting scheduling.
11/24/15     PMA        Confer with V. Indelicato regarding Examiner meeting.              0.10         107.50
11/27/15     MED        Review J. Freedman email regarding interview schedule.             0.10         100.00
11/30/15     MED        Review Winston emails regarding interview transcripts (.2);        0.80         800.00
                        skim transcripts (.6).


Attorney                                                                Hours            Rate          Amount

JEFF J. MARWIL                                                            0.20        1,200.00           240.00
JUDY G. LIU                                                               4.40        1,250.00         5,500.00
MARTIN J. BIENENSTOCK                                                     5.60        1,295.00         7,252.00
PAUL POSSINGER                                                            1.10        1,025.00         1,127.50
PHILIP M. ABELSON                                                         1.40        1,075.00         1,505.00
RICHARD M. CORN                                                           0.40          925.00           370.00
        Total For Partner                                                13.10                        15,994.50

MARK E. DAVIDSON                                                          9.80        1,000.00         9,800.00
SCOTT A. EGGERS                                                           9.90          925.00         9,157.50
      Total For Senior Counsel                                           19.70                        18,957.50

MAJA ZERJAL                                                               0.40         735.00            294.00
STEVE MA                                                                  1.00         610.00            610.00
VINCENT INDELICATO                                                        1.60         825.00          1,320.00
      Total For Associate                                                 3.00                         2,224.00


Professional Fees                                                        35.80                    $   37,176.00

Total this Matter                                                                                $    37,176.00
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COMMUNICATION WITH SECOND LIEN COMMITTEE
Client/Matter No. 71844.0034


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                                     Hours        Amount

11/05/15     MJB        Teleconference with B. Bennett regarding scheduling motion        0.30        388.50
                        for disclosure statement, Examiner issues, and next steps.
11/10/15     SAE        Telephone call with J. Master at Jones Day regarding Zolfo        0.20        185.00
                        Cooper discussions.
11/13/15     SM         Follow up on email from Jones Day regarding interim fee           0.20        122.00
                        application objection deadline.
11/16/15     PMA        Confer with S. Levinson regarding case updates, including         0.40        430.00
                        Baltimore Horseshoe and Examiner.
11/19/15     SAE        Telephone conference with J. Mester of Jones Day regarding        0.20        185.00
                        investigation subjects.


Attorney                                                              Hours             Rate         Amount

MARTIN J. BIENENSTOCK                                                   0.30         1,295.00         388.50
PHILIP M. ABELSON                                                       0.40         1,075.00         430.00
       Total For Partner                                                0.70                          818.50

SCOTT A. EGGERS                                                         0.40          925.00          370.00
      Total For Senior Counsel                                          0.40                          370.00

STEVE MA                                                                0.20          610.00          122.00
      Total For Associate                                               0.20                          122.00


Professional Fees                                                       1.30                     $   1,310.50

Total this Matter                                                                               $    1,310.50
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DISBURSEMENTS
Client/Matter No. 71844.0036


For Charges and Disbursements

Date         Timekeeper                Type             Description     Amount
11/02/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $2.60
11/02/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $1.00
11/02/2015   Scott A. Eggers     REPRODUCTION   REPRODUCTION              $2.60
11/03/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $1.10
11/03/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $0.10
11/03/2015   Scott A. Eggers     REPRODUCTION   REPRODUCTION              $1.10
11/04/2015   Steve MA            REPRODUCTION   REPRODUCTION              $0.40
11/04/2015   Magali Giddens      REPRODUCTION   REPRODUCTION              $1.70
11/04/2015   Magali Giddens      REPRODUCTION   REPRODUCTION              $8.90
11/05/2015   Steve MA            REPRODUCTION   REPRODUCTION             $11.90
11/05/2015   Mark Carpenter      REPRODUCTION   REPRODUCTION              $0.30
11/05/2015   Mark Carpenter      REPRODUCTION   REPRODUCTION              $0.40
11/05/2015   Mark Carpenter      REPRODUCTION   REPRODUCTION             $15.90
11/05/2015   Mark Carpenter      REPRODUCTION   REPRODUCTION              $0.70
11/05/2015   Mark Carpenter      REPRODUCTION   REPRODUCTION              $1.50
11/05/2015   Mark Carpenter      REPRODUCTION   REPRODUCTION              $2.50
11/05/2015   Mark Carpenter      REPRODUCTION   REPRODUCTION              $0.50
11/05/2015   Mark Carpenter      REPRODUCTION   REPRODUCTION              $1.60
11/05/2015   Mark Carpenter      REPRODUCTION   REPRODUCTION              $1.50
11/05/2015   Mark Carpenter      REPRODUCTION   REPRODUCTION              $1.60
11/05/2015   Mark Carpenter      REPRODUCTION   REPRODUCTION              $1.90
11/05/2015   Mark Carpenter      REPRODUCTION   REPRODUCTION              $1.90
11/05/2015   Mark Carpenter      REPRODUCTION   REPRODUCTION              $1.60
11/05/2015   Mark Carpenter      REPRODUCTION   REPRODUCTION              $1.60
11/05/2015   Mark Carpenter      REPRODUCTION   REPRODUCTION              $1.60
11/05/2015   Mark Carpenter      REPRODUCTION   REPRODUCTION              $1.00
11/05/2015   Mark Carpenter      REPRODUCTION   REPRODUCTION              $0.70
11/05/2015   Mark Carpenter      REPRODUCTION   REPRODUCTION              $1.50
11/05/2015   Mark Carpenter      REPRODUCTION   REPRODUCTION              $1.50
11/05/2015   Mark Carpenter      REPRODUCTION   REPRODUCTION              $1.60
11/05/2015   Mark Carpenter      REPRODUCTION   REPRODUCTION              $0.70
11/05/2015   Mark Carpenter      REPRODUCTION   REPRODUCTION              $1.60
11/05/2015   Mark Carpenter      REPRODUCTION   REPRODUCTION              $0.70
11/05/2015   Mark Carpenter      REPRODUCTION   REPRODUCTION              $0.70
11/05/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION             $11.50
11/06/2015   Steve MA            REPRODUCTION   REPRODUCTION              $9.60
11/06/2015   Steve MA            REPRODUCTION   REPRODUCTION              $0.10
11/09/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $0.10
11/09/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $0.10
11/09/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $4.30
11/09/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $0.70
11/09/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $0.20
11/09/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $4.30
11/09/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $1.50
11/09/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $1.50
11/09/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $0.20
11/09/2015   Michele M. Reetz    REPRODUCTION   REPRODUCTION              $0.70
11/10/2015   Mark Carpenter      REPRODUCTION   REPRODUCTION              $0.30
11/10/2015   Magali Giddens      REPRODUCTION   REPRODUCTION              $0.70
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DISBURSEMENTS
Client/Matter No. 71844.0036

Date         Timekeeper                Type             Description     Amount
11/10/2015   Magali Giddens      REPRODUCTION   REPRODUCTION              $0.70
11/10/2015   Magali Giddens      REPRODUCTION   REPRODUCTION              $0.40
11/10/2015   Magali Giddens      REPRODUCTION   REPRODUCTION              $0.60
11/10/2015   Mark Carpenter      REPRODUCTION   REPRODUCTION              $0.30
11/10/2015   Michele M. Reetz    REPRODUCTION   REPRODUCTION              $1.70
11/10/2015   Michele M. Reetz    REPRODUCTION   REPRODUCTION              $0.20
11/10/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $0.60
11/10/2015   Michele M. Reetz    REPRODUCTION   REPRODUCTION              $1.00
11/10/2015   Michele M. Reetz    REPRODUCTION   REPRODUCTION              $0.70
11/11/2015   Richard M. Corn     REPRODUCTION   REPRODUCTION              $0.50
11/11/2015   Mark Carpenter      REPRODUCTION   REPRODUCTION              $0.30
11/11/2015   Mark Carpenter      REPRODUCTION   REPRODUCTION              $0.10
11/11/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $2.20
11/11/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $0.60
11/11/2015   Michele M. Reetz    REPRODUCTION   REPRODUCTION              $1.20
11/11/2015   Michele M. Reetz    REPRODUCTION   REPRODUCTION              $0.30
11/12/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $0.50
11/12/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $3.40
11/12/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $1.20
11/12/2015   Steve MA            REPRODUCTION   REPRODUCTION              $8.40
11/12/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $0.50
11/12/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $0.10
11/12/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $0.40
11/12/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $0.30
11/12/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $0.40
11/12/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $0.50
11/12/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $0.60
11/12/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $0.60
11/12/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $0.60
11/16/2015   Magali Giddens      REPRODUCTION   REPRODUCTION              $1.50
11/16/2015   Evelyn Rodriguez    REPRODUCTION   REPRODUCTION              $2.50
11/16/2015   Evelyn Rodriguez    REPRODUCTION   REPRODUCTION             $17.00
11/16/2015   Evelyn Rodriguez    REPRODUCTION   REPRODUCTION             $11.00
11/16/2015   Evelyn Rodriguez    REPRODUCTION   REPRODUCTION              $2.00
11/16/2015   Evelyn Rodriguez    REPRODUCTION   REPRODUCTION              $1.00
11/16/2015   Evelyn Rodriguez    REPRODUCTION   REPRODUCTION              $2.00
11/16/2015   Evelyn Rodriguez    REPRODUCTION   REPRODUCTION              $1.00
11/16/2015   Daniel Desatnik     REPRODUCTION   REPRODUCTION              $4.60
11/16/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $0.60
11/16/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $3.80
11/16/2015   Maja Zerjal         REPRODUCTION   REPRODUCTION              $2.20
11/16/2015   Maja Zerjal         REPRODUCTION   REPRODUCTION              $3.30
11/16/2015   Maja Zerjal         REPRODUCTION   REPRODUCTION              $1.90
11/16/2015   Maja Zerjal         REPRODUCTION   REPRODUCTION              $1.70
11/16/2015   Magali Giddens      REPRODUCTION   REPRODUCTION              $0.50
11/16/2015   Daniel Desatnik     REPRODUCTION   REPRODUCTION              $1.50
11/16/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $3.30
11/16/2015   Paul Possinger      REPRODUCTION   REPRODUCTION              $3.20
11/16/2015   Natasha Petrov      REPRODUCTION   REPRODUCTION             $59.20
11/16/2015   Paul Possinger      REPRODUCTION   REPRODUCTION              $1.90
11/17/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $0.50
11/17/2015   Steve MA            REPRODUCTION   REPRODUCTION              $4.20
11/17/2015   Mark Carpenter      REPRODUCTION   REPRODUCTION              $0.20
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DISBURSEMENTS
Client/Matter No. 71844.0036

Date         Timekeeper              Type             Description       Amount
11/17/2015   Judy G. Liu       REPRODUCTION   REPRODUCTION                $3.30
11/17/2015   Steve MA          REPRODUCTION   REPRODUCTION                $1.60
11/17/2015   Magali Giddens    REPRODUCTION   REPRODUCTION                $9.30
11/17/2015   Mark Carpenter    REPRODUCTION   REPRODUCTION                $0.10
11/17/2015   Mark Carpenter    REPRODUCTION   REPRODUCTION                $0.70
11/17/2015   Steve MA          REPRODUCTION   REPRODUCTION                $0.90
11/17/2015   Mark Carpenter    REPRODUCTION   REPRODUCTION                $0.20
11/17/2015   Mark Carpenter    REPRODUCTION   REPRODUCTION                $0.30
11/17/2015   Maja Zerjal       REPRODUCTION   REPRODUCTION                $3.40
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $0.60
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $2.40
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $1.50
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $1.80
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $1.50
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $1.50
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $2.10
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $4.80
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $4.80
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $3.90
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $6.30
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $7.20
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $4.50
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $8.10
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $0.60
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $1.50
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $2.40
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $1.50
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION               $17.70
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION               $15.00
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $3.00
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $1.80
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $5.10
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $4.80
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $4.20
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $4.20
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $0.60
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $0.60
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $1.20
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $1.50
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $1.20
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $1.80
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $0.90
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $6.30
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $0.90
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $0.90
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $0.60
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $1.80
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $1.50
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $6.30
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $1.80
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $5.40
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $0.60
11/17/2015   Natasha Petrov    REPRODUCTION   REPRODUCTION                $1.50
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DISBURSEMENTS
Client/Matter No. 71844.0036

Date         Timekeeper                Type             Description     Amount
11/17/2015   Natasha Petrov      REPRODUCTION   REPRODUCTION              $1.50
11/17/2015   Natasha Petrov      REPRODUCTION   REPRODUCTION              $5.10
11/17/2015   Natasha Petrov      REPRODUCTION   REPRODUCTION              $5.70
11/17/2015   Natasha Petrov      REPRODUCTION   REPRODUCTION             $15.60
11/17/2015   Natasha Petrov      REPRODUCTION   REPRODUCTION              $6.00
11/17/2015   Michele M. Reetz    REPRODUCTION   REPRODUCTION              $6.50
11/17/2015   Michele M. Reetz    REPRODUCTION   REPRODUCTION              $4.50
11/17/2015   Michele M. Reetz    REPRODUCTION   REPRODUCTION              $3.80
11/17/2015   Michele M. Reetz    REPRODUCTION   REPRODUCTION              $3.30
11/17/2015   Natasha Petrov      REPRODUCTION   REPRODUCTION              $1.50
11/17/2015   Paul Possinger      REPRODUCTION   REPRODUCTION              $3.30
11/17/2015   Paul Possinger      REPRODUCTION   REPRODUCTION              $6.50
11/17/2015   Paul Possinger      REPRODUCTION   REPRODUCTION              $3.80
11/18/2015   Daniel Desatnik     REPRODUCTION   REPRODUCTION              $0.80
11/18/2015   Daniel Desatnik     REPRODUCTION   REPRODUCTION              $6.50
11/18/2015   Daniel Desatnik     REPRODUCTION   REPRODUCTION              $1.20
11/18/2015   Paul Possinger      REPRODUCTION   REPRODUCTION              $6.10
11/18/2015   Natasha Petrov      REPRODUCTION   REPRODUCTION              $1.20
11/18/2015   Natasha Petrov      REPRODUCTION   REPRODUCTION              $0.40
11/19/2015   Daniel Desatnik     REPRODUCTION   REPRODUCTION              $0.30
11/19/2015   Daniel Desatnik     REPRODUCTION   REPRODUCTION              $1.50
11/19/2015   Document Services   REPRODUCTION   REPRODUCTION              $4.90
11/19/2015   Daniel Desatnik     REPRODUCTION   REPRODUCTION              $0.50
11/19/2015   Daniel Desatnik     REPRODUCTION   REPRODUCTION              $1.00
11/19/2015   Daniel Desatnik     REPRODUCTION   REPRODUCTION              $0.60
11/19/2015   Daniel Desatnik     REPRODUCTION   REPRODUCTION              $0.60
11/19/2015   Daniel Desatnik     REPRODUCTION   REPRODUCTION              $0.40
11/19/2015   Daniel Desatnik     REPRODUCTION   REPRODUCTION              $0.50
11/19/2015   Daniel Desatnik     REPRODUCTION   REPRODUCTION              $0.30
11/19/2015   Daniel Desatnik     REPRODUCTION   REPRODUCTION              $0.70
11/19/2015   Daniel Desatnik     REPRODUCTION   REPRODUCTION              $0.90
11/19/2015   Daniel Desatnik     REPRODUCTION   REPRODUCTION              $0.40
11/19/2015   Paul Possinger      REPRODUCTION   REPRODUCTION              $2.90
11/20/2015   Steve MA            REPRODUCTION   REPRODUCTION              $0.60
11/20/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $1.40
11/20/2015   Scott A. Eggers     REPRODUCTION   REPRODUCTION              $6.30
11/20/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $1.00
11/20/2015   Scott A. Eggers     REPRODUCTION   REPRODUCTION              $1.40
11/20/2015   Steve MA            REPRODUCTION   REPRODUCTION              $1.40
11/20/2015   Steve MA            REPRODUCTION   REPRODUCTION              $0.30
11/20/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $1.30
11/20/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $5.30
11/20/2015   Natasha Petrov      REPRODUCTION   REPRODUCTION              $0.30
11/20/2015   Natasha Petrov      REPRODUCTION   REPRODUCTION              $0.60
11/23/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $4.30
11/23/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $1.60
11/23/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $1.60
11/23/2015   Magali Giddens      REPRODUCTION   REPRODUCTION              $9.20
11/23/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $0.10
11/23/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $0.60
11/23/2015   Magali Giddens      REPRODUCTION   REPRODUCTION              $9.20
11/23/2015   Evelyn Rodriguez    REPRODUCTION   REPRODUCTION              $0.50
11/23/2015   Evelyn Rodriguez    REPRODUCTION   REPRODUCTION              $0.50
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DISBURSEMENTS
Client/Matter No. 71844.0036

Date         Timekeeper                Type             Description     Amount
11/23/2015   Evelyn Rodriguez    REPRODUCTION   REPRODUCTION             $44.00
11/23/2015   Evelyn Rodriguez    REPRODUCTION   REPRODUCTION             $22.00
11/23/2015   Evelyn Rodriguez    REPRODUCTION   REPRODUCTION             $16.00
11/23/2015   Paul Possinger      REPRODUCTION   REPRODUCTION              $3.40
11/23/2015   Paul Possinger      REPRODUCTION   REPRODUCTION              $0.10
11/23/2015   Paul Possinger      REPRODUCTION   REPRODUCTION              $0.50
11/23/2015   Paul Possinger      REPRODUCTION   REPRODUCTION              $2.90
11/23/2015   Paul Possinger      REPRODUCTION   REPRODUCTION              $4.00
11/23/2015   Paul Possinger      REPRODUCTION   REPRODUCTION              $1.70
11/23/2015   Paul Possinger      REPRODUCTION   REPRODUCTION              $1.60
11/24/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $2.00
11/24/2015   Magali Giddens      REPRODUCTION   REPRODUCTION              $2.40
11/24/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION              $0.50
11/24/2015   Magali Giddens      REPRODUCTION   REPRODUCTION              $9.00
11/24/2015   Daniel Desatnik     REPRODUCTION   REPRODUCTION              $0.80
11/25/2015   Daniel Desatnik     REPRODUCTION   REPRODUCTION              $0.70
11/25/2015   Daniel Desatnik     REPRODUCTION   REPRODUCTION              $0.90
11/25/2015   Magali Giddens      REPRODUCTION   REPRODUCTION              $9.60
11/25/2015   Steve MA            REPRODUCTION   REPRODUCTION              $4.10
11/25/2015   Magali Giddens      REPRODUCTION   REPRODUCTION              $5.80
11/25/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $3.90
11/25/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $0.10
11/25/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $1.60
11/25/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $1.50
11/25/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $0.30
11/25/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $1.20
11/25/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $3.40
11/25/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $1.00
11/25/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $0.80
11/25/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $0.60
11/25/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $2.30
11/25/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $0.60
11/25/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $1.30
11/25/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $1.50
11/25/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $1.10
11/25/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $1.10
11/25/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $1.30
11/25/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $2.50
11/25/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $1.90
11/25/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $2.30
11/25/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $1.60
11/30/2015   Sarah Sullivan      REPRODUCTION   REPRODUCTION             $13.60
11/30/2015   Sarah Sullivan      REPRODUCTION   REPRODUCTION             $13.60
11/30/2015   Daniel Desatnik     REPRODUCTION   REPRODUCTION              $3.50
11/30/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $1.20
11/30/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $2.00
11/30/2015   Natasha Petrov      REPRODUCTION   REPRODUCTION              $3.70
11/30/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $0.20
11/30/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $0.70
11/30/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $0.60
11/30/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $0.30
11/30/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $0.40
11/30/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $0.20
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DISBURSEMENTS
Client/Matter No. 71844.0036

Date         Timekeeper                Type                Description                   Amount
11/30/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION                               $0.80
11/30/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION                               $0.70
11/30/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION                               $1.40
11/30/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION                               $0.90
11/30/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION                               $0.40
11/30/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION                               $2.80
11/30/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION                               $1.00
11/30/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION                               $1.90
11/30/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION                               $2.90
11/30/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION                               $0.60
11/30/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION                               $2.60
11/30/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION                               $2.30
11/30/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION                               $1.90
11/30/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION                               $1.90
11/30/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION                               $3.00
11/30/2015   Jacki L. Anderson   REPRODUCTION   REPRODUCTION                               $1.80
                                                Total for REPRODUCTION                   $816.90

Date         Timekeeper                  Type                Description                 Amount
11/02/2015   Chris Theodoridis   LEXIS          LEXIS Connect and Comm Time -            $592.00
                                                1:18:08 Searches - 4 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 3
11/12/2015   Maja Zerjal         LEXIS          LEXIS Connect and Comm Time -             $418.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
11/13/2015   Maja Zerjal         LEXIS          LEXIS Connect and Comm Time -              $69.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
11/16/2015   Maja Zerjal         LEXIS          LEXIS Connect and Comm Time -              $46.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
11/17/2015   Maja Zerjal         LEXIS          LEXIS Connect and Comm Time -              $92.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
11/18/2015   Steve MA            LEXIS          LEXIS Connect and Comm Time -              $23.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
11/19/2015   Steve MA            LEXIS          LEXIS Connect and Comm Time -             $506.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
11/19/2015   Maja Zerjal         LEXIS          LEXIS Connect and Comm Time -             $138.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
11/22/2015   Maja Zerjal         LEXIS          LEXIS Connect and Comm Time -             $299.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
11/23/2015   Steve MA            LEXIS          LEXIS Connect and Comm Time -             $207.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
11/23/2015   Maja Zerjal         LEXIS          LEXIS Connect and Comm Time -             $713.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
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Date         Timekeeper                   Type                 Description                 Amount
11/24/2015   Maja Zerjal          LEXIS           LEXIS Connect and Comm Time -            $510.00
                                                  0:00:00 Searches - 0 Shepards and
                                                  Autocite - 0 Lexsees and Lexstat - 0
11/24/2015   Jacki L. Anderson    LEXIS           LEXIS Connect and Comm Time -             $184.00
                                                  0:00:00 Searches - 0 Shepards and
                                                  Autocite - 0 Lexsees and Lexstat - 0
11/25/2015   Maja Zerjal          LEXIS           LEXIS Connect and Comm Time -           $6,599.00
                                                  0:00:42 Searches - 1 Shepards and
                                                  Autocite - 0 Lexsees and Lexstat - 0
11/25/2015   Maja Zerjal          LEXIS           LEXIS Connect and Comm Time -              $46.00
                                                  0:00:00 Searches - 0 Shepards and
                                                  Autocite - 0 Lexsees and Lexstat - 0
11/25/2015   Jacki L. Anderson    LEXIS           LEXIS Connect and Comm Time -             $529.00
                                                  0:00:00 Searches - 0 Shepards and
                                                  Autocite - 0 Lexsees and Lexstat - 0
11/30/2015   Maja Zerjal          LEXIS           LEXIS Connect and Comm Time -             $129.00
                                                  0:17:03 Searches - 1 Shepards and
                                                  Autocite - 0 Lexsees and Lexstat - 0
11/30/2015   Jacki L. Anderson    LEXIS           LEXIS Connect and Comm Time -             $207.00
                                                  0:00:00 Searches - 0 Shepards and
                                                  Autocite - 0 Lexsees and Lexstat - 0
11/30/2015   Natasha Petrov       LEXIS           LEXIS Connect and Comm Time -             $828.00
                                                  0:00:00 Searches - 0 Shepards and
                                                  Autocite - 0 Lexsees and Lexstat - 0
                                                  Total for LEXIS                        $12,135.00

Date         Timekeeper                Type                   Description                  Amount
11/17/2015   Vincent Indelicato   WESTLAW         WESTLAW Connect and Comm                  $24.00
                                                  Time - 000000:00:00 WestChk and
                                                  Other Trans - 0000000005 Lines
11/19/2015   Daniel Desatnik      WESTLAW         WESTLAW Connect and Comm                   $99.00
                                                  Time - 000000:00:00 WestChk and
                                                  Other Trans - 0000000017 Lines
11/20/2015   Daniel Desatnik      WESTLAW         WESTLAW Connect and Comm                   $99.00
                                                  Time - 000000:00:00 WestChk and
                                                  Other Trans - 0000000010 Lines
11/24/2015   Daniel Desatnik      WESTLAW         WESTLAW Connect and Comm                   $99.00
                                                  Time - 000000:00:00 WestChk and
                                                  Other Trans - 0000000004 Lines
11/30/2015   Evelyn Rodriguez     WESTLAW         WESTLAW Connect and Comm                  $396.00
                                                  Time - 000000:00:00 WestChk and
                                                  Other Trans - 0000000009 Lines
11/30/2015   Daniel Desatnik      WESTLAW         WESTLAW Connect and Comm                   $49.00
                                                  Time - 000000:00:00 WestChk and
                                                  Other Trans - 0000000008 Lines
                                                  Total for WESTLAW                         $766.00

Date         Timekeeper                 Type                 Description                   Amount
10/26/2015   Magali Giddens       TRANSCRIPTS &   TRANSCRIPTS & DEPOSITIONS -               $93.00
                                  DEPOSITIONS     - VENDOR: AMERICAN
                                                  EXPRESS 10/26/15 - JACKLEEN
                                                  DEFINI - TRANSCRIPTION
                                                  SERVICES
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                                                  Total for TRANSCRIPTS &
                                                  DEPOSITIONS                             $93.00

Date         Timekeeper                 Type                   Description              Amount
10/06/2015   Andrew S. Wellin     LONG DISTANCE   LONG DISTANCE TELEPHONE                 $4.03
                                  TELEPHONE       Inv Num: 1743140561 Inv Date:
                                                  10/31/2015 Account Name:
                                                  Proskauer Rose Account No: 162216
                                                  Name: Andrew Wellin Emp Id: 1211
                                                  On: 10/6/2015 14:56 Minutes: 192
                                                  Conf Chgs: Tax: 0.12
10/20/2015   Vincent Indelicato   LONG DISTANCE   LONG DISTANCE TELEPHONE                  $1.56
                                  TELEPHONE       Inv Num: 1743140561 Inv Date:
                                                  10/31/2015 Account Name:
                                                  Proskauer Rose Account No: 162216
                                                  Name: Vincent Indelicato Emp Id:
                                                  8927 On: 10/20/2015 9:09 Minutes:
                                                  76 Conf Chgs: Tax: 0
11/04/2015   Scott A. Eggers      LONG DISTANCE   LONG DISTANCE TELEPHONE                  $0.70
                                  TELEPHONE       From x3412 To: 2134526003
                                                  (LOSANGELES,CA) At: 1214
                                                  Duration: 1.3Minutes
11/09/2015   Magali Giddens       LONG DISTANCE   LONG DISTANCE TELEPHONE                  $0.35
                                  TELEPHONE       From x3036 To: 3129879722
                                                  (CHICAGO,IL) At: 1058 Duration:
                                                  1Minutes
11/10/2015   Scott A. Eggers      LONG DISTANCE   LONG DISTANCE TELEPHONE                  $0.35
                                  TELEPHONE       From x3412 To: 2132432508
                                                  (LOSANGELES,CA) At: 1219
                                                  Duration: 0.7Minutes
11/11/2015   Magali Giddens       LONG DISTANCE   LONG DISTANCE TELEPHONE                  $2.09
                                  TELEPHONE       From x3036 To: 3025716710
                                                  (WILMINGTON,DE) At: 1350
                                                  Duration: 5.3Minutes
11/16/2015   Steve MA             LONG DISTANCE   LONG DISTANCE TELEPHONE                  $2.09
                                  TELEPHONE       From x3488 To: 2012388061
                                                  (JERSEYCITY,NJ) At: 1513
                                                  Duration: 5.6Minutes
11/19/2015   Scott A. Eggers      LONG DISTANCE   LONG DISTANCE TELEPHONE                  $2.43
                                  TELEPHONE       From x3412 To: 2132432508
                                                  (LOSANGELES,CA) At: 1454
                                                  Duration: 6.9Minutes
11/20/2015   Magali Giddens       LONG DISTANCE   LONG DISTANCE TELEPHONE                  $1.04
                                  TELEPHONE       From x3036 To: 3107511492
                                                  (SNMN MRVS,CA) At: 1438
                                                  Duration: 2.8Minutes
11/24/2015   Steve MA             LONG DISTANCE   LONG DISTANCE TELEPHONE                  $1.39
                                  TELEPHONE       From x3488 To: 3128623390
                                                  (CHICAGO,IL) At: 1026 Duration:
                                                  3.7Minutes
11/24/2015   Steve MA             LONG DISTANCE   LONG DISTANCE TELEPHONE                  $1.39
                                  TELEPHONE       From x3488 To: 3128623390
                                                  (CHICAGO,IL) At: 1602 Duration:
                                                  3.2Minutes
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                                                   Total for LONG DISTANCE
                                                   TELEPHONE                         $17.42

Date         Timekeeper                 Type                  Description          Amount
11/18/2015   Vincent Indelicato   OUT OF TOWN      OUT OF TOWN                      $48.78
                                  TRANSPORTATION   TRANSPORTATION - - VENDOR:
                                                   INDELICATO, VINCENT CAB TO
                                                   ORD - 11/18/15
11/18/2015   Steve MA             OUT OF TOWN      OUT OF TOWN                       $42.65
                                  TRANSPORTATION   TRANSPORTATION - - VENDOR:
                                                   MA, STEVE TAXI FROM
                                                   CHICAGO TO ORD - 11/18/15
11/18/2015   Steve MA             OUT OF TOWN      OUT OF TOWN                       $36.40
                                  TRANSPORTATION   TRANSPORTATION - - VENDOR:
                                                   MA, STEVE TAXI FROM ORD TO
                                                   CHICAGO - 11/18/15
                                                   Total for OUT OF TOWN
                                                   TRANSPORTATION                   $127.83

Date         Timekeeper                 Type                  Description          Amount
11/18/2015   Vincent Indelicato   OUT OF TOWN      OUT OF TOWN MEALS - -            $35.76
                                  MEALS            VENDOR: INDELICATO,
                                                   VINCENT LUNCH WITH
                                                   TRAVELING WITH M.
                                                   BIENENSTOCK, S. MA, P.
                                                   POSSINGER AT SOPRAFINNA -
                                                   11/18/15
                                                   Total for OUT OF TOWN MEALS       $35.76

Date         Timekeeper                 Type                  Description          Amount
10/07/2015   Martin J.            DATA BASE        DATA BASE SEARCH SERV. - -      $104.60
             Bienenstock          SEARCH SERV.     VENDOR: PACER SERVICE
                                                   CENTER RESEARCH 7/1/15-
                                                   9/30/15
10/07/2015   Martin J.            DATA BASE        DATA BASE SEARCH SERV. - -         $0.20
             Bienenstock          SEARCH SERV.     VENDOR: PACER SERVICE
                                                   CENTER RESEARCH 7/1/15-
                                                   9/30/15
10/07/2015   Martin J.            DATA BASE        DATA BASE SEARCH SERV. - -         $2.80
             Bienenstock          SEARCH SERV.     VENDOR: PACER SERVICE
                                                   CENTER RESEARCH 7/1/15-
                                                   9/30/15
10/07/2015   Martin J.            DATA BASE        DATA BASE SEARCH SERV. - -        $10.80
             Bienenstock          SEARCH SERV.     VENDOR: PACER SERVICE
                                                   CENTER RESEARCH 7/1/15-
                                                   9/30/15
                                                   Total for DATA BASE SEARCH
                                                   SERV.                            $118.40

Date         Timekeeper                 Type                   Description         Amount
11/18/2015   Steve MA             AIRPLANE         AIRPLANE - - VENDOR: MA,        $136.20
                                                   STEVE AIRFARE TO CHICAGO -
                                                   11/17 - 11/18/15
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Date         Timekeeper                 Type                        Description         Amount
11/18/2015   Vincent Indelicato   AIRPLANE              AIRPLANE - - VENDOR:            $856.20
                                                        INDELICATO, VINCENT
                                                        ROUNDTRIP AIRFARE FROM
                                                        NYC TO CHI - 11/18/15
11/18/2015   Philip M. Abelson    AIRPLANE              AIRPLANE - - VENDOR:              $15.00
                                                        ABELSON, PHILIP M. TRAVEL
                                                        AGENT SERVICE FEE FOR
                                                        CANCELED FLIGHT - 11/18/15
11/19/2015   Martin J.            AIRPLANE              AIRPLANE - - VENDOR:             $558.35
             Bienenstock                                BIENENSTOCK, MARTIN J.
                                                        ROUND TRIP TICKET TO
                                                        CINCINATTI FROM NY - 11/18-
                                                        19/15
                                                        Total for AIRPLANE             $1,565.75

Date         Timekeeper                 Type                        Description         Amount
11/03/2015   Judy G. Liu          PRACTICE              PRACTICE SUPPORT VENDORS -     $4,817.45
                                  SUPPORT               - VENDOR: XACT DATA
                                  VENDORS               DISCOVERY OCTOBER 2015
                                                        DATA HOSTING
                                                        Total for PRACTICE SUPPORT
                                                        VENDORS                        $4,817.45

Charges and Disbursements Summary

Type of Disbursements                                                                   Amount
REPRODUCTION                                                                              816.90
LEXIS                                                                                  12,135.00
WESTLAW                                                                                   766.00
TRANSCRIPTS & DEPOSITIONS                                                                  93.00
LONG DISTANCE TELEPHONE                                                                    17.42
OUT OF TOWN TRANSPORTATION                                                                127.83
OUT OF TOWN MEALS                                                                          35.76
DATA BASE SEARCH SERV.                                                                    118.40
AIRPLANE                                                                                1,565.75
PRACTICE SUPPORT VENDORS                                                                4,817.45
                                       Total Expenses                                 $20,493.51
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                               UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

                                                                )
In re:                                                               Chapter 11
                                                                )
CAESARS ENTERTAINMENT OPERATING                                 )    Case No. 15-01145 (ABG)
COMPANY, INC., et al.,1                                         )
                                                                )
                  Debtors.                                      )    (Jointly Administered)
                                                                )

              COVER SHEET TO ELEVENTH MONTHLY FEE APPLICATION
             OF PROSKAUER ROSE LLP FOR COMPENSATION FOR SERVICES
            RENDERED AND REIMBURSEMENT OF EXPENSES AS ATTORNEYS
              TO STATUTORY UNSECURED CLAIMHOLDERS’ COMMITTEE
           FOR THE PERIOD DECEMBER 1, 2015 THROUGH DECEMBER 31, 2015

Name of Applicant:                                  Proskauer Rose LLP (“Proskauer”)

Authorized to Provide
Professional Services to:                           The Statutory Unsecured Claimholders’ Committee

Date of Retention:                                  Order entered March 26, 2015 [ECF No. 998]
                                                    Nunc Pro Tunc to February 9, 2015

Period for which compensation
and reimbursement is sought:                        December 1, 2015 through December 31, 2015

Amount of compensation sought
as actual, reasonable and necessary:                $1,471,071.50

Amount of expense reimbursement sought
as actual, reasonable and necessary:   $29,505.142

This is a: X monthly __ interim __ final application.

This is Proskauer’s Eleventh monthly fee application in this case.

1
    The last four digits of Caesars Entertainment Operating Company, Inc.’s tax identification number are 1623. A
    complete list of the Debtors and the last four digits of their federal tax identification numbers is available at
    https://cases.primeclerk.com/CEOC.
2
    Reflects a reduction of $1,101.76 in expenses pursuant to the Order Approving the Second Interim Fee Application
    of Proskauer Rose LLP for Compensation for Services Rendered and Reimbursement of Expenses Incurred as
    Attorneys for Statutory Unsecured Claimholders’ Committee for the Period June 1, 2015 Through September 30,
    2015 ¶ 3 n.4, ECF No. 2935.




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February 3, 2016

Committee Chairpersons:                             Counsel for the First Lien Lender Group:
Wilmington Trust, NA                                Stroock & Stroock & Lavan LLP
Rodney Square North                                 180 Maiden Lane
50 South Sixth Street, Suite 1290                   New York, New York 10038
Minneapolis, MN 55402                               Attn: Kristopher M. Hansen, Esq.
Attn: Peter F. Finkel                                     Jonathan D. Canfield, Esq.

Hilton Worldwide, Inc.                              Counsel for the Indenture Trustee under the First
7930 Jones Branch Drive, 6th Floor                  Lien Notes Indenture:
McLean, Virginia 22102                              Katten Muchin Rosenman LLP
Attn: Charles Corbin                                575 Madison Avenue
                                                    New York, New York 10022
The Debtors:                                        Attn: Craig A. Barbarosh, Esq. and
Caesars Entertainment Operating Company, Inc.             Karen B. Dine, Esq.
151 North Joliet St.
Joliet, IL 60432                                    Counsel for the Ad Hoc Group of Holders of
Attn: Timothy J. Lambert                            10.75% Guaranteed Notes and 10.75% Notes
                                                    Trustee:
Caesars Entertainment Operating Company, Inc.       White & Case LLP
One Caesars Palace Drive                            Southeast Financial Center, Suite 4900
Las Vegas, Nevada 89109                             200 South Biscayne Blvd., Miami, Florida 33131
Attn: Mary E. Higgins                               Attn: Thomas E. Lauria, Esq.

Counsel for the Debtors:                            Counsel for the Ad Hoc Group of 5.75% and
Kirkland & Ellis LLP                                6.50% Notes:
300 North LaSalle                                   Drinker Biddle & Reath LLP
Chicago, Illinois 60654                             1177 Avenue of the Americas, 41st Floor
Attn: David R. Seligman, P.C.                       New York, New York 10036
      Ryan Preston Dahl, Esq.                       Attn: James H. Millar, Esq.
                                                          Kristin K. Going, Esq.
Kirkland & Ellis LLP
601 Lexington Avenue                                The U.S. Trustee:
New York, New York 10022                            219 S. Dearborn Street, Suite 873
Attn: Nicole L. Greenblatt, Esq.                    Chicago, Illinois 60604
      Christopher T. Greco, Esq.                    Attn: Denise Ann DeLaurent

Counsel for the Second Lien Committee:
Jones Day
555 South Flower Street, Fiftieth Floor
Los Angeles, California, 90071
Attn: Bruce Bennett, Esq.
      Sidney Levinson, Esq.

Counsel for the First Lien Note:
Kramer Levin Naftalis & Frankel LLP
1177 Avenue of the Americas
New York, New York 10036
Attn: Kenneth H. Eckstein, Esq.
      Daniel M. Eggermann, Esq.




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       Summary of Legal Fees for the Period December 1, 2015 through December 31, 2015



Task                                                   Total Billed             Total Fees
                       Matter Description
Code                                                     Hours                  Requested

002      Asset Disposition                                    2.10                  $2,110.00

         Assignment and Rejection of Leases and
003                                                           2.20                  $1,895.00
         Contracts

004      Avoidance Action Analysis                         844.50                 $517,407.50

006      Business Operations                                  9.80                  $8,774.00

007      Case Administration                                45.80                  $22,305.50

008      Claims Administration and Objections              281.70                 $141,141.50

009      Committee Governance                                 2.90                  $1,876.50

010      Employee Benefits and Pensions                     49.60                  $33,518.50

011      Employment and Fee Applications                   172.60                 $102,497.00

012      Employment and Fee Application Objections             .40                       $265.50

013      Financing and Cash Collateral                     179.70                 $145,099.00

014      Litigation                                         44.30                  $40,481.50

         Meetings and Communication with
015                                                         65.10                  $60,954.50
         Committee

016      Non-Working Travel                                 10.00                   $9,230.00

017      Plan and Disclosure Statement                      55.50                  $54,153.50

018      Real Estate                                          8.00                  $8,941.50

021      Tax                                                24.40                  $21,404.50

023      Case Strategy                                      15.70                  $13,253.50

024      Pleading and Docket Review                         38.70                  $19,998.50

         Communication with Financial Advisor and
025                                                         85.10                  $78,223.50
         Investment Banker

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Task                                               Total Billed   Total Fees
                   Matter Description
Code                                                 Hours        Requested

026     Communication with Debtor                       19.70        $21,352.50

028     Legal Research and Analysis                     83.80        $60,844.50

029     Preparation of Pleadings                          1.40          $854.00

030     Hearings and Court Matters                      12.30         $8,551.50

031     Legal/ Regulatory Investigations                  1.20          $990.00

033     Communication with Examiner                     90.20        $92,700.50

        Communication with Second Lien
034                                                       2.30        $2,247.50
        Committee
                                           Total     2,149.00     $1,471,071.50




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                    Summary of Hours Billed by Professionals and Paraprofessionals for the
                                Period December 1, 2015 through December 31, 2015

                                                                    Hourly         Total
                                                                                                 Total
     Professional           Position/Title      Department          Billing        Billed
                                                                                              Compensation
                                                                     Rate          Hours
Colleen M. Hart             Partner            Tax                  $1,000.00         17.50     $17,500.00

Jeff J. Marwil              Partner            Corporate            $1,200.00          1.50      $1,800.00

Judy G. Z. Liu              Partner            BSGR & B             $1,250.00         96.20    $120,250.00


Mark K. Thomas              Partner            BSGR & B             $1,200.00          5.50      $6,600.00


Martin J. Bienenstock       Partner            BSGR & B             $1,295.00         65.90     $85,340.50


Paul V. Possinger           Partner            BSGR & B             $1,025.00         77.40     $79,335.00


Perry A. Cacace             Partner            Real Estate          $1,250.00          5.00      $6,250.00


Philip M. Abelson           Partner            BSGR & B             $1,075.00        102.20    $109,865.00


Richard M. Corn             Partner            Tax                    $925.00         19.60     $18,130.00


Steven O. Weise             Partner            Corporate            $1,475.00          2.00      $2,950.00


Mark E. Davidson            Senior Counsel     Litigation           $1,000.00         66.20     $66,200.00

Scott A. Eggers             Senior Counsel     Litigation             $925.00         66.20     $61,235.00


Andrea G. Miller            Associate          Corporate              $735.00         26.90     $19,771.50


Andrew S. Wellin            Associate          Litigation             $735.00         88.60     $65,121.00


Ashley B. Chay              Associate          Corporate              $495.00          1.20       $594.00


Bali Kumar                  Associate          Tax                    $610.00          3.10      $1,891.00


Bowon Koh                   Associate          Tax                    $445.00          1.60         $712.00


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                                                          Hourly      Total
                                                                                    Total
     Professional       Position/Title    Department      Billing     Billed
                                                                                 Compensation
                                                           Rate       Hours

Chris Theodoridis       Associate        BSGR & B          $735.00       4.20       $3,087.00

Daniel J. Werb          Associate        Litigation        $495.00      45.10      $22,324.50

Helena Zheng            Associate        Litigation        $495.00      63.50      $31,432.50

Jacki L. Anderson       Associate        Litigation        $610.00      35.00      $21,350.00


Jamaal Myers            Associate        Corporate         $610.00      48.00      $29,280.00


Jason P. Colangelo      Associate        Litigation        $495.00      74.10      $36,679.50


Jeremy Webb             Associate        Corporate         $445.00      27.80      $12,371.00


Jonathan H. Lee         Associate        Corporate         $445.00      26.00      $11,570.00


Krista Whitaker         Law Clerk        Corporate          $445.00      21.90      $9,745.50

Maja Zerjal             Associate        BSGR & B          $735.00     108.40      $79,674.00


Malcolm S. Hochenberg   Associate        Tax               $825.00       4.40        $3,630.00


Marissa D. Tillem       Associate        Litigation        $735.00       6.30       $4,630.50


Milton E. Otto          Associate        Litigation        $770.00      32.80      $25,256.00

Rebecca A. Lesnik       Associate        Real Estate       $695.00        .70         $486.50

Sarah Sullivan          Associate        Litigation        $495.00      94.30      $46,678.50

Steve Ma                Associate        BSGR & B          $610.00      82.30      $50,203.00


Vincent Indelicato      Associate        BSGR & B          $825.00     177.20     $146,190.00

                                                             Total    1,498.60   $1,198,133.50




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                                                        Hourly     Total
                                                                                  Total
  Paraprofessional   Position/Title       Department    Billing    Billed
                                                                               Compensation
                                                         Rate      Hours

Evelyn Rodriguez     Legal Assistant   BSGR & B          $325.00      50.50         $16,412.50


Lisa Orr             Legal Assistant   Litigation        $350.00      23.90          $8,365.00


Magali Giddens       Legal Assistant   BSGR & B         $375.00      71.90          $26,962.50


Mark C. Czernyk      Legal Assistant   Litigation       $275.00       8.00           $2,200.00


Natasha B. Petrov    Legal Assistant   Corporate        $300.00       5.50           $1,650.00

                                                          Total       159.80        $55,590.00



                                                        Hourly     Total
                                                                                  Total
     Law Clerk       Position/Title       Department    Billing    Billed
                                                                               Compensation
                                                         Rate      Hours
Anna (Anya)
                     Law Clerk         Corporate         $445.00        4.50         $2,002.50
Kreimerzak



Brian Hooven         Law Clerk         Litigation        $445.00       18.80         $8,366.00



Daniel Desatnik      Law Clerk         BSGR & B          $445.00       75.30        $33,508.50



Kevin Chung          Law Clerk         Litigation        $445.00       63.70        $28,346.50



Patrick L. Rieder    Law Clerk         Litigation        $445.00       88.10        $39,204.50



Russell Kostelak     Law Clerk         Litigation        $445.00       74.70        $33,241.50




Tiffany Quach        Law Clerk         Corporate         $445.00       58.60     $26,077.00




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Yasmin Ermani        Law Clerk         Litigation        $445.00          50.80          $22,606.00



Zachary W. Klinger   Law Clerk         Litigation        $445.00          45.90          $20,425.50



                                                          Total          480.40         $213,778.00


                                                        Hourly        Total
                                                                                      Total
  Practice Support   Position/Title       Department    Billing       Billed
                                                                                   Compensation
                                                         Rate         Hours
                     EDiscovery        Professional
Joshua M. Kay                                            $350.00          10.20            $3,570.00
                     Project Manager   Resources


                                                           Total          10.20          $3,570.00



TOTALS FOR PROFESSIONALS AND PARAPROFESSIONALS:                    Hours          Fees
                                                                   2,149.00       $1,471,071.50




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                             SUMMARY OF REIMBURSABLE EXPENSES FOR THE
                           PERIOD DECEMBER 1, 2015 THROUGH DECEMBER 31, 2015

    EXPENSE CATEGORY                                                                                AMOUNTS
    Reproduction (In-House)                                                                                    $711.70
    Long Distance Telephone                                                                                    $127.74
    Online Research
       Lexis                                                                                                $10,013.75
       Westlaw                                                                                               $6,701.00
    Delivery Services/ Couriers
        Messenger/Delivery                                                                                      $30.27
    Local Travel (airport)
    Taxi Cab/ Car Service (airport)                                                                            $113.62
    Out-of-Town Travel
       Airplane                                                                                                $491.10
       Out of Town Meals                                                                                        $12.99
       Out of Town Transportation                                                                              $137.21
    Meals
       Food Services and Conference Dining                                                                     $212.32
    Transcription Services
       Transcripts & Depositions                                                                                $90.00
    Litigation Support
       Litigation Support/Docketing (Data Base Services)                                                       $247.90
       Litigation Support Vendors (Practice Support Vendors)                                                $11,722.30
    Subtotal                                                                                                $30,611.90
            3
    Credit                                                                                                   $1,101.76
    Total                                                                                                   $29,510.14




3
     Reflects a reduction of $1,101.76 in expenses pursuant to the Order Approving the Second Interim Fee Application of
     Proskauer Rose LLP for Compensation for Services Rendered and Reimbursement of Expenses Incurred as Attorneys
     for Statutory Unsecured Claimholders’ Committee for the Period June 1, 2015 Through September 30, 2015 ¶ 3 n.4,
     ECF No. 2935.
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Client/Matter Recap:

Matter Name                                        Fees Billed     Hours Billed
ASSET DISPOSITION                                   $2,110.00             2.10
ASSIGNMENT AND REJECTION OF LEASES AND              $1,895.00             2.20
CONTRACTS
AVOIDANCE ACTION ANALYSIS                         $517,407.50           844.50
BUSINESS OPERATIONS                                 $8,774.00             9.80
CASE ADMINISTRATION                                $22,305.50            45.80
CLAIMS ADMINISTRATION AND OBJECTIONS              $141,141.50           281.70
COMMITTEE GOVERNANCE                                $1,876.50             2.90
EMPLOYEE BENEFITS AND PENSIONS                     $33,518.50            49.60
EMPLOYMENT AND FEE APPLICATIONS                   $102,497.00           172.60
EMPLOYMENT AND FEE APPLICATION OBJECTIONS             $265.50              .40
FINANCING AND CASH COLLATERAL                     $145,099.00           179.70
LITIGATION                                         $40,481.50            44.30
MEETINGS AND COMMUNICATION WITH COMMITTEE          $60,954.50            65.10
NON-WORKING TRAVEL                                  $9,230.00            10.00
PLAN AND DISCLOSURE STATEMENT                      $54,153.50            55.50
REAL ESTATE                                         $8,941.50             8.00
TAX                                                $21,404.50            24.40
CASE STRATEGY                                      $13,253.50            15.70
PLEADING AND DOCKET REVIEW                         $19,998.50            38.70
COMMUNICATION WITH FINANCIAL ADVISOR AND           $78,223.50            85.10
INVESTMENT BANKER
COMMUNICATION WITH DEBTOR                           $21,352.50            19.70
LEGAL RESEARCH AND ANALYSIS                         $60,844.50            83.80
PREPARATION OF PLEADINGS                               $854.00             1.40
HEARINGS AND COURT MATTERS                           $8,551.50            12.30
LEGAL/REGULATORY INVESTIGATIONS                        $990.00             1.20
COMMUNICATION WITH EXAMINER                         $92,700.50            90.20
COMMUNICATION WITH SECOND LIEN COMMITTEE             $2,247.50             2.30
DISBURSEMENTS                                             0.00             0.00
Total this Invoice                              $ 1,471,071.50         2,149.00
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Attorney                                           Hours       Rate       Amount

COLLEEN M. HART                                    17.50    1,000.00    $17,500.00
JEFF J. MARWIL                                      1.50    1,200.00     $1,800.00
JUDY G. LIU                                        96.20    1,250.00   $120,250.00
MARK K. THOMAS                                      5.50    1,200.00     $6,600.00
MARTIN J. BIENENSTOCK                              65.90    1,295.00    $85,340.50
PAUL POSSINGER                                     77.40    1,025.00    $79,335.00
PERRY A. CACACE                                     5.00    1,250.00     $6,250.00
PHILIP M. ABELSON                                 102.20    1,075.00   $109,865.00
RICHARD M. CORN                                    19.60      925.00    $18,130.00
STEVEN O. WEISE                                     2.00    1,475.00     $2,950.00
        Total For Partner                         392.80               $448,020.50

MARK E. DAVIDSON                                   66.20    1,000.00    $66,200.00
SCOTT A. EGGERS                                    66.20      925.00    $61,235.00
      Total For Senior Counsel                    132.40               $127,435.00

ANDREA G. MILLER                                    26.90    735.00     $19,771.50
ANDREW S. WELLIN                                    88.60    735.00     $65,121.00
ASHLEY CHAY                                          1.20    495.00        $594.00
BALI KUMAR                                           3.10    610.00      $1,891.00
BOWON KOH                                            1.60    445.00        $712.00
CHRIS THEODORIDIS                                    4.20    735.00      $3,087.00
DANIEL J. WERB                                      45.10    495.00     $22,324.50
HELENA ZHENG                                        63.50    495.00     $31,432.50
JACKI L. ANDERSON                                   35.00    610.00     $21,350.00
JAMAAL MYERS                                        48.00    610.00     $29,280.00
JASON P. COLANGELO                                  74.10    495.00     $36,679.50
JERAMY WEBB                                         27.80    445.00     $12,371.00
JONATHAN H. LEE                                     26.00    445.00     $11,570.00
KRISTA WHITAKER                                     21.90    445.00      $9,745.50
MAJA ZERJAL                                        108.40    735.00     $79,674.00
MALCOLM S. HOCHENBERG                                4.40    825.00      $3,630.00
MARISSA D. TILLEM                                    6.30    735.00      $4,630.50
MILTON E. OTTO                                      32.80    770.00     $25,256.00
REBECCA LESNIK                                       0.70    695.00        $486.50
SARAH SULLIVAN                                      94.30    495.00     $46,678.50
STEVE MA                                            82.30    610.00     $50,203.00
TIFFANY QUACH                                       58.60    445.00     $26,077.00
VINCENT INDELICATO                                 177.20    825.00    $146,190.00
       Total For Associate                       1,032.00              $648,755.00

EVELYN RODRIGUEZ                                   50.50     325.00     $16,412.50
LISA P. ORR                                        23.90     350.00      $8,365.00
MAGALI GIDDENS                                     71.90     375.00     $26,962.50
MARK C. CZERNYK                                     8.00     275.00      $2,200.00
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NATASHA PETROV                                      5.50    300.00     $1,650.00
     Total For Legal Assistant                    159.80              $55,590.00

ANNA (ANYA) KREIMERZAK                              4.50    445.00     $2,002.50
BRIAN HOOVEN                                       18.80    445.00     $8,366.00
DANIEL DESATNIK                                    75.30    445.00    $33,508.50
KEVIN CHUNG                                        63.70    445.00    $28,346.50
PATRICK L. RIEDER                                  88.10    445.00    $39,204.50
RUSSELL KOSTELAK                                   74.70    445.00    $33,241.50
YASMIN EMRANI                                      50.80    445.00    $22,606.00
ZACHARY W. KLINGER                                 45.90    445.00    $20,425.50
      Total For Law Clerk                         421.80             $187,701.00

JOSHUA M. KAY                                      10.20    350.00     $3,570.00
      Total For Prac. Support                      10.20               $3,570.00
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ASSET DISPOSITION
Client/Matter No. 71844.0002


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                                   Hours        Amount

12/03/15     JGL        Email correspondence from R. Klein and V. Indelicato            0.20        250.00
                        regarding bidding protocol.
12/07/15     JGL        Review email from V. Indelicato regarding sale process.         0.10        125.00
12/08/15     VI         Research customer list sale methodology.                        0.80        660.00
12/21/15     PMA        Review email correspondence from R. Klein regarding sale        0.10        107.50
                        issues.
12/24/15     PMA        Review bidding protocol regarding sale process.                 0.90        967.50


Attorney                                                              Hours           Rate         Amount

JUDY G. LIU                                                             0.30       1,250.00          375.00
PHILIP M. ABELSON                                                       1.00       1,075.00        1,075.00
       Total For Partner                                                1.30                       1,450.00

VINCENT INDELICATO                                                      0.80        825.00          660.00
      Total For Associate                                               0.80                        660.00


Professional Fees                                                       2.10                   $   2,110.00

Total this Matter                                                                             $    2,110.00
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ASSIGNMENT AND REJECTION OF LEASES AND CONTRACTS
Client/Matter No. 71844.0003


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                                        Hours        Amount

12/09/15     VI         Analyze MSG administrative claim settlement documents.               1.20        990.00
12/16/15     PP         Review updated language for Caesars Massachusetts                    0.40        410.00
                        termination agreement.
12/29/15     VI         Review contract rejection issues in preparation for telephone        0.60        495.00
                        conference with J. Graham.


Attorney                                                                 Hours             Rate         Amount

PAUL POSSINGER                                                             0.40         1,025.00         410.00
      Total For Partner                                                    0.40                          410.00

VINCENT INDELICATO                                                         1.80          825.00         1,485.00
      Total For Associate                                                  1.80                         1,485.00


Professional Fees                                                          2.20                     $   1,895.00

Total this Matter                                                                                  $    1,895.00
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AVOIDANCE ACTION ANALYSIS
Client/Matter No. 71844.0004


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                    Hours   Amount

12/01/15    SAE         Emails with litigation team regarding Examiner meeting.         0.20     185.00
12/01/15    MED         Review E. Seiler and M. Lee transcripts.                        1.00   1,000.00
12/01/15    MDT         Telephone conference with A. Wellin regarding review of         4.80   3,528.00
                        hot documents (.4); complete second review of documents
                        coded as hot (3.9); conference with J. Colangelo regarding
                        World Series of Poker (.5).
12/01/15    ASW         Review hot documents for distribution to team (6.0); call       6.40   4,704.00
                        with M. Tillem regarding hot documents (.4).
12/01/15    JPC         Perform targeted research related to World Series of Poker      6.10   3,019.50
                        sale in 2009 (.8); review and tag documents from internal
                        Caesars Committees received in response to Examiner
                        subpoenas (2.6); discuss projected royalty paid for World
                        Series of Poker license with M. Tillem (.5); analyze
                        transaction documents related to equitization of
                        CEOC/CMBS intercompany loans (2.2).
12/01/15    JLA         Research damages related to breaches of fiduciary duty.         0.60    366.00
12/01/15    AGM         Review of Caesars Four-Properties Transactions materials.       0.70    514.50
12/01/15    LPO         Retrieve and download documents from online depository          2.50    875.00
                        regarding discovery materials.
12/01/15    SS          Review C. Abrahams interview transcript.                        2.70   1,336.50
12/01/15    DJW         Review documents produced by custodians including               3.40   1,683.00
                        Deloitte and Duff & Phelps.
12/01/15    HZ          Analyze the documents retrieved from key word searches          3.50   1,732.50
                        (2.5); identify important documents (1.0).
12/01/15    PLR         Review documents produced in connection with                    5.40   2,403.00
                        controversial transactions.
12/01/15    BH          Review documents produced in connection with                    0.70    311.50
                        controversial transactions.
12/02/15    SAE         Emails with A. Miller regarding alternate recovery theory       0.30    277.50
                        (.1); review slide on claim valuations (.2).
12/02/15    ASW         Review hot documents for distribution to team.                  4.10   3,013.50
12/02/15    JMK         Audit processing of electronic evidence into review platform    1.30     455.00
                        (.8) and analyze evidence in review platform (.5).
12/02/15    JPC         Tag documents from Caesars internal committees received         3.70   1,831.50
                        in response to Examiner subpoenas (.8); draft memorandum
                        describing accounting transactions undertaken to equitize
                        CEOC/CMBS intercompany loans (2.9).
12/02/15    JLA         Research damages for breaches of fiduciary duty (2.0);          5.10   3,111.00
                        research damages for breaches of fiduciary duty (3.1).
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AVOIDANCE ACTION ANALYSIS
Client/Matter No. 71844.0004

Date        Attorney    Description                                                    Hours   Amount

12/02/15    AGM         Teleconference with W. Ng (FTI) regarding preference            3.40   2,499.00
                        payment analysis (.2); review of preference payment
                        materials emailed by same (.3); continue review of various
                        factual summary documents to supplement alternative
                        recovery theory memo (2.3); email correspondence with D.
                        Werb regarding same (.2); teleconference with D. Werb
                        regarding same (.2); review email correspondence from J.
                        Liu and attached analysis (.2).
12/02/15    MJB         Review four interview transcripts sent from Examiner.           4.70   6,086.50
12/02/15    JGL         Teleconference with P. Abelson regarding avoidance              0.20     250.00
                        actions.
12/02/15    PMA         Confer with J. Liu regarding avoidance actions (.2); review     0.30    322.50
                        email correspondence from A. Miller regarding alternative
                        theories of recovery (.1).
12/02/15    LPO         Online search via relativity (1.1) and collate key documents    2.00    700.00
                        from document production (.9).
12/02/15    SS          Analyze C. Abrahams interview transcript (3.0); review          4.70   2,326.50
                        documents related to easements/land transfers (1.7).
12/02/15    DJW         Conrrespondence (.2) and teleconference (.2) with A. Miller     0.40    198.00
                        regarding Four Properties transaction.
12/02/15    HZ          Analyze the documents retrieved from key word searches in       2.00    990.00
                        response to the Examiner's request (1.5); identify important
                        documents (.5).
12/02/15    DD          Review documents produced in connection with                    0.40    178.00
                        controversial transactions.
12/02/15    PLR         Review documents produced in connection with                    4.40   1,958.00
                        controversial transactions.
12/02/15    BH          Review documents produced in connection with                    4.40   1,958.00
                        controversial transactions and rest of review team.
12/03/15    SAE         Conference with A. Wellin regarding Examiner meeting,           0.50    462.50
                        document review (.3); telephone conference with D.
                        Goldsmith regarding staffing (.2).
12/03/15    PP          Review prior decks regarding presentations to Examiner          1.10   1,127.50
                        (.5); review first-day memo regarding controversial
                        transactions (.3); Brief factual inquiry regarding possible
                        LBO claims (.3).
12/03/15    MDT         Coordinate upload of documents tagged as hot to Sharepoint      0.70    514.50
                        platform.
12/03/15    ASW         Review hot documents for distribution to team (4.5);            5.00   3,675.00
                        conference with S. Eggers regarding Examiner meeting (.3);
                        confer with H. Zheng regarding Chester Downs Collateral
                        agreements (.2).
12/03/15    JMK         Coordinate processing of electronic evidence into review        2.30    805.00
                        platform (.8); coordinate Examiner review of deal
                        documents (1.1); Coordinate review protocol for claims
                        investigation (.4).
12/03/15    JPC         Draft memorandum describing accounting transactions             2.20   1,089.00
                        undertaken to equitize CEOC/CMBS intercompany loans.
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AVOIDANCE ACTION ANALYSIS
Client/Matter No. 71844.0004

Date        Attorney    Description                                                    Hours   Amount

12/03/15    JLA         Research damages to determine valuation methods (3.4);          7.10   4,331.00
                        continue to research damages for breaches of fiduciary duty
                        involving intellectual property (3.7).
12/03/15    AGM         Teleconference with D. Werb regarding documemts relating        6.60   4,851.00
                        to alternative theory discovery memo (.2); review Examiner
                        interview transcript of G. Loveman (1.3); revise factual
                        application section of alternative recovery theory memo
                        (4.9); email correspondence with D. Werb regarding same
                        (.2).
12/03/15    LPO         Retrieve and download discovery materials regarding             1.50    525.00
                        depositions (.5); retrieve (.6) and collate (.4) discovery
                        materials.
12/03/15    DJW         Identify, analyze and share documents to support an             3.40   1,683.00
                        alternate recovery line of argument (3.2); telephone
                        conference with A. Miller regarding documents relating to
                        same (.2).
12/03/15    HZ          Analyze the documents retrieved from key word searches in       7.00   3,465.00
                        response to the Examiner's request (4.0); identify important
                        documents (1.0); Search and locate the executed Chester
                        Downs Collateral Agreement (1.8); communicate with A.
                        Wellin regarding the agreement (.2).
12/03/15    DD          Review documents produced to Examiner in connection with        1.40    623.00
                        controversial transactions.
12/03/15    YE          Review documents produced to Examiner in connection with        5.00   2,225.00
                        controversial transactions.
12/03/15    PLR         Review documents produced to Examiner in connection with        3.50   1,557.50
                        controversial transactions.
12/03/15    BH          Review documents produced to Examiner in connection with        0.30    133.50
                        controversial transactions.
12/04/15    SAE         Emails with V. Indelicato and team regarding CEC                2.00   1,850.00
                        privileged documents (.2); meet with document reviewers
                        (.8); conference with M. Davidson regarding privilege
                        motion, Examiner (.2); emails with A. Wellin regarding
                        materials for document reviewers (.2); conference with D.
                        Desatnik regarding research on meet and confer issue (.2);
                        email with Jefferies, FTI regarding Las Vegas appraisals
                        (.1); review hot documents from document reviewers (.3).
12/04/15    MED         Review summary of M. Higgins and S. Winograd interviews         3.40   3,400.00
                        (.8); review V. Indelicato and S. Eggers emails regarding
                        Debtors' motion to compel (.3); respond to emails regarding
                        motion to compel (.4); review emails regarding document
                        review (.3); review documents circulated with emails (1.0);
                        attend document review meeting (.6).
12/04/15    MDT         Attend weekly document review team meeting with S.              0.80    588.00
                        Eggers, A. Wellin, and review team.
12/04/15    ASW         Finalize review of hot documents for distribution to team       4.10   3,013.50
                        (3.3); meet with review team regarding avoidance action
                        review (.8).
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AVOIDANCE ACTION ANALYSIS
Client/Matter No. 71844.0004

Date        Attorney    Description                                                    Hours   Amount

12/04/15    JMK         Coordinate processing of electronic evidence into review        1.10    385.00
                        platform.
12/04/15    JPC         Tag documents from internal committees received in              3.20   1,584.00
                        response to Examiner subpoenas (.5); summarize contents of
                        recently-reviewed batches of documents (.8); draft
                        memorandum describing accounting transactions undertaken
                        to equitize CEOC/CMBS intercompany loans (1.1); Meet
                        with S. Eggers and team to discuss case status and recently-
                        reviewed documents (.8).
12/04/15    JLA         Draft email summary of damages research involving               4.20   2,562.00
                        breaches of fiduciary duty (2.3); draft email summary of
                        damages research (1.3); call with S. Eggers, A. Wellin, M.
                        Tillem, and review team regarding document review update
                        (.6).
12/04/15    AGM         Draft email to J. Liu, P. Abelson, and V. Indelicato            4.80   3,528.00
                        regarding potential preference payments (.6); review of
                        CERP transaction fact summary memo and select transaction
                        documents (1.0); continue revision of factual application
                        section of alternative recovery theory memo (4.0).
12/04/15    LPO         Online review via production database regarding key             3.50   1,225.00
                        transactional documents.
12/04/15    VI          Analyze A. Miller preliminary analysis regarding preference     0.50    412.50
                        payments.
12/04/15    SS          Attend controversial transaction document review team           4.30   2,128.50
                        meeting (.8); prepare interview digest for C. Abrahams
                        interview (3.5).
12/04/15    DJW         Document review of new document batches with new                3.40   1,683.00
                        custodians (2.2); and document review in development of
                        alternate recovery arguments (1.2).
12/04/15    HZ          Analyze the documents retrieved from key word searches in       4.70   2,326.50
                        response to the Examiner's request (2.5); identify important
                        documents (.5). Attend team meeting on case status (.8);
                        send the summary of important documents to M. Tillem, A.
                        Wellin, S. Eggers and M. Davidson (.3). Conference with A.
                        Miller regarding additional documents needed for the
                        alternate recovery claim (.1); locate the CERP transaction
                        agreement (.4); send the agreement to A. Miller (.1).
12/04/15    DD          Review documents produced in connection with                    1.70    756.50
                        controversial transactions (.3); meet with S. Eggers, A.
                        Wellin, B. Hooven, Y. Emrani, P. Rieder, and rest of team to
                        discuss progress on document review (.8); research
                        regarding discovery issues (.4); discuss research assignment
                        with S. Eggers (.2).
12/04/15    YE          Attend weekly strategy meeting with S. Eggers, A. Wellin,       0.20     89.00
                        M. Tillem (via telephone), B. Hooven, P. Rieder, and D.
                        Desatnik.
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12/04/15    PLR         Review documents produced in connection with                     6.00   2,670.00
                        controversial transactions (5.2); Meeting with S. Eggers, A.
                        Wellin to discuss ongoing review of controversial
                        transactions (.8).
12/04/15    BH          Review documents produced in connection with                     0.80    356.00
                        controversial transactions.
12/04/15    BH          Meeting with S. Eggers, A. Wellin, P. Rieder, Y. Emrani, D.      0.80    356.00
                        Desatnik, and S. Sullivan.
12/05/15    DD          Research regarding discovery issue.                              2.70   1,201.50
12/07/15    SAE         Telephone conference with V. Indelicato regarding response       2.10   1,942.50
                        to privilege motion (.1); prepare response to privilege
                        motion (1.2); conference with M. Otto regarding facts of
                        matter (.4); review D. Desatnik research on privilege issue
                        (.2); email D. Desatnik regarding same (.1); telephone
                        conference with A. Wellin regarding background documents
                        for M. Otto (.1).
12/07/15    MED         Review P. Rieder email and attachments regarding                 1.30   1,300.00
                        Horseshoe Baltimore (.5); review K. Peterson transcript (.8).
12/07/15    MEO         Meeting with S. Eggers regarding avoidance actions Downs         2.80   2,156.00
                        settlement research (1.2); review background materials (1.6).
12/07/15    JPC         Draft memorandum describing accounting transactions              1.80    891.00
                        undertaken to equitize CEOC/CMBS intercompany loans.
12/07/15    JGL         Review draft response to Debtors’ motion to compel.              0.30    375.00
12/07/15    PMA         Review email correspondence from A. Miller regarding             0.10    107.50
                        avoidance actions.
12/07/15    LPO         Online review via Relativity of document production.             2.50     875.00
12/07/15    DD          Summarize case research for S. Eggers.                           0.20      89.00
12/07/15    YE          Review documents produced in connection with                     3.30   1,468.50
                        controversial transactions.
12/07/15    PLR         Review documents produced in connection with                     5.20   2,314.00
                        controversial transactions.
12/08/15    SAE         Conference with M. Tillem regarding document review              2.00   1,850.00
                        issues (.2); telephone conferences with S. Sullivan regarding
                        research on privilege issues (.3); review cases from S.
                        Sullivan regarding privilege issues (.6); emails with
                        bankruptcy, litigation teams regarding privilege motion (.4);
                        revise response (.3); review materials on TIA amendments
                        (.2).
12/08/15    MED         Review draft objection to motion to compel (.4); locate and      3.10   3,100.00
                        send privilege logs to S. Eggers and S. Sullivan (.3); review
                        P. Abelson email regarding Jones Day argument (.1); legal
                        research regarding privilege in M&A context (.9); email to
                        S. Eggers, P. Abelson and V. Indelicato regarding same (.2);
                        review S. Sullivan research and cases regarding third-party
                        disclosure (.5); review S. Eggers email regarding results of
                        research, cases and revised objection to motion to compel
                        (.5); emails with S. Eggers regarding meeting with
                        associates to discuss response to Examiner (.2).
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12/08/15    MEO         Review background materials per S. Eggers request                3.10   2,387.00
                        regarding avoidance action claims research (3.0); email with
                        S. Eggers regarding scheduling meeting (.1).
12/08/15    JMK         Coordinate searching and analysis of hot documents               1.10    385.00
                        produced in evidence review platform.
12/08/15    JGL         Review email from M. Davidson regarding customer lists           0.50    625.00
                        (.1); review email from M. Davidson regarding privilege
                        issues (.2); review draft response to CEOC motion to compel
                        discovery (.2).
12/08/15    SS          Research regarding privilege issue (6.4); telephone call with    6.70   3,316.50
                        S. Eggers regarding same (.3).
12/08/15    HZ          Analyze the documents retrieved from key word searches in        1.00    495.00
                        response to the Examiner's request (.7); identify important
                        documents (.3).
12/08/15    YE          Review documents produced in connection with                     4.30   1,913.50
                        controversial transactions.
12/08/15    PLR         Review documents produced in connection with                     3.70   1,646.50
                        controversial transactions.
12/09/15    SAE         Prepare for meeting (.2); meeting with M. Davidson, M.           1.90   1,757.50
                        Otto, S. Sullivan, A. Wellin regarding memos/projects for
                        Examiner (1.0); draft amendment (.3); review presentation
                        on various controversial transactions (.3); email team
                        regarding same (.1).
12/09/15    MED         Conference with J. Colangelo regarding equitization memo         2.60   2,600.00
                        (.2); meeting with S. Eggers, A. Wellin, S. Sullivan and M.
                        Otto regarding preparation of memo to Examiner (1.0); pull
                        complaints and services agreement materials and send to S.
                        Eggers, A. Wellin, S. Sullivan and M. Otto (.5); review A.
                        Wellin email regarding Examiner comments on deposition
                        testimony (.1); briefly review recent interview transcripts
                        (.7); email to A. Wellin regarding Examiner comments (.1).
12/09/15    MEO         Meet with S. Eggers, M. Davidson, A. Wellin, S. Sullivan         2.50   1,925.00
                        regarding Examiner materials (1); Research regarding
                        avoidance action claim (1.5).
12/09/15    ASW         Prepare for (.3); and attend team meeting regarding              1.30    955.50
                        Examiner presentation (1.0).
12/09/15    JMK         Coordinate processing of electronic evidence into review         0.50    175.00
                        platform.
12/09/15    JPC         Discuss equitization of CEOC/CMBS intercompany loans             4.70   2,326.50
                        with M. Davidson (.3); draft memorandum describing same
                        (3.2); review controversial transactions fairness opinion
                        (1.2).
12/09/15    JLA         Research damages issue for S. Eggers.                            0.90    549.00
12/09/15    LPO         Online review of discovery materials regarding deposition        2.00    700.00
                        exhibits (1.0); Retrieve (.4) and index (.6) documents
                        regarding discovery materials.
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12/09/15    SS          Meeting with S. Eggers, M. Davidson, and A. Wellin to           2.20   1,089.00
                        discuss materials to be prepared for Examiner (1.0); review
                        C. Abrahams interview transcript (1.2).
12/09/15    HZ          Analyze documents retrieved from key word searches in           3.20   1,584.00
                        response to the Examiner's request (2.7); identify important
                        documents (.5).
12/09/15    YE          Review documents produced in connection with                    1.80    801.00
                        controversial transactions.
12/09/15    PLR         Review documents produced in connection with                    6.20   2,759.00
                        controversial transactions.
12/09/15    BH          Review documents produced in connection with                    3.00   1,335.00
                        controversial transactions.
12/10/15    SAE         Conference with A. Wellin regarding Examiner interview          1.90   1,757.50
                        transcripts (.2); emails with V. Indelicato regarding
                        Committee call, CEC privilege log (.1); review documents
                        regarding CIE (.4); conference with A. Wellin regarding CIE
                        issues (.3); review G. Loveman interview summary (.5);
                        review emails, correspondence regarding CEC privilege log
                        (.1); emails with H. Denman, V. Indelicato regarding
                        Examiner interview transcripts (.2); review research on
                        damage theories and email team regarding same (.1).
12/10/15    MED         Review S. Eggers email regarding research on Total              1.50   1,500.00
                        Rewards damages (.3); review attached cases (.8). Review
                        G. Loveman transcript summary (.4).
12/10/15    MEO         Research regarding avoidance action claims.                     4.40   3,388.00
12/10/15    ASW         Research CIE transaction for presentation to the Examiner       9.20   6,762.00
                        (8.3); conference with S. Egger regarding interview
                        transcripts (.2); confer with S. Eggers regarding CIE (.3);
                        conference with J. Colangelo regarding non-recourse notes
                        (.4).
12/10/15    JPC         Perform focused searches for emails and documents related       5.50   2,722.50
                        to 10.75% non-recourse notes (2.3); discuss findings related
                        to 10.75% non-recourse notes with A. Wellin (.4); analyze
                        agreements related to 2011 WSOP transactions (.5); discuss
                        WSOP 2011 agreements with S. Sullivan (.2); draft
                        memorandum describing accounting transactions undertaken
                        to equitize CEOC/CMBS intercompany loans (2.1).
12/10/15    JLA         Research consequential damages issue for S. Eggers.             3.10   1,891.00
12/10/15    MJB         Review four transcripts from Examiner investigation.            5.80   7,511.00
12/10/15    PMA         Analyze corporate governance memo regarding Caesars.            0.60     645.00
12/10/15    VI          Analyze G. Loveman interview transcript.                        1.50   1,237.50
12/10/15    SS          Research related to CIE (3.1); discuss WSOP 2011                3.30   1,633.50
                        documents with J. Colangelo (.2).
12/10/15    HZ          Analyze the documents retrieved from key word searches in       3.10   1,534.50
                        response to the Examiner's request (2.7); identify important
                        documents (.4).
12/10/15    YE          Review documents produced in connection with                    1.20    534.00
                        controversial transactions.
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12/10/15    PLR         Review documents produced in connection with                    2.00    890.00
                        controversial transactions.
12/10/15    BH          Review documents produced in connection with                    4.20   1,869.00
                        controversial transactions.
12/11/15    SAE         Review CEC privilege log (.8); emails with V. Indelicato, A.    1.30   1,202.50
                        Wellin, P. Abelson regarding privilege log (.2); review
                        emails from document reviewers and attached documents
                        (.3).
12/11/15    MED         Email to J. Colangelo regarding CIE memo (.1); review J.        2.50   2,500.00
                        Anderson email regarding document review status (.1);
                        review Y. Emrani email regarding document review status
                        and attachment (.3); review H. Zheng email regarding
                        document review status and attachments (.6); review A.
                        Wellin email regarding privilege log (.1); review S. Eggers
                        and V. Indelicato emails regarding same (.2); review A.
                        Wellin email regarding Rio and attachment (.2); review M.
                        Rowan interview summary (.4); review D. Sambur interview
                        summary (.5).
12/11/15    MEO         Research regarding avoidance action claims (1.8); draft         3.40   2,618.00
                        memo regarding research on same (1.6).
12/11/15    ASW         Research CIE transaction for presentation to the Examiner       4.30   3,160.50
                        (3.6); confer with A. Wellin regarding first lien offering
                        memo (.2); confer with document review teams (.5).
12/11/15    JMK         Conduct analysis in evidence review platform.                   1.00    350.00
12/11/15    JLA         Call with A. Wellin, M. Tillem, and rest of the review team     0.50    305.00
                        regarding document review updates.
12/11/15    JGL         Review digest of M. Rowan interview.                            0.40    500.00
12/11/15    PMA         Review email correspondence from D. Ireland summarizing         0.60    645.00
                        G. Loveman transcript (.4); confer with S. Ma regarding
                        Planet Hollywood (.1); Review document related to CERP
                        transaction from document production (.1).
12/11/15    LPO         Online review of privilege logs regarding document              2.50    875.00
                        production.
12/11/15    VI          Analyze M. Rowan interview transcript.                          1.80   1,485.00
12/11/15    SS          Research regarding breach of fiduciary duty (6.0); attend       6.50   3,217.50
                        conference call with litigation document review team (.5).
12/11/15    HZ          Analyze the documents retrieved from key word searches in       3.90   1,930.50
                        response to the Examiner's request (2.3); identify important
                        documents (.3); communicate with A. Wellin regarding first
                        lien offering memo search (.2); conference with the team
                        regarding case status (.5); summarize certain important
                        documents (.5); send the summary to M. Tillem, A. Wellin,
                        S. Eggers, M. Davidson (.1).
12/11/15    DD          Review documents produced in connection with                    2.20    979.00
                        controversial transactions (1.7); meet with team to discuss
                        progress on document review (.5).
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12/11/15    YE          Review documents produced in connection with                     5.40   2,403.00
                        controversial transactions (4.9); meet with team members to
                        discuss documents related to controversial transactions (.5).
12/11/15    PLR         Meeting to discuss documents connected to controversial          0.50    222.50
                        transactions.
12/11/15    BH          Review documents produced in connection with                     1.80    801.00
                        controversial transactions (1.3). Meeting with S. Eggers, A.
                        Wellin, P. Rieder, Y. Emrani, D. Desatnik, and S. Sullivan
                        regarding document review (.5).
12/12/15    MED         Emails with J. Colangelo regarding CIE memo (.2); skim N.        1.10   1,100.00
                        Fillipelli transcript (.3); review M. Cohen interview
                        summary (.3); review D. Wilfong interview summary (.3).
12/12/15    JLA         Continue to research damages issues.                             1.90   1,159.00
12/12/15    LPO         Index (.6) and collate (.4) discovery materials.                 1.00     350.00
12/12/15    YE          Review documents produced in connection with                     1.20     534.00
                        controversial transactions.
12/13/15    JPC         Review transaction documents related to the 2008 transfer of     7.50   3,712.50
                        the CMBS properties (3.2); draft memorandum describing
                        accounting transactions undertaken to equitize
                        CEOC/CMBS intercompany balances (4.3).
12/13/15    JLA         Draft summary of research regarding damages for S. Eggers.       1.90   1,159.00
12/13/15    PMA         Analyze Examiner report digests.                                 2.10   2,257.50
12/13/15    SS          Research regarding breach of fiduciary claim (2.0), research     4.80   2,376.00
                        regarding statute of limitation (1.0), research regarding
                        remedies for breach of fiduciary duty (1.8).
12/14/15    SAE         Email team regarding document requests to Debtors (.1);          1.20   1,110.00
                        conference with A. Wellin, M. Davidson, S. Sullivan
                        regarding CIE issues (.6); telephone conference with J.
                        Colangelo, A. Wellin regarding CIE issues (.3); emails with
                        team regarding privilege log issues (.1); emails with team
                        regarding documents requests (.1).
12/14/15    MED         Review R. Cleary and S. Eggers email regarding timing of         5.70   5,700.00
                        motions (.2). Review draft memo regarding equitization and
                        supporting documents (.9); email to J. Colangelo regarding
                        same (.6); conference with J. Colangelo regarding
                        equitization memo (.1). Review D. Bonderman interview
                        summary (.6); review K. Davis interview summary (.4);
                        review T. Dunn interview summary (.3); review F. Kleisner
                        interview summary (.3); review G. Kranias interview
                        summary (.4); review S. Eggers email regarding research on
                        damages (.4); review cases regarding same (.5); review M.
                        Otto email and memo regarding avoidance actions (.4);
                        confer with S. Eggers, A. Wellin and S. Sullivan regarding
                        CIE transaction (.6).
12/14/15    MEO         Research regarding potential avoidance action (1.5); draft &     3.80   2,926.00
                        circulate memo regarding avoidance action issues (1.3).
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12/14/15    ASW         Research (5.5) and draft outline (1.3) of CIE presentation for    7.90   5,806.50
                        Examiner meeting with S. Eggers, M. Davidson and S.
                        Sullivan regarding CIE transactions (.6); emails with H.
                        Zheng regarding CMBS financing in 2008 (.2); confer with
                        S. Eggers and J. Colangelo regarding CIE issues (.3).
12/14/15    JPC         Discuss draft memo related to the equitization of                 6.70   3,316.50
                        CEOC/CMBS intercompany balances with M. Davidson
                        (.1); prepare memorandum regading same (3.3); discuss CIE
                        with S. Eggers and A. Wellin (.3); perform focused searches
                        for CIE documents (1.8); Analyze WSOP IP documation
                        (1.2).
12/14/15    JLA         Edit research summary email of relief related to fraudulent       1.30    793.00
                        transfers for S. Eggers.
12/14/15    JGL         Review latest changes to controversial transactions standing      0.60    750.00
                        memo (.3); email to C. Theodoridis regarding same (.1);
                        review emails from P. Possinger and S. Eggers regarding
                        potential discovery (.2).
12/14/15    PMA         Analyze Examiner interview transcript digests.                    0.10    107.50
12/14/15    LPO         Retrieve (.5) and index (.5) documents discovery materials        1.00    350.00
                        from depository.
12/14/15    VI          Analyze K. Davis and D. Bonderman interview transcripts.          1.50   1,237.50
12/14/15    SS          Review documents produced to Examiner regarding                   9.20   4,554.00
                        controversial transactions (3.8); meeting with S. Eggers, M.
                        Davidson, and A. Wellin regarding CIE issues (.6); research
                        on usurpation of corporate opportunity (4.8).
12/14/15    HZ          Email communication with A. Wellin regarding the                  0.20     99.00
                        document search for the CMBS financing in 2008.
12/14/15    DD          Review documents produced in connection with                      3.00   1,335.00
                        controversial transactions.
12/14/15    YE          Review documents produced in connection with                      4.10   1,824.50
                        controversial transactions.
12/14/15    PLR         Review documents produced in connection with                      0.90    400.50
                        controversial transactions
12/14/15    BH          Review documents produced in connection with                      1.00    445.00
                        controversial transactions.
12/15/15    SAE         Telephone conference with Paul Weiss regarding CEC                3.40   3,145.00
                        privilege log (.3); email Paul Weiss regarding same (.3);
                        telephone conference with P. Possinger regarding privilege
                        log (.2); review cases, materials on privilege log
                        requirements (.5); emails with P. Possinger, et al. regarding
                        privilege log (.2); edit M. Otto memo on potential claim (.4);
                        telephone conferences with M. Otto regarding same (.3);
                        conferences with A. Wellin regarding potential claims (.4);
                        review certain CEC SEC filings regarding claim issues (.3);
                        emails with A. Wellin, S. Sullivan regarding potential claim
                        remedy issues (.3); conference with C. Theodoridis
                        regarding complaint (.2).
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12/15/15    MED         Review J. Scherer interview summary (.3); review C. Leung         1.10   1,100.00
                        interview summary (.3); review P. Wisler interview
                        summary (.1); review P. Possinger email regarding privilege
                        log (.1); email to P. Possinger regarding same (.2); review S.
                        Eggers email regarding same (.1).
12/15/15    MEO         Revise draft memo regarding potential avoidance action            2.60   2,002.00
                        claims per S. Eggers edits (.7); call with S. Eggers regarding
                        revisions (.3); revise memo per S. Eggers edits & email S.
                        Eggers (1.6).
12/15/15    ASW         Research (6.2) and draft outline (2.2) of CIE presentation for    9.40   6,909.00
                        Examiner; correspond with H. Zheng regarding CMBS (.2);
                        confer with S. Eggers regarding potential claim (.4); discuss
                        SEC filing regarding WSOP ownership notice with J.
                        Colangelo (.8).
12/15/15    JPC         Revise memorandum describing equitization of                      7.50   3,712.50
                        intercompany balance between CEOC and CMBS in view of
                        comments by M. Davidson (3.8); analyze SEC filings from
                        2009-2010 regarding WSOP (2.9); discuss SEC filings
                        relevant to WSOP with A. Wellin (.8).
12/15/15    JLA         Further review documents for responsiveness to future             4.60   2,806.00
                        claims of the Committee.
12/15/15    AGM         Analyze email correspondence from W. Ng regarding                 0.40    294.00
                        preference payment analysis (.3); draft follow-up email
                        concerning same to J. Liu, P. Abelson, and V. Indelicato
                        (.1).
12/15/15    JGL         Review M. Rowan interview digest (.4); review email               0.50    625.00
                        correspondence regarding CEC privilege log from P.
                        Possinger and S. Eggers (.1).
12/15/15    PMA         Review Examiner interview digest.                                 0.20    215.00
12/15/15    LPO         Index (.5) and collate (.4) documents regarding interviews        0.90    315.00
                        and exhibits.
12/15/15    VI          Analyze T. Dunn and F. Kleisner interview transcripts (1.4);      1.90   1,567.50
                        analyze potential preference claims (.5).
12/15/15    SS          Review documents produced to Examiner regarding                   7.90   3,910.50
                        controversial transactions (4.2); research on remedies for
                        certain controversial transactions (3.7).
12/15/15    HZ          Analyze the documents retrieved from key word searches in         6.20   3,069.00
                        response to the Examiner's request (4.5); identify important
                        documents (.5). Targeted search for the collateral
                        agreements of the CMBS financing in 2008 (1.0); email
                        communication with A. Wellin regarding the same (.2).
12/15/15    DD          Review documents produced in connection with                      0.20     89.00
                        controversial transactions.
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12/16/15    SAE         Review draft FTI, Jefferies presentations for Examiner on         4.90   4,532.50
                        multiple subjects (2.1); review CEC privilege log (.2);
                        emails with P. Abelson, Paul Weiss regarding same (.3);
                        telephone conference with M. Otto regarding potential
                        claims research memo comments (.2); review research
                        results from M. Otto (.5); review CIE presentation (.6);
                        conference with A. Wellin, S. Sullivan regarding CIE
                        presentation (1.0).
12/16/15    MED         Review further J. Colangelo email and draft equitization          5.90   5,900.00
                        memo (.4); email to J. Colangelo regarding same (.1);
                        review revised M. Otto memo regarding potential avoidance
                        actions (.2); email to Proskauer team regarding same (.1);
                        review revised CIE outline (.4); send comments to S. Eggers
                        (.3); conference with A. Wellin regarding source documents
                        for comments on CIE outline (.1); retrieve document
                        regarding projected cash flow expense and send to A. Wellin
                        (.3); prepare spreadsheet analyzing CEC, CEOC and CMBS
                        data as of LBO date (1.3); send email to FTI with
                        spreadsheet regarding same (.2); review draft FTI and
                        Jefferies decks for meeting with Examiner (1.0); emails with
                        J. Colangelo regarding FTI request for CIE agreements (.2).
                        Review S. Eggers emails and attached privilege logs of
                        documents that were and were not produced to Examiner
                        (.8); review P. Abelson and S. Eggers emails regarding same
                        (.2); review A. Kornberg interview summary (.3).
12/16/15    MEO         Research regarding potential avoidance action claims (4.3);       4.80   3,696.00
                        email S. Eggers regarding same (.5).
12/16/15    ASW         Research (4.8) and draft outline of CIE presentation (1.1) for    7.20   5,292.00
                        Examiner; discuss WSOP transfer with J. Colangelo (.3);
                        meeting with S. Eggers and S. Sullivan regarding CIE (1.0).
12/16/15    JMK         Coordinate access to evidence review platform (.1);               0.90    315.00
                        coordinate processing of electronic evidence into review
                        platform (.8).
12/16/15    JM          Review documents produced by third parties to Examiner            5.00   3,050.00
                        regarding controversial transactions.
12/16/15    JPC         Supplement CMBS equitization fact memorandum (4.8);               8.40   4,158.00
                        summarize relevant SEC filings from 2009-2010 related to
                        WSOP (1.2); discuss strategy with A. Wellin regarding
                        WSOP analysis (.3); perform research regarding WSOP
                        (2.1).
12/16/15    JLA         Review additional documents to determine and support              3.80   2,318.00
                        future claims of the Committee.
12/16/15    AGM         Teleconference with J. Liu regarding FTI preliminary              0.80    588.00
                        preference analysis (.6); draft email to W. Ng concerning
                        follow-up with respect to same (.2).
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AVOIDANCE ACTION ANALYSIS
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Date        Attorney    Description                                                     Hours   Amount

12/16/15    JGL         Review correspondence from S. Eggers regarding CEC               1.90   2,375.00
                        privilege log (.2); teleconference with A. Miller regarding
                        preference analysis (.6); review excel spreadsheets regarding
                        preference analysis (.8); review research memo concerning
                        services agreement claims (.3).
12/16/15    PMA         Review email correspondence from M. Davidson and W. Ng           0.10    107.50
                        regarding avoidance actions.
12/16/15    VI          Analyze LBO avoidance action issues (1.5); review A.             2.00   1,650.00
                        Kornberg interview transcript (.5).
12/16/15    SS          Meeting with S. Eggers and A. Wellin to discuss creating a       6.90   3,415.50
                        CIE deck for the Examiner (1.0); prepare CIE deck (3.4);
                        Review documents produced to Examiner regarding
                        controversial transactions (2.5).
12/16/15    DD          Review documents produced in connection with                     0.80    356.00
                        controversial transactions.
12/16/15    PLR         Review documents produced in connection with                     7.20   3,204.00
                        controversial transactions.
12/17/15    SAE         Review presentation materials for Examiner (1.0);                5.80   5,365.00
                        conference with S. Sullivan regarding Examiner presentation
                        (.5); conference with M. Otto regarding memo on potential
                        avoidance action claims (.5); telephone conferences with M.
                        Otto regarding same (.2); revise memo to Examiner (.5);
                        review cited cases (.5); review documents (.8); prepare
                        presentation on same (.9); emails with FTI, Jefferies,
                        Proskauer regarding comments (.2); telephone conferences
                        with A. Miller regarding intercompany loan (.2); telephone
                        conference with H. Zheng regarding CEOC board
                        composition, review memo regarding same (.2); telephone
                        conference with V. Indelicato regarding attendance at
                        Examiner meeting (.1); review R. Mollett transcript (.2).
12/17/15    MED         Review A. Wellin email regarding CIE (.1) and draft CIE          4.20   4,200.00
                        deck for Examiner meeting (.4); email to A. Wellin
                        regarding Zynga issue (.1); conference with A. Wellin
                        regarding same (.1); review draft decks forwarded by
                        Jefferies for Examiner's meeting (1.2); review S. Eggers
                        emails regarding meeting with Examiner (.2); retrieve
                        documents regarding sponsors' management fees (.3);
                        conference with S. Eggers regarding same (.1); revise J.
                        Colangelo memo regarding equitization (1.0); review S.
                        Eggers email and revised CIE deck (.4); review G.
                        Bousquette emails regarding CIE (.3).
12/17/15    MEO         Research regarding potential avoidance action (3.5); Email       5.40   4,158.00
                        with S. Eggers regarding same (.2); call from S. Eggers
                        regarding same (.2); conference with S. Eggers regarding
                        avoidance action claims research (.5); revise draft memo
                        regarding same (1.0).
12/17/15    ASW         Revise CIE presentation outline for Examiner (2.5);              2.70   1,984.50
                        telconference with A. Miller regarding potential preference
                        payments (.2).
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Date        Attorney    Description                                                       Hours   Amount

12/17/15    JM          Review documents produced to Examiner regarding                    2.00   1,220.00
                        controversial transaction.
12/17/15    JPC         Perform research regarding WSOP (3.1); summarize results           4.30   2,128.50
                        for A. Wellin (1.2).
12/17/15    AGM         Review of FTI preference payment spreadsheet in                    3.90   2,866.50
                        preparation for call with W. Ng (.2); Teleconference with W.
                        Ng regarding preference payment analysis (.5); Draft
                        follow-up email to J. Liu, P. Abelson, and V. Indelicato
                        concerning same (.2); Teleconference with J. Liu regarding
                        potential preference payments (.2); Teleconference with S.
                        Eggers regarding same (.1); Teleconference with A. Wellin
                        regarding same (.2); Teleconferences with Y. Emrani and I.
                        Anton regarding Relativity search relating to preference
                        payment items (1.3); email correspondence with Y. Emrani
                        concerning follow-up review relating to same (.5); analyze
                        certain materials sent from Y. Emrani relating to same (.5);
                        confer with H. Zheng regarding intercompany agreements
                        search (.2).
12/17/15    JGL         Discussion with P. Abelson regarding preferences (.2);             1.10   1,375.00
                        Review preliminary preference analysis for certain non-
                        debtor transfers (.3); correspondence with A. Miller
                        regarding potential preference payments (.1); review
                        preference analysis (.3); teleconference with A. Miller
                        regarding same (.2).
12/17/15    LPO         Online review of discovery materials regarding deposition          2.00    700.00
                        exhibits (1.0); Download discovery materials regarding
                        Examiner's interview transcripts (1.0).
12/17/15    MG          Review interview transcripts (.9); create spread sheet             1.70    637.50
                        compiling information regarding witnesses (.8).
12/17/15    VI          Review preference analysis update (.3); review R. Mollett          1.50   1,237.50
                        interview transcript (1.2).
12/17/15    SS          Revised CIE deck (1.1); draft executive summary (2.8);             5.60   2,772.00
                        finalizing CIE materials (1.2); conference with S. Eggers
                        regarding Examiner prevaluation (.5).
12/17/15    HZ          Confer with A. Miller regarding the intercompany                   0.60    297.00
                        agreements search (.2); confer with S. Eggers regarding the
                        board of directors list (.1); search for the board of directors
                        list (.2); send the board of directors list to S. Eggers (.1).
12/17/15    DD          Review documents produced in connection with                       1.20    534.00
                        controversial transactions.
12/17/15    YE          Review documents produced in connection with                       5.30   2,358.50
                        controversial transactions (4.8 ); conference with A. Miller
                        regarding search related to preference payments (.5).
12/17/15    PLR         Review documents produced in connection with                       7.10   3,159.50
                        controversial transactions.
12/17/15    BH          Review documents produced in connection with                       0.30    133.50
                        controversial transactions.
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Date        Attorney    Description                                                      Hours   Amount

12/18/15    SAE         Numerous emails with team regarding Examiner                      3.80   3,515.00
                        presentations (.8); prepare for Examiner presentation (1.5);
                        review final drafts of Examiner presentations (.9); emails
                        with V. Indelicato regarding providing Examiner
                        presentation to Committee (.1); telephone conference with S.
                        Sullivan regarding same (.1); telephone conference with S.
                        Sullivan regarding protective order provisions (.2);
                        conference with S. Sullivan regarding redaction
                        requirements (.2).
12/18/15    ASW         Confer with document review teams.                                0.50     367.50
12/18/15    JM          Review documents produced to Examiner regarding                   8.00   4,880.00
                        controversial transaction.
12/18/15    JPC         Perform focused searches for documents related to funding         3.50   1,732.50
                        of the Playtika acquisition (2.4); review interview transcript
                        of R. Mollett (.6); participate in conference call with A.
                        Wellin and document review team to discuss document
                        review progress and meeting with Examiner (.5).
12/18/15    AGM         Review of documents from Y. Emrani relating to preference         0.30    220.50
                        payment analysis.
12/18/15    LPO         Online review of discovery materials regarding deposition         2.50    875.00
                        exhibits (1.0); Download discovery materials regarding
                        Examiner's transcripts (1.5).
12/18/15    MG          Continue to prepare witness interview spreadsheet.                2.90   1,087.50
12/18/15    SS          Review deck for Examiner presentation and determine items         3.80   1,881.00
                        to be redacted before sharing the presentation with the
                        Committee (3.4); telephone conference with S. Eggers
                        regarding same (.1); telephone conference with S. Eggers
                        regarding protective order (.1) and confer with S. Eggers
                        regarding redaction issues (.2).
12/18/15    HZ          Analyze the documents retrieved from key word searches in         3.10   1,534.50
                        response to the Examiner's request (1.7); identify important
                        documents (.3); office conference with the team regarding
                        the case status (.5); summarize certain important documents
                        (.5); send the summary to M. Tillem, A. Wellin, S. Eggers,
                        M. Davidson (.1).
12/18/15    DD          Meet with team to discuss progress on document review (.5);       1.70    756.50
                        review "hot docs" circulated by document review team (.2);
                        review documents produced in connection with controversial
                        transactions (1.0).
12/18/15    YE          Review documents produced in connection with                      4.00   1,780.00
                        controversial transactions (3.5); attend meeting to discuss
                        case developments (.5).
12/18/15    PLR         Review documents produced in connection with                      4.00   1,780.00
                        controversial transactions (3.5); meeting with document
                        review team to discuss documents relating to controversial
                        transactions (.5).
12/18/15    BH          Review documents produced in connection with                      1.50    667.50
                        controversial transactions (.8); meeting with document
                        review team regarding document review (.7).
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Date        Attorney    Description                                                     Hours   Amount

12/20/15    HZ          Analyze documents from key word searches in response to          5.00   2,475.00
                        the Examiner's request (4.5); identify important documents
                        (.5).
12/21/15    SAE         Prepare analysis of CEOC acquisition rights (.5); telephone      1.10   1,017.50
                        conferences with S. Sullivan regarding same (.2); telephone
                        conferences with J. Colangelo regarding CIE interest (.3);
                        review CEC privilege log materials (.1).
12/21/15    MED         Review S. Eggers email regarding CEOC's loss of control          2.90   2,900.00
                        over potential acquisition (.2); review CEC and omnibus
                        licensing documentation (1.0); email to S. Eggers regarding
                        loss of control issues (.2); review A. Wellin email regarding
                        intercompany loan analysis for preference claim (.2); review
                        attached documents regarding intercompany loans (1.0);
                        review S. Eggers email regarding privilege list (.2); review
                        A. Wellin follow up email regarding intercompany loans
                        (.1).
12/21/15    JMK         Coordinate processing of electronic evidence into review         0.70    245.00
                        platform.
12/21/15    JM          Review documents produced to Examiner regarding                  9.50   5,795.00
                        controversial transaction.
12/21/15    JPC         Discuss CIE acquisition with S. Eggers (.3); Perform             1.00    495.00
                        targeted research for documents related to CGP acquisition
                        of CIE (.7).
12/21/15    AGM         Draft email to W. Ng regarding preference payment analysis       5.40   3,969.00
                        project timeline, hot documents with respect to particular
                        transfer (.2); email correspondence with Y. Emrani
                        regarding follow-up Relativity search regarding preference
                        payment items analysis (.2); Conduct review of documents
                        as relevant to preference payment analysis (2.8); Analyze
                        terms of central financial contract documents relating to
                        same (1.0); Draft follow-up email to W. Ng and J. French
                        regarding contract analysis (.9); Draft email to A. Wellin
                        regarding status update (.1); teleconference with J. Liu
                        regarding preference analysis (.2).
12/21/15    JGL         Meeting with P. Abelson, M. Zerjal regarding avoidance           1.30   1,625.00
                        actions (.5); discussions with P. Abelson, M. Zerjal
                        regarding avoidance actions (.2); teleconference with A.
                        Miller regarding preference analysis (.2); review (lengthy)
                        email correspondence from A. Miller regarding same (.2);
                        teleconference with P. Abelson regarding preference
                        analysis (.2).
12/21/15    MZ          Meeting with J. Liu and P. Abelson regarding avoidance           0.80    588.00
                        actions (.5); discussion with J. Liu regarding same (.2);
                        confer with P. Abelson regarding same (.1).
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Date        Attorney    Description                                                    Hours   Amount

12/21/15    PMA         Review Committee advisors presentations regarding               1.00   1,075.00
                        avoidance actions (.3); conference with J. Liu and M. Zerjal
                        regarding avoidance actions (.5); Review and respond to
                        email correspondence from M. Zerjal regarding avoidance
                        actions (.1); conference with M. Zerjal regarding avoidance
                        actions (.1).
12/21/15    SS          Prepare an email regarding the elements of fraudulent           3.70   1,831.50
                        transfer and breach of fiduciary duty claims (.7); review
                        CES agreement and Omnibus Services and License
                        Agreement (1.2); draft an email regarding the CES LLC
                        agreement and omnibus licensing agreement (1.6); telephone
                        conferences with S. Eggers regarding CEOC acquisition
                        rights (.2).
12/21/15    DJW         Review documents produced to Examiner for a variety of          6.10   3,019.50
                        issues, including the CMBS transaction, of CAC and CEC.
12/21/15    HZ          Analyze the documents retrieved from key word searches in       2.00    990.00
                        response to the Examiner's request (1.7); identify important
                        documents (.3).
12/21/15    DD          Review documents produced in connection with                    0.80    356.00
                        controversial transactions.
12/21/15    YE          Review documents produced in connection with                    1.80    801.00
                        controversial transactions.
12/21/15    PLR         Review documents produced in connection with                    3.50   1,557.50
                        controversial transactions.
12/22/15    SAE         Review S. Sullivan email regarding analysis under CES           1.30   1,202.50
                        agreement (.2); review CES Agreement, Omnibus
                        Agreement (.5); telephone conference with S. Sullivan
                        regarding analysis (.1); conference with S. Sullivan
                        regarding revised analysis (.5).
12/22/15    MED         Review FTI email and E. Hession and J. Halkyard interview       1.00   1,000.00
                        summaries.
12/22/15    PP          Review avoidance action research materials (.6); emails with    2.10   2,152.50
                        J. Webb and J. Liu regarding same (.4); call with J. Liu, J.
                        Webb, P. Abelson and M. Zerjal regarding research thus far
                        (.5); review follow-up research from J. Webb (.6).
12/22/15    JM          Review documents produced to Examiner regarding                 8.00   4,880.00
                        controversial transaction.
12/22/15    SM          Review Four Properties Transaction, CGP Transaction, and        1.00    610.00
                        Linq/Octavius Transaction regarding intermediaries in
                        transaction.
12/22/15    MJB         Review six interview transcripts from Examiner to               3.80   4,921.00
                        determine existence of evidence for other actions.
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Date        Attorney    Description                                                      Hours   Amount

12/22/15    JGL         Conference call with M. Zerjal, P. Abelson, P. Possinger          1.80   2,250.00
                        regarding avoidance actions research issues (5); Discussion
                        with P. Abelson regarding avoidance actions (.2); Discussion
                        with P. Abelson, M. Zerjal regarding avoidance actions (.1);
                        Discussion with M. Bienenstock regarding avoidance actions
                        (.3); teleconferences with P. Abelson regarding avoidance
                        actions (.2); Review email correspondence from S. Ma
                        regarding controversial transactions (.4); teleconference with
                        P. Abelson regarding controversial transactions (.1).
12/22/15    MZ          Discuss defenses to avoidance claims with J. Liu, P.              4.70   3,454.50
                        Abelson, P. Possinger and J. Webb (.5); Discuss same with
                        P. Abelson and J. Liu (.1) and separately with P. Abelson
                        (.1) and separately with J. Liu (.2); conduct research
                        regarding same (3.8).
12/22/15    PMA         Review materials regarding avoidance actions and                  2.80   3,010.00
                        controversial transactions (1.3); Review and draft email
                        correspondence with Proskauer team regarding avoidance
                        actions (.2); conference with J. Webb, P. Possinger, M.
                        Zerjal, and J. Liu regarding avoidance actions (.5); confer
                        with J. Liu regarding avoidance actions (.5); conference with
                        M. Zerjal regarding avoidance actions (.2); conference with
                        J. Liu and M. Zerjal regarding avoidance actions (.1).
12/22/15    VI          Analyze E. Hession and J. Halkyard interview transcripts.         1.50   1,237.50
12/22/15    SS          Review Omnibus License Agreement and CES LLC                      5.00   2,475.00
                        Agreement (1.5); draft a memo to the Examiner regarding
                        the Omnibus License Agreement and CES LLC Agreement
                        (3.0); conference with S. Eggers regarding CES analysis
                        (.5).
12/22/15    DJW         Review of documents produced by various custodians                5.30   2,623.50
                        including CEC, CAC, GSO, Duff & Phelps.
12/22/15    YE          Review documents produced in connection with                      4.90   2,180.50
                        controversial transactions.
12/22/15    PLR         Review documents produced in connection with                      5.00   2,225.00
                        controversial transactions.
12/23/15    SAE         Telephone conferences with S. Sullivan regarding memo             2.80   2,590.00
                        regarding Total Rewards (.4); revise memo regarding same
                        (1.6); telephone conferences with S. Sullivan regarding
                        interest issue (.2); review research on interest issue (.2);
                        email FTI, Jefferies, Proskauer team regarding interest issue
                        (.3); telephone conference with M. Tillem regarding same
                        (.1).
12/23/15    JMK         Coordinate processing of electronic evidence into review          0.70    245.00
                        platform.
12/23/15    JM          Review documents produced to Examiner regarding                   8.00   4,880.00
                        controversial transaction.
12/23/15    JGL         Review email correspondence from S. Eggers regarding              0.40    500.00
                        CES (.1) and review related memo (.3).
12/23/15    VI          Review S. Eggers' email correspondence regarding                  0.10     82.50
                        prejudgment interest.
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Date        Attorney    Description                                                    Hours   Amount

12/23/15    SS          Research regarding interest issue (3.2); revised CES memo       6.30   3,118.50
                        for the Examiner (2.1); telephone conference with S. Eggers
                        regarding Total Rewards (.4); telephone conference with S.
                        Eggers regarding interest issues (.6).
12/23/15    DJW         Review of documents not yet reviewed with selected terms        1.90    940.50
                        from Search Term Report.
12/23/15    HZ          Analyze the documents retrieved from key word searches in       3.00   1,485.00
                        response to the Examiner's request (2.5); identify important
                        documents (.5).
12/23/15    YE          Review documents produced in connection with                    2.30   1,023.50
                        controversial transactions.
12/23/15    PLR         Review documents produced in connection with                    3.50   1,557.50
                        controversial transactions.
12/24/15    ASW         Analyze documents regarding non-recourse language.              2.00   1,470.00
12/24/15    JM          Review documents produced to Examiner regarding                 7.50   4,575.00
                        controversial transaction.
12/24/15    JPC         Focused research on CIE in Caesars Growth Partners              1.10    544.50
                        transaction in October 2013.
12/24/15    PMA         Conference with V. Indelicato regarding avoidance actions.      0.40     430.00
12/24/15    VI          Analyze memorandum regarding controversial transactions         1.50   1,237.50
                        (.1); conference with P. Abelson regarding avoidance actions
                        (.4).
12/24/15    DJW         Review of documents not yet reviewed with selected terms        2.90   1,435.50
                        from Search Term Report.
12/24/15    HZ          Analyze the documents retrieved from key word searches in       1.50    742.50
                        response to the Examiner's request (1.3); identify important
                        documents (.2).
12/25/15    DJW         Review of documents not yet reviewed with selected terms        2.60   1,287.00
                        from Search Term Report.
12/25/15    HZ          Analyze the documents retrieved from key word searches in       1.50    742.50
                        response to the Examiner's request (1.3); identify important
                        documents (.2).
12/27/15    JPC         Focused research on CIE in Caesars Growth Partners              1.90    940.50
                        transaction in October 2013.
12/27/15    DJW         Review of documents not yet reviewed with selected terms        0.80    396.00
                        from Search Term Report.
12/28/15    ASW         Review hot documents produced in Examiner database.             2.30   1,690.50
12/28/15    JPC         Perform focused research on Caesars Growth Partners             5.00   2,475.00
                        transaction of October 2013 (4.1); draft summary of research
                        for review by S. Eggers (.9).
12/28/15    JGL         Teleconference with P. Abelson regarding avoidance action       0.90   1,125.00
                        issues (.2); Email correspondence to S. Eggers, M. Davidson
                        regarding avoidance action issues (.1); teleconference with
                        M. Zerjal regarding avoidance action issues (.4); Conference
                        call with P. Abelson, M. Zerjal regarding avoidance action
                        issues (.2).
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Date        Attorney    Description                                                       Hours   Amount

12/28/15    MZ          Discuss status of research of legal defenses to avoidance          3.00   2,205.00
                        actions with P. Abelson and part of i with J. Liu (.5); discuss
                        avoidance action legal defenses with J. Liu (.3); discuss
                        same with J. Webb (.2); perform further research (2.0).
12/28/15    PMA         Confer with M. Zerjal regarding avoidance actions (.4);            1.30   1,397.50
                        Confer with J. Liu regarding avoidance actions (.2); Confer
                        with M. Zerjal and J. Liu regarding avoidance actions (.2);
                        Review memo regarding avoidance actions (.1); Confer with
                        J. Liu and M. Zerjal regarding avoidance actions (.3);
                        Review and respond to email correspondence from G.
                        Bousquette regarding avoidance actions (.1).
12/28/15    SS          Research on prejudgment interest.                                  3.90   1,930.50
12/28/15    DJW         Review of documents not yet reviewed with selected terms           5.20   2,574.00
                        from Search Term Report.
12/28/15    HZ          Analyze the documents retrieved from key word searches in          3.00   1,485.00
                        response to the Examiner's request (2.6); identify important
                        documents (.4).
12/28/15    PLR         Review documents produced in connection with                       7.60   3,382.00
                        controversial transactions.
12/29/15    SAE         Emails with FTI, J. Colangelo regarding corporate                  0.30    277.50
                        opportunity theory.
12/29/15    PMA         Confer with C. Theodoridis regarding avoidance actions (.1);       0.20    215.00
                        Review email correspondence from A. Miller and W. Ng
                        regarding avoidance actions (.1).
12/29/15    SS          Research on prejudgment interest.                                  1.50     742.50
12/29/15    DJW         Review of documents not yet reviewed with selected terms           6.40   3,168.00
                        from Search Term Report.
12/29/15    HZ          Analyze the documents retrieved from key word searches in          3.00   1,485.00
                        response to the Examiner's request (2.7); identify important
                        documents (.3).
12/29/15    YE          Review documents produced in connection with                       5.00   2,225.00
                        controversial transactions.
12/29/15    PLR         Review documents produced in connection with                       6.20   2,759.00
                        controversial transactions.
12/30/15    PP          Review initial draft of avoidance actions research.                1.20   1,230.00
12/30/15    JMK         Coordinate processing of electronic evidence into review           0.60     210.00
                        platform.
12/30/15    JGL         Discussion with P. Abelson regarding preference analysis           0.30    375.00
                        (.2); Email to W. Ng regarding preference analysis (.1).
12/30/15    PMA         Confer with J. Liu regarding avoidance actions.                    0.20     215.00
12/30/15    VI          Analyze transaction memos regarding avoidance actions.             2.20   1,815.00
12/30/15    SS          Create a chart related to avoidance action remedies.               2.70   1,336.50
12/30/15    DJW         Review of documents not yet reviewed with selected terms           3.30   1,633.50
                        from Search Term Report.
12/30/15    HZ          Analyze the documents retrieved from key word searches in          3.00   1,485.00
                        response to the Examiner's request (2.5); identify important
                        documents (.5).
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AVOIDANCE ACTION ANALYSIS
Client/Matter No. 71844.0004

Date        Attorney    Description                                                    Hours   Amount

12/30/15    DD          Review documents produced in connection with                    0.50    222.50
                        controversial transactions.
12/30/15    YE          Review documents produced in connection with                    1.00    445.00
                        controversial transactions.
12/30/15    PLR         Review documents produced in connection with                    6.20   2,759.00
                        controversial transactions.
12/31/15    PP          Revise memo regarding avoidance actions (3.2); emails with      3.60   3,690.00
                        J. Liu, P. Abelson and J. Webb regarding same (.4).
12/31/15    HZ          Analyze the documents retrieved from key word searches in       3.00   1,485.00
                        response to the Examiner's request (2.7); identify important
                        documents (.3).
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AVOIDANCE ACTION ANALYSIS
Client/Matter No. 71844.0004



Attorney                                          Hours       Rate          Amount

JUDY G. LIU                                        10.20   1,250.00        12,750.00
MARTIN J. BIENENSTOCK                              14.30   1,295.00        18,518.50
PAUL POSSINGER                                      8.00   1,025.00         8,200.00
PHILIP M. ABELSON                                  10.00   1,075.00        10,750.00
       Total For Partner                           42.50                   50,218.50

MARK E. DAVIDSON                                   37.30   1,000.00        37,300.00
SCOTT A. EGGERS                                    36.80     925.00        34,040.00
      Total For Senior Counsel                     74.10                   71,340.00

ANDREA G. MILLER                                   26.30    735.00         19,330.50
ANDREW S. WELLIN                                   66.40    735.00         48,804.00
DANIEL J. WERB                                     45.10    495.00         22,324.50
HELENA ZHENG                                       63.50    495.00         31,432.50
JACKI L. ANDERSON                                  35.00    610.00         21,350.00
JAMAAL MYERS                                       48.00    610.00         29,280.00
JASON P. COLANGELO                                 74.10    495.00         36,679.50
MAJA ZERJAL                                         8.50    735.00          6,247.50
MARISSA D. TILLEM                                   6.30    735.00          4,630.50
MILTON E. OTTO                                     32.80    770.00         25,256.00
SARAH SULLIVAN                                     91.70    495.00         45,391.50
STEVE MA                                            1.00    610.00            610.00
VINCENT INDELICATO                                 16.00    825.00         13,200.00
       Total For Associate                        514.70                  304,536.50

LISA P. ORR                                        23.90    350.00          8,365.00
MAGALI GIDDENS                                      4.60    375.00          1,725.00
        Total For Legal Assistant                  28.50                   10,090.00

BRIAN HOOVEN                                       18.80    445.00          8,366.00
DANIEL DESATNIK                                    16.80    445.00          7,476.00
PATRICK L. RIEDER                                  88.10    445.00         39,204.50
YASMIN EMRANI                                      50.80    445.00         22,606.00
      Total For Law Clerk                         174.50                   77,652.50

JOSHUA M. KAY                                      10.20    350.00          3,570.00
      Total For Prac. Support                      10.20                    3,570.00


Professional Fees                                 844.50              $   517,407.50

Total this Matter                                                     $   517,407.50
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BUSINESS OPERATIONS
Client/Matter No. 71844.0006


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                 Hours   Amount

12/01/15    PMA         Review email correspondence from S. Levinson regarding       0.20    215.00
                        Baltimore option (.1); review revised amendment regarding
                        Baltimore option (.1).
12/01/15    VI          Analyze Prop/OpCo lease agreement.                           1.50   1,237.50
12/02/15    PMA         Review revised Baltimore option (.1); review email           0.20     215.00
                        correspondence from J. Graham and S. Levinson regarding
                        Baltimore (.1).
12/04/15    PP          Email M. Thomas regarding Examiner governance                1.20   1,230.00
                        preliminary conclusions.
12/04/15    VI          Review FTI analysis regarding cash balances.                 0.20    165.00
12/07/15    PMA         Review email correspondence regarding Suffolk Downs.         0.10    107.50
12/07/15    VI          Research Suffolk Downs referendum issues.                    0.60    495.00
12/08/15    PMA         Review memo regarding corporate governance issues.           0.20    215.00
12/11/15    PMA         Review email correspondence from V. Indelicato regarding     0.10    107.50
                        Suffolk Downs.
12/14/15    VI          Analyze FTI presentation regarding business operating        0.60    495.00
                        results.
12/17/15    JGL         Review notice from Kirkland regarding cash management        0.10    125.00
                        order.
12/17/15    PMA         Review email correspondence from J. Graham regarding         0.10    107.50
                        non-debtor advances.
12/18/15    JGL         Review email from V. Indelicato regarding cash               0.10    125.00
                        management order notice.
12/18/15    VI          Email correspondence with G. Bousquette regarding UK         0.60    495.00
                        subsidiary issues (.1); Review cash management motion
                        regarding same (.4); Analyze G. Bousquette email
                        correspondence regarding New Jersey casinos (.1).
12/23/15    VI          Analyze memorandum regarding Total Rewards.                  0.80    660.00
12/27/15    PMA         Review memo regarding CES veto power.                        0.20    215.00
12/28/15    SM          Finalize governance memo to be sent to Committee.            0.90    549.00
12/29/15    JGL         Review email correspondence regarding preference analysis    0.10    125.00
                        from A. Miller, W. Ng.
12/29/15    VI          Review FTI presentation regarding cash flow update.          0.80     660.00
12/30/15    PP          Review governance memo.                                      1.20   1,230.00
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BUSINESS OPERATIONS
Client/Matter No. 71844.0006



Attorney                                          Hours       Rate        Amount

JUDY G. LIU                                         0.30   1,250.00         375.00
PAUL POSSINGER                                      2.40   1,025.00       2,460.00
PHILIP M. ABELSON                                   1.10   1,075.00       1,182.50
       Total For Partner                            3.80                  4,017.50

STEVE MA                                            0.90    610.00          549.00
VINCENT INDELICATO                                  5.10    825.00        4,207.50
      Total For Associate                           6.00                  4,756.50


Professional Fees                                   9.80              $   8,774.00

Total this Matter                                                     $   8,774.00
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CASE ADMINISTRATION
Client/Matter No. 71844.0007


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                     Hours   Amount

12/01/15    NP          Coordinate transmittal of chamber's copy (.3) and service of     1.10    330.00
                        Katten Muchin's copies of appellant's reply brief (.3); draft
                        supplemental certificate of service reflecting same (.3);
                        electronically file same (.2).
12/01/15    ER          Retrieve and review documents and dockets for deadlines          2.40    780.00
                        and hearings.
12/01/15    MCC         Docket research (1.6), update Caesars pleadings chart for M.     3.00    825.00
                        Giddens (1.4).
12/01/15    MG          Work on pleadings spreadsheet issues with M. Czernyk (.6);       1.30    487.50
                        Review FileSite regarding recent key correspondence and
                        documents (.7).
12/01/15    JW          Research district court judge's record on bankruptcy appeals.    2.00    890.00
12/02/15    PP          Review Committee report on valuation shortfall in advance        0.60    615.00
                        of Examiner meeting.
12/02/15    ER          Retrieve and review documents and dockets for case               3.70   1,202.50
                        calendars.
12/02/15    MCC         Docket research (.9), update Caesars pleadings chart for M.      2.00    550.00
                        Giddens (1.1).
12/02/15    TQ          Review Committee standing motion, Collateral Agreement,          0.40    178.00
                        background of case, and time entry and disbursement
                        guidelines.
12/03/15    ER          Retrieve and review docket sheet and documents for               1.30    422.50
                        deadlines and hearings.
12/03/15    MCC         Docket research (1.2), update Caesars pleadings chart for M.     3.00    825.00
                        Giddens (1.8).
12/03/15    MG          Review and revise spreadsheet and correspond with M.             0.90    337.50
                        Czernyk regarding same.
12/04/15    MG          Review pleadings category spreadsheet (.5); consider new         0.80    300.00
                        categories and index same (.3).
12/04/15    VI          Review weekly docket summaries.                                  0.60    495.00
12/07/15    PP          Discuss unsecured notes with M. Thomas.                          0.20    205.00
12/08/15    PP          Review summary of potential REIT legislation.                    0.40    410.00
12/08/15    ER          Update calendar (.6); circulate same internally (.1).            0.70    227.50
12/09/15    NP          Prepare for filing (.1) and file (.1) Committee objection to     0.70    210.00
                        motion authorizing Caesars Massachusetts to enter into
                        termination agreement; prepare for filing (.2) and file (.1)
                        Committee objection to motion to compel production;
                        coordinate service regarding same (.2).
12/10/15    MZ          Review case calendar.                                            0.20    147.00
12/10/15    PMA         Review case calendar.                                            0.10    107.50
12/11/15    ER          Update calendar.                                                 0.30     97.50
12/11/15    MG          Review FileSite regarding new correspondence or                  1.60    600.00
                        documents and categorize pleadings.
12/14/15    ER          Circulate 12/16 notice of agenda to M. Zerjal.                   0.10     32.50
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CASE ADMINISTRATION
Client/Matter No. 71844.0007

Date        Attorney    Description                                                     Hours   Amount

12/15/15    ER          Review pleadings and dockets for hearing dates and               2.20    715.00
                        deadlines (1.2); update and circulate the calendar (1.0).
12/15/15    MZ          Review case calendar.                                            0.20    147.00
12/15/15    VI          Revise draft case calendar (.2); Telephone conference with       0.30    247.50
                        S. Ma regarding same (.1).
12/16/15    NP          Prepare for filing (.1) and file (.1) omnibus reply to motion    0.30     90.00
                        to authorize; coordinate service regarding same (.1).
12/17/15    MG          Designate material for e-room and review memorandum              1.00    375.00
                        regarding same.
12/18/15    ER          Revise calendar (1.0); prepare redlines (.2); circulate          1.30    422.50
                        calendar internally (.1).
12/18/15    VI          Review draft docket summaries (.3); Review updated draft         0.50    412.50
                        case calendar (.2).
12/21/15    JJM         Review notes of 12/18 Examiner's meeting (.3); review            0.50    600.00
                        Examiner's 6th report (.2).
12/21/15    PP          Correspondence with V. Indelicato (.2) and call with P.          3.70   3,792.50
                        Siddiqui regarding response date on stipulation challenge
                        adversary (.3); review notes from Examiner's meeting (.9);
                        discuss avoidance action issues with M. Zerjal and J. Webb
                        (.5); initial review of avoidance action research (1.4);
                        follow-up discussion with J. Webb (.4).
12/21/15    MZ          Review case calendar.                                            0.10     73.50
12/21/15    VI          Multiple email correspondences with P. Possinger regarding       0.40    330.00
                        Committee adversary proceeding continuance (.2);
                        Telephone conference with Arent Fox regarding same (.2).
12/22/15    MG          Review FileSite and Reorg. Research regarding case               1.10    412.50
                        developments.
12/23/15    ER          Finalize and circulate calendar.                                 1.30    422.50
12/23/15    VI          Review latest draft of case calendar.                            0.50    412.50
12/24/15    VI          Analyze weekly docket summaries.                                 0.40    330.00
12/27/15    PMA         Review revised case calendar.                                    0.10    107.50
12/28/15    VI          Multiple email correspondences with P. Possinger regarding       0.20    165.00
                        adversary proceeding continuance .
12/29/15    JJM         Review research memo to Committee.                               0.30     360.00
12/29/15    PP          Emails with litigation claimant regarding automatic stay.        0.20     205.00
12/29/15    VI          Analyze materials in preparation for Tuesday Committee           2.30   1,897.50
                        call.
12/31/15    ER          Review and updated conflicts chart for S. Ma.                    1.00    325.00
12/31/15    MG          Review FileSite regarding recent developments.                   0.50    187.50
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CASE ADMINISTRATION
Client/Matter No. 71844.0007



Attorney                                          Hours       Rate         Amount

JEFF J. MARWIL                                      0.80   1,200.00          960.00
PAUL POSSINGER                                      5.10   1,025.00        5,227.50
PHILIP M. ABELSON                                   0.20   1,075.00          215.00
        Total For Partner                           6.10                   6,402.50

JERAMY WEBB                                         2.00    445.00           890.00
MAJA ZERJAL                                         0.50    735.00           367.50
TIFFANY QUACH                                       0.40    445.00           178.00
VINCENT INDELICATO                                  5.20    825.00         4,290.00
      Total For Associate                           8.10                   5,725.50

EVELYN RODRIGUEZ                                   14.30    325.00         4,647.50
MAGALI GIDDENS                                      7.20    375.00         2,700.00
MARK C. CZERNYK                                     8.00    275.00         2,200.00
NATASHA PETROV                                      2.10    300.00           630.00
      Total For Legal Assistant                    31.60                  10,177.50


Professional Fees                                  45.80              $   22,305.50

Total this Matter                                                     $   22,305.50
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CLAIMS ADMINISTRATION AND OBJECTIONS
Client/Matter No. 71844.0008


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                    Hours   Amount

12/01/15    SAE         Conference with P. Abelson and A. Wellin regarding section      0.80    740.00
                        1111(b) discovery (.3); conference call with A. Wellin, V.
                        Indelicato regarding section 1111(b) discovery (.2); arrange
                        for document review of section 1111(b) discovery (.3).
12/01/15    ASW         Conference with S. Eggers and P. Abelson regarding section      0.50    367.50
                        1111(b) discovery (.3); conference call with S. Eggers and
                        V. Indelicato regarding same (.2).
12/01/15    PMA         Confer with S. Eggers and A. Wellin regarding section           0.60    645.00
                        1111(b) issues (.3); review decision regarding section
                        1111(b) issue (.3).
12/01/15    VI          Email correspondence with A. Wellin regarding section           0.30    247.50
                        1111(b) document production (.1); Telephone conference
                        with S. Eggers and A. Wellin regarding same (.2).
12/02/15    SAE         Meeting with A. Wellin, V. Indelicato and document              0.50    462.50
                        reviewers regarding section 1111(b) discovery.
12/02/15    ASW         Prepare for (.5) and meeting with section 1111(b) document      2.50   1,837.50
                        review team members (1.5). meeting with S. Eggers and V.
                        Indelicato regarding section 1111 (b) document review (.5).
12/02/15    RK          Meet with A. Wellin, T. Quach, Z. Klinger, and K. Chung         1.50    667.50
                        regarding section 1111(b) discovery.
12/02/15    PMA         Review decision regarding section 1111(b) issue (.5); review    0.70    752.50
                        motion to settle Des Plaines issues (.2).
12/02/15    VI          Review documents in preparation for section 1111(b)             2.20   1,815.00
                        meeting (1.7); Meeting with A. Wellin and S. Eggers
                        regarding section 1111(b) document review (.5).
12/02/15    KC          Confer with team regarding section 1111(b) doument              1.50    667.50
                        review.
12/02/15    TQ          Meeting with A. Wellin regarding section 1111(b) discovery      1.50    667.50
                        (.5) to discuss section 1111 (b) document review assignment
                        (1.0).
12/02/15    ZWK         Confer with team regarding section 1111 (b) matter (1.5);       2.00    890.00
                        review background documents (.5).
12/03/15    RK          Analyze documents regarding section 1111(b) issues.            10.50   4,672.50
12/03/15    VI          Analyze Chester Downs collateral agreement for section          0.80     660.00
                        1111(b) issues.
12/03/15    KC          Analyze documents regarding section 1111(b) issues.             7.60   3,382.00
12/03/15    TQ          Analyze documents regarding section 1111 (b) issues.            5.00   2,225.00
12/03/15    ZWK         Analyze documents regarding section 1111 (b) issues.            5.00   2,225.00
12/04/15    ASW         Confer with review team regarding section 1111(b) review.       0.60     441.00
12/04/15    RK          Analyze documents for section 1111(b) issues (8.6); confer      9.20   4,094.00
                        with team regarding section section 1111(b) document
                        review and analysis (.6).
12/04/15    KC          Analyze documents for section 1111(b) issues (8.0); confer      8.60   3,827.00
                        with team regarding update of section 1111(b) issues (.6).
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CLAIMS ADMINISTRATION AND OBJECTIONS
Client/Matter No. 71844.0008

Date        Attorney    Description                                                  Hours   Amount

12/04/15    TQ          Analyze documents regarding section 1111(b) issues (4.2);     4.70   2,091.50
                        meeting with A. Wellin, Z. Klinger, K. Chung and R.
                        Kostelak discuss document review regarding section 1111(b)
                        issues (.5).
12/04/15    ZWK         Analyze documents regarding 1111(b) issues (6.0); confer      6.50   2,892.50
                        with team regarding section 1111(b) issues (.5).
12/05/15    VI          Review email correspondence from A. Wellin regarding          0.30    247.50
                        section 1111(b) document review update.
12/05/15    KC          Analyze documents regarding section 1111(b) issues.           4.10   1,824.50
12/05/15    ZWK         Analyze documents regarding section 1111(b) issues.           4.00   1,780.00
12/06/15    KC          Analyze documents regarding section 1111(b) issues.           3.30   1,468.50
12/06/15    TQ          Analyze documents regarding section 1111(b) issues.           3.50   1,557.50
12/06/15    ZWK         Analyze documents regarding section 1111(b) issues.           3.00   1,335.00
12/07/15    SAE         Review various documents regarding section 1111(b) issues.    0.10      92.50
12/07/15    ASW         Confer with section 1111(b) document review team.             0.30     220.50
12/07/15    RK          Analyze documents for section 1111(b) actions.               10.20   4,539.00
12/07/15    PMA         Review documents regarding section 1111(b) issue.             0.10     107.50
12/07/15    VI          Analyze section 1111(b) hot documents.                        0.50     412.50
12/07/15    KC          Analyze documents regarding section 1111(b) issues.           6.20   2,759.00
12/07/15    TQ          Analyze documents regarding section 1111(b) issues.           4.80   2,136.00
12/07/15    ZWK         Analyze documents regarding section 1111(b) issues.           4.00   1,780.00
12/08/15    RK          Analyze documents for section 1111(b) issues.                 7.80   3,471.00
12/08/15    KC          Analyze documents regarding section 1111(b) issues.           5.90   2,625.50
12/08/15    TQ          Analyze documents regarding section 1111(b) issues.           5.00   2,225.00
12/08/15    ZWK         Analyze documents regarding section 1111(b) issues.           3.30   1,468.50
12/09/15    ASW         Confer with section 1111(b) document review team.             1.00     735.00
12/09/15    RK          Analyze documents produced for section 1111(b) issues.        0.30     133.50
12/09/15    VI          Analyze document discovery protocol for S. Lieberman          0.60     495.00
                        inquiry (.4); Analyze section 1111(b) hot document from J.
                        Goldstein (.2).
12/09/15    KC          Analyze documents regarding section 1111(b) issues.           5.50   2,447.50
12/09/15    TQ          Analyze and review documents produced regarding section       4.50   2,002.50
                        1111(b) issues.
12/09/15    ZWK         Analyze documents produced regarding section 1111(b)          3.30   1,468.50
                        issues.
12/10/15    RK          Analyze documents produced for section 1111(b) issues.        4.80   2,136.00
12/10/15    JGL         Review Debtors email regarding settlement of health plan      0.20     250.00
                        dispute (C. Hayes).
12/10/15    VI          Draft proposed revisions to Suffolk Downs settlement          0.80    660.00
                        agreement.
12/10/15    KC          Analyze documents regarding section 1111(b) issues.           2.30   1,023.50
12/10/15    TQ          Analyze documents regarding section 1111(b) issues.           3.00   1,335.00
12/10/15    ZWK         Analyze documents regarding section 1111(b) issues.           2.50   1,112.50
12/11/15    PP          Review updates on Suffolk Downs motion.                       0.40     410.00
12/11/15    RK          Analyze documents for section 1111(b) issues.                 5.00   2,225.00
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CLAIMS ADMINISTRATION AND OBJECTIONS
Client/Matter No. 71844.0008

Date        Attorney    Description                                                     Hours   Amount

12/11/15    VI          Analyze hot documents regarding section 1111(b) issues           2.30   1,897.50
                        (.2); Telephone conference with A. Wellin regarding same
                        (.1); Multiple email correspondences with J. Truitt regarding
                        Suffolk Downs settlement modifications (.4); Multiple
                        telephone conferences with J. Truitt regarding same (.2);
                        Multiple telephone conferences with DLA Piper regarding
                        same (.3); Revise settlement agreement documents with
                        proposed modifications (1.1).
12/11/15    KC          Analyze documents produced for section 1111(b) issues.           1.80     801.00
12/11/15    TQ          Analyze documents for section 1111(b) issues.                    2.50   1,112.50
12/13/15    VI          Revise proposed language regarding Suffolk Downs                 0.50     412.50
                        settlement.
12/14/15    JGL         Review email from J. D’Amico regarding Debtor's health           0.20    250.00
                        plan settlement.
12/14/15    VI          Review final Suffolk Downs settlement.                           0.70     577.50
12/17/15    PMA         Review revised section 1111(b) pre-trial order.                  0.10     107.50
12/17/15    VI          Revise draft Committee claim objections (1.5); review            1.80   1,485.00
                        amended pre-trial order regarding section 1111(b) litigation
                        (.3).
12/18/15    ASW         Confer with section 1111 (b) review team.                        0.30    220.50
12/18/15    RK          Confer with team regarding analysis of section 1111(b)           0.30    133.50
                        documents.
12/18/15    KC          Confer with team regarding section 1111(b) matter.               0.30    133.50
12/18/15    TQ          Meeting with A. Wellin, Z. Klinger, K. Chung and R.              0.30    133.50
                        Kostelak to discuss document review for section 1111(b)
                        issues.
12/18/15    ZWK         Meeting with team regarding section 1111(b) issues.              0.30     133.50
12/21/15    ASW         Confer with White & Case regarding section 1111(b)               1.50   1,102.50
                        document review plan (.5); confer with document review
                        team regarding same (.2); confer with S. Eggers regarding
                        same (.2); draft update on section 1111(b) document review
                        for team (.6).
12/21/15    RK          Analyze documents regarding section 1111(b) issues.              4.50   2,002.50
12/21/15    PMA         Review email correspondence from A. Wellin regarding             0.10     107.50
                        section 1111(b) issues.
12/21/15    VI          Multiple email correspondences with A. Wellin regarding          0.30    247.50
                        section 1111(b) discovery.
12/21/15    KC          Analyze documents for section 1111(b) issues.                    5.30   2,358.50
12/21/15    TQ          Analyze documents produced regarding section 1111(b)             4.30   1,913.50
                        issues.
12/22/15    SAE         Conference with A. Wellin regarding section 1111(b) issues       0.40    370.00
                        (.1); telephone conference with P. Abelson regarding section
                        1111(b) discovery, schedule, etc (.3).
12/22/15    ASW         Work with T. Quach to locate section 1111(b) documents           4.30   3,160.50
                        (1.7); confer with section 1111(b) document review team
                        (.5); review section 1111(b) documents (1.8); confer with S.
                        Eggers and P. Abelson regarding section 1111(b) issues (.3)
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CLAIMS ADMINISTRATION AND OBJECTIONS
Client/Matter No. 71844.0008

Date        Attorney    Description                                                    Hours   Amount

12/22/15    RK          Analyze documents produced for section 1111(b) discovery.       5.60   2,492.00
12/22/15    PMA         Analyze claims objections filed by Debtors (.1); conference     0.50     537.50
                        with S. Eggers and A. Wellin regarding section 1111(b) (.3);
                        conference with V. Indelicato regarding claims objections
                        (.1).
12/22/15    MG          Download and identify all objections to claims filed by the     1.00    375.00
                        Debtors on 12/21 (.9) and correspond with D. Desatnik
                        regarding same (.1).
12/22/15    KC          Analyze documents produced regarding section 1111(b)            0.00       0.00
                        issues.
12/22/15    TQ          Analyze documents produced for section 1111(b) issues.          5.20   2,314.00
12/23/15    SAE         Conference with A. Wellin regarding section 1111(b)             0.10      92.50
                        deposition.
12/23/15    MED         Continued review of intercompany loan documents (1.1);          1.50   1,500.00
                        review and respond to A. Wellin email regarding section
                        1111(b) depositions (.2); follow up email exchange with P.
                        Abelson regarding same (.2).
12/23/15    ASW         Confer with section 1111(b) document review team (.5);          1.50   1,102.50
                        confer with White & Case regarding section 1111(b)
                        discovery (.3); review section 1111(b) documents (.4);
                        confer with S. Eggers regarding same(.1); confer with V.
                        Indelicato regarding 1111(b) (.2).
12/23/15    ER          Revise claims objection summary chart.                          1.50     487.50
12/23/15    RK          Analyze documents produced for section 1111(b) discovery        5.00   2,225.00
                        (4.5); Confer with team regarding review and analysis of
                        section 1111(b) documents (.5).
12/23/15    PMA         Conference with V. Indelicato regarding section 1111(b)         0.20    215.00
                        discovery.
12/23/15    VI          Confer with P. Abelson regarding section 1111(b) discovery      0.50    412.50
                        (.2); Telephone conference with A. Wellin regarding same
                        (.2); Review A. Wellin email correspondence regarding
                        same (.1).
12/23/15    KC          Analyze documents for section 1111(b) issues (5.2); Confer      5.70   2,536.50
                        with team regarding section 1111(b) matter (.5).
12/23/15    TQ          Meeting with A. Wellin, Z. Klinger, K. Chung and R.             7.90   3,515.50
                        Kostelak to discuss document review for section 1111(b)
                        issues (.5); analyze documents for section 1111(b) issues
                        (7.4).
12/23/15    ZWK         Analyze documents for section 1111(b) issues (3.0). Meet        3.50   1,557.50
                        with team regarding section 1111(b) issues (.5).
12/24/15    MED         Review and respond to S. Eggers email regarding section         0.50    500.00
                        1111(b) deposition (.2); follow up email exchange with P.
                        Abelson regarding same (.2); review A. Wellin email
                        regarding same (.1).
12/24/15    PMA         Conference with V. Indelicato regarding section 1111(b)         0.10    107.50
                        issues.
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CLAIMS ADMINISTRATION AND OBJECTIONS
Client/Matter No. 71844.0008

Date        Attorney    Description                                                     Hours   Amount

12/24/15    VI          Multiple email correspondences with S. Eggers, M.                1.10    907.50
                        Davidson, A. Wellin, and P. Abelson regarding section
                        1111(b) depositions (.2); Telephone conference with White
                        & Case regarding section 1111(b) discovery update (.3);
                        analyze filed claims objections (.4); confer with P. Abelson
                        regarding section 1111(b) issues (.2).
12/24/15    TQ          Analyze and review documents produced for section 1111(b)        4.50   2,002.50
                        issues.
12/26/15    ZWK         Analyze documents produced for section 1111(b) issues.           4.50   2,002.50
12/27/15    RK          Analyze documents produced for section 1111(b) issues.           5.00   2,225.00
12/27/15    ZWK         Analyze documents produced regarding section 1111(b)             4.00   1,780.00
                        issues.
12/28/15    ASW         Draft memo for P. Abelson regarding section 1111(b)              2.70   1,984.50
                        document review (2.0); confer with White & Case and P.
                        Abelson regarding section 1111(b) document review (.7).
12/28/15    PMA         Confer with A. Wellin regarding section 1111(b) (.2);            1.00   1,075.00
                        Teleconference with A. Wellin, V. Indelicato, H. Denman,
                        and J. Goldstein regarding section 1111(b) (.7); Review
                        email correspondence from A. Wellin regarding section
                        1111(b) (.1).
12/28/15    VI          Multiple email correspondences with White & Case                 2.10   1,732.50
                        regarding section 1111(b) issues (.2); Review section
                        1111(b) issues in preparation for telephone conference with
                        White & Case (1.0); Confer with A. Wellin regarding same
                        (.2); Telephone conference with White & Case regarding
                        same (.7).
12/28/15    KC          Analyze documents produced for section 1111(b) issues.           5.60   2,492.00
12/28/15    TQ          Analyze and review documents produced for section 1111(b)        1.50     667.50
                        issues (1.0); phone calls with A. Wellin (.5).
12/29/15    ASW         Draft memo regarding section 1111(b) document review for         1.20    882.00
                        P. Abelson.
12/29/15    VI          Analyze Chester Downs refinancing documents regarding            1.00    825.00
                        section 1111(b).
12/30/15    PMA         Analyze email correspondence with H. Denman and K.               0.10    107.50
                        Pasquale regarding section 1111(b).
12/30/15    VI          Analyze section 1111(b) issues (1.2); Review email               1.30   1,072.50
                        correspondence from Stroock regarding trial stipulation (.1).
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CLAIMS ADMINISTRATION AND OBJECTIONS
Client/Matter No. 71844.0008



Attorney                                          Hours       Rate          Amount

JUDY G. LIU                                         0.40   1,250.00           500.00
PAUL POSSINGER                                      0.40   1,025.00           410.00
PHILIP M. ABELSON                                   3.50   1,075.00         3,762.50
       Total For Partner                            4.30                    4,672.50

MARK E. DAVIDSON                                    2.00   1,000.00         2,000.00
SCOTT A. EGGERS                                     1.90     925.00         1,757.50
      Total For Senior Counsel                      3.90                    3,757.50

ANDREW S. WELLIN                                   16.40    735.00         12,054.00
TIFFANY QUACH                                      58.20    445.00         25,899.00
VINCENT INDELICATO                                 17.10    825.00         14,107.50
      Total For Associate                          91.70                   52,060.50

EVELYN RODRIGUEZ                                    1.50    325.00           487.50
MAGALI GIDDENS                                      1.00    375.00           375.00
     Total For Legal Assistant                      2.50                     862.50

KEVIN CHUNG                                        63.70    445.00         28,346.50
RUSSELL KOSTELAK                                   69.70    445.00         31,016.50
ZACHARY W. KLINGER                                 45.90    445.00         20,425.50
      Total For Law Clerk                         179.30                   79,788.50


Professional Fees                                 281.70              $   141,141.50

Total this Matter                                                     $   141,141.50
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COMMITTEE GOVERNANCE
Client/Matter No. 71844.0009


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                                Hours        Amount

12/01/15     MZ         Review notes and prepare minutes regarding Committee         0.70        514.50
                        call.
12/01/15     JW         Draft and revise call notes.                                 0.40        178.00
12/07/15     SM         Draft Committee meeting minutes.                             0.40        244.00
12/09/15     VI         Review confidentiality provisions in Committee Bylaws.       0.40        330.00
12/11/15     SM         Draft Committee meeting minutes.                             0.20        122.00
12/16/15     SM         Follow up on email regarding Committee member change.        0.10         61.00
12/21/15     SM         Draft Committee meeting minutes.                             0.20        122.00
12/24/15     SM         Draft Committee meeting minutes.                             0.20        122.00
12/29/15     SM         Draft Committee meeting minutes (.2); distribute update      0.30        183.00
                        Committee contact information regarding change in
                        Committee representative. (.1).


Attorney                                                              Hours        Rate         Amount

JERAMY WEBB                                                             0.40      445.00          178.00
MAJA ZERJAL                                                             0.70      735.00          514.50
STEVE MA                                                                1.40      610.00          854.00
VINCENT INDELICATO                                                      0.40      825.00          330.00
      Total For Associate                                               2.90                    1,876.50


Professional Fees                                                       2.90                $   1,876.50

Total this Matter                                                                          $    1,876.50
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EMPLOYEE BENEFITS AND PENSIONS
Client/Matter No. 71844.0010


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                   Hours   Amount

12/01/15    CMH         Review of deferred compensation diligence.                     1.30   1,300.00
12/02/15    SAE         Telephone conference with C. Hart regarding data from          0.20     185.00
                        Caesars.
12/02/15    BK          Review of newly received diligence.                            0.30    183.00
12/02/15    VI          Teleconference with C. Hart regarding deferred                 0.20    165.00
                        compensation diligence.
12/02/15    CMH         Review of deferred compensation diligence (2.0);               2.40   2,400.00
                        Conference calls with S. Eggers and V. Indelicato regarding
                        Caesars data (.4).
12/03/15    BK          Meeting with C. Hart and J. Lee to review recently received    0.80    488.00
                        diligence materials.
12/03/15    CMH         Review of deferred compensation diligence (1.0);               1.80   1,800.00
                        Conference with J. Lee and B. Kumar regarding deferred
                        compensation trusts (.8).
12/03/15    JHL         Begin diligence on deferred compensation plans (3.4);          4.20   1,869.00
                        meeting with C. Hart and B. Kumar regarding same (.8).
12/04/15    CMH         Review of diligence materials regarding deferred               0.80    800.00
                        compensation plans.
12/08/15    JHL         Analyze bank statements related to escrow and EDC              1.10    489.50
                        accounts.
12/09/15    JHL         Investigate bank statements and compile document               3.90   1,735.50
                        highlighting key transactions.
12/10/15    JHL         Trace transfers from parent and Opco.                          2.10    934.50
12/11/15    BK          Review of diligence documents related to CEC and CEOC          0.30    183.00
                        trust amounts.
12/11/15    CMH         Call with Paul Weiss regarding deferred compensation plans     2.30   2,300.00
                        (.4); meeting with J. Lee regarding deferred compensation
                        plan bank statements (1.0); call with D. Cook regarding
                        deferred compensation plan diligence (.7); review of
                        deferred compensation diligence (.2).
12/11/15    JHL         Confer with C. Hart regarding diligence progress and next      2.90   1,290.50
                        steps (1.0); investigate contradictory ending balances for
                        escrow trust account (1.9).
12/14/15    VI          Analyze issues related to deferred compensation plan           0.80    660.00
                        diligence.
12/14/15    CMH         Review of deferred compensation diligence information.         1.30   1,300.00
12/14/15    JHL         Correspond with V. Indelicato about Caesar's organizational    1.80     801.00
                        structure (.1); draft diligence requests (1.7).
12/15/15    SAE         Telephone conference with C. Hart regarding deferred           0.20    185.00
                        compensation issues.
12/15/15    VI          Analyze deferred compensation plan documents.                  1.00    825.00
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EMPLOYEE BENEFITS AND PENSIONS
Client/Matter No. 71844.0010

Date        Attorney    Description                                                    Hours   Amount

12/15/15    CMH         Review follow-up diligence regarding deferred                   2.30   2,300.00
                        compensation plans (1.1); conference call with S. Eggers
                        regarding deferred compensation issues (.2); conference call
                        with D. Hayes and J. French regarding deferred
                        compensation diligence (1.0).
12/15/15    JHL         Prepare diligence questions to send to CEC's counsel.           0.60    267.00
12/16/15    BK          Preparation for Friday call with Paul Weiss and review of       0.80    488.00
                        diligence responses sent by Paul Weiss.
12/16/15    JGL         Review correspondence regarding meeting with Paul Weiss         0.10    125.00
                        to discuss financials of benefit plans.
12/16/15    VI          Telephone conference with C. Hart regarding deferred            0.20    165.00
                        compensation plans (.1); Email correspondence with C. Hart
                        regarding same (.1).
12/16/15    CMH         Review and coordination of follow-up diligence questions        0.50    500.00
                        with FTI (.4); correspond with V. Indelicato regarding same
                        (.1).
12/16/15    JHL         Finish preparing diligence questions for CEC's counsel.         0.40    178.00
12/17/15    BK          Review of Caesars diligence responses.                          0.80    488.00
12/17/15    CMH         Correspondence with Paul Weiss regarding deferred               0.60    600.00
                        compensation.
12/17/15    JHL         Correspond with B. Kumar regarding diligence questions          0.50    222.50
                        (.1); begin research regarding rabbi trusts (.4).
12/18/15    CMH         Correspondence with Paul Weiss regarding deferred               0.20    200.00
                        compensation.
12/18/15    JHL         Research regarding rabbi trusts.                                2.70   1,201.50
12/19/15    VI          Review C. Hart diligence questions regarding deferred           0.20     165.00
                        compensation plans.
12/21/15    JHL         Prepare memo regarding deferred compensation issues.            4.50   2,002.50
12/22/15    JHL         Prepare memo re deferred compensation.                          1.10     489.50
12/29/15    CMH         Preparation of outline of deferred compensation arguments.      1.30   1,300.00
12/30/15    BK          Review of diligence documents sent by Paul Weiss.               0.10      61.00
12/30/15    VI          Email correspondence with C. Hart regarding deferred            0.10      82.50
                        compensation update.
12/30/15    CMH         Draft outline of arguments regarding deferred compensation      1.40   1,400.00
                        plan.
12/30/15    JHL         Confer with B. Kumar and C. Hart regarding next steps in        0.20     89.00
                        diligence of deferred compensation plans.
12/31/15    CMH         Preparation of outline/summary of deferred compensation         1.30   1,300.00
                        position.
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EMPLOYEE BENEFITS AND PENSIONS
Client/Matter No. 71844.0010



Attorney                                          Hours       Rate         Amount

COLLEEN M. HART                                    17.50   1,000.00       17,500.00
JUDY G. LIU                                         0.10   1,250.00          125.00
      Total For Partner                            17.60                  17,625.00

SCOTT A. EGGERS                                     0.40    925.00          370.00
      Total For Senior Counsel                      0.40                    370.00

BALI KUMAR                                          3.10    610.00         1,891.00
JONATHAN H. LEE                                    26.00    445.00        11,570.00
VINCENT INDELICATO                                  2.50    825.00         2,062.50
      Total For Associate                          31.60                  15,523.50


Professional Fees                                  49.60              $   33,518.50

Total this Matter                                                     $   33,518.50
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EMPLOYMENT AND FEE APPLICATIONS
Client/Matter No. 71844.0011


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                     Hours   Amount

12/01/15    ER          Revise October billing statement regarding time breakdown        3.40   1,105.00
                        reconciliation (3.2); office conference with M. Giddens
                        regarding same (.2).
12/01/15    SM          Review emails regarding fee committee report drafts.             0.30    183.00
12/01/15    MZ          Respond to conflict inquiry regarding the Caesars party in       0.50    367.50
                        interest search.
12/01/15    MG          Revise October billing statement (2.3); office conference        2.70   1,012.50
                        and correspondence with E. Rodriguez regarding time break
                        down reconciliation (.2); correspond with C. Hayes
                        regarding first interim period holdback payment (.2).
12/02/15    JGL         Teleconference with P. Abelson regarding fee application         4.60   5,750.00
                        (.1); review October biling statement for attorney-client
                        privilege and confidentiality concerns (4.5).
12/02/15    PMA         Confer with J. Liu regarding fee application.                    0.10     107.50
12/02/15    MG          Revise October billing statement to comply with U.S.             3.50   1,312.50
                        Trustee and fee committee guidelines (3.1); analyze billing
                        history (.4).
12/03/15    SM          Provide responsive comments on spreadsheets provided by          0.40    244.00
                        N. Rapoport regarding second interim period.
12/03/15    MG          Revise billing statements (2.1); review JGL edits to             3.10   1,162.50
                        involuntary matter (.2); research interim fee application and
                        order regarding holdbacks (.8).
12/04/15    ER          Prepare, review and make multiple revisions to the October       4.20   1,365.00
                        fee statement (4.0); office conferences with M. Giddens
                        regarding same (.2).
12/04/15    JGL         Review fee committee spreadsheet regarding entries for           3.80   4,750.00
                        "research" (1.5); confer with P. Abelson regarding same (.1);
                        prepare responses to N. Rapoport correspondence (2.2).
12/04/15    PMA         Confer with J. Liu regarding fee application.                    0.10     107.50
12/04/15    MG          Revise edits to October billing statement (3.4); meetings        6.00   2,250.00
                        with J. Liu regarding same (.2); office conferences with E.
                        Rodriguez regarding preparing monthy fee statement (.2);
                        correspondence with J. Darr regarding edits (.1); revise
                        second round of edits (1.1); revisions to monthly fee
                        statement (.8); telephone conference and correspondence
                        with L. Pastor at KCC regarding service of fee statement
                        (.1); correspondence with S. Ma regarding reviewing
                        statement (.1).
12/06/15    SM          Review October fee statement.                                    0.20    122.00
12/07/15    SM          Review fee committee spreadsheet regarding research time         0.40    244.00
                        entries.
12/07/15    JGL         Revise footnote for monthly fee statement (.2); review S. Ma     1.40   1,750.00
                        comments to N. Rapoport spreadsheets (1.2).
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EMPLOYMENT AND FEE APPLICATIONS
Client/Matter No. 71844.0011

Date        Attorney    Description                                                      Hours   Amount

12/07/15    MG          Finalize October billing statement (1.1); research regarding      3.90   1,462.50
                        billing allocation and payment history, including fee order
                        and fee reports (.8); correspond with J. Liu regarding foot
                        note language in connection with services rendered
                        regarding Committee's motion to reconsider (.2); research
                        certain open items in footnote (.2); finalize October monthly
                        fee statement (1.5) and send to KCC for service (.1).
12/08/15    SM          Revise response to fee committee regarding second interim         1.30    793.00
                        application.
12/08/15    JGL         Prepare response to N. Rapoport emails (2.2);                     3.00   3,750.00
                        Teleconference with S. Ma regarding N. Rapoport response
                        (.5); Review adjusted spreadsheet from S. Ma (.3).
12/08/15    PMA         Confer with J. Liu regarding fee issues (.3); review and          0.40    430.00
                        revise email correspondence from J. Liu regarding fee issues
                        (.1).
12/08/15    MG          Revise November billing statement to comply with U.S.             2.10    787.50
                        Trustee and fee Committee guidelines (1.6); Respond to
                        correspondence regarding fee matters (.5).
12/09/15    SM          Revise response to fee committee regarding second interim         0.20    122.00
                        application.
12/09/15    MG          Revise November billing statements in compliance with U.S.        1.20    450.00
                        Trustee and fee committee guidelines, including
                        categorization, accuracy and consistency.
12/10/15    ER          Revise November billing statement regarding the entry             2.30    747.50
                        breakdown.
12/10/15    MG          Revise November billing statement to comply with U.S.             3.40   1,275.00
                        Trustee and fee Committee guidelines.
12/11/15    ER          Further revisions to November billing statement (1.4);            2.50    812.50
                        coordinate Conflicts checks and correspond with S. Ma
                        regarding same (1.1).
12/11/15    SM          Coordinate with E. Rodriguez to conduct follow up conflicts       0.50    305.00
                        check regarding additional parties in interest.
12/11/15    MG          Revise November billing statements.                               5.40   2,025.00
12/13/15    SM          Follow up on email from J. Liu regarding fee committee            0.30     183.00
                        response to Committee expense statement.
12/13/15    JGL         Review/respond to correspondence from N. Rapoport                 0.80   1,000.00
                        regarding draft report.
12/14/15    ER          Review and organize conflicts searches.                           0.90     292.50
12/14/15    SM          Review first conflicts report and chart (.5); revise responses    3.50   2,135.00
                        to fee committee's draft report (1.8); various teleconferences
                        with J. Liu regarding draft report (.6); teleconferences with
                        J. Liu regarding GC Andersen second interim fee application
                        (.6).
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EMPLOYMENT AND FEE APPLICATIONS
Client/Matter No. 71844.0011

Date        Attorney    Description                                                      Hours   Amount

12/14/15    JGL         Review email correspondence from N. Rapoport (.2);                5.30   6,625.00
                        respond to same and respond to draft report (1.2); three
                        teleconferences with S. Ma regarding same (.6); email to
                        Kirkland regarding underpayment of fees and expenses (.4);
                        teleconference with S. Ma regarding GCA second interim
                        fee application (.2); review GCA second interim application
                        in response to fee examiner draft report (1.5);
                        review/respond to email correspondence from S. Ma
                        regarding GCA application (.4); two teleconferences with S.
                        Ma regarding GCA application (.4); prepare email to G.
                        Bousquette regarding GCA second interim application (.4).
12/14/15    MG          Revise November billing statement, including corresponding        3.60   1,350.00
                        directly with timekeepers (2.6); further research regarding
                        holdback amount (.3); prepare draft email regarding same
                        (.4); meeting with J. Liu regarding same (.1); prepare email
                        incorporating J. Liu's revisions and send to Kirkland (.2).
12/15/15    ER          Organize conflicts searches.                                      0.80    260.00
12/15/15    SM          Revise responses to fee committee's draft report (.4);            0.90    549.00
                        teleconference with J. Liu and N. Rapoport regarding 12/14
                        email correspondence (.5).
12/15/15    SM          Coordinate additional conflicts check review.                     0.80     488.00
12/15/15    JGL         Teleconference with S. Ma regarding N. Rapoport 12/14             2.40   3,000.00
                        email correspondence (.5); teleconference with G.
                        Bousquette regarding GCA second interim application
                        concerning N. Rapoport issues (.3); email correspondence
                        with M. Giddens regarding invoice payments (.2);
                        edit/comment on draft response to N. Rapoport regarding
                        second interim application (1.0); review GCA supplemented
                        time entries for second interim application (.3); and email to
                        G. Bousquette regarding same (.1).
12/15/15    MG          Correspondence with Kirkland, J. Liu and J. Peters regarding      4.60   1,725.00
                        holdback amount shortfall email (.5); revise November
                        billing statement (4.1).
12/15/15    KW          Review conflicts report (.4) and draft accompanying               1.00    445.00
                        conflicts chart (.6).
12/16/15    PP          Review and update hearing notices for Committee fee               0.60    615.00
                        applications.
12/16/15    NP          Prepare (.2) and file (.3) amended hearing notices for            0.70    210.00
                        Jefferies LLC, FTI Consulting, Proskauer and GC
                        Anderson's second interim fee applications; coordinate
                        service regarding same (.2).
12/16/15    ER          Review, organize and chart conflicts results for S. Ma.           1.10     357.50
12/16/15    SM          Follow up on email from J. Liu regarding final fee                1.70   1,037.00
                        committee report for second interim period (Proskauer) (.3);
                        follow up on additional inquiries from fee committee (1.2);
                        follow up on emails from E. Rodriguez and K. Whitaker
                        regarding conflicts checks (.2).
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EMPLOYMENT AND FEE APPLICATIONS
Client/Matter No. 71844.0011

Date        Attorney    Description                                                      Hours   Amount

12/16/15    JGL         Two teleconferences with S. Ma regarding N. Rapoport              1.30   1,625.00
                        correspondence (.2); review emails from S. Ma regarding N.
                        Rapoport correspondence (.2); prepare email to N. Rapoport
                        regarding proposal to resolve research issues (.6);
                        teleconference with S. Ma regarding same (.3).
12/16/15    MG          Revise third round of edits (3.4); obtain LEDES billing file      3.60   1,350.00
                        of October billing statement and send to Rapoport (.2).
12/16/15    JW          Draft amended fee application notices.                            0.90    400.50
12/16/15    KW          Review conflicts report (.6) and draft accompanying               2.00    890.00
                        conflicts chart (1.4).
12/17/15    ER          Review, organize and chart conflicts results for S. Ma.           1.30    422.50
12/17/15    SM          Review FTI time records for privileged and confidential           1.40    854.00
                        information (.7). Review additional conflicts report chart
                        (.7).
12/17/15    JGL         Correspondence with N. Rapoport regarding GCA fee                 0.40    500.00
                        application (.2); Discussion with M. Bienenstock regarding
                        second interim application resolution with fee committee
                        (.2).
12/17/15    PMA         Confer with J. Liu regarding fee issues.                          0.10    107.50
12/17/15    KW          Review conflicts report (.8) and draft accompanying               1.30    578.50
                        conflicts chart (.5).
12/18/15    ER          Review, organize and chart conflicts results for S. Ma.           3.20   1,040.00
12/18/15    SM          Review FTI time entries for privileged and confidential           0.90     549.00
                        information (.3). Review additional conflicts check reports
                        charts (.6).
12/18/15    KW          Review conflicts reports (2.4) and draft accompanying             5.50   2,447.50
                        conflicts chart (3.1).
12/19/15    SM          Follow up on email from J. Liu regarding third interim fee        0.10     61.00
                        application.
12/19/15    PMA         Review November billing statement for confidentiality and         1.20   1,290.00
                        privilege.
12/20/15    PMA         Review November billing statement for confidentiality and         1.40   1,505.00
                        att/client privilege.
12/21/15    ER          Organize and chart conflicts-of-interest search results for S.    1.00    325.00
                        Ma.
12/21/15    SM          Prepare third interim fee application with respect to rate        4.80   2,928.00
                        increase / step increase (3.9); conference with J. Liu
                        regarding fee increase (.3); review compiled conflicts charts
                        (.6).
12/21/15    JGL         Review fee committee second report (.2); discussion with P.       3.70   4,625.00
                        Abelson regarding fee committee second report (.2); review
                        fee increase information from S. Ma (.2) and discussion with
                        S. Ma regarding same (.3); teleconference with P. Abelson
                        regarding November billing statement (.2); review
                        November time entries for attorney/client privilege and
                        confidentiality (2.6).
12/21/15    PMA         Review November billing statement for confidentiality and         1.10   1,182.50
                        att/client privilege.
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EMPLOYMENT AND FEE APPLICATIONS
Client/Matter No. 71844.0011

Date        Attorney    Description                                                      Hours   Amount

12/21/15    MG          Review November disbursement back up (.4); review wire            2.30    862.50
                        payment information regarding missing fee amount;
                        correspond with J. Peters and H. Sanchez regarding same
                        (.3); review all information regarding disbursements
                        reduction and prepare detailed draft of email regarding
                        application of the funds to the various invoices (.7); review
                        P. Abelson edits to November billing statement, revise as
                        necessary and forward to H. Sanchez (.9).
12/21/15    KW          Review conflicts reports (1.4) and draft accompanying             4.50   2,002.50
                        conflicts charts (2.6); Update existing conflicts charts (.5).
12/22/15    ER          Organize and chart conflicts-of interest search results (1.0);    1.10    357.50
                        circulate same to S. Ma (.1).
12/22/15    ER          Update conflicts chart for Steve Ma.                              1.30     422.50
12/22/15    JGL         Teleconference with J. Kuchinsky regarding annual rate            1.40   1,750.00
                        increase (.5); review November billing statement for
                        attorney-client privilege and confidentiality (.7); discussion
                        with P. Abelson regarding fee increases (.2).
12/22/15    MG          Draft detailed instructions and explanations regarding            2.10    787.50
                        second period holdback funds and method of allocation (.5),
                        including correspondence with H. Sanchez (.2) and office
                        conference with J. Liu regarding same (.1); review J. Liu
                        edits to November billing statement (excluding matter 004)
                        and revise as necessary (.9); review remaining P. Abelson
                        edits to November billing statement (.4).
12/22/15    KW          Review conflicts reports (2.0) and draft accompanying             4.70   2,091.50
                        conflicts chart (2.7).
12/23/15    PP          Review order regarding fee applications, emails regarding         0.30    307.50
                        same.
12/23/15    ER          Review of second interim fee applications for blended rates       1.30    422.50
                        and attorney rates for J. Liu (1.1); circulate same to J. Liu
                        (.1); circulate November billing statement to J. Liu (.1).
12/23/15    SM          Review conflicts check charts.                                    0.40     244.00
12/23/15    JGL         Review November billing statement for attorney-client             3.50   4,375.00
                        privilege and confidentiality.
12/23/15    KW          Review conflicts report (.3) and draft accompanying               0.80    356.00
                        conflicts chart (.5).
12/24/15    ER          Update conflicts charts for S. Ma.                                2.20    715.00
12/28/15    NP          Draft amended hearing notice for Committee second interim         0.20     60.00
                        fee application per S. Ma.
12/28/15    ER          Update multiple conflicts charts for S. Ma.                       2.10     682.50
12/28/15    SM          Prepare certifications of no objections and proposed orders       2.00   1,220.00
                        for all Committee professionals' second interim fee
                        applications and Committee members' second expense
                        application.
12/28/15    JGL         Review amended notice for Committee member expense                0.40    500.00
                        reimbursement second interim application (.1); review/edit
                        CNO/orders for Proskauer and Committee Professionals
                        second interim applications (.3).
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EMPLOYMENT AND FEE APPLICATIONS
Client/Matter No. 71844.0011

Date         Attorney   Description                                                        Hours          Amount

12/28/15     MG         Correspond with J. Huffman regarding certain edits to                0.70          262.50
                        November billing statement (.1); review edits (.6).
12/29/15     ER         Update conflicts charts chart for S. Ma.                             1.30           422.50
12/29/15     SM         Review conflicts charts (.4); coordinate additional review of        2.00         1,220.00
                        conflicts chart with E. Rodriguez and K. Whitaker (.1);
                        review FTI time entries for privileged and confidential
                        information (1.5).
12/29/15     MG         Revise November billing statement to ensure accuracy and             2.70         1,012.50
                        consistency (2.5); correspond with J. Huffman regarding
                        same (.2).
12/30/15     SM         Review FTI time entries for privileged and confidential              3.00         1,830.00
                        information (1.0). Revise conflicts report charts (2.0).
12/30/15     MG         Finalize November billing statement (1.5); prepare                   5.10         1,912.50
                        November monthly fee statement, including populating the
                        exhibit charts (3.2); correspond with Kirkland and then with
                        J. Liu regarding payment of October monthly fee statement
                        (.1); correspond with S. Ma regarding November monthly
                        fee statement (.1); correspond with KCC regarding service
                        of same (.2).
12/30/15     KW         Review conflicts reports(.7) and draft accompanying                  2.10          934.50
                        conflicts chart (1.4).


Attorney                                                                  Hours            Rate           Amount

JUDY G. LIU                                                               32.00         1,250.00         40,000.00
PAUL POSSINGER                                                             0.90         1,025.00            922.50
PHILIP M. ABELSON                                                          4.40         1,075.00          4,730.00
       Total For Partner                                                  37.30                          45,652.50

JERAMY WEBB                                                                0.90          445.00             400.50
KRISTA WHITAKER                                                           21.90          445.00           9,745.50
MAJA ZERJAL                                                                0.50          735.00             367.50
STEVE MA                                                                  25.10          610.00          15,311.00
      Total For Associate                                                 48.40                          25,824.50

EVELYN RODRIGUEZ                                                          30.00          325.00           9,750.00
MAGALI GIDDENS                                                            56.00          375.00          21,000.00
NATASHA PETROV                                                             0.90          300.00             270.00
     Total For Legal Assistant                                            86.90                          31,020.00


Professional Fees                                                        172.60                     $   102,497.00

Total this Matter                                                                                  $    102,497.00
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EMPLOYMENT AND FEE APPLICATION OBJECTIONS
Client/Matter No. 71844.0012


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                             Hours        Amount

12/09/15     SM         Follow up with IGT regarding expense application          0.30        183.00
                        reductions.
12/23/15     VI         Review Judge Goldgar's order regarding Kirkland fee       0.10         82.50
                        application.


Attorney                                                               Hours    Rate         Amount

STEVE MA                                                                0.30   610.00         183.00
VINCENT INDELICATO                                                      0.10   825.00          82.50
      Total For Associate                                               0.40                  265.50


Professional Fees                                                       0.40             $    265.50

Total this Matter                                                                       $     265.50
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FINANCING AND CASH COLLATERAL
Client/Matter No. 71844.0013


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                       Hours   Amount

12/01/15    CT          Revise standing motion reply.                                      2.80   2,058.00
12/01/15    MZ          Discuss standing reply with V. Indelicato.                         0.10      73.50
12/01/15    MZ          Discuss standing motion reply with D. Desatnik (.8); confer        0.90     661.50
                        with P. Abelson and D. Desatnik regarding same (.1).
12/01/15    PMA         Confer with M. Zerjal and D. Desatnik regarding standing           0.40    430.00
                        motion (.1); confer with V. Indelicato regarding standing
                        motion (.3).
12/01/15    VI          Prepare sections for draft standing reply (2.4); confer with       2.80   2,310.00
                        M. Zerjal regarding standing reply (.1); confer with P.
                        Abelson regarding same (.3).
12/01/15    DD          Prepare first draft of reply to Objector's colorability            8.40   3,738.00
                        arguments (7.3); discuss colorability motion and procedural
                        background with M. Zerjal (.8); discuss documented vessels
                        issue with V. Indelicato (.3).
12/02/15    MZ          Discuss standing motion reply with V. Indelicato (.2);             3.60   2,646.00
                        review D. Desatnik draft reply to colorability arguments (.4);
                        review objections' arguments (1.2); draft portion of reply
                        argument (1.8).
12/02/15    VI          Draft colorability arguments for standing reply brief (.9);        1.10    907.50
                        conference with M. Zerjal regarding standing motion reply
                        (.2).
12/02/15    DD          Prepare first draft of reply to Objector's colorability            1.70    756.50
                        arguments (1.4); conference with V. Indelicato regarding
                        documented vessels (.3).
12/03/15    SOW         Review issues on standing motion as to licenses.                   1.00   1,475.00
12/03/15    SM          Draft portions of reply to standing motion (lien challenges).     10.10   6,161.00
12/03/15    MZ          Review relevant jurisprudence regarding standing motion            6.80   4,998.00
                        reply (4.0); draft argument for standing motion reply (2.8).
12/03/15    PMA         Review research and secondary sources regarding derivative         0.60    645.00
                        standing (.4); confer with V. Indelicato regarding standing
                        motion (.2).
12/03/15    VI          Draft standing motion reply (6.2); confer with P. Abelson          6.40   5,280.00
                        regarding same (.2).
12/03/15    DD          Distinguish cases in first lien objectors' regarding exclusive     5.60   2,492.00
                        authority to settle (2.1); research cases to find authority for
                        exclusive settlement authority in derivative standings (3.5).
12/03/15    AC          Research and review Debtors' arguments against Committee           1.20    594.00
                        regulatory license challenges per V. Indelicato email (1.1)
                        and discuss same with S. Weise (.1).
12/04/15    SM          Revise portion of standing motion reply (lien challenges).         2.20   1,342.00
12/04/15    MZ          Revise argument for standing motion reply multiple times           2.90   2,131.50
                        (2.8); discuss same with J. French (.1).
12/04/15    PMA         Revise standing motion reply.                                      2.40   2,580.00
12/04/15    VI          Draft standing motion reply.                                       4.50   3,712.50
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Date        Attorney    Description                                                     Hours   Amount

12/04/15    DD          Review compiled first draft of standing motion reply.            1.40    623.00
12/05/15    SM          Review emails from V. Indelicato regarding reply to              0.10     61.00
                        standing motion (lien challenges).
12/05/15    MZ          Review correspondence regarding standing motion reply.           0.70     514.50
12/05/15    PMA         Revise standing motion reply (3.7); confer with V.               3.90   4,192.50
                        Indelicato regarding standing motion reply (.2).
12/05/15    VI          Review standing motion reply (1.0); confer with P. Abelson       1.40   1,155.00
                        regarding same (.2); Telephone conference with P. Abelson
                        regarding standing motion reply (.2).
12/06/15    SM          Revise portion of standing motion reply (lien challenges)        3.00   1,830.00
                        according to comments from P. Abelson.
12/06/15    MZ          Revise standing motion reply multiple times (3.8); review        4.80   3,528.00
                        comments to same (.8); discuss same with P. Abelson (.1);
                        discuss same with V. Indelicato (.1).
12/06/15    PMA         Confer with M. Zerjal regarding standing motion reply (.1);      3.40   3,655.00
                        revise standing motion reply (3.3).
12/06/15    VI          Revise draft standing motion reply (5.4); confer with M.         5.70   4,702.50
                        Zerjal regarding same (.1); Confer with P. Abelson
                        regarding draft standing motion reply (.2).
12/07/15    SM          Revise portion of standing motion reply (lien challenges)        1.40    854.00
                        according to comments from P. Abelson.
12/07/15    MZ          Review cash collateral provisions and amendments before          3.10   2,278.50
                        final version of standing motion reply (1.3); Revise standing
                        motion reply (1.7); discuss same with P. Abelson (.1).
12/07/15    PMA         Confer with M. Zerjal regarding standing motion reply.           0.10     107.50
12/07/15    VI          Further revise draft standing reply (1.5); Review final cash     1.90   1,567.50
                        collateral order regarding use of unencumbered funds (.4).
12/07/15    DD          Research case citations for propositions within revised          0.60    267.00
                        standing motion reply.
12/08/15    VI          Analyze FTI cash flow update.                                    0.30     247.50
12/10/15    PP          Review standing pleadings.                                       1.00   1,025.00
12/10/15    PMA         Confer with V. Indelicato regarding standing motion reply.       0.20     215.00
12/11/15    PP          Review standing motion regarding lien challenges and             3.80   3,895.00
                        responses (1.2); review lien challenge standing cases (.4);
                        review standing responses (2.2).
12/11/15    MJB         Review (.9), research (1.6), edit (1.0), and prepare (2.8)       6.30   8,158.50
                        portions of reply to objection to Committee derivative
                        standing motion.
12/11/15    JGL         Review comments on reply brief lien avoidance (2.4);             3.20   4,000.00
                        review decision in connection with reviewing reply brief
                        (.8).
12/11/15    MZ          Prepare stipulation regarding standing motion objection          1.70   1,249.50
                        (1.3); Review comments to draft reply to standing motion
                        objections (.4).
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Date        Attorney    Description                                                    Hours   Amount

12/11/15    PMA         Review email correspondence from V. Indelicato regarding        0.70    752.50
                        standing motion reply (.1); review revised standing motion
                        reply (.2); confer with V. Indelicato regarding standing
                        motion reply (.4).
12/11/15    VI          Update standing motion reply (1.9); confer with P. Abelson      2.30   1,897.50
                        regarding same (.4).
12/12/15    SM          Review comments from M. Bienenstock to Committee                0.40    244.00
                        standing motion reply (lien challenges).
12/12/15    JGL         Review latest revision to standing motion reply brief.          0.60    750.00
12/12/15    PMA         Review revised standing motion reply.                           0.50    537.50
12/12/15    VI          Analyze M. Bienenstock comments regarding standing              0.80    660.00
                        motion reply.
12/13/15    JGL         Review latest revision to reply brief.                          0.50     625.00
12/13/15    MZ          Review M. Bienenstock comments regarding reply to               2.30   1,690.50
                        standing motion (.5) and revise draft reply to standing
                        motion objection (1.8).
12/13/15    VI          Revise draft standing motion.                                   1.70   1,402.50
12/14/15    SAE         Review draft reply on standing motion (.8); emails with V.      1.30   1,202.50
                        Indelicato, P. Abelson, R. Cleary regarding same (.3);
                        telephone conference with J. Liu regarding same (.2).
12/14/15    PP          Review Debtors' response brief on lien challenge standing       4.30   4,407.50
                        (1.5); review and revise standing motion reply brief (2.8).
12/14/15    SM          Prepare exhibit for standing motion reply (lien challenges).    1.80   1,098.00
12/14/15    MZ          Discuss standing reply with V. Indelicato and S. Ma (.1).       5.00   3,675.00
                        Review DTC objection (.5) and prepare response (1.5);
                        review standing reply (.8); Review two sets of comments to
                        standing motion (.8); revise draft multiple times (1.3).
12/14/15    PMA         Confer with V. Indelicato regarding standing motion reply       0.40    430.00
                        (.2); review revised standing motion reply (.2).
12/14/15    VI          Revise draft standing motion reply (2.5); confer with P.        2.70   2,227.50
                        Abelson regarding same (.2).
12/14/15    DD          Distinguish cases for cost-benefit analysis.                    1.20     534.00
12/15/15    SOW         Review case law on assignability of licenses.                   0.50     737.50
12/15/15    PP          Email suggested revisions to standing reply to V. Indelicato    1.40   1,435.00
                        (.3); review update to reply (1.1).
12/15/15    JGL         Revise lien avoidance reply (2.2); two teleconferences with     2.90   3,625.00
                        M. Zerjal regarding shortening lien avoidance reply (.7).
12/15/15    MZ          Incorporate multiple comments into standing motion reply        6.00   4,410.00
                        (4.9); discuss same with P. Abelson (.2); V. Indelicato (.2)
                        and J. Liu (.7).
12/15/15    PMA         Revise standing motion reply, including reviewing decisions     2.60   2,795.00
                        and authorities cited (2.1); confer with M. Zerjal regarding
                        standing motion reply (.2); confer with D. Desatnik
                        regarding standing motion reply (.1); confer with J. Liu
                        regarding standing motion reply (.1); confer with V.
                        Indelicato regarding standing motion reply (.1).
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FINANCING AND CASH COLLATERAL
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Date        Attorney    Description                                                    Hours   Amount

12/15/15    VI          Edit draft standing motion reply (2.3); discuss same with M.    2.70   2,227.50
                        Zerjal (.2); Review multiple email correspondences with S.
                        Weise regarding regulatory license challenges (.2).
12/15/15    DD          Incorporate P. Abelson's comments into new draft of             2.30   1,023.50
                        standing motion (2.3).
12/16/15    SAE         Review revised reply on standing motion.                        0.30     277.50
12/16/15    SOW         Review case law on assignability of licenses.                   0.50     737.50
12/16/15    PP          Revise updated versions of reply brief on standing (2.9);       3.70   3,792.50
                        discuss case updates with P. Abelson (.1); final review of
                        reply brief on standing (.7).
12/16/15    SM          Revise/prepare standing motion reply (lien challenges) for      2.00   1,220.00
                        final form filing.
12/16/15    MZ          Provide comments to reply to standing motion objections         1.20    882.00
                        (.5); Review Debtors' recent operating reports (.7).
12/16/15    VI          Revise draft standing reply for filing.                         3.40   2,805.00
12/16/15    DD          Review citations in standing motion for authority (.7); call    0.80     356.00
                        with V. Indelicato regarding same (.1).
12/17/15    PMA         Confer with J. Liu regarding standing motion reply.             0.10    107.50
12/17/15    VI          Review CEOC cash management notice regarding UK                 0.20    165.00
                        subsidiary.
12/18/15    VI          Telephone conference with J. Truitt regarding cash              0.70    577.50
                        management issues (.3); Multiple email correspondences
                        with J. Liu and P. Abelson regarding same (.2); Telephone
                        conference with J. Graham regarding same (.2).
12/21/15    PMA         Conference with V. Indelicato and P. Possinger regarding        0.10    107.50
                        lien challenge adversary.
12/22/15    DD          Discuss memorandum assignment with S. Ma regarding              0.90    400.50
                        nondebtor releases (.7); research nondebtor releases (.2).
12/24/15    VI          Analyze cash collateral order and stipulations to determine     1.20    990.00
                        relevant challenge deadlines (.5); Review draft standing
                        motion regarding controversial transactions (.7).
12/28/15    JGL         Conference call with P. Abelson and M. Zerjal regarding         0.30    375.00
                        standing motion.
12/28/15    VI          Revise proposed complaint regarding lien challenges.            1.80   1,485.00
12/29/15    JGL         Discussion with C. Theodoridis regarding standing motion.       0.40     500.00
12/29/15    PMA         Confer with V. Indelicato regarding standing motion             0.10     107.50
                        complaint.
12/30/15    ASW         Revise lien avoidance complaint.                                3.20   2,352.00
12/30/15    PMA         Confer with V. Indelicato regarding collateral issues.          0.10     107.50
12/30/15    VI          Telephone conference with R. Franklin and J. Price              0.30     247.50
                        regarding financing issues.
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FINANCING AND CASH COLLATERAL
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Attorney                                          Hours       Rate          Amount

JUDY G. LIU                                         7.90   1,250.00         9,875.00
MARTIN J. BIENENSTOCK                               6.30   1,295.00         8,158.50
PAUL POSSINGER                                     14.20   1,025.00        14,555.00
PHILIP M. ABELSON                                  15.60   1,075.00        16,770.00
STEVEN O. WEISE                                     2.00   1,475.00         2,950.00
       Total For Partner                           46.00                   52,308.50

SCOTT A. EGGERS                                     1.60    925.00          1,480.00
      Total For Senior Counsel                      1.60                    1,480.00

ANDREW S. WELLIN                                    3.20    735.00          2,352.00
ASHLEY CHAY                                         1.20    495.00            594.00
CHRIS THEODORIDIS                                   2.80    735.00          2,058.00
MAJA ZERJAL                                        39.10    735.00         28,738.50
STEVE MA                                           21.00    610.00         12,810.00
VINCENT INDELICATO                                 41.90    825.00         34,567.50
       Total For Associate                        109.20                   81,120.00

DANIEL DESATNIK                                    22.90    445.00         10,190.50
      Total For Law Clerk                          22.90                   10,190.50


Professional Fees                                 179.70              $   145,099.00

Total this Matter                                                     $   145,099.00
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LITIGATION
Client/Matter No. 71844.0014


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                     Hours   Amount

12/01/15    PP          Review proposal amendment to Trust Indenture Act ("TIA").        0.50     512.50
12/01/15    PMA         Review Debtors’ appellate brief in 7th Circuit regarding         1.40   1,505.00
                        injunction (.8); draft notes regarding 7th circuit injunction
                        briefing (.6).
12/01/15    VI          Analyze proposed TIA amendment/retroactivity.                    0.60    495.00
12/02/15    PMA         Review motion regarding termination and release by Caesars       0.10    107.50
                        Massachusetts of agreement.
12/03/15    MED         Review Debtors' motion to compel (.9); review J. Millar          1.20   1,200.00
                        email regarding same (.1); conference with S. Eggers
                        regarding same (.2).
12/03/15    JGL         Review CEOC motion to compel (.5); review email from J.          0.70    875.00
                        Millar regarding CEOC motion to compel (.1); Email from
                        V. Indelicato regarding Debtors' motion to compel (.1).
12/03/15    PMA         Confer with V. Indelicato regarding CEOC motion to               0.50    537.50
                        compel production of privileged documents (.1); Analyze
                        CEOC motion to compel production of privileged
                        documents (.4).
12/04/15    VI          Analyze CEOC motion to compel (.5); review multiple              1.00    825.00
                        email correspondences from S. Eggers regarding same (.3);
                        review research related to privilege issues (.2).
12/05/15    RK          Analyze documents for section 1111(b) actions (4.5); attend      5.00   2,225.00
                        section 1111(b) team meeting (.5).
12/07/15    PP          Review updates regarding guarantee litigation versus CEC         0.80    820.00
                        (.2); review first and second lien summary judgment
                        pleading in SDNY guaranty action (.6).
12/07/15    SM          Draft preliminary response to Debtors' motion to compel          0.50    305.00
                        CEC to produce documents.
12/07/15    PMA         Review draft response to CEOC motion to compel, and draft        0.20    215.00
                        email correspondence to S. Eggers regarding same.
12/07/15    VI          Review multiple drafts of Committee reponse to CEOC              0.80    660.00
                        motion to compel.
12/08/15    PMA         Confer with V. Indelicato regarding privilege issues (.1);       0.20    215.00
                        review email correspondence from S. Eggers and M.
                        Davidson regarding privilege issues (.1).
12/08/15    VI          Review S. Sullivan and S. Eggers email correspondence            0.10     82.50
                        regarding privilege analysis.
12/09/15    SAE         Revise motion to compel response (.3); telephone                 1.20   1,110.00
                        conference with S. Ma regarding same (.2); telephone
                        conferences with V. Indelicato regarding comments to
                        response (.3); review CEC response to motion to compel
                        (.4).
12/09/15    MKT         Review emails and filings related to CEOC motion to              0.60    720.00
                        compel (.2); discuss same, and proposed TIA amendment
                        with P. Possinger (.5).
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LITIGATION
Client/Matter No. 71844.0014

Date        Attorney    Description                                                    Hours   Amount

12/09/15    PP          Review materials regard legislative efforts on TIA (.2);        1.60   1,640.00
                        discuss REIT legislation with M. Thomas (.2); call with V.
                        Indelicato regarding same (.5); review emails from Meehan
                        Combs counsel (.2); Review CEC response regarding
                        motion to compel (.5).
12/09/15    VI          Multiple email correspondences with S. Eggers regarding         1.60   1,320.00
                        CEOC motion to compel (.3); multiple telephone
                        conferences with S. Eggers regarding same (.2); telephone
                        conference with Kirkland regarding same (.1); telephone
                        conference with C. Shore regarding same (.1); Analyze
                        responses to motion to compel (.3); teleconference with P.
                        Possinger regarding REIT legislation and settlement issues
                        (.5); Review Jones Day letter correspondence regarding
                        privilege log (.1).
12/10/15    JGL         Review email correspondence regarding potential                 0.20    250.00
                        amendment of ("TIA").
12/10/15    MZ          Review parent guarantee litigation status.                      2.00   1,470.00
12/10/15    PMA         Confer with P. Possinger regarding 7th Circuit injunction       0.30     322.50
                        appeal (.1); review objections to CEOC motion to compel
                        privileged documents (.2).
12/10/15    VI          Review Seventh Circuit Appeal briefs (1.5); analyze             2.00   1,650.00
                        summary of Seventh Circuit Appeal oral argument (.5).
12/11/15    SAE         Listen to 7th Circuit argument on CEC stay.                     0.50     462.50
12/11/15    PP          Listen to 7th Circuit argument on stay appeal, notes            1.50   1,537.50
                        regarding same.
12/11/15    PMA         Review article and letter regarding TIA amendment (.1);         0.20    215.00
                        review email correspondence from A. Wellin, S. Eggers, and
                        V. Indelicato regarding privilege issues (.1).
12/14/15    SAE         Telephone conference with P. Possinger regarding motion to      0.30    277.50
                        compel.
12/14/15    PP          Call with S. Eggers regarding CEC production, privilege log,    0.70    717.50
                        plan discovery (.3); follow-up emails with P. Abelson and V.
                        Indelicato regarding same (.4).
12/14/15    PMA         Review email correspondence from S. Eggers and P.               0.30    322.50
                        Possinger regarding discovery issues (.1); review summary
                        judgment reply by BOKF and UMB regarding guarantee
                        litigation (.2).
12/15/15    SAE         Review TIA Amendment updates.                                   0.10     92.50
12/15/15    PP          Review CEC privilege log (.3); call with S. Eggers regarding    0.70    717.50
                        same, 12/16 hearing on CEOC motion to compel (.2);
                        follow-up emails with S. Eggers and M. Davidson regarding
                        same (.2).
12/15/15    PMA         Analyze information and secondary sources regarding TIA         0.30    322.50
                        amendment.
12/15/15    PMA         Review email correspondence from P. Possinger, S. Eggers,       0.10    107.50
                        and M. Davidson regarding discovery issues.
12/16/15    MED         Review CEC objections to motion to compel.                      0.30    300.00
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LITIGATION
Client/Matter No. 71844.0014

Date        Attorney    Description                                                     Hours   Amount

12/16/15    PP          Review various legislative updates (TIA and REIT) (.3);          0.40    410.00
                        discuss privilege log with S. Eggers (.1).
12/16/15    VI          Review CEC privilege log.                                        0.70    577.50
12/17/15    PMA         Review BOKF 2nd Circuit brief regarding TIA.                     0.30    322.50
12/21/15    PMA         Review materials regarding extension of stay to non-debtors.     0.60    645.00
12/22/15    PP          Review update from SDNY guarantee action.                        0.60    615.00
12/23/15    SAE         Review 7th Circuit decision in Bankruptcy code section 105       0.40    370.00
                        dispute.
12/23/15    PP          Review 7th Circuit ruling on stay appeal (.8); emails with J.    1.10   1,127.50
                        Liu and P. Abelson regarding same (.3).
12/23/15    MJB         Review Seventh Circuit remand opinion regarding Debtors'         1.00   1,295.00
                        request for injunction (.4); review Fisher decision (.6).
12/23/15    JGL         Review 7th Circuit reversal of district court/Judge Goldgar      0.70    875.00
                        on injunction under section 105 (.4); teleconference with P.
                        Abelson regarding 7th Circuit reversal of district
                        court/Goldgar on injunction under section 105 (.3).
12/23/15    PMA         Review email correspondence from S. Ma and P. Possinger          0.80    860.00
                        regarding 7th Circuit injunction decision (.1); Analyze 7th
                        Circuit injunction decision (.2); Review email
                        correspondence from S. Eggers regarding avoidance actions
                        (.1); conference with J. Liu regarding 7th Circuit injunction
                        decision (.3); conference with V. Indelicato regarding 7th
                        Circuit injunction decision (.1).
12/23/15    VI          Analyze Seventh Circuit opinion regarding injunction.            0.50     412.50
12/27/15    PMA         Review memo regarding TIA issues.                                0.70     752.50
12/28/15    PP          Review motion for ruling on stay adversary, order denying        1.00   1,025.00
                        motion regarding mandate in 7th circuit, related emails.
12/28/15    JGL         Review Debtors' emergency motion for January 4th hearing         0.80   1,000.00
                        on injunction remand (.2); Review email regarding CEC
                        letter to Judge Scheindlin, and review letter (.3); Review
                        Debtors' motion for expedited issuance of mandate filed with
                        7th Circuit (.3).
12/28/15    PMA         Review CEOC motion regarding expedited hearing on                0.60    645.00
                        injunction (.4); Review CEC letter to SDNY regarding
                        injunction (.2).
12/28/15    VI          Analyze multiple pleadings filed in connection with stay         1.50   1,237.50
                        litigation.
12/29/15    SM          Summarize SDNY summary judgment decision and                     0.60    366.00
                        noteholders' opposition to motion to expedite 7th Circuit
                        issuance of mandate.
12/29/15    JGL         Review Noteholders' response to Debtor 7th Circuit motion        0.40    500.00
                        for expedited mandate.
12/29/15    MZ          Review decision denying summary judgment on parent               0.30    220.50
                        guarantee litigation and related reports.
12/29/15    PMA         Confer with V. Indelicato regarding guarantee litigation.        0.10    107.50
12/29/15    VI          Review summary judgment opinion.                                 0.80    660.00
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Date         Attorney   Description                                                    Hours         Amount

12/30/15     PP         Review 7th Circuit ruling reversing stay decisions (.9);         1.50        1,537.50
                        review pleadings regarding expediting injunction ruling,
                        issuance of mandate (.6).
12/30/15     PMA        Confer with H. Denman and V. Indelicato regarding                0.50         537.50
                        summary judgment ruling in guarantee litigation (.3);
                        Review response to motion to expedite mandate issuance in
                        Seventh Circuit (.2).
12/30/15     VI         Confer with P. Abelson and H. Denman regarding summary           0.30         247.50
                        judgement ruling in the guarantee litigation.


Attorney                                                              Hours            Rate          Amount

JUDY G. LIU                                                             2.80        1,250.00         3,500.00
MARK K. THOMAS                                                          0.60        1,200.00           720.00
MARTIN J. BIENENSTOCK                                                   1.00        1,295.00         1,295.00
PAUL POSSINGER                                                         10.40        1,025.00        10,660.00
PHILIP M. ABELSON                                                       7.20        1,075.00         7,740.00
       Total For Partner                                               22.00                        23,915.00

MARK E. DAVIDSON                                                        1.50        1,000.00         1,500.00
SCOTT A. EGGERS                                                         2.50          925.00         2,312.50
      Total For Senior Counsel                                          4.00                         3,812.50

MAJA ZERJAL                                                             2.30         735.00          1,690.50
STEVE MA                                                                1.10         610.00            671.00
VINCENT INDELICATO                                                      9.90         825.00          8,167.50
      Total For Associate                                              13.30                        10,529.00

RUSSELL KOSTELAK                                                        5.00         445.00          2,225.00
      Total For Law Clerk                                               5.00                         2,225.00


Professional Fees                                                      44.30                    $   40,481.50

Total this Matter                                                                              $    40,481.50
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MEETINGS AND COMMUNICATION WITH COMMITTEE
Client/Matter No. 71844.0015


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                     Hours   Amount

12/01/15    SAE         Attend bi-weekly Committee call.                                 0.60    555.00
12/01/15    PP          Attend bi-weekly update call with Committee.                     0.60    615.00
12/01/15    CT          Attend Committee call.                                           0.60    441.00
12/01/15    MZ          Prepare and review materials for (.4) and participate in         1.00    735.00
                        Committee call (.6).
12/01/15    PMA         Confer with V. Indelicato regarding bi-weekly Committee          1.30   1,397.50
                        call agenda (.3); Preparation for bi-weekly Committee call
                        (.4); Attend bi-weekly Committee call (.6).
12/01/15    VI          Confer with P. Abelson regarding Committee call agenda           1.40   1,155.00
                        (.3); telephone conference with Committee regarding bi-
                        weekly case update (.6); Telephone conference with J.
                        Millar regarding TIA issues (.5).
12/02/15    JGL         Teleconference with P. Abelson regarding Committee call.         0.20    250.00
12/02/15    MZ          Review M. Bienenstock email to Committee.                        0.10     73.50
12/02/15    PMA         Confer with J. Liu regarding Committee call.                     0.20    215.00
12/03/15    SAE         Attend Committee meeting regarding Examiner                      0.70    647.50
                        presentation.
12/03/15    MJB         Meet with Committee informally to discuss next steps after       0.40    518.00
                        Examiner meeting (partial attendance).
12/03/15    JGL         Meeting with Committee members after Examiner meeting            1.00   1,250.00
                        (.7); review email correspondence from V. Indelicato
                        regarding Committee meeting agenda (.2); review email
                        from T. Avallone regarding Committee call (.1).
12/03/15    MZ          Participate in Committee meeting after Examiner meeting          0.20    147.00
                        (partial attendance).
12/04/15    SAE         Attend Committee call (1.3); prepare notes for presentation      1.60   1,480.00
                        to Committee on Debtors' privilege motion (.3).
12/04/15    MED         Attend Committee meeting call.                                   1.30   1,300.00
12/04/15    PP          Review Examiner meeting notes (.7); update call with             2.00   2,050.00
                        Committee members (1.3).
12/04/15    SM          Prepare for Committee call (.3); attend Committee call (1.3).    1.60     976.00
12/04/15    JGL         Attend bi-weekly Committee meeting conference call.              1.30   1,625.00
12/04/15    MZ          Review materials for (.3) and participate on Committee call      1.60   1,176.00
                        (1.3).
12/04/15    MZ          Review M. Bienenstock email to Committee.                        0.10      73.50
12/04/15    PMA         Attend bi-weekly Committee call (1.3); Teleconference with       1.50   1,612.50
                        H. Denman regarding case status (.2).
12/04/15    VI          Telephone conference with Committee regarding bi-weekly          1.80   1,485.00
                        case update (1.3). Review documents in preparation for
                        Committee call (.5).
12/06/15    MED         Review M. Bienenstock emails with J. Millar regarding            0.40    400.00
                        strategy and motion to compel.
12/06/15    MZ          Review M. Bienenstock correspondence with Committee.             0.30    220.50
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MEETINGS AND COMMUNICATION WITH COMMITTEE
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Date        Attorney    Description                                                    Hours   Amount

12/06/15    VI          Review multiple email correspondences with J. Millar            0.30    247.50
                        regarding corporate governance.
12/07/15    MJB         In-person meeting with Committee after meeting with             0.60    777.00
                        Debtors' regarding next steps.
12/07/15    JGL         Participate in Committee call.                                  0.60    750.00
12/07/15    MZ          Review materials (.2); attend Committee-only meeting (.6).      1.00    735.00
                        Review V. Indelicato email to Committee and attached
                        materials (.2).
12/07/15    PMA         Confer with Committee after Debtors' meeting.                   0.60    645.00
12/07/15    VI          Meeting with Committee regarding plan issues (.5); Draft        0.80    660.00
                        email correspondence to Committee regarding bidding / sale
                        protocol (.3).
12/08/15    VI          Multiple email correspondences with Committee Members           0.30    247.50
                        regarding sale protocol agreement.
12/09/15    SAE         Telephone conference with C. Shore at White & Case              0.20    185.00
                        regarding response to motion to compel.
12/09/15    PP          Revise Committee responses on motion to compel, Suffolk         0.60    615.00
                        motions.
12/09/15    VI          Multiple email correspondences with White & Case                0.70    577.50
                        regarding REIT issues (.2); Draft email correspondence to
                        Committee regarding Committee objections (.1); Multiple
                        email correspondences with J. Millar regarding same (.2);
                        Multiple email correspondences with Committee regarding
                        CEOC motion to compel (.2).
12/10/15    JGL         Review email correspondence from V. Indelicato regarding        0.10    125.00
                        Committee call agenda.
12/10/15    PMA         Confer with V. Indelicato regarding Committee call agenda.      0.10    107.50
12/10/15    VI          Multiple email correspondences with White & Case                0.90    742.50
                        regarding Examiner report (.2); telephone conference with J.
                        Millar regarding case update (.3); Multiple email
                        correspondences with Drinker Biddle regarding interview
                        transcripts (.2); Multiple email correspondences with
                        Committee Co-Chairs regarding Friday call agenda (.2).
12/11/15    SAE         Prepare notes for presentation during bi-weekly Committee       1.30   1,202.50
                        call (.4); attend bi-weekly Committee call (.9).
12/11/15    PP          Attend bi-weekly update call with Committee members.            0.90    922.50
12/11/15    RMC         Call with Committee to discuss tax developments.                0.80    740.00
12/11/15    SM          Prepare materials for Committee call (.4); Attend Committee     1.30    793.00
                        call (.9).
12/11/15    MJB         Prepare for (.4) and participate in Committee telephonic        1.30   1,683.50
                        meeting regarding plan negotiations (.9).
12/11/15    JGL         Bi-weekly call with Committee members and financial             0.90   1,125.00
                        advisors.
12/11/15    MZ          Participate on Committee call.                                  0.90    661.50
12/11/15    PMA         Attend Committee meeting.                                       0.90    967.50
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MEETINGS AND COMMUNICATION WITH COMMITTEE
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Date        Attorney    Description                                                     Hours   Amount

12/11/15    VI          Telephone conference with Committee regarding bi-weekly          1.60   1,320.00
                        case update (.9); Review materials in preparation for 12/11
                        Committee call (.7).
12/14/15    PMA         Confer with V. Indelicato regarding bi-weekly Committee          0.20    215.00
                        call (.1); review email correspondence from V. Indelicato
                        regarding bi-weekly Committee call (.1).
12/15/15    SM          Review email from Committee member regarding standing            0.10     61.00
                        motion reply issues.
12/16/15    VI          Multiple email correspondences with Committee Members            0.50    412.50
                        regarding legislation update (.3); Draft email correspondence
                        to Committee regarding REIT legislation status (.2).
12/17/15    JGL         Review email correspondence from M. Bienenstock to               0.10    125.00
                        Committee.
12/17/15    VI          Multiple email correspondences with White & Case                 0.80    660.00
                        regarding Examiner issues (.5); Review M. Bienenstock
                        email correspondence regarding plan issues (.2). Multiple
                        email correspondences with Committee Co-Chairs regarding
                        Friday call agenda (.1).
12/18/15    JJM         Attend Committee call regarding case status and strategy.        0.70     840.00
12/18/15    MKT         Calls with P. Possinger regarding Committee's professional       0.90   1,080.00
                        call and Committee call (.6); review emails regarding same
                        (.3).
12/18/15    PP          Attend weekly call with Committee members.                       0.70    717.50
12/18/15    RMC         Call with Committee to discuss updates regarding tax             0.70    647.50
                        developments for REIT provisions.
12/18/15    SM          Prepare materials (.4); attend Committee call (.7).              1.10    671.00
12/18/15    MJB         Participate in telephonic Committee meeting.                     0.70    906.50
12/18/15    JGL         Attend bi-weekly Committee call with Committee members           0.70    875.00
                        and professionals.
12/18/15    MZ          Participate on Committee call.                                   0.70    514.50
12/18/15    PMA         Prepare for bi-weekly Committee call (.2); Attend bi-weekly      0.90    967.50
                        Committee call (.7).
12/18/15    VI          Telephone conference with Committee regarding bi-weekly          1.90   1,567.50
                        case update (.7); Review J. Millar email correspondence
                        regarding Committee strategy (.2); Review pleadings in
                        advance of telephone conference with Committee (1.0).
12/20/15    SAE         Revise memo to Committee regarding Examiner meeting.             0.50    462.50
12/21/15    SAE         Respond to email from M. Zerjal regarding Committee              0.10     92.50
                        member response to Examiner memo.
12/21/15    MED         Review and respond to Zerjal email regarding timing of           0.10    100.00
                        Examiner report.
12/21/15    SM          Prepare materials for Committee call.                            0.20    122.00
12/21/15    JGL         Review lenghty email correspondence from Committee               0.20    250.00
                        member regarding plan-related issues.
12/21/15    MZ          Review correspondence with Committee (.3); Review S.             0.20    147.00
                        Lieberman emails and draft responses (.2).
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MEETINGS AND COMMUNICATION WITH COMMITTEE
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Date        Attorney    Description                                                    Hours   Amount

12/21/15    VI          Multiple email correspondences with J. Millar regarding         0.70    577.50
                        case issues.(.5); Multiple email correspondences with
                        Committee Co-Chairs regarding Tuesday Call Agenda (.2).
12/22/15    SAE         Attend bi-weekly Committee call.                                0.50    462.50
12/22/15    PP          Prepare for (.3) and call with Committee members regarding      0.80    820.00
                        settlement, waterfall updates, other updates (.5).
12/22/15    SM          Prepare materials for Committee call (.1); attend Committee     0.60    366.00
                        call (.5).
12/22/15    MJB         Attend weekly telephonic Committee meeting.                     0.50     647.50
12/22/15    JGL         Attend bi-weekly Committee call with Committee, FTI,            0.80   1,000.00
                        Jefferies, GCA (.5); Discussion with S. Ma and D. Desatnik
                        regarding memo for Committee (.3).
12/22/15    MZ          Participate in Committee call.                                  0.50    367.50
12/22/15    PMA         Preparation for bi-weekly Committee call (.1); Attend bi-       0.60    645.00
                        weekly Committee call (.5).
12/22/15    VI          Telephone conference with Committee regarding bi-weekly         0.50    412.50
                        case update.
12/22/15    DD          Attend Committee conference call.                               0.50    222.50
12/23/15    SM          Email summary regarding 7th circuit bankruptcy code             0.40    244.00
                        Section 105 injunction decision to Committee.
12/23/15    VI          Draft email correspondence to Committee regarding               0.30    247.50
                        litigation update (.1); Multiple email correspondences with
                        Pryor Cashman regarding same (.2).
12/24/15    VI          Multiple email correspondences with Pryor Cashman               0.20    165.00
                        regarding case inquiry.
12/28/15    SM          Send email to Committee summarizing Debtors' request for        0.40    244.00
                        emergency hearing regarding Section 105 injunction and
                        Court's order denying motion.
12/28/15    JGL         Email correspondence regarding Committee call agenda.           0.10    125.00
12/28/15    PMA         Confer with V. Indelicato regarding bi-weekly Committee         0.10    107.50
                        call agenda.
12/28/15    VI          Multiple email correspondences with Hilton regarding claim      0.50    412.50
                        amounts (.2); Multiple email correspondences with
                        Committee Co-Chairs regarding Tuesday call agenda (.3).
12/29/15    PP          Attend bi-weekly update call with Committee members.            0.70    717.50
12/29/15    SM          Prepare Committee call materials (.4); attend Committee call    1.10    671.00
                        (.7).
12/29/15    MJB         Attend weekily telephonic Committee meeting regarding           0.70    906.50
                        negotiations, injunction, Examiner motion.
12/29/15    CT          Attend Committee call (partial attendance).                     0.60     441.00
12/29/15    JGL         Attend bi-weekly call with Committee members and                0.80   1,000.00
                        professionals (.7); Review correspondence from S. Ma
                        regarding noteholder motion (.1).
12/29/15    MZ          Participate on call with Committee.                             0.70     514.50
12/29/15    PMA         Preparation for weekly Committee call (.6); Attend bi-          1.30   1,397.50
                        weekly Committee call (.7).
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MEETINGS AND COMMUNICATION WITH COMMITTEE
Client/Matter No. 71844.0015

Date         Attorney   Description                                                  Hours         Amount

12/29/15     VI         Telephone conference with Committee regarding bi-weekly        0.70         577.50
                        case update.


Attorney                                                             Hours           Rate          Amount

JEFF J. MARWIL                                                         0.70       1,200.00           840.00
JUDY G. LIU                                                            6.80       1,250.00         8,500.00
MARK K. THOMAS                                                         0.90       1,200.00         1,080.00
MARTIN J. BIENENSTOCK                                                  4.20       1,295.00         5,439.00
PAUL POSSINGER                                                         6.30       1,025.00         6,457.50
PHILIP M. ABELSON                                                      7.70       1,075.00         8,277.50
RICHARD M. CORN                                                        1.50         925.00         1,387.50
        Total For Partner                                             28.10                       31,981.50

MARK E. DAVIDSON                                                       1.80       1,000.00         1,800.00
SCOTT A. EGGERS                                                        5.50         925.00         5,087.50
      Total For Senior Counsel                                         7.30                        6,887.50

CHRIS THEODORIDIS                                                      1.20        735.00            882.00
MAJA ZERJAL                                                            7.30        735.00          5,365.50
STEVE MA                                                               6.80        610.00          4,148.00
VINCENT INDELICATO                                                    13.90        825.00         11,467.50
       Total For Associate                                            29.20                       21,863.00

DANIEL DESATNIK                                                        0.50        445.00           222.50
      Total For Law Clerk                                              0.50                         222.50


Professional Fees                                                     65.10                   $   60,954.50

Total this Matter                                                                            $    60,954.50
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NON-WORKING TRAVEL
Client/Matter No. 71844.0016


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                                         Hours        Amount

12/03/15     SAE        Travel to Examiner meeting (actual travel time .5, billed at          0.20        185.00
                        .2).
12/03/15     JGL        Non-working travel to Examiner meeting (.2) (actual travel            0.20        250.00
                        time .5, billed at .2).
12/03/15     MZ         Travel to and from Examiner meeting (actual travel time .5,           0.20        147.00
                        billed at .2).
12/16/15     MZ         Travel from NYC to Chicago and back to NYC for                        4.10       3,013.50
                        December 16 omnibus hearing (actual travel time 8.3, billed
                        at 4.1).
12/16/15     PMA        Travel to Chicago for 12/16 hearing (4.9); Travel from                4.70       5,052.50
                        Chicago to NY regarding 12/16 hearing (4.3); Travel to
                        court from Proskauer office (.2) (actual travel time 9.4,
                        billed at 4.7).
12/18/15     SAE        Travel to Examiner meeting (.5) (actual travel time .5, billed        0.20        185.00
                        at .2).
12/18/15     JGL        Travel to/from Examiner meeting (actual travel time .5,               0.20        250.00
                        billed at .2).
12/18/15     MZ         Travel to and from meeting with Examiner at Winston and               0.20        147.00
                        Strawn (actual travel time .5, billed at .2).


Attorney                                                                  Hours             Rate         Amount

JUDY G. LIU                                                                 0.40         1,250.00          500.00
PHILIP M. ABELSON                                                           4.70         1,075.00        5,052.50
       Total For Partner                                                    5.10                         5,552.50

SCOTT A. EGGERS                                                             0.40          925.00          370.00
      Total For Senior Counsel                                              0.40                          370.00

MAJA ZERJAL                                                                 4.50          735.00         3,307.50
      Total For Associate                                                   4.50                         3,307.50


Professional Fees                                                          10.00                     $   9,230.00

Total this Matter                                                                                   $    9,230.00
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PLAN AND DISCLOSURE STATEMENT
Client/Matter No. 71844.0017


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                      Hours   Amount

12/01/15    PMA         Review Jefferies' presentation regarding plan issues.             0.20     215.00
12/01/15    VI          Analyze Jefferies' presentation regarding shortfall valuation.    0.40     330.00
12/02/15    PP          Review current plan release provisions (.8); review update        3.40   3,485.00
                        from M. Bienenstock regarding plan issues (.4); Review 7th
                        Circuit case law regarding third-party releases (1.5); review
                        bankruptcy cases from Judge Guzman (.7).
12/02/15    JGL         Teleconference with P. Abelson regarding plan issues.             0.20    250.00
12/02/15    PMA         Confer with V. Indelicato regarding plan issues (.3);             0.80    860.00
                        teleconference with H. Denman regarding plan issues (.3);
                        confer with J. Liu regarding plan issues (.2).
12/02/15    PMA         Review email correspondence from M. Bienenstock                   0.10    107.50
                        regarding plan issues.
12/02/15    VI          Review M. Bienenstock email correspondence regarding              0.10     82.50
                        plan issues.
12/03/15    MED         Review revised spreadsheet regarding tax status of pledgors.      0.20     200.00
12/03/15    PP          Review article regarding Castleton requirements (.3);             1.00   1,025.00
                        follow-up review of plan releases and CEC consideration
                        (.7).
12/03/15    MJB         Meet with C. Shore and H. Denham regarding plan issues            0.40    518.00
                        and SGN's.
12/03/15    JGL         Review correspondence from R. Klein regarding plan                0.40    500.00
                        proposal (.2); review email from G. Bousquette regarding
                        Opco/Propco (.2).
12/03/15    PMA         Review research and secondary sources regarding ICA’s and         0.40    430.00
                        plan issues (.3); review email correspondence from G.
                        Bousquette regarding plan issues (.1).
12/04/15    PP          Review Opco/Propco valuation materials.                           0.40    410.00
12/04/15    VI          Analyze FTI presentation regarding PropCo/OpCo structure          1.20    990.00
                        (1.0); analyze M. Davidson analysis regarding recovery
                        strategies (.2).
12/07/15    PP          Review release provisions for CEC in current plan (.4);           0.70    717.50
                        email M. Thomas regarding Airadigin, thoughts on
                        settlement (.3).
12/07/15    PMA         Confer with J. Liu regarding plan issues (.4); confer with M.     1.10   1,182.50
                        Zerjal regarding plan issues (.2); review presentation
                        regarding plan issues (.4); review disclosure statement
                        regarding CEC contribution (.1).
12/07/15    PMA         Confer with V. Indelicato regarding plan issues.                  0.40    430.00
12/07/15    VI          Confer with P. Abelson regarding plan issues.                     0.40    330.00
12/08/15    PP          Review updated value shortfall analysis with Examiner notes       0.60    615.00
                        included (.2); call with M. Thomas regarding plan issues
                        (.4).
12/10/15    MKT         Conference with P. Possinger regarding pending plan issues        1.00   1,200.00
                        (.5); review memo regarding same (.5).
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PLAN AND DISCLOSURE STATEMENT
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Date        Attorney    Description                                                    Hours   Amount

12/10/15    PP          Email to M. Thomas regarding impressions on case status         3.00   3,075.00
                        and plan structure (1.9); conference with M. Thomas
                        regarding same (.5); call with P. Abelson regarding plan
                        issues (.6).
12/10/15    JGL         Review email correspondence from V. Indelicato regarding        0.30    375.00
                        sale process (.1); review email correspondence regarding
                        potential change in REIT approvals (affecting the Debtors'
                        plan structure) (.2).
12/10/15    PMA         Confer with P. Possinger regarding plan issues.                 0.60    645.00
12/11/15    MZ          Discuss plan and disclosure statement with P. Abelson (.1);     1.10    808.50
                        Review list of issues with disclosure statement and Plan
                        (1.0).
12/11/15    PMA         Confer with M. Zerjal regarding disclosure statement.           0.10    107.50
12/13/15    PMA         Analyze notes regarding disclosure statement.                   0.20    215.00
12/16/15    JGL         Review emails from V. Indelicato and A. Wellin regarding        0.20    250.00
                        TIA amendment legislation.
12/16/15    PMA         Review Reorg Research report regarding third-party release      0.70    752.50
                        developments (.1); review and analyze disclosure statement
                        (.5); Review email correspondence from V. Indelicato
                        regarding REIT/TIA legislation development (.1).
12/17/15    PMA         Review email correspondence from M. Bienenstock                 0.10    107.50
                        regarding plan issues.
12/18/15    PP          Review emails with M. Bienenstock regarding settlement          2.10   2,152.50
                        developments (.2); review Committee waterfall analysis (.8);
                        call with professionals regarding plan issues (1.1).
12/18/15    JGL         Teleconference with P. Abelson regarding plan issues(.2);       0.40    500.00
                        Review email from P. Abelson regarding plan issues (.2).
12/18/15    PMA         Conference with J. Liu regarding plan issues (.2); Draft        0.40    430.00
                        email correspondence to M. Bienenstock regarding plan
                        issues (.2).
12/19/15    PMA         Review and analyze disclosure statement.                        1.30   1,397.50
12/21/15    PMA         Review email correspondence from V. Indelicato and M.           0.10     107.50
                        Bienenstock regarding plan issues.
12/21/15    VI          Multiple email correspondences with Jefferies and FTI           0.20    165.00
                        regarding plan issues.
12/22/15    SM          Confer with D. Desatnik and J. Liu regarding release memo       0.70    427.00
                        (.2); Review financial advisors analysis of CEC
                        contributions (.5).
12/22/15    JGL         Teleconferences with J. D'Amico regarding CEC Plan              0.20    250.00
                        contribution.
12/22/15    PMA         Review materials regarding insider settlements.                 0.50     537.50
12/23/15    JGL         Review email correspondence from S. Star regarding plan         1.00   1,250.00
                        waterfall (.1); Review updated waterfall materials (.7);
                        Review emails from M. Bienenstock, V. Indelicato
                        regarding plan cash distribution (.2).
12/23/15    PMA         Review email correspondence from V. Indelicato regarding        0.10    107.50
                        plan issues.
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PLAN AND DISCLOSURE STATEMENT
Client/Matter No. 71844.0017

Date        Attorney    Description                                                   Hours   Amount

12/23/15    VI          Review waterfall recovery analysis in preparation for          1.90   1,567.50
                        telephone conference with financial advisors regarding same
                        (.7); Review FTI summary of claims (.2); Analyze plan to
                        determine proposed cash treatment for unsecured
                        claimholders (.5); Telephone conference with Paul Weiss
                        regarding same (.2); Draft email correspondence to M.
                        Bienenstock regarding unsecured claimholder plan treatment
                        (.3).
12/25/15    PMA         Review and analyze disclosure statement.                       1.90   2,042.50
12/26/15    PMA         Review and analyze disclosure statement.                       2.20   2,365.00
12/27/15    PMA         Review and analyze disclosure statement.                       1.00   1,075.00
12/27/15    VI          Analyze revised FTI presentation regarding Committee           1.00     825.00
                        recovery scenarios.
12/28/15    JGL         Review updated waterfall scenarios (draft) for Committee.      0.50    625.00
12/28/15    MZ          Review docket summaries and claims objections (.5);            1.30    955.50
                        Review circuit decision on parent guarantees (.4); Review
                        emergency motion on hearing of parent guarantee litigation
                        and related order (.4).
12/28/15    PMA         Review decision regarding third-party releases (.6); Review    1.20   1,290.00
                        revised waterfall analysis (.2); Teleconference with V.
                        Indelicato and H. Denman regarding waterfall analysis (.1);
                        analyze plan (.3).
12/29/15    PP          Review updated waterfall analysis.                             1.00   1,025.00
12/29/15    SM          Confer with D. Desatnik regarding third-party release memo.    0.30     183.00
12/29/15    MJB         Revise memo for Committee regarding third-party                6.60   8,547.00
                        discharges requested by Debtors' chapter 11 plan.
12/29/15    PMA         Confer with V. Indelicato regarding third-party releases.      0.20    215.00
12/29/15    VI          Review updated Committee presentation regarding waterfall      1.00    825.00
                        analysis (.8); confer with P. Abelson regarding third-party
                        releases (.2).
12/29/15    DD          Prepare memorandum regarding third-party releases (4.2);       6.20   2,759.00
                        revise memorandum per comments received from V.
                        Indelicato (1.7); confer with S. Ma regarding third-party
                        release memo (.3).
12/30/15    SM          Research plan objection issues.                                0.80     488.00
12/30/15    PMA         Review memo regarding third-party releases, and supporting     1.70   1,827.50
                        materials.
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PLAN AND DISCLOSURE STATEMENT
Client/Matter No. 71844.0017



Attorney                                          Hours       Rate         Amount

JUDY G. LIU                                         3.20   1,250.00        4,000.00
MARK K. THOMAS                                      1.00   1,200.00        1,200.00
MARTIN J. BIENENSTOCK                               7.00   1,295.00        9,065.00
PAUL POSSINGER                                     12.20   1,025.00       12,505.00
PHILIP M. ABELSON                                  15.30   1,075.00       16,447.50
       Total For Partner                           38.70                  43,217.50

MARK E. DAVIDSON                                    0.20   1,000.00         200.00
      Total For Senior Counsel                      0.20                    200.00

MAJA ZERJAL                                         2.40    735.00         1,764.00
STEVE MA                                            1.80    610.00         1,098.00
VINCENT INDELICATO                                  6.20    825.00         5,115.00
      Total For Associate                          10.40                   7,977.00

DANIEL DESATNIK                                     6.20    445.00         2,759.00
      Total For Law Clerk                           6.20                   2,759.00


Professional Fees                                  55.50              $   54,153.50

Total this Matter                                                     $   54,153.50
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REAL ESTATE
Client/Matter No. 71844.0018


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                     Hours   Amount

12/01/15    PAC         Telephone call with S. Eggers regarding restructuring/IP         2.10   2,625.00
                        arrangements (.2); review 8-K/term sheets (1.9).
12/01/15    SAE         Emails with FTI, Proskauer team regarding terms of REIT          0.40    370.00
                        lease (.2); telephone conference with P. Cacace regarding
                        same (.2).
12/01/15    PMA         Review revised real estate chart (.1); Review email              0.20    215.00
                        correspondence from S. Eggers regarding real estate (.1).
12/02/15    PAC         Review lease and MLSA term sheets (2.4); telephone call          2.90   3,625.00
                        (.2) and email with S. Eggers regarding same (.3).
12/02/15    SAE         Telephone conference with P. Cacace regarding terms of           0.40    370.00
                        REIT leases (.2); review P. Cacace analysis of same (.2).
12/02/15    JGL         Review email correspondence from P. Cacace regarding             0.30    375.00
                        plan REIT issues.
12/02/15    PMA         Review email correspondence from P. Cacace regarding real        0.10    107.50
                        estate.
12/02/15    VI          Review P. Cacace email correspondence regarding REIT             0.20    165.00
                        issues.
12/04/15    RL          Emails with V. Indelicato regarding chart of unencumbered        0.10     69.50
                        property.
12/08/15    RL          Call and email V. Indelicato regarding chart of                  0.60    417.00
                        unencumbered property (.2); Revise chart (.2); Email to
                        secured creditors counsel regarding chart of unencumbered
                        property (.2).
12/08/15    PMA         Confer with V. Indelicato regarding real estate issues.          0.10    107.50
12/08/15    VI          Analyze latest chart of unencumbered tax parcels (.3);           0.60    495.00
                        telphone call with R. Lesnik regarding same (.2); confer with
                        P. Abelson regarding same (.1).
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REAL ESTATE
Client/Matter No. 71844.0018



Attorney                                          Hours       Rate        Amount

JUDY G. LIU                                         0.30   1,250.00         375.00
PERRY A. CACACE                                     5.00   1,250.00       6,250.00
PHILIP M. ABELSON                                   0.40   1,075.00         430.00
       Total For Partner                            5.70                  7,055.00

SCOTT A. EGGERS                                     0.80    925.00         740.00
      Total For Senior Counsel                      0.80                   740.00

REBECCA LESNIK                                      0.70    695.00          486.50
VINCENT INDELICATO                                  0.80    825.00          660.00
      Total For Associate                           1.50                  1,146.50


Professional Fees                                   8.00              $   8,941.50

Total this Matter                                                     $   8,941.50
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TAX
Client/Matter No. 71844.0021


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                      Hours   Amount

12/01/15    BK          Update Pledgor subsidiary list for tax return years 2012 and      1.40    623.00
                        2013.
12/01/15    MSH         Initial review of revised FTI tax summary slides.                 0.60     495.00
12/02/15    SAE         Telephone conference with R. Corn regarding tax analysis.         0.10      92.50
12/02/15    RMC         Review of slides on tax situation of the Debtors (1.8); review    2.90   2,682.50
                        of tax issues with respect to IRS claims (.7); telephone
                        conference with S. Eggers regarding tax analysis (.1); confer
                        with M. Hochenberg regarding FTI tax presentation (.3).
12/02/15    MSH         Further review of FTI tax structure presentation (1.1);           3.10   2,557.50
                        discuss same with R. Corn (.3); and make comments based
                        on discussion (1.7).
12/03/15    BK          Update a new version of pledgor subsidiary chart with 2012        0.20     89.00
                        and 2013 returns and check that the information in the new
                        version is consistent with the older version.
12/03/15    RMC         Review of tax issues with respect to IRS claims.                  0.10     92.50
12/03/15    VI          Analyze M. Hochenberg edits to FTI REIT presentation.             0.50    412.50
12/03/15    MSH         Email comments to FTI regarding FTI tax presentation              0.20    165.00
                        slides.
12/04/15    RMC         Review of tax issues with respect to IRS claims.                  0.90    832.50
12/04/15    MSH         Call with FTI and Kirkland regarding private letter ruling        0.50    412.50
                        request.
12/07/15    RMC         Review of tax disclosure and tax issues with respect to           1.30   1,202.50
                        proposed restructuring.
12/08/15    RMC         Review of REIT legislative proposal and impact on potential       2.10   1,942.50
                        restructurings.
12/08/15    JGL         Review email correspondence from R. Corn regarding                0.10    125.00
                        potential REIT taxation charge.
12/08/15    PMA         Review email correspondence from R. Corn and M. Zhu               0.10    107.50
                        regarding tax issues.
12/09/15    RMC         Review of REIT legislative proposal and impact on potential       1.60   1,480.00
                        restructurings.
12/09/15    JGL         Review email from R. Corn regarding regarding REIT bill in        0.20    250.00
                        Congress.
12/09/15    PMA         Review email correspondence from S. Star, V. Indelicato,          0.10    107.50
                        and R. Corn regarding tax issues.
12/09/15    VI          Analyze REIT legislation tax issues.                              0.30     247.50
12/10/15    RMC         Review of REIT legislative proposal and impact on potential       1.90   1,757.50
                        restructurings.
12/11/15    RMC         Review of tax structure.                                          0.90     832.50
12/16/15    RMC         Review of tax developments for REIT provisions.                   1.60   1,480.00
12/16/15    JGL         Review three emails from R. Corn regarding tax legislation        0.20     250.00
                        on REIT structures.
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TAX
Client/Matter No. 71844.0021

Date         Attorney   Description                                                     Hours         Amount

12/16/15     PMA        Review email correspondence from R. Corn regarding tax            0.10         107.50
                        issues.
12/16/15     VI         Multiple email correspondences with R. Corn regarding             0.20         165.00
                        REIT legislation status.
12/17/15     VI         Analyze Ceasars REIT filing documents (.6); Multiple email        0.80         660.00
                        correspondences with R. Corn regarding same (.2).
12/18/15     RMC        Review of tax developments for REIT provisions (1.1);             2.30        2,127.50
                        review of tax issues for structure (1.2).
12/21/15     PMA        Review email correspond from V. Indelicato regarding tax          0.10         107.50
                        issues.


Attorney                                                               Hours            Rate          Amount

JUDY G. LIU                                                             0.50         1,250.00           625.00
PHILIP M. ABELSON                                                       0.40         1,075.00           430.00
RICHARD M. CORN                                                        15.60           925.00        14,430.00
       Total For Partner                                               16.50                         15,485.00

SCOTT A. EGGERS                                                          0.10         925.00            92.50
      Total For Senior Counsel                                           0.10                           92.50

BOWON KOH                                                                1.60         445.00            712.00
MALCOLM S. HOCHENBERG                                                    4.40         825.00          3,630.00
VINCENT INDELICATO                                                       1.80         825.00          1,485.00
      Total For Associate                                                7.80                         5,827.00


Professional Fees                                                      24.40                     $   21,404.50

Total this Matter                                                                               $    21,404.50
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CASE STRATEGY
Client/Matter No. 71844.0023


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                     Hours   Amount

12/06/15    SM          Revise governance issues memo according to comments              1.60    976.00
                        from M. Bienenstock.
12/10/15    PMA         Confer with V. Indelicato regarding case strategy.               0.40    430.00
12/10/15    VI          Confer with P. Abelson regarding case strategy.                  0.40    330.00
12/11/15    SM          Follow up on inquiry from P. Abelson regarding Planet            1.40    854.00
                        Hollywood capital structure.
12/14/15    PP          Follow-up discussion with M. Thomas regarding strategy           0.70    717.50
                        (.3); call with P. Abelson regarding same (.4).
12/14/15    PMA         Confer with V. Indelicato regarding case strategy.               0.50    537.50
12/14/15    VI          Confer with P. Abelson regarding case strategy.                  0.50    412.50
12/17/15    VI          Review M. Bienenstock email correspondence regarding             0.40    330.00
                        open investigation issues.
12/18/15    SM          Attend post-Commitee call debriefing.                            0.10     61.00
12/18/15    MZ          Participate on post-Committee call internal Proskauer            0.10     73.50
                        meeting.
12/18/15    PMA         Attend post-Committee call with Proskauer team.                  0.10    107.50
12/22/15    SM          Attend post-Committee call debriefing (.4); Confer with D.       1.50    915.00
                        Desatnik and J. Liu regarding release memo (.4); Review
                        financial advisors analysis of CEC contributions (.3); Attend
                        post-call debriefing (.4).
12/22/15    JGL         Discussion regarding committee memo project with core            0.40    500.00
                        bankruptcy team.
12/22/15    MZ          Attend post-Committee call internal Proskauer meeting.           0.40    294.00
12/22/15    PMA         Follow-up to weekly Committee call with Proskauer team           0.20    215.00
                        (partial attendance).
12/22/15    VI          Meeting with M. Bienenstock, P. Abelson, J. Liu, M. Zerjal,      0.40    330.00
                        and S. Ma regarding Committee call follow-up.
12/24/15    VI          Telephone conference with P. Abelson regarding case              0.70    577.50
                        workstreams (.2); Draft email correspondence to P. Abelson
                        regarding action plan (.5).
12/28/15    PMA         Review email correspondence from V. Indelicato regarding         1.60   1,720.00
                        action plan (.1); Confer with V. Indelicato regarding case
                        strategy (1.5).
12/28/15    VI          Confer with P. Abelson regarding plan developments.              1.50   1,237.50
12/29/15    SM          Attend post-Committee call debriefing.                           0.20     122.00
12/29/15    MJB         Meeting with Proskauer team regarding next steps.                0.20     259.00
12/29/15    CT          Internal follow-up to Committee call.                            0.20     147.00
12/29/15    JGL         Strategic follow-up discussion with team regarding               0.20     250.00
                        Committee deliverables.
12/29/15    MZ          Follow-up discussion with Proskauer team.                        0.20    147.00
12/29/15    PMA         Follow-up to the bi-weekly Committee call with Proskauer         0.20    215.00
                        team.
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CASE STRATEGY
Client/Matter No. 71844.0023

Date         Attorney   Description                                                       Hours         Amount

12/29/15     VI         Meeting with M. Bienenstock, J. Liu, P. Abelson, M. Zerjal,         0.20         165.00
                        C. Theodoridis, and S. Ma regarding Committee call follow-
                        up.
12/30/15     PMA        Confer with V. Indelicato regarding case strategy and action        0.70         752.50
                        plan.
12/30/15     VI         Confer with P. Abelson regarding workstreams.                       0.70         577.50


Attorney                                                                Hours             Rate          Amount

JUDY G. LIU                                                               0.60         1,250.00           750.00
MARTIN J. BIENENSTOCK                                                     0.20         1,295.00           259.00
PAUL POSSINGER                                                            0.70         1,025.00           717.50
PHILIP M. ABELSON                                                         3.70         1,075.00         3,977.50
       Total For Partner                                                  5.20                          5,704.00

CHRIS THEODORIDIS                                                         0.20          735.00            147.00
MAJA ZERJAL                                                               0.70          735.00            514.50
STEVE MA                                                                  4.80          610.00          2,928.00
VINCENT INDELICATO                                                        4.80          825.00          3,960.00
       Total For Associate                                               10.50                          7,549.50


Professional Fees                                                        15.70                     $   13,253.50

Total this Matter                                                                                 $    13,253.50
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PLEADING AND DOCKET REVIEW
Client/Matter No. 71844.0024


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                  Hours   Amount

12/01/15    AK          Review docket (1.0) and summarize for Committee (1.2).        2.20    979.00
12/01/15    VI          Review multiple pleadings in advance of 12/1 Committee        0.90    742.50
                        call update.
12/02/15    AK          Review docket (.5) and summarize for Committee (.3).          0.80    356.00
12/02/15    MZ          Review latest docket entries.                                 0.60    441.00
12/03/15    SAE         Review Debtors' motion regarding CEC privilege claims.        0.30    277.50
12/03/15    AK          Review docket (.6) and prepare a weekly summary for the       1.50    667.50
                        Committee (.9).
12/04/15    MED         Review docket summaries.                                      0.20     200.00
12/04/15    SM          Revise docket summaries (1.7); Meet with D. Desatnik          2.00   1,220.00
                        regarding docket summary assignment (.3).
12/04/15    DD          Discuss weekly document summaries with S. Ma.                 0.30    133.50
12/07/15    VI          Review Suffolk Downs pleadings.                               0.70    577.50
12/08/15    ER          Review recently filed documents for pending deadlines and     0.50    162.50
                        hearing.
12/08/15    MZ          Review draft pleading regarding discovery (.2) and related    0.50    367.50
                        correspondence (.3).
12/08/15    VI          Analyze Johnston settlement documents.                        0.70    577.50
12/10/15    MZ          Review latest pleadings.                                      1.20    882.00
12/11/15    ER          Review of docket and pleadings for hearing dates and          0.40    130.00
                        deadlines.
12/11/15    SM          Revise docket summaries.                                      1.10     671.00
12/11/15    MZ          Review docket summaries.                                      0.30     220.50
12/11/15    DD          Prepare weekly docket summaries.                              2.90   1,290.50
12/14/15    MG          Review pleadings and other case documents regarding case      0.60     225.00
                        status.
12/16/15    MG          Review pleadings and documents on FileSite and update         1.90    712.50
                        pleadings spreadsheet informaion.
12/16/15    VI          Review final Suffolk Downs order and related settlement       0.30    247.50
                        documents.
12/17/15    MZ          Review latest pleadings filed.                                0.20     147.00
12/17/15    DD          Prepare weekly docket summaries.                              3.10   1,379.50
12/18/15    ER          Review of dockets and pleadings for hearing dates and         0.80     260.00
                        deadlines.
12/18/15    SM          Revise docket summaries.                                      0.70    427.00
12/18/15    DD          Prepare weekly docket summaries for Committee.                1.10    489.50
12/21/15    SM          Review docket filings.                                        0.10     61.00
12/21/15    DD          Prepare weekly docket summaries for Committee.                0.20     89.00
12/22/15    ER          Review of docket and pleadings for hearing dates and          1.20    390.00
                        deadlines.
12/22/15    DD          Prepare weekly docket summaries for Committee.                0.80    356.00
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PLEADING AND DOCKET REVIEW
Client/Matter No. 71844.0024

Date         Attorney   Description                                                    Hours         Amount

12/23/15     ER         Review of docket and pleadings for hearing dates and             0.70         227.50
                        deadlines.
12/23/15     SM         Review summary of Debtors' numerous claims objections.           0.70          427.00
12/23/15     DD         Prepare weekly docket summaries for Committee (3.2);             3.40        1,513.00
                        determine whether all claim objections have been added to
                        Caesar's calendar (.2).
12/24/15     MED        Review docket summary, claims objection summary and              0.30         300.00
                        financial report.
12/24/15     SM         Revise docket summaries.                                         2.00        1,220.00
12/24/15     DD         Prepare weekly docket summaries for Committee.                   2.00          890.00
12/28/15     SM         Summarize Debtors' motion for emergency hearing for              0.60          366.00
                        Committee.
12/29/15     DD         Prepare weekly docket summaries for Committee.                   0.10          44.50
12/30/15     SM         Review docket filings.                                           0.10          61.00
12/30/15     DD         Prepare weekly docket summaries for Committee.                   0.10          44.50
12/31/15     MG         Review ECF notices and pleadings regarding case status.          0.60         225.00


Attorney                                                                Hours          Rate          Amount

MARK E. DAVIDSON                                                         0.50       1,000.00          500.00
SCOTT A. EGGERS                                                          0.30         925.00          277.50
      Total For Senior Counsel                                           0.80                         777.50

MAJA ZERJAL                                                              2.80        735.00          2,058.00
STEVE MA                                                                 7.30        610.00          4,453.00
VINCENT INDELICATO                                                       2.60        825.00          2,145.00
      Total For Associate                                               12.70                        8,656.00

EVELYN RODRIGUEZ                                                         3.60        325.00          1,170.00
MAGALI GIDDENS                                                           3.10        375.00          1,162.50
     Total For Legal Assistant                                           6.70                        2,332.50

ANNA (ANYA) KREIMERZAK                                                   4.50        445.00          2,002.50
DANIEL DESATNIK                                                         14.00        445.00          6,230.00
      Total For Law Clerk                                               18.50                        8,232.50


Professional Fees                                                       38.70                   $   19,998.50

Total this Matter                                                                              $    19,998.50
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COMMUNICATION WITH FINANCIAL ADVISOR AND INVESTMENT BANKER
Client/Matter No. 71844.0025


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                       Hours   Amount

12/01/15    SAE         Attend weekly litigation update call with FTI, Jefferies and       0.50    462.50
                        G. Bousquette.
12/01/15    MED         Review FTI email regarding weekly litigation update agenda         1.40   1,400.00
                        (.1); prepare for (.4) and attend weekly litigation update call
                        (.5); review revised shortfall slides (.3); review emails
                        regarding shortfall slides (.1).
12/01/15    MZ          Participate in litigation update call with Proskauer team,         0.50    367.50
                        Jefferies, FTI and G. Bousquette.
12/01/15    PMA         Attend weekly litigation update call with Proskauer, FTI,          0.50    537.50
                        Jefferies, and G. Bousquette.
12/01/15    VI          Telephone conference with FTI, Jefferies, and G. Bousquette        0.50    412.50
                        regarding weekly litigation update.
12/02/15    SAE         Telephone conference with J. D'Amico at Jefferies regarding        0.20    185.00
                        Examiner meeting.
12/02/15    MED         Review FTI emails regarding shortfall slides (.2); review          0.40    400.00
                        revised shortfall slides (.2).
12/02/15    MZ          Review financial advisors, materials for Examiner meeting.         0.20     147.00
12/03/15    MED         Review Jefferie's emails regarding marketing process (.2);         1.20   1,200.00
                        review OpCo/PropCo slides (1.0).
12/03/15    SM          Call with J. Dai (Jefferies) regarding outstanding points in       0.10     61.00
                        presentation.
12/03/15    VI          Review R. Klein email correspondence regarding Houlihan            0.30    247.50
                        update (.1); Telephone conference with G. Bousquette
                        regarding case update (.2).
12/04/15    SAE         Telephone conferences with S. Silverman regarding Las              0.40    370.00
                        Vegas Appraisals (.1); Review notes of Examiner meeting in
                        preparation for call with FTI regarding next steps (.3).
12/04/15    MED         Attend pre-Committee meeting call with financial advisors          3.10   3,100.00
                        (.8); review S. Eggers and J. Truitt emails regarding
                        appraisal of Las Vegas lot (.3); Review Jefferies, FTI, G.
                        Bousquette emails regarding follow-up work from
                        Examiner's meeting (.7); email to financial advisors
                        regarding LBO insolvency issues and background regarding
                        CIE and CMBS transactions (1.0); review and respond to G.
                        Bousquette email regarding insolvency (.3).
12/04/15    PP          Call with Committee advisors to discuss Examiner meeting           0.80    820.00
                        and next steps with CEC.
12/04/15    SM          Attend call with FTI, Jefferies, and GC Andersen regarding         0.90    549.00
                        preparation for Committee call and Committee meeting.
12/04/15    AGM         Teleconference with W. Ng (FTI) regarding analysis of              0.20    147.00
                        potential preference payments.
12/04/15    JGL         Conference call with Committee financial advisors to               0.70    875.00
                        prepare for Committee call (partial attendance).
12/04/15    MZ          Participate on professionals' call before Committee call.          0.80    588.00
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COMMUNICATION WITH FINANCIAL ADVISOR AND INVESTMENT BANKER
Client/Matter No. 71844.0025

Date        Attorney    Description                                                     Hours   Amount

12/04/15    PMA         Call with Committee advisors (FTI, Proskauer, Jefferies, and     0.80    860.00
                        G. Bousquette) regarding Committee call.
12/04/15    VI          Prepare for (.2) andTelephone conference with FTI,               1.00    825.00
                        Jefferies, and G. Bousquette regarding Committee call
                        preparation (.8).
12/07/15    VI          Multiple email correspondences with G. Bousquette                0.20    165.00
                        regarding Suffolk Downs.
12/08/15    SAE         Meeting with FTI, Jefferies, Proskauer regarding Examiner        1.50   1,387.50
                        issues (partial attendance).
12/08/15    MED         Attend meeting with financial advisors and Proskauer team        3.10   3,100.00
                        to discuss response to Examiner (2.6); retrieve and circulate
                        valuation materials regarding CMBS trademarks to same
                        group (.3); retrieve and circulate interest coverage and July
                        2008 forecast materials to same group (.2).
12/08/15    PP          Call with Committee professionals regarding follow-up tasks      2.20   2,255.00
                        with Examiner (partial attendance).
12/08/15    ASW         Participate in meeting with financial advisors regarding         2.60   1,911.00
                        Examiner presentation.
12/08/15    SM          Take notes at in person meeting with FTI, Jefferies, and GC      3.10   1,891.00
                        Andersen regarding Examiner findings (2.6); prepare
                        materials for same meeting with Committee professionals
                        (.5).
12/08/15    JGL         Meeting with financial advisors regarding deliverable to         2.60   3,250.00
                        Examiner due 12/18 discovery with P. Abelson regarding
                        2:00 pm meeting and fee Examiner response.
12/08/15    MZ          Attend professionals' hearing regarding Examiner report          2.30   1,690.50
                        (partial attendance) (2.0); participate in part of meeting
                        regarding same with J. Liu and P. Abelson (.3).
12/08/15    PMA         Participate in meeting with FTI, Jefferies, Proskauer, and G.    1.40   1,505.00
                        Bousquette regarding follow-up to Examiner meeting
                        (partial attendance).
12/08/15    VI          Meeting with FTI, Jefferies, and G. Bousquette regarding         3.30   2,722.50
                        Examiner workstreams (2.6); Multiple email
                        correspondences with G. Bousquette and J. Truitt regarding
                        Suffolk Downs (.2); Telephone conference with G.
                        Bousquette and J. Truitt regarding same (.5).
12/09/15    SAE         Review valuation presentation and email R. Klein at              0.30    277.50
                        Jefferies regarding same.
12/10/15    MED         Emails with FTI regarding WSOP II (.2); email with J.            1.10   1,100.00
                        Colangelo regarding same (.1); review J. Colangelo email
                        and attached CIE memo (.6); review supporting documents
                        (.2).
12/10/15    VI          Multiple email correspondences with J. Truitt and G.             0.30    247.50
                        Bousquette regarding Suffolk Downs settlement
                        modifications.
12/11/15    SAE         Telephone conference with G. Bousquette regarding Total          0.30    277.50
                        Rewards.
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COMMUNICATION WITH FINANCIAL ADVISOR AND INVESTMENT BANKER
Client/Matter No. 71844.0025

Date        Attorney    Description                                                      Hours   Amount

12/11/15    MED         Review S. Eggers email to financial advisors regarding            0.20    200.00
                        documents found regarding Total Rewards.
12/11/15    SM          Follow up on request from J. French (FTI).                        0.10     61.00
12/11/15    JGL         Teleconference with G. Bousquette regarding Total                 0.10    125.00
                        Rewards.
12/14/15    PP          Call with FTI and Jefferies regarding response to Examiner.       1.00   1,025.00
12/14/15    JGL         Attend weekly conference call with Committee professionals        0.80   1,000.00
                        (partial).
12/14/15    MZ          Participate on weekly professionals' call with FTI, Jefferies,    1.00    735.00
                        GC Andersen and Proskauer team.
12/14/15    PMA         Attend weekly Committee advisor's (FTI, Jefferies,                1.00   1,075.00
                        Proskauer, G. Bousquette) meeting.
12/14/15    PMA         Confer with P. Possinger regarding weekly Committee               0.40    430.00
                        advisors call.
12/14/15    VI          Telephone conference with FTI, Jefferies, and G. Bousquette       1.40   1,155.00
                        regarding weekly case update (1.4); Multiple email
                        correspondences with FTI regarding HDHP settlement (.2);
                        Multiple email correspondences with G. Bousquette
                        regarding Suffolk Downs (.2).
12/15/15    SAE         Prepare for call with Financial Advisors regarding Examiner       0.80    740.00
                        projects (.2); call Jefferies, FTI regarding weekly litigation
                        call (.6).
12/15/15    MED         Review FTI email regarding weekly litigation update               1.10   1,100.00
                        meeting (.1); review and respond to S. Eggers email
                        regarding G. Bousquette observation (.2); review FTI email
                        and attached draft LBO solvency presentation (.8).
12/15/15    JGL         Attend weekly litigation conference call with financial           0.60    750.00
                        advisors.
12/15/15    MZ          Participate on litigation update call with Jefferies, FTI, G.     0.60    441.00
                        Bousquette and Proskauer team.
12/15/15    PMA         Attend weekly litigation call with Committee advisors             0.40    430.00
                        (partial attendance).
12/15/15    VI          Telephone conference with FTI, Jefferies, and G. Bousquette       0.30    247.50
                        regarding litigation update (partial attendance).
12/15/15    SS          Attend weekly litigation call with Proskauer, FTI, and            0.60    297.00
                        Jefferies.
12/16/15    SAE         Emails with FTI, Jefferies, and Proskauer team regarding          0.90    832.50
                        Examiner meeting (.1); conference call G. Bousquette, J.
                        Truitt regarding Total Rewards issues (.8).
12/16/15    MED         Review FTI response regarding CIE agreements and updated          0.30    300.00
                        spreadsheet.
12/16/15    MZ          Review FTI and Jefferies materials for Examiner meeting.          0.80     588.00
12/17/15    SAE         Conference call with FTI, Jefferies, Proskauer regarding          2.00   1,850.00
                        Examiner presentation.
12/17/15    MED         Review G. Bousquette emails regarding CIE royalties (.3);         0.80    800.00
                        conference call with financial advisors to discuss Examiner's
                        meeting (partial attendance) (.5).
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COMMUNICATION WITH FINANCIAL ADVISOR AND INVESTMENT BANKER
Client/Matter No. 71844.0025

Date        Attorney    Description                                                    Hours   Amount

12/17/15    PP          Prepare for (.2) and call with Jefferies and FTI regarding      2.20   2,255.00
                        decks for presentation to Examiner (2.0).
12/17/15    SM          Call with FTI, Jefferies, and GC Andersen regarding follow      2.00   1,220.00
                        up with Examiner on preliminary report.
12/17/15    JGL         Conference call regarding supplemental materials to be          2.00   2,500.00
                        provided to Examiner with FTI/Jefferies/GCA/Proskauer.
12/17/15    MZ          Participate on call with financial advisors regarding           4.20   3,087.00
                        Examiner meeting materials (2.0); Review financial advisor
                        materials for Examiner meeting and related correspondence
                        (2.2).
12/17/15    PMA         Attend call with Committee advisors (FTI, Proskauer, G.         2.00   2,150.00
                        Bousquette, and Jefferies) regarding Examiner follow-up.
12/17/15    VI          Telephone conference with FTI, Jefferies, and G. Bousquette     2.00   1,650.00
                        regarding Examiner presentation.
12/17/15    SS          Conference call with S. Eggers, Jefferies, and FTI regarding    2.00    990.00
                        preparation of materials for meeting with Examiner.
12/18/15    SM          Attend call with FTI, Jefferies, and GC Andersen regarding      0.90    549.00
                        new Debtors' proposal and Committee call agenda items.
12/18/15    MJB         Call with financial advisors regarding plan issues (partial     0.50    647.50
                        attendance).
12/18/15    JGL         Finalize materials for Examiner meeting.                        0.80   1,000.00
12/18/15    MZ          Participate on pre-Committee call with Jefferies, FTI, G.       0.90     661.50
                        Bousquette and Proskauer team.
12/18/15    PMA         Attend Committee advisors call (FTI, Proskauer, Jefferies,      0.90    967.50
                        and G. Bousquette) regarding plan issues.
12/18/15    VI          Multiple email correspondences with FTI and Jefferies           1.20    990.00
                        regarding revisions to draft Examiner presentation (.3);
                        Telephone conference with FTI, Jefferies, and G. Bousquette
                        regarding plan issues (.9).
12/21/15    SAE         Emails with D. Ireland at FTI regarding Examiner follow up.     0.10     92.50
12/21/15    SM          Reply to email from G. Bousquette regarding fee                 0.10     61.00
                        applications.
12/21/15    JGL         Review email from M. Bienenstock to FTI/Jefferies               0.90   1,125.00
                        regarding discussion for Tuesday call (.1); Review email
                        from S. Star and R. Klein regarding discussion for Tuesday
                        call (.1); Review G. Bousquette email regarding enterprise
                        value (.1); Attend weekly professionals conference call with
                        FTI/Jefferies/GCA (.6).
12/21/15    MZ          Attend professionals' meeting with Jefferies, FTI, G.           0.50    367.50
                        Bousquette and Proskauer team.
12/21/15    PMA         Call with Committee advisors regarding case update.             0.60    645.00
12/21/15    VI          Telephone conference with FTI, Jefferies, and G. Bousquette     0.60    495.00
                        regarding weekly case update.
12/22/15    SM          Follow up on inquiry from FTI regarding monthly fee             0.10     61.00
                        statement.
12/22/15    PMA         Call with J. D’Amico regarding avoidance actions.               0.10    107.50
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COMMUNICATION WITH FINANCIAL ADVISOR AND INVESTMENT BANKER
Client/Matter No. 71844.0025

Date        Attorney    Description                                                   Hours   Amount

12/23/15    MJB         Review new waterfall model distributed by FTI (.4);            1.10   1,424.50
                        conference call with FTI, Jefferies, and G. Bousquette
                        regarding plan issues (.7).
12/23/15    JGL         Conference call with FTI/Jefferies/GCA regarding plan          0.70    875.00
                        issues.
12/23/15    PMA         Prepare for (.1) and attend call with Committee advisors       0.80    860.00
                        (FTI, Proskauer, Jefferies, and G. Bousquette) regarding
                        updated waterfall (.7).
12/23/15    VI          Prepare for (.3); telephone conference with FTI, Jefferies,    1.00    825.00
                        and G. Bousquette regarding waterfall analysis (.7).
12/28/15    SM          Confer with FTI, Jefferies, and GCA regarding proposed         0.20    122.00
                        orders for second interim fee applications.
12/28/15    MJB         Call with financial advisors regarding updated waterfall       1.10   1,424.50
                        analysis and recommendations at Committee meeting on
                        12/29 (.4); review of waterfall analysis (.7).
12/28/15    JGL         Conference call with FTI/Jefferies/GCA regarding               0.40    500.00
                        Committee presentation on Tuesday call.
12/28/15    MZ          Participate on weekly update call with Jefferies, FTI, G.      0.40    294.00
                        Bousquette and Proskauer team.
12/28/15    PMA         Teleconference with Committee advisors (Proskauer, FTI,        0.40    430.00
                        Jefferies, and G. Bousquette) regarding waterfall analysis.
12/28/15    VI          Telephone conference with FTI, Jefferies, and G. Bousquette    0.40    330.00
                        regarding updated waterfall analysis.
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COMMUNICATION WITH FINANCIAL ADVISOR AND INVESTMENT BANKER
Client/Matter No. 71844.0025



Attorney                                          Hours       Rate         Amount

JUDY G. LIU                                         9.60   1,250.00       12,000.00
MARTIN J. BIENENSTOCK                               2.70   1,295.00        3,496.50
PAUL POSSINGER                                      6.20   1,025.00        6,355.00
PHILIP M. ABELSON                                   9.30   1,075.00        9,997.50
       Total For Partner                           27.80                  31,849.00

MARK E. DAVIDSON                                   12.70   1,000.00       12,700.00
SCOTT A. EGGERS                                     7.00     925.00        6,475.00
      Total For Senior Counsel                     19.70                  19,175.00

ANDREA G. MILLER                                    0.20    735.00           147.00
ANDREW S. WELLIN                                    2.60    735.00         1,911.00
MAJA ZERJAL                                        12.20    735.00         8,967.00
SARAH SULLIVAN                                      2.60    495.00         1,287.00
STEVE MA                                            7.50    610.00         4,575.00
VINCENT INDELICATO                                 12.50    825.00        10,312.50
      Total For Associate                          37.60                  27,199.50


Professional Fees                                  85.10              $   78,223.50

Total this Matter                                                     $   78,223.50
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COMMUNICATION WITH DEBTOR
Client/Matter No. 71844.0026


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                     Hours   Amount

12/02/15    MJB         Conference call with J. Saferstein and Kirkland attorneys (R.    1.30   1,683.50
                        Basta, D. Seligman, N. Greenblatt) regarding issues to be
                        discussed at 12/7 meeting (.7); email to Committee
                        regarding conversation with J. Saferstein and Kirkland and
                        next steps (.6).
12/04/15    MJB         Teleconference with D. Seligman regarding plan issues (.3);      0.60    777.00
                        emails with P. Basta, D. Seligman, J. Saferstein regarding
                        plan issues and Examiner (.3).
12/04/15    VI          Telephone conference with J. Graham regarding case update        1.20    990.00
                        (.2); telephone conference with D. Eaton regarding sale
                        process (.3); multiple email correspondences with S. Lovett
                        regarding meeting attendees (.2); telephone conference with
                        S. Lovett regarding meeting (.5).
12/07/15    MKT         Review materials to prepare for meeting with Debtors (1.1);      3.00   3,600.00
                        attend meeting with Debtors and CEC (1.9).
12/07/15    MJB         Prepare for (1.3) and meet with Committee, and                   3.20   4,144.00
                        Debtors/CEC (1.9).
12/07/15    JGL         Review Committee materials from meeting with Debtors.            1.30   1,625.00
12/07/15    MZ          Participate in meeting between Committee and Debtors.            1.70   1,249.50
12/07/15    PMA         Attend meeting at Kirkland regarding plan issues.                1.90   2,042.50
12/07/15    VI          Meeting with Debtors and their representatives regarding         2.30   1,897.50
                        plan issues (1.9); Multiple email correspondences with
                        Kirkland regarding Suffolk Downs Motion diligence (.4).
12/08/15    VI          Multiple email correspondences with Kirkland regarding           0.40    330.00
                        Johnston settlement (.3); Email correspondence with
                        Kirkland regarding second interim fee applications (.1).
12/09/15    SAE         Telephone conferences with D. Zott at Kirkland regarding         0.20    185.00
                        response to motion to compel.
12/09/15    VI          Draft email correspondence to D. Eaton regarding sale            0.20    165.00
                        process protocol.
12/10/15    MJB         Meet with M. Beilinson regarding plan issues and litigation      0.90   1,165.50
                        of CEOC against CEC.
12/10/15    VI          Draft email correspondence to B. Rhode regarding proposed        0.30    247.50
                        Suffolk Down settlement modifications (.2); Email
                        correspondence with J. Graham regarding MSG
                        administrative claim motion (.1).
12/15/15    MJB         Teleconference with D Seligman regarding plan issues.            0.30    388.50
12/15/15    VI          Multiple email correspondences with Kirkland regarding           0.20    165.00
                        Suffolk Downs settlement.
12/28/15    MJB         Call with D. Seligman regarding plan issues.                     0.30    388.50
12/29/15    SM          Review email from Kirkland regarding amended omnibus             0.10     61.00
                        notice.
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COMMUNICATION WITH DEBTOR
Client/Matter No. 71844.0026

Date         Attorney   Description                                                       Hours         Amount

12/29/15     VI         Multiple email correspondences with J. Graham regarding             0.30         247.50
                        contract rejection motion (.1); Telephone conference with J.
                        Graham regarding same (.2).


Attorney                                                                 Hours            Rate          Amount

JUDY G. LIU                                                                1.30        1,250.00         1,625.00
MARK K. THOMAS                                                             3.00        1,200.00         3,600.00
MARTIN J. BIENENSTOCK                                                      6.60        1,295.00         8,547.00
PHILIP M. ABELSON                                                          1.90        1,075.00         2,042.50
       Total For Partner                                                  12.80                        15,814.50

SCOTT A. EGGERS                                                            0.20         925.00           185.00
      Total For Senior Counsel                                             0.20                          185.00

MAJA ZERJAL                                                                1.70         735.00          1,249.50
STEVE MA                                                                   0.10         610.00             61.00
VINCENT INDELICATO                                                         4.90         825.00          4,042.50
      Total For Associate                                                  6.70                         5,353.00


Professional Fees                                                         19.70                    $   21,352.50

Total this Matter                                                                                 $    21,352.50
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LEGAL RESEARCH AND ANALYSIS
Client/Matter No. 71844.0028


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                    Hours   Amount

12/01/15    MJB         Research (3.7) and draft memo (3.0) regarding CEOC              6.70   8,676.50
                        governance questons asked by Committee.
12/01/15    MZ          Review Judge Guzman decisions.                                  1.20     882.00
12/02/15    VI          Review cases for draft standing reply.                          2.00   1,650.00
12/03/15    VI          Analyze unjustifiable refusal cases.                            1.80   1,485.00
12/06/15    MJB         Research (1.0), analyze (1.3), and draft (2.2) memo in          5.50   7,122.50
                        response to Committee questions regarding CEOC
                        governance issues and email to co-chairs and others
                        regarding governance and related issues (1.0).
12/07/15    VI          Analyze cases regarding derivative standing issues.             1.70   1,402.50
12/08/15    MZ          Review reports on status of TIA amendment.                      0.50     367.50
12/08/15    VI          Analyze jurisprudence regarding privilege issues.               0.90     742.50
12/10/15    VI          Analyze case law cited in DTC standing motion objection.        0.80     660.00
12/14/15    MZ          Review chart distinguishing derivative standing cases.          0.80     588.00
12/14/15    VI          Analyze jurisprudence for revised standing motion reply.        1.80   1,485.00
12/15/15    PP          Review precedent docket for precedent regarding sovereign       3.00   3,075.00
                        immunity, state control over gaming licenses (1.8); email J.
                        Webb regarding same (.3); review Seventh Circuit decision
                        in precedent case (.9).
12/15/15    JW          Research regarding sovereign immunity.                          0.60     267.00
12/17/15    VI          Analyze research regarding management fees.                     1.00     825.00
12/21/15    MZ          Review jurisprudence on defenses against fraudulent             4.40   3,234.00
                        transfers.
12/21/15    VI          Research plan exclusivity issues.                               2.00   1,650.00
12/21/15    JW          Research regarding avoidance actions.                           2.00     890.00
12/22/15    JGL         Review case law research regarding avoidance actions.           1.80   2,250.00
12/22/15    VI          Review third-party release jurisprudence.                       1.20     990.00
12/22/15    JW          Research regarding avoidance of claims.                         6.20   2,759.00
12/23/15    JGL         Review research analysis from J. Webb regarding avoidance       0.20     250.00
                        actions.
12/23/15    MZ          Review J. Webb email (.2) and related jurisprudence on          1.00    735.00
                        defenses to avoidance actions (.8).
12/23/15    JW          Further research regarding avoidance of claims.                 4.10   1,824.50
12/23/15    DD          Prepare memorandum regarding nondebtor releases.                2.60   1,157.00
12/24/15    VI          Analyze precedent derivative standing motion.                   0.80     660.00
12/26/15    DD          Prepare memorandum regarding nondebtor releases.                1.00     445.00
12/27/15    DD          Prepare memorandum regarding nondebtor releases.                2.90   1,290.50
12/28/15    JW          Additional research regarding avoidance of claims and draft     5.10   2,269.50
                        memorandum on findings.
12/28/15    DD          Prepare memorandum regarding nondebtor releases.                8.40   3,738.00
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LEGAL RESEARCH AND ANALYSIS
Client/Matter No. 71844.0028

Date         Attorney   Description                                                      Hours         Amount

12/29/15     MZ         Revise memo on defenses to avoidance actions (2.2);                3.00        2,205.00
                        Review memorandum on third-party releases and corporate
                        governancen (.8).
12/29/15     VI         Revise multiple drafts of third-party release memorandum.          2.50        2,062.50
12/29/15     JW         Conference call (.6); research (3.5); and revise memo (1.1)        5.20        2,314.00
                        on avoidance of claims.
12/30/15     JGL        Review memo regarding avoidance actions.                           0.50         625.00
12/31/15     JW         Revise avoidance of claims research.                               0.60         267.00


Attorney                                                                 Hours           Rate          Amount

JUDY G. LIU                                                               2.50        1,250.00         3,125.00
MARTIN J. BIENENSTOCK                                                    12.20        1,295.00        15,799.00
PAUL POSSINGER                                                            3.00        1,025.00         3,075.00
      Total For Partner                                                  17.70                        21,999.00

JERAMY WEBB                                                              23.80         445.00         10,591.00
MAJA ZERJAL                                                              10.90         735.00          8,011.50
VINCENT INDELICATO                                                       16.50         825.00         13,612.50
      Total For Associate                                                51.20                        32,215.00

DANIEL DESATNIK                                                          14.90         445.00          6,630.50
      Total For Law Clerk                                                14.90                         6,630.50


Professional Fees                                                        83.80                    $   60,844.50

Total this Matter                                                                                $    60,844.50
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PREPARATION OF PLEADINGS
Client/Matter No. 71844.0029


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                            Hours        Amount

12/09/15     SM         Revise response to Debtors' motion to compel CEC         1.40        854.00
                        according to comments from Committee (.7); Prepare
                        objection to Suffolk Downs Motion (.7).


Attorney                                                              Hours    Rate         Amount

STEVE MA                                                               1.40   610.00         854.00
      Total For Associate                                              1.40                  854.00


Professional Fees                                                      1.40             $    854.00

Total this Matter                                                                      $     854.00
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HEARINGS AND COURT MATTERS
Client/Matter No. 71844.0030


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                    Hours   Amount

12/10/15    NP          Compile hearing binders for omnibus hearing on                  1.80    540.00
                        12/16/2015.
12/11/15    PMA         Confer with M. Zerjal regarding December 16 hearing (.1);       0.20    215.00
                        Confer with V. Indelicato regarding December 16 hearing
                        (.1).
12/14/15    SAE         Review hearing agenda.                                          0.20    185.00
12/14/15    PP          Review agenda for 12/16 hearing (.1); emails with N. Petrov     0.20    205.00
                        regarding preparation (.1).
12/14/15    NP          Prepare iPad for omnibus hearing on 12/16/2015.                 0.40    120.00
12/14/15    MZ          Review hearing agenda and related pleadings (.5); discuss       0.70    514.50
                        binder with N. Petrov and E. Rodriguez (.2).
12/14/15    PMA         Review agenda for 12/16 hearing.                                0.10    107.50
12/15/15    ER          Prepare and revise 12/16 hearing binders for M. Zerjal.         1.10    357.50
12/15/15    MZ          Review revised agenda (.1); prepare hearing materials (.1).     0.20    147.00
12/15/15    PMA         Review revised docket for 12/16 hearing (.1); prepare for       0.30    322.50
                        12/16 hearing (.2).
12/16/15    SAE         Review summary email of 12/16 omnibus hearing from P.           0.10     92.50
                        Possinger.
12/16/15    PP          Review updated agenda for omnibus 12/16 hearing (.1);           1.50   1,537.50
                        attend omnibus hearing (.7); draft summary of same for
                        Committee (.7).
12/16/15    SM          Review email summary of omnibus hearing.                        0.10     61.00
12/16/15    JGL         Review email to Committee from P. Possinger regarding           0.20    250.00
                        omnibus hearing.
12/16/15    MZ          Participate in December 16 omnibus hearing (.7); Discuss        3.00   2,205.00
                        same with P. Possinger (.3); Prepare for hearing (2.0).
12/16/15    PMA         Review email correspondence from P. Possinger regarding         1.10   1,182.50
                        12/16 hearing (.1); Confer with M. Zerjal and P. Possinger
                        regarding 12/16 hearing (.3); Attend 12/16 hearing (.7).
12/16/15    JW          Participate in court hearing with P. Possinger, P. Abelson,     0.70    311.50
                        and M. Zerjal.
12/17/15    NP          Review (.1) and circulate to attorneys (.1) 12/16/15 omnibus    0.30     90.00
                        hearing transcript (.1).
12/17/15    PMA         Confer with J. Liu regarding 12/16 hearing.                     0.10    107.50
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HEARINGS AND COURT MATTERS
Client/Matter No. 71844.0030



Attorney                                          Hours       Rate        Amount

JUDY G. LIU                                         0.20   1,250.00         250.00
PAUL POSSINGER                                      1.70   1,025.00       1,742.50
PHILIP M. ABELSON                                   1.80   1,075.00       1,935.00
       Total For Partner                            3.70                  3,927.50

SCOTT A. EGGERS                                     0.30    925.00         277.50
      Total For Senior Counsel                      0.30                   277.50

JERAMY WEBB                                         0.70    445.00          311.50
MAJA ZERJAL                                         3.90    735.00        2,866.50
STEVE MA                                            0.10    610.00           61.00
      Total For Associate                           4.70                  3,239.00

EVELYN RODRIGUEZ                                    1.10    325.00          357.50
NATASHA PETROV                                      2.50    300.00          750.00
     Total For Legal Assistant                      3.60                  1,107.50


Professional Fees                                  12.30              $   8,551.50

Total this Matter                                                     $   8,551.50
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LEGAL/REGULATORY INVESTIGATIONS
Client/Matter No. 71844.0031


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                                Hours        Amount

12/14/15     VI         Analyze CEOC Form 8-K disclosure.                            0.20        165.00
12/16/15     VI         Review omnibus spending bill and related legislation to      0.60        495.00
                        determine impact on Debtors' bankruptcy issues.
12/17/15     VI         Review British Gaming Commission Regulatory Report           0.40        330.00
                        regarding UK subsidiary.


Attorney                                                                Hours      Rate         Amount

VINCENT INDELICATO                                                        1.20    825.00         990.00
      Total For Associate                                                 1.20                   990.00


Professional Fees                                                         1.20              $    990.00

Total this Matter                                                                          $     990.00
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COMMUNICATION WITH EXAMINER
Client/Matter No. 71844.0033


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                    Hours   Amount

12/03/15    SAE         Attend meeting with Examiner.                                   2.50   2,312.50
12/03/15    SAE         Conference with J. Liu, M. Davidson, P. Abelson regarding       1.50   1,387.50
                        Examiner meeting and next steps.
12/03/15    MED         Meeting with Examiner at Winston regarding status of his        4.00   4,000.00
                        investigation (2.5); meeting with S. Eggers, J. Liu and P.
                        Abelson regarding same (1.5).
12/03/15    PP          Telephone attendance at meeting with Examiner.                  2.50   2,562.50
12/03/15    RMC         Paritcipate on call from Examiner.                              2.50   2,312.50
12/03/15    SM          Attend part of Committee meeting with Examiner via              1.30     793.00
                        teleconference.
12/03/15    MJB         Meet with Examiner to hear preliminary conclusions.             2.50   3,237.50
12/03/15    JGL         Attend meeting with Examiner (2.5); meeting with P.             4.80   6,000.00
                        Abelson, S. Eggers and M. Davidson regarding next steps to
                        supplement communications to Examiner by December 18th
                        (1.5); compile notes from Examiner meeting for Committee
                        communication (.8).
12/03/15    MZ          Participate in Committee meeting with Examiner (2.5); draft     3.60   2,646.00
                        and revise notes regarding same (.9); confer with P. Abelson
                        regarding Examiner meeting (.2).
12/03/15    PMA         Attend meeting at Winston & Strawn regarding Examiner's         6.70   7,202.50
                        preliminary report (2.5); post-Examiner meeting discussion
                        among Committee professionals (.8); confer with S. Eggers,
                        M. Davidson, and J. Liu regarding Examiner meeting (1.5);
                        confer with V. Indelicato regarding Examiner meeting (.2);
                        confer with J. Liu regarding Examiner meeting (.1); confer
                        with M. Zerjal regarding Examiner meeting (.2); draft and
                        review notes regarding Examiner meeting (1.4).
12/03/15    VI          Meeting with Examiner regarding status update (partial          1.20    990.00
                        attendance).
12/04/15    AGM         Teleconference with J. Liu regarding Examiner meeting with      0.40    294.00
                        Committee counsel (.2); review notes from Examiner
                        meeting forwarded by same (.2).
12/04/15    PMA         Confer with J. Liu regarding Examiner report (.2); confer       0.30    322.50
                        with V. Indelicato regarding Examiner report (.1).
12/08/15    PMA         Confer with J. Liu and M. Zerjal regarding Examiner             0.40    430.00
                        meeting (.3); review email correspondence from S. Ma
                        regarding Examiner follow-up (.1).
12/09/15    MJB         Research and draft of discussion of some of Examiner's          6.20   8,029.00
                        preliminary governance conclusions for submission to
                        Examiner at his request.
12/14/15    JGL         Teleconference with S. Eggers regarding meeting                 0.20    250.00
                        concerning responding to Examiner.
12/14/15    VI          Multiple email correspondences with Winston regarding           0.20    165.00
                        Examiner witness interview status.
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COMMUNICATION WITH EXAMINER
Client/Matter No. 71844.0033

Date        Attorney    Description                                                   Hours   Amount

12/15/15    SAE         Email Winston & Strawn, Alvarez & Marsal regarding             0.10     92.50
                        meeting with Examiner.
12/15/15    JGL         Email from S. Eggers regarding Examiner meeting.               0.10    125.00
12/16/15    SAE         Emails with FTI, Jefferies, Winston & Strawn regarding         0.20    185.00
                        attendees at Examiner meeting.
12/16/15    PP          Initial review of decks for Examiner presentation.             0.40     410.00
12/16/15    JGL         Review email correspondence from S. Eggers regarding           3.10   3,875.00
                        Examiner meeting (.1); review emails from FTI and M.
                        Davidson regarding Examiner materials (.3); review draft
                        materials for Examiner meeting regarding LBO and Total
                        Rewards (1.5); review draft deck for Examiner meeting
                        regarding Atlantic City (1.2).
12/17/15    SAE         Telephone conference with C. Hardman at Winston &              1.10   1,017.50
                        Strawn regarding meeting with Examiner (.2); email C.
                        Hardman at Winston & Strawn regarding same (.1); emails
                        with Examiner's counsel regarding presentations (.8).
12/17/15    PP          Review Examiner presentation decks.                            1.30   1,332.50
12/17/15    SM          Review slide decks regarding feedback to Examiner on           0.20     122.00
                        preliminary results.
12/17/15    MJB         Draft memo to Examiner commenting on his preliminary           2.70   3,496.50
                        governance conclusions.
12/17/15    JGL         Review drafts (of 12 decks) for Examiner covering              4.40   5,500.00
                        numerous issues (2.0); Review Examiner meeting executive
                        summary (3); Review revised CIE presentation deck (1.0);
                        Review CIE executive summary (.4); Email to S. Eggers
                        regarding CIE deck (.2) and CIE executive summary (.1);
                        Review revised legal memo regarding services agreement
                        (.4).
12/17/15    PMA         Confer with J. Liu regarding Examiner meeting (.1); Confer     1.70   1,827.50
                        with V. Indelicato regarding Examiner meeting (.2); Confer
                        with V. Indelicato and S. Eggers regarding Examiner
                        meeting (.1); Review email correspondence from V.
                        Indelicato and H. Denman regarding Examiner meeting (.1);
                        Review materials regarding Examiner meeting (1.2).
12/17/15    VI          Multiple email correspondences with Winston & Strawn           3.20   2,640.00
                        regarding open investigation issues (.2); Review proposed
                        outline of topics for Examiner presentation (.2); Review S.
                        Eggers' proposed draft Executive Summary regarding same
                        (.3); confer with P. Abelson regarding Examiner meeting
                        (.2); Review numerous different presentations delivered to
                        Examiner in advance of 12/18 meeting (2.3).
12/18/15    SAE         Attend meeting with Examiner (2.3); email with C. Hardman      2.50   2,312.50
                        regarding materials for meeting with Examiner (.2).
12/18/15    MED         Emails with S. Eggers regarding meeting with Examiner          4.90   4,900.00
                        (.2); review master deck and revised detailed decks (2.4);
                        attend meeting with Examiner (2.3).
12/18/15    PP          Review comments to Examiner decks (.6); review final           1.30   1,332.50
                        master executive summary (.7).
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COMMUNICATION WITH EXAMINER
Client/Matter No. 71844.0033

Date        Attorney    Description                                                      Hours   Amount

12/18/15    SM          Review finalized slide decks for Examiner meeting in              0.20    122.00
                        preparation for call.
12/18/15    JGL         Review numerous emails from FTI/Jefferies/Proskauer (.4);         2.90   3,625.00
                        Meeting with Examiner, FTI/Jefferies/GCA regarding
                        supplemental materials (2.3); Review draft of notes from
                        Examiner meeting (.2).
12/18/15    MZ          Review materials for (2.0) and participate in Examiner            5.10   3,748.50
                        meeting (2.3); Review and revise meeting notes (.8).
12/18/15    VI          Meeting with Examiner regarding investigation update (2.3);       3.80   3,135.00
                        Review final draft Examiner presentation (1.5).
12/20/15    MED         Review S. Eggers email and revised summary of meeting             0.70    700.00
                        with Examiner (.6); review M. Zerjal email regarding same
                        (.1).
12/20/15    MED         Review M. Zerjal email regarding revised summary of               0.10    100.00
                        meeting with Examiner.
12/20/15    MZ          Revise notes of Examiner meeting.                                 0.60    441.00
12/21/15    SAE         Review Examiner's report.                                         0.20    185.00
12/21/15    JGL         Review email correspondence from M. Zerjal, S. Eggers             0.60    750.00
                        regarding Examiner meeting (2); Discussion with P. Abelson
                        regarding Examiner meeting (.2); Review Examiner's sixth
                        report (.2).
12/21/15    MZ          Discuss Examiner meeting with J. Liu and P. Abelson.              0.50     367.50
12/21/15    MZ          Review Examiner report.                                           0.20     147.00
12/21/15    PMA         Review presentation to Examiner regarding controversial           2.90   3,117.50
                        transactions (.5); Review notes from M. Zerjal regarding
                        Examiner meeting (.5); conference with V. Indelicato
                        regarding Examiner meeting (.1); conference with J. Liu and
                        M. Zerjal regarding Examiner meeting (.5); conference with
                        J. Liu regarding Examiner meeting (.4); Analyze materials
                        regarding avoidance actions and Examiner meeting (.6);
                        Review 6th Examiner report (.1); conference with V.
                        Indelicato regarding Examiner meeting (.2).
12/21/15    VI          Review M. Zerjal summary of Examiner issues (.6); Review          1.00    825.00
                        Examiner status report (.4).
12/23/15    JGL         Teleconference with P. Abelson regarding Examiner motion          0.70    875.00
                        (.3); Review Examiner motion seeking permission to file
                        report under seal (.4).
12/23/15    PMA         Review motion by Examiner for order approving filing              0.60    645.00
                        report under seal (.3); conference with J. Liu regarding
                        motion by Examiner for order approving filing report under
                        seal (.3).
12/23/15    VI          Analyze Examiner's motion to seal Examiner's report and           0.40    330.00
                        certain documents under seal.
12/28/15    MED         Review J. Liu email regarding avoidance action issues and         0.50    500.00
                        time line (.1); review files and respond to J. Liu email (.3);
                        review S. Eggers email regarding same (.1).
12/28/15    MZ          Review Examiner meeting notes and compile list of                 0.40    294.00
                        outstanding issues.
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COMMUNICATION WITH EXAMINER
Client/Matter No. 71844.0033

Date         Attorney   Description                                                     Hours         Amount

12/28/15     VI         Review Examiner's Motion regarding report confidentiality.        0.50         412.50
12/29/15     SAE        Emails with G. Mastorisis regarding CES issues.                   0.30         277.50


Attorney                                                               Hours            Rate          Amount

JUDY G. LIU                                                             16.80        1,250.00        21,000.00
MARTIN J. BIENENSTOCK                                                   11.40        1,295.00        14,763.00
PAUL POSSINGER                                                           5.50        1,025.00         5,637.50
PHILIP M. ABELSON                                                       12.60        1,075.00        13,545.00
RICHARD M. CORN                                                          2.50          925.00         2,312.50
       Total For Partner                                                48.80                        57,258.00

MARK E. DAVIDSON                                                        10.20        1,000.00        10,200.00
SCOTT A. EGGERS                                                          8.40          925.00         7,770.00
      Total For Senior Counsel                                          18.60                        17,970.00

ANDREA G. MILLER                                                         0.40         735.00            294.00
MAJA ZERJAL                                                             10.40         735.00          7,644.00
STEVE MA                                                                 1.70         610.00          1,037.00
VINCENT INDELICATO                                                      10.30         825.00          8,497.50
      Total For Associate                                               22.80                        17,472.50


Professional Fees                                                       90.20                    $   92,700.50

Total this Matter                                                                               $    92,700.50
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COMMUNICATION WITH SECOND LIEN COMMITTEE
Client/Matter No. 71844.0034


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                                     Hours        Amount

12/01/15     PMA        Confer with S. Levinson regarding Baltimore Horseshoe and         0.20        215.00
                        recent motions.
12/06/15     PMA        Teleconference with S. Levinson regarding case update.            0.40        430.00
12/08/15     PMA        Confer with S. Levinson regarding privilege issues.               0.10        107.50
12/08/15     VI         Telephone conference with Jones Day regarding standing            0.50        412.50
                        motion objections (.3); Prepare email correspondence to S.
                        Levinson regarding same (.2).
12/09/15     VI         Telephone conference with S. Levinson regarding motion to         0.40        330.00
                        compel response to motion to compel (.2); Telephone
                        conference with J. Mester regarding Suffolk Downs (.2).
12/11/15     PMA        Confer with S. Levinson and V. Indelicato regarding status        0.30        322.50
                        update.
12/29/15     PMA        Teleconference with S. Levinson regarding case update.            0.40        430.00


Attorney                                                               Hours            Rate         Amount

PHILIP M. ABELSON                                                        1.40        1,075.00        1,505.00
       Total For Partner                                                 1.40                        1,505.00

VINCENT INDELICATO                                                       0.90         825.00          742.50
      Total For Associate                                                0.90                         742.50


Professional Fees                                                        2.30                    $   2,247.50

Total this Matter                                                                               $    2,247.50
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DISBURSEMENTS
Client/Matter No. 71844.0036


For Charges and Disbursements

Date         Timekeeper               Type             Description      Amount
12/01/2015   Maja Zerjal        REPRODUCTION   REPRODUCTION               $1.50
12/01/2015   Magali Giddens     REPRODUCTION   REPRODUCTION               $9.10
12/01/2015   Natasha Petrov     REPRODUCTION   REPRODUCTION               $3.80
12/01/2015   Natasha Petrov     REPRODUCTION   REPRODUCTION               $7.60
12/02/2015   Judy G. Liu        REPRODUCTION   REPRODUCTION               $0.10
12/02/2015   Judy G. Liu        REPRODUCTION   REPRODUCTION               $0.40
12/02/2015   Magali Giddens     REPRODUCTION   REPRODUCTION               $2.30
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.70
12/02/2015   Helen Wicecraver   REPRODUCTION   REPRODUCTION               $0.60
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $3.00
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $1.00
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.20
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.20
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.20
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $4.80
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $5.20
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $4.80
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $5.60
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $5.60
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $6.00
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $4.40
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $5.60
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $2.40
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $2.80
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $2.60
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $2.40
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $2.20
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $2.80
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $2.60
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $2.80
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $2.80
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $2.60
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $2.80
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $2.40
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $2.40
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $2.40
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $2.20
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $2.60
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $2.00
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.30
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.40
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.40
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.40
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.30
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.90
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.90
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.90
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.90
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $1.20
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DISBURSEMENTS
Client/Matter No. 71844.0036

Date         Timekeeper               Type             Description      Amount
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $1.20
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $1.20
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.90
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.90
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.90
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.90
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.90
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $1.20
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $1.20
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $1.20
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.90
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.30
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.30
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.40
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.30
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.40
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.40
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.40
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.30
12/02/2015   Helen Wicecraver   REPRODUCTION   REPRODUCTION              $26.90
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.20
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.20
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.20
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.60
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.60
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.60
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.20
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.20
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $2.20
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.30
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.30
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.40
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.30
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.40
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.40
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.40
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.30
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.30
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.30
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.40
12/02/2015   Helen Wicecraver   REPRODUCTION   REPRODUCTION               $2.00
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.80
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.60
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.60
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION              $30.00
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $1.20
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.20
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $1.60
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $2.40
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $2.40
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $2.40
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $1.80
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $2.40
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DISBURSEMENTS
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Date         Timekeeper               Type             Description      Amount
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.60
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $1.80
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $1.20
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $1.60
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $1.60
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $1.60
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.80
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.60
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.20
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.60
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $3.00
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $1.00
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $1.40
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.60
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.60
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.60
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.60
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $0.60
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $3.60
12/02/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $1.80
12/03/2015   Steve MA           REPRODUCTION   REPRODUCTION               $2.20
12/03/2015   Steve MA           REPRODUCTION   REPRODUCTION               $1.50
12/03/2015   Steve MA           REPRODUCTION   REPRODUCTION               $1.50
12/03/2015   Steve MA           REPRODUCTION   REPRODUCTION               $2.50
12/03/2015   Magali Giddens     REPRODUCTION   REPRODUCTION               $8.40
12/03/2015   Jonathan H. Lee    REPRODUCTION   REPRODUCTION               $2.70
12/03/2015   Andrea G. Miller   REPRODUCTION   REPRODUCTION              $11.30
12/03/2015   Paul Possinger     REPRODUCTION   REPRODUCTION               $0.30
12/03/2015   Paul Possinger     REPRODUCTION   REPRODUCTION               $4.50
12/04/2015   Brian Hooven       REPRODUCTION   REPRODUCTION               $0.60
12/04/2015   Mark Carpenter     REPRODUCTION   REPRODUCTION               $0.20
12/04/2015   Daniel Desatnik    REPRODUCTION   REPRODUCTION               $2.20
12/04/2015   Magali Giddens     REPRODUCTION   REPRODUCTION               $1.00
12/04/2015   Magali Giddens     REPRODUCTION   REPRODUCTION               $0.60
12/04/2015   Magali Giddens     REPRODUCTION   REPRODUCTION               $9.00
12/04/2015   Magali Giddens     REPRODUCTION   REPRODUCTION               $9.10
12/04/2015   Mark Carpenter     REPRODUCTION   REPRODUCTION               $0.10
12/04/2015   Steve MA           REPRODUCTION   REPRODUCTION              $33.60
12/04/2015   Andrea G. Miller   REPRODUCTION   REPRODUCTION               $0.90
12/04/2015   Andrea G. Miller   REPRODUCTION   REPRODUCTION               $9.80
12/06/2015   Steve MA           REPRODUCTION   REPRODUCTION               $2.40
12/07/2015   Judy G. Liu        REPRODUCTION   REPRODUCTION               $1.40
12/07/2015   Steve MA           REPRODUCTION   REPRODUCTION               $2.50
12/07/2015   Magali Giddens     REPRODUCTION   REPRODUCTION               $1.30
12/07/2015   Magali Giddens     REPRODUCTION   REPRODUCTION               $1.30
12/07/2015   Magali Giddens     REPRODUCTION   REPRODUCTION               $9.10
12/07/2015   Magali Giddens     REPRODUCTION   REPRODUCTION               $9.10
12/08/2015   Steve MA           REPRODUCTION   REPRODUCTION               $7.00
12/08/2015   Magali Giddens     REPRODUCTION   REPRODUCTION               $0.10
12/08/2015   Magali Giddens     REPRODUCTION   REPRODUCTION               $0.10
12/08/2015   Paul Possinger     REPRODUCTION   REPRODUCTION               $4.50
12/09/2015   Milton E. Otto     REPRODUCTION   REPRODUCTION               $5.90
12/09/2015   Natasha Petrov     REPRODUCTION   REPRODUCTION               $0.20
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DISBURSEMENTS
Client/Matter No. 71844.0036

Date         Timekeeper               Type             Description      Amount
12/09/2015   Natasha Petrov     REPRODUCTION   REPRODUCTION               $1.00
12/09/2015   Natasha Petrov     REPRODUCTION   REPRODUCTION               $0.40
12/09/2015   Natasha Petrov     REPRODUCTION   REPRODUCTION               $0.60
12/09/2015   Natasha Petrov     REPRODUCTION   REPRODUCTION               $0.40
12/09/2015   Natasha Petrov     REPRODUCTION   REPRODUCTION               $5.60
12/09/2015   Natasha Petrov     REPRODUCTION   REPRODUCTION               $3.40
12/09/2015   Natasha Petrov     REPRODUCTION   REPRODUCTION               $8.00
12/09/2015   Natasha Petrov     REPRODUCTION   REPRODUCTION               $3.20
12/09/2015   Natasha Petrov     REPRODUCTION   REPRODUCTION               $7.40
12/09/2015   Natasha Petrov     REPRODUCTION   REPRODUCTION               $7.60
12/09/2015   Natasha Petrov     REPRODUCTION   REPRODUCTION               $2.40
12/09/2015   Natasha Petrov     REPRODUCTION   REPRODUCTION               $6.00
12/09/2015   Natasha Petrov     REPRODUCTION   REPRODUCTION               $1.00
12/10/2015   Judy G. Liu        REPRODUCTION   REPRODUCTION               $2.50
12/11/2015   Magali Giddens     REPRODUCTION   REPRODUCTION               $9.20
12/11/2015   Magali Giddens     REPRODUCTION   REPRODUCTION               $9.20
12/14/2015   Judy G. Liu        REPRODUCTION   REPRODUCTION               $1.80
12/14/2015   Mark E. Davidson   REPRODUCTION   REPRODUCTION               $1.60
12/14/2015   Mark E. Davidson   REPRODUCTION   REPRODUCTION               $1.10
12/14/2015   Mark E. Davidson   REPRODUCTION   REPRODUCTION               $0.40
12/14/2015   Mark E. Davidson   REPRODUCTION   REPRODUCTION               $5.50
12/14/2015   Mark E. Davidson   REPRODUCTION   REPRODUCTION               $1.50
12/14/2015   Mark Carpenter     REPRODUCTION   REPRODUCTION               $0.10
12/14/2015   Mark Carpenter     REPRODUCTION   REPRODUCTION               $0.10
12/14/2015   Judy G. Liu        REPRODUCTION   REPRODUCTION               $0.10
12/14/2015   Judy G. Liu        REPRODUCTION   REPRODUCTION               $4.60
12/14/2015   Natasha Petrov     REPRODUCTION   REPRODUCTION               $0.20
12/14/2015   Natasha Petrov     REPRODUCTION   REPRODUCTION               $2.20
12/15/2015   Steve MA           REPRODUCTION   REPRODUCTION               $1.60
12/15/2015   Judy G. Liu        REPRODUCTION   REPRODUCTION               $0.30
12/15/2015   Judy G. Liu        REPRODUCTION   REPRODUCTION               $3.20
12/15/2015   Judy G. Liu        REPRODUCTION   REPRODUCTION               $0.20
12/15/2015   Steve MA           REPRODUCTION   REPRODUCTION               $0.30
12/15/2015   Judy G. Liu        REPRODUCTION   REPRODUCTION               $2.70
12/15/2015   Evelyn Rodriguez   REPRODUCTION   REPRODUCTION               $0.60
12/15/2015   Evelyn Rodriguez   REPRODUCTION   REPRODUCTION               $0.30
12/15/2015   Evelyn Rodriguez   REPRODUCTION   REPRODUCTION               $0.30
12/15/2015   Evelyn Rodriguez   REPRODUCTION   REPRODUCTION               $9.00
12/15/2015   Evelyn Rodriguez   REPRODUCTION   REPRODUCTION               $1.50
12/15/2015   Evelyn Rodriguez   REPRODUCTION   REPRODUCTION               $0.90
12/15/2015   Judy G. Liu        REPRODUCTION   REPRODUCTION               $0.10
12/15/2015   Judy G. Liu        REPRODUCTION   REPRODUCTION               $0.10
12/16/2015   Mark E. Davidson   REPRODUCTION   REPRODUCTION               $2.00
12/16/2015   Mark Carpenter     REPRODUCTION   REPRODUCTION               $2.00
12/16/2015   Judy G. Liu        REPRODUCTION   REPRODUCTION               $2.90
12/16/2015   Judy G. Liu        REPRODUCTION   REPRODUCTION               $2.40
12/16/2015   Judy G. Liu        REPRODUCTION   REPRODUCTION               $2.00
12/16/2015   Mark Carpenter     REPRODUCTION   REPRODUCTION               $0.80
12/16/2015   Mark Carpenter     REPRODUCTION   REPRODUCTION               $1.50
12/16/2015   Mark Carpenter     REPRODUCTION   REPRODUCTION               $1.70
12/16/2015   Mark Carpenter     REPRODUCTION   REPRODUCTION               $0.30
12/16/2015   Mark Carpenter     REPRODUCTION   REPRODUCTION               $1.10
12/16/2015   Mark Carpenter     REPRODUCTION   REPRODUCTION               $0.60
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DISBURSEMENTS
Client/Matter No. 71844.0036

Date         Timekeeper               Type             Description      Amount
12/16/2015   Mark Carpenter     REPRODUCTION   REPRODUCTION               $2.00
12/16/2015   Mark Carpenter     REPRODUCTION   REPRODUCTION               $1.10
12/16/2015   Magali Giddens     REPRODUCTION   REPRODUCTION               $9.40
12/16/2015   Mark Carpenter     REPRODUCTION   REPRODUCTION               $0.20
12/16/2015   Mark Carpenter     REPRODUCTION   REPRODUCTION               $0.10
12/16/2015   Mark Carpenter     REPRODUCTION   REPRODUCTION               $0.10
12/16/2015   Mark Carpenter     REPRODUCTION   REPRODUCTION               $0.10
12/16/2015   Mark Carpenter     REPRODUCTION   REPRODUCTION               $0.10
12/16/2015   Mark Carpenter     REPRODUCTION   REPRODUCTION               $0.10
12/16/2015   Mark Carpenter     REPRODUCTION   REPRODUCTION               $0.10
12/16/2015   Mark Carpenter     REPRODUCTION   REPRODUCTION               $0.20
12/16/2015   Mark Carpenter     REPRODUCTION   REPRODUCTION               $0.20
12/16/2015   Mark Carpenter     REPRODUCTION   REPRODUCTION               $0.10
12/16/2015   Mark Carpenter     REPRODUCTION   REPRODUCTION               $0.10
12/16/2015   Mark Carpenter     REPRODUCTION   REPRODUCTION               $0.10
12/16/2015   Magali Giddens     REPRODUCTION   REPRODUCTION               $9.50
12/17/2015   Daniel Desatnik    REPRODUCTION   REPRODUCTION               $2.90
12/17/2015   Mark E. Davidson   REPRODUCTION   REPRODUCTION               $1.80
12/17/2015   Magali Giddens     REPRODUCTION   REPRODUCTION               $0.10
12/17/2015   Scott A. Eggers    REPRODUCTION   REPRODUCTION               $1.70
12/18/2015   Mark Carpenter     REPRODUCTION   REPRODUCTION               $1.10
12/18/2015   Mark Carpenter     REPRODUCTION   REPRODUCTION               $1.40
12/18/2015   Mark Carpenter     REPRODUCTION   REPRODUCTION               $1.70
12/18/2015   Mark Carpenter     REPRODUCTION   REPRODUCTION               $1.50
12/18/2015   Mark Carpenter     REPRODUCTION   REPRODUCTION               $2.00
12/18/2015   Mark Carpenter     REPRODUCTION   REPRODUCTION               $0.50
12/18/2015   Mark Carpenter     REPRODUCTION   REPRODUCTION               $0.30
12/18/2015   Maja Zerjal        REPRODUCTION   REPRODUCTION               $2.50
12/18/2015   Scott A. Eggers    REPRODUCTION   REPRODUCTION               $4.90
12/18/2015   Mark E. Davidson   REPRODUCTION   REPRODUCTION               $2.00
12/18/2015   Mark E. Davidson   REPRODUCTION   REPRODUCTION               $2.20
12/18/2015   Mark E. Davidson   REPRODUCTION   REPRODUCTION               $4.90
12/18/2015   Sarah Sullivan     REPRODUCTION   REPRODUCTION               $0.10
12/18/2015   Sarah Sullivan     REPRODUCTION   REPRODUCTION               $0.10
12/18/2015   Mark E. Davidson   REPRODUCTION   REPRODUCTION               $1.70
12/18/2015   Mark E. Davidson   REPRODUCTION   REPRODUCTION               $1.40
12/18/2015   Mark E. Davidson   REPRODUCTION   REPRODUCTION               $1.10
12/18/2015   Mark Carpenter     REPRODUCTION   REPRODUCTION               $0.10
12/18/2015   Daniel Desatnik    REPRODUCTION   REPRODUCTION               $2.20
12/18/2015   Scott A. Eggers    REPRODUCTION   REPRODUCTION               $4.90
12/18/2015   Steve MA           REPRODUCTION   REPRODUCTION               $1.10
12/18/2015   Andrea G. Miller   REPRODUCTION   REPRODUCTION               $2.90
12/21/2015   Judy G. Liu        REPRODUCTION   REPRODUCTION               $6.00
12/21/2015   Judy G. Liu        REPRODUCTION   REPRODUCTION               $3.20
12/21/2015   Steve MA           REPRODUCTION   REPRODUCTION               $1.20
12/21/2015   Steve MA           REPRODUCTION   REPRODUCTION               $2.30
12/21/2015   Steve MA           REPRODUCTION   REPRODUCTION               $2.30
12/21/2015   Daniel J. Werb     REPRODUCTION   REPRODUCTION               $5.60
12/22/2015   Judy G. Liu        REPRODUCTION   REPRODUCTION               $5.60
12/22/2015   Daniel Desatnik    REPRODUCTION   REPRODUCTION               $2.60
12/23/2015   Judy G. Liu        REPRODUCTION   REPRODUCTION               $0.80
12/23/2015   Evelyn Rodriguez   REPRODUCTION   REPRODUCTION               $7.20
12/23/2015   Evelyn Rodriguez   REPRODUCTION   REPRODUCTION               $6.40
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DISBURSEMENTS
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Date         Timekeeper                Type                Description                    Amount
12/23/2015   Evelyn Rodriguez    REPRODUCTION   REPRODUCTION                                $1.20
12/23/2015   Evelyn Rodriguez    REPRODUCTION   REPRODUCTION                                $0.30
12/23/2015   Daniel Desatnik     REPRODUCTION   REPRODUCTION                                $2.70
12/23/2015   Daniel J. Werb      REPRODUCTION   REPRODUCTION                                $5.60
12/23/2015   Evelyn Rodriguez    REPRODUCTION   REPRODUCTION                                $3.60
12/23/2015   Evelyn Rodriguez    REPRODUCTION   REPRODUCTION                                $4.70
12/23/2015   Evelyn Rodriguez    REPRODUCTION   REPRODUCTION                                $8.20
12/23/2015   Evelyn Rodriguez    REPRODUCTION   REPRODUCTION                                $9.30
12/23/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION                                $1.70
12/24/2015   Steve MA            REPRODUCTION   REPRODUCTION                               $23.50
12/24/2015   Michele M. Reetz    REPRODUCTION   REPRODUCTION                                $0.90
12/28/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION                                $0.90
12/29/2015   Steve MA            REPRODUCTION   REPRODUCTION                                $7.20
12/29/2015   Steve MA            REPRODUCTION   REPRODUCTION                                $2.60
12/30/2015   Judy G. Liu         REPRODUCTION   REPRODUCTION                                $0.80
12/30/2015   Steve MA            REPRODUCTION   REPRODUCTION                                $0.50
12/30/2015   Steve MA            REPRODUCTION   REPRODUCTION                                $1.00
12/30/2015   Steve MA            REPRODUCTION   REPRODUCTION                                $2.30
12/30/2015   Steve MA            REPRODUCTION   REPRODUCTION                                $2.30
12/30/2015   Steve MA            REPRODUCTION   REPRODUCTION                                $1.40
                                                Total for REPRODUCTION                    $711.70

Date         Timekeeper                  Type                Description                  Amount
12/01/2015   Maja Zerjal         LEXIS          LEXIS Connect and Comm Time -              $23.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
12/02/2015   Jacki L. Anderson   LEXIS          LEXIS Connect and Comm Time -              $710.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
12/03/2015   Steve MA            LEXIS          LEXIS Connect and Comm Time -              $276.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
12/03/2015   Maja Zerjal         LEXIS          LEXIS Connect and Comm Time -               $69.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
12/03/2015   Jacki L. Anderson   LEXIS          LEXIS Connect and Comm Time -              $414.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
12/04/2015   Daniel Desatnik     LEXIS          LEXIS Connect and Comm Time -               $23.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
12/04/2015   Steve MA            LEXIS          LEXIS Connect and Comm Time -              $161.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
12/04/2015   Maja Zerjal         LEXIS          LEXIS Connect and Comm Time -               $92.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
12/04/2015   Jacki L. Anderson   LEXIS          LEXIS Connect and Comm Time -              $230.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
12/05/2015   Daniel Desatnik     LEXIS          LEXIS Connect and Comm Time -               $23.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
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Date         Timekeeper                  Type                Description                   Amount
12/06/2015   Daniel Desatnik     LEXIS          LEXIS Connect and Comm Time -               $46.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
12/07/2015   Steve MA            LEXIS          LEXIS Connect and Comm Time -                $69.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
12/07/2015   Maja Zerjal         LEXIS          LEXIS Connect and Comm Time -                $23.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
12/09/2015   Milton E. Otto      LEXIS          LEXIS Connect and Comm Time -               $230.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
12/09/2015   Jacki L. Anderson   LEXIS          LEXIS Connect and Comm Time -               $207.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
12/10/2015   Milton E. Otto      LEXIS          LEXIS Connect and Comm Time -               $345.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
12/10/2015   Jacki L. Anderson   LEXIS          LEXIS Connect and Comm Time -               $276.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
12/11/2015   Milton E. Otto      LEXIS          LEXIS Connect and Comm Time -               $115.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
12/13/2015   Jacki L. Anderson   LEXIS          LEXIS Connect and Comm Time -               $138.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
12/14/2015   Andrew S. Wellin    LEXIS          LEXIS Connect and Comm Time -               $217.00
                                                1:04:48 Searches - 1 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 3
12/14/2015   Maja Zerjal         LEXIS          LEXIS Connect and Comm Time -                $92.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
12/14/2015   Jacki L. Anderson   LEXIS          LEXIS Connect and Comm Time -               $115.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
12/15/2015   Andrew S. Wellin    LEXIS          LEXIS Connect and Comm Time -               $589.75
                                                1:03:39 Searches - 0 Shepards and
                                                Autocite - 1 Lexsees and Lexstat - 23
12/15/2015   Scott A. Eggers     LEXIS          LEXIS Connect and Comm Time -                $78.00
                                                0:04:10 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 2
12/15/2015   Milton E. Otto      LEXIS          LEXIS Connect and Comm Time -               $805.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
12/16/2015   Milton E. Otto      LEXIS          LEXIS Connect and Comm Time -               $920.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
12/16/2015   Steve MA            LEXIS          LEXIS Connect and Comm Time -               $483.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
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Date         Timekeeper                   Type                Description                  Amount
12/17/2015   Milton E. Otto       LEXIS          LEXIS Connect and Comm Time -             $621.00
                                                 0:00:00 Searches - 0 Shepards and
                                                 Autocite - 0 Lexsees and Lexstat - 0
12/21/2015   Maja Zerjal          LEXIS          LEXIS Connect and Comm Time -              $150.00
                                                 0:22:47 Searches - 0 Shepards and
                                                 Autocite - 0 Lexsees and Lexstat - 4
12/21/2015   Steve MA             LEXIS          LEXIS Connect and Comm Time -              $247.00
                                                 0:00:00 Searches - 0 Shepards and
                                                 Autocite - 0 Lexsees and Lexstat - 0
12/21/2015   Maja Zerjal          LEXIS          LEXIS Connect and Comm Time -              $184.00
                                                 0:00:00 Searches - 0 Shepards and
                                                 Autocite - 0 Lexsees and Lexstat - 0
12/21/2015   Jeramy Webb          LEXIS          LEXIS Connect and Comm Time -               $96.00
                                                 0:00:00 Searches - 0 Shepards and
                                                 Autocite - 0 Lexsees and Lexstat - 0
12/22/2015   Maja Zerjal          LEXIS          LEXIS Connect and Comm Time -              $437.00
                                                 0:00:00 Searches - 0 Shepards and
                                                 Autocite - 0 Lexsees and Lexstat - 0
12/22/2015   Jeramy Webb          LEXIS          LEXIS Connect and Comm Time -              $579.00
                                                 0:00:00 Searches - 0 Shepards and
                                                 Autocite - 0 Lexsees and Lexstat - 0
12/23/2015   Jeramy Webb          LEXIS          LEXIS Connect and Comm Time -              $539.00
                                                 0:00:00 Searches - 0 Shepards and
                                                 Autocite - 0 Lexsees and Lexstat - 0
12/28/2015   Maja Zerjal          LEXIS          LEXIS Connect and Comm Time -               $23.00
                                                 0:00:00 Searches - 0 Shepards and
                                                 Autocite - 0 Lexsees and Lexstat - 0
12/29/2015   Jeramy Webb          LEXIS          LEXIS Connect and Comm Time -              $184.00
                                                 0:00:00 Searches - 0 Shepards and
                                                 Autocite - 0 Lexsees and Lexstat - 0
12/30/2015   Steve MA             LEXIS          LEXIS Connect and Comm Time -              $184.00
                                                 0:00:00 Searches - 0 Shepards and
                                                 Autocite - 0 Lexsees and Lexstat - 0
                                                 Total for LEXIS                         $10,013.75

Date         Timekeeper                Type                  Description                   Amount
12/01/2015   Jeramy Webb          WESTLAW        WESTLAW Connect and Comm                  $346.00
                                                 Time - 000000:00:00 WestChk and
                                                 Other Trans - 0000000060 Lines
12/03/2015   Daniel Desatnik      WESTLAW        WESTLAW Connect and Comm                   $297.00
                                                 Time - 000000:00:00 WestChk and
                                                 Other Trans - 0000000016 Lines
12/08/2015   Sarah Sullivan       WESTLAW        WESTLAW Connect and Comm                 $1,089.00
                                                 Time - 000000:00:00 WestChk and
                                                 Other Trans - 0000000054 Lines
12/10/2015   Sarah Sullivan       WESTLAW        WESTLAW Connect and Comm                   $693.00
                                                 Time - 000000:00:00 WestChk and
                                                 Other Trans - 0000000031 Lines
12/11/2015   Vincent Indelicato   WESTLAW        WESTLAW Connect and Comm                    $24.00
                                                 Time - 000000:00:00 WestChk and
                                                 Other Trans - 0000000002 Lines
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Date         Timekeeper                Type                     Description              Amount
12/11/2015   Sarah Sullivan       WESTLAW           WESTLAW Connect and Comm             $297.00
                                                    Time - 000000:00:00 WestChk and
                                                    Other Trans - 0000000084 Lines
12/13/2015   Sarah Sullivan       WESTLAW           WESTLAW Connect and Comm              $198.00
                                                    Time - 000000:00:00 WestChk and
                                                    Other Trans - 0000000031 Lines
12/14/2015   Sarah Sullivan       WESTLAW           WESTLAW Connect and Comm              $396.00
                                                    Time - 000000:00:00 WestChk and
                                                    Other Trans - 0000000055 Lines
12/15/2015   Sarah Sullivan       WESTLAW           WESTLAW Connect and Comm              $889.00
                                                    Time - 000000:00:00 WestChk and
                                                    Other Trans - 0000000097 Lines
12/15/2015   Jeramy Webb          WESTLAW           WESTLAW Connect and Comm              $148.00
                                                    Time - 000000:00:00 WestChk and
                                                    Other Trans - 0000000005 Lines
12/16/2015   Vincent Indelicato   WESTLAW           WESTLAW Connect and Comm               $24.00
                                                    Time - 000000:00:00 WestChk and
                                                    Other Trans - 0000000002 Lines
12/18/2015   Jonathan H. Lee      WESTLAW           WESTLAW Connect and Comm              $443.00
                                                    Time - 000000:00:00 WestChk and
                                                    Other Trans - 0000000020 Lines
12/21/2015   Jonathan H. Lee      WESTLAW           WESTLAW Connect and Comm              $198.00
                                                    Time - 000000:00:00 WestChk and
                                                    Other Trans - 0000000009 Lines
12/21/2015   Jeramy Webb          WESTLAW           WESTLAW Connect and Comm              $316.00
                                                    Time - 000000:00:00 WestChk and
                                                    Other Trans - 0000000013 Lines
12/22/2015   Jeramy Webb          WESTLAW           WESTLAW Connect and Comm               $99.00
                                                    Time - 000000:00:00 WestChk and
                                                    Other Trans - 0000000028 Lines
12/23/2015   Sarah Sullivan       WESTLAW           WESTLAW Connect and Comm              $198.00
                                                    Time - 000000:00:00 WestChk and
                                                    Other Trans - 0000000007 Lines
12/23/2015   Jeramy Webb          WESTLAW           WESTLAW Connect and Comm              $494.00
                                                    Time - 000000:00:00 WestChk and
                                                    Other Trans - 0000000034 Lines
12/28/2015   Jeramy Webb          WESTLAW           WESTLAW Connect and Comm              $267.00
                                                    Time - 000000:00:00 WestChk and
                                                    Other Trans - 0000000064 Lines
12/29/2015   Jeramy Webb          WESTLAW           WESTLAW Connect and Comm              $285.00
                                                    Time - 000000:00:00 WestChk and
                                                    Other Trans - 0000000052 Lines
                                                    Total for WESTLAW                   $6,701.00

Date         Timekeeper                 Type                 Description                 Amount
10/31/2015   Steve MA             LITIGATION        LITIGATION                            $11.40
                                  SUPPORT/DOCKETI   SUPPORT/DOCKETING - -
                                  NG                VENDOR: PACER SERVICE
                                                    CENTER
10/31/2015   Maja Zerjal          LITIGATION        LITIGATION                              $3.80
                                  SUPPORT/DOCKETI   SUPPORT/DOCKETING - -
                                  NG                VENDOR: PACER SERVICE
                                                    CENTER
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Date         Timekeeper               Type                    Description          Amount
10/31/2015   David C. Cooper    LITIGATION        LITIGATION                       $102.80
                                SUPPORT/DOCKETI   SUPPORT/DOCKETING - -
                                NG                VENDOR: PACER SERVICE
                                                  CENTER
10/31/2015   Magali Giddens     LITIGATION        LITIGATION                         $21.20
                                SUPPORT/DOCKETI   SUPPORT/DOCKETING - -
                                NG                VENDOR: PACER SERVICE
                                                  CENTER
11/30/2015   Steve MA           LITIGATION        LITIGATION                          $0.60
                                SUPPORT/DOCKETI   SUPPORT/DOCKETING - -
                                NG                VENDOR: PACER SERVICE
                                                  CENTER
11/30/2015   Maja Zerjal        LITIGATION        LITIGATION                          $1.20
                                SUPPORT/DOCKETI   SUPPORT/DOCKETING - -
                                NG                VENDOR: PACER SERVICE
                                                  CENTER
11/30/2015   Magali Giddens     LITIGATION        LITIGATION                         $40.40
                                SUPPORT/DOCKETI   SUPPORT/DOCKETING - -
                                NG                VENDOR: PACER SERVICE
                                                  CENTER
12/31/2015   Evelyn Rodriguez   LITIGATION        LITIGATION                         $21.70
                                SUPPORT/DOCKETI   SUPPORT/DOCKETING - -
                                NG                VENDOR: PACER SERVICE
                                                  CENTER
12/31/2015   Steve MA           LITIGATION        LITIGATION                          $0.10
                                SUPPORT/DOCKETI   SUPPORT/DOCKETING - -
                                NG                VENDOR: PACER SERVICE
                                                  CENTER
12/31/2015   Magali Giddens     LITIGATION        LITIGATION                         $44.70
                                SUPPORT/DOCKETI   SUPPORT/DOCKETING - -
                                NG                VENDOR: PACER SERVICE
                                                  CENTER
                                                  Total for LITIGATION
                                                  SUPPORT/DOCKETING                 $247.90

Date         Timekeeper               Type                    Description          Amount
11/24/2015   Magali Giddens     TRANSCRIPTS &     TRANSCRIPTS & DEPOSITIONS -       $63.00
                                DEPOSITIONS       - VENDOR: AMERICAN
                                                  EXPRESS 11/24/15 - JACKLEEN
                                                  DEFINI - TRANSCRIPTION
                                                  SERVICES
12/17/2015   Natasha Petrov     TRANSCRIPTS &     TRANSCRIPTS & DEPOSITIONS -        $27.00
                                DEPOSITIONS       - VENDOR: AMERICAN
                                                  EXPRESS 12/17/15 - JACKLEEN
                                                  DEFINI - TRANSCRIPTION
                                                  SERVICES
                                                  Total for TRANSCRIPTS &
                                                  DEPOSITIONS                        $90.00
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Date         Timekeeper                Type                   Description                   Amount
11/18/2015   Philip M. Abelson   TAXICAB/CAR SVC. TAXICAB/CAR SVC. Taxi XYZ                  $56.81
                                                  Invoice:1579959Voucher:9570616
                                                  From:40 E 89 ST To:LGA At:06:20
                                                  Passenger:ABELSON PHILIP M.
12/16/2015   Philip M. Abelson   TAXICAB/CAR SVC. TAXICAB/CAR SVC. Taxi XYZ                   $56.81
                                                  Invoice:1582331Voucher:9161589
                                                  From:40 E 89 ST To:LGA At:06:17
                                                  Passenger:ABELSON PHILIP M.
                                                  Total for TAXICAB/CAR SVC.                 $113.62

Date         Timekeeper                 Type                    Description                 Amount
12/16/2015   Philip M. Abelson   TAXI, CARFARE,     TAXI, CARFARE, MILEAGE AND              $137.21
                                 MILEAGE AND        PARKING - - VENDOR:
                                 PARKING            ABELSON, PHILIP M. 12/16/15 -
                                                    CABS (HEARING)
                                                    Total for TAXI, CARFARE,
                                                    MILEAGE AND PARKING                      $137.21

Date         Timekeeper                 Type                Description                     Amount
12/08/2015   Maja Zerjal         FOOD               FOOD SERVICE/CONF. DINING               $125.21
                                 SERVICE/CONF.
                                 DINING
12/08/2015   Maja Zerjal         FOOD               FOOD SERVICE/CONF. DINING                 $65.33
                                 SERVICE/CONF.
                                 DINING
12/08/2015   Maja Zerjal         FOOD               FOOD SERVICE/CONF. DINING                 $21.78
                                 SERVICE/CONF.
                                 DINING
                                                    Total for FOOD SERVICE/CONF.
                                                    DINING                                   $212.32

Date         Timekeeper                Type                     Description                 Amount
11/02/2015   Scott A. Eggers     LONG DISTANCE      LONG DISTANCE TELEPHONE                  $29.61
                                 TELEPHONE          Inv Num: 1743155857 Inv Date:
                                                    11/30/2015 Account Name:
                                                    Proskauer Rose Account No: 162216
                                                    Name: SCOTT EGGERS Emp Id:
                                                    109 On: 11/2/2015 15:23 Minutes:
                                                    1380 Conf Chgs: Tax: 1.39
11/06/2015   Steve MA            LONG DISTANCE      LONG DISTANCE TELEPHONE                   $25.95
                                 TELEPHONE          Inv Num: 1743155857 Inv Date:
                                                    11/30/2015 Account Name:
                                                    Proskauer Rose Account No: 162216
                                                    Name: Steve Ma Emp Id: #N/A On:
                                                    11/6/2015 11:52 Minutes: 1215 Conf
                                                    Chgs: Tax: 1.12
11/09/2015   Scott A. Eggers     LONG DISTANCE      LONG DISTANCE TELEPHONE                    $7.49
                                 TELEPHONE          Inv Num: 1743155857 Inv Date:
                                                    11/30/2015 Account Name:
                                                    Proskauer Rose Account No: 162216
                                                    Name: SCOTT EGGERS Emp Id:
                                                    109 On: 11/9/2015 10:54 Minutes:
                                                    349 Conf Chgs: Tax: 0.34
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Date         Timekeeper              Type                       Description               Amount
11/13/2015   Steve MA          LONG DISTANCE       LONG DISTANCE TELEPHONE                 $25.64
                               TELEPHONE           Inv Num: 1743155857 Inv Date:
                                                   11/30/2015 Account Name:
                                                   Proskauer Rose Account No: 162216
                                                   Name: Steve Ma Emp Id: #N/A On:
                                                   11/13/2015 11:52 Minutes: 1189
                                                   Conf Chgs: Tax: 1.18
11/17/2015   Steve MA          LONG DISTANCE       LONG DISTANCE TELEPHONE                  $38.35
                               TELEPHONE           Inv Num: 1743155857 Inv Date:
                                                   11/30/2015 Account Name:
                                                   Proskauer Rose Account No: 162216
                                                   Name: Steve Ma Emp Id: #N/A On:
                                                   11/17/2015 11:54 Minutes: 1787
                                                   Conf Chgs: Tax: 1.7
12/04/2015   Magali Giddens    LONG DISTANCE       LONG DISTANCE TELEPHONE                   $0.35
                               TELEPHONE           From x3036 To: 3107767386
                                                   (SNMN MRVS,CA) At: 1950
                                                   Duration: 0.8Minutes
12/07/2015   Magali Giddens    LONG DISTANCE       LONG DISTANCE TELEPHONE                   $0.35
                               TELEPHONE           From x3036 To: 3107767386
                                                   (SNMN MRVS,CA) At: 2159
                                                   Duration: 0.8Minutes
                                                   Total for LONG DISTANCE
                                                   TELEPHONE                               $127.74

Date         Timekeeper              Type                  Description                    Amount
12/01/2015   Martin J.         MESSENGER/DELIV MESSENGER/DELIVERY Delivery                 $16.92
             Bienenstock       ERY             Craig A. Barbarosh KATTEN
                                               MUCHIN ROSENMAN LLP 57 5
                                               Madison Avenue New York NY,
                                               Tracking #: 1Z7R22 9F2592221022,
                                               Shipped on 120115, Invoice #: 0000
                                               007R229F495
12/01/2015   Martin J.         MESSENGER/DELIV MESSENGER/DELIVERY Delivery                  $11.70
             Bienenstock       ERY             Peter A. Siddiqui KATTEN
                                               MUCHIN ROSENMAN LLP 525
                                               West Monroe Street Chicago IL,
                                               Tracking #: 1Z7R 229F2595973027,
                                               Shipped on 120115, Invoice #: 00
                                               00007R229F495
12/01/2015   Martin J.         MESSENGER/DELIV MESSENGER/DELIVERY Delivery                   $1.65
             Bienenstock       ERY             Peter A. Siddiqui KATTEN
                                               MUCHIN ROSENMAN LLP 525
                                               West Monroe Street Chicago IL,
                                               Tracking #: 1Z7R 229F2595973027,
                                               Shipped on 120115, Invoice #: 00
                                               00007R229F495
                                               Total for
                                               MESSENGER/DELIVERY                           $30.27
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Date         Timekeeper                Type                      Description              Amount
12/16/2015   Philip M. Abelson   OUT OF TOWN         OUT OF TOWN MEALS - -                 $12.99
                                 MEALS               VENDOR: ABELSON, PHILIP M.
                                                     12/16/15 - BREAKFAST
                                                     (HEARING)
                                                     Total for OUT OF TOWN MEALS            $12.99

Date         Timekeeper                Type                      Description              Amount
12/16/2015   Philip M. Abelson   AIRPLANE            AIRPLANE - - VENDOR:                 $491.10
                                                     ABELSON, PHILIP M. 12/16/15 -
                                                     AIRFARE TO/FROM CHICAGO,
                                                     IL (HEARING)
                                                     Total for AIRPLANE                    $491.10

Date         Timekeeper                Type                       Description             Amount
11/30/2015   Judy G. Liu         PRACTICE            PRACTICE SUPPORT VENDORS -          $5,547.85
                                 SUPPORT             - VENDOR: XACT DATA
                                 VENDORS             DISCOVERY NOVEMBER 2015
                                                     DATA HOSTING
12/31/2015   Judy G. Liu         PRACTICE            PRACTICE SUPPORT VENDORS -          $6,174.45
                                 SUPPORT             - VENDOR: XACT DATA
                                 VENDORS             DISCOVERY XACT DATA
                                                     DISCOVERY - ACCT:
                                                     18PROSKAUE - BILL DATE:
                                                     12/31/15 - INV: 23-49904 - DATA
                                                     HOSTING (DEC 2015)
                                                     Total for PRACTICE SUPPORT
                                                     VENDORS                            $11,722.30


Charges and Disbursements Summary

Type of Disbursements                                                                     Amount
REPRODUCTION                                                                                711.70
LEXIS                                                                                    10,013.75
WESTLAW                                                                                   6,701.00
LITIGATION SUPPORT/DOCKETING                                                                247.90
TRANSCRIPTS & DEPOSITIONS                                                                    90.00
TAXICAB/CAR SVC.                                                                            113.62
TAXI, CARFARE, MILEAGE AND PARKING                                                          137.21
FOOD SERVICE/CONF. DINING                                                                   212.32
LONG DISTANCE TELEPHONE                                                                     127.74
MESSENGER/DELIVERY                                                                           30.27
OUT OF TOWN MEALS                                                                            12.99
AIRPLANE                                                                                    491.10
PRACTICE SUPPORT VENDORS                                                                 11,722.30
                               Total Expenses                                           $30,611.90

                                      Total Amount for this Matter                      $30,611.90
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                               UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

                                                                )
In re:                                                               Chapter 11
                                                                )
CAESARS ENTERTAINMENT OPERATING                                 )    Case No. 15-01145 (ABG)
COMPANY, INC., et al.,1                                         )
                                                                )
                  Debtors.                                      )    (Jointly Administered)
                                                                )

               COVER SHEET TO TWELFTH MONTHLY FEE APPLICATION
             OF PROSKAUER ROSE LLP FOR COMPENSATION FOR SERVICES
            RENDERED AND REIMBURSEMENT OF EXPENSES AS ATTORNEYS
              TO STATUTORY UNSECURED CLAIMHOLDERS’ COMMITTEE
             FOR THE PERIOD JANUARY 1, 2016 THROUGH JANUARY 31, 2016

Name of Applicant:                                  Proskauer Rose LLP (“Proskauer”)

Authorized to Provide
Professional Services to:                           The Statutory Unsecured Claimholders’ Committee

Date of Retention:                                  Order entered March 26, 2015 [ECF No. 998]
                                                    Nunc Pro Tunc to February 9, 2015

Period for which compensation
and reimbursement is sought:                        January 1, 2016 through January 31, 2016

Amount of compensation sought
as actual, reasonable and necessary:                $1,540,755.00

Amount of expense reimbursement sought
as actual, reasonable and necessary:   $63,040.40

This is a: X monthly __ interim __ final application.

This is Proskauer’s twelfth monthly fee application in this case.




1
    The last four digits of Caesars Entertainment Operating Company, Inc.’s tax identification number are 1623. A
    complete list of the Debtors and the last four digits of their federal tax identification numbers is available at
    https://cases.primeclerk.com/CEOC.




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March 1, 2016

Committee Chairpersons:                             Counsel for the First Lien Lender Group:
Wilmington Trust, NA                                Stroock & Stroock & Lavan LLP
Rodney Square North                                 180 Maiden Lane
50 South Sixth Street, Suite 1290                   New York, New York 10038
Minneapolis, MN 55402                               Attn: Kristopher M. Hansen, Esq.
Attn: Peter F. Finkel                                     Jonathan D. Canfield, Esq.

Hilton Worldwide, Inc.                              Counsel for the Indenture Trustee under the First
7930 Jones Branch Drive, 6th Floor                  Lien Notes Indenture:
McLean, Virginia 22102                              Katten Muchin Rosenman LLP
Attn: Charles Corbin                                575 Madison Avenue
                                                    New York, New York 10022
The Debtors:                                        Attn: Craig A. Barbarosh, Esq. and
Caesars Entertainment Operating Company, Inc.             Karen B. Dine, Esq.
151 North Joliet St.
Joliet, IL 60432                                    Counsel for the Ad Hoc Group of Holders of
Attn: Timothy J. Lambert                            10.75% Guaranteed Notes and 10.75% Notes
                                                    Trustee:
Caesars Entertainment Operating Company, Inc.       White & Case LLP
One Caesars Palace Drive                            Southeast Financial Center, Suite 4900
Las Vegas, Nevada 89109                             200 South Biscayne Blvd., Miami, Florida 33131
Attn: Mary E. Higgins                               Attn: Thomas E. Lauria, Esq.

Counsel for the Debtors:                            Counsel for the Ad Hoc Group of 5.75% and
Kirkland & Ellis LLP                                6.50% Notes:
300 North LaSalle                                   Drinker Biddle & Reath LLP
Chicago, Illinois 60654                             1177 Avenue of the Americas, 41st Floor
Attn: David R. Seligman, P.C.                       New York, New York 10036
      Ryan Preston Dahl, Esq.                       Attn: James H. Millar, Esq.
                                                          Kristin K. Going, Esq.
Kirkland & Ellis LLP
601 Lexington Avenue                                The U.S. Trustee:
New York, New York 10022                            219 S. Dearborn Street, Suite 873
Attn: Nicole L. Greenblatt, Esq.                    Chicago, Illinois 60604
      Christopher T. Greco, Esq.                    Attn: Denise Ann DeLaurent

Counsel for the Second Lien Committee:
Jones Day
555 South Flower Street, Fiftieth Floor
Los Angeles, California, 90071
Attn: Bruce Bennett, Esq.
      Sidney Levinson, Esq.

Counsel for the First Lien Note:
Kramer Levin Naftalis & Frankel LLP
1177 Avenue of the Americas
New York, New York 10036
Attn: Kenneth H. Eckstein, Esq.
      Daniel M. Eggermann, Esq.




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       Summary of Legal Fees for the Period January 1, 2016 through January 31, 2016



Task                                                  Total Billed             Total Fees
                      Matter Description
Code                                                    Hours                  Requested

001     Asset Analysis and Recovery                          6.20                      $5,017.00

002     Asset Disposition                                    1.80                      $1,525.00

        Assignment and Rejection of Leases and
003                                                          9.10                      $7,294.00
        Contracts

004     Avoidance Action Analysis                        1,065.00                $709,382.50

006     Business Operations                                  4.50                      $4,227.50

007     Case Administration                                23.30                   $10,611.00

008     Claims Administration and Objections              244.30                 $201,991.00

009     Committee Governance                                 7.70                      $5,729.00

010     Employee Benefits and Pensions                     52.90                   $34,013.00

011     Employment and Fee Applications                    79.10                   $47,794.50

013     Financing and Cash Collateral                     164.90                 $135,987.50

014     Litigation                                         10.70                   $10,061.50

        Meetings and Communication with
015                                                        47.70                   $41,820.00
        Committee

016     Non-Working Travel                                 18.80                   $14,867.50

017     Plan and Disclosure Statement                      74.60                   $66,239.50

018     Real Estate                                        29.30                   $12,895.50

021     Tax                                                13.00                   $11,795.00

023     Case Strategy                                      25.30                   $21,300.00

024     Pleading and Docket Review                         30.60                   $15,193.00

        Communication with Financial Advisor and
025                                                        65.20                   $56,884.00
        Investment Banker

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Task                                             Total Billed   Total Fees
                   Matter Description
Code                                               Hours        Requested

026     Communication with Debtor                       4.30        $4,292.50

028     Legal Research and Analysis                   26.60        $13,669.00

029     Preparation of Pleadings                        4.90        $3,806.00

030     Hearings and Court Matters                    16.90        $13,131.50

033     Communication with Examiner                  102.00        $90,798.00

        Communication with Second Lien
034                                                      .40            $430.00
        Committee
                                         Total     2,129.10     $1,540,755.00




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                    Summary of Hours Billed by Professionals and Paraprofessionals for the
                                Period January 1, 2016 through January 31, 2016

                                                                    Hourly         Total
                                                                                                 Total
     Professional           Position/Title      Department          Billing        Billed
                                                                                              Compensation
                                                                     Rate          Hours
Charles E. Dropkin          Partner            Corporate            $1,350.00          1.50      $2,025.00

Colleen M. Hart             Partner            Tax                  $1,000.00         12.70     $12,700.00

Judy G. Z. Liu              Partner            BSGR & B             $1,250.00         39.40     $49,250.00


Mark K. Thomas              Partner            BSGR & B             $1,200.00         15.40     $18,480.00


Martin J. Bienenstock       Partner            BSGR & B             $1,295.00         34.50     $44,677.50


Michael T. Mervis           Partner            Litigation             $975.00          1.40      $1,365.00


Paul V. Possinger           Partner            BSGR & B             $1,025.00        104.10    $106,702.50


Perry A. Cacace             Partner            Real Estate          $1,250.00          2.40      $3,000.00


Philip M. Abelson           Partner            BSGR & B             $1,075.00        129.70    $139,427.50


Richard M. Corn             Partner            Tax                    $925.00          6.00      $5,550.00


Steven O. Weise             Partner            Corporate            $1,475.00          7.50     $11,062.50


Mark E. Davidson            Senior Counsel     Litigation           $1,000.00        192.30    $192,300.00

Scott A. Eggers             Senior Counsel     Litigation             $925.00         22.10     $20,442.50


Andrew S. Wellin            Associate          Litigation             $735.00        106.20     $78,057.00


Ashley B. Chay              Associate          Corporate              $495.00          2.10      $1,039.50


Bali Kumar                  Associate          Tax                    $610.00          6.10      $3,721.00


Chris Theodoridis           Associate          BSGR & B               $735.00         36.50     $26,827.50



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                                                          Hourly     Total
                                                                                   Total
     Professional       Position/Title    Department      Billing    Billed
                                                                                Compensation
                                                           Rate      Hours

Daniel J. Werb          Associate        Litigation        $495.00     37.80      $18,711.00

Helena Zheng            Associate        Litigation        $495.00     81.10      $40,144.50

Jacki L. Anderson       Associate        Litigation        $610.00    114.60      $69,906.00


Jamaal Myers            Associate        Corporate         $610.00     30.60      $18,666.00


Jason P. Colangelo      Associate        Litigation        $610.00     49.80      $30,378.00


Jeremy Webb             Associate        Corporate         $445.00     83.30      $37,068.50


Jonah L. Price          Associate        Corporate         $850.00      6.40       $5,440.00


Jonathan H. Lee         Associate        Corporate         $445.00     20.80       $9,256.00

Maja Zerjal             Associate        BSGR & B          $735.00    156.40     $114,954.00


Malcolm S. Hochenberg   Associate        Tax               $825.00      7.10        $5,857.50


Marissa D. Tillem       Associate        Litigation        $735.00      2.00       $1,470.00


Milton E. Otto          Associate        Litigation        $770.00     29.40      $22,638.00

Rebecca A. Lesnik       Associate        Real Estate       $695.00      4.90       $3,405.50

Sarah Sullivan          Associate        Litigation        $495.00    123.60      $61,182.00

Sean Heneghan           Associate        Real Estate       $695.00      2.30       $1,598.50

Steve Ma                Associate        BSGR & B          $610.00    125.00      $76,250.00


Tiffany Quach           Associate        Corporate         $445.00      5.50       $2,447.50


Vincent Indelicato      Associate        BSGR & B          $825.00    224.60     $185,295.00

                                                             Total   1,825.10   $1,421,295.50




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                                                           Hourly     Total
                                                                                     Total
  Paraprofessional     Position/Title       Department     Billing    Billed
                                                                                  Compensation
                                                            Rate      Hours
                       Legal Assistant   Real Estate
Deborah J. Yeoh-Wang                                        $195.00      15.30          $2,983.50


Evelyn Rodriguez       Legal Assistant   BSGR & B           $325.00       7.90          $2,567.50


Lisa P. Orr            Legal Assistant   Litigation         $350.00      21.50          $7,525.00


Magali Giddens         Legal Assistant   BSGR & B          $375.00      66.90          $25,087.50


Natasha B. Petrov      Legal Assistant   Corporate         $300.00       6.70           $2,010.00


Nicholas Williams      Legal Assistant   Real Estate       $230.00       3.00            $690.00


Susan Schomburg        Legal Assistant   Litigation        $250.00      11.00           $2,750.00

                                                             Total       132.30        $43,613.50



                                                           Hourly     Total
                                                                                     Total
     Law Clerk         Position/Title       Department     Billing    Billed
                                                                                  Compensation
                                                            Rate      Hours

Brian Hooven           Law Clerk         Litigation         $445.00       14.40         $6,408.00



Daniel Desatnik        Law Clerk         BSGR & B           $445.00       37.20        $16,554.00



Patrick L. Rieder      Law Clerk         Litigation         $445.00       60.90        $27,100.50



Russell Kostelak       Law Clerk         Litigation         $445.00       26.80        $11,926.00



Yasmin Ermani          Law Clerk         Litigation         $445.00       26.50        $11,792.50



                                                             Total       165.80        $73,781.00



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                                                       Hourly        Total
                                                                                        Total
  Practice Support   Position/Title       Department   Billing       Billed
                                                                                     Compensation
                                                        Rate         Hours
                     EDiscovery        Professional
Joshua M. Kay                                           $350.00              5.90            $2,065.00
                     Project Manager   Resources


                                                          Total              5.90          $2,065.00



TOTALS FOR PROFESSIONALS AND PARAPROFESSIONALS:                   Hours             Fees
                                                                  2,129.10          $1,540,755.00




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                               SUMMARY OF REIMBURSABLE EXPENSES FOR THE
                              PERIOD JANUARY 1, 2016 THROUGH JANUARY 31, 2016

    EXPENSE CATEGORY                                                                                  AMOUNTS
    Reproduction
     In-House                                                                                              $1,416.30
     Outside                                                                                                 $507.06
    Long Distance Telephone                                                                                  $252.74
    Online Research
        Lexis                                                                                             $11,417.00
        Westlaw                                                                                            $8,449.00
    Local Travel (airport)
        Taxi Cab/Car Service (airport)                                                                       $360.35
    Out-of-Town Travel
        Airplane                                                                                           $1,651.02
        Lodging                                                                                              $173.44
        Out of Town Meals                                                                                    $156.62
        Out of Town Transportation                                                                           $171.15
    Meals
        Food Services and Conference Dining                                                                     $62.60
    Transcription Services
        Transcripts & Depositions                                                                            $371.61
    Corporate Services                                                                                       $267.00
    Litigation Support
        Litigation Support/Docketing (Data Base Services)                                                    $145.80
        Litigation Support Vendors (Practice Support Vendors)                                             $37,638.71
    Total                                                                                                 $63,040.402




2
    This total reflects a reduction in the amount of $55.63 in connection with local meals charges.
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UNSECURED CREDITORS' COMMITTEE                               February 29, 2016
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Client/Matter Recap:

Matter Name                                        Fees Billed     Billed Hours
ASSET ANALYSIS AND RECOVERY                          5,017.00              6.20
ASSET DISPOSITION                                    1,525.00              1.80
ASSIGNMENT AND REJECTION OF LEASES AND               7,294.00              9.10
CONTRACTS
AVOIDANCE ACTION ANALYSIS                          709,382.50          1065.00
BUSINESS OPERATIONS                                  4,227.50             4.50
CASE ADMINISTRATION                                 10,611.00            23.30
CLAIMS ADMINISTRATION AND OBJECTIONS               201,991.00           244.30
COMMITTEE GOVERNANCE                                 5,729.00             7.70
EMPLOYEE BENEFITS AND PENSIONS                      34,013.00            52.90
EMPLOYMENT AND FEE APPLICATIONS                     47,794.50            79.10
FINANCING AND CASH COLLATERAL                      135,987.50           164.90
LITIGATION                                          10,061.50            10.70
MEETINGS AND COMMUNICATION WITH COMMITTEE           41,820.00            47.70
NON-WORKING TRAVEL                                  14,867.50            18.80
PLAN AND DISCLOSURE STATEMENT                       66,239.50            74.60
REAL ESTATE                                         12,895.50            29.30
TAX                                                 11,795.00            13.00
CASE STRATEGY                                       21,300.00            25.30
PLEADING AND DOCKET REVIEW                          15,193.00            30.60
COMMUNICATION WITH FINANCIAL ADVISOR AND            56,884.00            65.20
INVESTMENT BANKER
COMMUNICATION WITH DEBTOR                             4,292.50             4.30
LEGAL RESEARCH AND ANALYSIS                          13,669.00            26.60
PREPARATION OF PLEADINGS                              3,806.00             4.90
HEARINGS AND COURT MATTERS                           13,131.50            16.90
COMMUNICATION WITH EXAMINER                          90,798.00           102.00
COMMUNICATION WITH SECOND LIEN COMMITTEE                430.00             0.40
DISBURSEMENTS                                             0.00             0.00
Total this Invoice                              $ 1,540,755.00         2,129.10
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UNSECURED CREDITORS' COMMITTEE                               February 29, 2016
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Attorney                                           Hours       Rate      Amount

CHARLES E. DROPKIN                                   1.50   1,350.00     2,025.00
COLLEEN M. HART                                     12.70   1,000.00    12,700.00
JUDY G. LIU                                         39.40   1,250.00    49,250.00
MARK K. THOMAS                                      15.40   1,200.00    18,480.00
MARTIN J. BIENENSTOCK                               34.50   1,295.00    44,677.50
MICHAEL T. MERVIS                                    1.40     975.00     1,365.00
PAUL POSSINGER                                     104.10   1,025.00   106,702.50
PERRY A. CACACE                                      2.40   1,250.00     3,000.00
PHILIP M. ABELSON                                  129.70   1,075.00   139,427.50
RICHARD M. CORN                                      6.00     925.00     5,550.00
STEVEN O. WEISE                                      7.50   1,475.00    11,062.50
       Total For Partner                           354.60              394,240.00

MARK E. DAVIDSON                                   192.30   1,000.00   192,300.00
SCOTT A. EGGERS                                     22.10     925.00    20,442.50
      Total For Senior Counsel                     214.40              212,742.50

ANDREW S. WELLIN                                   106.20    735.00     78,057.00
ASHLEY CHAY                                          2.10    495.00      1,039.50
BALI KUMAR                                           6.10    610.00      3,721.00
CHRIS THEODORIDIS                                   36.50    735.00     26,827.50
DANIEL J. WERB                                      37.80    495.00     18,711.00
HELENA ZHENG                                        81.10    495.00     40,144.50
JACKI L. ANDERSON                                  114.60    610.00     69,906.00
JAMAAL MYERS                                        30.60    610.00     18,666.00
JASON P. COLANGELO                                  49.80    610.00     30,378.00
JERAMY WEBB                                         83.30    445.00     37,068.50
JONAH L. PRICE                                       6.40    850.00      5,440.00
JONATHAN H. LEE                                     20.80    445.00      9,256.00
MAJA ZERJAL                                        156.40    735.00    114,954.00
MALCOLM S. HOCHENBERG                                7.10    825.00      5,857.50
MARISSA D. TILLEM                                    2.00    735.00      1,470.00
MILTON E. OTTO                                      29.40    770.00     22,638.00
REBECCA LESNIK                                       4.90    695.00      3,405.50
SARAH SULLIVAN                                     123.60    495.00     61,182.00
SEAN HENEGHAN                                        2.30    695.00      1,598.50
STEVE MA                                           125.00    610.00     76,250.00
TIFFANY QUACH                                        5.50    445.00      2,447.50
VINCENT INDELICATO                                 224.60    825.00    185,295.00
       Total For Associate                       1,256.10              814,313.00

DEBORAH J. YEOH-WANG                                15.30    195.00      2,983.50
EVELYN RODRIGUEZ                                     7.90    325.00      2,567.50
LISA P. ORR                                         21.50    350.00      7,525.00
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MAGALI GIDDENS                                      66.90   375.00        25,087.50
NATASHA PETROV                                       6.70   300.00         2,010.00
NICHOLAS WILLIAMS                                    3.00   230.00           690.00
SUSAN SCHOMBURG                                     11.00   250.00         2,750.00
      Total For Legal Assistant                    132.30                 43,613.50

BRIAN HOOVEN                                        14.40   445.00         6,408.00
DANIEL DESATNIK                                     37.20   445.00        16,554.00
PATRICK L. RIEDER                                   60.90   445.00        27,100.50
RUSSELL KOSTELAK                                    26.80   445.00        11,926.00
YASMIN EMRANI                                       26.50   445.00        11,792.50
      Total For Law Clerk                          165.80                 73,781.00

JOSHUA M. KAY                                        5.90   350.00         2,065.00
      Total For Prac. Support                        5.90                  2,065.00


Professional Fees                                                    $ 1,540,755.00
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ASSET ANALYSIS AND RECOVERY
Client/Matter No. 71844.0001


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                                  Hours        Amount

01/05/16     JLP        Work on timeline of credit facility and summary of use of      4.00       3,400.00
                        proceeds provisions.
01/21/16     MZ         Review assets of debtor subsidiary as of petition date.        2.20       1,617.00


Attorney                                                                Hours        Rate         Amount

JONAH L. PRICE                                                            4.00      850.00        3,400.00
MAJA ZERJAL                                                               2.20      735.00        1,617.00
      Total For Associate                                                 6.20                    5,017.00


Professional Fees                                                         6.20                $   5,017.00

Total this Matter                                                                            $    5,017.00
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UNSECURED CREDITORS' COMMITTEE                               February 29, 2016
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ASSET DISPOSITION
Client/Matter No. 71844.0002


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                                Hours        Amount

01/05/16     VI         Analyze materials provided by Kirkland regarding CEOC        0.30        247.50
                        aircraft purchase.
01/11/16     PP         Review de minimis sale notice.                               0.20        205.00
01/11/16     VI         Analyze proposed sale of Atlantic City billboard.            0.50        412.50
01/13/16     VI         Analyze Tunica sale issue.                                   0.60        495.00
01/29/16     VI         Review de minimis asset sale report.                         0.20        165.00


Attorney                                                             Hours         Rate         Amount

PAUL POSSINGER                                                         0.20     1,025.00         205.00
      Total For Partner                                                0.20                      205.00

VINCENT INDELICATO                                                     1.60      825.00         1,320.00
      Total For Associate                                              1.60                     1,320.00


Professional Fees                                                      1.80                 $   1,525.00

Total this Matter                                                                          $    1,525.00
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UNSECURED CREDITORS' COMMITTEE                               February 29, 2016
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ASSIGNMENT AND REJECTION OF LEASES AND CONTRACTS
Client/Matter No. 71844.0003


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                                        Hours        Amount

01/13/16     VI         Analyze Gordon Ramsay contract issues.                               1.10         907.50
01/14/16     PMA        Analyze motion regarding Ramsay agreements.                          0.30         322.50
01/22/16     MZ         Review contracts regarding transfer of equity out of CEOC            5.50       4,042.50
                        (3.5); perform research regarding same (2.0).
01/26/16     PP         Review proposed revisions to Simon Group lease from Alix.            0.40        410.00
01/27/16     PP         Review Debtors' analysis on lease rejection (.3); brief              0.50        512.50
                        discussion with V. Indelicato regarding same (.2).
01/27/16     SM         Review materials for call with Debtors' advisors and                 0.40        244.00
                        Committee advisors regarding lease restriction amendments.
01/27/16     VI         Analyze proposed Levee Board lease rejection motion (.4);            0.60        495.00
                        confer with P. Possinger regarding Debtors' analysis of lease
                        rejection (.2).
01/29/16     MKT        Review report regarding lease issues.                                0.30        360.00


Attorney                                                                 Hours             Rate         Amount

MARK K. THOMAS                                                             0.30         1,200.00          360.00
PAUL POSSINGER                                                             0.90         1,025.00          922.50
PHILIP M. ABELSON                                                          0.30         1,075.00          322.50
       Total For Partner                                                   1.50                         1,605.00

MAJA ZERJAL                                                                5.50          735.00         4,042.50
STEVE MA                                                                   0.40          610.00           244.00
VINCENT INDELICATO                                                         1.70          825.00         1,402.50
      Total For Associate                                                  7.60                         5,689.00


Professional Fees                                                          9.10                     $   7,294.00

Total this Matter                                                                                  $    7,294.00
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AVOIDANCE ACTION ANALYSIS
Client/Matter No. 71844.0004


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                    Hours   Amount

01/03/16    PMA         Analyze revised memo regarding advoidance actions issue.        0.50     537.50
01/03/16    JW          Perform additional research regarding avoidance claims.         0.40     178.00
01/04/16    PP          Review precedent cases (.7); analyze trust strategy (.8);       3.60   3,690.00
                        telephone conference with P. Abelson, J. Liu and J. Webb
                        regarding avoidance action issues (.4); telephone conference
                        with Pryor Cashman regarding same (.4); further review of
                        avoidance action issues memo and research (1.3).
01/04/16    JGL         Conference call with P. Abelson, P. Possinger and J. Webb       0.70    875.00
                        regarding avoidance action issues (partial) (.3); conference
                        call with P. Abelson, P. Possinger and R. Levy regarding
                        same (.4).
01/04/16    PMA         Confer with J. Liu, P. Possinger, and J. Webb regarding         0.90    967.50
                        avoidance action issues (.4); teleconference with R. Levy
                        and Proskauer team regarding avoidance action issues (.4);
                        confer with V. Indelicato regarding avoidance actions (.1).
01/04/16    VI          Analyze transaction memos regarding controversial               1.80   1,485.00
                        transactions (1.7); confer with P. Abelson regarding
                        avoidance actions (.1).
01/04/16    SS          Revise chart relating to avoidance actions claims (1.8);        4.10   2,029.50
                        Review documents produced regarding controversial
                        transactions (2.3).
01/04/16    DJW         Review of documents not yet reviewed with selected terms        8.00   3,960.00
                        from Search Term Report.
01/04/16    JW          Supplemental research regarding avoidance of claims (4.1);      5.60   2,492.00
                        revise memo regarding same (1.5).
01/04/16    BH          Review documents produced in connection with                    1.20    534.00
                        controversial transactions.
01/05/16    SAE         Telephone conference with M. Tillem regarding                   1.40   1,295.00
                        prejudgment interest (.2); conference with S. Sullivan
                        regarding prejudgment interest (.3); conference with S.
                        Sullivan regarding interview digests (.3); telephone
                        conferences, email with J. Colangelo regarding CGP issue
                        (.2); email FTI regarding same (.1); emails with litigation
                        team regarding standing motion (.3).
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Date        Attorney    Description                                                    Hours   Amount

01/05/16    MED         Review and respond to V. Indelicato email regarding post        5.80   5,800.00
                        LBO (.1); call with V. Indelicato regarding research on post
                        LBO (.2); call with M. Tillem regarding same (.2); search
                        for and review FTI work on post LBO (.6); emails with M.
                        Tillem regarding FTI work on post LBO (.5); skim R.
                        Pinsky interview transcript (.3); review summaries of T.
                        Donovan, S. Wiegand, and B. Finnegan interviews (.9);
                        review summaries of J. Payne and T. Shaukat interviews
                        (.5); review FTI email and attachments regarding CIE share
                        value (.5); emails with C. Theodoridis regarding standing
                        motion and meeting to discuss status of motion (.2); review
                        draft controversial transactions complaint (.5); attend
                        meeting with S. Eggers, A. Wellin and bankruptcy team to
                        discuss standing motion (1.2); follow up discussion with S.
                        Eggers and A. Wellin (.2); review precedent motion
                        regarding avoidance actions (.5).
01/05/16    PP          Review trust policy issues regarding avoidance action issues    4.60   4,715.00
                        (.7); review updated research memo regarding same (.8);
                        review current version of standing motion (1.3); telephone
                        conference with litigation team regarding advancing
                        standing, complaint regarding controversial transactions
                        (1.2); analyze further avoidance action issues (.6).
01/05/16    JPC         Review feedback and documents from FTI related to               4.70   2,867.00
                        Caesars Growth Partners ("CGP") transaction (.9); perform
                        focused research for documents related to CGP (3.0);
                        summarize analysis for FTI and S. Eggers (.6); telephone
                        conference with S. Eggers regarding CGP issue (.2).
01/05/16    SM          Meet with Proskauer team to discuss status of standing          3.50   2,135.00
                        motion and complaint (controversial transactions) (1.2);
                        participate in post-meeting discussions with P. Abelson, V.
                        Indelicato, C. Theodoridis, and J. Liu (.1); research
                        regarding preparing Committee standing motion and
                        complaint (controversial transactions) (2.2).
01/05/16    JLA         Analyze documents produced to support claims of the             2.50   1,525.00
                        Committee.
01/05/16    CT          Confer internally regarding finalization of standing motion     1.30    955.50
                        regarding controversial transactions (1.2); follow-up
                        discussion with bankruptcy team (.1).
01/05/16    JGL         Discussion with V. Indelicato regarding meeting with            2.00   2,500.00
                        litigation team (.2); review emails from C. Theodoridis
                        regarding same (.1); review email correspondence from J.
                        Webb regarding avoidance action issues (.1); meeting with
                        litigation team regarding controversial transactions (1.2);
                        emails to S. Eggers and M. Davidson regarding follow-up
                        documents from meeting (.2); review emails regarding
                        interview digests (.2).
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Date        Attorney    Description                                                       Hours   Amount

01/05/16    PMA         Confer with V. Indelicato regarding avoidance actions (.3);        2.20   2,365.00
                        confer with S. Eggers regarding avoidance actions (.3);
                        confer with V. Indelicato and A. Wellin regarding avoidance
                        actions (.2); meeting with Proskauer team regarding
                        avoidance actions (1.2); follow-up to team meeting with J.
                        Liu, S. Ma, V. Indelicato, and C. Theodoridis regarding
                        avoidance actions (.1); review email correspondence from P.
                        Possinger and J. Webb regarding avoidance action issues
                        (.1).
01/05/16    VI          Meeting with P. Abelson, J. Liu, S. Ma, and C. Theodoridis         4.80   3,960.00
                        regarding avoidance actions (1.2); Meeting with J. Liu
                        regarding litigation meeting (.2); review latest draft standing
                        motion and complaint in advance of Proskauer team meeting
                        (1.5); confer with P. Abelson regarding avoidance actions
                        (.3); confer with P. Abelson regarding avoidance actions
                        (.2); analyze T. Donovan, S. Wiegand, and B. Finnegan
                        interview transcripts (1.2); call with M. Davidson regarding
                        research concerning post LBO (.2).
01/05/16    SS          Meeting with Proskauer bankruptcy and litigation teams to          5.00   2,475.00
                        discuss standing motion and controversial transactions
                        complaint (1.2); meeting with S. Eggers to discuss interview
                        digest (.3); compile information on transactions to be
                        challenged in complaint and standing motion (3.5).
01/05/16    HZ          Analyze the selected documents from key word searches in           4.00   1,980.00
                        response to the Examiner's request (3.5); identify important
                        documents (.5).
01/05/16    JW          Research relevant information (3.0) and revise memo (1.0)          4.00   1,780.00
                        regarding avoidance actions to incorporate P. Possinger
                        comments.
01/05/16    BH          Review documents produced in connection with                       1.20    534.00
                        controversial transactions.
01/06/16    SAE         Meeting with document reviewers regarding complaint,               1.50   1,387.50
                        standing motion preparation (1.2); telephone conference
                        with S. Sullivan regarding same (.1); meeting with M.
                        Davidson, A. Wellin, and M. Tillem regarding standing
                        motion (.2).
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Date        Attorney    Description                                                       Hours    Amount

01/06/16    MED         Review S. Eggers email and attachment regarding CEO               11.20   11,200.00
                        acquisition (.3); review S. Sullivan transaction listing with
                        related interview witnesses (.4); review draft complaint (.5);
                        emails to S. Sullivan regarding hot document issues (1.0);
                        emails with J. Liu regarding release of CEC guarantee (.4);
                        attend meeting with S. Eggers, A. Wellin, C. Theodoridis
                        and litigation team to discuss standing motion (1.2); follow
                        up discussion with S. Eggers, A. Wellin and M. Tillem (.2);
                        review Sharepoint materials regarding transactions (2.2);
                        review draft standing motion (.5); review J. Colangelo email
                        regarding CIE share analysis (.3); skim S. Oldoerp interview
                        transcript (.3); review S. Eggers email regarding expert
                        testimony in involuntary trial (.1); review Dr. Cornell's trial
                        testimony (1.1); search document database for new
                        document production (1.7); review documents retrieved
                        (1.0).
01/06/16    ASW         Participate in controversial transaction complaint meeting         1.70    1,249.50
                        (1.2); confer with S. Eggers, M. Davidson, and M. Tillem
                        regarding standing motion (.2); confer with P. Abelson
                        regarding avoidance actions (.3).
01/06/16    JMK         Analysis of hot documents from evidence review platform.           0.70      245.00
01/06/16    JPC         Participate in conference call with S. Eggers, M. Davidson,        4.30    2,623.00
                        and transaction review team to discuss case status and memo
                        assignment (1.2); perform focused research for documents
                        related to CGP (.8); review hot documents related to CIE
                        transactions (2.3).
01/06/16    JLA         Call with S. Eggers, M. Davidson, A. Wellin, M. Tillem, and        4.10    2,501.00
                        other document reviewers regarding claims (1.2); review
                        interview digests relating to the Total Rewards transactions
                        (2.9).
01/06/16    CT          Confer with litigation team regarding finalization of standing     9.20    6,762.00
                        motion regarding controversial transactions (1.2); review
                        files in e-room regarding B-7 refinancing (7.7); confer with
                        P. Abelson regarding avoidance actions (.3).
01/06/16    PMA         Confer with C. Theodoridis regarding avoidance actions (.3);       0.60     645.00
                        confer with A. Wellin regarding avoidance actions (.3).
01/06/16    LPO         Assemble and collate discovery materials (.5); retrieve and        1.00     350.00
                        upload discovery materials (.5).
01/06/16    SS          Meeting with document review team regarding standing               5.90    2,920.50
                        motion (1.2); research regarding claims (1.0); review
                        documents related to CGP transaction (2.7).
01/06/16    DJW         Review documents with selected terms from Search Term              6.80    3,366.00
                        Report.
01/06/16    HZ          Conference with S. Eggers, M. Davidson, A. Wellin, M.              1.00     495.00
                        Tillem and the team regarding complaint, update task list
                        (partial attendance).
01/06/16    YE          Review documents produced in connection with                       0.50     222.50
                        controversial transactions.
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Date        Attorney    Description                                                     Hours    Amount

01/06/16    PLR         Review documents produced in connection with                     2.00     890.00
                        controversial transactions.
01/07/16    SAE         Emails with litigation team regarding interview digests (.2);    0.60     555.00
                        emails with P. Abelson, M. Davidson and P. Possinger
                        regarding CEOC supplemental filing on motion to compel
                        (.2); review email from document reviewers regarding status
                        (.1).
01/07/16    MED         Review P. Possinger email regarding privilege log (.1);         10.20   10,200.00
                        emails with P. Possinger regarding same (.2); search
                        document database for documents regarding CMBS
                        restructuring (1.1); review documents retrieved (.8); begin
                        drafting introduction to standing motion (8.2).
01/07/16    PP          Review controversial transactions complaint and related          1.10    1,127.50
                        standing motion (.5); review precedent avoidance action
                        issues (.3); discuss same with P. Abelson (.3).
01/07/16    JMK         Coordinate analysis of hot documents from evidence review        1.40     490.00
                        platform (.8); coordinate processing of electronic evidence
                        into review platform (.6).
01/07/16    JPC         Analyze documents related to CIE transactions.                   4.40    2,684.00
01/07/16    JLA         Analyze hot documents regarding the Total Rewards                8.80    5,368.00
                        transactions (4.6); review interview digests and exhibits
                        regarding the CES transaction (4.2).
01/07/16    JGL         Discussion with P. Abelson regarding avoidance actions (.5);     0.80    1,000.00
                        review emails regarding avoidance actions from P.
                        Possinger, J. Webb and P. Abelson (.3).
01/07/16    PMA         Confer with S. Lieberman and V. Indelicato regarding             1.40    1,505.00
                        avoidance actions (.3); review email correspondence from J.
                        Webb and P. Possinger regarding avoidance actions (.1);
                        confer with P. Possinger regarding avoidance actions (.3);
                        confer with J. Liu regarding avoidance actions (.5).
01/07/16    LPO         Retrieve (.4) and collate (.6); discovery materials.             1.00      350.00
01/07/16    VI          Analyze M. Wlazlo interview transcript in advance of 1/8         3.20    2,640.00
                        Committee call (1.0); analyze potential preference issues
                        (.2); confer with P. Abelson and S. Lieberman regarding
                        avoidance actions (.3); analyze interview transcripts of L.
                        Clayton, D. Colvin, and M. Lee (1.5); multiple email
                        correspondences with A. Wellin regarding Examiner
                        database (.2).
01/07/16    SS          Review documents related to the CGP transaction.                 4.30    2,128.50
01/07/16    DJW         Review of documents with selected terms from Search Term         6.20    3,069.00
                        Report (4.8); assemble documents related to Four Properties
                        transaction (1.4).
01/07/16    HZ          Analyze hot documents to support controversial transactions      2.00     990.00
                        complaint.
01/07/16    JW          Additional revision of memo regarding avoidance of claims.       0.30      133.50
01/07/16    YE          Review documents produced in connection with                     2.70    1,201.50
                        controversial transactions.
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Date        Attorney    Description                                                     Hours   Amount

01/07/16    BH          Review documents produced in connection with                     1.50    667.50
                        controversial transactions.
01/08/16    SAE         Emails with litigation team regarding interview digests (.1);    0.20    185.00
                        email with J. French regarding communications with
                        Alvarez & Marsal (.1).
01/08/16    MED         Review and respond to email from V. Indelicato regarding         8.20   8,200.00
                        standing motion (.2); call from V. Indelicato regarding
                        standing motion (.4); review and respond to J. Anderson
                        email regarding Paul Weiss invoices (.3); review A. Wellin
                        email regarding same (.1) search document database for
                        CMBS operating leases (1.3); review documents retrieved
                        (1.1); prepare beginning section of standing motion (3.5);
                        prepare list of issues to address (1.3).
01/08/16    ASW         Confer with document review team regarding controversial         0.50    367.50
                        transactions complaint progress.
01/08/16    JMK         Coordinate analysis of hot documents from evidence review        0.50    175.00
                        platform.
01/08/16    JM          Review documents produced in connection with                     7.50   4,575.00
                        controversial transactions.
01/08/16    SS          Retrieve and send select controversial transaction production    0.50    125.00
                        documents to J. Anderson.
01/08/16    JPC         Analyze documents related to CIE transactions (2.5);             4.50   2,745.00
                        analyze interview digests and transcripts regarding CIE
                        transactions (2.0).
01/08/16    JLA         Review Total Rewards documents (3.1); review CES                 6.30   3,843.00
                        transaction documents (3.2).
01/08/16    CT          Review files in data room regarding B-7 refinancing.             9.00   6,615.00
01/08/16    JGL         Discussion with P. Abelson regarding avoidance actions.          0.20     250.00
01/08/16    PMA         Confer with J. Liu regarding avoidance actions.                  0.20     215.00
01/08/16    VI          Telephone conference with M. Davidson regarding standing         0.40     330.00
                        motion preparation.
01/08/16    SS          Review documents related to the CGP and Four Properties          6.50   3,217.50
                        transactions.
01/08/16    DJW         Review of documents with selected terms from Search Term         4.30   2,128.50
                        Report (.8); assemble and analyze key documents for
                        standing motion (3.5).
01/08/16    HZ          Analyze hot documents to support the complaint.                  1.50     742.50
01/08/16    JW          Perform additional research regarding avoidance of claims.       3.90   1,735.50
01/08/16    YE          Meeting with document review team to discuss document            0.50     222.50
                        review strategy.
01/08/16    PLR         Review documents in connection with controversial                4.10   1,824.50
                        transactions.
01/08/16    BH          Meeting with A. Wellin, P. Rieder, and Y. Emrani regarding       0.50    222.50
                        complaint.
01/09/16    MED         Search document database for documents regarding CMBS            2.60   2,600.00
                        (1.5); review documents retrieved (1.1).
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01/09/16    JPC         Analyze documents related to CIE transactions (1.8);             8.90    5,429.00
                        analyze interview digests and transcripts regarding CIE
                        transactions (4.0); review transaction memoranda related to
                        CIE transactions (.9); summarize documents to provide
                        support for avoidance claims (2.2).
01/09/16    CT          Prepare summary of B-7 refinancing.                             10.30    7,570.50
01/09/16    SS          Review documents related to Four Properties transaction.         5.30    2,623.50
01/09/16    HZ          Analyze the hot documents to support the complaint.              6.00    2,970.00
01/09/16    PLR         Review documents produced in connection with                    11.20    4,984.00
                        controversial transactions.
01/10/16    MED         Review and respond to email from A. Wellin regarding FTI         2.60    2,600.00
                        request information (.2); search document database for
                        relevant documents (1.7); review documents retrieved (.7).
01/10/16    JPC         Summarize documents from Examiner database (2.7);                3.90    2,379.00
                        summarize interview transcripts to provide support for
                        claims by Debtors (1.2).
01/10/16    SS          Review interview testimony related to the CGP transaction.       3.80    1,881.00
01/10/16    HZ          Analyze the interview transcript digests.                        6.00    2,970.00
01/10/16    PLR         Review documents produced in connection with                    12.10    5,384.50
                        controversial transactions.
01/11/16    SAE         Review chart regarding claims (.2); email J. Colangelo           0.40     370.00
                        regarding CIE (.1); telephone conference with A. Wellin, V.
                        Indelicato regarding preference issues (.1).
01/11/16    MED         Review J. Colangelo email, memo and documents regarding         10.30   10,300.00
                        support for CIE claim (.7); email to J. Colangelo regarding
                        same (.2); review C. Theodoridis summary of B-7
                        transaction (.7); forward B-7 memo to A. Wellin (.1); emails
                        with P. Abelson and A. Wellin regarding scheduling meeting
                        to discuss status of standing motion and complaint (.2);
                        prepare insert for draft standing motion (3.9); review S.
                        Sullivan memo and attached documents for CGP transaction
                        (.7); attend meeting with A. Wellin, P. Abelson and others to
                        discuss status of standing motion and controversial
                        transaction complaint (1.0); review C. Theodoridis emails
                        with P. Possinger regarding drafting transaction inserts for
                        standing motion (.3); review H. Zheng email and attached
                        documents regarding CERP transaction (.7); search database
                        for documents regarding CMBS (1.2); review documents
                        retrieved (.6).
01/11/16    PP          Attend telephone conference with litigation team regarding       1.00    1,025.00
                        standing motion.
01/11/16    MEO         Meet with P. Abelson, M. Davidson, A. Wellin, V.                 2.50    1,925.00
                        Indelicato, J. Liu regarding standing motion (1.0); review
                        materials per A. Wellin for legal summary section (1.5).
01/11/16    ASW         Attend meeting with Proskauer team regarding standing            1.00     735.00
                        motion.
01/11/16    JMK         Coordinate analysis of hot documents from evidence review        0.50     175.00
                        platform.
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01/11/16    JM          Review documents produced in connection with                      4.00   2,440.00
                        controversial transactions.
01/11/16    SS          Retrieve and send selected documents to J. Anderson.              2.50     625.00
01/11/16    JLA         Prepare memorandum regarding documents pertinent to the           7.20   4,392.00
                        Total Rewards transactions (4.1); draft memorandum
                        describing documents regarding the CES Transaction for S.
                        Eggers (3.1).
01/11/16    JGL         Attend meeting regarding standing motion with bankruptcy          0.70    875.00
                        and litigation teams (partial attendance).
01/11/16    PMA         Confer with Proskauer team regarding avoidance actions            1.20   1,290.00
                        (.1); confer with C. Theodoridis regarding avoidance actions
                        (.2); review email correspondence from C. Theodoridis
                        regarding avoidance actions (.1); attend meeting with
                        Proskauer team regarding litigation issues (.8).
01/11/16    VI          Attend with P. Abelson, J. Liu, M. Davidson, and A. Wellin        1.40   1,155.00
                        regarding standing motion update (.8); Confer with P.
                        Abelson regarding avoidance actions (.1); Analyze potential
                        preference claims (.5).
01/11/16    SS          Prepare memorandum describing key documents and                   6.50   3,217.50
                        interview testimony related to the CGP transaction (4.8);
                        review documents related to the Four Properties transaction
                        (1.7).
01/11/16    HZ          Analyze the hot document list (2.5); analyze the interview        8.20   4,059.00
                        transcript digests (2.5); draft document summary memo
                        regardng CERP transaction (3.0).
01/11/16    JW          Supplemental research regarding avoidance of claims (.5);         2.40   1,068.00
                        revise memo regarding same (1.9).
01/11/16    YE          Research regarding Rule 2004 Examinations.                        3.30   1,468.50
01/11/16    PLR         Review documents produced in connection with                      5.10   2,269.50
                        controversial transactions.
01/12/16    SAE         Conference with S. Sullivan regarding document review             0.10     92.50
                        issues.
01/12/16    MED         Emails with A. Wellin regarding assignments for associates        9.30   9,300.00
                        (.2); email to S. Eggers regarding following up on privilege
                        list (.1); call with A. Wellin and J. Anderson regarding Total
                        Rewards update for standing motion (.5); conference call
                        with P. Possinger, C. Theodoridis and A. Wellin regarding
                        standing motion (.6); continue preparing standing motion
                        insert (5.4); search database for documents regarding Propco
                        debt (1.2); review documents retrieved (.8); research
                        regarding controversial transactions (.3). E-mail with S.
                        Eggers regarding FTI weekly litigation call agenda (.2).
01/12/16    PP          Review B-7 refinancing (1.7); telephone conference with C.        2.80   2,870.00
                        Theodoridis, M. Davidson and A. Wellin regarding same,
                        other inserts for standing motion (.6); prepare B-7
                        transaction summary (.5).
01/12/16    MEO         Analyze fraudulent transfer materials for legal summary           2.30   1,771.00
                        section.
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01/12/16    ASW         Call with M. Davidson and J. Anderson regarding Total            1.10     808.50
                        Rewards (.5); conference with M. Davidson, P. Possinger
                        and C. Theodordis regarding standing motion (.6).
01/12/16    JM          Review documents produced in connection with                     7.50    4,575.00
                        controversial transactions.
01/12/16    JLA         Call with M. Davidson and A. Wellin regarding Total              1.10     671.00
                        Rewards and CES (.5); review Total Rewards discovery
                        documents (.6).
01/12/16    CT          Conference call with P. Possinger, M. Davidson, A. Wellin,       0.60     441.00
                        and J. Webb regarding standing motion.
01/12/16    JGL         Review email regarding transcript review meeting from A.         0.20     250.00
                        Wellin (.1); Review email from C. Theodoridis regarding
                        controversial transactions (.1).
01/12/16    LPO         Index various discovery materials regarding Examiner             1.50     525.00
                        interviews and exhibits.
01/12/16    SS          Review documents related to Four Properties transaction          4.60    2,277.00
                        (4.5); confer with S. Eggers regarding document review
                        status (.1).
01/12/16    JW          Research regarding avoidance action issue (2.1) and prepare      7.70    3,426.50
                        memorandum on subject (3.1); research regarding avoidance
                        actions (1.9); participate in conference call regarding
                        complaint and related write-up (.6).
01/12/16    YE          Review documents produced in connection with                     0.50     222.50
                        controversial transactions.
01/12/16    PLR         Review documents produced in connection with                     0.60     267.00
                        controversial transactions.
01/13/16    MED         Search document database regarding LBO (1.7); review            12.20   12,200.00
                        documents retrieved (.9); review Y. Emrani email and
                        attached document regarding CEOC (.7); continue to prepare
                        insert to standing motion (8.5); emails with A. Miller and A.
                        Wellin regarding call to discuss alternate recovery theories
                        (.2).
01/13/16    PP          Prepare B-7 transaction description (.7); telephone              2.10    2,152.50
                        conference with J. Myers regarding same (.5); further
                        background review regarding B-7 transactions (.9).
01/13/16    ASW         Confer with H. Zheng regarding document summary memo             0.50     367.50
                        (.2); confer with M. Davidson regarding alternative recovery
                        theories (.3).
01/13/16    JLA         Draft outline of the Total Rewards section of the standing       6.50    3,965.00
                        motion (2.1); draft outline of CES section of standing
                        motion (1.3); analyze documents in support of Total
                        Rewards (3.1).
01/13/16    MZ          Revise memorandum on avoidances (1.9); confer with P.            2.00    1,470.00
                        Abelson regarding same (.1).
01/13/16    PMA         Confer with M. Zerjal regarding avoidance actions.               0.10     107.50
01/13/16    MG          Review Examiner interview transcripts (1.0) and prepare          1.70     637.50
                        witness information chart (.7).
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01/13/16    SS          Review documents and deposition testimony related to the          4.70   2,326.50
                        Four Properties transaction.
01/13/16    HZ          Conference with A. Wellin regarding document summary              1.00    495.00
                        memo (.2); review related memo from A. Wellin (.8).
01/13/16    JW          Revise research and memo regarding avoidance of claims.           0.20      89.00
01/13/16    YE          Review documents produced in connection with                      6.80   3,026.00
                        controversial transactions.
01/14/16    SAE         Review internal emails on privilege stipulation in                0.10     92.50
                        CFC/CFOC dispute.
01/14/16    MED         Emails with A. Miller and A. Wellin regarding alternate           5.60   5,600.00
                        recovery theories (.5); conference with A. Wellin regarding
                        same (.3); continue preparing standing motion insert (4.8).
01/14/16    MKT         Conferences with P. Possinger regarding avoidance action          4.30   5,160.00
                        issues, standing motion and Examiner issues (.5); review
                        pertinent pleadings and issues relating to avoidance action
                        issues, standing motion and Examiner issues, including
                        standing pleadings and avoidance action research (3.6);
                        review P. Possinger memo regarding avoidance action issues
                        (.2).
01/14/16    PP          Review and comment on avoidance action issues memo                2.70   2,767.50
                        (1.8); discuss same with M. Thomas (.5); review research
                        regarding controversial transactions (.4).
01/14/16    MEO         Research fraudulent transfer law and choice of law (3.2);         3.70   2,849.00
                        Review board presentation materials (.5).
01/14/16    ASW         Confer with J. Anderson regarding Total Rewards.                  0.50     367.50
01/14/16    RK          Participate in phone calls with A. Wellin and J. Anderson         8.00   3,560.00
                        regarding fraudulent transfer research ( .5); research same
                        (3.7 ); drafting email memo outlining finding (3.8 ).
01/14/16    SS          Review Shared Services Agreements and provide                     0.50    125.00
                        information regarding same to J. Anderson.
01/14/16    JLA         Call with A. Wellin to discuss Total Rewards standing             6.40   3,904.00
                        motion outline (.5); edit Total Rewards outline (1.2); prepare
                        Total Rewards section of standing motion (4.7).
01/14/16    MZ          Review comments concerning research regarding avoidance           0.70    514.50
                        actions (.4); discuss same with P. Abelson (.3).
01/14/16    PMA         Conference with M. Zerjal regarding avoidance actions (.2);       0.30    322.50
                        conference with M. Zerjal regarding avoidance actions (.1).
01/14/16    LPO         Online review via Relativity regarding specific privilege log     2.50    875.00
                        documents (1.5); retrieve and assemble discovery materials
                        (1.0).
01/14/16    MG          Research precedent case transcript regarding avoidance            2.80   1,050.00
                        action issue (.8); research regarding same in second hearing
                        transcript (.4); research regarding scheduling of hearing on
                        merits (.3); telephone conference with chambers deputy
                        clerk regarding same (.1); continue to review Examiner
                        interview transcripts and update witness information
                        spreadsheet (1.2).
01/14/16    SS          Review Four Properties interview testimony.                       5.30   2,623.50
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Date        Attorney    Description                                                    Hours   Amount

01/14/16    HZ          Prepare document summary memo regarding CERP                    3.00   1,485.00
                        transaction.
01/14/16    JW          Research regarding avoidance action issues (.2); review         0.70    311.50
                        comments on memorandum regarding avoidance of claims
                        (.5).
01/14/16    YE          Review documents produced in connection with                    1.00    445.00
                        controversial transactions.
01/14/16    PLR         Review documents produced in connection with                    2.30   1,023.50
                        controversial transactions.
01/14/16    BH          Review documents produced in connection with                    1.30    578.50
                        controversial transactions.
01/15/16    SAE         Review research memo regarding fraudulent transfer issues.      0.30     277.50
01/15/16    MED         Retrieve Showboat closure material (.7); review R. Kostelak     8.10   8,100.00
                        research regarding fraudulent conveyance claim (.7); email
                        to A. Wellin and R. Kostelak regarding same (.2); continue
                        work on standing motion insert (6.5).
01/15/16    MKT         Finish research on avoidance actions and correspondence         3.20   3,840.00
                        regarding same (2.9); email to P. Possinger regarding same
                        (.3).
01/15/16    MEO         Draft summary of law section on fraudulent transfers.           2.50   1,925.00
01/15/16    JMK         Coordinate processing of electronic evidence into evidence      1.20     420.00
                        review platform.
01/15/16    RK          Research fraudulent transfer claim (1.8); prepare (3.8) and     6.50   2,892.50
                        revise (.9); memo outlining findings to A. Wellin and J.
                        Anderson.
01/15/16    SS          Retrieve and send selected documents to J. Anderson.            0.50     125.00
01/15/16    JLA         Draft Total Rewards claims section in connection with           8.10   4,941.00
                        standing motion (4.2); prepare CES claims for standing
                        motion (1.7); draft CES claims for standing motion (2.2).
01/15/16    PMA         Phone call with P. Sibley and S. Lieberman regarding            0.70    752.50
                        avoidance actions (.3); conference with M. Davidson and A.
                        Wellin regarding avoidance actions (.2); review memo and
                        email correspondence from P. Possinger regarding
                        avoidance actions (.2).
01/15/16    MG          Update interview witness spreadsheet.                           0.90     337.50
01/15/16    VI          Further revise draft adversary complaint (1.1); Review open     1.60   1,320.00
                        standing motion issues (.5).
01/15/16    SS          Draft memo regarding important documents and interview          9.80   4,851.00
                        testimony related to the Four Properties transaction.
01/15/16    HZ          Review Paul Weiss time entry to identify important              5.20   2,574.00
                        documents (1.0); draft important document summary memo
                        with additional support for CERP transaction (4.0); send the
                        memo to S. Eggers and M. Davidson (.2).
01/15/16    JW          Research regarding avoidance actions; revise memorandum         3.20   1,424.00
                        on avoidance of claims.
01/15/16    YE          Review documents produced in connection with                    3.90   1,735.50
                        controversial transactions.
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01/15/16    PLR         Review documents produced in connection with                    6.80    3,026.00
                        controversial transactions.
01/16/16    MED         Review and respond to A. Wellin email regarding director        0.40     400.00
                        charts (.1); retrieve charts and send to A. Wellin (.3).
01/16/16    JLA         Draft Total Rewards introduction section of standing motion     7.40    4,514.00
                        (2.1); draft Total Rewards fact section of standing motion
                        (3.2); draft CES fact section of standing motion (2.1).
01/16/16    MZ          Revise avoidance memo (.5); perform additional research         1.20     882.00
                        regarding same (.7).
01/16/16    PMA         Review email correspondence from M. Zerjal and P.               0.20     215.00
                        Possinger regarding damages research.
01/16/16    HZ          Retrieve and circulate the board of directors documents for     0.30     148.50
                        different organizations in response to A. Wellin's request.
01/17/16    JLA         Draft breaches legal arguments sections of draft standing       9.60    5,856.00
                        motion (3.2); continue to draft Total Rewards section (3.5);
                        edit CES section of standing motion (2.9).
01/17/16    MZ          Review research on avoidance actions.                           0.80     588.00
01/17/16    JW          Review (.5), revise (1.4), and distribute (.1) memorandum of    2.00     890.00
                        avoidance of claims research.
01/18/16    MDT         Complete second review of hot documents related to              2.00    1,470.00
                        controversial transactions.
01/18/16    ASW         Review J. Anderson Total Rewards motion section to              4.90    3,601.50
                        standing motion (.5); review transcripts and documents
                        regarding CIE for controversial transaction complaint (4.4).
01/18/16    JLA         Edit Total Rewards sections of standing motion.                 0.90     549.00
01/18/16    VI          Analyze R. Pinsky and S. Oldoerp interview transcripts.         1.10     907.50
01/18/16    JW          Confer with M. Zerjal regarding avoidance of claims             2.00     890.00
                        memorandum (.3); research regarding derivative standing
                        (1.7).
01/19/16    SAE         Review memo on CIE stock (.2); email to Proskauer team          0.30     277.50
                        regarding same (.1).
01/19/16    MED         Review J. Anderson insert regarding Total Rewards (.9);        10.70   10,700.00
                        telephone call with J. Anderson regarding same (.1); emails
                        with J. Anderson regarding same (.1); search database for
                        documents regarding licensing and management agreements
                        (1.5); review documents retrieved documents (.8); review J.
                        Colangelo memo and documents regarding CMBS (1.0);
                        review S. Eggers email and attachments regarding CGP and
                        CIE (.4); search database for documents regarding land
                        transfers (.9); review documents retrieved (.4); prepare
                        standing motion (4.6).
01/19/16    PP          Discuss avoidance action issues research with P. Abelson,       1.80    1,845.00
                        M. Zerjal, J. Webb and J. Liu (.4); attention to precedent
                        standing pleading (.6); review updated memo on avoidance
                        action issues (.8).
01/19/16    MEO         Prepare summary of fraudulent transfer law.                     1.30    1,001.00
01/19/16    JMK         Coordinate review of hot documents related to controversial     0.60      210.00
                        transactions,.
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01/19/16    JM          Review various interview transcripts in connection with B-7         3.50   2,135.00
                        transaction and forward information to P. Possinger.
01/19/16    JPC         Analyze documents from Examiner database.                           1.20     732.00
01/19/16    JLA         Call with M. Davidson regarding Total Rewards (.2); edit            2.70   1,647.00
                        the Total Rewards section of the standing motion (2.5).
01/19/16    JGL         Conference call with bankruptcy team regarding research for         0.40    500.00
                        Committee presentation.
01/19/16    MZ          Discuss avoidance memo with J. Liu, P. Abelson, P.                  5.10   3,748.50
                        Possinger and J. Webb (.4); discuss same with P. Abelson
                        (.1); review research update (.2); draft talking points (2.0);
                        revise memorandum (1.5); confer with J. Webb regarding
                        talking points (.3). Participate on litigation update call (.6).
01/19/16    PMA         Teleconference with Proskauer team regarding avoidance              1.10   1,182.50
                        actions (.4); confer with M. Zerjal regarding avoidance
                        actions (.1). Confer with Proskauer team regarding litigation
                        update WIP list.
01/19/16    LPO         Organize (1.6) and upload (.9) key documents regarding              2.50    875.00
                        transactions.
01/19/16    SS          Document review in connection with controversial                    1.20    594.00
                        transactions.
01/19/16    JW          Additional research regarding derivative standing (.8);             2.90   1,290.50
                        research regarding avoidance actions (1.2); prepare for (.2)
                        and attend conference call regarding presentation to
                        Examiner / Committee with M. Zerjal, P. Possinger, P.
                        Abelson, and J. Liu. (.4); confer with M. Zerjal on "talking
                        points" for presentation (.3).
01/19/16    PLR         Review documents produced in connection with                        1.10    489.50
                        controversial transactions.
01/19/16    BH          Review documents produced in connection with                        0.40    178.00
                        controversial transactions.
01/20/16    MED         Call M. Otto regarding legal issue insert (.4); conference call     6.90   6,900.00
                        with A. Wellin, S. Sullivan and H. Zheng regarding CERP,
                        CGP and Four Properties transactions (.5); emails with J.
                        Anderson regarding same (.1); search database for
                        documents regarding management agreements (.8); review
                        documents retrieved (.5); search database for documents
                        regarding CEOC (.5); review documents retrieved (.5);
                        prepare insert sections of standing motion (3.6).
01/20/16    PP          Discuss standing motion and next steps with P. Abelson (.3);        1.30   1,332.50
                        review precedent case (.4); discuss research with M. Zerjal
                        (.4); discuss notice of amended complaint with V. Indelicato
                        (.2).
01/20/16    MEO         Call with M. Davidson regarding summary of law (.4);                2.40   1,848.00
                        prepare summary of law (2.0).
01/20/16    ASW         Conference with M. Davidson, S. Sullivan and H. Zheng               0.50    367.50
                        regarding CERP, GCP and Four Properties Transactions.
01/20/16    JM          Review interview transcripts in connection with B-7                 3.50   2,135.00
                        transaction.
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01/20/16    SS          Retrieve and send selected documents to J. Anderson.            0.50     125.00
01/20/16    JPC         Analyze documents from Examiner database (1.5); compile         2.30   1,403.00
                        Examiner interview transcript excerpts related to WSOP and
                        CIE (.8).
01/20/16    JLA         Prepare CERP transaction facts related to Total Rewards         8.10   4,941.00
                        (2.1); edit CES section of draft standing motion (3.4); edit
                        Total Rewards section of the draft standing motion (2.6).
01/20/16    LPO         Upload (1.2) and index (1.3) key documents to various           2.50    875.00
                        databases regarding various transactions.
01/20/16    SS          Phone call with M. Davidson, A. Wellin, and H. Zheng to         2.40   1,188.00
                        discuss CERP, CGP, and Four Properties transactions (.5);
                        review materials related to the CERP transaction (1.9).
01/20/16    DJW         Research equity transfers in controversial transaction.         1.20     594.00
01/20/16    HZ          Conference with M. Davidson, S. Sullivan and A. Wellin          3.50   1,732.50
                        regarding CERP, CGP and Four Properties (.5); analyze
                        related CERP document (3.0).
01/20/16    JW          Research regarding avoidance actions (2.3); further research    4.00   1,780.00
                        regarding avoidance of claims issues (1.7).
01/20/16    YE          Review documents produced in connection with                    3.20   1,424.00
                        controversial transactions.
01/20/16    PLR         Review documents produced in connection with                    3.50   1,557.50
                        controversial transactions.
01/21/16    SAE         Telephone conference with M. Zerjal regarding controversial     0.40    370.00
                        transactions (.2); email, telephone conference with V.
                        Indelicato regarding third-party subpoena for Examiner
                        documents (.2).
01/21/16    MED         Search database for documents regarding 2011 Linq and           9.30   9,300.00
                        Octavius transfers (2.0); review documents retrieved (1.1);
                        prepare insert to standing motion (6.0); review P. Rieder
                        email and documents retrieved (.2).
01/21/16    PP          Review B-7 refinancing (.4); review further cases regarding     1.20   1,230.00
                        avoidance action issues (.8).
01/21/16    MEO         Research law on fraudulent transfers (3.8); prepare summary     6.30   4,851.00
                        of law (2.5).
01/21/16    JM          Review interview transcripts regarding B-7 refinancing.         2.80   1,708.00
01/21/16    SS          Retrieve and send selected documents to J. Anderson.            2.00     500.00
01/21/16    JPC         Perform focused searches in database of produced                3.30   2,013.00
                        documents regarding CIE transactions.
01/21/16    JLA         Prepare discussion regarding CMBS for Total Rewards             5.80   3,538.00
                        section of standing motion (3.5); edit CES section of draft
                        standing motion (2.3).
01/21/16    MJB         Edit memo regarding CEC avoidance claim (2.8) and               5.50   7,122.50
                        research regarding fraudulent transfers (2.5); discuss
                        avoidance action issues with M. Zerjal (.2).
01/21/16    JGL         Review emails from M. Bienenstock and M. Zerjal                 0.30    375.00
                        regarding avoidance actions.
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01/21/16    MZ          Perform further research regarding avoidance actions (6.3);        7.40   5,439.00
                        Discuss same with M. Bienenstock (.2); P. Abelson (.3); S.
                        Eggers (.2); S. Ma (.2); J. Webb (.2).
01/21/16    PMA         Confer with M. Zerjal regarding avoidance actions (.1);            0.30    322.50
                        Review email correspondence from M. Zerjal regarding
                        avoidance actions (.2).
01/21/16    SS          Review documents and interview testimony related to CERP           9.20   4,554.00
                        transaction.
01/21/16    HZ          Conference with A. Wellin regarding CERP transaction (.1);         7.20   3,564.00
                        analyze CERP transaction document (.2); send A. Wellin
                        email clarifying CERP transaction (.2); respond to J.
                        Anderson's email regarding CMBS questions (.2); analyze
                        related CGP documents (6.5).
01/21/16    JW          Discuss legal research findings regarding avoidance actions        0.20     89.00
                        with M. Zerjal.
01/21/16    YE          Review documents produced in connection with                       3.70   1,646.50
                        controversial transactions.
01/21/16    PLR         Review documents produced in connection with                       2.80   1,246.00
                        controversial transactions.
01/22/16    SAE         Review hot documents sent by document reviewers.                   0.20     185.00
01/22/16    MED         Search for documents regarding Linq land transactions (1.3);       9.00   9,000.00
                        review documents retrieved (.7); search for documents
                        regarding Bills/Quad transaction (1.2); review documents
                        retrieved (.8); prepare insert to standing motion (4.7); review
                        Y. Emrani email and attached documents regarding CGP,
                        CIE and Planet Hollywood (.3).
01/22/16    PP          Review avoidance action theories (.4); emails with M.              0.70    717.50
                        Bienenstock regarding same (.3).
01/22/16    MEO         Research fraudulent transfers.                                     5.20   4,004.00
01/22/16    JMK         Coordinate processing of electronic evidence into review           0.60     210.00
                        platform.
01/22/16    JM          Review interview transcripts for B-7 transaction arguments.        1.30     793.00
01/22/16    JPC         Review documents related social gaming prior to CIE                4.10   2,501.00
                        transactions.
01/22/16    JGL         Review lengthy email correspondence from P. Possinger and          0.50    625.00
                        M. Bienenstock regarding avoidance actions (.2); review
                        memo regarding CIE claim (.3).
01/22/16    PMA         Review email correspondence from P. Possinger and M.               0.30    322.50
                        Zerjal regarding avoidance actions (.1); confer with M.
                        Zerjal regarding avoidance actions (.2).
01/22/16    LPO         Retrieve additional key documents regarding controversial          2.00    700.00
                        transactions (1.0); assemble and index (1.0) documents
                        regarding key transactions.
01/22/16    VI          Review updated FTI presentation regarding controversial            0.70    577.50
                        transactions (.3); analyze corporate opportunity claim
                        memorandum (.4).
01/22/16    SS          Review interview testimony related to the CERP transaction.        9.00   4,455.00
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01/22/16    DJW         Review of documents assembled from Search Term Reports.          4.50   2,227.50
01/22/16    HZ          Analyze related Four Properties transaction documents.           7.00   3,465.00
01/22/16    JW          Search for and distribute relevant contract agreements           2.70   1,201.50
                        regarding avoidance of claims (.1); review relevant case law
                        regarding avoidance of claims (.5); draft chart of
                        transactions at issue in memorandum regarding avoidance of
                        claims (2.0); distribute to M. Bienenstock, et al. (.1).
01/22/16    YE          Prepare weekly document review summary email.                    0.40     178.00
01/22/16    PLR         Review documents produced in connection with                     5.80   2,581.00
                        controversial transactions.
01/23/16    MZ          Perform research on transfers out of CEOC (6.5); revise          8.00   5,880.00
                        avoidance memo (1.5).
01/23/16    PMA         Review memo regarding controversial transactions.                0.30     322.50
01/23/16    SS          Prepare memo regarding CERP transaction.                         3.60   1,782.00
01/24/16    MZ          Review and respond to avoidance issue correspondence with        2.00   1,470.00
                        M. Bienenstock (1.6); discuss same with P. Abelson (.4).
01/24/16    PMA         Confer with M. Zerjal regarding avoidance actions (.4);          1.00   1,075.00
                        review email correspondence from R. Levy regarding same
                        (.1); review memo regarding avoidance actions (.5).
01/25/16    SAE         Review transcript digest matrix.                                 0.10      92.50
01/25/16    MED         Review A. Wellin email regarding interview matrix (.2);          9.50   9,500.00
                        revise draft CMBS section of insert to standing motion (2.0);
                        review and respond to A. Wellin email regarding analysis of
                        2013-2014 transactions (.5); review J. Anderson insert
                        regarding Total Rewards (.5); emails with J. Anderson
                        regarding Total Rewards (.3); call with J. Anderson and A.
                        Wellin to discuss Total Rewards insert (.3); continued
                        preparation of insert to standing motion (5.7).
01/25/16    PP          Review further research on avoidance actions (.4); discuss       0.90    922.50
                        same with P. Abelson (.3); discuss same with M. Zerjal and
                        J. Webb (.2).
01/25/16    MEO         Research law regarding fraudulent transfers in Delaware.         2.00   1,540.00
01/25/16    ASW         Confer with M. Davidson regarding controversial                  6.30   4,630.50
                        transactions standing motion (.3); draft CIE section of
                        controversial transactions standing motion (4.0); research
                        same (1.8); discuss valuation memo status with S. Sullivan
                        and H. Zheng (.2).
01/25/16    JPC         Analyze documents from Examiner database.                        1.50    915.00
01/25/16    JLA         Call with M. Davidson and A. Wellin regarding edits to the       0.40    244.00
                        draft Total Rewards section insert to the standing motion
                        (.2); call with R. Kostelak regarding fraudulent transfer
                        research (.2).
01/25/16    JGL         Review memo regarding CIE/CGP.                                   0.40     500.00
01/25/16    MZ          Discuss avoidance action issues with P. Abelson multiple         7.30   5,365.50
                        times (.8) and P. Possinger (.2); perform further research
                        regarding same (6.3).
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Date        Attorney    Description                                                      Hours    Amount

01/25/16    PMA         Confer with P. Possinger regarding avoidance actions (.3);        1.70    1,827.50
                        Confer with M. Zerjal regarding avoidance actions (.8);
                        Review memo regarding avoidance actions (.6).
01/25/16    SS          Draft memoranda on the CERP, CGP, and Four Properties             7.20    3,564.00
                        transactions (7.0); discuss valuation status with A. Wellin
                        and H. Zheng (.2).
01/25/16    HZ          Communicate with S. Sullivan and A. Wellin regarding              6.20    3,069.00
                        valuation status (.2); analyze materials from Jefferies and
                        FTI regarding same (6.0).
01/25/16    JW          Research regarding avoidance action issues (2.1); discuss         3.00    1,335.00
                        same with P. Possinger and M. Zerjal (.2); research
                        regarding precedent settlement as it relates to avoidance
                        action issues.
01/25/16    PLR         Review documents produced in connection with                      2.80    1,246.00
                        controversial transactions.
01/26/16    MED         Search document database for documents regarding Venture         10.80   10,800.00
                        Partners (1.7); review documents retrieved (.9); email and
                        call from V. Indelicato regarding standing motion (.2);
                        prepare insert to standing motion (4.7); review interview
                        transcript matrix (.2); pull E. Hession and M. Rowan
                        transcripts and exhibits (.5); review transcripts and exhibits
                        (2.6).
01/26/16    MKT         Review avoidance action memo relating to standing issues          1.00    1,200.00
                        (.7); conference with P. Possinger and J. Webb regarding
                        same (.3).
01/26/16    PP          Prepare sections of standing motion (5.5); conference with        5.80    5,945.00
                        M. Thomas and J. Webb regarding avoidance action memo
                        (.3).
01/26/16    ASW         Prepare CIE section of standing motion (4.0); research CIE        5.30    3,895.50
                        documents (1.3).
01/26/16    JM          Review of the B-7 transaction memo.                               0.50      305.00
01/26/16    RK          Conduct research regarding fraudulent transfer claim.             4.20    1,869.00
01/26/16    JPC         Analyze additional "hot" documents related to CIE                 3.50    2,135.00
                        transactions (2.2); analyze interview digests and transcripts
                        regarding CIE transactions (1.3).
01/26/16    JLA         Research regarding remedies for avoidance actions (3.6);          7.80    4,758.00
                        further research regarding remedies for avoidance actions
                        (2.3); continue to edit CES section of standing motion (1.9).
01/26/16    PMA         Confer with P. Possinger regarding avoidance actions (.2);        0.30     322.50
                        Confer with M. Zerjal regarding avoidance actions (.1).
01/26/16    MG          Review e-room regarding new Examiner interview                    0.20      75.00
                        transcripts to add to witness list.
01/26/16    VI          Telephone conference with M. Davidson regarding                   1.40    1,155.00
                        controversial transactions update (.2); Telephone conference
                        with A. Wellin regarding same (.1); analyze controversial
                        transaction issues; revise rider regarding controversial
                        transactions in standing motion (.3); call with M. Davidson
                        regarding standing motion (.1).
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AVOIDANCE ACTION ANALYSIS
Client/Matter No. 71844.0004

Date        Attorney    Description                                                      Hours   Amount

01/26/16    SS          Review documents related to CERP transaction.                     5.80   2,871.00
01/26/16    HZ          Further analyze materials from Jefferies and FTI (3.0);           6.00   2,970.00
                        prepare memo regarding CERP transaction (3.0).
01/26/16    JW          Confer with P. Possinger and M. Thomas regarding                  0.30    133.50
                        avoidance research.
01/26/16    BH          Review documents produced in connection with                      0.70    311.50
                        controversial transactions.
01/27/16    MED         Review P. Possinger email and draft B-7 transaction insert        8.30   8,300.00
                        (.4); emails with P. Possinger regarding same (.4); review
                        transcript summaries in preparation for meeting regarding
                        transcripts (5.2); conference with A. Wellin, S. Sullivan, H.
                        Zheng and M. Otto regarding status of standing motion (.5);
                        review exhibits regarding CMBS and CERP transactions
                        (.9); review case research (.9).
01/27/16    PP          Review revisions to B-7 transaction section of standing           0.80    820.00
                        motion; conference with H. Zheng regarding CERP memo
                        (.1); CERP section of standing motion (.5); CERP related
                        emails with M. Davidson (.2).
01/27/16    MEO         Call with M. Davidson, A. Wellin, S. Sullivan and H. Zheng        1.20    924.00
                        regarding legal portion of standing motion (.5); research
                        regarding same (.7).
01/27/16    ASW         Conference call with team regarding transfers (.5); prepare       3.20   2,352.00
                        for transcript meeting (1.0); research CIE section of standing
                        motion (1.7).
01/27/16    JMK         Coordinate processing of electronic evidence into review          0.40    140.00
                        platform.
01/27/16    RK          Research transfer claim argument (4.0); prepare and revise        6.80   3,026.00
                        memorandum outlining findings (2.8).
01/27/16    SS          Retrieve and send electronic copies of selected documents to      0.50    125.00
                        J. Anderson.
01/27/16    JLA         Reorganize draft Total Rewards section of standing motion         8.60   5,246.00
                        (2.9); edit CES facts section (2.1); edit Total Rewards
                        section (3.6).
01/27/16    MZ          Analyze avoidance research (3.0); analyze avoidance issues        8.70   6,394.50
                        with P. Abelson (4.9); review avoidance research (.3).
01/27/16    PMA         Confer with M. Zerjal regarding avoidance actions (4.9);          5.00   5,375.00
                        confer with V. Indelicato regarding standing motion (.1).
01/27/16    SS          Meeting with A. Wellin, M. Davidson and H. Zheng to               5.00   2,475.00
                        discuss drafting complaint and standing motion (.5); review
                        financial material related to CERP transaction (1.8); draft
                        section of standing motion related to CERP transaction (2.7).
01/27/16    DJW         Review document generated from Search Term Report.                4.20   2,079.00
01/27/16    HZ          Conference with M. Davidson regarding the CERP memo               3.20   1,584.00
                        status (.1); meet with M. Davidson, A. Wellin and S.
                        Sullivan regarding standing motion (.5); draft memo
                        regarding CERP transaction (2.5); send the memo to M.
                        Davidson (.1).
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AVOIDANCE ACTION ANALYSIS
Client/Matter No. 71844.0004

Date        Attorney    Description                                                       Hours    Amount

01/27/16    JW          Review (.5) and provide comments (.4) to B-7 transaction           0.90     400.50
                        inserts.
01/27/16    BH          Review documents produced in connection with                       2.40    1,068.00
                        controversial transactions.
01/28/16    CED         Conference with P. Possinger, Franklin regarding relevant          1.50    2,025.00
                        provisions in Code (.5); review precedent (1.0).
01/28/16    MED         Review V. Indelicato and P. Possinger emails regarding            10.20   10,200.00
                        same (.3); work on insert to standing motion (5.7); review H.
                        Zheng memo regarding CERP (1.1); email to H. Zheng
                        regarding same (.1); review J. Anderson revision to standing
                        motion regarding Total Rewards (1.4); email J. Anderson
                        regarding same (.1); call J. Anderson regarding same (.2);
                        emails with L. Orr regarding transaction memos (.2); email
                        with S. Sullivan regarding work on CERP insert (.2); email
                        to M. Tillem regarding planning (.1).
01/28/16    PP          Discuss avoidance action issue with C. Dropkin (.5); follow-       1.90    1,947.50
                        up discussion regarding same with P. Abelson and M. Zerjal
                        (.2); review further comments on standing motion (.5); call
                        with team regarding transaction analysis (.5); discuss same
                        with J. Webb (.2).
01/28/16    ASW         Conference call with M. Zerjal and rest of team regarding          7.20    5,292.00
                        transfers (.5); draft CIE section of controversial transactions
                        standing motion (6.7).
01/28/16    RK          Prepare and revise email memorandum outlining findings             1.30     578.50
                        regarding fraudulent transfers and amended agreements (.8);
                        Perform follow-up research regarding amended agreements
                        (.5).
01/28/16    SS          Compare selected documents retrieved from controversial            4.00    1,000.00
                        transaction production per J. Anderson request.
01/28/16    JPC         Perform focused search of Examiner document database for           1.80    1,098.00
                        documents related to CIE.
01/28/16    JLA         Review fraudulent transfer research (.2); continue work on         5.80    3,538.00
                        Total Rewards section insert (2.7); edit of Total Rewards
                        section insert (2.7); call with M. Davidson regarding Total
                        Rewards standing motion insert (.2).
01/28/16    PMA         Review email correspondence from M. Zerjal regarding               1.10    1,182.50
                        avoidance actions (.2); Teleconference with Proskauer team
                        regarding avoidance actions (.5); Review documents
                        regarding avoidance actions (.4).
01/28/16    LPO         Retrieve discovery materials.                                      2.80      980.00
01/28/16    SS          Draft section of standing motion related to the CERP               7.70    3,811.50
                        transaction.
01/28/16    DJW         Review documents produced regarding controversial                  2.60    1,287.00
                        transactions (.6); call with bankruptcy colleagues regarding
                        transfers (.5); fact discovery regarding transferor and
                        transferee entities (1.3); discuss transaction analysis with P.
                        Possinger (.2).
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AVOIDANCE ACTION ANALYSIS
Client/Matter No. 71844.0004

Date        Attorney    Description                                                     Hours   Amount

01/28/16    HZ          Conference with M. Zerjal, J. Webb, S. Sullivan, D. Werb,        4.30   2,128.50
                        and A. Wellin regarding equity transfers (.5); analyze CGP
                        memo documents for standing motion (3.5); communicate
                        with M. Davidson regarding CERP memo (.1); send the
                        CERP transaction memo with tab numbers (.2).
01/28/16    JW          Research regarding avoidance issues (.7); discuss same with      1.60    712.00
                        P. Possinger (.2); attend conference call with M. Zerjal, P.
                        Possinger, H. Zheng, D. Werb, S. Sullivan, and A. Wellin
                        regarding controversial transactions; confer with P.
                        Possinger on research regarding transaction analysis (.5).
01/28/16    BH          Review documents produced in connection with                     3.40   1,513.00
                        controversial transactions.
01/29/16    SAE         Review Macaw license agreements sent by J. Anderson.             0.30     277.50
01/29/16    MED         Search document database for materials regarding Showboat        8.40   8,400.00
                        closure (2.1); review documents retrieved (1.0); search
                        document database for materials regarding land transfers
                        (1.4); review documents retrieved (.9); revise standing
                        motion insert (3.0).
01/29/16    PP          Review case decision (.9); discuss same with P. Abelson          2.20   2,255.00
                        (.4); discuss standing motion with J. Webb (.5); review
                        transaction summary from J. Webb (.4).
01/29/16    ASW         Research CIE section of avoidance action papers.                 1.20    882.00
01/29/16    JPC         Discuss witness interviews related to CIE with A. Wellin         1.40    854.00
                        (.2); review documents related to CIE (1.2).
01/29/16    JLA         Review M. Davidson's comments to draft Total Rewards             5.80   3,538.00
                        insert (.1); search for agreements between CEOC and
                        Macau for S. Eggers (4.3); edit draft of Total Rewards insert
                        (1.4).
01/29/16    MZ          Confer with P. Abelson regarding avoidance actions.              0.50     367.50
01/29/16    PMA         Confer with M. Zerjal regarding avoidance actions.               0.50     537.50
01/29/16    LPO         Retrieve discovery materials.                                    1.00     350.00
01/29/16    SS          Review hot documents related to the CERP transaction.            2.60   1,287.00
01/29/16    HZ          Analyze Four Properties documents for standing motion.           3.50   1,732.50
01/29/16    JW          Review controversial transactions documents (1.8); research      2.70   1,201.50
                        regarding avoidance of transfers (.5); draft email to P.
                        Possinger, P. Abelson, and M. Zerjal regarding Four
                        Properties Transaction (.4).
01/29/16    PLR         Review documents produced in connection with                     0.70    311.50
                        controversial transactions.
01/29/16    BH          Review documents produced in connection with                     1.80    801.00
                        controversial transactions.
01/30/16    PP          Review research regarding indenture and note status (.3);        0.50    512.50
                        emails with M. Zerjal regarding same (.2).
01/30/16    LPO         Upload documents to various databases regarding discovery        2.00    700.00
                        materials (1.0) retrieve discovery materials (1.0).
01/30/16    VI          Analyze D. Epstein interview transcript.                         1.20    990.00
01/31/16    PP          Emails with M. Zerjal regarding avoidance action research.       0.30    307.50
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AVOIDANCE ACTION ANALYSIS
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Date        Attorney    Description                                                 Hours   Amount

01/31/16    PMA         Review and respond to email correspondence from M. Zerjal    0.10    107.50
                        regarding avoidance actions.
01/31/16    VI          Analyze R. Press interview transcript.                       0.70    577.50
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Attorney                                           Hours       Rate      Amount

CHARLES E. DROPKIN                                   1.50   1,350.00     2,025.00
JUDY G. LIU                                          6.20   1,250.00     7,750.00
MARK K. THOMAS                                       8.50   1,200.00    10,200.00
MARTIN J. BIENENSTOCK                                5.50   1,295.00     7,122.50
PAUL POSSINGER                                      35.30   1,025.00    36,182.50
PHILIP M. ABELSON                                   20.00   1,075.00    21,500.00
       Total For Partner                            77.00               84,780.00

MARK E. DAVIDSON                                   169.60   1,000.00   169,600.00
SCOTT A. EGGERS                                      5.90     925.00     5,457.50
      Total For Senior Counsel                     175.50              175,057.50

ANDREW S. WELLIN                                    33.90    735.00     24,916.50
CHRIS THEODORIDIS                                   30.40    735.00     22,344.00
DANIEL J. WERB                                      37.80    495.00     18,711.00
HELENA ZHENG                                        79.10    495.00     39,154.50
JACKI L. ANDERSON                                  113.90    610.00     69,479.00
JAMAAL MYERS                                        30.60    610.00     18,666.00
JASON P. COLANGELO                                  49.80    610.00     30,378.00
JERAMY WEBB                                         50.70    445.00     22,561.50
MAJA ZERJAL                                         43.70    735.00     32,119.50
MARISSA D. TILLEM                                    2.00    735.00      1,470.00
MILTON E. OTTO                                      29.40    770.00     22,638.00
SARAH SULLIVAN                                     119.50    495.00     59,152.50
STEVE MA                                             3.50    610.00      2,135.00
VINCENT INDELICATO                                  18.30    825.00     15,097.50
       Total For Associate                         642.60              378,823.00

LISA P. ORR                                         18.80    350.00      6,580.00
MAGALI GIDDENS                                       5.60    375.00      2,100.00
SUSAN SCHOMBURG                                     11.00    250.00      2,750.00
        Total For Legal Assistant                   35.40               11,430.00

BRIAN HOOVEN                                        14.40    445.00      6,408.00
PATRICK L. RIEDER                                   60.90    445.00     27,100.50
RUSSELL KOSTELAK                                    26.80    445.00     11,926.00
YASMIN EMRANI                                       26.50    445.00     11,792.50
      Total For Law Clerk                          128.60               57,227.00

JOSHUA M. KAY                                        5.90    350.00      2,065.00
      Total For Prac. Support                        5.90                2,065.00
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AVOIDANCE ACTION ANALYSIS
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Professional Fees                                1,065.00         $   709,382.50

Total this Matter                                                 $   709,382.50
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BUSINESS OPERATIONS
Client/Matter No. 71844.0006


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                                   Hours        Amount

01/04/16     JGL        Review Debtors' budget presentation.                            0.70         875.00
01/04/16     PMA        Review Debtors’ revised budget.                                 0.20         215.00
01/04/16     VI         Review CEOC 2016 operating budget (1.0); analyze FTI            1.40       1,155.00
                        cash flow report (.4).
01/05/16     JGL        Review email from G. Bousquette regarding Debtors'              0.10        125.00
                        proposed budget.
01/12/16     PMA        Confer with V. Indelicato regarding employee issues.            0.20        215.00
01/12/16     VI         Confer with P. Abelson regarding employee issues.               0.20        165.00
01/13/16     PMA        Review email correspondence from G. Bousquette and S.           0.10        107.50
                        Star regarding Atlantic City casinos.
01/25/16     PMA        Review presentation regarding Caesars financial results.        0.20        215.00
01/26/16     VI         Analyze CEOC correspondence regarding Forum Shops.              0.70        577.50
01/27/16     VI         Review S. Ma summary of telephone conference regarding          0.30        247.50
                        Forum Shops.
01/28/16     VI         Analyze Forum Shops issue.                                      0.40        330.00


Attorney                                                              Hours           Rate         Amount

JUDY G. LIU                                                             0.80       1,250.00        1,000.00
PHILIP M. ABELSON                                                       0.70       1,075.00          752.50
       Total For Partner                                                1.50                       1,752.50

VINCENT INDELICATO                                                      3.00        825.00         2,475.00
      Total For Associate                                               3.00                       2,475.00


Professional Fees                                                       4.50                   $   4,227.50

Total this Matter                                                                             $    4,227.50
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CASE ADMINISTRATION
Client/Matter No. 71844.0007


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                         Hours   Amount

01/04/16    SAE         Review emails regarding Committee call, pleadings filed              0.20    185.00
                        since 12/23.
01/05/16    PP          Review current WIP list.                                             0.30    307.50
01/05/16    MG          Prepare draft of updated calendar, including cross                   2.40    900.00
                        referencing adjournment information regarding numerous
                        claims objections.
01/06/16    MG          Revisions to calendar (.9); correspond with S. Ma regarding          1.10    412.50
                        same (.1); prepare email and circulate calendar to team (.1).
01/07/16    PP          Review exclusivity periods.                                          0.30    307.50
01/07/16    NP          Review files for hearing transcript for V. Indelicato (.1);          0.20     60.00
                        forward same (.1).
01/07/16    MG          Review FileSite for new correspondence and documents in              1.00    375.00
                        connection with case status.
01/07/16    VI          Revise Proskauer Work-in-Progress List.                              0.40    330.00
01/08/16    PP          Call with P. Abelson regarding WIP list (.3); email to M.            0.60    615.00
                        Thomas regarding updates (.3).
01/08/16    VI          Review weekly case summaries.                                        0.30    247.50
01/13/16    PP          Attention to filing Committee response to Examiner's seal            0.20    205.00
                        motion.
01/13/16    NP          Prepare for filing (.1) and file response to motion to seal (.2);    0.60    180.00
                        coordinate service regarding same (.1); prepare and
                        distribute other parties' responses to same (.2).
01/13/16    MG          Review FileSite for recent correspondence and documents              0.90    337.50
                        regarding case developments.
01/14/16    MG          Review dockets and motions regarding calendar items (.8);            1.80    675.00
                        prepare updated calendar and send to S. Ma (1.0).
01/15/16    ER          Prepare and circulate standing motion binder to P. Abelson           1.20    390.00
                        and V. Indelicato.
01/15/16    SM          Revise updated case calendar.                                        0.40    244.00
01/19/16    PP          Review update on guarantee trials.                                   0.30    307.50
01/19/16    MG          Review updated calendar and circulate same.                          0.30    112.50
01/19/16    VI          Review case calendar.                                                0.20    165.00
01/21/16    NP          Review (.2) and circulate to attorneys (.1) 1/20/2016                0.30     90.00
                        omnibus hearing transcript.
01/21/16    MG          Correspond with M. Zerjal regarding schedules of assets and          2.00    750.00
                        liabilities (.1); assist M. Zerjal to retrieve same (.2); review
                        FileSite regarding recent correspondence and documents
                        regarding case status (1.7).
01/21/16    JW          Discuss notice requirements with P. Possinger and V.                 0.10     44.50
                        Indelicato regarding filing amended complaint N.D. Ill.
01/22/16    NP          Prepare for filing (.3) notice of filing of amended proposed         0.90    270.00
                        complaint; telephone conference with V. Indelicato
                        regarding filing and service of same (.1); file (.3) and
                        coordinate service regarding same (.2).
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CASE ADMINISTRATION
Client/Matter No. 71844.0007

Date         Attorney   Description                                                           Hours         Amount

01/22/16     VI         Analyze weekly case summaries.                                          0.30         247.50
01/25/16     MG         Prepare case calendar (1.1); categorize pleadings to update             2.30         862.50
                        spreadsheet (1.2).
01/26/16     NP         Prepare for filing (.1) and file trial brief (.2); coordinate           0.80         240.00
                        service regarding same (.1); compile (.3) and forward to V.
                        Indelicato (.1) trial briefs filed by other parties.
01/26/16     MG         Calendar preparation for distribution to team.                          1.80         675.00
01/27/16     ER         Prepare and circulate binders of trial briefs for V. Indelicato.        1.00         325.00
01/29/16     NP         Review Committee exhibits binders from vendor.                          0.30          90.00
01/29/16     VI         Review weekly docket summaries.                                         0.80         660.00


Attorney                                                                    Hours             Rate          Amount

PAUL POSSINGER                                                                1.70         1,025.00         1,742.50
      Total For Partner                                                       1.70                          1,742.50

SCOTT A. EGGERS                                                               0.20          925.00           185.00
      Total For Senior Counsel                                                0.20                           185.00

JERAMY WEBB                                                                   0.10          445.00             44.50
STEVE MA                                                                      0.40          610.00            244.00
VINCENT INDELICATO                                                            2.00          825.00          1,650.00
      Total For Associate                                                     2.50                          1,938.50

EVELYN RODRIGUEZ                                                             2.20           325.00            715.00
MAGALI GIDDENS                                                              13.60           375.00          5,100.00
NATASHA PETROV                                                               3.10           300.00            930.00
     Total For Legal Assistant                                              18.90                           6,745.00


Professional Fees                                                           23.30                      $   10,611.00

Total this Matter                                                                                     $    10,611.00
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CLAIMS ADMINISTRATION AND OBJECTIONS
Client/Matter No. 71844.0008


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                    Hours   Amount

01/04/16    PMA         Research section 1111(b) issues in preparation for briefing     0.40    430.00
                        (.3); confer with V. Indelicato regarding section 1111(b)
                        issues (.1).
01/04/16    VI          Analyze FTI claims objection index (.5); confer with P.         1.90   1,567.50
                        Abelson regarding section 1111(b) issue (.1); analyze
                        section 1111(b) issues (1.2); email correspondence with
                        White & Case regarding section 1111(b) deposition schedule
                        (.1).
01/05/16    VI          Review section 1111(b) documents (.7); telephone                2.10   1,732.50
                        conference with White & Case regarding same (.5); Review
                        section 1111(b) draft deposition outline (.9).
01/06/16    SAE         Conference with A. Wellin regarding section 1111(b) and         0.20    185.00
                        hot documents issues.
01/06/16    ASW         Assemble deposition binders.                                    0.70     514.50
01/06/16    PMA         Review materials regarding section 1111(b) litigation (1.2);    1.50   1,612.50
                        confer with V. Indelicato regarding section 1111(b) (.2);
                        review email correspondence from V. Indelicato regarding
                        section 1111(b) issues (.1).
01/06/16    LPO         Retrieve and assemble deposition preparation materials.         1.00     350.00
01/06/16    VI          Multiple email correspondences with White & Case                4.30   3,547.50
                        regarding section 1111(b) trial preparation (.5); multiple
                        telephone conferences with J. Goldstein regarding same (.3);
                        review multiple documents in preparation for section
                        1111(b) deposition (3.3); confer with P. Abelson regarding
                        same (.2).
01/06/16    TQ          Prepare binder for deposition of Paul & Weiss (5.0); meeting    5.10   2,269.50
                        with A. Wellin and V. Indelicato regarding same (.1).
01/07/16    SAE         Conference with A. Wellin regarding section 1111(b)             0.20    185.00
                        deposition.
01/07/16    PP          Review transcript of Paul Weiss deposition regarding section    1.70   1,742.50
                        1111(b) objection.
01/07/16    ASW         Attend Paul Weiss deposition.                                   3.00   2,205.00
01/07/16    PMA         Confer with V. Indelicato regarding section 1111(b) issues      1.30   1,397.50
                        (.8); confer with H. Denman and V. Indelicato regarding
                        section 1111(b) (.5).
01/07/16    VI          Attend M. Wlazlo deposition.                                    3.00   2,475.00
01/08/16    PP          Call with P. Abelson, V. Indelicato, M. Davidson and A.         2.30   2,357.50
                        Wellin regarding section 1111(b) pre-trial tasks (1.4); call
                        with White & Case regarding same (.5); review pre-trial
                        order and case management procedures (.4).
01/08/16    ASW         Attend team conference call regarding section 1111(b)           1.00    735.00
                        (partial attendance).
01/08/16    NP          Database searches for key documents regarding Paul Weiss        1.10    330.00
                        for J. Anderson.
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Date        Attorney    Description                                                       Hours   Amount

01/08/16    SM          Review documents for preparation of section 1111(b) issue          0.20    122.00
                        brief.
01/08/16    MZ          Participate in discussion regarding section 1111(b) trial with     4.10   3,013.50
                        P. Abelson, P. Possinger. V. Indelicato (.5) and A. Wellin
                        (.4); participate in discussion with same team and White &
                        Case regarding same (.5); review pre-trial order (.3); prepare
                        timeline and trial brief outline (2.4).
01/08/16    PMA         Review materials regarding section 1111(b) pre-trial brief         2.40   2,580.00
                        and legal issues (.5); attend meeting with Proskauer team
                        regarding upcoming section 1111(b) trial, including pre-trial
                        brief (1.4); teleconference with Proskauer team and White &
                        Case regarding section 1111(b) pre-trial brief (.5).
01/08/16    VI          Meeting with A.Wellin regarding section 1111(b) update             4.00   3,300.00
                        (.4); analyze section 1111(b) issues in preparation for
                        telephone conference with White & Case (1.7); confer with
                        P. Abelson, M. Davidson, A. Wellin and P. Possinger
                        regarding section 1111(b) issues (1.4); telephone conference
                        with White & Case regarding section 1111(b) trial
                        preparation (.5).
01/09/16    PMA         Review materials regarding section 1111(b) pre-trial brief         0.60    645.00
                        and legal issues.
01/09/16    VI          Analyze section 1111(b) trial issues.                              3.20   2,640.00
01/10/16    MZ          Review outline of section 1111(b) memo (.4) and draft notes        0.70     514.50
                        (.3).
01/10/16    PMA         Review and respond to email correspondence from V.                 0.20    215.00
                        Indelicato regarding section 1111(b) pre-trial brief issues.
01/10/16    VI          Research case law for section 1111(b) trial brief (2.5); draft     8.50   7,012.50
                        arguments for section 1111(b) trial brief (6.0).
01/11/16    MED         Review A. Wellin email forwarding White & Case email               1.10   1,100.00
                        regarding section 1111(b) deposition designations (.4) email
                        to A. Wellin regarding same (.2); conference with A. Wellin
                        regarding same (.5).
01/11/16    PP          Review section 1111(b) arguments, outline, related cases           1.90   1,947.50
                        (1.2); discuss with NY team (.7).
01/11/16    ASW         Confer with M. Davidson regarding White & Case email               0.50    367.50
                        concerning section 1111(b) deposition designations.
01/11/16    SM          Review proof of claims and claim objection regarding               5.70   3,477.00
                        preparation of omnibus objection to certain claims (1.1);
                        draft section of section 1111(b) trial brief (3.6); attend team
                        meeting regarding same (1.0).
01/11/16    MZ          Participate in meeting regarding section1111(b) issues with        2.80   2,058.00
                        P. Abelson (partial attendance), V. Indelicato, S. Ma (2.3);
                        review outline (.5).
01/11/16    PMA         Confer with V. Indelicato regarding section 1111(b) (.4);          3.40   3,655.00
                        confer with Proskauer team regarding section 1111(b) (1.0);
                        review materials regarding section 1111(b) pre-trial brief
                        and legal issues (2.0).
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Date        Attorney    Description                                                     Hours   Amount

01/11/16    VI          Meeting with P. Abelson, M. Zerjal, S. Ma, and A. Wellin         3.70   3,052.50
                        regarding section 1111(b) strategy (1.0); multiple email
                        correspondences with A.Wellin and White & Case regarding
                        section 1111(b) pre-trial designations (.4); confer with P.
                        Abelson regarding section 1111(b) issues (.4); revise
                        multiple drafts of pre-trial designations (1.0); Analyze
                        section 1111(b) waiver issues (.9).
01/11/16    TQ          Obtain documents for Paul Weiss deposition binder.               0.40    178.00
01/12/16    SAE         Conference with A. Wellin regarding section 1111(b)              0.70    647.50
                        update, document review issues, etc. (.3); conference with A.
                        Wellin regarding evidentiary issues in section 1111(b) case
                        (.3); review order on Committee participation in section
                        1111(b) (.1).
01/12/16    MED         Conference with A. Wellin regarding section 1111(b) issues       0.60    600.00
                        (.2); meeting with A. Wellin and bankruptcy team regarding
                        section 1111(b) issues (.4).
01/12/16    PP          Review order regarding participation in section 1111(b) trial    3.80   3,895.00
                        (.3); discuss with P. Abelson (.1); draft memorandum in
                        support of Committee participation (3.1); follow-up call with
                        V. Indelicato regarding same (.3).
01/12/16    ASW         Call with M. Davidson regarding section 1111(b) issues (.2);     1.20    882.00
                        meeting with M. Davidson and bankruptcy team regarding
                        section 1111(b) issues (.4); conference with S. Eggers
                        regarding evidentary issues (.3); confer with S. Eggers
                        regarding section 1111(b) status (.3).
01/12/16    SM          Draft portion of section 1111(b) trial brief.                    3.60   2,196.00
01/12/16    MZ          Perform research on section 1111(b) issues.                      1.70   1,249.50
01/12/16    PMA         Confer with P. Possinger regarding section 1111(b).              0.10     107.50
01/12/16    VI          Review Judge Goldgar order regarding section 1111(b) trial       4.60   3,795.00
                        participation (.1); multiple telephone conferences and email
                        correspondences with White & Case regarding section
                        1111(b) trial issues (.8); analyze multiple drafts of section
                        1111(b) pre-trial materials (.7); multiple email
                        correspondences and telephone conferences with FTI
                        regarding trial exhibits (.3); confer with P. Possinger
                        regarding Committee participation memorandum (.3);
                        research issues for section 1111(b) pre-trial brief (2.4).
01/13/16    PP          Review exhibit list for section 1111(b) trial (.3); telephone    1.30   1,332.50
                        conference with White & Case regarding same (1.0).
01/13/16    ASW         Review proposed section 1111(b) filings.                         0.70     514.50
01/13/16    SM          Review documents for call with White & Case on section           4.60   2,806.00
                        1111(b) trial (.1); call with White & Case regarding section
                        1111(b) trial (.7); prepare portion of trial brief regarding
                        section 1111(b) trial (3.8).
01/13/16    MZ          Participate on part of call with White & Case regarding          3.90   2,866.50
                        section 1111(b) trial (partial attendance) (.2); research NY
                        law regarding contracts (2.2); draft section regarding same
                        (1.5).
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01/13/16    PMA         Review materials regarding section 1111(b) pre-trial brief            1.00   1,075.00
                        and legal issues (.5); teleconference with White & Case,
                        Novak, and Proskauer teams regarding section 1111(b) (.5).
01/13/16    VI          Multiple email correspondences and telephone conferences              4.50   3,712.50
                        with White & Case regarding section 1111(b) pre-trial
                        submissions (1.0); Analyze section 1111(b) issues in
                        connection with pre-trial brief (1.5); Analyze draft pre-trial
                        submissions (2.0).
01/14/16    SAE         Review witness lists in section 1111(b) matter.                       0.10      92.50
01/14/16    PP          Review deposition cites for section 1111(b) brief (.4);               2.40   2,460.00
                        discuss same with V. Indelicato (.2); review proposed fact
                        stipulation (1.1); discuss same with V. Indelicato (.2);
                        review precedent for exhibit list (.5).
01/14/16    ASW         Review proposed section 1111(b) filings.                              0.50     367.50
01/14/16    SM          Draft portion of section 1111(b) trial brief (6.1); confer with       6.50   3,965.00
                        P. Abelson and V. Indelicato regarding section 1111(b)
                        issues (.2); conference with P. Abelson regarding section
                        1111(b) (.2).
01/14/16    PMA         Review draft section 1111(b) fact stipulation (.6);                   1.40   1,505.00
                        conference with S. Ma and V. Indelicato regarding section
                        1111(b) (.2); conference with V. Indelicato regarding section
                        1111(b) (.3); conference with S. Ma regarding section
                        1111(b) (.2); review various email correspondence regarding
                        section 1111(b) (.1).
01/14/16    VI          Revise draft stipulation of facts (1.2); Draft section 1111(b)        7.50   6,187.50
                        pre-trial brief (3.6); Analyze deposition transcript (1.0);
                        Finalize pre-trial submissions (.7); discuss section 1111(b)
                        brief with P. Possinger (.3); discuss proposed fact stipulation
                        with P. Possinger (.2); conference with P. Abelson and S.
                        Ma regarding section 1111(b) issues (.2); conference with P.
                        Abelson regarding same (.3).
01/15/16    SM          Review draft of section 1111(b) brief.                                0.50    305.00
01/15/16    MZ          Review section 1111(b) brief draft.                                   0.80    588.00
01/15/16    PMA         Conference with V. Indelicato regarding section 1111(b)               0.10    107.50
                        issues.
01/15/16    VI          Revise draft section 1111(b) pre-trial brief (3.9); conference        4.00   3,300.00
                        with P. Abelson regarding same (.1).
01/16/16    PMA         Review M. Wlazlo interview excerpts (.2); revise draft                0.50    537.50
                        section 1111(b) trial brief (.3).
01/16/16    VI          Revise draft section 1111(b) trial brief.                             2.00   1,650.00
01/17/16    SM          Review emails regarding section 1111(b) trial brief.                  0.10      61.00
01/17/16    VI          Analyze section 1111(b) issues for pre-trial brief.                   1.20     990.00
01/18/16    SM          Follow up on various emails regarding section 1111(b) brief           7.20   4,392.00
                        and trial (.2); revise draft of section 1111(b) trial brief (7.0).
01/18/16    MZ          Review and comment on draft section 1111(b) brief (1.5);              1.90   1,396.50
                        review additional comments (.4).
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Date        Attorney    Description                                                      Hours   Amount

01/18/16    PMA         Revise draft section 1111(b) brief (5.3); review Debtors’         5.50   5,912.50
                        memo regarding section 1111(b) participation (.1); review
                        Second Liens’ response regarding section 1111(b)
                        participation (.1).
01/18/16    VI          Revise proposed joint stipulation of facts regarding section      3.70   3,052.50
                        1111(b) trial (1.2); revise draft section 1111(b) trial brief
                        (2.5).
01/19/16    MKT         Conference with V. Indelicato regarding section 1111(b)           0.60    720.00
                        issues (.2); review pleadings regarding same (.4).
01/19/16    PP          Review updated fact stipulation (.9); provide comments            1.10   1,127.50
                        regarding same to V. Indelicato (.2).
01/19/16    SM          Revise draft of section 1111(b) trial brief according to          4.60   2,806.00
                        comments from P. Abelson (3.8); meet with P. Abelson
                        regarding section 1111(b) (.5); meet with P. Abelson, M.
                        Zerjal and C. Theodoridis regarding same (.3).
01/19/16    MZ          Review latest draft of section 1111(b) memorandum,                2.80   2,058.00
                        stipulation, and related correspondence (2.4); confer with P.
                        Abelson regarding same (.1); meeting with P. Abelson, S.
                        Ma, C. Theodoridis regarding same (.3).
01/19/16    PMA         Confer with M. Zerjal regarding section 1111(b) (.1); confer      4.80   5,160.00
                        with V. Indelicato regarding section 1111(b) (.3); confer
                        with S. Ma, C. Theodoridis, and M. Zerjal regarding section
                        1111(b) (.3); revise section 1111(b) trial brief (4.1).
01/19/16    VI          Review draft White & Case section 1111(b) brief (1.3);            5.00   4,125.00
                        revise draft Committee section of 1111(b) brief (1.4); confer
                        with P. Abelson regarding section 1111(b) (.3); multiple
                        telephone conferences with J. Goldstein regarding section
                        1111(b) facts (.2); review draft section 1111(b) trial
                        materials (1.3); confer with M. Thomas regarding section
                        1111(b) issues (.2); confer with P. Abelson and team
                        regarding section 1111(b) issues (.3).
01/20/16    PP          Review section 1111(b) trial brief (1.1); review updated fact     1.60   1,640.00
                        stipulations (.5).
01/20/16    SM          Revise draft of section 1111(b) trial brief (8.6); confer with   10.00   6,100.00
                        P. Abelson regarding section 1111(b) issues (.5); confer with
                        P. Abelson and V. Indelicato regarding section 1111(b)
                        issues (.3); attend teleconference with H. Denman, J.
                        Goldstein, and V. Indelicato (.3); confer with P. Abelson
                        regarding section 1111(b) (.3).
01/20/16    MZ          Confer with P. Abelson regarding section 1111(b) issues.          0.30     220.50
01/20/16    PMA         Confer with M. Zerjal regarding section 1111(b) (.3); confer      1.40   1,505.00
                        with S. Ma and V. Indelicato regarding section 1111(b) (.3);
                        teleconference with H. Denman, J. Goldstein, S. Ma, and V.
                        Indelicato regarding section 1111(b) (.3); confer with S. Ma
                        regarding section 1111(b) (.5).
01/20/16    VI          Revise section 1111(b) trial brief (1.0); confer with P.          1.60   1,320.00
                        Abelson and S. Ma regarding section 1111(b) matters (.3);
                        telephone conference with White & Case regarding section
                        1111(b) issues (.3).
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Date        Attorney    Description                                                          Hours   Amount

01/21/16    PP          Discuss section 1111(b) brief with P. Abelson, V. Indelicato          0.60    615.00
                        and M. Bienenstock.
01/21/16    SM          Review Debtors' schedules and claims register for specific            4.20   2,562.00
                        claims/contracts (.7); discussion with J. Goldstein (White &
                        Case) regarding section 1111(b) trial brief (.6); revise
                        section 1111(b) trial brief (2.5); participate in various phone
                        calls with V. Indelicato and P. Abelson regarding section
                        1111(b) trial brief (.4).
01/21/16    PMA         Review revised section 1111(b) trial briefs, including                2.60   2,795.00
                        Wilmington Trust’s brief (1.3); confer with M. Bienenstock,
                        P. Possinger and V. Indelicato regarding section 1111(b)
                        brief (.6); confer with V. Indelicato regarding section
                        1111(b) issues (.3); Confer with M. Zerjal regarding section
                        1111(b) issues (.1); confer with S. Ma regarding section
                        1111(b) issues (.1); review revised stipulation of facts
                        regarding section 1111(b) (.2).
01/21/16    VI          Revise draft section 1111(b) brief (.9); review section               2.20   1,815.00
                        1111(b) pre-trial materials (.5); confer with P. Abelson
                        regarding section 1111(b) issues (.3); confer with M.
                        Bienenstock, P. Possinger and P. Abelson regarding section
                        1111(b) brief (.5).
01/22/16    PP          Review section 1111(b) brief, comments to team (1.2).                 1.20   1,230.00
01/22/16    SM          Participate in call with P. Possinger, P. Abelson, and V.             2.50   1,525.00
                        Indelicato regarding section 1111(b) trial brief (.2); meet
                        with V. Indelicato and P. Abelson to discuss section 1111(b)
                        trial brief (.2); revise section 1111(b) trial brief to be sent to
                        M. Bienenstock (2.1).
01/22/16    MJB         Review and research of section 1111(b) brief arguments and            3.40   4,403.00
                        develope additional arguments.
01/22/16    PMA         Review revised section 1111(b) brief (.2); Confer with H.             1.30   1,397.50
                        Denman regarding section 1111(b) facts stipulation (.1);
                        confer with H. Denman and J. Goldstein regarding section
                        1111(b) facts stipulation (.1); confer with V. Indelicato and
                        S. Ma regarding section 1111(b) (.2); confer with V.
                        Indelicato regarding section 1111(b) (.2); confer with H.
                        Denman and V. Indelicato regarding section 1111(b) trial
                        brief (.5).
01/22/16    VI          Telephone conference with P. Abelson, P. Possinger, and S.            2.50   2,062.50
                        Ma regarding section 1111(b) trial brief (.3); confer with P.
                        Abelson and S. Ma regarding same (.2); telephone
                        conference with White & Case, Stroock, and Kramer Levin
                        regarding section 1111(b) stipulation of facts (.5); revise
                        section 1111(b) brief (1.3); confer with P. Abelson regarding
                        section 1111(b) (.2).
01/24/16    SM          Follow up on email regarding section 1111(b) trial brief (.1);        0.30    183.00
                        review emails regarding section 1111(b) trial brief (.2).
01/24/16    PMA         Confer with V. Indelicato regarding section 1111(b) issues            0.20    215.00
                        (.1); review email correspondence from V. Indelicato and M.
                        Bienenstock regarding section 1111(b) (.1).
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01/24/16    VI          Multiple email correspondences with Proskauer team                0.90    742.50
                        regarding section 1111(b) trial brief (.2); multiple email
                        correspondences with White & Case regarding same (.2);
                        revise draft section 1111(b) trial brief (.5).
01/25/16    MED         Review V. Indelicato email regarding Judge Goldgar                0.30    300.00
                        decision on section 1111(b) issues (.1); review decision (.2).
01/25/16    PP          Review updated draft of Committee brief on section                0.70    717.50
                        1111(b); (.5); discuss formatting with Wilmington counsel
                        (.2).
01/25/16    SM          Review draft of Committee section 1111(b) trial brief (.5);       1.20    732.00
                        revise draft of section 1111(b) trial brief according to
                        comments from V. Indelicato (.4); attend call with White &
                        Case regarding section 1111(b) brief. (.2); edit Committee
                        section1111(b) trial brief according to comments from call
                        (.1).
01/25/16    JGL         Review email correspondence from V. Indelicato and Judge          0.80   1,000.00
                        Goldgar’s order sanctioning Second Lien Committee
                        regarding pre-trial order (.2); revise draft Committee joinder
                        to 10.75% notes trial brief (.6).
01/25/16    PMA         Review revised 10.75% and Committee section 1111(b) trial         2.30   2,472.50
                        briefs (1.5); Confer with V. Indelicato regarding section
                        1111(b) issues (.5); Review email correspondence from
                        various parties regarding section 1111(b) (.1);
                        Teleconference with H. Denman and V. Indelicato regarding
                        section 1111(b) trial brief (.2).
01/25/16    VI          Draft email correspondence to Committee regarding section         5.20   4,290.00
                        1111(b) trial (.2); revise section 1111(b) pre-trial
                        submissions (4.0); Multiple email correspondences and
                        telephone conferences with White & Case regarding same
                        (.5); confer with P. Abelson regarding same (.5).
01/26/16    MKT         Review filed section 1111(b) briefs.                              1.80   2,160.00
01/26/16    PP          Final review of Committee section 1111(b) brief.                  0.50     512.50
01/26/16    ASW         Review section 1111(b) trial briefs.                              1.00     735.00
01/26/16    SM          Finalize Committee section 1111(b) trial brief (.5); review       1.30     793.00
                        section 1111(b) briefs filed by various parties (.8).
01/26/16    PMA         Review revised 10.75% and Committee section 1111(b) trial         0.90    967.50
                        briefs (.3); Review First Lien section 1111(b) trial briefs
                        (.2); Confer with V. Indelicato regarding section 1111(b)
                        briefs (.3); Review email correspondence from various
                        parties regarding section 1111(b) brief (.1).
01/26/16    VI          Revise multiple drafts of section 1111(b) briefs (4.8);           6.60   5,445.00
                        analyze filed section 1111(b) briefs. (1.5); confer with P.
                        Abelson regarding section 1111(b) briefs (.3).
01/27/16    SAE         Review trial briefs on section 1111(b) trial (.8); telephone      1.00    925.00
                        conference with A. Wellin regarding trial (.2).
01/27/16    PMA         Review First Lien section 1111(b) trial briefs.                   1.30   1,397.50
01/27/16    VI          Revise draft claim objections.                                    1.80   1,485.00
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01/28/16    PP          Review pre-trial briefs for section 1111(b) trial (2.3);         2.60   2,665.00
                        prepare for trial (.3).
01/28/16    SM          Compile objections to exhibits for section 1111(b) trial for     0.30    183.00
                        A.Wellin.
01/28/16    VI          Multiple email correspondences with Proskauer and White          0.50    412.50
                        & Case teams regarding section 1111(b) trial preparation.
01/29/16    SAE         Conference with A. Wellin regarding section 1111(b) trial.       0.20     185.00
01/29/16    ASW         Confer with S. Egger regarding section 1111(b) trial.            0.20     147.00
01/29/16    MJB         Review briefs from First Lienholders and subsidiary              2.70   3,496.50
                        guaranteed notes regarding section 1111(b) litigation (.9);
                        and main decisions relied upon (1.8).
01/29/16    VI          Multiple email correspondences with A.Wellin and White &         1.50   1,237.50
                        Case regarding section 1111(b) trial preparation (.3); Review
                        pre-trial materials (1.2).
01/31/16    ASW         Conference call with White & Case regarding section              0.80    588.00
                        1111(b) (.7); conference with P. Abelson regarding section
                        1111(b) trial (.1).
01/31/16    PMA         Teleconference with Proskauer and White & Case teams             0.70    752.50
                        regarding section 1111(b) trial.
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CLAIMS ADMINISTRATION AND OBJECTIONS
Client/Matter No. 71844.0008



Attorney                                           Hours       Rate          Amount

JUDY G. LIU                                          0.80   1,250.00         1,000.00
MARK K. THOMAS                                       2.40   1,200.00         2,880.00
MARTIN J. BIENENSTOCK                                6.10   1,295.00         7,899.50
PAUL POSSINGER                                      21.70   1,025.00        22,242.50
PHILIP M. ABELSON                                   33.90   1,075.00        36,442.50
       Total For Partner                            64.90                   70,464.50

MARK E. DAVIDSON                                     2.00   1,000.00         2,000.00
SCOTT A. EGGERS                                      2.40     925.00         2,220.00
      Total For Senior Counsel                       4.40                    4,220.00

ANDREW S. WELLIN                                     9.60    735.00          7,056.00
MAJA ZERJAL                                         19.00    735.00         13,965.00
STEVE MA                                            52.80    610.00         32,208.00
TIFFANY QUACH                                        5.50    445.00          2,447.50
VINCENT INDELICATO                                  86.00    825.00         70,950.00
      Total For Associate                          172.90                  126,626.50

LISA P. ORR                                          1.00    350.00           350.00
NATASHA PETROV                                       1.10    300.00           330.00
        Total For Legal Assistant                    2.10                     680.00


Professional Fees                                  244.30              $   201,991.00

Total this Matter                                                      $   201,991.00
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COMMITTEE GOVERNANCE
Client/Matter No. 71844.0009


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                                      Hours        Amount

01/08/16     SM         Draft Committee meeting minutes.                                   0.20        122.00
01/12/16     SM         Review Committee member contact information and notify             0.50        305.00
                        Committee and advisors of changes.
01/14/16     SM         Update Committee bylaws regarding representative change            1.60        976.00
                        (.5); update working group list (.6); advise Proskauer team
                        and Committee financial advisors of new Committee contact
                        information (.5).
01/14/16     VI         Multiple email correspondences with Pryor Cashman                  0.20        165.00
                        regarding Wilmington Committee representative.
01/26/16     SM         Draft Committee meeting minutes for 1/12 meeting (.2) and          0.40        244.00
                        1/15 meeting (.2).
01/26/16     VI         Multiple email correspondences with Jefferies regarding            0.20        165.00
                        confidentiality agreements.
01/27/16     SM         Draft Committee meeting minutes.                                   0.20        122.00
01/27/16     VI         Review proposed confidentiality agreements (.5); Meeting           0.70        577.50
                        with D. Desatnik regarding same (.2).
01/29/16     VI         Revise draft confidentiality agreements (1.5); Multiple email      2.70       2,227.50
                        correspondences with Jefferies and G. Bousquette regarding
                        same (.5); Telephone conference with R. Klein regarding
                        same (.2); Multiple telephone conferences with Paul Weiss
                        regarding same (.3); Telephone conference with Latham
                        regarding same (.2).
01/31/16     VI         Multiple email correspondences with Paul Weiss regarding           1.00        825.00
                        confidentiality agreements (.2); Revise confidentiality
                        agreements (.8).


Attorney                                                                 Hours           Rate         Amount

STEVE MA                                                                   2.90         610.00        1,769.00
VINCENT INDELICATO                                                         4.80         825.00        3,960.00
      Total For Associate                                                  7.70                       5,729.00


Professional Fees                                                          7.70                   $   5,729.00

Total this Matter                                                                                $    5,729.00
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EMPLOYEE BENEFITS AND PENSIONS
Client/Matter No. 71844.0010


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                    Hours   Amount

01/04/16    BK          Review documents sent by Paul Weiss regarding deferred          0.90    549.00
                        compensation plans.
01/04/16    JHL         Speak with C. Hart regarding Caesars deferred                   0.20     89.00
                        compensation plans.
01/05/16    BK          Draft summary of argument regarding escrow and the trust        0.20    122.00
                        accounts.
01/05/16    JHL         Prepare initial draft of brief regarding Caesars deferred       1.80    801.00
                        compensation plans.
01/06/16    JHL         Continue drafting initial draft of brief regarding Caesars      4.40   1,958.00
                        deferred compensation plans (3.9); research secondary
                        sources regarding background to deferred compensation
                        plans and rabbi trusts (.5).
01/07/16    BK          Prepare brief regarding deferred compensation payments.         0.10      61.00
01/07/16    JHL         Finish initial draft of brief regarding Caesars deferred        5.00   2,225.00
                        compensation plans.
01/08/16    BK          Review of draft brief regarding deferred compensation plans     1.60    976.00
                        of CEC and CEOC.
01/08/16    CMH         Review of argument regarding deferred compensation plans        1.40   1,400.00
                        (1.0); call with S. Eggers regarding same (.2); meet with J.
                        Lee regarding deferred compensation plans brief (.2).
01/08/16    JHL         Review initial draft of brief regarding Caesars deferred        2.10    934.50
                        compensation plans (1.9); meet briefly with C. Hart to
                        discuss same (.2).
01/10/16    BK          Review of draft brief regarding deferred compensation plans     0.60    366.00
                        of CEC and CEOC.
01/11/16    BK          Revise draft deferred compensation brief.                       2.00   1,220.00
01/11/16    PMA         Review email correspondence regarding V. Indelicato and J.      0.10     107.50
                        Liu regarding rabbi trust.
01/11/16    VI          Analyze deferred compensation plan issues (2.2); Multiple       2.70   2,227.50
                        email correspondences with C. Hart and J. Liu regarding
                        same (.2); call with C. Hart regarding same (.3).
01/11/16    CMH         Review and comment on draft argument (2.4); call with V.        2.70   2,700.00
                        Indelicato regarding plan issues (.3).
01/12/16    BK          Revisions to draft deferred compensation brief.                 0.70    427.00
01/12/16    JGL         Review emails from V. Indelicato and C. Hart regarding          0.10    125.00
                        deferred compensation.
01/12/16    CMH         Review and markup argument regarding deferred                   0.90    900.00
                        compensation.
01/12/16    JHL         Complete second draft of deferred compensation brief.           4.70   2,091.50
01/13/16    SAE         Review email from V. Indelicato regarding deferred              0.10      92.50
                        compensation issue and reply regarding same.
01/13/16    CMH         Review and comment on deferred compensation brief.              1.80   1,800.00
01/14/16    SAE         Emails to/from C. Hart regarding deferred compensation          0.10      92.50
                        issue.
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EMPLOYEE BENEFITS AND PENSIONS
Client/Matter No. 71844.0010

Date        Attorney    Description                                                        Hours   Amount

01/14/16    CMH         Communications with S. Eggers regarding deferred                    0.10    100.00
                        compensation plans.
01/19/16    SAE         Review draft memo on deferred compensation issue (.4);              0.50    462.50
                        provide comments to C. Hart (.1).
01/19/16    CMH         Review of S. Eggers comments on deferred compensation               0.70    700.00
                        memorandum (.3); review of comment with J. Lee (.4).
01/19/16    JHL         Meet with C. Hart to discuss comments by S. Eggers.                 0.40     178.00
01/20/16    CMH         Review of deferred compensation argument summary.                   0.40     400.00
01/20/16    JHL         Finish draft of brief to incorporate S. Eggers' comments.           2.20     979.00
01/21/16    CMH         Review and comment on deferred compensation argument.               0.50     500.00
01/22/16    CMH         Review and comment on deferred compensation argument.               2.00   2,000.00
01/25/16    VI          Research deferred compensation issues.                              1.50   1,237.50
01/25/16    DD          Review deferred compensation brief in preparation for               0.90     400.50
                        research into grounds for motion to compel turn over.
01/26/16    VI          Confer with D. Desatnik regarding deferred compensation             0.50    412.50
                        issues.
01/26/16    DD          Discuss deferred compensation issues with V. Indelicato             0.70    311.50
                        (.5); research grounds for filing motion to compel turnover
                        of assets (.2).
01/27/16    VI          Analyze turnover issues related to deferred compensation            0.40    330.00
                        plan assets.
01/27/16    DD          Research grounds for filing motion to compel turnover of            1.10    489.50
                        assets.
01/28/16    CMH         Review and comment on deferred compensation argument                1.10   1,100.00
                        draft (.9); correspondence with FTI regarding deferred
                        compensation argument (.2).
01/28/16    DD          Research grounds for filing motion to compel turnover of            2.50   1,112.50
                        assets.
01/31/16    CMH         Review and markup deferred compensation brief.                      1.10   1,100.00
01/31/16    DD          Research grounds for filing motion to compel turnover of            2.10     934.50
                        assets (1.5); prepare email with findings to V. Indelicato (.6).
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EMPLOYEE BENEFITS AND PENSIONS
Client/Matter No. 71844.0010



Attorney                                           Hours      Rate         Amount

COLLEEN M. HART                                    12.70   1,000.00       12,700.00
JUDY G. LIU                                         0.10   1,250.00          125.00
PHILIP M. ABELSON                                   0.10   1,075.00          107.50
       Total For Partner                           12.90                  12,932.50

SCOTT A. EGGERS                                     0.70    925.00          647.50
      Total For Senior Counsel                      0.70                    647.50

BALI KUMAR                                          6.10    610.00         3,721.00
JONATHAN H. LEE                                    20.80    445.00         9,256.00
VINCENT INDELICATO                                  5.10    825.00         4,207.50
      Total For Associate                          32.00                  17,184.50

DANIEL DESATNIK                                     7.30    445.00         3,248.50
      Total For Law Clerk                           7.30                   3,248.50


Professional Fees                                  52.90              $   34,013.00

Total this Matter                                                     $   34,013.00
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EMPLOYMENT AND FEE APPLICATIONS
Client/Matter No. 71844.0011


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                       Hours   Amount

01/04/16    SM          Prepare Proskauer's third interim fee application.                 2.20   1,342.00
01/05/16    NP          Prepare for filing (.3) and file certifications of no objection    1.20     360.00
                        to second interim fee applications for FTI Consulting,
                        Jefferies LLC, G.C. Andersen Partners, Committee and
                        Proskauer (.7); coordinate service regarding same (.2).
01/05/16    SM          Review conflicts chart (.6); confer with P. Abelson                1.00    610.00
                        regarding conflicts charts (.4).
01/05/16    JGL         Review emails from S. Ma and P. Possinger regarding CNOs           0.10    125.00
                        for second interim applications.
01/05/16    PMA         Confer with S. Ma regarding supplemental conflicts review          0.40    430.00
                        and supplemental disclosures.
01/06/16    SM          Review additional conflicts charts.                                0.30    183.00
01/06/16    JGL         Teleconference with G. Bousquette regarding potential              0.20    250.00
                        disclosure requirement.
01/07/16    ER          Review of and update conflicts charts for S. Ma.                   2.50    812.50
01/07/16    SM          Finalize conflicts charts. (.7); review additional conflicts       1.20    732.00
                        charts (.5).
01/07/16    JGL         Review order granting Proskauer second interim fee                 0.10    125.00
                        application.
01/07/16    MG          Analyze Committee member expense materials (.5); prepare           3.50   1,312.50
                        detailed charts regarding same (1.8); reductions to certain
                        entries to comply with fee committee guidelines (.3);
                        telephone conferences with S. Ma regarding same (.1);
                        review Committee expense fee award order regarding
                        breakdown by Committee member and compare to interim
                        fee application request (.4); check Caesars' payment history
                        to cross reference (.2); telephone conference with S. Ma
                        regarding same (.2).
01/08/16    ER          Review of and updates to conflicts chart for S. Ma.                1.10    357.50
01/08/16    MG          Telephone conference with H. Sanchez regarding Committee           0.50    187.50
                        funds allocation (.2); confer with M. Carpenter regarding
                        wire instructions preparation (.1); review same (.1);
                        download December billing statement (.1).
01/09/16    MG          Review and revise December billing statement.                      1.00     375.00
01/11/16    MG          Revise December billing statement to ensure compliance             3.20   1,200.00
                        with U.S. Trustee and fee committee guidelines, including
                        matter categorization, time breakdown, consistency and
                        accuracy (2.9); telephone conference and correspond with H.
                        Sanchez and J. Peters regarding Committee wire instructions
                        and open balance items (.3).
01/12/16    MG          Revise December billing statement.                                 2.30    862.50
01/13/16    JGL         Review N. Rapoport email and correspondence with S. Ma             0.10    125.00
                        regarding same.
01/13/16    MG          Revise December billing statement to comply with U.S.              2.80   1,050.00
                        Trustee and fee committee guidelines.
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EMPLOYMENT AND FEE APPLICATIONS
Client/Matter No. 71844.0011

Date        Attorney    Description                                                    Hours   Amount

01/14/16    PP          Discuss fee examiner inquiries with S. Ma.                      0.20    205.00
01/14/16    SM          Review October report from fee committee (.4); confer with      0.60    366.00
                        P. Possinger regarding fee committee inquiries (.2).
01/14/16    JGL         Review emails from P. Possinger regarding fee report (.2);      1.40   1,750.00
                        review fee examiner initial October report (1.2).
01/14/16    MG          Revise December billing statement.                              2.70   1,012.50
01/15/16    ER          Assist S. Ma with conflicts searches.                           2.10     682.50
01/15/16    SM          Draft supplemental disclosure regarding new client.             0.80     488.00
01/15/16    PMA         Review supplemental disclosure regarding retention.             0.10     107.50
01/15/16    MG          Revise billing statement regarding categorization, time         2.90   1,087.50
                        breakdown and accuracy.
01/16/16    MG          Revise December billing statement to comply with U.S.           2.80   1,050.00
                        Trustee and fee committee guidelines.
01/18/16    MG          Revise December billing statement to comply with U.S.           2.70   1,012.50
                        Trustee and fee committee guidelines regarding
                        categorization, time break down, consistency and accuracy.
01/19/16    JGL         Review fee committee examiner November report.                  1.20   1,500.00
01/19/16    MG          Revise December billing statement.                              1.30     487.50
01/20/16    MG          Revise December billing statement.                              1.70     637.50
01/21/16    SM          Review fee committee spreadsheets for October and               0.10      61.00
                        November.
01/21/16    MG          Revise December billing statement.                              1.00    375.00
01/22/16    SM          Review fee committee's reports for October and November         1.30    793.00
                        (.5); meet with J. Liu to discuss fee committee reports for
                        October and November (.8).
01/22/16    JGL         Meeting with S. Ma regarding October fee examiner               0.80   1,000.00
                        preliminary report.
01/22/16    MG          Revise December billing statement (2.3); finalize allocation    3.30   1,237.50
                        memo (.8); speak to J. Liu regarding same (.1); speak to P.
                        Abelson regarding billing statment (.1).
01/25/16    SM          Draft response to fee committee October report.                 1.00     610.00
01/25/16    JGL         Review December monthly statement for attorney-client           2.40   3,000.00
                        privilege and confidentiality issues (1.9); review (partial)
                        responses to fee committee Octobr preliminary report (.5).
01/25/16    MG          Revise December billing statement (1.4) and provide             1.80    675.00
                        October fee breakdown (.4).
01/26/16    SM          Review remaining conflicts charts (3.0). Finalize charts for    3.80   2,318.00
                        P. Abelson to review (.8).
01/26/16    JGL         Review/edit response to N. Rapoport regarding preliminary       2.70   3,375.00
                        October report (1.2); review December time entries for
                        attorney-client privilege and confidentiality (1.5).
01/26/16    MG          Revisions to December billing statement (1.1); forward FTI      1.20    450.00
                        monthly fee statement to KCC for service (.1).
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EMPLOYMENT AND FEE APPLICATIONS
Client/Matter No. 71844.0011

Date        Attorney    Description                                                      Hours   Amount

01/27/16    JGL         Email correspondence with J. Barbaria regarding November          0.50    625.00
                        rate increases (.2); Review fee committee memo regarding
                        rate increases (.1); Teleconference with P. Abelson
                        regarding fee committee memo (.2).
01/27/16    MG          Revise billing statement and time keeper inquiries regarding      1.30    487.50
                        same.
01/27/16    VI          Review fee committee memorandum regarding rate                    0.20    165.00
                        increases (.1); Email correspondences with J. Liu and S. Ma
                        regarding same (.1).
01/28/16    JGL         Discussion with M. Giddens regarding fee committee memo           1.00   1,250.00
                        concerning rate increases (.2); Review/edit draft reply to fee
                        committee regarding October statement (.6); Review emails
                        from FTI regarding fee committee revised rate memo (.2).
01/28/16    MG          Prepare committee reimbursement application (1.2); office         2.20    825.00
                        conference with J. Liu regarding fee committee rate increase
                        memo (.2); and work on second interim period holdback fee
                        allocation issue (.8).
01/29/16    SM          Meet with J. Liu, J. Kuchinsky, and J. Babaria regarding          1.40    854.00
                        Proskauer fee statements. (.6); review Proskauer fee
                        statements and rates (.5); finalize responses to N. Rapoport
                        regarding October statement (.3).
01/29/16    JGL         Meeting with J. Kuchinsky, J. Russo and S. Ma regarding           3.60   4,500.00
                        firm-wide rate increases (.6); Review December billing
                        statement for confidentiality and privilege (3.0).
01/29/16    PMA         Review December billing statement for confidentiality and         0.50    537.50
                        compliance with U.S. trustee guidelines.
01/29/16    MG          Revise December invoice regarding matters 025-033 (1.1);          1.90    712.50
                        prepare Committee reimbursement application (.8).
01/30/16    PMA         Review December billing statement for confidentiality and         2.90   3,117.50
                        compliance with U.S. trustee guidelines.
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EMPLOYMENT AND FEE APPLICATIONS
Client/Matter No. 71844.0011



Attorney                                           Hours      Rate         Amount

JUDY G. LIU                                        14.10   1,250.00       17,625.00
PAUL POSSINGER                                      0.20   1,025.00          205.00
PHILIP M. ABELSON                                   3.90   1,075.00        4,192.50
       Total For Partner                           18.20                  22,022.50

STEVE MA                                           13.70    610.00         8,357.00
VINCENT INDELICATO                                  0.20    825.00           165.00
      Total For Associate                          13.90                   8,522.00

EVELYN RODRIGUEZ                                    5.70    325.00         1,852.50
MAGALI GIDDENS                                     40.10    375.00        15,037.50
NATASHA PETROV                                      1.20    300.00           360.00
     Total For Legal Assistant                     47.00                  17,250.00


Professional Fees                                  79.10              $   47,794.50

Total this Matter                                                     $   47,794.50
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FINANCING AND CASH COLLATERAL
Client/Matter No. 71844.0013


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                      Hours   Amount

01/02/16    PMA         Review draft papers regarding cash issues.                        0.20     215.00
01/05/16    SAE         Conference with litigation team, bankruptcy team regarding        2.30   2,127.50
                        lien avoidance complaint (1.2); conference with litigation
                        team regarding complaint (.7); telephone conference with J.
                        Anderson regarding lien avoidance complaint (.1); telephone
                        conferences, emails with M. Mervis regarding complaint
                        (.1); conference with A. Wellin and M. Davidson regarding
                        lien challenge complaint (.2).
01/05/16    MED         Review A. Wellin email regarding draft lien avoidance             1.70   1,700.00
                        complaint (.1); review redlined markup of complaint (.5);
                        email to A. Wellin regarding same (.1); review drat lien
                        challenge complaint (1.0).
01/05/16    PP          Correspondence with First Lien trustee counsel regarding          0.50    512.50
                        answer date on adversary stipulation (.3); discuss with P.
                        Abelson and V. Indelicato (.2).
01/05/16    ASW         Revise lien avoidance complaint (6.8); conference with S.         7.00   5,145.00
                        Eggers and M. Davidson regarding same (.2).
01/05/16    MZ          Review correspondence on lien avoidance between J. Liu, P.        0.30    220.50
                        Abelson, P. Possinger and J. Webb.
01/05/16    VI          Revise avoidance action complaint.                                1.10     907.50
01/06/16    SOW         Review issues regarding security interest in airplanes (.7);      1.00   1,475.00
                        call with P. Possinger and V. Indelicato regarding same (.3).
01/06/16    PP          Review 8-K regarding aircraft transactions (.4); discuss          5.60   5,740.00
                        bankruptcy code section 363 issues with V. Indelicato (.2);
                        analyze cash collateral order, first lien documents regarding
                        granting of liens on aircraft (3.5); calls with V. Indelicato
                        and S. Weise regarding same (.3); review aircraft
                        requirements and need for diligence on use (.6); discuss First
                        Lien challenge with First Lien Trustee counsel (.4); review
                        motion to extend answer date (.2).
01/06/16    JLP         Prepare debt document summary and related time line.              1.00     850.00
01/06/16    VI          Multiple email correspondences with P. Possinger regarding        2.40   1,980.00
                        Committee adversary proceeding continuance (.2); telephone
                        conference with P. Possinger regarding same (.1); analyze
                        CEOC aircraft lien issues (.5); telephone conference with P.
                        Possinger regarding same (.2); multiple email
                        correspondences with P. Possinger regarding same (.3);
                        review collateral documents regarding same (.8); telephone
                        conference with S. Weise and P. Possinger regarding same
                        (.3).
01/06/16    AC          Attention to FAA aircraft lien searches (1.0) and correspond      1.30    643.50
                        with C. Slattery (.1) and V. Indelicato regarding same (.2).
01/07/16    SOW         Review issues regarding security interest in airplanes.           0.70   1,032.50
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FINANCING AND CASH COLLATERAL
Client/Matter No. 71844.0013

Date        Attorney    Description                                                      Hours   Amount

01/07/16    PP          Discuss aircraft lien analysis with V. Indelicato (.4); review    1.30   1,332.50
                        search results (.2); review lien avoidance complaint and
                        standing motion (.7).
01/07/16    ASW         Revise lien avoidance complaint.                                  3.90   2,866.50
01/07/16    JLP         Review correspondence regarding debt document summary.            0.10      85.00
01/07/16    MZ          Review correspondence by J. Webb on lien avoidance.               0.30     220.50
01/07/16    VI          Analyze revised cash collateral milestones (.3); draft email      0.90     742.50
                        correspondence to Committee advisors regarding revised
                        cash collateral milestones (.2); multiple email
                        correspondences with Proskauer team regarding CEOC
                        aircraft purchase; confer with P. Possinger regarding aircraft
                        lien analysis.
01/07/16    AC          Handle FAA aircraft lien search issue with cooperation from       0.30    148.50
                        C. Slattery; address FAA aircraft lien issue with S. Weise
                        and V. Indelicato.
01/08/16    SOW         Review issues regarding security interest in airplanes.           1.00   1,475.00
01/08/16    ASW         Revise lien challenge complaint.                                  2.50   1,837.50
01/08/16    MZ          Review further research on avoidance action (1.0); review         3.50   2,572.50
                        related decisions and pleadings (2.5).
01/08/16    VI          Analyze proposed purchase of CEOC aircraft (.8); revise           2.30   1,897.50
                        avoidance action complaint regarding lien challenges (1.5).
01/09/16    SOW         Review issues regarding security interest in airplanes.           1.00   1,475.00
01/11/16    PP          Review airplane purchase issues.                                  0.40     410.00
01/11/16    ASW         Revise lien challenge complaint.                                  3.40   2,499.00
01/11/16    JLP         Finalize financing document summary (1.2) and related             1.30   1,105.00
                        correspondence (.1).
01/11/16    MZ          Perform additional research regarding avoidance action            3.50   2,572.50
                        issues (2.0) and revise memo on avoidances (1.5).
01/11/16    PMA         Review email correspondence from J. Price and V.                  0.10    107.50
                        Indelicato regarding finance documents.
01/11/16    VI          Analyze research regarding Rule 2004 examination of debt          1.60   1,320.00
                        holdings (1.0); Analyze summary of debt documents to
                        determine status of liens (.4); Multiple email
                        correspondences with J. Price regarding same (.2).
01/12/16    ASW         Revise lien avoidance complaint.                                  5.60   4,116.00
01/12/16    MZ          Research lien avoidance issues.                                   1.50   1,102.50
01/12/16    MTM         Review A. Wellin comments to draft lien avoidance                 0.50     487.50
                        complaint.
01/13/16    SOW         Review security interest perfection issues regarding planes.      0.80   1,180.00
01/13/16    MTM         Conference with V. Indelicato and A. Wellin regarding             0.90     877.50
                        strategic and procedural issues regarding draft lien
                        avoidance complaint.
01/13/16    VI          Revise draft lien challenge complaint (.2); meeting with M.       1.10    907.50
                        Mervis and A. Wellin regarding draft lien challenge
                        complaint (.9).
01/14/16    ASW         Revise lien challenge complaint.                                  7.50   5,512.50
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UNSECURED CREDITORS' COMMITTEE                               February 29, 2016
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FINANCING AND CASH COLLATERAL
Client/Matter No. 71844.0013

Date        Attorney    Description                                                       Hours   Amount

01/14/16    MZ          Review cash challenges.                                            1.80   1,323.00
01/14/16    VI          Further revise draft lien challenge complaint (1.7); analyze       2.00   1,650.00
                        cash tracing presentation (.3).
01/15/16    SOW         Review issues regarding security interest in aircraft.             1.50   2,212.50
01/15/16    ASW         Revise lien avoidance complaint.                                   5.40   3,969.00
01/15/16    MZ          Review comments on avoidance memo (.5); review                     1.50   1,102.50
                        additional research (.8); discuss same with P. Abelson (.2).
01/15/16    PMA         Conference with V. Indelicato regarding lien challenges.           0.10    107.50
01/19/16    MED         Emails and conference with A. Wellin regarding changes to          0.40    400.00
                        lien avoidance complaint (.3); emails with P. Abelson
                        regarding same (.1).
01/19/16    ASW         Revise lien avoidance complaint.                                   4.10   3,013.50
01/19/16    MZ          Review draft complaint for Committee lien challenges.              2.80   2,058.00
01/19/16    PMA         Review revised lien challenge complaint (.5); confer with M.       0.60     645.00
                        Zerjal regarding standing motion (.1).
01/19/16    VI          Revise lien avoidance complaint.                                   2.50   2,062.50
01/19/16    AC          Correspond with V. Indelicato regarding liquor license             0.10      49.50
                        assertions in standing motion and complaint.
01/20/16    MED         Conference with A. Wellin regarding lien complaint status.         0.20     200.00
01/20/16    ASW         Conference with M. Davidson regarding lien complaint               6.50   4,777.50
                        status; conference with M. Zerjal regarding avoidance
                        actions (.4); revise lien avoidance complaint (6.1).
01/20/16    MZ          Revise avoidance memo and summary (4.1); perform                   7.90   5,806.50
                        additional research regarding same (2.3); discuss same with
                        P. Abelson multiple times (.7); P. Possinger (.4); and A.
                        Wellin (.4).
01/20/16    VI          Revise lien challenge complaint.                                   2.20   1,815.00
01/21/16    SOW         Review issues regarding security interest in aircraft.             1.50   2,212.50
01/21/16    PP          Review airplane lien issues, related emails (.6); revise notice    1.70   1,742.50
                        of amended complaint for lien challenges (.6); discuss with
                        P. Abelson (.5).
01/21/16    ASW         Revise lien avoidance complaint.                                   5.00   3,675.00
01/21/16    SM          Review draft amended proposed complaint (1.0) and filing           2.30   1,403.00
                        of amended proposed complaint (.2); prepare notice of filing
                        of amended proposed complaint (1.1).
01/21/16    PMA         Confer with V. Indelicato and A. Wellin regarding lien             3.10   3,332.50
                        avoidance complaint (.5); confer with P. Possinger regarding
                        lien avoidance complaint (.5); review revised lien avoidance
                        complaint (1.9); review notice regarding amended lien
                        avoidance complaint (.2).
01/21/16    VI          Analyze S.Weise findings regarding aircraft liens (.5); revise     6.20   5,115.00
                        amended lien challenge complaint (4.2); revise notice of
                        filing amended proposed complaint (1.0); confer with P.
                        Abelson and A. Wellin regarding lien challenge complaint
                        (.5).
01/21/16    SS          Prepare exhibits to be filed with lien challenge complaint.        0.40    198.00
01/21/16    JW          Prepare notice of amended complaint to court.                      0.30    133.50
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FINANCING AND CASH COLLATERAL
Client/Matter No. 71844.0013

Date        Attorney    Description                                                      Hours   Amount

01/21/16    AC          Correspond with V. Indelicato, A. Wellin and S. Weise             0.40    198.00
                        regarding Kentucky licenses (.1) and review license
                        assignability chart in connection therewith (.3).
01/22/16    PP          Revise notice of updated lien avoidance complaint (.4); call      1.50   1,537.50
                        with P. Abelson and V. Indelicato regarding same (.4); call
                        with V. Indelicato regarding identifying defendants (.2);
                        review updated complaint (.5).
01/22/16    ASW         Revise lien avoidance complaint.                                  5.20   3,822.00
01/22/16    SM          Meet with V. Indelicato and P. Abelson to discuss filing of       2.40   1,464.00
                        amended proposed complaint (lien challenges) (.5); revise
                        draft of notice of filing of amended complaint with exhibits
                        of amended complaint and redline (1.4); revise notice of
                        filing of amended complaint according to discussion with
                        Proskauer team (.5).
01/22/16    MZ          Review cash challenges (1.0); Discuss same with P. Abelson        1.60   1,176.00
                        (.6).
01/22/16    PMA         Confer with V. Indelicato, P. Possinger, and S. Ma regarding      2.30   2,472.50
                        revised standing complaint (.4); confer with S. Ma and V.
                        Indelicato regarding notice of revised complaint (.5); review
                        draft papers regarding cash issues (.8); confer with M. Zerjal
                        regarding cash issues (.6).
01/22/16    VI          Analyze cash collateral order to determine accuracy of            6.60   5,445.00
                        stipulations (.6); confer with P. Abelson and S. Ma regarding
                        notice of filing amended lien challenge complaint (.5); revise
                        amended lien challenge complaint for filing (4.7); call with
                        P. Abelson, P. Possinger and S. Ma regarding lien challenge
                        complaints (.4); call with P. Possinger regarding defendants
                        (.2); confer with P. Abelson and S. Ma regarding notice of
                        revised complaint (.2).
01/23/16    RL          Emails with P. Cacace regarding Exhibit C to lien avoidance       0.10     69.50
                        complaint.
01/23/16    VI          Review final amended proposed lien challenge complaint.           1.00     825.00
01/24/16    PMA         Revise papers regarding cash issues.                              1.10   1,182.50
01/25/16    MZ          Discuss cash challenges with P. Abelson.                          0.70     514.50
01/25/16    PMA         Confer with M. Zerjal regarding cash issues.                      0.70     752.50
01/27/16    VI          Review forbearance agreements to determine events of              1.50   1,237.50
                        default (.5); review cash collateral order and fourth
                        stipulation (.5); Prepare draft amended fourth stipulation
                        (.5).
01/28/16    PMA         Review amended lien stipulation.                                  0.10     107.50
01/28/16    VI          Confer with P. Abelson regarding challenge stipulation.           0.20     165.00
01/30/16    MZ          Research lien avoidance.                                          2.00   1,470.00
01/31/16    MZ          Research lien challenges.                                         7.00   5,145.00
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FINANCING AND CASH COLLATERAL
Client/Matter No. 71844.0013



Attorney                                           Hours       Rate          Amount

MICHAEL T. MERVIS                                    1.40     975.00         1,365.00
PAUL POSSINGER                                      11.00   1,025.00        11,275.00
PHILIP M. ABELSON                                    8.30   1,075.00         8,922.50
STEVEN O. WEISE                                      7.50   1,475.00        11,062.50
       Total For Partner                            28.20                   32,625.00

MARK E. DAVIDSON                                     2.30   1,000.00         2,300.00
SCOTT A. EGGERS                                      2.30     925.00         2,127.50
      Total For Senior Counsel                       4.60                    4,427.50

ANDREW S. WELLIN                                    56.10    735.00         41,233.50
ASHLEY CHAY                                          2.10    495.00          1,039.50
JERAMY WEBB                                          0.30    445.00            133.50
JONAH L. PRICE                                       2.40    850.00          2,040.00
MAJA ZERJAL                                         34.40    735.00         25,284.00
REBECCA LESNIK                                       0.10    695.00             69.50
SARAH SULLIVAN                                       0.40    495.00            198.00
STEVE MA                                             4.70    610.00          2,867.00
VINCENT INDELICATO                                  31.60    825.00         26,070.00
      Total For Associate                          132.10                   98,935.00


Professional Fees                                  164.90              $   135,987.50

Total this Matter                                                      $   135,987.50
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LITIGATION
Client/Matter No. 71844.0014


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                       Hours   Amount

01/05/16    MZ          Review decision denying summary judgment motion in                 0.60    441.00
                        parent guarantee litigation and related correspondence.
01/05/16    VI          Review SDNY summary judgment decision.                             0.80    660.00
01/06/16    MED         Review Judge Scheindlin’s decision denying CEOC secured            0.40    400.00
                        noteholders’ summary judgment motions.
01/06/16    PP          Review Scheindlin orders, 7th Circuit ruling regarding             0.50    512.50
                        mandate.
01/06/16    SM          Summarize 7th Circuit order denying expedited issuance of          0.90    549.00
                        mandate.
01/06/16    JGL         Review email regarding Debtors' supplemental motion to             1.10   1,375.00
                        compel (.1); Review debtors' supplemental motions to
                        compel (1.0).
01/06/16    PMA         Analyze and take notes regarding UMB/BOKF summary                  0.40    430.00
                        judgment decision.
01/06/16    VI          Review Debtors' supplemental memo in support of their              0.50    412.50
                        motion to compel.
01/07/16    MED         Review email from P. Abelson regarding Debtors'                    0.50    500.00
                        supplement memo regarding motion to compel (.1); review
                        Debtors' supplemental memo (.4).
01/07/16    PMA         Review CEOC response regarding motion to compel                    0.50    537.50
                        production of privileged documents (.4); review email
                        correspondence from S. Eggers and W. Ng regarding
                        litigation issues (.1).
01/08/16    MKT         Calls and emails with P. Possinger regarding litigation and        0.40    480.00
                        settlement issues and status.
01/09/16    PMA         Review SMJ decision in MeehanCombs litigation.                     0.60    645.00
01/12/16    VI          Analyze petition for rehearing in Seventh Circuit appeal.          0.60    495.00
01/14/16    PP          Review proposed resolution to Debtors motion to compel             0.80    820.00
                        (.5); discuss with V. Indelicato and S. Eggers (.3).
01/14/16    PMA         Review email corr from V. Indelicato and P. Possinger              0.10    107.50
                        regarding privilege issues.
01/14/16    VI          Review CEC stipulation regarding motion to compel.                 0.40    330.00
01/16/16    PMA         Review letter from CEC counsel to Scheindlin regarding             0.30    322.50
                        guarantee litigation (.2); review article regarding 7th Circuit
                        stay decision (.1).
01/25/16    MED         Review S. Ma email regarding 7th Circuit decision on               0.30    300.00
                        appeal with respect to injunction of the parent guarantee
                        litigation (.1) review 7th Circuit decision (.2).
01/25/16    VI          Analyze Judge Goldgar order regarding violation of pre-trial       0.10     82.50
                        order.
01/27/16    CT          Email P. Abelson and V. Indelicato regarding December 19,          0.90    661.50
                        2014 forbearance.
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LITIGATION
Client/Matter No. 71844.0014



Attorney                                           Hours      Rate         Amount

JUDY G. LIU                                         1.10   1,250.00        1,375.00
MARK K. THOMAS                                      0.40   1,200.00          480.00
PAUL POSSINGER                                      1.30   1,025.00        1,332.50
PHILIP M. ABELSON                                   1.90   1,075.00        2,042.50
       Total For Partner                            4.70                   5,230.00

MARK E. DAVIDSON                                    1.20   1,000.00        1,200.00
      Total For Senior Counsel                      1.20                   1,200.00

CHRIS THEODORIDIS                                   0.90    735.00           661.50
MAJA ZERJAL                                         0.60    735.00           441.00
STEVE MA                                            0.90    610.00           549.00
VINCENT INDELICATO                                  2.40    825.00         1,980.00
       Total For Associate                          4.80                   3,631.50


Professional Fees                                  10.70              $   10,061.50

Total this Matter                                                     $   10,061.50
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MEETINGS AND COMMUNICATION WITH COMMITTEE
Client/Matter No. 71844.0015


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                    Hours   Amount

01/04/16    PMA         Review email correspondence from V. Indelicato regarding        0.10    107.50
                        bi-weekly Committee call.
01/04/16    VI          Telephone conference with Wilmington Trust regarding            0.30    247.50
                        Committee workstreams.
01/05/16    SM          Summarize SDNY guarantee litigation ruling for                  0.60    366.00
                        Committee.
01/06/16    SM          Email Committee regarding expense receipts (.1);                1.10    671.00
                        summarize Debtors' supplemental memo to support motion
                        to compel CEC production for Committee (1.0).
01/07/16    JGL         Review email regarding Committee meeting agenda from V.         0.10    125.00
                        Indelicato and Committee chairs.
01/07/16    MZ          Review V. Indelicato email to Committee regarding 1/8 call      0.10     73.50
                        agenda.
01/07/16    PMA         Review email correspondence from V. Indelicato (and             0.10    107.50
                        others) regarding Committee call agenda.
01/07/16    VI          Multiple email correspondences with Committee Co-Chairs         0.20    165.00
                        regarding 1/8 Call Agenda.
01/08/16    MKT         Participate in weekly Committee call.                           0.50    600.00
01/08/16    PP          Attend bi-eekly update call with Committee members (.5);        0.70    717.50
                        and follow-up to Committee call (.2).
01/08/16    SM          Prepare Committee call materials (.2); attend Committee call    0.70    427.00
                        (.5).
01/08/16    MJB         Telephonic Committee meeting regarding negotiations,            0.50    647.50
                        business plan, litigation.
01/08/16    CT          Attend Committee call.                                          0.40     294.00
01/08/16    JGL         Review docket summaries (.3); call with Committee               0.80   1,000.00
                        members (.5).
01/08/16    MZ          Prepare for (.1) and participate on Committee call (.5).        0.60    441.00
01/08/16    PMA         Attend bi-weekly Committee call.                                0.50    537.50
01/08/16    VI          Telephone conference with Committee regarding weekly            0.50    412.50
                        case update.
01/11/16    VI          Multiple email correspondences with Committee Co-Chairs         0.20    165.00
                        regarding Tuesday call agenda.
01/12/16    PP          Weekly update call with Committee members (.5); attend          0.80    820.00
                        follow-up meeting (.3).
01/12/16    RMC         Attend Committee call on update to bankruptcy proceedings.      0.50    462.50
01/12/16    SM          Prepare Committee call materials (.2); attend Committee call    0.70    427.00
                        (.5).
01/12/16    CT          Attend Committee call.                                          0.50    367.50
01/12/16    JGL         Review Committee call agenda.                                   0.10    125.00
01/12/16    PMA         Preparation for weekly Committee call (.3); attend weekly       0.80    860.00
                        Committee call (.5).
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MEETINGS AND COMMUNICATION WITH COMMITTEE
Client/Matter No. 71844.0015

Date        Attorney    Description                                                    Hours   Amount

01/12/16    VI          Telephone conference with Committee regarding weekly            0.70    577.50
                        case update (.5); Draft email correspondence to Committee
                        regarding Committee trial participation (.2).
01/12/16    JW          Participate in Committee conference call.                       0.50    222.50
01/13/16    VI          Telephone conference with unsecured creditor regarding          0.80    660.00
                        case background (.5); draft email correspondence to
                        Committee regarding pleading summary (.3).
01/15/16    SM          Prepare materials for Committee call (.2); attend Committee     0.80    488.00
                        call (.6).
01/15/16    JGL         Participate in Committee bi-weekly conference call.             0.60    750.00
01/15/16    MZ          Participate in call with Committee.                             0.60    441.00
01/15/16    PMA         Attend bi-weekly Committee call.                                0.60    645.00
01/15/16    VI          Telephone conference with Pryor Cashman regarding               1.10    907.50
                        Committee call follow-up (.5); telephone conference with
                        Committee regarding weekly case update (.6).
01/20/16    SM          Summarize 1/20 omnibus hearing for Committee.                   1.00    610.00
01/20/16    JGL         Review draft Committee presentation.                            0.50    625.00
01/21/16    VI          Telephone conference with Pryor Cashman regarding plan          0.50    412.50
                        discussions.
01/25/16    SM          Email Committee regarding 7th Circuit decision to deny en       0.10     61.00
                        banc review of bankruptcy code section 105 injunction
                        decision.
01/25/16    MJB         Telephone conference with IGT regarding case strategy and       0.60    777.00
                        recent events.
01/25/16    VI          Email correspondences with Committee Co-Chairs regarding        0.20    165.00
                        Tuesday call agenda.
01/26/16    MED         Prepare for (.4) and attend Committee meeting (.6).             1.00   1,000.00
01/26/16    MKT         Call with professionals in advance of Committee call (.4);      1.00   1,200.00
                        participate in Committee call (.6).
01/26/16    PP          Prepare summary of avoidance action issues for presentation     3.00   3,075.00
                        to Committee (1.7) discuss same with P. Abelson and M.
                        Thomas (.7); attend Committee call (.6).
01/26/16    SM          Prepare and send section 1111(b) briefs filed by various        1.70   1,037.00
                        parties to Committee (.5); attend Committee call (.6);
                        prepare materials for and setup Committee call (.4); follow
                        up on email from Wilmington Trust regarding Committee
                        call calendar invites (.2).
01/26/16    CT          Attend Committee call.                                          0.60     441.00
01/26/16    JGL         Committee call with members.                                    0.60     750.00
01/26/16    MZ          Review issues for certain agenda items (1.7); participate on    2.30   1,690.50
                        Committee call (.6).
01/26/16    PMA         Confer with M. Zerjal regarding weekly Committee call (.6);     2.40   2,580.00
                        Confer with P. Possinger and M. Zerjal regarding bi-weekly
                        Committee call (.6); Confer with V. Indelicato regarding
                        weekly Committee call (.2); Attend bi-weekly Committee
                        call (.6); Confer with S. Lieberman and V. Indelicato
                        regarding follow-up to Committee call (.4).
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MEETINGS AND COMMUNICATION WITH COMMITTEE
Client/Matter No. 71844.0015

Date        Attorney    Description                                                     Hours   Amount

01/26/16    VI          Telephone conference with Committee regarding weekly             0.60    495.00
                        case update (.5); review J. Liu email correspondence to
                        unsecured creditor regarding controversial transactions (.1).
01/26/16    JW          Attend Committee conference call.                                0.60    267.00
01/27/16    VI          Draft email correspondence to Committee regarding revised        0.40    330.00
                        proposed Examiner order.
01/28/16    SM          Email Pepsi regarding expense receipts.                          0.10     61.00
01/28/16    JGL         Review emails from M. Bienenstock, J. Millar, S. Star and        0.40    500.00
                        Committee chairs regarding waterfall analysis and upcoming
                        Committee discussion.
01/28/16    VI          Multiple email correspondences with Committee Co-Chairs          1.30   1,072.50
                        regarding Friday call agenda (.2); Prepare email
                        correspondence to Committee regarding same (.1); telephone
                        conference with K. Going regarding protective order (.3);
                        Telephone conference with Pepsi regarding case update (.4);
                        Telephone conference with S. Lieberman regarding
                        Examiner order (.3).
01/29/16    MED         Attend Committee meeting.                                        0.90    900.00
01/29/16    PP          Attend weekly update call with Committee.                        0.90    922.50
01/29/16    SM          Prepare materials for and setup Committee call. (.4); attend     1.30    793.00
                        Committee call (.9).
01/29/16    MJB         Attend telephonic meeting with Committee.                        0.80   1,036.00
01/29/16    CT          Attend Committee call.                                           0.90     661.50
01/29/16    JGL         Committee call with Committee professionals and members.         0.90   1,125.00
01/29/16    MZ          Prepare for (.4) and participate in Committee call (.9).         1.30     955.50
01/29/16    PMA         Attend bi-weekly Committee call.                                 0.90     967.50
01/29/16    VI          Telephone conference with Committee regarding weekly             1.20     990.00
                        case update (.9); Multiple telephone conferences with
                        Drinker Biddle regarding same (.3).
01/29/16    JW          Attend conference call with Committee.                           0.90    400.50
01/29/16    DD          Attend Committee conference call.                                0.90    400.50
01/30/16    VI          Telephone conference with Pryor Cashman regarding draft          0.30    247.50
                        Committee objection to Examiner order.
01/31/16    VI          Multiple email correspondences with Committee Members            0.50    412.50
                        regarding draft Committee objection to Examiner order.
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MEETINGS AND COMMUNICATION WITH COMMITTEE
Client/Matter No. 71844.0015



Attorney                                           Hours      Rate         Amount

JUDY G. LIU                                         4.00   1,250.00        5,000.00
MARK K. THOMAS                                      1.50   1,200.00        1,800.00
MARTIN J. BIENENSTOCK                               1.90   1,295.00        2,460.50
PAUL POSSINGER                                      5.40   1,025.00        5,535.00
PHILIP M. ABELSON                                   5.40   1,075.00        5,805.00
RICHARD M. CORN                                     0.50     925.00          462.50
       Total For Partner                           18.70                  21,063.00

MARK E. DAVIDSON                                    1.90   1,000.00        1,900.00
      Total For Senior Counsel                      1.90                   1,900.00

CHRIS THEODORIDIS                                   2.40    735.00         1,764.00
JERAMY WEBB                                         2.00    445.00           890.00
MAJA ZERJAL                                         4.90    735.00         3,601.50
STEVE MA                                            8.10    610.00         4,941.00
VINCENT INDELICATO                                  8.80    825.00         7,260.00
       Total For Associate                         26.20                  18,456.50

DANIEL DESATNIK                                     0.90    445.00          400.50
      Total For Law Clerk                           0.90                    400.50


Professional Fees                                  47.70              $   41,820.00

Total this Matter                                                     $   41,820.00
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NON-WORKING TRAVEL
Client/Matter No. 71844.0016


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                                       Hours         Amount

01/19/16     SM         Travel from NYC to Chicago for 1/20 omnibus hearing                 2.50        1,525.00
                        (actual travel time 5.0, billed at 2.5).
01/19/16     PMA        Travel to Chicago for 1/20 hearing (flight ultimately               2.50        2,687.50
                        canceled, actual travel time 5.0, billed at 2.5).
01/20/16     PMA        Travel to New York from 1/20 hearing (actual travel time            2.10        2,257.50
                        4.3, billed at 2.1).
01/20/16     VI         Travel from New York to Chicago (4.5); Travel from                  4.70        3,877.50
                        Chicago to New York (5.0) (actual travel time 9.5, billed at
                        4.7).
01/21/16     SM         Travel back to NYC from Chicago (actual travel time 5.0,            2.50        1,525.00
                        billed at 2.5).
01/31/16     ASW        Travel to Chicago office for section 1111(b) hearing (4.0)          2.00        1,470.00
                        (actual travel time 4.0, billed at 2.0).
01/31/16     SM         Travel from NYC to Chicago for section 1111(b) trial                2.50        1,525.00
                        (actual travel time 5.0, billed at 2.5).


Attorney                                                                  Hours           Rate          Amount

PHILIP M. ABELSON                                                          4.60        1,075.00         4,945.00
       Total For Partner                                                   4.60                         4,945.00

ANDREW S. WELLIN                                                           2.00         735.00          1,470.00
STEVE MA                                                                   7.50         610.00          4,575.00
VINCENT INDELICATO                                                         4.70         825.00          3,877.50
      Total For Associate                                                 14.20                         9,922.50


Professional Fees                                                         18.80                    $   14,867.50

Total this Matter                                                                                 $    14,867.50
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PLAN AND DISCLOSURE STATEMENT
Client/Matter No. 71844.0017


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                     Hours   Amount

01/01/16    PMA         Analyze chapter 11 plan (1.2); review memo regarding third-      2.60   2,795.00
                        party releases and supporting materials (1.4).
01/02/16    PMA         Analyze chapter 11 plan.                                         1.30   1,397.50
01/03/16    PMA         Analyze chapter 11 plan.                                         1.20   1,290.00
01/04/16    PP          Discuss possible arguments, related plan objections with P.      0.50     512.50
                        Abelson and J. Webb.
01/04/16    SM          Conduct research regarding plan objections.                      1.20    732.00
01/04/16    JGL         Discussion with P. Abelson regarding chapter 11 plan (.2)        0.70    875.00
                        and third-party release (.2). Review research memo
                        regarding release (partial) (.3).
01/04/16    PMA         Confer with J. Liu regarding plan issues (.2); confer with J.    4.50   4,837.50
                        Liu regarding third-party release memo (.2); review
                        materials regarding third-party release memo (1.4); analyze
                        chapter 11 plan (2.2); confer with P. Possinger and J. Webb
                        regarding plan issues (.5).
01/04/16    JW          Conference call with P. Possinger and P. Abelson regarding       0.50    222.50
                        plan issues.
01/04/16    DD          Finalize and send third-party release case law and               0.70    311.50
                        memorandum to V. Indelicato.
01/05/16    MED         Review C. Theodoridis and J. Liu emails and FTI waterfall        0.20    200.00
                        page listing potential recoveries.
01/05/16    PP          Review "death trap" article (.4); continue review of plan and    1.20   1,230.00
                        disclosure statement (.8).
01/05/16    MJB         Research mandatory class action settlement opinions for          4.80   6,216.00
                        memo requested by Committee regarding plan issues.
01/05/16    PMA         Revise third-party release memo.                                 3.30   3,547.50
01/05/16    VI          Analyze research regarding plan confirmation issues.             1.50   1,237.50
01/06/16    MZ          Review revisions to third-party release memo.                    0.30     220.50
01/06/16    PMA         Confer with V. Indelicato regarding third-party release          1.80   1,935.00
                        memo (.3); revise third-party release memo (.8); confer with
                        M. Bienenstock regarding third-party release memo (.1);
                        draft email correspondence regarding third-party memo (.1);
                        confer with V. Indelicato and D. Desatnik regarding third-
                        party release memo (.5).
01/06/16    VI          Confer with P. Abelson regarding third-party release memo        0.80    660.00
                        (.5); meeting with P. Abelson and D. Desatnik regarding
                        draft third-party release memorandum (.3).
01/06/16    DD          Incorporate P. Abelson's comments to third-party release         6.70   2,981.50
                        memo (1.0); meet with P. Abelson and V. Indelicato to
                        discuss revisions to memo (.5); revise third-party release
                        memorandum (5.2).
01/07/16    PP          Revise research memo regarding third-party releases (1.4);       1.70   1,742.50
                        discuss same with P. Abelson (.3).
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Date        Attorney    Description                                                    Hours   Amount

01/07/16    MJB         Edit (1.3), research (1.6), draft (3.4) portions of memo to     6.30   8,158.50
                        Committee regarding third-party discharge issues.
01/07/16    PMA         Confer with V. Indelicato regarding plan issues (.1); review    1.10   1,182.50
                        comments to third-party release memo (.2); confer with P.
                        Possinger regarding third-party release memo (.3); confer
                        with S. Star regarding plan issues (.3); review email
                        correspondence from V. Indelicato and P. Possinger
                        regarding RSA plan milestones (.1); review email
                        correspondence from S. Star regarding plan issues (.1).
01/08/16    SM          Assist V. Indelicato in finalizing third-party release memo     1.00    610.00
                        for distribution to Committee.
01/08/16    PMA         Review revised third-party release memo (.9); confer with       1.50   1,612.50
                        V. Indelicato and D. Desatnik regarding revised third-party
                        release memo (.5); confer with P. Possinger and D. Desatnik
                        regarding third-party release (.1).
01/08/16    VI          Revise third-party release memorandum (1.7); meeting with       2.20   1,815.00
                        D. Desatnik and P. Abelson regarding third-party release
                        memorandum (.5).
01/08/16    DD          Incorporate P. Abelson's comments to third-party-release        2.00    890.00
                        memo (1.0); meet with P. Abelson and V. Indelicato to
                        discuss revisions to memo (.5); incorporate M.
                        Bienienstock's comments in third-party release memo (.5).
01/10/16    SM          Follow up on email from V. Indelicato regarding plan            0.10     61.00
                        objection research.
01/11/16    JGL         Review revised release memorandum for Committee.                0.80   1,000.00
01/12/16    VI          Review disclosure statement to determine claim amounts.         0.20     165.00
01/13/16    JW          Further research regarding enterprise value.                    3.60   1,602.00
01/14/16    PP          Telephone conference with FTI and Jefferies regarding           0.70     717.50
                        settlement status.
01/14/16    PMA         Conference with P. Possinger regarding plan issues.             0.40     430.00
01/14/16    VI          Review waterfall materials in advance of telephone              1.30   1,072.50
                        conference with FTI and Jefferies.
01/14/16    JW          Additional research regarding enterprise value.                 2.10     934.50
01/16/16    PMA         Review chart regarding plan issues.                             0.20     215.00
01/17/16    MZ          Analyze plan.                                                   2.50   1,837.50
01/18/16    VI          Analyze updated FTI waterfall analysis.                         0.70     577.50
01/19/16    PP          Review updated waterfall litigaiton model form FTI.             0.80     820.00
01/19/16    VI          Review draft Jefferies presentation plan issues.                0.50     412.50
01/20/16    MED         Call with V. Indelicato regarding FTI matrix regarding          0.80     800.00
                        valuation shortfall and meeting/call regarding same (.3);
                        prepare notes regarding FTI matrix (.5).
01/20/16    PMA         Confer with P. Possinger regarding plan issues.                 0.20    215.00
01/20/16    MG          Correspond with M. Zerjal regarding research in connection      1.10    412.50
                        with objections to plan support or restructuring support
                        agreements of other creditor committees (.1); research
                        regarding same (.9); prepare email summarizing and
                        attaching results (.1).
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Date        Attorney    Description                                                     Hours   Amount

01/21/16    PP          Review updated analysis regarding litigation recoveries (.3);    0.60    615.00
                        discuss same with V. Indelicato (.3).
01/24/16    PMA         Review chart regarding plan issues.                              0.20    215.00
01/25/16    SAE         Review presentation on risk-adjusted, cost-adjusted              0.20    185.00
                        recoveries.
01/25/16    MED         Review risks-adjusted recovery matrix.                           0.20    200.00
01/25/16    PP          Review risk-adjusted litigation waterfall analysis from FTI.     0.40    410.00
01/25/16    VI          Analyze latest drafts of FTI waterfall analysis.                 0.70    577.50
01/27/16    PP          Review FTI waterfall analysis.                                   0.40    410.00
01/27/16    SM          Review waterfall materials for call.                             0.40    244.00
01/27/16    DD          Prepare NDAs for Jefferies and GC Andersen.                      1.40    623.00
01/28/16    SAE         Telephone conference with V. Indelicato regarding NDA.           0.10     92.50
01/28/16    MKT         Review analysis regarding claims and recoveries.                 0.80    960.00
01/28/16    PP          Review updated waterfall from FTI.                               0.30    307.50
01/28/16    JGL         Review email from P. Abelson regarding exclusivity motion.       0.10    125.00
01/28/16    PMA         Confer with V. Indelicato regarding waterfall analysis.          0.10    107.50
01/28/16    VI          Review M. Bienenstock email correspondence regarding             0.10     82.50
                        settlement discussions.
01/28/16    VI          Multiple email correspondences with Paul Weiss and               1.80   1,485.00
                        Latham regarding confidentiality agreements (.3); Telephone
                        conference with Paul Weiss regarding same (.2); Revise
                        confidentiality agreements (1.3).
01/29/16    PMA         Teleconference with P. Sibley regarding plan issues.             0.50    537.50
01/29/16    VI          Analyze FTI waterfall presentation in advance of Committee       0.70    577.50
                        call.
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PLAN AND DISCLOSURE STATEMENT
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Attorney                                           Hours      Rate         Amount

JUDY G. LIU                                         1.60   1,250.00        2,000.00
MARK K. THOMAS                                      0.80   1,200.00          960.00
MARTIN J. BIENENSTOCK                              11.10   1,295.00       14,374.50
PAUL POSSINGER                                      6.60   1,025.00        6,765.00
PHILIP M. ABELSON                                  18.90   1,075.00       20,317.50
       Total For Partner                           39.00                  44,417.00

MARK E. DAVIDSON                                    1.20   1,000.00        1,200.00
SCOTT A. EGGERS                                     0.30     925.00          277.50
      Total For Senior Counsel                      1.50                   1,477.50

JERAMY WEBB                                         6.20    445.00         2,759.00
MAJA ZERJAL                                         2.80    735.00         2,058.00
STEVE MA                                            2.70    610.00         1,647.00
VINCENT INDELICATO                                 10.50    825.00         8,662.50
      Total For Associate                          22.20                  15,126.50

MAGALI GIDDENS                                      1.10    375.00          412.50
     Total For Legal Assistant                      1.10                    412.50

DANIEL DESATNIK                                    10.80    445.00         4,806.00
      Total For Law Clerk                          10.80                   4,806.00


Professional Fees                                  74.60              $   66,239.50

Total this Matter                                                     $   66,239.50
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REAL ESTATE
Client/Matter No. 71844.0018


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                     Hours   Amount

01/13/16    PAC         Communicate with R. Lesnik regarding status of chart of          0.20    250.00
                        unencumbered properties.
01/13/16    RL          Emails with P. Cacace, V. Indelicato regarding status and        0.20    139.00
                        chart of unencumbered tax parcels.
01/14/16    PAC         Arrange transition from R. Lesnik to S. Heneghan (.2);           0.60    750.00
                        conference with R. Lesnik regarding lien avoidance
                        complaint (.2); emails with R. Lesnik regarding emails to V.
                        Indelicato in connection with lien avoidance issues (.2).
01/14/16    RL          Emails with A. Wellin, V. Indelicato, P. Cacace regarding        2.00   1,390.00
                        lien avoidance complaint (.4); conversation with P. Cacace
                        regarding same (.2); call with V. Indelicato regarding same
                        (.2); review/markup of same (1.2).
01/14/16    VI          Multiple email correspondences with R. Lesnik regarding          0.40    330.00
                        unencumbered real property (.2); Telephone conference with
                        R. Lesnik regarding same (.2).
01/15/16    PAC         Review lien avoidance complaint (.4); revise/circulate (.5).     0.90   1,125.00
01/15/16    RL          Emails with V. Indelicato and P. Cacace regarding lien           0.80     556.00
                        avoidance complaint (.3); conversations with D. Yeoh-Wang
                        regarding compiling Exhibit C to same (.4); review P.
                        Cacace comments regarding same (.1).
01/15/16    DJY         Meet with R. Lesnik regarding unencumbered property              3.00    585.00
                        charts (.4); edit unencumbered property chart per R. Lesnik
                        (1.6); review unencumbered property chart (1.0).
01/19/16    PAC         Email with V. Indelicato regarding complaint for declaratory     0.20    250.00
                        judgment.
01/19/16    RL          Review draft Exhibit to lien avoidance complaint (.2);           0.50    347.50
                        emails with V. Indelicato regarding same (.3).
01/19/16    VI          Review real property diligence chart.                            0.40    330.00
01/22/16    PAC         Review/ revise narrative description of unencumbered             0.50    625.00
                        parcels (.3); conference with R. Lesnik regarding same (.2).
01/22/16    RL          Conversation with P. Cacace regarding description of new         0.30    208.50
                        additions to schedule of unencumbered property in lien
                        avoidance complaint (.1). call V. Indelicato, S. Ma regarding
                        Exhibit C to lien avoidance complaint (.1). emails with P.
                        Cacace, V. Indelicato regarding Exhibit C to lien avoidance
                        complaint (.1).
01/22/16    PMA         Confer with V. Indelicato regarding real estate issues.          0.20    215.00
01/22/16    VI          Review updated list of unencumbered real estate parcels (.3);    0.50    412.50
                        confer with P. Abelson regarding real estate issues (.2).
01/25/16    SH          Meet with R. Lesnik and D. Yeoh-Wang regarding                   2.10   1,459.50
                        annotating exhibit C to lien avoidance complaint (.2); review
                        diligence charts (1.9).
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REAL ESTATE
Client/Matter No. 71844.0018

Date         Attorney   Description                                                        Hours         Amount

01/25/16     RL         Office meeting S. Heneghan and D. Yeoh-Wang regarding                1.00         695.00
                        annotating Exhibit C to lien avoidance complaint (.2). Office
                        meetings D. Yeoh-Wang regarding same (.4). emails S.
                        Heneghan regarding same (.2); confer with P. Cacace and S.
                        Heneghan regarding transition issues (.2).
01/25/16     DJY        Meetings with R. Lesnik and S. Heneghan regarding                   10.50        2,047.50
                        unencumbered property title commitment, chart of title
                        commitments (.6); prepare chart (3.4); review chart of title
                        commitments (4.0); edit chart of unencumbered property
                        title commitments (.7); review additional title commitments
                        (1.8).
01/25/16     NW         Document search regarding mortgaged property documents               1.00         230.00
                        per S. Heneghan's instructions.
01/26/16     SH         Review diligence charts.                                             0.20         139.00
01/26/16     DJY        Review title commitment chart per R. Lesnik and S.                   1.80         351.00
                        Heneghan (.5); review title commitments (1.3).
01/26/16     NW         Review mortgaged property documents and assist with chart            2.00         460.00
                        updates regarding same.


Attorney                                                                 Hours             Rate          Amount

PERRY A. CACACE                                                            2.40         1,250.00         3,000.00
PHILIP M. ABELSON                                                          0.20         1,075.00           215.00
       Total For Partner                                                   2.60                          3,215.00

REBECCA LESNIK                                                             4.80          695.00          3,336.00
SEAN HENEGHAN                                                              2.30          695.00          1,598.50
VINCENT INDELICATO                                                         1.30          825.00          1,072.50
      Total For Associate                                                  8.40                          6,007.00

DEBORAH J. YEOH-WANG                                                      15.30          195.00          2,983.50
NICHOLAS WILLIAMS                                                          3.00          230.00            690.00
      Total For Legal Assistant                                           18.30                          3,673.50


Professional Fees                                                         29.30                     $   12,895.50

Total this Matter                                                                                  $    12,895.50
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TAX
Client/Matter No. 71844.0021


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                                        Hours         Amount

01/04/16     JGL        Discussion with P. Abelson regarding tax issue (.1); review          1.00        1,250.00
                        notes (.7) and email to P. Abelson regarding same (.2).
01/04/16     PMA        Review email correspondence from J. Liu regarding tax                0.20         215.00
                        issues (.1); confer with J. Liu regarding tax issues (.1).
01/13/16     RMC        Review of tax issues (.6); confer with P. Abelson regarding          0.70         647.50
                        same (.1).
01/13/16     PMA        Confer with R. Corn regarding tax issues.                            0.10          107.50
01/13/16     MSH        Analysis regarding tax issue.                                        0.70          577.50
01/14/16     RMC        Review of tax issues (.4); preparation of write-up on certain        1.20        1,110.00
                        tax issues (.6); confer with P. Abelson regarding tax issues
                        (.2).
01/14/16     PMA        Review email correspondence from R. Corn regarding tax               0.40         430.00
                        issues, including notes regarding same (.2); conference with
                        R. Corn regarding tax issues (.2).
01/14/16     MSH        Discuss tax issue with R. Corn (.2) and draft email with             1.70        1,402.50
                        analysis regarding same (.8), draft more formal write-up
                        regarding same for potential memo (.7).
01/15/16     RMC        Review of tax issues.                                                0.40          370.00
01/15/16     MSH        Further revisions to tax issue for potential memo.                   0.30          247.50
01/19/16     RMC        Review of tax issue write-up.                                        0.80          740.00
01/19/16     MSH        Revisions to write-up related to tax issue.                          1.70        1,402.50
01/20/16     RMC        Review of tax issue write-up.                                        1.60        1,480.00
01/20/16     MSH        Further revisions/drafting to tax issue write-up.                    1.70        1,402.50
01/21/16     MSH        Review of R. Corn comments to tax issue write-up.                    0.50          412.50


Attorney                                                                  Hours            Rate          Amount

JUDY G. LIU                                                                 1.00        1,250.00         1,250.00
PHILIP M. ABELSON                                                           0.70        1,075.00           752.50
RICHARD M. CORN                                                             4.70          925.00         4,347.50
       Total For Partner                                                    6.40                         6,350.00

MALCOLM S. HOCHENBERG                                                       6.60         825.00          5,445.00
     Total For Associate                                                    6.60                         5,445.00


Professional Fees                                                         13.00                     $   11,795.00

Total this Matter                                                                                  $    11,795.00
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CASE STRATEGY
Client/Matter No. 71844.0023


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                      Hours   Amount

01/05/16    PP          Discuss pending projects with V. Indelicato and P. Abelson.       0.30    307.50
01/05/16    PMA         Confer with V. Indelicato regarding case strategy.                0.40    430.00
01/06/16    SM          Retrieve various debt documents and transcripts for P.            0.40    244.00
                        Possinger and V. Indelicato.
01/06/16    PMA         Teleconference with D. Eggerman and V. Indelicato                 0.30    322.50
                        regarding case issues.
01/07/16    SM          Update WIP list.                                                  0.50    305.00
01/07/16    PMA         Confer with V. Indelicato regarding case strategy.                0.20    215.00
01/08/16    MKT         Attend post-Committee call briefing.                              0.20    240.00
01/08/16    SM          Update WIP list.                                                  0.30    183.00
01/08/16    CT          Internal follow-up to Committee call.                             0.20    147.00
01/08/16    JGL         Follow-up discussion regarding Committee requests.                0.20    250.00
01/08/16    MZ          Discuss next steps with P. Abelson (.6); post-call discussion     0.80    588.00
                        with Proskauer team (.2).
01/08/16    PMA         Confer with M. Zerjal regarding case strategy (.6); confer        1.00   1,075.00
                        with V. Indelicato regarding case strategy (.2); confer with
                        Proskauer team regarding follow-up to Committee call (.2).
01/08/16    VI          Meeting with P. Abelson regarding workstream update.              0.20     165.00
01/11/16    SM          Update WIP list (.5); meet with Proskauer team to discuss         1.80   1,098.00
                        WIP list and outstanding tasks (1.3).
01/11/16    CT          Attend internal status meeting.                                   1.30     955.50
01/11/16    JGL         Team meeting regarding open tasks/pleadings to be                 1.30   1,625.00
                        completed.
01/11/16    MZ          Review task list (.2) and participate in strategy meeting with    1.50   1,102.50
                        J. Liu, P. Abelson, V. Indelicato, C. Theodoridis, S. Ma and
                        D. Desatnik (1.3).
01/11/16    PMA         Confer with Proskauer team regarding WIP list and case            1.30   1,397.50
                        update.
01/11/16    VI          Attend meeting with P. Abelson, J. Liu, M. Zerjal, C.             1.30   1,072.50
                        Theodoridis, S. Ma, and D. Desatnik regarding work-in-
                        progress status.
01/11/16    DD          Attend Caesars team status meeting.                               1.30    578.50
01/12/16    SM          Attend post Committee call debriefing.                            0.30    183.00
01/12/16    CT          Follow-up to Committee call.                                      0.30    220.50
01/12/16    PMA         Follow-up to the weekly Committee call with Proskauer             0.30    322.50
                        team.
01/12/16    PMA         Confer with V. Indelicato regarding Committee call.               0.30    322.50
01/12/16    VI          Meeting with Proskauer team regarding Committee call              0.30    247.50
                        follow-up.
01/12/16    JW          Attend part of Committee call follow-up call.                     0.20     89.00
01/13/16    PMA         Confer with V. Indelicato regarding case update.                  0.20    215.00
01/15/16    SM          Participate in post Committee call debriefing.                    0.20    122.00
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CASE STRATEGY
Client/Matter No. 71844.0023

Date        Attorney    Description                                                     Hours   Amount

01/15/16    JGL         Follow-up discussion with team regarding new projects            0.20    250.00
                        requiring attention.
01/15/16    MZ          Follow up internal Proskauer meeting.                            0.20    147.00
01/15/16    PMA         Conference with V. Indelicato regarding case strategy (.5);      0.70    752.50
                        conference with Proskauer team regarding follow-up to
                        Committee call (.2).
01/15/16    VI          Meeting with P. Abelson, J. Liu, M. Zerjal, C. Theodoridis,      0.20    165.00
                        and S. Ma regarding Committee call follow-up.
01/19/16    SM          Meet with Proskauer team to discuss WIP list and                 1.30    793.00
                        outstanding tasks (.6); revise WIP list (.7).
01/19/16    CT          Attend internal status meeting.                                  0.60    441.00
01/19/16    MZ          Discuss next steps with P. Abelson.                              0.30    220.50
01/19/16    PMA         Confer with M. Zerjal regarding case strategy.                   0.30    322.50
01/19/16    VI          Meeting with Proskauer team regarding case workstreams.          0.60    495.00
01/21/16    PMA         Confer with V. Indelicato regarding case strategy.               0.40    430.00
01/21/16    VI          Confer with P. Abelson regarding case strategy.                  0.40    330.00
01/26/16    PP          Attend Committee call follow-up discussion.                      0.10    102.50
01/26/16    SM          Participate in post-call debriefing.                             0.10     61.00
01/26/16    CT          Internal follow-up to Committee call.                            0.10     73.50
01/26/16    JGL         Follow-up discussion with bankruptcy team regarding next         0.10    125.00
                        steps.
01/26/16    MZ          Attend Committee call follow-up internal discussion.             0.10     73.50
01/26/16    PMA         Follow-up to Committee call with Proskauer team.                 0.10    107.50
01/27/16    PMA         Confer with V. Indelicato regarding case strategy.               0.20    215.00
01/27/16    VI          Confer with P. Abelson regarding case issues (.2); prepare       0.40    330.00
                        email correspondence to M. Bienenstock regarding
                        Committee call update (.2).
01/29/16    SM          Attend post-Committee call debriefing (partial attendence).      0.10     61.00
01/29/16    MJB         Meeting with Proskauer team regarding next steps.                0.30    388.50
01/29/16    CT          Attend internal follow-up to Committee call.                     0.30    220.50
01/29/16    JGL         Committee call follow-up discussion with team regarding          0.30    375.00
                        next steps.
01/29/16    MZ          Comittee call follow-up discussion.                              0.30    220.50
01/29/16    PMA         Follow-up to Committee call with Proskauer team (partial)        0.30    322.50
                        (.2); Confer with V. Indelicato regarding case strategy (.1).
01/29/16    VI          Meeting with M. Bienenstock, J. Liu, P. Abelson, M. Zerjal,      0.20    165.00
                        C. Theodoridis, and S. Ma regarding Committee call follow-
                        up (partial).
01/29/16    DD          Attend team discussion following Committee call (partial         0.20     89.00
                        attendance).
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CASE STRATEGY
Client/Matter No. 71844.0023



Attorney                                           Hours      Rate         Amount

JUDY G. LIU                                         2.10   1,250.00        2,625.00
MARK K. THOMAS                                      0.20   1,200.00          240.00
MARTIN J. BIENENSTOCK                               0.30   1,295.00          388.50
PAUL POSSINGER                                      0.40   1,025.00          410.00
PHILIP M. ABELSON                                   6.00   1,075.00        6,450.00
       Total For Partner                            9.00                  10,113.50

CHRIS THEODORIDIS                                   2.80    735.00         2,058.00
JERAMY WEBB                                         0.20    445.00            89.00
MAJA ZERJAL                                         3.20    735.00         2,352.00
STEVE MA                                            5.00    610.00         3,050.00
VINCENT INDELICATO                                  3.60    825.00         2,970.00
       Total For Associate                         14.80                  10,519.00

DANIEL DESATNIK                                     1.50    445.00          667.50
      Total For Law Clerk                           1.50                    667.50


Professional Fees                                  25.30              $   21,300.00

Total this Matter                                                     $   21,300.00
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PLEADING AND DOCKET REVIEW
Client/Matter No. 71844.0024


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                 Hours   Amount

01/04/16    MZ          Review new filings.                                          0.10     73.50
01/06/16    MZ          Review new pleadings.                                        0.30    220.50
01/06/16    MG          Review docket entries regarding case development and         0.80    300.00
                        calendar items.
01/07/16    SM          Review docket filings.                                       0.30    183.00
01/07/16    MG          Review ECF notices and certain pleadings regarding           0.90    337.50
                        calendar items.
01/07/16    DD          Prepare weekly docket summaries for Committee.               0.30    133.50
01/08/16    SM          Finalize docket summaries for distribution to Committee.     0.90    549.00
01/08/16    DD          Prepare weekly docket summaries for Committee.               2.20    979.00
01/11/16    MG          Review ECF notices and certain pleadings regarding case      0.80    300.00
                        developments.
01/12/16    SM          Review docket filings.                                       0.20    122.00
01/13/16    SM          Review docket filings.                                       0.40    244.00
01/13/16    MZ          Review latest pleadings filed.                               1.20    882.00
01/13/16    VI          Analyze new pleadings filed on docket.                       0.80    660.00
01/13/16    DD          Prepare weekly docket summaries for Committee.               0.60    267.00
01/14/16    SM          Summarize docket filing regarding stipulation resolving      0.30    183.00
                        Debtors' motion to compel CEC production.
01/14/16    MZ          Review docket updates.                                       0.60     441.00
01/14/16    DD          Prepare weekly docket summaries for Committee.               1.10     489.50
01/15/16    SM          Finalize docket summaries for distribution to Committee.     1.90   1,159.00
01/15/16    DD          Prepare weekly docket summaries for Committee.               1.40     623.00
01/18/16    SM          Review docket filings.                                       0.20     122.00
01/19/16    MG          Review pleadings and ECF notices regarding status and        0.60     225.00
                        calendar items.
01/20/16    MG          Review ECF notices and certain pleadings regarding case      0.80    300.00
                        status.
01/20/16    DD          Prepare weekly docket summaries for Committee.               0.60    267.00
01/21/16    DD          Prepare weekly docket summaries for Committee.               1.60    712.00
01/22/16    SM          Revise docket summaries.                                     0.80    488.00
01/22/16    DD          Prepare weekly docket summaries.                             1.60    712.00
01/25/16    DD          Prepare weekly docket summaries for Committee.               0.50    222.50
01/26/16    MG          Review ECF notices regarding case status.                    0.90    337.50
01/27/16    SM          Review docket filings.                                       0.10     61.00
01/28/16    MG          Review ECF notices and pleadings regarding calendar items    0.60    225.00
                        and status.
01/28/16    DD          Prepare weekly docket summaries.                             1.20    534.00
01/29/16    SM          Revise docket summaries for Committee.                       1.50    915.00
01/29/16    MG          Review pleadings regarding calendar items and case           1.10    412.50
                        development.
01/29/16    DD          Prepare weekly docket summaries for Committee.               3.40   1,513.00
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PLEADING AND DOCKET REVIEW
Client/Matter No. 71844.0024



Attorney                                           Hours      Rate        Amount

MAJA ZERJAL                                         2.20    735.00        1,617.00
STEVE MA                                            6.60    610.00        4,026.00
VINCENT INDELICATO                                  0.80    825.00          660.00
      Total For Associate                           9.60                  6,303.00

MAGALI GIDDENS                                      6.50    375.00        2,437.50
     Total For Legal Assistant                      6.50                  2,437.50

DANIEL DESATNIK                                    14.50    445.00        6,452.50
      Total For Law Clerk                          14.50                  6,452.50


Professional Fees                                  30.60             $   15,193.00

Total this Matter                                                    $   15,193.00
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COMMUNICATION WITH FINANCIAL ADVISOR AND INVESTMENT BANKER
Client/Matter No. 71844.0025


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                      Hours   Amount

01/04/16    PP          Attend weekly professional call regarding settlement              0.40    410.00
                        progress, waterfall analysis.
01/04/16    JGL         Weekly conference call with Committee professional                0.40    500.00
                        advisors.
01/04/16    PMA         Teleconference with Committee financial advisors (FTI,            0.40    430.00
                        Proskauer, Jefferies, and G. Bousquette) regarding weekly
                        update.
01/04/16    VI          Telephone conference with FTI, Jefferies, and G. Bousquette       0.40    330.00
                        regarding weekly case update.
01/04/16    JW          Attend conference call with professionals.                        0.40    178.00
01/05/16    SAE         Weekly litigation update call with financial advisors.            0.50    462.50
01/05/16    MED         Review FTI agenda (.1); attend weekly litigation conference       0.80    800.00
                        call (.5); send email to FTI and Jefferies with Energizer and
                        CMBS documents (.2).
01/05/16    JGL         Attend weekly update conference call with Committee               0.50    625.00
                        professionals.
01/05/16    PMA         Prepare for call with Committee advisors regarding litigation     0.60    645.00
                        issues (.1); call with Committee advisors regarding litigation
                        issues (.5).
01/05/16    VI          Telephone conference with FTI, Jefferies, and G. Bousquette       0.50    412.50
                        regarding litigation update.
01/05/16    SS          Attend weekly litigation call.                                    0.50    247.50
01/06/16    SAE         Review document on prejudgment interest and email FTI             0.40    370.00
                        regarding same.
01/06/16    SM          Follow up on email from D. Ireland (FTI) regarding items          0.20    122.00
                        for January omnibus hearing.
01/07/16    SAE         Review Total Rewards document and emails with FTI,                0.70    647.50
                        Jefferies regarding same (.3); email with FTI regarding
                        summaries, prejudgment interest (.4).
01/07/16    SM          Email Committee professionals copies of orders regarding          0.20    122.00
                        approval of second interim fee applications.
01/07/16    JGL         Review email from S. Star regarding Committee plan issues.        0.10    125.00
01/08/16    SAE         Email FTI, Jefferies regarding Examiner's interview.              0.10     92.50
01/08/16    PP          Call with Committee professionals regarding settlement            0.50    512.50
                        status.
01/08/16    SM          Follow up on email from D. Ireland (FTI) regarding FTI rate       0.10     61.00
                        increase and disclosure.
01/08/16    PMA         Teleconference with Committee advisors (Proskauer, FTI,           0.50    537.50
                        Jefferies, and G. Bousquette) regarding preparation for bi-
                        weekly Committee call.
01/08/16    VI          Telephone conference with FTI, Jefferies, and G. Bousquette       0.50    412.50
                        regarding settlement discussions.
01/11/16    SAE         Telephone conference with D. Wei at FTI regarding                 0.20    185.00
                        preference issues.
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COMMUNICATION WITH FINANCIAL ADVISOR AND INVESTMENT BANKER
Client/Matter No. 71844.0025

Date        Attorney    Description                                                        Hours   Amount

01/11/16    MED         Review J. French email regarding Examiner damage                    0.50    500.00
                        calculations (.2); review W. Ng email and discussion
                        regarding prejudgment interest calculation (.3).
01/11/16    PP          Attend weekly call with Jefferies/FTI.                              0.50    512.50
01/11/16    SM          Follow up on email from G. Bousquette regarding fee                 0.10     61.00
                        applications.
01/11/16    JGL         Attend weekly call with Committee professionals (.5);               0.60    750.00
                        review email from J. French regarding Examiner
                        information (.1).
01/11/16    MZ          Participate on weekly call with G. Bousquette, Jefferies and        0.50    367.50
                        FTI.
01/11/16    PMA         Teleconference with Committee advisors (FTI, Proskauer,             0.60    645.00
                        Jefferies, and G. Bousquette) regarding weekly update (.5);
                        review email correspondence from W. Ng regarding
                        avoidance actions (.1).
01/11/16    VI          Telephone conference with FTI and Jefferies regarding               0.90    742.50
                        weekly case update (.7); multiple email correspondences
                        with FTI regarding potential preference claims (.2).
01/12/16    SAE         Weekly Litigation update call with FTI, Proskauer &                 0.50    462.50
                        Jefferies (partial attendance).
01/12/16    MED         Review FTI email regarding agenda for weekly litigation             1.50   1,500.00
                        call (.1) attend weekly litigation call (.7); call Jefferies
                        regarding solvency issues (.5); emails with J. D'Amico
                        regarding solvency issues (.2).
01/12/16    PMA         Attend call with Committee advisors (FTI, Jefferies,                0.30    322.50
                        Proskauer, and G. Bousquette) regarding litigation update
                        (partial attendance).
01/12/16    VI          Telephone conference with FTI and Jefferies regarding               0.70    577.50
                        litigation update.
01/12/16    SS          Attend weekly litigation conference call.                           0.70    346.50
01/13/16    SM          Follow up on email from J. French (FTI) regarding conflicts         0.10     61.00
                        check.
01/13/16    JGL         Review email correspondence from S. Star and G.                     0.20    250.00
                        Bousquette regarding NJ legislation and Atlantic City.
01/13/16    VI          Telephone conference with R. Klein, S. Star, and G.                 0.60    495.00
                        Bousquette regarding settlement discussions (.5); review G.
                        Bousquette correspondence regarding New Jersey gaming
                        referendum (.1).
01/14/16    MED         Emails to FTI regarding new VRC memo regarding                      0.60    600.00
                        Linq/Octavius valuation (.2); follow up email with FTI
                        regarding new VRC document (.2); emails with FTI
                        regarding scheduling call regarding Total Rewards (.2).
01/14/16    SM          Attend call with FTI, Jefferies, and GCAP regarding case            0.90    549.00
                        strategy and negotiations (partial attendance).
01/14/16    PMA         Phone call with J. French and D. Ireland regarding cash             1.30   1,397.50
                        issues (.3); phone call with financial advisors (FTI, Jefferies,
                        Proskauer, and G. Bousquette) regarding plan issues (1.0).
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COMMUNICATION WITH FINANCIAL ADVISOR AND INVESTMENT BANKER
Client/Matter No. 71844.0025

Date        Attorney    Description                                                       Hours   Amount

01/14/16    VI          Telephone conference with FTI, Jefferies, and G. Bousquette        1.00    825.00
                        regarding revised waterfall analysis.
01/15/16    MED         Send draft Showboat insert to FTI for comments.                    0.10     100.00
01/19/16    MED         Review FTI email regarding agenda (.1); review A. Wellin           2.70   2,700.00
                        email regarding weekly litigation call (.1); attend weekly call
                        with financial advisors regarding litigation update (.7); call
                        with FTI, G. Bousquette and J. Anderson regarding Total
                        Rewards/Showboat issues (.8); send J. Anderson decks
                        discussed with FTI (.2); send J. Truitt land related valuation
                        documents discussed on call (.2); review W. Ng email and
                        follow up analysis of preferences from FTI (.5); conference
                        call with FTI regarding Total Rewards (.1).
01/19/16    ASW         Weekly litigation update with financial advisors call.             0.70    514.50
01/19/16    JLA         Call with M. Davidson and FTI regarding the value of the           0.70    427.00
                        Total Rewards Program.
01/19/16    SS          Attend weekly litigation phone call (partial attendance).          0.50     247.50
01/20/16    MED         Review FTI narrative regarding land transfers and easements        2.20   2,200.00
                        (.8); review Jefferies email and deck regarding solvency
                        issues (.4); review FTI matrix of interviews by topic covered
                        (.7); review FTI emails and matrix regarding valuation
                        shortfall and meeting/call regarding same (.2); conference
                        call with FTI regarding Total Rewards (.1).
01/20/16    MZ          Participate in professionals' call with Jefferies, FTI, G.         1.00    735.00
                        Bousquette and Proskauer team (.7); review FTI materials
                        (.3).
01/20/16    PMA         Teleconference with FTI, Jefferies, Proskauer, and G.              0.20    215.00
                        Bousquette regarding plan issues.
01/20/16    VI          Analyze draft controversial transactions presentation in           1.20    990.00
                        advance of telephone conference with FTI and Jefferies (.5);
                        telephone conference with FTI and Jefferies regarding draft
                        controversial transactions presentation (.7).
01/21/16    SAE         Meeting at FTI with FTI, Jefferies, Proskauer regarding            1.30   1,202.50
                        waterfall analysis, litigation component thereof.
01/21/16    MED         Conference call with financial advisors regarding matrix           1.30   1,300.00
                        regarding valuation.
01/21/16    PP          Meet with financial advisors regarding litigation recoveries.      1.30   1,332.50
01/21/16    MZ          Participate on call with FTI, Jefferies, and Proskauer team        1.30     955.50
                        regarding next steps.
01/21/16    PMA         Teleconference with FTI, Jefferies, G. Bousquette, and             0.70    752.50
                        Proskauer team regarding plan issues (partial).
01/21/16    VI          Prepare for (.2) meeting with FTI and Jefferies regarding          1.50   1,237.50
                        waterfall recovery analysis (1.3).
01/25/16    SAE         Conference call with FTI, Proskauer, Jefferies regarding           0.60    555.00
                        recoveries analysis.
01/25/16    MED         Review emails regarding call to discuss recovery matrix (.2);      1.00   1,000.00
                        attend conference call with financial advisors regarding
                        recovery matrix (.6); review FTI email and revised recovery
                        matrix (.2).
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COMMUNICATION WITH FINANCIAL ADVISOR AND INVESTMENT BANKER
Client/Matter No. 71844.0025

Date        Attorney    Description                                                      Hours   Amount

01/25/16    ASW         Participate in call with financial advisors regarding recovery    0.60    441.00
                        matrix.
01/25/16    SM          Attend call with FTI, Jefferies, GCAP, and Proskauer team         0.60    366.00
                        regarding case strategy and outstanding items before
                        Committee call.
01/25/16    JGL         Attend weekly conference call with Committee advisors.            0.60    750.00
01/25/16    MZ          Participate on professionals' call with FTI, Jefferies and G.     0.60    441.00
                        Bousquette.
01/25/16    PMA         Attend call with FTI, Proskauer, Jefferies, and G.                0.60    645.00
                        Bousquette regarding waterfall analysis.
01/25/16    VI          Telephone conference with FTI and Jefferies regarding             0.60    495.00
                        waterfall analysis.
01/27/16    MED         Meeting with financial advisors and Proskauer team to             2.00   2,000.00
                        discuss interview transcripts.
01/27/16    PP          Meet with FTI regarding litigation ranges (partial).              1.20   1,230.00
01/27/16    ASW         Attend meeting with financial advisor regarding interview         2.00   1,470.00
                        transcripts.
01/27/16    MZ          Participate in meeting with FTI and Jefferies regarding           1.10    808.50
                        controversial transactions (partial).
01/27/16    PMA         Attend meeting with FTI, Proskauer, Jefferies, and G.             2.00   2,150.00
                        Bousquette regarding digests of Examiner interviews.
01/27/16    VI          Meeting with FTI regarding witness interview transcripts.         2.00   1,650.00
01/27/16    SS          Meeting with proskauer, FTI, and Jefferies.                       2.00     990.00
01/27/16    HZ          Attend transcript meeting with Jefferies, FTI and the             2.00     990.00
                        Proskauer team.
01/28/16    MED         Review G. Bousquette email regarding Total Rewards (.2);          0.30    300.00
                        email to A. Wellin regarding same (.1).
01/28/16    PP          Call with FTI regarding updated waterfall analysis.               0.80    820.00
01/28/16    ASW         Conference call regarding waterfall analysis with financial       0.80    588.00
                        advisors.
01/28/16    SM          Attend call with FTI, Jefferies, GCAP, and Proskauer team         0.90    549.00
                        regarding waterfall analysis (.8); follow up on email from D.
                        Ireland (FTI) regarding supplemental disclosure (.1).
01/28/16    MZ          Participate on call with financial advisors and Proskauer         0.80    588.00
                        team regarding waterfall analysis.
01/28/16    PMA         Review email correspondence from financial advisors               1.00   1,075.00
                        regarding plan issues (.2); Teleconference with financial
                        advisors (FTI, Proskauer, Jefferies, and G. Bousquette)
                        regarding waterfall analysis (.8).
01/28/16    VI          Telephone conference with Jefferies and G. Bousquette             2.50   2,062.50
                        regarding confidentiality agreements (.5); Telephone
                        conference with FTI regarding waterfall analysis (.8);
                        analyze FTI materials in advance of Committee advisors'
                        call (1.2).
01/29/16    PMA         Confer with S. Star regarding plan issues.                        0.30    322.50
01/30/16    VI          Email correspondences with R. Klein and G. Bousquette             0.20    165.00
                        regarding confidentiality agreements.
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COMMUNICATION WITH FINANCIAL ADVISOR AND INVESTMENT BANKER
Client/Matter No. 71844.0025

Date         Attorney   Description                                                     Hours         Amount

01/31/16     VI         Multiple email correspondences with R. Klein regarding            0.40         330.00
                        confidentiality agreements (.2); Telephone conference with
                        R. Klein regarding same (.2).


Attorney                                                                Hours           Rate          Amount

JUDY G. LIU                                                               2.40       1,250.00         3,000.00
PAUL POSSINGER                                                            4.70       1,025.00         4,817.50
PHILIP M. ABELSON                                                         8.50       1,075.00         9,137.50
       Total For Partner                                                 15.60                       16,955.00

MARK E. DAVIDSON                                                         13.00       1,000.00        13,000.00
SCOTT A. EGGERS                                                           4.30         925.00         3,977.50
      Total For Senior Counsel                                           17.30                       16,977.50

ANDREW S. WELLIN                                                          4.10        735.00          3,013.50
HELENA ZHENG                                                              2.00        495.00            990.00
JACKI L. ANDERSON                                                         0.70        610.00            427.00
JERAMY WEBB                                                               0.40        445.00            178.00
MAJA ZERJAL                                                               5.30        735.00          3,895.50
SARAH SULLIVAN                                                            3.70        495.00          1,831.50
STEVE MA                                                                  3.10        610.00          1,891.00
VINCENT INDELICATO                                                       13.00        825.00         10,725.00
       Total For Associate                                               32.30                       22,951.50


Professional Fees                                                        65.20                   $   56,884.00

Total this Matter                                                                               $    56,884.00
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COMMUNICATION WITH DEBTOR
Client/Matter No. 71844.0026


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                                     Hours        Amount

01/05/16     VI         Multiple email correspondences with Kirkland regarding            0.20        165.00
                        CEOC aircraft purchase.
01/06/16     MJB        Telephone conference with M. Beilinson regarding                  0.80       1,036.00
                        negotiations and Debtors' strategy.
01/06/16     VI         Telephone conference with Kirkland regarding CEOC                 0.30        247.50
                        aircraft purchase.
01/07/16     VI         Multiple email correspondences with Kirkland regarding            0.30        247.50
                        CEOC aircraft purchase.
01/08/16     VI         Telephone conference with Kirkland regarding case update.         0.30        247.50
01/13/16     PMA        Review email correspondence from J. Graham and V.                 0.10        107.50
                        Indelicato regarding Gordon Ramsay agreements.
01/15/16     RMC        Call with Kirkland to discuss tax updates.                        0.80        740.00
01/15/16     VI         Email correspondence with Kirkland regarding status of            0.10         82.50
                        Gordon Ramsay agreements.
01/15/16     MSH        Update conference call with Kirkland tax team (update on          0.50        412.50
                        private letter ruling developments).
01/21/16     MJB        Telephone conference with M. Beilinson regarding plan.            0.60        777.00
01/27/16     SM         Follow up with P. Abelson and V. Indelicato regarding call        0.20        122.00
                        with Debtors' advisors regarding lease restriction
                        amendment.
01/28/16     PMA        Teleconference with J. Graham regarding exclusivity.              0.10        107.50


Attorney                                                                Hours           Rate         Amount

MARTIN J. BIENENSTOCK                                                    1.40        1,295.00        1,813.00
PHILIP M. ABELSON                                                        0.20        1,075.00          215.00
RICHARD M. CORN                                                          0.80          925.00          740.00
       Total For Partner                                                 2.40                        2,768.00

MALCOLM S. HOCHENBERG                                                    0.50         825.00           412.50
STEVE MA                                                                 0.20         610.00           122.00
VINCENT INDELICATO                                                       1.20         825.00           990.00
      Total For Associate                                                1.90                        1,524.50


Professional Fees                                                        4.30                    $   4,292.50

Total this Matter                                                                               $    4,292.50
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LEGAL RESEARCH AND ANALYSIS
Client/Matter No. 71844.0028


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                                    Hours         Amount

01/05/16     DD         Conduct research on deathtrap provisions in Seventh Circuit      1.50         667.50
                        (1.2); review latest docket activity (.3).
01/10/16     MZ         Perform research regarding fraudulent transfers.                 2.70        1,984.50
01/14/16     MZ         Review research on recovery.                                     0.70          514.50
01/20/16     MZ         Research allowance of claims.                                    2.00        1,470.00
01/21/16     JW         Research regarding transfers.                                    1.70          756.50
01/24/16     VI         Research collateral jurisprudence.                               0.70          577.50
01/27/16     JW         Research regarding avoidance actions (1.6); research             5.80        2,581.00
                        regarding ambiguity (3.8); prepare analysis of the
                        aforementioned research and circulate (.4).
01/28/16     JW         Research regarding affiliates and avoidance actions (2.9);       6.80        3,026.00
                        research regarding avoidance actions (2.0); research
                        regarding avoidance actions (1.9).
01/29/16     JW         Research regarding avoidance actions.                            1.90          845.50
01/31/16     JW         Continue research regarding avoidance actions (2.4); revise      2.80        1,246.00
                        memo to incorporate findings (.4).


Attorney                                                                Hours          Rate          Amount

JERAMY WEBB                                                              19.00        445.00         8,455.00
MAJA ZERJAL                                                               5.40        735.00         3,969.00
VINCENT INDELICATO                                                        0.70        825.00           577.50
      Total For Associate                                                25.10                      13,001.50

DANIEL DESATNIK                                                           1.50        445.00          667.50
      Total For Law Clerk                                                 1.50                        667.50


Professional Fees                                                        26.60                  $   13,669.00

Total this Matter                                                                              $    13,669.00
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PREPARATION OF PLEADINGS
Client/Matter No. 71844.0029


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                                  Hours        Amount

01/04/16     SM         Finalize certification of no objections for all Committee      0.60        366.00
                        professionals and Committee members.
01/05/16     SM         Coordinate with N. Petrov to file CNOs for Committee           0.50        305.00
                        professionals and Committee members.
01/12/16     VI         Prepare draft memorandum regarding Committee trial             3.80       3,135.00
                        participation.


Attorney                                                                  Hours      Rate         Amount

STEVE MA                                                                    1.10    610.00          671.00
VINCENT INDELICATO                                                          3.80    825.00        3,135.00
      Total For Associate                                                   4.90                  3,806.00


Professional Fees                                                           4.90              $   3,806.00

Total this Matter                                                                            $    3,806.00
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HEARINGS AND COURT MATTERS
Client/Matter No. 71844.0030


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                     Hours   Amount

01/12/16    JGL         Review court order regarding requested briefing (.1);            0.30    375.00
                        discussion with M. Zerjal regarding same (.1); review email
                        from V. Indelicato regarding court order (.1).
01/16/16    PMA         Review agenda regarding January 20 hearing.                      0.10     107.50
01/19/16    NP          Prepare materials for 1/20/2016 omnibus hearing.                 0.60     180.00
01/19/16    VI          Review pleadings in preparation for 1/20 omnibus hearing.        1.30   1,072.50
01/20/16    PP          Discuss omnibus hearing with J. Webb (.2); review hearing        0.50     512.50
                        summary (.3).
01/20/16    SM          Attend 1/20 omnibus hearing (on the issues of Committee          1.30    793.00
                        standing motion (lien challenges) and Examiner's seal
                        motion).
01/20/16    JGL         Review summary of omnibus hearing (.2); teleconference           0.40    500.00
                        with M. Zerjal regarding court hearing (.2).
01/20/16    MZ          Teleconference with J. Liu regarding January 20th hearing        0.30    220.50
                        (.2); review summary (.1).
01/20/16    PMA         Prepare for January 20 hearing (.5); Attend January 20           2.70   2,902.50
                        hearing (1.3); confer with S. Ma and V. Indelicato regarding
                        January 20 hearing preparation (.9).
01/20/16    VI          Attend January Omnibus hearing.                                  1.30   1,072.50
01/20/16    JW          Participate in omnibus court hearing with P. Abelson, V.         1.50     667.50
                        Indelicato, and S. Ma (1.3); discuss same with P. Possinger
                        (.2)
01/20/16    JW          Email to P. Possinger, detailing events of omnibus court         0.20     89.00
                        hearing.
01/21/16    JGL         Teleconference with P. Abelson regarding omnibus hearing         2.00   2,500.00
                        on 1/20 (.4); review transcript of omnibus hearing (1.6).
01/21/16    PMA         Confer with J. Liu regarding January 20 hearing.                 0.40    430.00
01/21/16    JW          Attend hearing regarding Debtors' claim objections (.6);         1.20    534.00
                        prepare (.4), edit (.1), and distribute (.1) summary of court
                        hearing.
01/25/16    SAE         Review transcript of 1/20 omnibus hearing.                       0.40    370.00
01/28/16    NP          Prepare electronic exhibit binder for 2/2/2016 hearing (.4);     0.70    210.00
                        forward to J. Elias at Haystack for printing (.3).
01/28/16    LPO         Create index of specific documents regarding hearing             0.20     70.00
                        materials.
01/29/16    LPO         Retrieve additional documents regarding hearing materials.       1.50    525.00
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HEARINGS AND COURT MATTERS
Client/Matter No. 71844.0030



Attorney                                           Hours      Rate         Amount

JUDY G. LIU                                         2.70   1,250.00        3,375.00
PAUL POSSINGER                                      0.50   1,025.00          512.50
PHILIP M. ABELSON                                   3.20   1,075.00        3,440.00
       Total For Partner                            6.40                   7,327.50

SCOTT A. EGGERS                                     0.40    925.00          370.00
      Total For Senior Counsel                      0.40                    370.00

JERAMY WEBB                                         2.90    445.00         1,290.50
MAJA ZERJAL                                         0.30    735.00           220.50
STEVE MA                                            1.30    610.00           793.00
VINCENT INDELICATO                                  2.60    825.00         2,145.00
      Total For Associate                           7.10                   4,449.00

LISA P. ORR                                         1.70    350.00          595.00
NATASHA PETROV                                      1.30    300.00          390.00
        Total For Legal Assistant                   3.00                    985.00


Professional Fees                                  16.90              $   13,131.50

Total this Matter                                                     $   13,131.50
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COMMUNICATION WITH EXAMINER
Client/Matter No. 71844.0033


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date        Attorney    Description                                                     Hours   Amount

01/05/16    SAE         Conference with S. Sullivan regarding interview digests.         0.30    277.50
01/05/16    MED         Review S. Eggers email regarding Examiner's motion to file       0.40    400.00
                        under seal (.1); review Examiner's motion (.3).
01/06/16    MJB         Review four Examiner interview transcripts.                      5.30   6,863.50
01/07/16    PP          Review 3/11/15 transcript for court's position on seal           0.70     717.50
                        motions (.4); discuss same with V. Indelicato (.3).
01/07/16    SM          Draft response to Examiner's seal motion.                        5.60   3,416.00
01/07/16    JGL         Discussion with V. Indelicato and P. Abelson regarding           0.40     500.00
                        Examiner motion to file under seal (.2); review emails
                        regarding Examiner interviewees from FTI (.2).
01/07/16    PMA         Confer with J. Liu and V. Indelicato regarding Examiner          0.40    430.00
                        issues (.2); review draft response to Examiner motion to seal
                        (.2).
01/07/16    VI          Draft arguments for Examiner seal motion response (.5);          1.00    825.00
                        discuss court's position on seal motions with P. Possinger
                        (.3); confer with P. Abelson and J. Liu regarding Examiner
                        seal motion (.2).
01/08/16    SAE         Email Examiner regarding Total Rewards documents (.2);           0.30    277.50
                        send email from Examiner regarding upcoming interviews to
                        FTI, Jefferies (.1).
01/08/16    PP          Revise response to Examiner's seal motion.                       1.40   1,435.00
01/08/16    VI          Revise proposed draft response to Examiner seal motion.          0.70     577.50
01/09/16    PMA         Review draft response to Examiner motion to seal.                0.10     107.50
01/10/16    PMA         Review draft response to Examiner motion to seal.                0.30     322.50
01/11/16    PP          Comment on updated draft of response to Examiner seal            1.20   1,230.00
                        motion.
01/11/16    SM          Revise draft of response to Examiner seal motion.                1.70   1,037.00
01/11/16    JGL         Review comment on response to Examiner seal motion.              0.40     500.00
01/11/16    PMA         Review response to Examiner motion to seal (.2); confer          0.40     430.00
                        with S. Ma regarding response to Examiner motion to seal
                        (.1); review email from J. French regarding Examiner
                        response to inquiry (.1).
01/11/16    VI          Revise draft Committee response to Examiner seal motion.         1.00     825.00
01/12/16    SAE         Review draft of response to Examiner motion.                     0.20     185.00
01/12/16    SM          Revise response to Examiner's seal motion according to           1.70   1,037.00
                        various comments.
01/12/16    MJB         Draft/edit response to Examiner motion regarding CEC             0.80   1,036.00
                        confidentiality designations.
01/12/16    PMA         Review revised response to motion to seal.                       0.10    107.50
01/12/16    VI          Telephone conference with C. Hardman regarding                   0.60    495.00
                        preferences (.1); revise draft response to Examiner seal
                        motion (.5).
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COMMUNICATION WITH EXAMINER
Client/Matter No. 71844.0033

Date        Attorney    Description                                                     Hours   Amount

01/13/16    SAE         Revise prejudgment interest calculation chart (.4); email to     1.10   1,017.50
                        Examiner regarding same (.3); email team regarding same
                        (.1); review responses of CEC, Ad Hoc Committee,
                        Committee to Examiner's motion (.3).
01/13/16    MKT         Review draft Committee pleading in response to Examiner          0.20    240.00
                        seal motion.
01/13/16    PP          Review Committee comments in response to Examiner's seal         2.30   2,357.50
                        motion (.5); discuss same with V. Indelicato (.3); review
                        final version (.3); review filed responses to Examiner's seal
                        motion (1.2).
01/13/16    SM          Finalize response to Examiner's seal motion to be filed.         1.00    610.00
01/13/16    JGL         Review email correspondence from P. Possinger and V.             0.40    500.00
                        Indelicato regarding Committee response to Examiner seal
                        motion (.2); review final Committee response (.2).
01/13/16    PMA         Review Ad Hoc Notes objection to Examiner motion to seal         0.50    537.50
                        (.1); confer with V. Indelicato regarding response to motion
                        to seal (.2); review changes to revised response to motion to
                        seal (.1); teleconference to and from D. McGuire regarding
                        Examiner motion to seal (.1).
01/13/16    VI          Revise draft Committee response to Examiner seal motion          0.60    495.00
                        (.3); confer with P. Possinger regarding same (.3).
01/14/16    MKT         Review pleadings filed by parties in interest on Examiner        0.30    360.00
                        seal issue and discovery disputes.
01/14/16    PMA         Review CEC response to Examiner motion to seal.                  0.10     107.50
01/20/16    PP          Revise talking points for discussion with Examiner.              1.30   1,332.50
01/20/16    JGL         Emails from R. Reinthaler regarding Examiner request.            0.10     125.00
01/20/16    VI          Multiple email correspondences with C. Hardman regarding         0.20     165.00
                        preferences.
01/22/16    SAE         Telephone conference with D. Neier regarding Examiner            0.70    647.50
                        call (.2); email with D. Neier, others at Winston & Strawn
                        regarding analysis of certain issues (.3); emails, telephone
                        conference with P. Abelson, M. Zerjal regarding call with
                        Examiner (.2).
01/22/16    PMA         Confer with S. Ma and M. Zerjal regarding Examiner issues.       0.20    215.00
01/25/16    PMA         Review transcript and documents regarding Examiner               0.20    215.00
                        witness interview.
01/26/16    SAE         Emails with Winstron & Strawn regarding call with                0.20    185.00
                        Examiner (.1); conference with A. Wellin regarding
                        discussion with Examiner (.1).
01/26/16    MZ          Coordinate call with Examiner (.3); Prepare talking points       3.50   2,572.50
                        regarding same (3.2).
01/27/16    SAE         Review issues in preparation for call with Examiner (1.5);       2.60   2,405.00
                        attend call with Examiner (.5); confer with P. Abelson, V.
                        Indelicato, A. Wellin and M. Zerjal after meeting with
                        Examiner (.3); review proposed order on motion to seal (.3).
01/27/16    MKT         Review Examiner proposed seal order (.3); email from V.          0.40    480.00
                        Indelicato regarding same (.1).
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COMMUNICATION WITH EXAMINER
Client/Matter No. 71844.0033

Date        Attorney    Description                                                      Hours   Amount

01/27/16    PP          Call with Examiner regarding avoidance issues (.5); follow-       1.00   1,025.00
                        up call with P. Abelson, V. Indelicato and M. Zerjal
                        regarding same (.3); call with V. Indelicato regarding
                        Examiner disclosure protocol (.2).
01/27/16    ASW         Conference call with Examiner.                                    0.50    367.50
01/27/16    JGL         Meeting with P. Abelson and M. Zerjal regarding Examiner          0.60    750.00
                        call.
01/27/16    MZ          Confer with P. Abelson regarding Examiner call (.6);              2.60   1,911.00
                        Discuss same with P. Possinger and P. Abelson (.3); discuss
                        with Examiner (larger group) (.5) and C. Schreiber (.9);
                        participate in discussion after Examiner call with P.
                        Abelson, S. Eggers, V. Indelicato and A. Wellin (.3).
01/27/16    PMA         Attend call with Proskauer, Winston, and Examiner (.5);           2.80   3,010.00
                        Confer with M. Zerjal and P. Possinger regarding Examiner
                        call (.3); Confer with M. Zerjal regarding Examiner call (.6);
                        Follow-up with Proskauer team regarding Examiner call
                        (.3); Attend call with Proskauer and Winston regarding
                        avoidance actions (.9); Review and revise Examiner order
                        regarding redacted report (.2).
01/27/16    VI          Analyze proposed Examiner order (.4); teleconference with         2.90   2,392.50
                        P. Possinger regarding Examiner's disclosure protocol (.2);
                        multiple email correspondences with Proskauer team
                        regarding same (.3); Review protective order to determine
                        accuracy of Examiner order (.4); Prepare email
                        correspondence to P. Abelson regarding same (.2); telephone
                        conference with Examiner's counsel regarding investigation
                        issues (.5); Multiple telephone conferences with C. Hardman
                        regarding follow-up (.3); review witness interview summary
                        chart in advance of meeting with FTI (.3); telephone call
                        with P. Possinger, P. Abelson and M. Zerjal regarding
                        follow-up to Examiner call (.3).
01/27/16    JW          Attend conference call with Examiner.                             0.50    222.50
01/27/16    DD          Summarize proposed Examiner seal orders.                          0.70    311.50
01/28/16    SAE         Emails regarding order on Examiner's motion to seal.              0.20    185.00
01/28/16    MED         Review P. Abelson email and proposed revisions to                 0.40    400.00
                        Examiners order regarding disclosures of
                        privilege/confidential materials (.2); email to P. Abelson and
                        bankruptcy group regarding standing motion (.2).
01/28/16    PP          Call with V. Indelicato regarding Examiner's proposed order       1.50   1,537.50
                        on disclosure of report (.3); emails with M. Davidson
                        regarding same (.3); review order (.2); discuss concerns with
                        V. Indelicato (.3); confer with M. Zerjal and P. Abelson
                        separately regarding presentation for Examiner meeting (.4).
01/28/16    JGL         Review extensive email correspondence from V. Indelicato,         0.30    375.00
                        P. Possinger and M. Davidson regarding Examiner's
                        proposed order regarding privileged/confidential designation
                        disclosures.
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COMMUNICATION WITH EXAMINER
Client/Matter No. 71844.0033

Date        Attorney    Description                                                     Hours   Amount

01/28/16    MZ          Draft presentation for Examiner meeting (8.5); discuss and      13.40   9,849.00
                        revise with P. Abelson (2.5); discuss with P. Possinger (.4)
                        P. Abelson and J. Webb multiple times (.3); revise same
                        (1.7).
01/28/16    PMA         Review email correspondence from various parties regarding       1.10   1,182.50
                        Examiner meeting materials and analysis (.1); Review email
                        correspondence from V. Indelicato, M. Davidson, and P.
                        Possinger regarding Examiner seal order (.1); Confer with
                        V. Indelicato regarding Examiner presentation (.2); Confer
                        with P. Possinger regarding Examiner meeting (.4); Confer
                        with M. Zerjal and J. Webb regarding Examiner meeting
                        (.3).
01/28/16    PMA         Preparation for follow-up meeting with Examiner counsel          3.40   3,655.00
                        regarding avoidance action.
01/28/16    VI          Telephone conferences with D. McGuire and C. Hardman             3.60   2,970.00
                        regarding Examiner order (.4); prepare draft objection to
                        Examiner order (1.7); review draft Drinker Biddle objection
                        to Examiner order (.4); multiple email correspondences with
                        Proskauer team regarding Examiner's proposed order (.2);
                        telephone conferences with P. Possinger regarding same (.6);
                        confer with M. Bienenstock regarding same (.3).
01/28/16    JW          Conference call with M. Zerjal and P. Abelson regarding          0.30    133.50
                        Examiner meeting.
01/29/16    MED         Review draft objection regarding Examiner's seal order.          0.30    300.00
01/29/16    MKT         Review several versions of objections (.2) and revisions to      0.40    480.00
                        proposed Examiner seal order (.2).
01/29/16    PP          Conference call with Examiner's counsel regarding                3.00   3,075.00
                        avoidance action analysis (1.2); review Power Point
                        regarding same (.7); follow-up discussion of same with P.
                        Abelson (.2); discuss Examiner's proposed order with V.
                        Indelicato (.5); review order as filed (.3); call to chambers
                        regarding same (.1).
01/29/16    SM          Revise draft objection to Examiner's proposed order              0.10     61.00
                        regarding Examiner's final report.
01/29/16    MJB         Review Examiner's motion regarding sealing report (.2);          2.10   2,719.50
                        review Examiner's proposed order regarding sealing report
                        (.2); revise and draft portions of response to Examiner
                        motion and draft portions of alternate proposed order (1.5);
                        confer with V. Indelicato regarding Examiner's proposed
                        order (.2).
01/29/16    JGL         Edit objection to Examiner order.                                0.30     375.00
01/29/16    MZ          Prepare for (1.5); and meet with Examiner (1.4); Discuss         7.40   5,439.00
                        with P. Abelson (.8); Prepare notes (.5); review issues
                        arising out of Examiner call (3.2).
01/29/16    PMA         Prepare for meeting with Examiner’s counsel (.9); Attend         2.60   2,795.00
                        meeting with Examiner counsel (1.3); Confer with P.
                        Possinger regarding Examiner order (.2); Review list of
                        issues raised at Examiner counsel meeting (.1); Confer with
                        V. Indelicato regarding Examiner order (.1).
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COMMUNICATION WITH EXAMINER
Client/Matter No. 71844.0033

Date        Attorney    Description                                                   Hours   Amount

01/29/16    VI          Revise draft objection to Examiner order (2.0); confer with    2.70   2,227.50
                        P. Possinger regarding Examiner's proposed order (.5);
                        confer with M. Bienenstock regarding same (.2).
01/29/16    JW          Draft correspondence to Examiner's counsel regarding           0.70    311.50
                        language from final cash collateral order (.5); review
                        avoidance action points raised by Examiner (.2).
01/30/16    PP          Review Drinker objection to Examiner's proposed order          1.10   1,127.50
                        regarding redactions (.3); review Committee draft of same
                        (.4); emails with V. Indelicato regarding comments (.4).
01/30/16    PMA         Review draft objection to Examiner seal order.                 0.10    107.50
01/30/16    VI          Revise draft objection to Examiner order.                      1.00    825.00
01/31/16    PP          Calls with V. Indelicato regarding revisions to proposed       0.70    717.50
                        Examiner order (.4); emails with V. Indelicato regarding
                        further changes, filing (.3).
01/31/16    PMA         Teleconference with V. Indelicato regarding Examiner order     0.20    215.00
                        (.1); Review email correspondence from V. Indelicato
                        regarding Examiner order (.1).
01/31/16    VI          Revise multiple drafts of Committee objection to Examiner      2.60   2,145.00
                        order (1.7); multiple email correspondences with M.
                        Bienenstock regarding Committee objection to Examiner
                        order (.2); telephone conference with P. Abelson regarding
                        same (.1); calls with P. Possinger regarding revisions to
                        proposed Examiner order (.4); multiple email
                        correspondences with P. Possinger regarding same (.2).
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COMMUNICATION WITH EXAMINER
Client/Matter No. 71844.0033



Attorney                                           Hours       Rate         Amount

JUDY G. LIU                                          2.50   1,250.00        3,125.00
MARK K. THOMAS                                       1.30   1,200.00        1,560.00
MARTIN J. BIENENSTOCK                                8.20   1,295.00       10,619.00
PAUL POSSINGER                                      14.20   1,025.00       14,555.00
PHILIP M. ABELSON                                   12.50   1,075.00       13,437.50
       Total For Partner                            38.70                  43,296.50

MARK E. DAVIDSON                                     1.10   1,000.00        1,100.00
SCOTT A. EGGERS                                      5.60     925.00        5,180.00
      Total For Senior Counsel                       6.70                   6,280.00

ANDREW S. WELLIN                                     0.50    735.00           367.50
JERAMY WEBB                                          1.50    445.00           667.50
MAJA ZERJAL                                         26.90    735.00        19,771.50
STEVE MA                                            10.10    610.00         6,161.00
VINCENT INDELICATO                                  16.90    825.00        13,942.50
      Total For Associate                           55.90                  40,910.00

DANIEL DESATNIK                                      0.70    445.00          311.50
      Total For Law Clerk                            0.70                    311.50


Professional Fees                                  102.00              $   90,798.00

Total this Matter                                                      $   90,798.00
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COMMUNICATION WITH SECOND LIEN COMMITTEE
Client/Matter No. 71844.0034


DETAIL DESCRIPTION OF SERVICES RENDERED:

Date         Attorney   Description                                                     Hours        Amount

01/05/16     PMA        Teleconference with S. Levinson regarding case update.            0.30        322.50
01/07/16     PMA        Confer with S. Levinson regarding Examiner motion to seal.        0.10        107.50


Attorney                                                               Hours            Rate         Amount

PHILIP M. ABELSON                                                        0.40        1,075.00         430.00
       Total For Partner                                                 0.40                         430.00


Professional Fees                                                        0.40                    $    430.00

Total this Matter                                                                               $     430.00
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DISBURSEMENTS
Client/Matter No. 71844.0036


For Charges and Disbursements

Date         Timekeeper               Type             Description       Amount
01/04/2016   Judy G. Liu        REPRODUCTION   REPRODUCTION                $0.80
01/04/2016   Judy G. Liu        REPRODUCTION   REPRODUCTION                $0.10
01/04/2016   Judy G. Liu        REPRODUCTION   REPRODUCTION                $0.40
01/04/2016   Judy G. Liu        REPRODUCTION   REPRODUCTION                $0.70
01/04/2016   Daniel Desatnik    REPRODUCTION   REPRODUCTION                $2.70
01/04/2016   Daniel Desatnik    REPRODUCTION   REPRODUCTION                $1.20
01/04/2016   Daniel Desatnik    REPRODUCTION   REPRODUCTION                $1.00
01/04/2016   Daniel Desatnik    REPRODUCTION   REPRODUCTION                $3.10
01/04/2016   Daniel Desatnik    REPRODUCTION   REPRODUCTION                $1.00
01/04/2016   Daniel Desatnik    REPRODUCTION   REPRODUCTION                $1.50
01/04/2016   Steve MA           REPRODUCTION   REPRODUCTION                $1.00
01/04/2016   Daniel Desatnik    REPRODUCTION   REPRODUCTION                $1.20
01/04/2016   Daniel Desatnik    REPRODUCTION   REPRODUCTION                $0.50
01/04/2016   Daniel Desatnik    REPRODUCTION   REPRODUCTION                $0.90
01/04/2016   Daniel Desatnik    REPRODUCTION   REPRODUCTION                $1.00
01/04/2016   Mark E. Davidson   REPRODUCTION   REPRODUCTION                $4.90
01/04/2016   Mark E. Davidson   REPRODUCTION   REPRODUCTION                $6.10
01/04/2016   Steve MA           REPRODUCTION   REPRODUCTION                $9.80
01/04/2016   Steve MA           REPRODUCTION   REPRODUCTION               $10.20
01/04/2016   Judy G. Liu        REPRODUCTION   REPRODUCTION                $0.30
01/04/2016   Paul Possinger     REPRODUCTION   REPRODUCTION                $3.70
01/05/2016   Sarah Sullivan     REPRODUCTION   REPRODUCTION                $4.50
01/05/2016   Steve MA           REPRODUCTION   REPRODUCTION                $1.40
01/05/2016   Judy G. Liu        REPRODUCTION   REPRODUCTION                $3.00
01/05/2016   Judy G. Liu        REPRODUCTION   REPRODUCTION                $2.70
01/05/2016   Sarah Sullivan     REPRODUCTION   REPRODUCTION                $4.50
01/05/2016   Sarah Sullivan     REPRODUCTION   REPRODUCTION                $2.90
01/05/2016   Sarah Sullivan     REPRODUCTION   REPRODUCTION                $4.30
01/05/2016   Sarah Sullivan     REPRODUCTION   REPRODUCTION                $0.40
01/05/2016   Magali Giddens     REPRODUCTION   REPRODUCTION                $0.50
01/05/2016   Steve MA           REPRODUCTION   REPRODUCTION                $1.50
01/05/2016   Steve MA           REPRODUCTION   REPRODUCTION                $0.50
01/05/2016   Steve MA           REPRODUCTION   REPRODUCTION                $2.30
01/05/2016   Steve MA           REPRODUCTION   REPRODUCTION                $4.90
01/05/2016   Steve MA           REPRODUCTION   REPRODUCTION                $4.60
01/05/2016   Judy G. Liu        REPRODUCTION   REPRODUCTION                $1.60
01/05/2016   Judy G. Liu        REPRODUCTION   REPRODUCTION                $2.20
01/05/2016   Sarah Sullivan     REPRODUCTION   REPRODUCTION                $0.10
01/05/2016   Sarah Sullivan     REPRODUCTION   REPRODUCTION                $0.40
01/05/2016   Sarah Sullivan     REPRODUCTION   REPRODUCTION                $0.30
01/05/2016   Mark E. Davidson   REPRODUCTION   REPRODUCTION               $14.10
01/06/2016   Judy G. Liu        REPRODUCTION   REPRODUCTION                $1.70
01/06/2016   Tiffany Quach      REPRODUCTION   REPRODUCTION               $15.30
01/06/2016   Tiffany Quach      REPRODUCTION   REPRODUCTION               $17.90
01/06/2016   Tiffany Quach      REPRODUCTION   REPRODUCTION               $25.50
01/07/2016   Steve MA           REPRODUCTION   REPRODUCTION                $3.50
01/07/2016   Mark E. Davidson   REPRODUCTION   REPRODUCTION                $0.40
01/07/2016   Mark E. Davidson   REPRODUCTION   REPRODUCTION                $5.30
01/07/2016   Magali Giddens     REPRODUCTION   REPRODUCTION                $1.10
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Date         Timekeeper                Type             Description      Amount
01/07/2016   Jacki L. Anderson   REPRODUCTION   REPRODUCTION               $5.10
01/07/2016   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $14.10
01/07/2016   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $14.10
01/07/2016   Jacki L. Anderson   REPRODUCTION   REPRODUCTION               $1.50
01/07/2016   Jacki L. Anderson   REPRODUCTION   REPRODUCTION               $6.10
01/07/2016   Jacki L. Anderson   REPRODUCTION   REPRODUCTION               $0.70
01/07/2016   Jacki L. Anderson   REPRODUCTION   REPRODUCTION               $7.20
01/07/2016   Jacki L. Anderson   REPRODUCTION   REPRODUCTION               $0.90
01/08/2016   Brian Hooven        REPRODUCTION   REPRODUCTION               $0.20
01/08/2016   Judy G. Liu         REPRODUCTION   REPRODUCTION               $2.50
01/08/2016   Judy G. Liu         REPRODUCTION   REPRODUCTION               $2.00
01/08/2016   Magali Giddens      REPRODUCTION   REPRODUCTION              $11.40
01/08/2016   Daniel Desatnik     REPRODUCTION   REPRODUCTION               $0.20
01/08/2016   Mark Carpenter      REPRODUCTION   REPRODUCTION               $0.10
01/08/2016   Mark Carpenter      REPRODUCTION   REPRODUCTION               $0.10
01/08/2016   Mark Carpenter      REPRODUCTION   REPRODUCTION               $0.10
01/08/2016   Mark Carpenter      REPRODUCTION   REPRODUCTION               $0.10
01/08/2016   Mark Carpenter      REPRODUCTION   REPRODUCTION               $0.10
01/08/2016   Mark Carpenter      REPRODUCTION   REPRODUCTION               $0.10
01/08/2016   Mark Carpenter      REPRODUCTION   REPRODUCTION               $0.10
01/08/2016   Mark Carpenter      REPRODUCTION   REPRODUCTION               $0.10
01/08/2016   Mark Carpenter      REPRODUCTION   REPRODUCTION               $0.10
01/08/2016   Mark Carpenter      REPRODUCTION   REPRODUCTION               $0.10
01/08/2016   Maja Zerjal         REPRODUCTION   REPRODUCTION               $2.80
01/08/2016   Daniel Desatnik     REPRODUCTION   REPRODUCTION               $2.40
01/08/2016   Maja Zerjal         REPRODUCTION   REPRODUCTION              $11.20
01/08/2016   Maja Zerjal         REPRODUCTION   REPRODUCTION              $12.00
01/08/2016   Maja Zerjal         REPRODUCTION   REPRODUCTION               $1.80
01/08/2016   Judy G. Liu         REPRODUCTION   REPRODUCTION               $0.10
01/08/2016   Judy G. Liu         REPRODUCTION   REPRODUCTION               $0.10
01/11/2016   Judy G. Liu         REPRODUCTION   REPRODUCTION               $1.90
01/11/2016   Magali Giddens      REPRODUCTION   REPRODUCTION               $0.20
01/11/2016   Steve MA            REPRODUCTION   REPRODUCTION               $2.40
01/11/2016   Judy G. Liu         REPRODUCTION   REPRODUCTION               $0.10
01/11/2016   Magali Giddens      REPRODUCTION   REPRODUCTION               $0.60
01/11/2016   Steve MA            REPRODUCTION   REPRODUCTION               $1.40
01/12/2016   Jacki L. Anderson   REPRODUCTION   REPRODUCTION               $3.00
01/12/2016   Jacki L. Anderson   REPRODUCTION   REPRODUCTION               $2.70
01/12/2016   Jacki L. Anderson   REPRODUCTION   REPRODUCTION               $1.60
01/12/2016   Jacki L. Anderson   REPRODUCTION   REPRODUCTION               $2.20
01/13/2016   Magali Giddens      REPRODUCTION   REPRODUCTION               $0.10
01/13/2016   Steve MA            REPRODUCTION   REPRODUCTION               $1.50
01/13/2016   Magali Giddens      REPRODUCTION   REPRODUCTION               $9.60
01/14/2016   Mark Carpenter      REPRODUCTION   REPRODUCTION               $0.10
01/14/2016   Mark Carpenter      REPRODUCTION   REPRODUCTION               $0.10
01/14/2016   Mark Carpenter      REPRODUCTION   REPRODUCTION               $0.10
01/14/2016   Mark Carpenter      REPRODUCTION   REPRODUCTION               $0.30
01/15/2016   Deborah J. Yeoh-    REPRODUCTION   REPRODUCTION               $1.60
             wang
01/15/2016   Evelyn Rodriguez    REPRODUCTION   REPRODUCTION                $5.20
01/15/2016   Evelyn Rodriguez    REPRODUCTION   REPRODUCTION                $3.20
01/15/2016   Evelyn Rodriguez    REPRODUCTION   REPRODUCTION                $3.40
01/15/2016   Evelyn Rodriguez    REPRODUCTION   REPRODUCTION                $5.20
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Date         Timekeeper                Type             Description      Amount
01/15/2016   Evelyn Rodriguez    REPRODUCTION   REPRODUCTION              $35.20
01/15/2016   Evelyn Rodriguez    REPRODUCTION   REPRODUCTION               $3.80
01/15/2016   Evelyn Rodriguez    REPRODUCTION   REPRODUCTION               $3.60
01/15/2016   Evelyn Rodriguez    REPRODUCTION   REPRODUCTION               $3.60
01/15/2016   Evelyn Rodriguez    REPRODUCTION   REPRODUCTION              $35.20
01/15/2016   Evelyn Rodriguez    REPRODUCTION   REPRODUCTION               $3.80
01/15/2016   Evelyn Rodriguez    REPRODUCTION   REPRODUCTION               $3.60
01/15/2016   Evelyn Rodriguez    REPRODUCTION   REPRODUCTION               $3.60
01/15/2016   Evelyn Rodriguez    REPRODUCTION   REPRODUCTION               $5.20
01/15/2016   Evelyn Rodriguez    REPRODUCTION   REPRODUCTION               $3.20
01/15/2016   Evelyn Rodriguez    REPRODUCTION   REPRODUCTION               $3.40
01/15/2016   Evelyn Rodriguez    REPRODUCTION   REPRODUCTION               $5.20
01/15/2016   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $23.50
01/19/2016   Maja Zerjal         REPRODUCTION   REPRODUCTION               $2.00
01/19/2016   Steve MA            REPRODUCTION   REPRODUCTION               $0.30
01/19/2016   Mark E. Davidson    REPRODUCTION   REPRODUCTION               $1.40
01/19/2016   Maja Zerjal         REPRODUCTION   REPRODUCTION               $1.70
01/19/2016   Mark E. Davidson    REPRODUCTION   REPRODUCTION               $1.50
01/19/2016   Mark E. Davidson    REPRODUCTION   REPRODUCTION               $1.50
01/19/2016   Mark E. Davidson    REPRODUCTION   REPRODUCTION               $3.00
01/19/2016   Mark E. Davidson    REPRODUCTION   REPRODUCTION               $6.90
01/19/2016   Mark E. Davidson    REPRODUCTION   REPRODUCTION               $1.40
01/19/2016   Steve MA            REPRODUCTION   REPRODUCTION               $3.00
01/19/2016   Scott A. Eggers     REPRODUCTION   REPRODUCTION               $1.60
01/19/2016   Jeramy Webb         REPRODUCTION   REPRODUCTION               $2.10
01/19/2016   Jeramy Webb         REPRODUCTION   REPRODUCTION               $0.10
01/20/2016   Mark Carpenter      REPRODUCTION   REPRODUCTION               $0.20
01/20/2016   Mark Carpenter      REPRODUCTION   REPRODUCTION               $0.40
01/20/2016   Mark Carpenter      REPRODUCTION   REPRODUCTION               $0.20
01/20/2016   Mark Carpenter      REPRODUCTION   REPRODUCTION               $0.10
01/20/2016   Jamaal Myers        REPRODUCTION   REPRODUCTION               $0.10
01/20/2016   Mark Carpenter      REPRODUCTION   REPRODUCTION               $0.20
01/20/2016   Maja Zerjal         REPRODUCTION   REPRODUCTION               $3.60
01/20/2016   Mark E. Davidson    REPRODUCTION   REPRODUCTION               $2.10
01/20/2016   Mark E. Davidson    REPRODUCTION   REPRODUCTION               $0.70
01/20/2016   Mark E. Davidson    REPRODUCTION   REPRODUCTION               $5.90
01/20/2016   Mark E. Davidson    REPRODUCTION   REPRODUCTION               $3.50
01/20/2016   Mark E. Davidson    REPRODUCTION   REPRODUCTION               $3.30
01/20/2016   Mark Carpenter      REPRODUCTION   REPRODUCTION               $0.10
01/20/2016   Mark Carpenter      REPRODUCTION   REPRODUCTION               $0.10
01/20/2016   Mark Carpenter      REPRODUCTION   REPRODUCTION               $0.20
01/20/2016   Jamaal Myers        REPRODUCTION   REPRODUCTION               $8.50
01/20/2016   Jamaal Myers        REPRODUCTION   REPRODUCTION               $3.00
01/20/2016   Jamaal Myers        REPRODUCTION   REPRODUCTION               $7.40
01/20/2016   Jamaal Myers        REPRODUCTION   REPRODUCTION               $9.80
01/20/2016   Jamaal Myers        REPRODUCTION   REPRODUCTION              $27.70
01/20/2016   Jamaal Myers        REPRODUCTION   REPRODUCTION              $31.50
01/20/2016   Jamaal Myers        REPRODUCTION   REPRODUCTION              $13.00
01/20/2016   Jamaal Myers        REPRODUCTION   REPRODUCTION              $10.90
01/20/2016   Jamaal Myers        REPRODUCTION   REPRODUCTION              $10.40
01/20/2016   Jamaal Myers        REPRODUCTION   REPRODUCTION               $5.90
01/20/2016   Jamaal Myers        REPRODUCTION   REPRODUCTION              $11.30
01/20/2016   Jamaal Myers        REPRODUCTION   REPRODUCTION              $10.70
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DISBURSEMENTS
Client/Matter No. 71844.0036

Date         Timekeeper                Type             Description      Amount
01/20/2016   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $30.40
01/20/2016   Jacki L. Anderson   REPRODUCTION   REPRODUCTION              $11.50
01/20/2016   Jeramy Webb         REPRODUCTION   REPRODUCTION               $2.80
01/21/2016   Steve MA            REPRODUCTION   REPRODUCTION               $0.70
01/21/2016   Steve MA            REPRODUCTION   REPRODUCTION               $0.40
01/21/2016   Mark E. Davidson    REPRODUCTION   REPRODUCTION               $6.60
01/21/2016   Mark E. Davidson    REPRODUCTION   REPRODUCTION               $0.10
01/21/2016   Milton E. Otto      REPRODUCTION   REPRODUCTION               $4.90
01/21/2016   Milton E. Otto      REPRODUCTION   REPRODUCTION               $3.50
01/21/2016   Milton E. Otto      REPRODUCTION   REPRODUCTION               $1.30
01/21/2016   Milton E. Otto      REPRODUCTION   REPRODUCTION               $3.90
01/21/2016   Steve MA            REPRODUCTION   REPRODUCTION               $0.20
01/21/2016   Steve MA            REPRODUCTION   REPRODUCTION               $0.10
01/22/2016   Maja Zerjal         REPRODUCTION   REPRODUCTION               $0.70
01/22/2016   Maja Zerjal         REPRODUCTION   REPRODUCTION               $1.30
01/22/2016   Maja Zerjal         REPRODUCTION   REPRODUCTION               $1.60
01/22/2016   Mark E. Davidson    REPRODUCTION   REPRODUCTION               $5.50
01/22/2016   Mark E. Davidson    REPRODUCTION   REPRODUCTION               $3.60
01/22/2016   Mark E. Davidson    REPRODUCTION   REPRODUCTION               $2.00
01/22/2016   Mark E. Davidson    REPRODUCTION   REPRODUCTION               $5.90
01/22/2016   Mark E. Davidson    REPRODUCTION   REPRODUCTION               $2.70
01/22/2016   Magali Giddens      REPRODUCTION   REPRODUCTION              $11.70
01/22/2016   Magali Giddens      REPRODUCTION   REPRODUCTION               $1.50
01/22/2016   Magali Giddens      REPRODUCTION   REPRODUCTION               $5.10
01/22/2016   Steve MA            REPRODUCTION   REPRODUCTION               $0.30
01/22/2016   Magali Giddens      REPRODUCTION   REPRODUCTION              $11.30
01/22/2016   Magali Giddens      REPRODUCTION   REPRODUCTION               $3.10
01/22/2016   Magali Giddens      REPRODUCTION   REPRODUCTION               $4.90
01/22/2016   Mark E. Davidson    REPRODUCTION   REPRODUCTION               $0.30
01/22/2016   Mark E. Davidson    REPRODUCTION   REPRODUCTION               $1.40
01/22/2016   Jeramy Webb         REPRODUCTION   REPRODUCTION               $5.60
01/22/2016   Jeramy Webb         REPRODUCTION   REPRODUCTION               $9.70
01/22/2016   Jeramy Webb         REPRODUCTION   REPRODUCTION               $1.20
01/22/2016   Jeramy Webb         REPRODUCTION   REPRODUCTION               $0.10
01/22/2016   Jeramy Webb         REPRODUCTION   REPRODUCTION               $1.50
01/25/2016   Deborah J. Yeoh-    REPRODUCTION   REPRODUCTION               $2.40
             wang
01/25/2016   Deborah J. Yeoh-    REPRODUCTION   REPRODUCTION                $2.30
             wang
01/25/2016   Deborah J. Yeoh-    REPRODUCTION   REPRODUCTION                $1.60
             wang
01/25/2016   Deborah J. Yeoh-    REPRODUCTION   REPRODUCTION                $1.60
             wang
01/25/2016   Judy G. Liu         REPRODUCTION   REPRODUCTION                $0.90
01/25/2016   Magali Giddens      REPRODUCTION   REPRODUCTION                $6.30
01/25/2016   Deborah J. Yeoh-    REPRODUCTION   REPRODUCTION                $2.40
             wang
01/25/2016   Deborah J. Yeoh-    REPRODUCTION   REPRODUCTION                $2.30
             wang
01/25/2016   Mark E. Davidson    REPRODUCTION   REPRODUCTION                $2.80
01/25/2016   Mark E. Davidson    REPRODUCTION   REPRODUCTION                $9.00
01/25/2016   Mark E. Davidson    REPRODUCTION   REPRODUCTION                $5.50
01/25/2016   Judy G. Liu         REPRODUCTION   REPRODUCTION                $1.30
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DISBURSEMENTS
Client/Matter No. 71844.0036

Date         Timekeeper               Type             Description       Amount
01/25/2016   Paul Possinger     REPRODUCTION   REPRODUCTION                $1.20
01/25/2016   Paul Possinger     REPRODUCTION   REPRODUCTION                $0.30
01/25/2016   Jeramy Webb        REPRODUCTION   REPRODUCTION                $3.60
01/25/2016   Paul Possinger     REPRODUCTION   REPRODUCTION                $0.60
01/25/2016   Paul Possinger     REPRODUCTION   REPRODUCTION                $2.30
01/25/2016   Paul Possinger     REPRODUCTION   REPRODUCTION                $0.10
01/25/2016   Paul Possinger     REPRODUCTION   REPRODUCTION                $0.10
01/26/2016   Judy G. Liu        REPRODUCTION   REPRODUCTION                $0.30
01/26/2016   Mark E. Davidson   REPRODUCTION   REPRODUCTION               $10.90
01/26/2016   Mark E. Davidson   REPRODUCTION   REPRODUCTION                $7.30
01/26/2016   Mark E. Davidson   REPRODUCTION   REPRODUCTION               $10.70
01/26/2016   Mark E. Davidson   REPRODUCTION   REPRODUCTION                $5.10
01/26/2016   Mark E. Davidson   REPRODUCTION   REPRODUCTION                $1.10
01/26/2016   Mark E. Davidson   REPRODUCTION   REPRODUCTION                $5.50
01/26/2016   Mark E. Davidson   REPRODUCTION   REPRODUCTION                $1.80
01/26/2016   Mark E. Davidson   REPRODUCTION   REPRODUCTION                $3.60
01/26/2016   Daniel Desatnik    REPRODUCTION   REPRODUCTION                $1.60
01/26/2016   Maja Zerjal        REPRODUCTION   REPRODUCTION                $7.50
01/26/2016   Judy G. Liu        REPRODUCTION   REPRODUCTION                $0.10
01/26/2016   Paul Possinger     REPRODUCTION   REPRODUCTION                $2.10
01/27/2016   Mark E. Davidson   REPRODUCTION   REPRODUCTION               $44.00
01/27/2016   Magali Giddens     REPRODUCTION   REPRODUCTION               $11.70
01/27/2016   Judy G. Liu        REPRODUCTION   REPRODUCTION                $0.10
01/27/2016   Judy G. Liu        REPRODUCTION   REPRODUCTION                $0.10
01/27/2016   Lisa P. Orr        REPRODUCTION   REPRODUCTION                $8.80
01/27/2016   Lisa P. Orr        REPRODUCTION   REPRODUCTION                $7.20
01/27/2016   Lisa P. Orr        REPRODUCTION   REPRODUCTION                $1.60
01/27/2016   Lisa P. Orr        REPRODUCTION   REPRODUCTION                $1.60
01/27/2016   Lisa P. Orr        REPRODUCTION   REPRODUCTION                $2.00
01/27/2016   Lisa P. Orr        REPRODUCTION   REPRODUCTION                $1.60
01/27/2016   Lisa P. Orr        REPRODUCTION   REPRODUCTION                $4.00
01/27/2016   Lisa P. Orr        REPRODUCTION   REPRODUCTION                $7.20
01/27/2016   Lisa P. Orr        REPRODUCTION   REPRODUCTION                $6.40
01/27/2016   Mark E. Davidson   REPRODUCTION   REPRODUCTION                $8.80
01/27/2016   Lisa P. Orr        REPRODUCTION   REPRODUCTION                $5.60
01/27/2016   Daniel Desatnik    REPRODUCTION   REPRODUCTION                $0.60
01/27/2016   Daniel Desatnik    REPRODUCTION   REPRODUCTION                $0.70
01/27/2016   Evelyn Rodriguez   REPRODUCTION   REPRODUCTION                $1.00
01/27/2016   Evelyn Rodriguez   REPRODUCTION   REPRODUCTION               $21.00
01/27/2016   Evelyn Rodriguez   REPRODUCTION   REPRODUCTION                $2.00
01/27/2016   Evelyn Rodriguez   REPRODUCTION   REPRODUCTION                $6.00
01/27/2016   Evelyn Rodriguez   REPRODUCTION   REPRODUCTION               $13.50
01/27/2016   Evelyn Rodriguez   REPRODUCTION   REPRODUCTION               $17.00
01/27/2016   Evelyn Rodriguez   REPRODUCTION   REPRODUCTION                $1.50
01/27/2016   Lisa P. Orr        REPRODUCTION   REPRODUCTION               $10.00
01/27/2016   Lisa P. Orr        REPRODUCTION   REPRODUCTION                $3.20
01/27/2016   Lisa P. Orr        REPRODUCTION   REPRODUCTION                $2.80
01/27/2016   Lisa P. Orr        REPRODUCTION   REPRODUCTION                $2.00
01/27/2016   Lisa P. Orr        REPRODUCTION   REPRODUCTION               $12.00
01/27/2016   Lisa P. Orr        REPRODUCTION   REPRODUCTION               $12.80
01/27/2016   Daniel Desatnik    REPRODUCTION   REPRODUCTION                $0.70
01/27/2016   Lisa P. Orr        REPRODUCTION   REPRODUCTION                $1.60
01/27/2016   Lisa P. Orr        REPRODUCTION   REPRODUCTION                $5.60
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Client/Matter No. 71844.0036

Date         Timekeeper              Type             Description        Amount
01/27/2016   Lisa P. Orr       REPRODUCTION   REPRODUCTION                 $3.20
01/27/2016   Lisa P. Orr       REPRODUCTION   REPRODUCTION                 $2.40
01/27/2016   Lisa P. Orr       REPRODUCTION   REPRODUCTION                $16.80
01/27/2016   Sarah Sullivan    REPRODUCTION   REPRODUCTION                $44.00
01/27/2016   Sarah Sullivan    REPRODUCTION   REPRODUCTION                $44.00
01/27/2016   Jeramy Webb       REPRODUCTION   REPRODUCTION                 $1.90
01/27/2016   Jeramy Webb       REPRODUCTION   REPRODUCTION                 $0.40
01/27/2016   Jeramy Webb       REPRODUCTION   REPRODUCTION                 $0.20
01/28/2016   Judy G. Liu       REPRODUCTION   REPRODUCTION                 $0.30
01/28/2016   Judy G. Liu       REPRODUCTION   REPRODUCTION                 $0.20
01/28/2016   Judy G. Liu       REPRODUCTION   REPRODUCTION                 $0.60
01/28/2016   Maja Zerjal       REPRODUCTION   REPRODUCTION                 $3.40
01/28/2016   Judy G. Liu       REPRODUCTION   REPRODUCTION                 $0.10
01/28/2016   Maja Zerjal       REPRODUCTION   REPRODUCTION                 $3.60
01/28/2016   Maja Zerjal       REPRODUCTION   REPRODUCTION                 $1.60
01/28/2016   Daniel Desatnik   REPRODUCTION   REPRODUCTION                 $5.20
01/28/2016   Judy G. Liu       REPRODUCTION   REPRODUCTION                 $1.60
01/28/2016   Paul Possinger    REPRODUCTION   REPRODUCTION                 $2.40
01/28/2016   Paul Possinger    REPRODUCTION   REPRODUCTION                 $3.00
01/28/2016   Paul Possinger    REPRODUCTION   REPRODUCTION                 $2.70
01/28/2016   Jeramy Webb       REPRODUCTION   REPRODUCTION                 $2.10
01/28/2016   Jeramy Webb       REPRODUCTION   REPRODUCTION                 $7.60
01/28/2016   Jeramy Webb       REPRODUCTION   REPRODUCTION                 $1.10
01/28/2016   Susan Schomburg   REPRODUCTION   REPRODUCTION                 $2.90
01/28/2016   Susan Schomburg   REPRODUCTION   REPRODUCTION                 $3.30
01/28/2016   Susan Schomburg   REPRODUCTION   REPRODUCTION                 $3.10
01/28/2016   Susan Schomburg   REPRODUCTION   REPRODUCTION                 $3.10
01/28/2016   Susan Schomburg   REPRODUCTION   REPRODUCTION                 $2.40
01/28/2016   Susan Schomburg   REPRODUCTION   REPRODUCTION                 $6.60
01/28/2016   Jeramy Webb       REPRODUCTION   REPRODUCTION                 $2.40
01/28/2016   Jeramy Webb       REPRODUCTION   REPRODUCTION                 $0.30
01/28/2016   Jeramy Webb       REPRODUCTION   REPRODUCTION                 $0.30
01/28/2016   Jeramy Webb       REPRODUCTION   REPRODUCTION                 $2.40
01/28/2016   Paul Possinger    REPRODUCTION   REPRODUCTION                 $1.00
01/28/2016   Paul Possinger    REPRODUCTION   REPRODUCTION                 $1.20
01/29/2016   Maja Zerjal       REPRODUCTION   REPRODUCTION                $41.80
01/29/2016   Maja Zerjal       REPRODUCTION   REPRODUCTION                 $0.40
01/29/2016   Maja Zerjal       REPRODUCTION   REPRODUCTION                 $0.30
01/29/2016   Maja Zerjal       REPRODUCTION   REPRODUCTION                 $0.40
01/29/2016   Maja Zerjal       REPRODUCTION   REPRODUCTION                 $0.30
01/29/2016   Maja Zerjal       REPRODUCTION   REPRODUCTION                 $0.30
01/29/2016   Maja Zerjal       REPRODUCTION   REPRODUCTION                 $0.40
01/29/2016   Steve MA          REPRODUCTION   REPRODUCTION                 $3.50
01/29/2016   Judy G. Liu       REPRODUCTION   REPRODUCTION                 $0.10
01/29/2016   Steve MA          REPRODUCTION   REPRODUCTION                 $4.20
01/29/2016   Magali Giddens    REPRODUCTION   REPRODUCTION                 $6.80
01/29/2016   Daniel Desatnik   REPRODUCTION   REPRODUCTION                 $0.50
01/29/2016   Lisa P. Orr       REPRODUCTION   REPRODUCTION                 $9.60
01/29/2016   Lisa P. Orr       REPRODUCTION   REPRODUCTION                 $2.70
01/29/2016   Lisa P. Orr       REPRODUCTION   REPRODUCTION                 $8.00
01/29/2016   Lisa P. Orr       REPRODUCTION   REPRODUCTION                 $7.20
01/29/2016   Mark Carpenter    REPRODUCTION   REPRODUCTION                 $0.10
01/29/2016   Mark Carpenter    REPRODUCTION   REPRODUCTION                 $0.40
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Date         Timekeeper              Type                Description                   Amount
01/29/2016   Mark Carpenter    REPRODUCTION   REPRODUCTION                                $0.40
01/29/2016   Judy G. Liu       REPRODUCTION   REPRODUCTION                                $1.30
01/29/2016   Jeramy Webb       REPRODUCTION   REPRODUCTION                                $0.10
01/29/2016   Jeramy Webb       REPRODUCTION   REPRODUCTION                                $3.30
01/29/2016   Jeramy Webb       REPRODUCTION   REPRODUCTION                                $1.90
01/31/2016   Magali Giddens    REPRODUCTION   REPRODUCTION                               $15.00
                                              Total for REPRODUCTION                  $1,416.30

Date         Timekeeper                Type                Description                 Amount
01/04/2016   Steve MA          LEXIS          LEXIS Connect and Comm Time -             $92.00
                                              0:00:00 Searches - 0 Shepards and
                                              Autocite - 0 Lexsees and Lexstat - 0
01/04/2016   Jeramy Webb       LEXIS          LEXIS Connect and Comm Time -              $96.00
                                              0:00:00 Searches - 0 Shepards and
                                              Autocite - 0 Lexsees and Lexstat - 0
01/05/2016   Jeramy Webb       LEXIS          LEXIS Connect and Comm Time -              $46.00
                                              0:00:00 Searches - 0 Shepards and
                                              Autocite - 0 Lexsees and Lexstat - 0
01/11/2016   Karen Grushka     LEXIS          LEXIS Connect and Comm Time -              $23.00
                                              0:00:00 Searches - 0 Shepards and
                                              Autocite - 0 Lexsees and Lexstat - 0
01/11/2016   Steve MA          LEXIS          LEXIS Connect and Comm Time -             $207.00
                                              0:00:00 Searches - 0 Shepards and
                                              Autocite - 0 Lexsees and Lexstat - 0
01/12/2016   Milton E. Otto    LEXIS          LEXIS Connect and Comm Time -             $207.00
                                              0:00:00 Searches - 0 Shepards and
                                              Autocite - 0 Lexsees and Lexstat - 0
01/12/2016   Steve MA          LEXIS          LEXIS Connect and Comm Time -             $299.00
                                              0:00:00 Searches - 0 Shepards and
                                              Autocite - 0 Lexsees and Lexstat - 0
01/12/2016   Maja Zerjal       LEXIS          LEXIS Connect and Comm Time -             $207.00
                                              0:00:00 Searches - 0 Shepards and
                                              Autocite - 0 Lexsees and Lexstat - 0
01/12/2016   Jeramy Webb       LEXIS          LEXIS Connect and Comm Time -             $311.00
                                              0:00:00 Searches - 0 Shepards and
                                              Autocite - 0 Lexsees and Lexstat - 0
01/13/2016   Steve MA          LEXIS          LEXIS Connect and Comm Time -             $138.00
                                              0:00:00 Searches - 0 Shepards and
                                              Autocite - 0 Lexsees and Lexstat - 0
01/13/2016   Maja Zerjal       LEXIS          LEXIS Connect and Comm Time -             $138.00
                                              0:00:00 Searches - 0 Shepards and
                                              Autocite - 0 Lexsees and Lexstat - 0
01/13/2016   Jeramy Webb       LEXIS          LEXIS Connect and Comm Time -             $119.00
                                              0:00:00 Searches - 0 Shepards and
                                              Autocite - 0 Lexsees and Lexstat - 0
01/14/2016   Milton E. Otto    LEXIS          LEXIS Connect and Comm Time -             $253.00
                                              0:00:00 Searches - 0 Shepards and
                                              Autocite - 0 Lexsees and Lexstat - 0
01/14/2016   Steve MA          LEXIS          LEXIS Connect and Comm Time -             $666.00
                                              0:00:00 Searches - 0 Shepards and
                                              Autocite - 0 Lexsees and Lexstat - 0
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Date         Timekeeper                Type                Description                 Amount
01/14/2016   Milton E. Otto    LEXIS          LEXIS Connect and Comm Time -             $69.00
                                              0:00:00 Searches - 0 Shepards and
                                              Autocite - 0 Lexsees and Lexstat - 0
01/14/2016   Jeramy Webb       LEXIS          LEXIS Connect and Comm Time -              $46.00
                                              0:00:00 Searches - 0 Shepards and
                                              Autocite - 0 Lexsees and Lexstat - 0
01/19/2016   Steve MA          LEXIS          LEXIS Connect and Comm Time -             $184.00
                                              0:00:00 Searches - 0 Shepards and
                                              Autocite - 0 Lexsees and Lexstat - 0
01/20/2016   Steve MA          LEXIS          LEXIS Connect and Comm Time -             $494.00
                                              0:00:00 Searches - 0 Shepards and
                                              Autocite - 0 Lexsees and Lexstat - 0
01/20/2016   Maja Zerjal       LEXIS          LEXIS Connect and Comm Time -             $280.00
                                              0:00:00 Searches - 0 Shepards and
                                              Autocite - 0 Lexsees and Lexstat - 0
01/20/2016   Jeramy Webb       LEXIS          LEXIS Connect and Comm Time -             $115.00
                                              0:00:00 Searches - 0 Shepards and
                                              Autocite - 0 Lexsees and Lexstat - 0
01/21/2016   Milton E. Otto    LEXIS          LEXIS Connect and Comm Time -             $345.00
                                              0:00:00 Searches - 0 Shepards and
                                              Autocite - 0 Lexsees and Lexstat - 0
01/21/2016   Steve MA          LEXIS          LEXIS Connect and Comm Time -             $253.00
                                              0:00:00 Searches - 0 Shepards and
                                              Autocite - 0 Lexsees and Lexstat - 0
01/21/2016   Maja Zerjal       LEXIS          LEXIS Connect and Comm Time -             $863.00
                                              0:16:08 Searches - 0 Shepards and
                                              Autocite - 0 Lexsees and Lexstat - 1
01/22/2016   Milton E. Otto    LEXIS          LEXIS Connect and Comm Time -             $980.00
                                              0:00:00 Searches - 0 Shepards and
                                              Autocite - 0 Lexsees and Lexstat - 0
01/22/2016   Maja Zerjal       LEXIS          LEXIS Connect and Comm Time -             $207.00
                                              0:00:00 Searches - 0 Shepards and
                                              Autocite - 0 Lexsees and Lexstat - 0
01/23/2016   Milton E. Otto    LEXIS          LEXIS Connect and Comm Time -             $273.00
                                              0:00:00 Searches - 0 Shepards and
                                              Autocite - 0 Lexsees and Lexstat - 0
01/23/2016   Maja Zerjal       LEXIS          LEXIS Connect and Comm Time -             $414.00
                                              0:00:00 Searches - 0 Shepards and
                                              Autocite - 0 Lexsees and Lexstat - 0
01/24/2016   Maja Zerjal       LEXIS          LEXIS Connect and Comm Time -              $92.00
                                              0:00:00 Searches - 0 Shepards and
                                              Autocite - 0 Lexsees and Lexstat - 0
01/25/2016   Milton E. Otto    LEXIS          LEXIS Connect and Comm Time -              $46.00
                                              0:00:00 Searches - 0 Shepards and
                                              Autocite - 0 Lexsees and Lexstat - 0
01/25/2016   Maja Zerjal       LEXIS          LEXIS Connect and Comm Time -             $414.00
                                              0:00:00 Searches - 0 Shepards and
                                              Autocite - 0 Lexsees and Lexstat - 0
01/26/2016   Maja Zerjal       LEXIS          LEXIS Connect and Comm Time -             $161.00
                                              0:00:00 Searches - 0 Shepards and
                                              Autocite - 0 Lexsees and Lexstat - 0
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Date         Timekeeper                  Type                Description                  Amount
01/26/2016   Ehud Barak          LEXIS          LEXIS Connect and Comm Time -             $138.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
01/26/2016   Jacki L. Anderson   LEXIS          LEXIS Connect and Comm Time -              $414.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
01/27/2016   Jacki L. Anderson   LEXIS          LEXIS Connect and Comm Time -               $46.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
01/27/2016   Jeramy Webb         LEXIS          LEXIS Connect and Comm Time -              $215.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
01/28/2016   Maja Zerjal         LEXIS          LEXIS Connect and Comm Time -              $204.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
01/28/2016   Jeramy Webb         LEXIS          LEXIS Connect and Comm Time -            $1,059.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
01/28/2016   Jacki L. Anderson   LEXIS          LEXIS Connect and Comm Time -              $184.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
01/29/2016   Maja Zerjal         LEXIS          LEXIS Connect and Comm Time -              $166.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
01/29/2016   Jeramy Webb         LEXIS          LEXIS Connect and Comm Time -              $714.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
01/30/2016   Maja Zerjal         LEXIS          LEXIS Connect and Comm Time -              $216.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
01/31/2016   Maja Zerjal         LEXIS          LEXIS Connect and Comm Time -               $23.00
                                                0:00:00 Searches - 0 Shepards and
                                                Autocite - 0 Lexsees and Lexstat - 0
                                                Total for LEXIS                         $11,417.00

Date         Timekeeper               Type                  Description                   Amount
01/04/2016   Jeramy Webb         WESTLAW        WESTLAW Connect and Comm                  $109.00
                                                Time - 000000:00:00 WestChk and
                                                Other Trans - 0000000044 Lines
01/05/2016   Daniel Desatnik     WESTLAW        WESTLAW Connect and Comm                   $257.00
                                                Time - 000000:00:00 WestChk and
                                                Other Trans - 0000000016 Lines
01/05/2016   Jonathan H. Lee     WESTLAW        WESTLAW Connect and Comm                   $217.00
                                                Time - 000000:00:00 WestChk and
                                                Other Trans - 0000000003 Lines
01/05/2016   Jeramy Webb         WESTLAW        WESTLAW Connect and Comm                   $227.00
                                                Time - 000000:00:00 WestChk and
                                                Other Trans - 0000000014 Lines
01/06/2016   Sarah Sullivan      WESTLAW        WESTLAW Connect and Comm                    $99.00
                                                Time - 000000:00:00 WestChk and
                                                Other Trans - 0000000002 Lines
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Date         Timekeeper                Type               Description              Amount
01/06/2016   Jonathan H. Lee      WESTLAW     WESTLAW Connect and Comm             $118.00
                                              Time - 000000:00:00 WestChk and
                                              Other Trans - 0000000002 Lines
01/07/2016   Jonathan H. Lee      WESTLAW     WESTLAW Connect and Comm              $415.00
                                              Time - 000000:00:00 WestChk and
                                              Other Trans - 0000000007 Lines
01/08/2016   Daniel Desatnik      WESTLAW     WESTLAW Connect and Comm              $316.00
                                              Time - 000000:00:00 WestChk and
                                              Other Trans - 0000000005 Lines
01/08/2016   Jeramy Webb          WESTLAW     WESTLAW Connect and Comm               $81.00
                                              Time - 000000:00:00 WestChk and
                                              Other Trans - 0000000036 Lines
01/10/2016   Vincent Indelicato   WESTLAW     WESTLAW Connect and Comm              $175.00
                                              Time - 000000:00:00 WestChk and
                                              Other Trans - 0000000020 Lines
01/11/2016   Vincent Indelicato   WESTLAW     WESTLAW Connect and Comm               $25.00
                                              Time - 000000:00:00 WestChk and
                                              Other Trans - 0000000002 Lines
01/11/2016   Yasmin Emrani        WESTLAW     WESTLAW Connect and Comm              $434.00
                                              Time - 000000:00:00 WestChk and
                                              Other Trans - 0000000043 Lines
01/11/2016   Jeramy Webb          WESTLAW     WESTLAW Connect and Comm               $59.00
                                              Time - 000000:00:00 WestChk and
                                              Other Trans - 0000000014 Lines
01/12/2016   Jeramy Webb          WESTLAW     WESTLAW Connect and Comm               $99.00
                                              Time - 000000:00:00 WestChk and
                                              Other Trans - 0000000035 Lines
01/13/2016   Vincent Indelicato   WESTLAW     WESTLAW Connect and Comm              $124.00
                                              Time - 000000:00:00 WestChk and
                                              Other Trans - 0000000003 Lines
01/13/2016   Jeramy Webb          WESTLAW     WESTLAW Connect and Comm              $394.00
                                              Time - 000000:00:00 WestChk and
                                              Other Trans - 0000000029 Lines
01/14/2016   Russell Kostelak     WESTLAW     WESTLAW Connect and Comm              $592.00
                                              Time - 000000:00:00 WestChk and
                                              Other Trans - 0000000042 Lines
01/15/2016   Russell Kostelak     WESTLAW     WESTLAW Connect and Comm               $99.00
                                              Time - 000000:00:00 WestChk and
                                              Other Trans - 0000000027 Lines
01/15/2016   Jeramy Webb          WESTLAW     WESTLAW Connect and Comm               $99.00
                                              Time - 000000:00:00 WestChk and
                                              Other Trans - 0000000041 Lines
01/19/2016   Yasmin Emrani        WESTLAW     WESTLAW Connect and Comm               $99.00
                                              Time - 000000:00:00 WestChk and
                                              Other Trans - 0000000003 Lines
01/20/2016   Jeramy Webb          WESTLAW     WESTLAW Connect and Comm               $26.00
                                              Time - 000000:00:00 WestChk and
                                              Other Trans - 0000000038 Lines
01/26/2016   Russell Kostelak     WESTLAW     WESTLAW Connect and Comm              $790.00
                                              Time - 000000:00:00 WestChk and
                                              Other Trans - 0000000037 Lines
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Date         Timekeeper                Type                       Description              Amount
01/27/2016   Russell Kostelak     WESTLAW             WESTLAW Connect and Comm              $59.00
                                                      Time - 000000:00:00 WestChk and
                                                      Other Trans - 0000000011 Lines
01/27/2016   Jeramy Webb          WESTLAW             WESTLAW Connect and Comm              $594.00
                                                      Time - 000000:00:00 WestChk and
                                                      Other Trans - 0000000079 Lines
01/28/2016   Daniel Desatnik      WESTLAW             WESTLAW Connect and Comm              $218.00
                                                      Time - 000000:00:00 WestChk and
                                                      Other Trans - 0000000009 Lines
01/28/2016   Evelyn Rodriguez     WESTLAW             WESTLAW Connect and Comm              $198.00
                                                      Time - 000000:00:00 WestChk and
                                                      Other Trans - 0000000080 Lines
01/28/2016   Jeramy Webb          WESTLAW             WESTLAW Connect and Comm              $594.00
                                                      Time - 000000:00:00 WestChk and
                                                      Other Trans - 0000000074 Lines
01/29/2016   Jeramy Webb          WESTLAW             WESTLAW Connect and Comm            $1,205.00
                                                      Time - 000000:00:00 WestChk and
                                                      Other Trans - 0000000051 Lines
01/31/2016   Daniel Desatnik      WESTLAW             WESTLAW Connect and Comm              $430.00
                                                      Time - 000000:00:00 WestChk and
                                                      Other Trans - 0000000022 Lines
01/31/2016   Jeramy Webb          WESTLAW             WESTLAW Connect and Comm              $297.00
                                                      Time - 000000:00:00 WestChk and
                                                      Other Trans - 0000000023 Lines
                                                      Total for WESTLAW                   $8,449.00

Date         Timekeeper                 Type                     Description               Amount
01/07/2016   Martin J.            CORPORATE           CORPORATE SERVICES - -               $267.00
             Bienenstock          SERVICES            VENDOR: CT LIEN SOLUTIONS
                                                      PROF SERVICES
                                                      Total for CORPORATE
                                                      SERVICES                              $267.00

Date         Timekeeper                 Type                      Description              Amount
01/15/2016   Vincent Indelicato   TRANSCRIPTS &       TRANSCRIPTS & DEPOSITIONS -          $371.61
                                  DEPOSITIONS         - VENDOR: TSG REPORTING INC
                                                      TSG REPORTING INC -
                                                      CERTIFIED TRANSCRIPT
                                                      Total for TRANSCRIPTS &
                                                      DEPOSITIONS                           $371.61

Date         Timekeeper                 Type                   Description                 Amount
01/19/2016   Philip M. Abelson    TAXICAB/CAR SVC. TAXICAB/CAR SVC. Taxi                    $58.51
                                                   EXECUTIVE Invoice:
                                                   447531;Voucher: 485452 1515:640 8
                                                   AVE To LAGUARDIA AIRPORT
                                                   Passenger: Abelson Philip M
01/20/2016   Vincent Indelicato   TAXICAB/CAR SVC. TAXICAB/CAR SVC. Taxi XYZ                $120.29
                                                   Invoice:1584932Voucher:9633635
                                                   From:192 SPRING ST To:LGA
                                                   At:04:53 Passenger:INDELICATO
                                                   VINCENT
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Date         Timekeeper                 Type                   Description                  Amount
01/20/2016   Vincent Indelicato   TAXICAB/CAR SVC. TAXICAB/CAR SVC. Taxi XYZ                $120.29
                                                   Invoice:1587120Voucher:9660747
                                                   From:LGA. UNITED AIRLINES
                                                   To:STATEN ISLAND. NY At:18:50
                                                   Passenger:INDELICATO VINCENT
01/31/2016   Andrew S. Wellin     TAXICAB/CAR SVC. TAXICAB/CAR SVC. Taxi XYZ                  $61.26
                                                   Invoice:1586175Voucher:9718726
                                                   From:81 PEARL ST To:LGA
                                                   At:15:55 Passenger:WELLIN
                                                   ANDREW S.
                                                   Total for TAXICAB/CAR SVC.                $360.35

Date         Timekeeper                  Type                   Description                 Amount
01/20/2016   Philip M. Abelson    TAXI, CARFARE,    TAXI, CARFARE, MILEAGE AND              $171.15
                                  MILEAGE AND       PARKING - - VENDOR:
                                  PARKING           ABELSON, PHILIP M. 1/19/16 -
                                                    1/20/16 - CABS (COURT
                                                    HEARING)
                                                    Total for TAXI, CARFARE,
                                                    MILEAGE AND PA                           $171.15

Date         Timekeeper                  Type               Description                     Amount
01/27/2016   Andrew S. Wellin     FOOD              FOOD SERVICE/CONF. DINING                $62.60
                                  SERVICE/CONF.
                                  DINING
                                                    Total for FOOD SERVICE/CONF.
                                                    DINING                                    $62.60

Date         Timekeeper                 Type                    Description                 Amount
12/01/2015   Steve MA             LONG DISTANCE     LONG DISTANCE TELEPHONE                  $28.11
                                  TELEPHONE         Inv Num: 1743185903 Inv Date:
                                                    12/31/2015 Account Name:
                                                    Proskauer Rose Account No: 162216
                                                    Name: Steve Ma Emp Id: #N/A On:
                                                    12/1/2015 11:54 Minutes: 1303 Conf
                                                    Chgs: Tax: 1.3
12/04/2015   Steve MA             LONG DISTANCE     LONG DISTANCE TELEPHONE                   $46.59
                                  TELEPHONE         Inv Num: 1743185903 Inv Date:
                                                    12/31/2015 Account Name:
                                                    Proskauer Rose Account No: 162216
                                                    Name: Steve Ma Emp Id: #N/A On:
                                                    12/4/2015 11:51 Minutes: 2167 Conf
                                                    Chgs: Tax: 2.06
12/07/2015   Steve MA             LONG DISTANCE     LONG DISTANCE TELEPHONE                   $16.72
                                  TELEPHONE         Inv Num: 1743185903 Inv Date:
                                                    12/31/2015 Account Name:
                                                    Proskauer Rose Account No: 162216
                                                    Name: Steve Ma Emp Id: #N/A On:
                                                    12/7/2015 13:49 Minutes: 773 Conf
                                                    Chgs: Tax: 0.77
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Date         Timekeeper                Type                  Description                 Amount
12/08/2015   Steve MA            LONG DISTANCE   LONG DISTANCE TELEPHONE                  $22.29
                                 TELEPHONE       Inv Num: 1743185903 Inv Date:
                                                 12/31/2015 Account Name:
                                                 Proskauer Rose Account No: 162216
                                                 Name: Steve Ma Emp Id: #N/A On:
                                                 12/8/2015 13:55 Minutes: 1038 Conf
                                                 Chgs: Tax: 1.01
12/11/2015   Steve MA            LONG DISTANCE   LONG DISTANCE TELEPHONE                   $39.79
                                 TELEPHONE       Inv Num: 1743185903 Inv Date:
                                                 12/31/2015 Account Name:
                                                 Proskauer Rose Account No: 162216
                                                 Name: Steve Ma Emp Id: #N/A On:
                                                 12/11/2015 11:49 Minutes: 1859
                                                 Conf Chgs: Tax: 1.73
12/18/2015   Steve MA            LONG DISTANCE   LONG DISTANCE TELEPHONE                   $19.04
                                 TELEPHONE       Inv Num: 1743185903 Inv Date:
                                                 12/31/2015 Account Name:
                                                 Proskauer Rose Account No: 162216
                                                 Name: Steve Ma Emp Id: #N/A On:
                                                 12/18/2015 10:22 Minutes: 890 Conf
                                                 Chgs: Tax: 0.81
12/18/2015   Steve MA            LONG DISTANCE   LONG DISTANCE TELEPHONE                   $32.79
                                 TELEPHONE       Inv Num: 1743185903 Inv Date:
                                                 12/31/2015 Account Name:
                                                 Proskauer Rose Account No: 162216
                                                 Name: Steve Ma Emp Id: #N/A On:
                                                 12/18/2015 11:47 Minutes: 1529
                                                 Conf Chgs: Tax: 1.39
12/22/2015   Steve MA            LONG DISTANCE   LONG DISTANCE TELEPHONE                   $19.70
                                 TELEPHONE       Inv Num: 1743185903 Inv Date:
                                                 12/31/2015 Account Name:
                                                 Proskauer Rose Account No: 162216
                                                 Name: Steve Ma Emp Id: #N/A On:
                                                 12/22/2015 11:54 Minutes: 919 Conf
                                                 Chgs: Tax: 0.71
12/29/2015   Steve MA            LONG DISTANCE   LONG DISTANCE TELEPHONE                   $27.71
                                 TELEPHONE       Inv Num: 1743185903 Inv Date:
                                                 12/31/2015 Account Name:
                                                 Proskauer Rose Account No: 162216
                                                 Name: Steve Ma Emp Id: #N/A On:
                                                 12/29/2015 11:52 Minutes: 1287
                                                 Conf Chgs: Tax: 1.25
                                                 Total for LONG DISTANCE
                                                 TELEPHONE                                $252.74

Date         Timekeeper                Type                  Description                 Amount
01/19/2016   Philip M. Abelson   OUT OF TOWN     OUT OF TOWN MEALS - -                    $80.00
                                 MEALS           VENDOR: ABELSON, PHILIP M.
                                                 1/19/16 - DINNER (COURT
                                                 HEARING)
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01/20/2016   Philip M. Abelson    OUT OF TOWN    OUT OF TOWN MEALS - -               $30.76
                                  MEALS          VENDOR: ABELSON, PHILIP M.
                                                 1/20/16 - BREAKFAST (COURT
                                                 HEARING)
01/20/2016   Vincent Indelicato   OUT OF TOWN    OUT OF TOWN MEALS - -                $31.38
                                  MEALS          VENDOR: INDELICATO,
                                                 VINCENT 1/20/16 - LUNCH
                                                 (COURT HEARING)
01/31/2016   Andrew S. Wellin     OUT OF TOWN    OUT OF TOWN MEALS - -                $14.48
                                  MEALS          VENDOR: WELLIN, ANDREW S.
                                                 DINNER AT FLAT TOP GRILL -
                                                 1/31/16
                                                 Total for OUT OF TOWN MEALS         $156.62

Date         Timekeeper                 Type                Description             Amount
01/07/2016   Martin J.            DATA BASE      DATA BASE SEARCH SERV. - -          $89.70
             Bienenstock          SEARCH SERV.   VENDOR: PACER SERVICE
                                                 CENTER DATABASE RESEARCH
01/07/2016   Martin J.            DATA BASE      DATA BASE SEARCH SERV. - -            $2.70
             Bienenstock          SEARCH SERV.   VENDOR: PACER SERVICE
                                                 CENTER DATABASE RESEARCH
01/07/2016   Martin J.            DATA BASE      DATA BASE SEARCH SERV. - -           $53.40
             Bienenstock          SEARCH SERV.   VENDOR: PACER SERVICE
                                                 CENTER DATABASE RESEARCH
                                                 Total for DATA BASE SEARCH
                                                 SERV.                               $145.80

Date         Timekeeper                 Type                Description             Amount
01/31/2016   Natasha Petrov       OUTSIDE        OUTSIDE REPRODUCTION - -           $507.06
                                  REPRODUCTION   VENDOR: HAYSTACKID LLC
                                                 BLACK & WHITE PRINTING OF
                                                 2/2/16 HEARING BINDERS
                                                 Total for OUTSIDE
                                                 REPRODUCTION                        $507.06

Date         Timekeeper                 Type                Description             Amount
12/28/2015   Helena Zheng         LOCAL MEALS    LOCAL MEALS         Meals - -       $21.22
                                                 VENDOR: DINING IN LLC FOOD
                                                 DELIVERY
01/21/2016   Jason P. Colangelo LOCAL MEALS      LOCAL MEALS         Meals - -        $34.41
                                                 VENDOR: DINING IN LLC FOOD
                                                 DELIVERY
                                                 Total for LOCAL MEALS                $55.63

Date         Timekeeper                 Type                Description             Amount
12/16/2015   Maja Zerjal          AIRPLANE       AIRPLANE - - VENDOR: ZERJAL,       $453.20
                                                 MAJA TRAVELED TO CHICAGO
                                                 ON 12/16/15 FOR HEARING &
                                                 CAME BACK SAME DAY
01/20/2016   Vincent Indelicato   AIRPLANE       AIRPLANE - - VENDOR:                $409.20
                                                 INDELICATO, VINCENT 1/20/16 -
                                                 AIRFARE TO/FROM CHICAGO,
                                                 IL (COURT HEARING)
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DISBURSEMENTS
Client/Matter No. 71844.0036

Date         Timekeeper                Type               Description            Amount
01/20/2016   Philip M. Abelson   AIRPLANE     AIRPLANE - - VENDOR:               $390.32
                                              ABELSON, PHILIP M. 1/19/16 -
                                              1/20/16 - AIRFARE TO/FROM
                                              CHICAGO, IL (COURT HEARING)
01/21/2016   Steve MA            AIRPLANE     AIRPLANE - - VENDOR: MA,            $398.30
                                              STEVE 1/18/16 - 1/21/16 -
                                              AIRFARE TO/FROM CHICAGO,
                                              IL (HEARING)
                                              Total for AIRPLANE                $1,651.02

Date         Timekeeper                Type               Description            Amount
01/20/2016   Philip M. Abelson   LODGING      LODGING - - VENDOR:                $173.44
                                              ABELSON, PHILIP M. 1/19/16 -
                                              1/20/16 - HOTEL CHARGES IN
                                              CHICAGO, IL (COURT HEARING)
                                              Total for LODGING                   $173.44

Date         Timekeeper                Type               Description            Amount
12/31/2015   Judy G. Liu         LITIGATION   LITIGATION SUPPORT               $22,108.10
                                 SUPPORT      VENDORS - - VENDOR: DTI DTI -
                                 VENDORS      BILL DATE: 12/31/15 - INV:
                                              920863 - PROFESSIONAL
                                              SERVICES
01/31/2016   Isaac L. Antoon     LITIGATION   LITIGATION SUPPORT                $6,521.80
                                 SUPPORT      VENDORS - - VENDOR: XACT
                                 VENDORS      DATA DISCOVERY JANUARY
                                              2016 DATA HOSTING
01/31/2016   Dera J. Nevin       LITIGATION   LITIGATION SUPPORT                $9,008.81
                                 SUPPORT      VENDORS - - VENDOR: DTI
                                 VENDORS      MONTHLY STORAGE FEES AND
                                              PROCESSING FEES - JANUARY
                                              2016 - PRO CAESARS
                                              ENTERTAINMENT
                                              Total for LITIGATION
                                              SUPPORT VENDORS                  $37,638.71


Charges and Disbursements Summary

Type of Disbursements                                                            Amount
REPRODUCTION                                                                     1,416.30
LEXIS                                                                           11,417.00
WESTLAW                                                                          8,449.00
CORPORATE SERVICES                                                                 267.00
TRANSCRIPTS & DEPOSITIONS                                                          371.61
TAXICAB/CAR SVC.                                                                   360.35
TAXI, CARFARE, MILEAGE AND PARKING                                                 171.15
FOOD SERVICE/CONF. DINING                                                           62.60
LONG DISTANCE TELEPHONE                                                            252.74
OUT OF TOWN MEALS                                                                  156.62
DATA BASE SEARCH SERV.                                                             145.80
OUTSIDE REPRODUCTION                                                               507.06
LOCAL MEALS                                                                         55.63
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DISBURSEMENTS
Client/Matter No. 71844.0036

Type of Disbursements                                                    Amount
AIRPLANE                                                                 1,651.02
LODGING                                                                    173.44
LITIGATION SUPPORT VENDORS                                              37,638.71
                               Total Expenses                          $63,096.03

                               Total Amount for this Matter            $63,096.03
